Case 5:23-cv-00304-H               Document 15-18               Filed 01/31/24            Page 1 of 534             PageID 2561

  Effect of Congestion and Reliability on Freight Travel
  FHWA has created and examined various freight performance measures (FPMs) to analyze the impacts of
  congestion and determine the operational capacity and efficiency of various Interstate highways and other
  important freight routes in the United States. Much of the current congestion negatively impacting truck
  carrier operations occurs on a recurring basis during peak periods of 6 a.m. to 9 a.m. and 4 p.m. to 7 p.m.
  local time, particularly in and near major metropolitan areas. Exhibit 5-3 shows a map indicating where this
  peak period congestion on high-volume truck portions of the National Highway System (NHS) took place

                                              Freight Performance Measurement
    The FHWA has been collecting and analyzing data for freight-significant Interstate corridors since 2004. FHWA
    plans to continue to collect travel time information on 25 interstate corridors and 15 U.S./Canada land-border
    crossings at least through 2012. Key objectives of the current FPM research program are to expand on the existing
    data sources; further develop and refine methods for analyzing data; derive national measures of congestion
    and reliability; analyze freight bottlenecks and intermodal connectors; and develop data products and tools that
    will assist U.S. DOT, FHWA, and State and local transportation agencies in addressing surface transportation
    congestion. A web tool for disseminating FPM data on the 25 study corridors, www.freightperformance.org,
    provides an example of the types of tools that FHWA will develop. The goal is to evolve the research into a credible
    freight data source that can be used to continuously measure freight performance and inform the development of
    strategies and tactics for managing and relieving freight congestion.


    Exhibit 5-3 Peak-Period Congestion on High-Volume Truck Portions of the National Highway
    System, 2007




    Note: High-volume truck portions of the National Highway System carry more than 8,500 trucks per day, including freight-hauling long-
    distance trucks, freight-hauling local trucks, and other trucks with six or more tires. Highly congested segments are stop-and-go
    conditions with volume/service flow ratios greater than 0.95. Congested segments have reduced traffic speeds with volume/service flow
    ratios between 0.75 and 0.95.
    Sources: U.S. Department of Transportation, Federal Highway Administration, Office of Highway Policy Information, Highway
    Performance Monitoring System, and Office of Freight Management and Operations, Freight Analysis Framework, version 3.2, 2010.



                                                                                                                  FHWA002284
                                                                                                              System Performance        5-11
    Case 5:23-cv-00304-H                Document 15-18               Filed 01/31/24            Page 2 of 534            PageID 2562

in 2007. Overall, peak period congestion created stop-and-go conditions on 3,700 miles of the NHS and
caused traffic to travel below posted speed limits on an additional 4,700 miles of the NHS.
In some locations, freight-hauling trucks are impacted not only during peak periods, but also at other times
during the day. In cooperation with private industry, FHWA measures the speed and travel time reliability
of more than 500,000 trucks along 25 Interstate corridors on an annual basis. Exhibit 5-4 shows some of
the results of this cooperative initiative, indicating the average truck travel speeds on selected Interstate

    Exhibit 5-4 Average Truck Speeds on Selected Interstate Highways, 2010




                                                       Average                                                        Average
                      Average         Average           Speed                           Average       Average         Nonpeak
      Interstate     Operating       Peak Period       Nonpeak         Interstate      Operating     Peak Period       Period
        Route          Speed           Speed*           Period           Route           Speed         Speed*          Speed
           5              53.0             52.1             53.2           70               57.1           56.8          57.2
          10              57.8             57.6             58.1           75               57.3           56.7          57.9
          15              56.7             56.5             56.8           76               55.4           55.3          55.4
          20              59.2             59.0             59.1           77               55.3           54.9          55.3
          24              57.5             56.7             57.5           80               58.0           57.8          58.1
          25              59.3             59.3             59.2           81               56.8           56.8          56.8
          26              54.2             53.8             54.3           84               54.1           52.7          54.5
          35              56.9             56.1             57.2           85               57.6           56.7          57.7
          40              59.0             58.8             59.1           87               54.5           54.1          54.7
          45              55.4             54.3             55.8           90               57.2           57.0          57.3
          55              57.8             57.6             57.8           91               53.6           52.8          54.1
          65              58.0             57.5             58.1           94               58.4           58.1          58.5
                                                                           95               56.5           55.4          57.0

     * Both urban and rural areas were combined to determine the speeds shown. This procedure reduces the impact of urban
     congestion on average speeds. Average speeds are available separated by urban and rural areas on request from the U.S.
     Department of Transportation, Federal Highway Administration, Office of Freight Management and Operations.
     Sources: U.S. Department of Transportation, Federal Highway Administration, Office of Freight Management and Operations,
     Performance Measurement Program, 2011 (map), 2012 (table data).



5-12 Description of Current System                                                                                    FHWA002285
Case 5:23-cv-00304-H              Document 15-18               Filed 01/31/24             Page 3 of 534             PageID 2563

  highways. Reduced truck travel speeds most commonly occur in large metropolitan areas, but can also occur
  at international border crossings and gateways, in mountainous areas that require trucks to climb steep
  inclines, and in areas frequently prone to poor visibility driving conditions.

                                             Projections of Future Congestion
    Though in many cases congestion on many high-volume NHS truck routes in various large metropolitan areas
    is already severe, particularly during peak periods, the congestion could become much more severe in terms of
    its geographic scope and impact on major intercity corridors and metropolitan areas if network capacity remains
    unchanged. Exhibit 5-5 shows a map indicating where this peak-period congestion on high-volume truck portions
    of the NHS could take place in 2040 . Peak-period congestion is projected to create stop-and-go conditions on
    23,500 miles of the NHS (over six times as many miles as in 2007) and traffic slower than posted speed limits on
    an additional 7,200 miles of the NHS (nearly twice as many miles as in 2007).


     Exhibit 5-5 Peak-Period Congestion on High-Volume Truck Portions of the National Highway
     System, 2040




    Note: High-volume truck portions of the National Highway System carry more than 8,500 trucks per day, including freight-hauling long-
    distance trucks, freight-hauling local trucks, and other trucks with six or more tires. Highly congested segments are stop-and-go
    conditions with volume/service flow ratios greater than 0.95. Congested segments have reduced traffic speeds with volume/service
    flow ratios between 0.75 and 0.95. The volume/service flow ratio is estimated using the procedures outlined in the HPMS Field Manual,
    Appendix N.
    Sources: U.S. Department of Transportation, Federal Highway Administration, Office of Highway Policy Information, Highway
    Performance Monitoring System, and Office of Freight Management and Operations, Freight Analysis Framework, version 3.2, 2010.



  Congestion Mitigation and Reliability Improvement
  Efforts to mitigate congestion and improve reliability can take place by improving service on existing roads,
  introducing pricing schemes, or enhancing information provided to drivers. Frequently, several of the
  strategies presented below are applied in tandem, mitigating a number of congestion sources in a holistic
  manner. More detail can be found at http://www.fhwa.dot.gov/congestion/toolbox/index.htm.


                                                                                                                 FHWA002286
                                                                                                             System Performance         5-13
    Case 5:23-cv-00304-H             Document 15-18       Filed 01/31/24       Page 4 of 534        PageID 2564

Improve Service on Existing Roads
 Traffic Incident Management is a planned and coordinated process shared by public and private sector
  partners to detect, respond to, and remove traffic incidents and restore traffic capacity as safely and
  quickly as possible.
 Arterial Management improves travel throughout entire communities by coordinating traffic signals
  through timing and access management. Arterial roadways are high-capacity roads to deliver traffic from
  collector roads to freeways, and between urban centers.
  ‒ Traffic Signal Timing can produce benefit-cost ratios as high as 40 to 1. The costs for retiming traffic
     signals are generally very small, but provide substantial benefit.
   ‒ Access Management is the proactive management of vehicular access points to land parcels adjacent
       to roadways. State and local governments can control access to facilities by increasing the distance
       between traffic signals; constructing fewer driveways spaced farther apart to allow for more orderly
       merging; constructing dedicated left- and right-turn lanes, indirect left-turn and U-turn lanes,
       and roundabouts to keep through-traffic flowing; constructing two-way left-turn lanes and non-
       traversable, raised medians; and managing right-of-way for future widening, good sight distance,
       access location, and other access-related issues.
 Freeway Management and Traffic Operations involves applying the appropriate policies, strategies,
   and actions to mitigate any potential impacts resulting from the intensity, timing, and location of travel
   and to reduce congestion. The Traffic Management Center (TMC) is often the hub of most freeway
   management systems.
 Active Transportation and Demand Management (ATDM) is the dynamic management, control, and
   influence of travel demand, traffic demand, and traffic flow of transportation facilities. Through the use
   of archived data and/or predictive methods, traffic flow is managed and traveler behavior is influenced
   in real time to achieve operational objectives, such as preventing or delaying breakdown conditions,
   improving safety, promoting sustainable travel modes, reducing emissions, or maximizing system
   efficiency.
 Road Weather Management allows weather events and their impacts on roads to be viewed as
   predictable, nonrecurring incidents that affect safety, congestion, and productivity. Advisory strategies
   provide information on prevailing and predicted conditions to both transportation managers and
   motorists, such as posting fog warnings on dynamic message signs or listing flooded routes on websites.
   Control strategies alter roadway devices (messages, timing of signals, etc.) to permit or restrict traffic
   flow and regulate roadway capacity, such as reducing speed limits with variable speed limit signs and
   modifying traffic signal timing. Treatment strategies supply resources to roads to minimize or eliminate
   weather impacts, the most common of which are application of sand, salt, and anti-icing chemicals to
   pavements to improve traction and prevent ice bonding.
 Planned Special Events Traffic Management allows agencies to develop and deploy the operational
   strategies, traffic control plans, protocols, procedures, and technologies needed to control traffic and
   share real-time information with other stakeholders on the day of an event. Planned special events cause
   congestion and unexpected delays to travelers by increasing traffic demand or reducing roadway capacity
   (e.g., street closures for parades).
Pricing
 Congestion Pricing, sometimes referred to as value pricing or peak-period pricing, involves charging
   relatively higher prices for travel during peak periods. It is identical to the technique used in many other
   sectors of the economy to respond to peak-use demands. Congestion pricing entails fees or tolls for road
   use that vary with the level of congestion. Introducing congestion pricing to highway facilities brings



5-14 Description of Current System                                                                 FHWA002287
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24       Page 5 of 534       PageID 2565

     transportation supply and demand into balance and keeps the lanes congestion free. Fees are typically
     assessed electronically to eliminate delays associated with manual toll collection facilities.
  Add Capacity
   Easing Bottlenecks is necessary when a road is at capacity and the flow of traffic is disrupted. The
     capacity of a road is determined by a number of factors, including the number and width of lanes and
     shoulders, merge areas at interchanges, and roadway alignment (grades and curves). Minimizing the
     impacts of or eliminating bottlenecks is one of the most effective ways to reduce congestion.
  Better Work Zones
   Work Zone Management can have a positive impact on preventing or relieving congestion by
     aggressively anticipating and mitigating congestion caused by highway work zones. Solutions can come
     from fundamental changes in the way projects are planned, estimated, designed, bid, and constructed.
  Travel Options
   Travel Demand Management involves strategies to provide travelers with effective travel choices such as
     work location, route, time, and mode. Managing both the growth of and periodic shifts in traffic demand
     are necessary elements of managing traffic congestion.
   Transportation Choices such as accessibility to transit, car-sharing or bicycle/pedestrian facilities helps
     alleviate congestion on the Nation’s road network. By promoting the use of transit or bicycle/pedestrian
     facilities, the use of fewer cars during peak travel times also improves air quality in communities with
     close proximity to major highways.
  Traveler Information
   The 511 telephone number was designated for traveler information services by the Federal
     Communications Commission in 2001 and assigned to public transportation agencies for implementing
     services throughout the United States. FHWA is working cooperatively with FTA, the American
     Association of State Highway and Transportation Officials, the American Public Transportation
     Association, the Intelligent Transportation Society of America, and the members of the 511 Coalition to
     establish more 511 travel information services throughout the United States.
   Travel Time Message Signs are dynamic signs located near roadways that give motorists the estimated
     time it will take them to get to the next one or two significant destinations.
   National Traffic and Road Closure Information is provided to travelers and freight shippers to
     broadcast current weather, road, and traffic conditions.
   Real-Time System Management Information is a real-time information system that provides the
     capability to monitor traffic and travel conditions on major highways. This information enables drivers to
     make informed decisions. FHWA is supporting the deployment of the Real-Time System Management
     Information Program so that all States are able to broadcast information to travelers.
   The Cross-Town Improvement Project (C-TIP) combines real-time travel time information and freight
     shipper congestion information to optimize the flow of freight within a metropolitan area. Cross-town
     truck traffic is coordinated using both public and private traffic and freight data to reduce empty truck
     bobtail (tractor without trailer) moves between railroad terminals and freight distribution facilities. The
     system uses four components that include an information exchange, wireless update capability, real-time
     traffic monitoring, and dynamic routing applications to deliver up-to-the-minute information regarding
     roadway conditions, travel speeds, and predicted travel times. This information is passed to the freight
     traveler to deliver enhanced traveler information and predictive travel times for freight pick-up and
     delivery routes in urban areas.




                                                                                           FHWA002288
                                                                                       System Performance   5-15
    Case 5:23-cv-00304-H             Document 15-18        Filed 01/31/24         Page 6 of 534        PageID 2566



                         Transit System Performance

Basic goals shared by all transit operations include minimizing travel times, making efficient use of vehicle
capacity, and providing reliable performance. The Federal Transit Administration (FTA) collects data on
average speed, how full the vehicles are (utilization), and how often they break down (mean distance between
failures) to characterize how well transit service meets these goals. These data are reported here; safety data
are reported in Chapter 4.
More subjective customer satisfaction issues, such as how easy it is to access transit service (accessibility)
and how well that service meets a community’s needs, are harder to measure. Data from the FHWA 2009
National Household Travel Survey, reported here,
provide some insights but are not available on an            FTA Livable Communities Outcomes and
annual basis and so do not support time series                          Performance Measures
analysis.                                                Modal Network            Demand Response
New technology has allowed progressive transit             1. Increased access    • Increase the number of
                                                              to convenient         transit boardings reported
agencies to report service metrics on their Web
                                                              and affordable        by urbanized area transit
sites. Because this is a relatively new practice,             transportation        providers from 10.0 billion
measures that are standardized across the industry            choices               in 2011 to 10.5 billion in
have not yet been developed. Industry associations                                  2016.
are beginning to address this issue, but for now                                  • Increase the number of
there is no generally recognized set of standards.                                  transit boardings reported
                                                                                    by rural area transit
The following analysis presents data on average                                     providers from 141 million
operating speeds, average number of passengers                                      in 2011 to 160 million in
                                                                                    2016.
per vehicle, average percentage of seats occupied
                                                                                  • Increase transit’s market
per vehicle, average distance traveled per vehicle,
                                                                                    share among commuters
and mean distance between failures for vehicles.                                    to work in at least 10 of the
Average speed, seats occupied, and distance                                         top 50 urbanized areas by
between failures address efficiency and customer                                    population, as compared to
service issues; passengers per vehicle and miles                                    2010 market share levels.
per vehicle are primarily efficiency measures.             2. Improved access     • Increase the number of key
                                                              to transportation     transit rail stations verified
Financial efficiency metrics, including operating             for people with       as accessible and fully
expenditures per revenue mile or passenger mile,              disabilities and      compliant from 522 in 2010
are discussed in Chapter 6.                                   older adults          to 560 in 2016.


           Average Operating (Passenger-Carrying) Speeds
Average vehicle operating speed is an approximate measure of the speed experienced by transit riders; it is not
a measure of the operating speed of transit vehicles between stops. More specifically, average operating speed
is a measure of the speed passengers experience from the time they enter a transit vehicle to the time they
exit it, including dwell times at stops. It does not include the time passengers spend waiting or transferring.
Average vehicle operating speed is calculated for each mode by dividing annual vehicle revenue miles by
annual vehicle revenue hours for each agency in each mode, weighted by the passenger miles traveled (PMT)
for each mode, as reported to the National Transit Database (NTD). In cases where an agency contracts with



5-16 Description of Current System                                                                    FHWA002289
Case 5:23-cv-00304-H         Document 15-18         Filed 01/31/24                       Page 7 of 534                  PageID 2567

  a service provider and provides the service directly,
                                                               Exhibit 5-6 Average Speeds for Passenger-
  the speeds for each of the services within a mode are        Carrying Transit Modes, 2010
  calculated and weighted separately. The results of these
  average speed calculations are presented in                                   Other
                                                                                             7.0
  Exhibit 5-6.                                                                   Rail

                                                                               Other
  The average speed of a transit mode is strongly                                                  11.5
                                                                               Nonrail
  affected by the number of stops it makes. Motor bus                           Motor
                                                                                                   12.5
  service, which typically makes frequent stops, has a                           Bus




                                                              Transit Mode
  relatively low average speed. In contrast, commuter                        Demand
                                                                                                     14.4
  rail has high sustained speeds between infrequent                          Response

  stops, and thus a relatively high average speed.                               Light
                                                                                                      15.0
                                                                                 Rail
  Vanpools also travel at high speeds, usually with only
  a few stops at each end of the route. Modes using                             Heavy
                                                                                                             20.2
                                                                                 Rail
  exclusive guideway can offer more rapid travel time
                                                                             Commuter
  than similar modes that do not. Heavy rail, which                            Rail
                                                                                                                           32.9
  travels exclusively on dedicated guideway, has a higher
  average speed than light rail, which often shares its                       Vanpool                                              41.1

  guideway with mixed traffic. These average speeds                                      0                   15               30          45
  have not changed significantly over the last decade.                                                            Miles per Hour

                                                                Notes: Other Nonrail includes Público, trolleybus, and demand
                                                                taxi; Other Rail includes Alaska railroad, automated guideway,
                                                                cable car, inclined plane, and monorail.
                                                                Source: National Transit Database.




                                               Vehicle Use
  Vehicle Occupancy
  Exhibit 5-7 shows vehicle occupancy by mode for selected years from 2000 to 2010. Vehicle occupancy is
  calculated by dividing PMT by vehicle revenue miles (VRMs), resulting in the average number of people
  carried in a transit vehicle. There has been little change in vehicle occupancy between 2000 and 2010
  indicating sustained ridership levels across all types of transit.
  Taking into account that vehicle capacities differ by mode, Exhibit 5-8 shows the 2010 vehicle occupancy
  as a percentage of the seating capacity for an average vehicle in each mode (based on the average number
  of seats reported per vehicle in 2010: vanpool, 11; heavy rail, 59; light rail, 57; trolleybus, 45; ferryboat,
  385; commuter rail, 96; motor bus, 33; demand response, 12). For example, the average full-size bus seats
  33 people and, as shown in Exhibit 5-7, the average occupancy for a bus in 2010 was 10.7 riders. This
  occupancy, as a percentage of seating capacity, is 32.5 percent. Some modes also have substantial standing
  capacity that is not considered here, but which can allow the measure of the percentage of seats occupied to
  exceed 100 percent for a full vehicle.
  Although, on average, it appears that there is excess capacity in all these modes, commuting patterns
  make it difficult to fill vehicles returning to the suburbs from downtown employment centers during the
  morning rush hours and, likewise, to fill vehicles going downtown in the evening rush. Vehicles also tend
  to be relatively empty at the beginning and ends of their routes. For many commuter routes, a vehicle
  that is crush-loaded (i.e., filled to maximum capacity) on part of the trip may still only achieve an average
  occupancy of around 35 percent (as shown by analysis of the Washington Metropolitan Area Transit
  Authority peak-period data).


                                                                                                                      FHWA002290
                                                                                                                  System Performance      5-17
    Case 5:23-cv-00304-H               Document 15-18                Filed 01/31/24                           Page 8 of 534              PageID 2568

        Exhibit 5-7 Unadjusted Vehicle Occupancy: Passengers per
        Transit Vehicle, 2000–2010
                             Mode                    2000         2002                   2004          2006       2008            2010
                  Rail
                  Heavy Rail                          23.9        22.6                   23.0          23.2        25.7            25.3
                  Commuter Rail                       37.9        36.7                   36.1          36.1        35.7            34.2
                  Light Rail                          26.1        23.9                   23.7          25.5        24.1            23.7
                  Other Rail1                          8.4         8.4                   10.4           8.4         9.3            10.7
                  Nonrail
                  Motor Bus                           10.7       10.5                    10.0          10.8        10.8            10.7
                  Demand Response                      1.3        1.2                     1.3           1.3         1.2             1.2
                  Ferryboat                          120.1      112.1                   119.5         130.7       118.1           119.3
                  Trolleybus                          13.8       14.1                    13.3          13.9        14.3            13.6
                  Vanpool                              6.6        6.4                     5.9           6.3         6.3             6.0
                  Other Nonrail2                       7.3        7.9                     5.8           7.8         8.2             7.4
                1 Alaska railroad, automated guideway, cable car, inclined plane, and monorail.

                2 Aerial tramway and Público.

                Source: National Transit Database.




Another issue that makes it hard to fully use vehicle
                                                                         Exhibit 5-8 Average Seat Occupancy
capacity is called “bunching.” If a stop has a                           Calculations for Passenger-Carrying Transit
particularly large number of passengers, the servicing                   Modes, 2010
vehicle takes longer to load increasing the spacing                                      Demand
                                                                                                           9.9%
between it and the previous vehicle. This not only                                       Response
means the vehicle’s next stop will have more riders                                     Trolleybus                 30.1%
due to the longer interval, but that there will be a
                                                                                        Ferryboat                   31.0%
shorter interval between it and the vehicle behind it.
                                                                         Transit Mode




This compounds the problem by slowing the vehicle                                             Bus                    32.5%
more and speeding up the vehicle behind it. Soon
                                                                                         Commuter
the vehicles become bunched up, causing longer wait                                                                       35.8%
                                                                                           Rail
times for some passengers and inconsistent in-vehicle                                         Light
                                                                                                                             41.3%
                                                                                              Rail
volumes with some being overcrowded and others
                                                                                             Heavy
underutilized. This situation is common and difficult                                                                         43.0%
                                                                                              Rail
to mitigate.                                                                              Vanpool                                         55.6%

Revenue Miles per Active Vehicle                                                                      0%          20%              40%            60%

(Service Use)                                                            Note: Some modes also have substantial standing capacity
                                                                         that is not considered here, but which can allow the
Vehicle service use, the average distance traveled                       measure of the percentage of seats occupied to exceed 100
                                                                         percent for a full vehicle.
per vehicle in service, can be measured by VRMs.
                                                                Source: National Transit Database.
Exhibit 5-9 provides vehicle service use by mode
for selected years from 2000 to 2010. Heavy rail,
generally offering long hours of frequent service, had the highest vehicle use during this period. Vehicle
service use for light rail, and to a lesser extent for vanpool and demand response, shows an increasing trend.
Vehicle service use for other nonrail modes appears to be relatively stable over the past few years with no
apparent trends in either direction.




5-18 Description of Current System                                                                                                   FHWA002291
Case 5:23-cv-00304-H              Document 15-18        Filed 01/31/24                Page 9 of 534    PageID 2569


     Exhibit 5-9 Vehicle Service Utilization: Vehicle Revenue Miles per Active Vehicle by Mode

                                                                                                       Average Annual
                                           Thousands of Revenue Vehicle Miles                          Rate of Change
               Mode                   2000     2002       2004     2006       2008             2010      2010/2000
      Rail
      Heavy Rail                          55.6   55.1     57.0                 57.2    57.7     56.6        0.2%
      Commuter Rail                       42.1   43.9     41.1                 43.0    45.5     45.1        0.7%
      Light Rail                          32.5   41.1     39.9                 39.9    44.1     42.5        2.7%
      Nonrail
      Motor Bus                           28.0   29.9     30.2                 30.2    30.3     29.7        0.6%
      Demand Response                     17.9   21.1     20.1                 21.7    21.3     20.0        1.1%
      Ferryboat                           24.1   24.4     24.9                 24.8    21.9     24.9        0.3%
      Vanpool                             12.9   13.6     14.1                 13.7    14.3     15.5        1.8%
      Trolleybus                          18.9   20.3     21.1                 19.1    18.7     20.4        0.8%
     Source: National Transit Database.



                             Frequency and Reliability of Service
  The frequency of transit service varies considerably according to location and time of day. Transit service is
  more frequent in urban areas and during rush hours—namely, where and when the demand for transit is
  highest. Studies have found that transit passengers consider the time spent waiting for a transit vehicle to
  be less well spent than the time spent traveling in a transit vehicle. The higher the degree of uncertainty in
  waiting times, the less attractive transit becomes as a means of transportation and it will attract fewer users.
  Further, when scheduled service is offered less frequently, reliability becomes more important to users.
  Exhibit 5-10 shows findings on wait-times from the
                                                                  Exhibit 5-10 Distribution of Passengers by
  2009 FHWA National Household Travel Survey                      Wait-Time
  (NHTS), the most recent nationwide survey of this
                                                                    5 Minutes
  information. The NHTS found that 44.5 percent                       or Less
                                                                                                               44.5%
  of all passengers who ride transit wait 5 minutes
                                                                       6 to 10
  or less and 73.2 percent wait 10 minutes or less.                                               28.7%
                                                                      Minutes
                                                                   Wait-Time




  The NHTS also found that 8.0 percent of all                         11 to 15
                                                                                     13.2%
  passengers wait 21 minutes or more. A number of                     Minutes
  factors influence passenger wait-times, including                   16 to 20
                                                                                5.5%
  the frequency of service, the reliability of service,               Minutes

  and passengers’ awareness of timetables. These                   21 Minutes
                                                                                  8.0%
                                                                     or More
  factors are also interrelated. For example, passengers
  may intentionally arrive earlier for service that is                         0%      10%      20%      30%     40%    50%
  infrequent, compared with equally reliable services             Source: National Household Travel Survey, FHWA, 2009.
  that are more frequent. Overall, waiting times of
  5 minutes or less are clearly associated with good service that is either frequent, reliably provided according
  to a schedule, or both. Waiting times of 5 to 10 minutes are most likely consistent with adequate levels
  of service that are both reasonably frequent and generally reliable. Waiting times of 21 minutes or more
  indicate that service is likely less frequent or less reliable.
  Access to transit service varies by location. Exhibit 5-11 shows the share of working-age residents that have
  access to transit in 100 selected metro areas. The study evaluated census block groups and counted block
  groups with at least one transit stop within three-fourths of a mile of their population-weighted centroid as
  having access. Cities in the Western U.S. tend to enjoy higher rates of coverage while those in the southeast
  tend to have a lower percentage of residents with access to transit.


                                                                                                      FHWA002292
                                                                                                  System Performance    5-19
    Case 5:23-cv-00304-H                  Document 15-18               Filed 01/31/24             Page 10 of 534             PageID 2570


  Exhibit 5-11 Share of Working-Age Residents With Access to Transit, 100 Metropolitan Areas




  Source: Brookings Institution, Missed Opportunity: Transit and Jobs in Metropolitan America, May 2011 report citing Brookings
  Institution analysis of transit agency data and Nielson Pop-Facts 2010 data.


Mean distance between failures, as shown in Exhibit 5-12, has declined 14 percent since 2004 to
6,601 miles. The average distance between failures is calculated by adding all mechanical failures to all other
failures and dividing VRMs by this total number of failures. The stability shown in the graph indicates that
the number of unscheduled delays due to mechanical failure of transit vehicles has not increased. The FTA
does not collect data on delays due to guideway conditions; this would include congestion for roads and slow
zones (due to system or rail problems) for track.

 Exhibit 5-12 Mean Distance Between Failures, 2004–2010
          8,000

          7,000    7,670              7,463                             7,378             7,230
                                                      6,848                                                                  6,601
          6,000                                                                                            6,444
          5,000
  Miles




          4,000

          3,000

          2,000

          1,000

             0
                    2004              2005             2006             2007              2008              2009             2010
                                                                        Year
 Source: National Transit Database.




5-20 Description of Current System                                                                                         FHWA002293
Case 5:23-cv-00304-H               Document 15-18              Filed 01/31/24     Page 11 of 534     PageID 2571

                System Coverage: Urban Directional Route Miles
   The extent of the Nation’s transit system is measured in directional route miles, or simply “route miles.”
   Route miles measure the distance covered by a transit route; even though opposite-direction transit routes
   may use the same road or track, they are counted separately. Data associated with route miles are not
   collected for demand response and vanpool modes because these transit modes do not travel along specific
   predetermined routes. Route miles data are also not collected for jitney services because these transit modes
   often have highly variable route structures.
   Exhibit 5-13 shows directional route miles by mode over the past 10 years. Growth in both rail
   (27.3 percent) and nonrail (20.7 percent) route miles is evident over this period. The average 6.0 percent
   rate of annual growth for light rail clearly outpaces the rate of growth for all other modes.


     Exhibit 5-13 Transit Urban Directional Route Miles, 2000–2010

                                                                                                     Average Annual
                                                                Route Miles                          Rate of Change
         Transit Mode             2000             2002       2004       2006       2008      2010     2010/2000
      Rail                       9,222            9,484      9,782     10,865     11,270    11,735       +2.4%
      Commuter Rail 1            6,802            6,923      6,968      7,930      8,219     8,590       +2.4%
      Heavy Rail                 1,558            1,572      1,597      1,623      1,623     1,617       +0.4%
      Light Rail                   834              960      1,187      1,280      1,397     1,497       +6.0%
      Other Rail 2                  29               30         30          31        30        30       +0.5%
      Nonrail3                 196,858          225,820    216,619    223,489    212,801   237,580       +1.9%
      Bus                      195,884          224,838    215,571    222,445    211,664   236,434       +1.9%
      Ferryboat                    505              513        623        620        682       690       +3.2%
      Trolleybus                   469              468        425        424        456       456        -0.3%
      Total                    206,080          235,304    226,401    234,354    224,071   249,314       +1.9%
      Percent Nonrail           95.5%            96.0%      95.7%      95.4%      95.0%     95.3%
     1 Includes Alaska rail.

     2 Automated guideway, inclined plane, cable car, and monorail.

     3 Excludes jitney, Público, and vanpool.

     Source: National Transit Database.




                                                      System Capacity
   Exhibit 5-14 provides reported VRMs for both rail and nonrail modes. These numbers are of interest because
   they show the actual number of miles traveled by each mode in revenue service. VRMs provided by both bus
   services and rail services show consistent growth, with light rail and vanpool miles growing somewhat faster
   than the other modes. Overall, the number of VRMs has increased by 22.5 percent since 2000.
   Transit system capacity, particularly in cross-modal comparisons, is typically measured by capacity-equivalent
   VRMs. These measure the distance traveled by transit vehicles in revenue service and adjust them by the
   passenger-carrying capacity of each transit vehicle type, with the average carrying capacity of motor bus
   vehicles representing the baseline. To calculate capacity-equivalent VRMs, the number of revenue miles for a
   vehicle is multiplied by the bus-equivalent capacity of that vehicle. Thus, a heavy rail car that seats 2.5 times
   more people than a full-size bus provides 2.5 capacity-equivalent miles for each revenue mile it travels.




                                                                                                   FHWA002294
                                                                                               System Performance   5-21
     Case 5:23-cv-00304-H                                Document 15-18                    Filed 01/31/24           Page 12 of 534         PageID 2572


    Exhibit 5-14 Rail and Nonrail Vehicle Revenue Miles, 2000–2010
                                                                                                                                    Average Annual
                                                                           Miles (Millions)                                         Rate of Change
              Transit Mode                   2000                    2002       2004        2006              2008        2010        2010/2000
                   Rail                        879                     925         963        997             1,054       1,056           1.9%
          Heavy Rail                           578                     603         625        634               655         647           1.1%
          Commuter Rail                        248                     259         269        287               309         315           2.4%
          Light Rail                            51                      60          67         73                86          92           6.0%
          Other Rail                             2                       3            2         3                 3           2           1.7%
                 Nonrail                     2,322                   2,502       2,586      2,674             2,841       2,863           2.1%
          Motor Bus                          1,764                   1,864       1,885      1,910             1,956       1,917           0.8%
          Demand Response                      452                     525         561        607               688         718           4.7%
          Vanpool                               62                      71          78        110               157         181         11.3%
          Ferryboat                              2                       3            3         3                 3           3           5.0%
          Trolleybus                            14                      13          13         12                11          12          -1.8%
          Other Nonrail                         28                      26          46         32                25          32           1.5%
                  Total                      3,201                   3,427       3,549      3,671              3,895       3,920          2.0%
    Source: National Transit Database.


The 2010 capacity-equivalent factors for each mode are shown in Exhibit 5-15. Unadjusted VRMs for each
mode are multiplied by a capacity-equivalent factor in order to calculate capacity-equivalent VRMs. These
factors are equal to the average full-seating and full-standing capacities of vehicles in active service for each
transit mode divided by the average full-seating and full-standing capacities of all motor bus vehicles in
active service. The average capacity of the national motor bus fleet changes slightly from year to year as the
proportion of large, articulated, and small buses varies. The average capacity of the bus fleet in 2010 was
39 seated and 23 standing for a total of 62 riders.

  Exhibit 5-15 Capacity-Equivalent Factors by Mode
               Demand Taxi            0.1
                    Vanpool           0.2
          Demand Response             0.2
                     Público           0.3
             Alaska Railroad                0.4
               Inclined Plane                     0.8
  Mode




                  Cable Car                       0.8
                  Motor Bus                        1.0                      Base = Average Motor Bus
         Automated Guideway                              1.4                    Vehicle Capacity

                   Trollybus                             1.4
                    Monorail                                   1.8
                  Heavy Rail                                          2.5
              Commuter Rail                                             2.7
                   Light Rail                                           2.7
                  Ferryboats                                                                                                              10.6

                                0.0                       2.0                    4.0               6.0              8.0            10.0          12.0
                                                                                       Capacity-Equivalent Factor
  Source: National Transit Database.




5-22 Description of Current System                                                                                                        FHWA002295
Case 5:23-cv-00304-H              Document 15-18       Filed 01/31/24                                          Page 13 of 534           PageID 2573

   Total capacity-equivalent VRMs are shown in Exhibit 5-16. Showing the most rapid expansion in capacity-
   equivalent VRMs in the period from 2000 to 2010 was vanpools, followed by light rail, demand response,
   and then commuter rail. Total capacity-equivalent revenue miles increased from 3,954 million in 2000 to
   4,845 million in 2010, an increase of 22.5 percent.
     Exhibit 5-16 Capacity-Equivalent Vehicle Revenue Miles, 2000–2010
                                                                                                                                         Average Annual
                                                      Vehicle Miles (Millions)                                                           Rate of Change
       Transit Mode                   2000    2002       2004        2006                                            2008     2010          2010/2000
       Rail                           2,046   2,274      2,413       2,681                                            2,799    2,714           2.9%
       Heavy Rail                     1,321   1,469      1,546       1,648                                            1,621    1,599           1.9%
       Commuter Rail                    595     652        685         832                                              940      860           3.8%
       Light Rail                       127     150        179         197                                              235      252           7.1%
       Other Rail                         3       3           3            4                                              3        3          -1.1%
       Nonrail                        1,908   2,037      2,064       2,118                                            2,152    2,131           1.1%
       Motor Bus                      1,764   1,864      1,885       1,910                                            1,956    1,917           0.8%
       Demand Response                   76     100        101         121                                              115      124           5.1%
       Vanpool                           11      15         15           22                                              27       30          10.0%
       Ferryboat                         30      32         32           37                                              32       35           1.4%
       Trolleybus                        20      20         20           19                                              16       17          -1.6%
       Other Nonrail                      7       7         12           10                                               6        8           1.3%
       Total                          3,954   4,311      4,478       4,800                                            4,951    4,845           2.1%
     Source: National Transit Database.



                                                      Ridership
   There are two primary measures of transit ridership: unlinked passenger trips and PMT. An unlinked
   passenger trip, sometimes called a boarding, is defined as a journey on one transit vehicle. PMT is calculated
   on the basis of unlinked passenger trips and estimates of average trip length. Either measure provides an
   appropriate time series because average trip lengths,
   by mode, have not changed substantially over time.           Exhibit 5-17 Unlinked Passenger Trips (Total in
   Comparisons across modes, however, may differ                Billions and Percent of Total) by Mode, 2010
   substantially depending on which measure is used due             6.0
   to large differences in the average trip length for the                                                   5.14
                                                                  Unlinked Passenger Trips (Billions)




   different modes.                                                 5.0

   Exhibit 5-17 and Exhibit 5-18 show the distribution of                                               4.0                                   3.55
   unlinked passenger trips and PMT by mode. In 2010,
   urban transit systems provided 9.9 billion unlinked                                                  3.0
   trips and 52.6 billion PMT across all modes. Heavy                                                                                                 51.6%
   rail and motorbus modes continue to be the largest                                                   2.0                                   35.6%
   segments of both measures. Commuter rail supports
   relatively more PMT due to its greater average trip                                                  1.0
                                                                                                                              0.46     0.46
   length (23.4 miles compared to 4.0 for bus, 4.6 for                                                        0.03     0.32
                                                                                                              0.3%            4.6%   4.6%
   heavy rail, and 4.8 for light rail).                                                                 0.0
                                                                                                                       3.2%

   Exhibit 5-19 provides total PMT for selected years
   between 2000 and 2010, showing steady growth in
   all the major modes. Demand response, light rail, and            Note: Other includes Alaska railroad, automated guideway,
   vanpool modes grew at the fastest rates. Growth in               cable car, demand response, ferryboat, inclined plane,
                                                                    monorail, Público, trolleybus, and demand taxi.
   demand response (up 4.0 percent per year) may be                 Source: National Transit Database.
   a response to demand from the growing number of
                                                                                                                                    FHWA002296
                                                                                                                                System Performance      5-23
                                      Case 5:23-cv-00304-H                   Document 15-18                Filed 01/31/24         Page 14 of 534      PageID 2574

                                                                                                          elderly citizens. Light rail (up 5.0 percent per year)
Exhibit 5-18 Passenger Miles Traveled (Total in
Billions and Percent of Total) by Mode, 2010
                                                                                                          enjoyed increased capacity during this period due to
                                                                                                          expansions and addition of new systems. Vanpool’s
                                      25.0
                                                                                                          rapidly increasing popularity (up 10.3 percent per
                                                                                             20.6         year), particularly the surge between 2006 and 2008
                                      20.0
                                                                                              39%         (up 20 percent per year), can be partially attributed
Passenger Miles Traveled (Billions)




                                                                                    16.4                  to rising gas prices—regular gasoline sold for more
                                      15.0
                                                                                                          than $4 per gallon in July of 2008. FTA has also
                                                                                    31%
                                                                                                          encouraged vanpool reporting during this period,
                                                                           10.8                           successfully enrolling a large number of new vanpool
                                      10.0                                                                systems to report to NTD.
                                                                           20%

                                                        1.6       2.2
                                                                                                          Exhibit 5-20 shows the complex relationship among
                                       5.0                                                                an index of rolling 12 months’ transit ridership,
                                               1.1                4%
                                                         3%
                                               2%                                                         gasoline prices, and employment rates.
                                       0.0                                                                On the most basic level, the effectiveness of transit
                                                                                                          operations can be gauged by the demand for transit
                                                                                                          services. People choose to use transit if they perceive
                                                                                                          that it meets their needs as well as, or better than,
     Note: "Other" includes Alaska railroad, automated guideway,                                          the alternatives. These choices occur in an economic
     cable car, demand response, ferryboat, inclined plane,                                               context in which the need for transportation and the
     monorail, Público, trolleybus, and demand taxi.
     Source: National Transit Database.
                                                                                                          cost of that transportation are constantly changing
                                                                                                          due to factors that have very little to do with the
                                                                                                          characteristics of transit.
                                      Exhibit 5-19 Transit Urban Passenger Miles, 2000–2010

                                                                                                                                               Average Annual
                                                                                    Passenger Miles (Millions)                                 Rate of Change
                                       Transit Mode                2000           2002       2004          2006          2008        2010        2010/2000
                                       Rail                        24,604         24,617     25,667       26,972         29,989      29,380          1.8%
                                       Heavy Rail                  13,844         13,663     14,354       14,721         16,850      16,407          1.7%
                                       Commuter Rail                9,400          9,500      9,715       10,359         11,032      10,774          1.4%
                                       Light Rail                   1,340          1,432      1,576         1,866         2,081       2,173          5.0%
                                       Other Rail1                     20             22         22            25            26          26          2.8%
                                       Nonrail                     20,497         21,328     20,879       22,533         23,723      23,247          1.3%
                                       Motor Bus                   18,807         19,527     18,921       20,390         21,198      20,570          0.9%
                                       Demand Response                588            651        704           753           844         874          4.0%
                                       Vanpool                        407            455        459           689           992       1,087        10.3%
                                       Ferryboat                      298            301        357           360           390         389          2.7%
                                       Trolleybus                     192            188        173           164           161         159         -1.9%
                                       Other Nonrail2                 205            206        265           176           138         169         -1.9%
                                       Total                       45,101         45,945     46,546       49,504         53,712      52,627          1.6%
                                       Percent Rail                54.6%          53.6%      55.1%         54.5%         55.8%       55.8%
                                      1 Alaska railroad, automated guideway, cable car, inclined plane, and monorail.

                                      2 Aerial tramway and Público.

                                      Source: National Transit Database.


The relationship between employment and transit is well established. According to the May 2007 APTA
report A Profile of Public Transportation Passenger Demographics and Travel Characteristics Reported in On-
Board Surveys: “Commuting to work is the most common reason a person rides public transportation,
accounting for 59.2 percent of all transit trips reported in on-board surveys.” It would follow from this that

5-24 Description of Current System                                                                                                                  FHWA002297
Case 5:23-cv-00304-H                                                 Document 15-18                Filed 01/31/24                                          Page 15 of 534              PageID 2575


     Exhibit 5-20 Transit Ridership versus Employment, 2006–2011
                                              112                                                             Regular Gas, All Formulations                                                 $4.50

                                                                                                              Index of Rolling 12-Month
                                              110                                                             Ridership                                                                     $4.00
                                                                                                              Index of Nonfarm Employment,
     Weighted Average Ridership, Employment



                                              108                                                             Seasonally Adjusted
                                                                                                                                                                                            $3.50




                                                                                                                                                                                                     Price per Gallon of Gas, $
                                              106
              Index Jan 2003 = 100




                                              104                                                                                                                                           $3.00


                                              102                                                                                                                                           $2.50

                                              100
                                                                                                                                                                                            $2.00
                                              98

                                                                                                                                                                                            $1.50
                                              96


                                              94                                                                                                                                            $1.00
                                                Jul '06   Jan '07   Jul '07   Jan '08   Jul '08   Jan '09   Jul '09                              Jan '10    Jul '10   Jan '11    Jul '11

     Source: National Transit Database, U.S. Energy Information Administration's Gas Pump Data History, and Bureau of Labor
     Statistics' Employment Data.


   transit ridership should drop off in times of high unemployment and, in fact, until 2008 the correlation
   between transit ridership and employment levels was so strong that FTA corrected ridership to account for
   employment levels. From early 2007 through summer of 2008, however, transit ridership increased in the
   absence of employment growth. This anomaly may be due to dramatic increases in the price of gas during
   this period; gas prices increased from around $2.35 per gallon to over $4.00 per gallon. Since the start
   of 2009, gas prices have eased and then grown again in a similar but more gradual pattern, but without
   influencing transit ridership in the same way (perhaps due to a concurrent decline in employment). Since
   2010, ridership has once again been tracking employment levels but has retained some of its 2007–2008
   gains. In July of 2011, transit ridership was up 5 percent over its July 2006 level while employment was still
   down 3 percent from its July 2006 level.
   If gas prices are the causal factor here, one would expect to see transit taking a greater market share of
   commuting rides to work. This would be a different effect than there being more riders due to an increase
   in the number of commuters overall, which would not
   imply a change in market share. To test this hypothesis, Exhibit 5-21 Washington, DC, Transit Mode
                                                                Share, 2007–2011
   FTA examined American Community Survey (ACS)
                                                                    15.0%
   data for 2007 through 2011 for the Washington, DC,                              DC transit mode
                                                                                                                Percentage Transit Mode Share




   metropolitan area. ACS data for 2008–2011, presented                            share
                                                                    14.5%          Linear (DC transit
   in Exhibit 5-21, show a gain in transit mode share                              mode share)
   during this period, which supports the explanation
   that gas prices are having a major impact on transit             14.0%

   ridership.
                                                                                                                                                13.5%


                                                                                                                                                13.0%
                                                                                                                                                  2009     2007
                                                                                                                                                         2010         2008
                                                                                                                                                                    2011
                                                                                                                                                  Year
                                                                                                                Source: U.S. Census Bureau, American Community Survey.


                                                                                                                                                                                    FHWA002298
                                                                                                                                                                                System Performance                                5-25
   Case 5:23-cv-00304-H              Document 15-18   Filed 01/31/24   Page 16 of 534    PageID 2576




5-26 Description of Current System                                                      FHWA002299
Case 5:23-cv-00304-H         Document 15-18                      Filed 01/31/24                    Page 17 of 534                    PageID 2577




                                                                          CHAPTER                                                                 6
               Finance

               Highway Finance ..........................................................................................................6-2
                   Revenue Sources for Highways ................................................................................6-2
                         Revenue Trends .................................................................................................................. 6-5
                   Highway Expenditures ...............................................................................................6-7
                         Types of Highway Expenditures ......................................................................................... 6-7
                         Historical Expenditure and Funding Trends ....................................................................... 6-8
                   Highway Capital Outlay .............................................................................................6-12
                         Capital Outlays on Federal-Aid Highways .......................................................................... 6-16
                         Capital Outlays on the National Highway System.............................................................. 6-17
                         Capital Outlays on the Interstate System ........................................................................... 6-18
                   Innovative Finance .....................................................................................................6-18
                         Public-Private Partnerships ................................................................................................. 6-19
                         Federal Credit Assistance ................................................................................................... 6-19
                         Debt Financing Tools .......................................................................................................... 6-20
               Transit Finance .............................................................................................................6-21
                   Level and Composition of Transit Funding ...............................................................6-21
                         Federal Funding .................................................................................................................. 6-22
                         State and Local Funding..................................................................................................... 6-24
                         System-Generated Funds ................................................................................................... 6-24
                   Trends in Funding ......................................................................................................6-25
                         Funding in Current and Constant Dollars........................................................................... 6-25
                   Capital Funding and Expenditures ............................................................................6-26
                   Operating Expenditures .............................................................................................6-29
                         Operating Expenditures by Transit Mode ........................................................................... 6-30
                         Operating Expenditures by Type of Cost ........................................................................... 6-31
                         Operating Expenditures per Vehicle Revenue Mile ............................................................ 6-31
                         Operating Expenditures per Passenger Mile ..................................................................... 6-33
                         Farebox Recovery Ratios .................................................................................................... 6-33
                   Rural Transit ...............................................................................................................6-34




                                                                                                                                       Finance 6-1
                                                                                                                                  FHWA002300
      Case 5:23-cv-00304-H                   Document 15-18                Filed 01/31/24              Page 18 of 534              PageID 2578



                                                Highway Finance
This chapter provides data and analysis of finance trends for highways and transit across all levels of
government. The revenue sources that support investments in highways and bridges are outlined first,
followed by a presentation of total highway expenditures and then highway capital outlays only. A separate
section of the chapter presents finance trends for transit systems.
In February 2009, the American Recovery and Reinvestment Act (Recovery Act) provided additional
funds for transportation and other programs. Transportation received over $48 billion for expenditures in
highways, transit, rail, aviation, and other transportation modes. The Department’s broad recovery goals
reflect those of the Recovery Act, primarily (1) creating and preserving jobs and promoting economic
recovery and (2) investing in infrastructure that has long-term economic benefits. The effects of the
additional funds will be evident in the revenue and expenditure levels and trends presented; these effects are
referenced and explained where relevant.

                                    Revenue Sources for Highways
The revenue generated from all levels for government for highways in 2010 was $221.0 billion, as shown
in Exhibit 6-1. Of the total revenue, the Federal government contributed $59.0 billion, State governments
contributed $109.0 billion and Local governments contributed $53.1 billion.
      Exhibit 6-1 Government Revenue Sources for Highways, 2010
                                                                          Highway Revenue, Billions of Dollars
      Source                                                           Federal     State      Local        Total                  Percent
      User Charges1
       Motor-Fuel Taxes                                                 $26.1          $30.3           $1.0         $57.4           26.0%
       Motor-Vehicle Taxes and Fees                                      $2.6          $22.8           $1.5         $26.9           12.2%
       Tolls                                                             $0.0           $7.9           $1.7          $9.6            4.3%
      Subtotal                                                          $28.7          $61.0           $4.1         $93.8           42.5%
      Other
       Property Taxes and Assessments                                    $0.0           $0.0           $9.4          $9.4            4.3%
       General Fund Appropriations2                                     $29.6           $7.2          $21.8         $58.6           26.5%
       Other Taxes and Fees                                              $0.6           $6.6           $4.9         $12.2            5.5%
       Investment Income and Other Receipts                              $0.0           $8.2           $5.6         $13.9            6.3%
       Bond Issue Proceeds                                               $0.0          $25.9           $7.1         $33.0           14.9%
      Subtotal                                                          $30.2          $48.0          $48.9        $127.1           57.5%
      Total Revenues                                                    $59.0         $109.0          $53.1        $221.0          100.0%
      Funds Drawn From (or Placed in) Reserves3                        ($11.9)         ($3.7)         ($0.1)       ($15.7)          -7.1%
      Total Expenditures Funded During 2010                             $47.1         $105.3         $52.9         $205.3          92.9%
      1 Amounts shown represent only the portion of user charges that are used to fund highway spending; a portion of the revenue

      generated by motor-fuel taxes, motor-vehicle taxes and fees, and tolls is used for mass transit and other nonhighway purposes.
      Gross receipts generated by user charges totaled $120.4 billion in 2010.
      2 The $29.6 billion shown for Federal reflects $14.7 billion transferred from the General Fund to the Highway Trust Fund in 2010,

      as well as the expenditure in 2010 of $11.9 billion of the funding authorized for use on highways by the Recovery Act. The
      remainder supported expenditures by the FHWA and other Federal agencies that were not paid for from the Highway Trust Fund.
      3 The $11.9 billion figure shown for Federal reflects the increase in the balance of the Highway Account of the Highway Trust Fund

      from approximately $8.9 billion at the beginning of the year to approximately $20.7 billion at the end of the year. Without the $14.7
      billion transfer of general funds to the Highway Account, this balance would have declined. It should be noted that while the
      increase in the Highway Account balance in 2010 and the amount of Recovery Act funds expended for highways during 2010 both
      round to $11.9 billion, this is entirely coincidental. Recovery Act funding was authorized from the General Fund, and has no direct
      impact on the Highway Trust Fund.
      Sources: Highway Statistics 2010, Table HF-10, and unpublished FHWA data.


6-2     Description of Current System                                                                                           FHWA002301
Case 5:23-cv-00304-H           Document 15-18             Filed 01/31/24          Page 19 of 534          PageID 2579

   These revenues were raised from user charges and a number of other sources (other taxes, investment income
   and debt financing). Federal, State and local governments provide a different mix of revenue sources. A
   significant share of Federal and State revenues are from user charges. Most of the local revenues are from
   other sources, particularly General Fund Appropriations.
   As shown in Exhibit 6-1, all levels of government combined spent $205.3 billion for highways in 2010. The
   net difference of $15.7 billion between the total revenues generated during the year and the expenditures
   during the year increased the reserves available for use in future years. For example, the $11.9 billion
   difference between total Federal revenues and expenditures represents the increase in the cash balance of
   the Highway Account of the Highway Trust Fund (HTF) in 2010. While cash balances for some States and
   localities rose during the year, others fell. Collectively, cash balances in dedicated highway accounts at the
   State level rose by $3.7 billion, while highway accounts at the local level grew by $0.1 billion.
   The total proceeds to the Highway Account of the HTF from dedicated excise taxes and other receipts
   have fallen below annual expenditures for several years. Transfers of Federal General Fund to the Highway
   Account were made in 2008, 2009 and 2010 to keep the account solvent. Public Law 111-147 transferred
   $14.7 billion from the General Fund to the Highway Account of the HTF in 2010. In the absence of this
   transfer, the balance of the Highway Account would have declined rather than increased.

     Do the user charges reflected in Exhibit 6-1 include all revenues generated by motor-fuel
     taxes, motor-vehicle taxes and fees, and tolls in 2010?
     No. The $93.8 billion identified as highway-user charges in Exhibit 6-1 represents only 77.8
     percent of total highway-user revenue, defined as all revenue generated by motor-fuel taxes, motor-vehicle taxes,
     and tolls. Exhibit 6-2 shows that combined highway-user revenue collected in 2010 by all levels of government
     totaled $120.4 billion.
     In 2010, $14.7 billion of highway-user revenue was        Exhibit 6-2 Disposition of Highway-User
     used for transit, and $11.9 billion was used for other    Revenue by Level of Government, 2010
     purposes, such as ports, schools, collection costs,                                 Revenue, Billions of Dollars
     and general government activities. The $0.4 billion
                                                                                  Federal        State      Local       Total
     shown as Federal highway-user revenue used for
     other purposes reflects the difference between total      Highways            $28.7        $61.0        $4.1      $93.8
     collections in 2010 and the amounts deposited into        Transit               $5.9         $7.7       $1.0      $14.7
     the HTF during FY 2010. Much of this difference           Other                 $0.4       $11.3        $0.2      $11.9
     is attributable to the proceeds of 0.1 cent of the        Total Collected $35.1            $80.0        $5.3     $120.4
     motor-fuel tax being deposited into the Leaking
                                                               Sources: Highway Statistics 2010, Table HF-10, and unpublished
     Underground Storage Tank trust fund.                      FHWA data.
     The $5.9 billion shown as Federal highway-user
     revenue used for transit includes deposits into the Transit Account of the HTF, as well as deposits into the
     Highway Account of the HTF that States elected to use for transit purposes.

   The $29.6 billion identified as Federal General Fund Appropriations in Exhibit 6-1 includes these
   $14.7 billion of transferred funds as well as the 2010 expenditure of $11.9 billion authorized under the
   Recovery Act. The remaining $3.0 billion represents highway-related expenditures of a variety of Federal
   agencies for activities that are not supported by the Federal Highway Trust Fund, including certain programs
   of the FHWA (such as a portion of the Emergency Relief Program) and the National Highway Traffic Safety
   Administration, some direct expenditures by other Federal agencies for roads that they own (see Chapter 12
   for a discussion of transportation on Federal lands), and payments to States and local governments under
   some programs managed by other agencies for which road improvements are an eligible activity. As a result
   of the unusually high reliance on general funds to support highways at the Federal level in 2010, user charges
   accounted for less than half of the Federal revenue for highways. User charges accounted for a higher share
   of State revenues (55.8 percent), consisting of motor fuel taxes ($30.3 billion), motor vehicle taxes and fees
   ($22.8 billion) and tolls ($7.9 billion). Of the other sources, bond proceeds provided the largest revenue for
   the States ($25.9 billion).
                                                                                                        FHWA002302
                                                                                                             Finance            6-3
      Case 5:23-cv-00304-H             Document 15-18            Filed 01/31/24          Page 20 of 534           PageID 2580


                                      American Recovery and Reinvestment Act
  In February 2009, the American Recovery and Reinvestment Act authorized $48.1 billion for programs
  administered by the Department of Transportation. The goal was to stimulate the economy by supporting jobs
  in the construction sector and to invest in critical transportation infrastructure. Of this total, $27.5 billion was
  appropriated for FHWA. In addition, highway and bridge projects were eligible to compete for Office of the
  Secretary of Transportation’s Supplemental Discretionary Grant for a National Surface Transportation System
  program, later referred to
  as the TIGER I program.
  Most of the obligation authority for the highway infrastructure investment funds was distributed to the States by
  the Federal-aid allocation formula. States were required to obligate these funds to specific projects by the end
  of September 2010 to avoid losing them. The expenditure of these funds is occurring gradually as States are
  reimbursed by the FHWA for their expenditures over the life of these projects as the work is completed, which is
  consistent with how the regular Federal-aid highway program operates. The statistics presented in this Chapter
  reflect expenditures on a cash basis rather than obligations, so the Recovery Act may continue to have an impact
  on the reported highway revenues and expenditures for several years.
  The period over which cash expenditures are incurred for an individual project depends on the length of time it
  takes to complete the work, which can vary by project type. During 2010, $11.9 billion of Recovery Act funds
  were expended for highway-related activities.


   Could the Recovery Act project selection process be affecting the spending rates for the
   regular Federal-aid Highway Program?
   States were under tight deadlines to obligate Recovery Act funds by September 30, 2010,
   and their progress in obligating these funds was closely monitored by FHWA; less emphasis was placed on
   the obligation of regular Federal-aid program funds, provided that regular deadlines were met. In addition,
   States were not required to contribute matching funds for projects funded from the Recovery Act, providing an
   additional incentive to use these funds before the regular Federal-aid highway program funds. The financial data
   presented in this report are presented on a cash basis; to the extent that delays in obligating funds for a given
   project within a given fiscal year affected the start date for that project, this could influence the timing of the cash
   expenditures associated with that project.
   Much of the Recovery Act funding was directed to projects that could be implemented relatively quickly in order
   to maximize their short-term impacts on employment. This reduced the pool of such potential projects under
   consideration by States for funding from their regular Federal-aid highway program, which could have affected
   the relative mix of projects selected. To the extent that some States obligated their Federal-aid highway program
   funds to projects of longer duration than usual, this would have tended to slow down the average Federal cash
   spending rate, since cash reimbursements are made to States only after work has been completed. To the extent
   that such a phenomenon has occurred it could have dampened the initial impacts of Recovery Act funding, but
   increased the duration of these impacts.

Many States do not permit local governments to impose motor-fuel or motor-vehicle taxes; if allowed they
cap them at relatively low levels. Therefore, at the local government level, only $4.1 billion (7.8 percent)
of highway funding was provided by user charges
in 2010. General fund appropriations contributed                            Private Sector Financing
$21.8 billion (41.1 percent) toward total local             Financing  for highways   comes from both the public
                                                            and private sectors. The private sector has increasingly
highway revenues, while property taxes generated            played a role in the delivery of highway infrastructure,
$9.4 billion (17.7 percent).                                but the vast majority of funding is still provided by
                                                                 the public sector. The financial statistics presented
The “Investment Income and Other Receipts”                       in this chapter are predominantly drawn from State
category in Exhibit 6-1 includes development fees                reports based on State and local accounting systems.
and special district assessments. Other private sector           Figures in these systems can include some private
investment in highways would also be reflected in                sector investment; where it does, these amounts are
this category, to the extent that such investment is             generally classified as “other receipts.” For additional
                                                                 information on private sector investment in highways,
captured in State and local accounting systems.                  see http:/ www.fhwa.dot.gov/ipd/p3/index.htm.


6-4    Description of Current System                                                                            FHWA002303
Case 5:23-cv-00304-H                    Document 15-18             Filed 01/31/24            Page 21 of 534          PageID 2581


     How long has it been since excise tax revenue deposited into the Highway Account
     exceeded expenditures?
     The last time that annual net receipts credited to the Highway Account of the HTF exceeded
     annual expenditures from the Highway Account was in 2000. As shown in Exhibit 6-3, for each year since 2000,
     total annual receipts to the Highway Account from excise taxes and other income (such as interest income
     and motor carrier safety fines and penalties) have been lower than the annual expenditures from the Highway
     Account (including amounts transferred to the Transit Account).
     To help maintain a positive cash balance in the HTF, three transfers from the General Fund to the HTF were
     legislatively mandated in FY 2008, FY 2009, and FY 2010. From FY 2007 to FY 2010 gross excise tax receipts
     from gasoline, diesel and special motor fuels, tires, trucks and trailers, and the heavy vehicle use tax all declined.
     In 2011, the receipts increased for the first time since 2007. The outlays also increased, retaining the gap
     between tax revenue deposited in the HTF and the expenditures.

     Exhibit 6-3 Highway Trust Fund Highway Account Receipts and Outlays, Fiscal Years 2000–2011
                            45

                            40

                            35

                            30
      Billions of Dollars




                            25

                            20

                            15

                            10                   Highway Account Outlays (Plus Transfers to Transit Account)
                            5                    Highway Account Excise Tax and Other Receipts (Excluding General Fund Transfers)

                            0
                                 2000     2002                2004                2006                 2008              2010

     Sources: Highway Statistics, various years, Tables FE-210 and FE-10.




   Revenue Trends
   Since the passage of the Federal-Aid Highway Act of 1956 and the establishment of the HTF, user charges
   such as motor-fuel and motor-vehicle tax receipts have consistently provided the majority of the combined
   revenues raised for highway and bridge programs by all levels of government.
   Exhibit 6-4 shows the trends in revenue for all governments for the period 2000 to 2010. Total revenues
   have increased on average by 5.4 percent per year between 2000 and 2010. The annual growth in revenue
   from motor fuel and vehicle taxes was only 1.1 percent per year. General Fund appropriation and Bond issue
   proceeds each increased by over eleven percent per year. The increase in the General Fund appropriations
   was particularly strong in 2008 and 2010, when transfers were made from the General Fund to keep the
   HTF solvent, following many years of cash outlays exceeding cash receipts and running down the reserve
   balance.
   The graph in Exhibit 6-4 illustrates the percentage of revenue from different sources to the total revenue
   each year for the period 2000 to 2010. The percentage of revenue from user charges, particularly motor fuel
   and vehicle taxes, has declined over time, whereas the General Fund appropriations and bond proceeds have
   increased.
   Motor fuel tax revenues are sensitive to changes in VMT and fuel efficiency. The growth in VMT over the
   decade from 2000 to 2010 has averaged 0.8 percent per year in contrast to the previous 10 years, when

                                                                                                                   FHWA002304
                                                                                                                        Finance     6-5
      Case 5:23-cv-00304-H                 Document 15-18               Filed 01/31/24         Page 22 of 534       PageID 2582

VMT increased by 2.9 percent per year. In 2008 and 2009, VMT declined each year; 2010 VMT is lower
than the 2007 level. Motor fuel efficiency has also increased over the period from 2000 to 2010; from an
average of 16.9 miles traveled per gallon of fuel consumed to 17.4 miles traveled per gallon of fuel consumed
(Highway Statistics, Table VM-1). Some States compensated for declines in user revenues by increasing fuel
tax rates and other motor vehicle taxes. The weighted average State gasoline motor fuel tax increased from
19.96 cents per gallon in 2000 to 21.82 cents per gallon in 2010. Similarly, the diesel motor fuel tax rate
increased from 19.96 cents per gallon to 22.36 cents per gallon (Highway Statistics, Table MF-205). The
increases in tax rates were more evident after 2005. The decline in user revenues was offset by increasing
revenues from other sources. Transfers from the General Fund helped to sustain the HTF at the level
necessary to support the federal spending levels specified in the SAFETEA-LU. Bond issue proceeds increased
from $20.9 billion in 2008 to $33.0 billion in 2010, a 58 percent increase in two years.

  Exhibit 6-4 Government Revenue Sources for Highways, 2000–2010
                                                                                                                   Annual
                                                                                                                   Rate of
                                                             Highway Revenue, Billions of Dollars                  Change
      Source                              2000               2002     2004      2006        2008         2010     2010/2000
      Motor-Fuel and Motor-Vehicle Taxes $75.6              $73.1    $76.4     $85.4       $84.7         $84.3       1.1%
      Tolls                               $5.7               $6.6     $6.6       $8.3       $9.1          $9.6       5.3%
      Property Taxes and Assessments      $6.1               $6.5     $7.5       $9.0       $9.0          $9.4       4.4%
      General Fund Appropriations        $19.3              $20.3    $23.6     $28.3       $40.0         $58.6      11.8%
      Other Taxes and Fees                $5.7               $7.5     $7.9     $10.1       $12.2         $12.2       7.8%
      Investment Income & Other Receipts  $7.3               $8.1     $7.6       $9.7      $16.6         $13.9       6.6%
      Bond Issue Proceeds                $11.3              $12.7    $15.8     $18.3       $20.9         $33.0      11.3%
      Total Revenues                         $131.1       $134.8        $145.3     $169.0      $192.6   $221.0         5.4%

      70.0%

                                               2000       2002   2004    2006    2008   2010
      60.0%

      50.0%

      40.0%

      30.0%

      20.0%
                                                      1
      10.0%

       0.0%
              Motor-Fuel and       Tolls        Property Taxes General Fund Other Taxes and   Investment         Bond Issue
              Motor-Vehicle                    and Assessments Appropriations    Fees       Income & Other        Proceeds
                  Taxes                                                                        Receipts
  Sources: Highway Statistics, various years, Tables HF-10A and HF-10.



Exhibit 6-5 shows the change in the share of highway revenue derived from user charges by the level of
government. The share has declined for all levels of government combined from 2000 to 2010, but the
decline has been more significant for the Federal user charges, from 95.5 percent to 48.8 percent. As noted
earlier, the declines since 2007 can be attributed in part from General Fund transfers to the HTF, as well as
general funds provided through the Recovery Act. State user revenue share has declined to 42.5 percent from
62.0 percent. User charges have also declined as a share of local government revenue.


6-6     Description of Current System                                                                            FHWA002305
Case 5:23-cv-00304-H               Document 15-18                Filed 01/31/24           Page 23 of 534            PageID 2583

        Exhibit 6-5 Percent of Highway Revenue Derived From User Charges, Each Level of Government,
        2000–2010
                  95.5%    94.6%     93.9%    92.8%    92.4%     91.7%    92.3%   92.8%
         100%
                                                                                                                          Federal

                  73.9%                                                                   74.0%                           State
                           70.3%     72.6%             70.8%     71.4%
                                              70.0%                       69.0%                    69.5%
          75%
                                                                                                                          Local
                                                                                  57.6%   60.4%
                                                                                                  60.3%    55.9%
                                                                                                                          Total
                  62.0%
          50%              58.4%     59.1%             57.1%     57.7%
                                              56.9%                       55.4%                                48.8%
                                                                                  50.8%   48.7%    48.2%
                                                                                                           42.5%
          25%
                  8.3%      8.1%     8.2%      7.0%     6.9%     7.9%      7.7%   7.8%    7.6%     7.7%    7.8%


           0%
                   2000              2002               2004               2006           2008             2010

        Sources: Highway Statistics, various years, Tables HF-10A and HF-10.



                                              Highway Expenditures
   Highway expenditures by all levels of government combined totaled $205.3 billion in 2010, as seen in
   Exhibits 6-1 and 6-5. Exhibit 6-6 breaks down the Federal, State and Local expenditures by type. The rows
   “Funding Sources for Capital Outlay” and “Funding Sources for Total Expenditures” indicate the level of
   government that provided the funding for those expenditures. These expenditures represent cash outlays,
   not authorizations or obligations of funds. (The terms “expenditures”, “spending” and “outlays” are used
   interchangeably in this report.)
   While the Federal government funded $47.1 billion of highway expenditures in 2010, direct Federal
   spending on capital outlay, maintenance, administration and research amounted to only $3.6 billion
   (1.8 percent of all highway expenditures). The remaining $43.5 billion was in the form of transfers to State
   and local governments.
   State governments combined $42.1 billion of Federal funds, $81.9 billion of State funds and $3.1 billion of
   local funds to support direct expenditures of $127.1 billion (61.9 percent of all highway expenditures). Local
   governments directly spent $1.4 billion of Federal funds, $23.4 billion of State funds and $49.8 billion of
   local funds on highways, totaling $74.6 billion (36.3 percent of all highway expenditures).

   Types of Highway Expenditures
   As shown in Exhibit 6-6, in 2010 all levels of government spent $100.0 billion (48.8 percent) of highway
   expenditures on capital outlay. Additional information on types of capital outlay and the distribution
   of capital outlay by type of highway facility is presented later in this chapter. Combined spending on
   maintenance and traffic services of $48.8 billion represented 23.7 percent on total highway expenditures.
   The majority of Federal funding for highways goes for capital outlay rather than noncapital expenditures,
   which are funded primarily by State and local governments. The Federal government funded 44.3 percent of
   capital outlay in 2008, but only 22.9 percent of total highway expenditures.
   In terms of direct highway expenditures by expending agency, State expenditures represent a majority of total
   spending for most expenditure types. The exceptions are the “maintenance” and “highway patrol and safety
   categories” identified in Exhibit 6-6. Local governments spent $20.1 billion on maintenance in 2010, which
   is 60.2 percent of total maintenance spending by all levels of government combined. Local governments
   also spent $9.4 billion on highway patrol and safety expenditures, representing 52.0 percent of combined
   spending on these activities by all levels of government.

                                                                                                                   FHWA002306
                                                                                                                        Finance     6-7
      Case 5:23-cv-00304-H                  Document 15-18                Filed 01/31/24                Page 24 of 534           PageID 2584


      Exhibit 6-6 Direct Expenditures for Highways, by Expending Agencies and by Type, 2010
                                                               Highway Expenditures (Billions of Dollars)
                                                          Federal            State              Local          Total          Percent
      Expenditures by Type
      Capital Outlay                                          $0.8            $72.6              $26.8         $100.2           48.8%
      Noncapital Expenditures
          Maintenance                                          $0.3            $13.0              $20.1          $33.4          16.2%
          Highway and Traffic Services                         $0.0             $9.0               $6.5          $15.4           7.5%
          Administration                                       $2.4             $8.8               $4.9          $16.2           7.9%
          Highway Patrol and Safety                            $0.0             $8.7               $9.4          $18.1           8.8%
          Interest on Debt                                     $0.0             $7.0               $2.9           $9.8           4.8%
          Subtotal                                            $2.7            $46.4              $43.7          $92.9           45.2%
      Total, Current Expenditures                             $3.6           $119.0              $70.5         $193.0           94.0%
      Bond Retirement                                         $0.0             $8.1               $4.1          $12.3            6.0%
      Total, All Expenditures                                 $3.6           $127.1              $74.6         $205.3          100.0%
      Funding Sources for Capital Outlay
           Funded by Federal Government*                      $0.8            $42.1              $1.4          $44.4           44.3%
           Funded by State or Local Govts*                    $0.0            $30.4             $25.4          $55.8           55.7%
           Total                                              $0.8            $72.5             $26.8         $100.2          100.0%
      Funding Sources for Total Expenditures
           Funded by Federal Government*                      $3.6            $42.1              $1.4          $47.1            22.9%
           Funded by State Governments*                       $0.0            $81.9             $23.4         $105.3            51.3%
           Funded by Local Governments*                       $0.0             $3.1             $49.8          $52.9            25.8%
           Total                                              $3.6          $127.1              $74.6         $205.3          100.0%
      * Amounts shown in italics are provided to link this table back to revenue sources shown in Exhibit 6-1. These are nonadditive to
      the rest of the table, which classifies spending by expending agency.
      Sources: Highway Statistics 2010, Table HF-10, and unpublished FHWA data.



Historical Expenditure and Funding Trends
Exhibit 6-7 breaks out expenditures by type since 2000. The largest percentage increases related to debt
service, as bond retirement expenditures grew at an average annual rate of 9.2 percent from 2000 to 2010,
while interest on debt grew an average annual rate of 7.9 percent. Total highway expenditures grew by
5.3 percent per year over this period in nominal dollar terms, while capital outlay rose at an average annual
rate of 5.0 percent, capital expenditures becoming a smaller share of total expenditures.

      Exhibit 6-7 Expenditures for Highways by Type, All Units of Government, 2000–2010
                                                                                                                             Annual Rate
                                                           Highway Expenditures, Billions of Dollars                          of Change
                                         2000                2002     2004       2006        2008                  2010       2010/2000
      Expenditure Type
      Capital Outlay                    $61.3               $68.2        $70.3          $80.2        $90.4      $100.2           5.0%
      Maintenance and Traffic Services $30.6                $33.2        $36.3          $40.8        $45.9       $48.8           4.8%
      Administration                    $10.0               $10.7        $12.7          $13.1        $17.8       $16.2           4.9%
      Highway Patrol and Safety         $11.0               $11.7        $14.3          $14.7        $17.3       $18.1           5.1%
      Interest on Debt                   $4.6                $5.4         $5.8           $6.6         $8.5        $9.8           7.9%
      Total, Current Expenditures      $117.6              $129.1       $139.5         $155.5       $180.0      $193.0           5.1%
      Bond Retirement                    $5.1                $6.8         $8.0           $8.1         $8.6       $12.3           9.2%
      Total, All Expenditures                $122.7        $135.9       $147.5         $163.5       $188.5      $205.3           5.3%
      Sources: Highway Statistics, various years, Tables HF-10A and HF-10.




6-8     Description of Current System                                                                                         FHWA002307
Case 5:23-cv-00304-H             Document 15-18              Filed 01/31/24        Page 25 of 534      PageID 2585

                                             Highway Expenditure Terminology
    The classification of the revenue and expenditure items in this report is based on definitions contained in A Guide to
    Reporting Highway Statistics, the instructional manual for States providing financial data for the Highway Statistics
    publication.
    • “Capital outlay” consists of those expenditures associated with highway improvements. Improvements include
      land acquisition and other right-of-way costs; preliminary and construction engineering; new construction,
      reconstruction, resurfacing, rehabilitation, and restoration; and installation of guardrails, fencing, signs, and
      signals.
    • “Maintenance” includes routine and regular expenditures required to keep the highway surface, shoulders,
      roadsides, structures, and traffic control devices in usable condition. This includes completing spot patching
      and crack sealing of roadways and bridge decks and maintaining and repairing highway utilities and safety
      devices such as route markers, signs, guardrails, fence, signals, and highway lighting. (Other definitions of
      maintenance are used by different organizations. Some resurfacing, restoration, and rehabilitation projects that
      meet this report’s definition of capital outlay might be classified as maintenance activities in internal State or
      local accounting systems.)
    • “Highway and traffic services” include activities designed to improve the operation and appearance of the
      roadway. This includes items such as the operation of traffic control systems, snow and ice removal, highway
      beautification, litter pickup, mowing, toll collection, and air quality monitoring.
    • “Current expenditures” includes all highway expenditures except for bond retirement. When looking at cash
      outlays for a particular year, total expenditures is more relevant, as it measures the full scope of highway-related
      activity. However, when summing expenditures across years, it is sometimes more appropriate to use current
      expenditures. For example, if bonds were issued to pay for a capital project, and retired 20 years later, then
      summing total expenditures over 20 years would effectively capture this transaction twice, as both the initial
      capital expenditure and the retirement of the bonds would be included.
    • “Non-capital expenditures” consists of all current expenditures except for capital outlay. It includes maintenance,
      highway and traffic services, administration, highway law enforcement, safety programs, and interest on debt.

   Exhibit 6-8 shows that Federal funding for highways grew more quickly from 2000 to 2010 than did State
   or local funding. The portion of total highway expenditures rose from 22.4 percent to 22.9 percent over this
   period, while the Federally funded share of highway capital outlay rose from 42.6 percent to 44.3 percent.
   As noted earlier in this chapter, the Federal expenditure figures for 2010 include $11.9 billion funded by the
   Recovery Act. As Federally funded highway expenditures grew by only $7.3 billion from 2008 to 2010
   (from $39.8 billion to $47.1 billion), this indicates that cash-basis expenditures funded from other Federal
   sources declined over this 2-year period.
   Despite budgetary pressures relating to the recent recession, State funding for highways increased from
   $96.6 billion in 2008 to $105.3 billion in 2010. Local government funding also increased slightly during
   this period, from $52.2 billion in 2008 to $52.9 billion in 2010.
      Exhibit 6-8 Funding for Highways by Level of Government, 2000–2010
                                                                                                           Annual Rate
                                                           Highway Funding, Billions of Dollars             of Change
                                               2000        2002     2004       2006       2008     2010     2010/2000
      Capital Outlay
      Funded by Federal Government            $26.1        $31.5       $30.8    $34.6    $37.6     $44.4       5.4%
      Funded by State or Local Govt's         $35.2        $36.7       $39.5    $45.6    $52.8     $55.8       4.7%
      Total                                   $61.3        $68.2       $70.3    $80.2    $90.4    $100.2       5.0%
      Federal Share                           42.6%        46.1%       43.8%    43.1%    41.6%     44.3%
      Total Expenditures
      Funded by Federal Government            $27.5       $32.8        $33.1    $36.3    $39.8     $47.1       5.5%
      Funded by State Governments             $62.7       $69.0        $72.8    $77.4    $96.6    $105.3       5.3%
      Funded by Local Governments             $32.6       $34.1        $41.6    $49.8    $52.2     $52.9       5.0%
      Total                                  $122.7      $135.9       $147.5   $163.5   $188.5    $205.3       5.3%
      Federal Share                           22.4%        24.1%       22.4%    22.2%    21.1%     22.9%
      Sources: Highway Statistics, various years, Tables HF-10A and HF-10.



                                                                                                     FHWA002308
                                                                                                          Finance        6-9
    Case 5:23-cv-00304-H                  Document 15-18               Filed 01/31/24               Page 26 of 534         PageID 2586

Constant Dollar Expenditures
Exhibits 6-9 and 6-10 display time series data on highway expenditures in both current (nominal) and
constant (real) 2010 dollars. While there have been periods of decrease in constant dollars for both highway
capital expenditures and total highway expenditures, both reached an all-time high in 2010.

  Exhibit 6-9 Highway Capital, Noncapital, and Total Expenditures in Current and
  Constant 2010 Dollars, All Units of Government, 1990–2010

   Billions of Dollars                               Highway Capital Expenditures
   120

   100

    80

    60

    40
                                                                                  Current Dollars       Constant 2010 Dollars*
    20

     0
      1990          1992       1994        1996         1998        2000        2002         2004       2006       2008          2010

                                                      Other Highway Expenditures
    Billions of Dollars
   120

   100

     80

     60

     40
                                                                                 Current Dollars        Constant 2010 Dollars*
     20

      0
       1990         1992       1994         1996        1998        2000         2002        2004       2006        2008         2010


    Billions of Dollars
                                                     Total Highway Expenditures
   240

   200

   160

   120

     80

                                                                                 Current Dollars        Constant 2010 Dollars*
     40

      0
       1990         1992       1994         1996        1998        2000         2002        2004       2006        2008         2010

   * Constant dollar conversions for highway capital expenditures were made using the FHWA BPI through the year 2006, and the
   FHWA NHCCI in subsequent years. Constant dollar conversions for other types of highway spending were made using the Bureau of
   Labor Statistics' CPI.
   Sources: Highway Statistics, various years, Tables HF-10A, HF-10, PT-1; http://www.bls.gov/cpi/.




6-10 Description of Current System                                                                                        FHWA002309
Case 5:23-cv-00304-H               Document 15-18                 Filed 01/31/24               Page 27 of 534           PageID 2587


        Exhibit 6-10 Highway Expenditures Funded by Federal and Non-Federal Sources, in Current and
         Constant 2010 Dollars, 1990–2010
                                                           Funding from Federal Government
         Billions of Dollars
         50

          40

          30

          20

          10                                                                          Current Dollars       Constant 2010 Dollars*

           0
            1990          1992       1994        1996         1998        2000         2002        2004      2006        2008        2010


         Billions of Dollars                               Funding from State and Local Governments
         160


         120


          80


          40
                                                                                       Current Dollars      Constant 2010 Dollars*

            0
             1990         1992       1994         1996        1998         2000        2002         2004      2006        2008       2010

        *Constant dollar conversions for highway capital expenditures were made using the FHWA BPI through the year 2006, and the
        FHWA NHCCI in subsequent years. Constant dollar conversions for other types of highway spending were made using the Bureau of
        Labor Statistics' CPI.
         Sources: Highway Statistics, various years, Tables HF-10A, HF-10, PT-1; http://www.bls.gov/cpi/.



   For the 20-year period from 1990 to 2010, highway capital spending increased at an average annual rate of
   2.9 percent in constant dollar terms, slightly above the 2.6 percent annual constant dollar growth rate for
   total highway expenditures. Constant dollar spending grew more quickly over the 10-year period from
   2000 to 2010, rising 3.2 percent annually for capital expenditures and 3.1 percent annually for total
   highway expenditures.
   From 1990 to 2010, Federally funded highway expenditures increased at an average annual rate of
   3.2 percent in constant dollar terms; State and local constant dollar expenditures grew more slowly, rising by
   2.4 percent per year on average. For the 10-year period from 2000 to 2010, Federally funded constant dollar
   highway expenditures rose 3.6 percent per year, compared to a 3.0 percent average annual increase for State
   and local governments.




                                                                                                                      FHWA002310
                                                                                                                           Finance          6-11
   Case 5:23-cv-00304-H                   Document 15-18                Filed 01/31/24             Page 28 of 534              PageID 2588


  What highway inflation indices are used in this report?
  There are significant differences in the types of inputs of materials and labor that are associated
  with different types of highway expenditures; for example, on a dollar-per-dollar basis, highway
  maintenance activities are generally more labor intensive than highway construction activities. This report
  uses different indices for converting nominal dollar highway spending to constant dollars for capital and
  noncapital expenditures. For constant dollar conversions for highway capital expenditures, the Federal Highway
  Administration (FHWA) Composite Bid Price Index (BPI) is used through the year 2006, the last year for which
  this index was produced. Capital expenditure conversions for subsequent years rely on a new index, the FHWA
  National Highway Construction Cost Index (NHCCI). Constant dollar conversions for other types of highway
  expenditures are based on the Bureau of Labor Statistics’ Consumer Price Index (CPI).
  Exhibit 6-11 illustrates the trends in cost indices used in the report, converted to a common base year of 2003
  (the first year of the NHCCI). Over the 20-year period from 1990 to 2010, the CPI increased by 66.8 percent; in
  contrast, the combination of the BPI and NHCCI rose by 60.5 percent. Industry-specific indices such as the BPI
  and NHCCI tend to be more volatile than the CPI, which reflects general trends within the overall economy. This
  volatility was demonstrated in the period between 2004 and 2006 as sharp increases in the prices of materials
  such as steel, asphalt, and cement caused the BPI to increase by 43.3 percent, compared with a 6.7 percent
  increase in the CPI. Since 2006, the NHCCI has decreased by 21.3 percent, so that the purchasing power of each
  dollar spent in 2010 is significantly higher. This enabled many States to fund more projects under the Recovery
  Act than they had initially expected.


    Exhibit 6-11        Comparison of Inflation Indices (Converted to a 2003 Base Year), 1990–2010
   Index Value
     160
                       FHWA Composite Bid Price Index (BPI)
                       National Highway Construction Cost Index (NHCCI)
     140               Composite Used for 2012 C&P Report
                       Consumer Price Index

     120



     100



      80



      60
        1990        1992         1994        1996         1998        2000         2002        2004         2006        2008         2010
   * In order to facilitate comparisons of trends, each index was mathematically converted so that its value for the year 2003 would be
   equal to100.
   Sources: FHWA Highway Statistics, various years, Table PT-1; http://www.bls.gov/cpi/.




                                          Highway Capital Outlay
States provide the FHWA with detailed data on what they spend on arterials and collectors, classifying
capital outlay on each functional system into 17 improvement types. Direct State expenditures on arterials
and collectors totaled $63.0 billion in 2010, drawing upon a combination of State revenues, transfers from
the Federal government, and transfers from local governments. Exhibit 6-12 illustrates the distribution of
these expenditures by improvement type, and how these improvement types have been allocated among
three broad categories: system rehabilitation, system expansion, and system enhancement. These broad
categories are also used in Chapter 7 to discuss the different components of future capital investment

6-12 Description of Current System                                                                                          FHWA002311
Case 5:23-cv-00304-H             Document 15-18                Filed 01/31/24             Page 29 of 534        PageID 2589


     How are “system rehabilitation,” “system expansion,” and “system enhancement”
     defined in this report?
     System rehabilitation consists of capital improvements on existing roads and bridges that are
     intended to preserve the existing pavement and bridge infrastructure. These activities include reconstruction,
     resurfacing, pavement restoration or rehabilitation, widening of narrow lanes or shoulders, bridge replacement,
     and bridge rehabilitation. Also included is the portion of widening (lane addition) projects estimated to be related
     to reconstructing or improving existing lanes. System rehabilitation does not include routine maintenance costs.
     System expansion includes construction of new roads and new bridges and addition of new lanes to existing
     roads. This includes all “New Construction,” “New Bridge,” “Major Widening,” and most of the costs associated
     with “Reconstruction-Added Capacity,” except for the portion of these expenditures estimated to be related to
     improving the existing lanes of a facility.
     System enhancement includes safety enhancements, traffic operations improvements such as the installation of
     intelligent transportation systems, and environmental enhancements.


     Exhibit 6-12 Highway Capital Outlay by Improvement Type, 2010

                                                         Distribution of Capital Outlay, Billions of Dollars
                                                                     System Expansion
                                                     System       New Roads    Existing               System
               Type of Expenditure                 Rehabilitation and Bridges   Roads              Enhancements Total Outlay
     Direct State Expenditures on Arterials and Collectors
     Right-of-Way                                                          $1.5             $2.2                      $3.7
     Engineering                                           $4.7            $0.7             $1.1         $0.7         $7.2
     New Construction                                                      $4.8                                       $4.8
     Relocation                                                                             $1.0                      $1.0
     Reconstruction—Added Capacity                         $1.7                             $4.0                      $5.7
     Reconstruction—No Added Capacity                      $3.3                                                       $3.3
     Major Widening                                                                         $3.1                      $3.1
     Minor Widening                                       $1.3                                                        $1.3
     Restoration and Rehabilitation                      $17.1                                                       $17.1
     Resurfacing                                          $0.0                                                        $0.0
     New Bridge                                                            $0.5                                       $0.5
     Bridge Replacement                                    $5.5                                                       $5.5
     Major Bridge Rehabilitation                           $3.0                                                       $3.0
     Minor Bridge Work                                     $2.1                                                       $2.1
     Safety                                                                                              $2.1         $2.1
     Traffic Management/Engineering                                                                      $0.9         $0.9
     Environmental and Other                                                                             $1.8         $1.8
     Total, State Arterials and Collectors               $38.7             $7.5            $11.4         $5.4        $63.0
     Total, Arterials and Collectors, All Jurisdictions (estimated)*
     Highways and Other                                  $33.8             $8.8            $13.9         $7.0        $63.6
     Bridges                                             $13.1             $0.7                                      $13.8
     Total, Arterials and Collectors                     $46.9             $9.5            $13.9         $7.0        $77.4
     Total Capital Outlay on All Systems (estimated)*
     Highways and Other                                  $42.9           $11.5             $15.0        $12.8        $82.2
     Bridges                                             $17.1            $0.9                                       $18.0
     Total, All Systems                                  $60.0           $12.4             $15.0        $12.8       $100.2
     Percent of Total                                   59.9%            12.4%            15.0%        12.8%        100.0%
     *Improvement type distribution was estimated based on State arterial and collector data.
     Sources: Highway Statistics 2010, Table SF-12A, and unpublished FHWA data.



                                                                                                           FHWA002312
                                                                                                                Finance      6-13
   Case 5:23-cv-00304-H                     Document 15-18                  Filed 01/31/24               Page 30 of 534                 PageID 2590

scenarios. Exhibit 6-12 presents an estimated distribution of total highway capital outlay by all levels of
government on all roads. Of the $100.2 billion in total highway capital outlay, an estimated $60.0 billion
was used for system rehabilitation, $27.4 billion went for system expansion, and $12.8 billion was used for
system enhancement. These estimates are derived based primarily on State expenditure patterns on arterials
and collectors, along with limited data from other sources.
Exhibit 6-13 shows the distribution of capital expenditures by type and functional system. $31.4 billion was
invested on rural arterials and collectors in 2010, with 65.1 percent directed towards system rehabilitation
and 27.4 percent towards expansion; the remainder was directed toward system enhancement. Capital
outlays on urban arterials and collectors were $46.0 billion, of which 57.7 percent went for system
rehabilitation and 32.2 percent went for system expansion.

  Exhibit 6-13 Distribution of Capital Outlay by Improvement Type and Functional System, 2010

                                                                   System Rehabilitation      System Enhancements         System Expansion


                            Rural Interstate ($7.0 Billion)                              74.4%                            6.3%      19.3%

             Rural Other Principal Arterial ($10.3 Billion)                    51.4%                 6.5%                  42.1%

                        Rural Minor Arterial ($6.9 Billion)                           66.8%                         8.8%           24.4%

                      Rural Major Collector ($5.6 Billion)                             72.0%                             8.0%       20.0%

                      Rural Minor Collector ($1.6 Billion)                                 80.0%                                 12.2% 7.8%

   Subtotal, Rural Arterials and Collectors ($31.4 Billion)                         65.1%                         7.5%           27.4%



                          Urban Interstate ($13.2 Billion)                         62.7%                         7.3%           30.1%

  Urban Other Freeways and Expressways ($5.3 Billion)                         48.7%                  12.8%                  38.5%

            Urban Other Principal Arterial ($14.1 Billion)                     52.9%                     10.8%              36.4%

                       Urban Minor Arterial ($8.2 Billion)                        60.2%                      11.6%               28.2%

                            Urban Collector ($5.2 Billion)                         63.0%                         10.7%           26.3%

  Subtotal, Urban Arterials and Collectors ($46.0 Billion)                       57.7%                      10.1%               32.2%



       Rural and Urban Local (Estimated) ($22.8 Billion)                         57.3%                            25.3%              17.4%

          Total, All Systems (Estimated) ($100.2 Billion)                         59.9%                       12.8%              27.4%

                                                              0%    10%    20%     30%      40%    50%    60%       70%     80%      90%     100%
  Sources: Highway Statistics 2008, Table SF-12A, and unpublished FHWA data.



Exhibit 6-14, shows trends in capital outlays by improvement type from 2000 to 2010. Each year, a
majority of capital outlays were directed towards system rehabilitation reflecting the need to preserve the
aging system. However, system preservation’s share of total capital spending rose dramatically between 2008
and 2010, rising from 51.1 percent to 59.9 percent. System rehabilitation expenditures increased from
$46.2 billion to $60.0 billion, an increase of almost 30 percent over the 2 years. This dramatic increase
was partly driven by the Recovery Act. One of the goals of the Recovery Act was to support jobs through




6-14 Description of Current System                                                                                                  FHWA002313
Case 5:23-cv-00304-H             Document 15-18              Filed 01/31/24          Page 31 of 534      PageID 2591

   construction expenditures, providing an incentive for the selection of projects that could be initiated and
   completed relatively quickly. This led many States to direct a larger portion of their Recovery Act funding
   toward pavement improvement projects than they usually do from regular Federal-aid funds in a typical
   year. (For example, in 2008, States obligated 42.3 percent to the types of projects that would be classified
   as “System Rehabilitation-Highway” in this report. However, the share of Recovery Act funding obligated
   for such projects in 2009 and 2010 was 58.3 percent. This was however, partially offset by a lower share of
   Recovery Act funding being obligated to the “System Rehabilitation-Bridges” category.)

      Exhibit 6-14 Capital Outlay on All Roads by Improvement Type, 2000–2010
                                                                                                                Annual
                                                                                                                Rate of
                                                             Capital Outlay, Billions of Dollars                Change
      Improvement Type                       2000         2002        2004         2006        2008   2010     2010/2000
      System Rehabilitation
      Highway                               $25.0        $25.5        $26.7        $31.0     $33.5    $42.9      5.5%
      Bridge                                 $7.3        $10.7         $9.6        $10.3     $12.7    $17.1      8.9%
      Subtotal                              $32.3        $36.2        $36.3        $41.3     $46.2    $60.0      6.4%
      System Expansion
      Additions to Existing Roadways        $11.4        $11.9        $12.1        $14.0     $15.7    $15.0      2.8%
      New Routes                            $10.5        $11.4        $12.6        $15.2     $16.1    $11.5      0.9%
      New Bridges                            $1.1         $1.1         $1.4         $1.2      $1.5     $0.9      -2.0%
      Subtotal                              $23.0        $24.4        $26.1        $30.4     $33.3    $27.4       1.8%
      System Enhancements                    $6.1         $7.6         $7.8        $8.5      $10.9    $12.8      7.7%
      Total                                 $61.3        $68.2        $70.3        $80.2     $90.4    $100.2     5.0%
      Percent of Total Capital Outlay
      System Rehabilitation                 52.7%        53.1%        51.7%        51.5%     51.1%    59.9%
      System Expansion                      37.4%        35.8%        37.1%        37.9%     36.9%    27.4%
      System Enhancements                    9.9%        11.1%        11.2%        10.6%     12.0%    12.8%

      Sources: Highway Statistics 2010, Table SF-12A, and unpublished FHWA data.



   Over the 10-year period from 2000 to 2010, system rehabilitation expenditures grew at an average annual
   rate of 6.4 percent. System expansion expenditures have increased at a slower average annual rate of
   1.8 percent, resulting in a decline in share of total capital outlays from 37.4 percent in 2000 to 27.4 percent
   in 2010. System enhancement expenditures have grown more quickly, rising from 9.9 percent of total capital
   outlays in 2000 to 12.8 percent in 2010.

      How have constant dollar expenditures for different capital improvement types grown
      in recent years?
      As noted earlier in this section, total capital outlay by all levels of government grew at
      an average annual rate of 3.2 percent from 2000 to 2010 in constant dollar terms. Constant dollar system
      rehabilitation expenditures rose by 4.5 percent per year over this period, while system expansion expenditures
      showed little annual change. Expenditures for system enhancements grew by 5.8 percent per year in constant
      dollar terms from 2000 to 2010.




                                                                                                       FHWA002314
                                                                                                            Finance      6-15
   Case 5:23-cv-00304-H                 Document 15-18       Filed 01/31/24         Page 32 of 534             PageID 2592


  Was the share of recovery funds spent on system rehabilitation higher than the share of
  2008 system rehabilitation expenditures?
  The spending pattern of the Recovery Act funds has been different from the year 2008 spending. Exhibit 6-15
  presents the 2008 FHWA obligations and Recovery Act obligations and expenditures through December 2010.
  Rehabilitation expenditures account for more than 50 percent of the obligations for both periods, but under the
  Recovery Act, the share has increased to above 60 percent in obligations and well over 70 percent in the funds
  expended through December 2010.
  The Recovery Act had specific requirements regarding the time by which the funds had to be obligated. The
  objectives of the Act were to ensure that funds were quickly invested to support construction jobs lost due to the
  economic recession. To encourage the States and other funding recipients to select projects quickly, they were
  required to obligate 50 percent of the Recovery Act funds (excluding sub-allocations to local entities) within
  120 days of apportionment or lose funding to other States that were successful in meeting this deadline. All
  recipients were required to obligate 100 percent of their funds by the end of September 2010 or lose what was
  remaining. States were requested to select projects that were ready. This resulted in choosing projects that
  required minimum level of planning and approval. This favored the selection of rehabilitation and replacement
  projects.
  The share of Recovery Act expenditures for system rehabilitation is higher than the share of Recovery Act funds
  obligated for that purpose (74.7 per cent compared to 67.6 per cent) because rehabilitation and resurfacing
  projects are likely to incur expenditures sooner than other types of projects. Resurfacing and pavement
  rehabilitation typically require less advance planning and can be completed in a shorter timeframe. Alternatively,
  expansion projects require more planning and coordination and may include purchase of right of way, and
  project construction may range from a few months to multiple years.

    Exhibit 6-15 Comparison of FHWA Expenditures by Type, Prior to and During the Recovery Act
      80.0%

      70.0%

      60.0%                                                                           FY 2008 Federal-Aid Obligated
                                                                                      Projects
      50.0%
                                                                                       Recovery Act Obligated Projects as
      40.0%                                                                           of December 31, 2010
                                                                                       Recovery Act Funds Expended as
      30.0%                                                                           of December 31, 2010

      20.0%

      10.0%

       0.0%
                System Rehabilitation     System Expansion    System Enhancement

    Source: FHWA Recovery Act Data.



Capital Outlays on Federal-Aid Highways
As discussed in Chapter 2, the term “Federal-aid Highways” refers to roads that are generally eligible for
Federal funding, and excludes roads that are functionally classified as rural minor, rural local or urban local.
Exhibit 6-16 shows that total capital outlays on Federal-aid highways increased at an average annual rate of
4.6 percent from 2000 to 2010, rising to $75.8 billion in 2010.
Capital outlays on system rehabilitation increased from $35.5 billion in 2008 to $45.6 billion in 2010,
an increase greater than the increase in total capital outlays on the Federal-aid system. The share of system
rehabilitation increased from 50.7 percent in 2008 to 60.2 percent in 2010.




6-16 Description of Current System                                                                           FHWA002315
Case 5:23-cv-00304-H             Document 15-18             Filed 01/31/24             Page 33 of 534      PageID 2593

      Exhibit 6-16 Capital Outlay on Federal-Aid Highways, by Improvement Type, 2000–2010
                                                                                                                Annual Rate
                                                          Capital Outlay, Billions of Dollars                    of Change
      Improvement Type                     2000         2002       2004         2006       2008     2010         2010/2000
      System Rehabilitation
      Highway                              $19.3        $19.6       $19.4           $22.9   $26.1   $33.1          5.5%
      Bridge                                $5.5         $8.3        $7.2            $7.7    $9.3   $12.5          8.6%
      Subtotal                             $24.8        $27.9       $26.6           $30.6   $35.5   $45.6          6.3%
      System Expansion
      Additions to Existing Roadways       $10.4        $11.0       $11.6           $12.9   $14.3   $13.8          2.9%
      New Routes                            $8.4         $9.1        $9.8           $12.0   $12.8    $8.8          0.4%
      New Bridges                           $0.9         $0.9        $1.2            $0.9    $1.0    $0.7          -2.5%
      Subtotal                             $19.7        $21.0       $22.6           $25.9   $28.1   $23.3           1.7%
      System Enhancements                   $3.8         $4.8        $5.0            $5.5    $6.4    $6.8           6.1%
      Total                                $48.3        $53.7       $54.2           $61.9   $70.0   $75.8           4.6%
      Percent of Total Capital Outlay
      System Rehabilitation                51.4%       52.0%        49.1%         49.3%     50.7%   60.2%
      System Expansion                     40.8%       39.1%        41.6%         41.9%     40.1%   30.8%
      System Enhancements                   7.8%        8.9%         9.3%          8.8%      9.2%    9.0%
       Sources: Highway Statistics 2008, Table SF-12A, and unpublished FHWA data.


   Capital Outlays on the National Highway System
   The National Highway System (NHS) includes roads important to the Nation’s economy, defense and
   mobility, as described in chapter 2. Exhibit 6-17 shows that $44.4 billion of capital investments were made
   on the NHS in 2010, having grown at an average annual rate of 4.0 percent since 2000.
   On the NHS, the shift within capital expenditures towards system rehabilitation is even more significant
   than for all highways and the Federal-aid system. NHS system rehabilitation expenditures increased from
   $20.4 billion to $27.3 billion, increasing its share of total capital spending from 48.5 percent in 2008 to
   61.5 percent in 2010.
      Exhibit 6-17 Capital Outlay on the NHS, by Improvement Type, 2000–2010
                                                                                                                Annual Rate
                                                           Capital Outlay, Billions of Dollars                   of Change
      Improvement Type                      2000         2002       2004         2006       2008        2010     2010/2000
      System Rehabilitation
      Highway                               $11.1       $10.6        $9.5           $12.3   $14.9       $19.9      6.0%
      Bridge                                 $3.1        $4.5        $4.0            $4.3    $5.4        $7.4      9.3%
      Subtotal                              $14.2       $15.1        $13.5          $16.6   $20.4       $27.3      6.8%
      System Expansion
      Additions to Existing Roadways        $6.4         $7.1        $7.1           $8.1    $9.2        $8.6       3.1%
      New Routes                            $6.6         $6.7        $6.8           $8.9    $8.6        $4.7       -3.3%
      New Bridges                           $0.8         $0.6        $0.9           $0.7    $0.6        $0.3       -7.9%
      Subtotal                              $13.7        $14.5       $14.8          $17.7   $18.3       $13.7       0.0%
      System Enhancements                   $2.0         $2.8        $2.8           $2.8    $3.3        $3.4        5.6%
      Total                                 $29.9        $32.4       $31.1          $37.2   $42.0       $44.4       4.0%
      Percent of Total Capital Outlay
      System Rehabilitation                47.5%        46.7%        43.5%          44.7%   48.5%   61.5%
      System Expansion                     46.0%        44.7%        47.6%          47.7%   43.7%   30.9%
      System Enhancements                   6.6%         8.7%         8.9%           7.6%    7.8%    7.6%
     Sources: Highway Statistics 2008, Table SF-12B, and unpublished FHWA data.



                                                                                                         FHWA002316
                                                                                                              Finance      6-17
   Case 5:23-cv-00304-H                Document 15-18              Filed 01/31/24       Page 34 of 534       PageID 2594

                                          Capital Outlay on the Enhanced NHS
  MAP-21 redefines the NHS to include principal arterial mileage not previously included, as well as connectors
  to the added principal arterials. In 2010, capital outlay on the NHS totaled $44.4 billion, while capital outlay on
  principal arterials not on the NHS totaled $8.4 billion. Adding the two produces an estimated capital outlay figure
  of $53.9 billion.


Capital Outlays on the Interstate System
The Interstate system supports the movement of goods and people across the country. Exhibit 6-18 shows
that the total capital outlay expenditures for 2010 were $20.2 billion, an increase of only $0.2 billion from
2008, a very low growth compared to the historic growth rates. System rehabilitation expenditures increased
from $10.8 billion in 2008 to $13.5 billion in 2010, and the system expansion expenditures decreased from
$7.8 billion to $5.3 billion, resulting in a system rehabilitation share of 66.7 percent and system expansion
of 26.3 percent in 2010.

   Exhibit 6-18 Capital Outlay on the Interstate System, by Improvement Type, 2000–2010
                                                                                                         Annual Rate
                                                  Capital Outlay, Billions of Dollars                     of Change
   Improvement Type                      2000       2002         2004        2006       2008     2010     2010/2000
   System Rehabilitation
   Highway                               $5.8         $5.5         $4.7        $5.8     $7.5    $9.4         4.9%
   Bridge                                $1.6         $2.4         $2.3        $2.5     $3.3    $4.1         9.9%
   Subtotal                              $7.4         $8.0         $7.0        $8.3     $10.8   $13.5        6.2%
   System Expansion
   Additions to Existing Roadways        $2.5         $3.2         $2.9        $3.2     $4.5     $3.5         3.6%
   New Routes                            $2.6         $2.5         $2.5        $3.5     $3.0     $1.7        -4.3%
   New Bridges                           $0.4         $0.2         $0.2        $0.3     $0.3     $0.1        -9.4%
   Subtotal                              $5.5         $5.9         $5.6        $7.1     $7.8     $5.3        -0.3%
   System Enhancements                   $0.9         $1.4         $1.1        $1.2     $1.4     $1.4         4.2%
   Total                                 $13.8        $15.3       $13.7        $16.5    $20.0   $20.2        3.9%
   Percent of Total Capital Outlay
   System Rehabilitation                53.7%        52.1%        50.8%        49.9%    53.9%   66.7%
   System Expansion                     39.6%        38.5%        40.9%        42.6%    38.9%   26.3%
   System Enhancements                   6.7%         9.4%         8.3%         7.4%     7.1%    6.9%
  Sources: Highway Statistics 2008, Table SF-12A, and unpublished FHWA data.




                                             Innovative Finance
In recent years, State and Local transportation agencies have adopted new ways of financing and delivering
transportation projects. In the face of stagnating public revenues and demanding fiscal requirements, many
jurisdictions are utilizing innovative options such as public-private partnerships, Federal credit assistance,
and other debt financing tools. These strategies may enable financially strapped public agencies to deliver
costly and complex infrastructure projects much earlier than would be possible through traditional
mechanisms.




6-18 Description of Current System                                                                         FHWA002317
Case 5:23-cv-00304-H          Document 15-18           Filed 01/31/24         Page 35 of 534         PageID 2595

   Public-Private Partnerships
   Public-Private Partnerships (P3s) are contractual agreements formed between a public agency and a private
   entity that allow for greater private sector participation in the delivery and financing of transportation
   projects. Typically, this participation involves the private sector taking on additional project risks, such as
   design, finance, long-term operation, maintenance, or traffic revenue. P3s are undertaken for a variety of
   purposes, including monetizing the value of existing assets, developing new transportation facilities, or
   rehabilitating or expanding existing facilities. While P3s may offer certain advantages, such as increased
   financing capacity and reducing up-front costs, the public sector still must identify a source of revenue
   for the project to provide a return to the private partner’s investment, and must ensure that the goals and
   interests of the public are adequately secured.
   Additional information on P3s is available at http://www.fhwa.dot.gov/ipd/p3/index.htm.

                         Public-Private Partnership Project: IH-635 Managed Lanes (LBJ Express)
     The LBJ Express Project will relieve congestion north of Dallas on 13 miles of IH-635 (LBJ Freeway) from just west
     of IH-35E to just east of US-75, and south on IH-35E from I-635 to Loop 12. The project will involve:
     • Reconstruction of the main lanes and frontage roads along IH-635
     • Addition of six managed lanes (mostly subsurface) along IH-635 from IH-35E to US-75 and four managed lanes
       west and east of that stretch
     • Addition of six elevated managed lanes along IH-35E from Loop 12 to the IH-35E/IH-635 interchange.
     The project is being built under a public-private partnership (Comprehensive Development Agreement) executed
     in September 2009 between the Texas Department of Transportation and LBJ Infrastructure Group, which will
     operate and maintain the facility for 52 years. Construction began in early 2011 and is expected to be complete by
     December 2015. The total cost of the project is $2.6 billion.


   Federal Credit Assistance
   Federal credit assistance for highway improvements can take one of two forms: loans, where project
   sponsors borrow Federal highway funds directly from a State DOT or the Federal government; and credit
   enhancements, where a State DOT or the Federal government makes Federal funds available on a contingent
   (or standby) basis. Credit enhancement helps reduce risk to investors and thus allows project sponsors to
   borrow at lower interest rates. Loans can provide the capital necessary to proceed with a project, and reduce
   the amount of capital borrowed from other sources, and may also serve a credit enhancement function by
   reducing the risk borne by other investors. Federal tools currently available to project sponsors include the
   Transportation Infrastructure and Finance Innovation Act (TIFIA) program, State Infrastructure Bank (SIB)
   programs, and Section 129 loans.
   The TIFIA Credit Program provides Federal credit assistance in the form of direct loans, loan guarantees,
   and standby lines of credit to finance surface transportation projects of national and regional significance. A
   TIFIA project must pledge repayment in whole or in part with dedicated revenue sources such as tolls, user
   fees, special assessments (taxes), or other non-Federal sources. SIBs are State-run revolving funds that provide
   loans, credit enhancements, and other forms of non-grant assistance to surface transportation projects.
   SIBs can be capitalized with regularly apportioned Federal-aid funds. Section 129 loans allow States to lend
   apportioned Federal-aid highway funds to toll and non-toll projects generating dedicated revenue streams.
   Additional information on credit assistance tools is available at http://www.fhwa.dot.gov/ipd/finance/tools_
   programs/federal_credit_assistance/index.htm




                                                                                                   FHWA002318
                                                                                                        Finance       6-19
   Case 5:23-cv-00304-H              Document 15-18            Filed 01/31/24         Page 36 of 534           PageID 2596


                               Federal Credit Assistance Project – Port of Miami Tunnel
  The Port of Miami Tunnel will improve access to and from the Port of Miami, serving as a dedicated roadway
  connector linking the port (located on an island in Biscayne Bay) with the MacArthur Causeway and I-395 on the
  mainland. Currently, the Port is linked to the mainland only by the Port Bridge. The project includes a tunnel under
  the Main Channel (the shipping channel between Dodge and Watson Islands), roadway work on Dodge Island and
  Watson Island/MacArthur Causeway, and widening the MacArthur Causeway Bridge. Twin tubes, each 3,900 feet
  long and 41 feet in diameter, will reach a depth of 120 feet below the water.
  The project is being developed and operated as a public-private partnership with Miami Access Tunnel, LLC
  (MAT). Under the concession agreement, the Florida DOT will provide MAT with milestone payments during the
  construction period (2010–2014) and a final acceptance payment upon construction completion in 2014. This
  will be followed by 30 years of availability payments during the operating period. Deductions will be made from
  this amount if MAT’s operation of the facility does not meet prescribed performance standards. The State has
  agreed to pay for approximately 50 percent of the capital costs (design and construction) and all operations and
  maintenance, while the remaining 50 percent of the capital costs will be provided by Miami-Dade County and the
  City of Miami.
  Financing for this $1.1 billion project includes a $341 million TIFIA loan secured by a pledge of the availability
  payments due to the concessionaire. The TIFIA loan was executed in October 2009.



Debt Financing Tools
Some transportation projects are so large that their cost exceeds available current grant funding and tax
receipts or would consume so much of these current funding sources as to delay many other planned
projects. For this reason, State and local governments often look to finance large projects through borrowing,
which provides an immediate influx of cash to fund project construction costs. The borrower then retires
the debt by making principal and interest payments over time. Tax-exempt municipal bonds, backed by
future government revenues, are the most common method of borrowing by government agencies for
transportation projects.
Three innovative debt instrument tools—Grant Anticipation Revenue Vehicles (GARVEEs), Private Activity
Bonds (PABs), and Build America Bonds (BABs)—provide further borrowing opportunities. A GARVEE
is a debt financing instrument—such as a bond, note, certificate, mortgage, lease, or other debt financing
technique—that has a pledge of future Federal-aid funding. PABs are debt instruments issued by State or
local governments on behalf of a private entity for highway and freight transfer projects, allowing a private
project sponsor to benefit from the lower financing costs of tax-exempt municipal bonds. BABs, which
were authorized by the American Recovery and Reinvestment Act (Recovery Act), are taxable bonds that are
eligible for an interest rate subsidy paid directly from the U.S. Treasury. The Recovery Act allowed States and
local governments to issue BABs through December 2010.
Additional information on Federal debt financing tools is available at http://www.fhwa.dot.gov/ipd/finance/
tools_programs/federal_debt_financing/index.htm.


                            Debt Financing Tool Project: Maine’s Veterans Memorial Bridge
  Maine’s third Grant Anticipation Revenue Vehicles (GARVEE) sale took place in November 2010 in the amount of
  $50 million in Taxable Build America Bonds issued by the Maine Municipal Bond Bank. A portion of the proceeds
  is being used to partially fund the construction of the replacement of the Veterans Memorial Bridge over the Fore
  River between the Cities of Portland and South Portland. The bridge is nearing 60 years of age and is designed to
  be a gateway to Maine’s largest city.




6-20 Description of Current System                                                                          FHWA002319
Case 5:23-cv-00304-H            Document 15-18       Filed 01/31/24        Page 37 of 534               PageID 2597



                                             Transit Finance

   Transit funding comes from two major sources: public funds allocated by Federal, State, and local
   governments, and system-generated revenues earned from the provision of transit services. As shown in
   Exhibit 6-19, the total amount available for transit financing in 2010 was $54.3 billion. Federal funding for
   transit includes fuel taxes dedicated to transit from the Mass Transit Account (MTA) of the Highway Trust
   Fund (HTF), as well as undedicated taxes allocated from Federal general fund appropriations. State and
   local governments also provide funding for transit from their General Fund appropriations, as well as from
   fuel, income, sales, property, and other unspecified taxes, specific percentages of which may be dedicated
   to transit. These percentages vary considerably among taxing jurisdictions and by type of tax. Other public
   funds from sources such as toll revenues and general transportation funds may also be used to fund transit.
   System-generated revenues are composed principally of passenger fares, although additional revenues are
   also earned by transit systems from advertising and concessions, park-and-ride lots, investment income, and
   rental of excess property and equipment.

        Exhibit 6-19 2010 Revenue Sources for Transit Funding
                                                                (Millions of Dollars)
                                              Federal     State         Local         Total             Percent
          Public Funds                        10,364.1   11,788.4      18,021.1     40,173.6              73.9%
          General Fund                         2,072.8    3,041.0       3,955.3       9,069.1             16.7%
          Fuel Tax                             8,291.3      587.0         183.4       9,061.7             16.7%
          Income Tax                                        478.7          78.6         557.3              1.0%
          Sales Tax                                       3,140.6       4,556.9       7,697.5             14.2%
          Property Tax                                       27.4         418.1         445.4              0.8%
          Other Dedicated Taxes                           2,328.0         294.1       2,622.1              4.8%
          Other Public Funds                              2,185.7       8,534.8     10,720.5              19.7%
          System-Generated Revenue                                                  14,156.2              26.1%
          Passenger Fares                                                           12,126.3              22.3%
          Other Revenue                                                               2,029.9              3.7%
          Total All Sources                                                         54,329.8             100.0%
        Source: National Transit Database.



                      Level and Composition of Transit Funding
   Exhibit 6-20 breaks down the sources of total transit
   funding. In 2010, public funds of $40.2 billion were            Exhibit 6-20 2010 Public Transit Revenue
   available for transit and accounted for 73.9 percent of         Sources (Billions of Dollars)
   total transit funding. Of this amount, Federal funding              System-                                    Federal
                                                                      Generated                                    $10.4
   was $10.4 billion, accounting for 25.8 percent of total            Revenue                                      19%
   public funding and for 19.1 percent of all funding from              $14.2
                                                                        26%
   both public and nonpublic sources. State funding was
   $11.8 billion, accounting for 29.3 percent of total public
   funds and 21.7 percent of all funding. Local jurisdictions
   provided the bulk of transit funds, $18 billion in 2010, or                                                     State
   44.9 percent of total public funds and 33.2 percent of all                                                      $11.8
                                                                        Local                                      22%
   funding. System-generated revenues were $14.2 billion,               $18.1
   26.1 percent of all funding. During the Recovery Act years           33%
   of 2009, 2010, and 2011, transit agencies reported annual       Source: National Transit Database.


                                                                                                    FHWA002320
                                                                                                         Finance      6-21
   Case 5:23-cv-00304-H                                Document 15-18             Filed 01/31/24   Page 38 of 534     PageID 2598


  What type of dedicated funding does public transit receive from Federal highway-user fees?
  In 1983, the MTA was established within the HTF. It is funded by 2.86 cents of Federal highway-
  user fees on gasohol, diesel and kerosene fuel, and other special fuels (benzol, benzene, and
  naphtha). Since 1997, the Federal fuel tax on a gallon of gasoline has been 18.4 cents and the tax on a gallon
  of diesel has been 24.4 cents.
  The MTA also receives 2.13 cents of the user fee on liquefied petroleum gas (LPG) and 1.86 cents of the user
  fee on liquefied natural gas (LNG). The MTA does not receive any of the nonfuel revenues (such as heavy
  vehicle use taxes) that accrue to the HTF.
  Since the passage of the Safe, Accountable, Flexible, Efficient Transportation Equity Act: A Legacy for Users
  (SAFETEA-LU), only the Formula and Bus Grants Program is funded from the MTA. Prior to SAFETEA-LU, MTA
  funded other FTA programs.



  How long has it been since excise tax revenue deposited into the MTA exceeded
  expenditures?
  The last time that annual net receipts credited to the MTA of the HTF exceeded annual
  expenditures from the Highway Account was in 2007. As shown in Exhibit 6-21, for 10 of the 12 years since
  2000, total annual receipts to the MTA from excise taxes and other income (including amounts transferred from
  the Highway Account) have been lower than the annual expenditures from the MTA.

   Exhibit 6-21 Mass Transit Account Receipts and Outlays, Fiscal Years 2000–2011
                          8.0

                          7.0

                          6.0
    Billions of Dollars




                          5.0

                          4.0

                          3.0
                                       Mass Transit Account Outlays
                          2.0
                                       Mass Transit Account Receipts (Excluding
                          1.0          General Fund Transfers)

                          0.0
                                2000            2002                  2004            2006         2008        2010
   Sources: Highway Statistics, various years, Tables FE-210 and FE-10.



expenditures averaging $17.0 billion. The infusion of $5.3 billion in Recovery Act funds during that period
allowed the industry to maintain investment levels near the record 2008 funding level of $17.1 billion.

Federal Funding
Federal funding for transit comes from two sources: the general revenues of the U.S. government and
revenues generated from fuel taxes credited to the HTF’s MTA. General revenue sources include income
taxes, corporate taxes, tariffs, fees, and other government income not required by statute to be accounted
for in a separate fund. The MTA, a trust fund for capital projects in transit, is generally the largest source
of Federal funding for transit, though it was overtaken by American Recovery and Reinvestment Act
(Recovery Act) funds from the general account in 2009. Exhibit 6-22 shows how Recovery Act funds were
awarded in 2009, 2010, and 2011 in comparison to other Federal funding that comes from both the MTA


6-22 Description of Current System                                                                                  FHWA002321
Case 5:23-cv-00304-H                                       Document 15-18            Filed 01/31/24          Page 39 of 534     PageID 2599


     Exhibit 6-22 Recovery Act Funding Awards Compared to Other FTA Fund Awards
                                         $14
                                               Amount Awarded (Non-Recovery Act)   Amount Awarded (Recovery Act)
     FTA Funding (Billions of Dollars)
                                         $12

                                         $10

                                          $8

                                          $6

                                          $4

                                          $2

                                          $0
                                               FY06            FY07           FY08             FY09            FY10      FY11         FY12
     Source: Federal Transit Administration, Grants Data.



   and the General Fund. Of the funds authorized for transit grants in FTA’s 2010 budget, 79.0 percent were
   derived from the MTA. Funding from the MTA in nominal dollars increased from $0.5 billion in 1983 to
   $8.3 billion in 2010.
   The Department of Homeland Security (DHS) provides funding for projects aimed at improving transit
   security. In 2010, DHS provided a total of $253 million to transit service providers.
   Since 1973, Federal surface transportation authorization statutes have contained flexible funding provisions
   that enable transfers from certain highway funds to transit programs and vice versa. Transfers are subject to
   State and regional/local discretion, and priorities are established through statewide transportation planning
   processes. All States within the United States participate in the flexible funding program except Arkansas,
   Delaware, Hawaii, Nebraska, North Dakota, South Dakota, and Wyoming. U.S. territories, including
   American Samoa, Guam, North Mariana Islands, Puerto Rico, and the Virgin Islands do not participate.
   Flexible funding transferred from highways to transit fluctuates from year to year and is drawn from several
   different sources.
   The Surface Transportation Program is also the source of Federal Highway Administration (FHWA) funds
   that are “flexed” to FTA to pay for transit projects. Funding is at 80 percent of Federal share and may be
   used for all capital and maintenance projects eligible for funds under current Federal Transit Administration

     What are Flex Funds?
     In FY 2008, $1.4 billion in flexible funds/transfers from Federal highway programs were available
     to FTA for obligation. Of that total, $957.3 million (67.0 percent) was transferred in FY 2008;
     the remaining available $472.5 million (33.0 percent) was the un-obligated carryover or recovery of prior year
     transfers. Thirty-nine states transferred flexible funds during FY 2008 and obligations totaled $1.1 billion. Once
     transferred, these funds take on the characteristics of the program in which they are received and are included in
     the figures reported across various programs. Obligations in FY 2008 were:
     • Urbanized Area Formula: $938.6 million (87.4 percent);
     • Capital: $45.6 million (4.2 percent);
     • Elderly and Persons with Disabilities: $67.8 million (6.3 percent); and
     • Non-urbanized Area Formula: $21.9 million (2.0 percent).
     Since the program’s initiation in FY 1992, a total of $15.0 billion has been transferred from FHWA for transit
     projects. FHWA funds can be used for transit projects without being “flexed” to FTA, so this number may
     understate the total use of highway funds for transit projects.


                                                                                                                              FHWA002322
                                                                                                                                   Finance   6-23
   Case 5:23-cv-00304-H                   Document 15-18                Filed 01/31/24             Page 40 of 534            PageID 2600

(FTA) programs, and may not be used for operating assistance. FHWA has requested that they be
administered by FTA.
FHWA’s Congestion Mitigation and Air Quality (CMAQ) Improvement Program funds are another
source of flexed funds used to support transit projects in air quality nonattainment areas. A CMAQ project
must contribute to the attainment of the national ambient air quality standards by reducing air pollutant
emissions from transportation sources. Public transportation projects can be funded through CMAQ,
including some provisions for transit operating assistance.

State and Local Funding
General funds and other dedicated public                                  Exhibit 6-23 State and Local Sources of
funds (vehicle licensing and registration fees,                           Transit Funding (Millions of Dollars)
communications access fees, surcharges and taxes,
                                                                             Other                                                 General
lottery and casino receipts, and the proceeds from                           Public                                                 Fund
property and asset sales) are important sources of                           Funds                                                 $6,996.3
                                                                           $10,829.1                                                 23%
funding for transit at both the State and local levels.                       36%
                                                                                                                               Fuel Tax
State and local funding sources for transit are shown                                                                           $770.4
in Exhibit 6-23. Taxes, including fuel, sales, income,                                                                           3%
                                                                            Other
property and other dedicated taxes, provide 41 percent                    Dedicated                                                Income Tax
                                                                           Taxes                                                     $557.3
of total public funds for State and local sources.                        $2,622.1                                                     2%
General Funds provide 23 percent of transit funding                          9%
                                                                                      Property                                 Sales Tax
with Other Public Funds providing the remaining                                         Tax                                    $7,697.5
36 percent.                                                                            445.4                                     26%
                                                                                        1%

System-Generated Funds                                                    Source: National Transit Database.

In 2010, system-generated funds were $14.2 billion
and provided 26 percent of total transit funding. Passenger fares contributed $12.1 billion, accounting for
22.3 percent of total transit funds. These passenger fare figures do not include payments by State entities to
transit systems that offset reduced transit fares for certain segments of the population, such as students and
the elderly. These payments are included in the “other revenue” category.
Exhibit 6-24 shows average fares and costs, on a per-mile basis, for the Nation’s 10 largest transit agencies
since 2000. After adjusting for inflation (constant dollars) there has been a 10 percent increase in fares
per mile over this period while the average cost per mile has increased by 19 percent. This has resulted in

   Exhibit 6-24 Average Fares and Costs per Mile—Top 10 Transit Systems, 2000–2010 (Constant Dollars)
                                                                                                                       % Increase
   Top 10                                                                                                           2000–     Average
   Systems*           2000    2001      2002    2003    2004     2005    2006     2007     2008    2009    2010      2010     Annual
   Average Fare
   per Mile           $3.61   $3.61     $3.44   $3.37   $3.50   $3.53    $3.64   $3.69     $3.82   $3.82   $3.99     10%           1.0%
   Average Cost
   per Mile           $9.05   $9.21     $9.13   $9.21   $9.34   $9.53    $9.70   $10.10 $10.28 $10.50 $10.82         19%           1.8%
   Average
   Recovery Ratio    39.9% 39.2% 37.7% 36.6% 37.5% 37.0% 37.5% 36.5% 37.2% 36.4% 36.9%                               -8%       -0.8%

   *MTA New York City, Chicago Transit Authority, Los Angeles County Metropolitan Transportation Authority, Washington
   Metropolitan Area Transit Authority, Massachusetts Bay Transportation Authority, Southeastern Pennsylvania Transportation
   Authority, New Jersey Transit Corporation, San Francisco Municipal Railway, Metropolitan Atlanta Rapid Transit Authority, and
   Maryland Transit Administration.
   Source: National Transit Database.



6-24 Description of Current System                                                                                          FHWA002323
Case 5:23-cv-00304-H                                          Document 15-18          Filed 01/31/24         Page 41 of 534            PageID 2601

   an 8.0 percent decrease in the “fare recovery ratio,” which is the percentage of operating costs covered by
   passenger fares. The 2010 fare recovery ratio for these ten agencies was 36.9 percent. Because these are all rail
   agencies, and rail systems tend to have lower operating costs per passenger mile, this is a higher fare recovery
   ratio than would be found for most bus or demand response operations. In many cases, municipalities
   operating these systems have determined that it is more cost effective for them to provide free service as fare
   collection is expensive and fares for these operations are generally kept low.


                                                                         Trends in Funding
   Between 2000 and 2010, public funding for transit increased at an average annual rate of 4.3 percent,
   Federal funding increased at an average annual rate of 4.4 percent, and State and local funding grew at an
   average annual rate of 4.3 percent after adjusting for inflation (constant dollars). These data are presented in
   Exhibit 6-25.

     Exhibit 6-25 Funding for Transit by Government Jurisdiction, 2000–2010
                                          $80                                                                                                  20.0%

                                                                                                                                               18.0%
                                          $70                                                                                 Federal Share,
                                                                                                                                 19.1%
      Billions of Constant 2010 Dollars




                                                                                                                                               16.0%
                                          $60
                                                                                                                                               14.0%




                                                                                                                                                       Federal Share of Funding
                                          $50                                                                                         $14.29
                                                                                                                                               12.0%

                                          $40                                                                                                  10.0%
                                                                                                                                      $29.68
                                                                                                                                               8.0%
                                          $30
                                                                                                                                               6.0%
                                          $20
                                                                                                                                               4.0%
                                          $10
                                                                                                                                      $10.36   2.0%

                                          $0                                                                                                   0.0%
                                                2000   2001     2002   2003    2004       2005     2006    2007     2008      2009     2010
                                                          Federal       State and Local          System-Generated          Federal Share

     Source: National Transit Database.



   Federal funding for transit, as a percentage of total funding for transit from Federal, State, and local
   sources combined, reached a peak of 42.9 percent in the late 1970s, and declined to near its present value
   by the early 1990s as State and local funding increased. Exhibit 6-25 shows that, since 2000, the Federal
   government has provided between 16.9 and 19.5 percent of total funding for transit (including system-
   generated funds); in 2010, it provided 19.1 percent of these funds.

   Funding in Current and Constant Dollars
   Public funding for transit in current and constant dollar terms since 1990 is presented in Exhibit 6-26. Total
   public funding for transit was $40.2 billion in 2010. After adjusting for inflation (constant dollars), this was
   2.2 percent higher than in 2008. Between 2008 and 2010 Federal funding increased from nearly $9.0 billion
   to $10.4 billion (15.3 percent) in current dollars. In constant dollars this represents a 13.9 percent increase.
   From 2008 to 2010, in current dollars, State and local funding stayed the same at $29.8 billion. In constant
   dollars this represents a 1.4 percent decrease in funding.

                                                                                                                                     FHWA002324
                                                                                                                                          Finance                                 6-25
     Case 5:23-cv-00304-H                                                  Document 15-18             Filed 01/31/24             Page 42 of 534           PageID 2602

  Exhibit 6-26 Current and Constant Dollar Funding for Public Transportation (All Sources)
                                       45

                                       40                                  Total Current Dollars        Total Constant 2010 Dollars

                                       35
   Billions of Dollars




                                       30

                                       25

                                       20

                                       15

                                       10
                                             1990       1992        1994           1996      1998     2000       2002          2004      2006     2008       2010

  Source: National Transit Database.


While Federal funds directed to capital expenditures have increased 4.8 percent from 2000 to 2010, funds
applied to operating expenditures have increased 13.7 percent during the same period (current dollars). As
indicated in Exhibit 6-27, $3.6 billion was applied to operating expenditures and $6.8 billion was applied to
capital expenditures in 2010. More than half of the operating expenditures were for preventive maintenance,
which is reimbursed as a capital expense under FTA’s 5307 grant program.

   Exhibit 6-27 Applications of Federal Funds for Transit Operating and Capital Expenditures, 2000–2010
                                       $12
                                                    Capital Expenditures                                                                         Average Annual
                                                                                                                                                  Growth Rate,
                                       $10          Operating Expenditures – 5307 Preventive Maintenance                                           2000–2010
                                                                                                                                  $1.5    $1.6
         Billions of Current Dollars




                                                    Operating Expenditures – All Others                                                               Total
                                       $8                                                                               $1.3              $2.0   Operating Funds
                                                                                                              $0.8                $1.6
                                                                                                      $0.9
                                                                                                                        $1.3                         13.7%
                                                                                      $1.0     $0.8   $1.6    $1.8
                                       $6                $1.1               $1.6
                                                                  $1.3
                                                                                      $1.0     $1.4                                               Capital Funds
                                               $1.0
                                       $4                                                                                                             4.8%
                                                                                                                                  $7.1    $6.8
                                                                                                                        $6.4
                                                         $5.5     $5.0      $5.1      $4.9            $5.6    $5.6
                                       $2      $4.3                                            $4.6


                                       $0
                                               2000     2001     2002      2003       2004    2005    2006    2007      2008     2009    2010
                                                                                              Year
   Source: National Transit Database.



                                                                Capital Funding and Expenditures
Funding for capital investments by transit operators in the United States comes primarily from public
sources. A relatively small amount of private sector funds for capital investment in transit projects are
generated through innovative finance programs.
Capital investments include the design and construction of new transit systems, extensions of existing
systems (“New Starts”), and the modernization or replacement of existing assets. Capital investment
expenditures can be for the acquisition, renovation, and repair of rolling stock (i.e., buses, railcars,
locomotives, and service vehicles) or fixed assets (which include fixed guideway systems, terminals, and
stations, as well as maintenance and administrative facilities).


6-26 Description of Current System                                                                                                                       FHWA002325
Case 5:23-cv-00304-H                             Document 15-18                    Filed 01/31/24        Page 43 of 534        PageID 2603

   As shown in Exhibit 6-28, in 2010, total public transit agency expenditures for capital investment were
   $16.6 billion. This accounted for 41.3 percent of total available funds. Federal funds were $4.4 billion
   in 2010, 26.6 percent of total transit agency capital expenditures. State funds provided 14.2 percent and
   local funds provided 44.6 percent of total transit funding. Recovery Act funds provided the remaining
   14.5 percent of revenues for agency capital expenditures.
   Substantial amounts of Recovery Act funding were made available in 2009 and 2010, years in which use of
   non-Recovery Act Federal funds for capital investment went down. Total Federal expenditures were only
   slightly higher than in previous years, so it appears that Recovery Act funds displaced regular FTA grant
   funds in 2009 and 2010. This is not surprising given the strict 2-year obligation limit specified for Recovery
   Act funds. They would have to be used first due to their shorter availability period. As transit agencies have
   limited staff to process grants, and limited “shovel-ready” projects available for funding, expenditure of non-
   Recovery Act FTA grant funds was delayed so Recovery Act funds could be processed quickly.

      Exhibit 6-28 Sources of Funds (Billions of Dollars) for Transit Capital Expenditures, 2000–2010
                             $20
                                     Local                                                                                        Average Annual
                             $18                                                                                                   Growth Rate,
                                     State                 Constant 2010 Dollars                                                    2000–2010
                                     Recovery Act
                             $16                                                                                             Total      6.2%
                                     Federal

                             $14
                                                                                                               $7.3          Local
                                                                                                                      $7.4              6.8%
       Billions of Dollars




                             $12                                                                        $7.7                 Funds


                             $10                                                          $5.5   $6.5                        State
                                                               $6.1    $5.9                                                             9.2%
                                                    $5.9                                                                     Funds
                                          $4.3                                 $5.7
                             $8                                                                                $2.4   $2.4
                                   $3.8                                                                 $2.0
                                                                                                               $1.1          Federal
                             $6                                                           $1.7   $1.5                                   0.3%
                                          $1.0      $1.4       $1.6    $1.8                                           $2.4   Funds
                                                                                   $1.5
                                   $1.0
                             $4
                                                                                                        $6.4   $6.0
                                          $5.5      $5.0       $5.1    $4.9               $5.6   $5.6
                             $2    $4.3                                            $4.6                               $4.4

                             $0
                                   2000   2001      2002      2003     2004    2005       2006   2007   2008   2009   2010

      Source: National Transit Database.



   As shown in Exhibit 6-29, rail modes require a higher percentage of total transit capital investment than
   bus modes because of the higher cost of building fixed guideways and rail stations, and because bus
   systems typically do not pay to build or maintain the roads on which they run. In 2010, $11.9 billion, or
   72 percent of total transit capital expenditures, were invested in rail modes of transportation, compared with
   $4.6 billion, or 28 percent of the total, which was invested in nonrail modes. This investment distribution
   has been consistent over the last decade.
   Fluctuations in the levels of capital investment in different types of transit assets reflect normal rehabilitation
   and replacement cycles, as well as new investment. Capital investment expenditures have only been reported
   to the National Transit Database (NTD) at the level of detail in Exhibit 6-29 since 2002.
   Total guideway investment was $6.2 billion in 2010, and total investment in systems was $1.1 billion.
   Guideway includes at-grade rail, elevated and subway structures, tunnels, bridges, track and power systems
   for all rail modes, and paved highway lanes dedicated to buses. Investment in systems by transit operators
   includes groups of devices or objects forming a network, most notably for train control, signaling, and
   communications.

                                                                                                                             FHWA002326
                                                                                                                                  Finance      6-27
   Case 5:23-cv-00304-H                   Document 15-18                Filed 01/31/24              Page 44 of 534              PageID 2604

  Exhibit 6-29 2010 Transit Capital Expenditures by Mode and Type
                                                              Rail Capital Expenditures, Millions of Dollars
                                                  Commuter        Heavy          Light           Other           Total
   Type                                             Rail           Rail           Rail           Rail1           Rail
   Guideway                                          $1,812         $2,005        $2,273             $5.5        $6,096
   Rolling Stock                                       $403           $877           $327            $3.4        $1,611
   Systems                                            $118            $591           $139            $7.7          $855
   Maintenance Facilities                             $159              $84           $92            $1.2          $337
   Stations                                            $427         $1,572           $341            $1.7        $2,342
   Fare Revenue Collection Equipment                    $14             $41           $27              $0           $82
   Administrative Buildings                              $5             $30          $7.9            $0.3           $43
   Other Vehicles                                       $14             $28          $6.1            $0.1           $49
   Other Capital Expenditures2                          $74           $419            $21            $0.6          $514
   Total                                             $3,026         $5,646        $3,234              $20       $11,927
   Percent of Total                                  18.3%           34.1%         19.5%            0.1%          72.0%
                                                             Nonrail Capital Expenditures, Millions of Dollars
                                                 Fixed Route     Demand
   Type                                              Bus        Response       Ferryboat        Vanpool      Total Nonrail
   Guideway                                            $136              $0            $0              $0          $136
   Rolling Stock                                     $2,374           $222           $128             $12        $2,736
   Systems                                             $239             $22         $0.20          $0.07           $261
   Maintenance Facilities                              $534             $26          $9.8          $0.01           $569
   Stations                                            $379            $0.9         $45.2          $0.01           $425
   Fare Revenue Collection Equipment                    $88            $3.9         $0.24              $0           $92
   Administrative Buildings                            $184             $14          $7.2          $0.16           $206
   Other Vehicles                                       $35            $1.2            $0          $0.02            $36
   Other Capital Expenditures2                         $156            $7.0         $11.9          $0.32           $176
   Total                                             $4,125           $297           $203             $12        $4,637
   Percent of Total                                   24.9%           1.8%          1.2%            0.1%          28.0%

                                                                                     Total Expenditures, Millions
                                                                                        of Dollars for Rail and            Percent of
   Type                                                                                     Nonrail Modes                    Total
   Guideway                                                                                           $6,232                  37.6%
   Rolling Stock                                                                                      $4,347                  26.2%
   Systems                                                                                            $1,117                   6.7%
   Maintenance Facilities                                                                               $906                   5.5%
   Stations                                                                                           $2,766                  16.7%
   Fare Revenue Collection Equipment                                                                    $174                   1.1%
   Administrative Buildings                                                                             $249                   1.5%
   Other Vehicles                                                                                        $85                   0.5%
   Other Capital Expenditures2                                                                          $689                   4.2%
   Total                                                                                             $16,564                 100.0%
   1 Alaska railroad, automated guideway, cable car, inclined plane, and monorail.

   2 Capital expenditures not elsewhere included. These expenditures include furniture and equipment that are not an integral part of

   buildings and structures; they also include shelters, signs, and passenger amenities (e.g., benches) not in passenger stations.
   Note: Fixed Route Bus includes Motor Bus and Trolleybus.
   Source: National Transit Database.


Total investment in rolling stock in 2010 was $4.3 billion, total investment in stations was $2.8 billion, and
total investment in maintenance facilities was $0.9 billion. Rolling stock includes the bodies and chassis of
transit vehicles and their attached fixtures and appliances, but does not include fare collection equipment
and revenue vehicle movement control equipment such as radios. Stations include station buildings,
platforms, shelters, parking and other forms of access, and crime prevention and security equipment at
stations. Facilities include the purchase, construction, and rehabilitation of administrative and maintenance

6-28 Description of Current System                                                                                           FHWA002327
Case 5:23-cv-00304-H                                     Document 15-18                 Filed 01/31/24           Page 45 of 534          PageID 2605


     What are “New Starts?”
     FTA provides dedicated funding for the construction of new fixed guideway systems through
     a competitive program known as “New Starts”. Title 49 USC Section 5309 provides for the
     allocation of funds for the design and construction of new transit systems and extensions to current systems
     (“New Starts”), among other purposes. To receive FTA capital investment funds for a New Starts project, the
     proposed project must emerge from the metropolitan and/or statewide planning process. A rigorous series
     of planning and project development requirements must be completed in order for a project to qualify for this
     funding. FTA evaluates proposed projects on the basis of financial criteria and project justification criteria as
     prescribed by statute. Initial planning efforts are not funded through the Section 5309 program, but may be
     funded through Section 5303, Metropolitan Planning; Section 5339, Alternatives Analysis; or Section 5307,
     Urbanized Area Formula Grants programs.
     Under current law, Federal funding may account for up to 80 percent of a New Starts funding requirement.
     Generally, the Federal share of such projects now averages about 50 percent of the total project cost. However,
     not all new fixed guideway projects are constructed through the New Starts Program.

   facilities. Facilities also include investment in building structures, climate control, parking, yard track,
   vehicle and facilities maintenance equipment, furniture, office equipment, and computer systems.
   Other capital includes capital costs associated with general administration facilities, furniture, equipment
   that is not an integral part of buildings and structures, data processing equipment (including computers and
   peripheral devices whose sole use is in data processing operations), and shelters located at on-street bus stops.


                                                                  Operating Expenditures
   Transit operating expenditures include wages, salaries, fuel, spare parts, preventive maintenance, support
   services, and certain leases used in providing transit service. As indicated in Exhibit 6-30, $37.8 billion


      Exhibit 6-30 Sources of Funds for Transit Operating Expenditures, 2000–2010
                                    $40                                                                                          50%
                                           Recovery Ratio= System-Generated Funds / Total (right axis)                                    Average Annual
                                                                                                                                           Growth Rate,
                                                                                                                 $14.0   $14.2   45%
                                    $35                                                                  $13.7                              2000–2010

                                                                                                 $12.7                           40%     Total     5.7%
                                    $30
                                                                                         $12.3
                                                                                                                                 35%
                                                                                $11.5                                                   System-
      Billions of Current Dollars




                                                                        $10.9                                                          Generated   3.7%
                                    $25                                                                                                  Funds
                                                                $10.4                                                            30%
                                                         $9.9                                                            $10.6
                                                 $10.1                                                           $10.9
                                                                                                         $10.8
                                    $20   $9.8                                                                                   25%
                                                                                                 $10.5                                  Local      5.0%
                                                                                                                                        Funds
                                                                                         $8.9
                                                                                $8.4                                             20%
                                    $15                                 $7.9
                                                                $7.4
                                                         $6.9                                                                           State
                                                 $7.1                                                                    $9.4    15%               8.0%
                                                                                                                 $9.5                   Funds
                                    $10   $6.5                                                           $9.4
                                                                                                 $7.9
                                                                                $6.7     $6.9                                    10%
                                                                $6.0    $6.0                                                            Federal
                                                         $6.1                                                                                      13.7%
                                    $5           $5.1                                                                                   Funds
                                          $4.4                                                                                   5%

                                                                                         $2.5    $2.5    $2.6    $3.1    $3.6
                                                 $1.1    $1.3   $1.6    $2.0    $2.2
                                    $0    $1.0                                                                                   0%
                                          2000   2001    2002   2003    2004    2005     2006    2007    2008    2009    2010
                                                                                Year
      Source: National Transit Database.



                                                                                                                                       FHWA002328
                                                                                                                                            Finance        6-29
   Case 5:23-cv-00304-H                   Document 15-18          Filed 01/31/24        Page 46 of 534        PageID 2606

was available for operating expenses in 2010, the Federal share of which has increased from the 2008 level
of 7.1 percent to 9.4 percent. The share generated from system revenues remained relatively stable from
37.6 percent in 2008 to 37.5 percent in 2010. The State share decreased slightly from 25.8 percent in 2008
to 24.9 percent in 2010. The local share of operating expenditures decreased slightly from 29.5 percent in
2008 to 28.2 percent in 2010.

    What happens after the census?
    TEA-21 mandated that Federal funding to transit systems in urbanized areas with populations
    over 200,000 be used only for capital expenses and preventive maintenance, and not for
    operating expenses. Formula grant funds to urbanized areas with populations of less than 200,000 were
    still allowed to be used for operating expenses. As a result of the 2000 census, 56 areas were reclassified
    as urbanized areas with populations of more than 200,000. (These reclassifications were announced by the
    Census Department in May 2002.) Transit agencies operating in these areas were slated to lose their eligibility
    to use Federal formula funding to finance transit operations starting in FY 2003. The Transit Operating Flexibility
    Act of 2002 amended Section 5307 of 49 USC to allow transit systems that were in these areas to continue to
    use their formula funds for operating expenses as well as for capital expenses in FY 2003, despite their change
    in status. This change was extended by the Surface Transportation Extension Act of 2003. Under SAFETEA-LU
    these transit agencies may continue to use formula funds for operating expenses in FY 2005 at 100 percent
    of their FY 2002 apportionment, in FY 2006 at 50 percent of their FY 2002 apportionment, and in FY 2007 at
    25 percent of their FY 2002 apportionment. The impact of the 2010 census did not take place until the 2013
    apportionment. Legislative responses to these reclassifications have not yet been considered.



Operating Expenditures by Transit Mode
As shown in Exhibit 6-31, total transit operating expenditures were $35.1 billion in 2010. These
expenditures increased at an average annual rate of 5.8 percent between 2000 and 2010 (in current-year
dollars). Light rail and demand response modes have experienced the largest percentage increase in operating
expenditures during this period. This is due to relatively greater investment in new light rail and demand
response capacity over the past 10 years.


    Exhibit 6-31 Transit Operating Expenditures by Mode, 2000–2010
                                                  Expenditures, Millions of Current Dollars
                                        Heavy     Commuter         Light        Demand
     Year       Motor Bus                Rail       Rail            Rail       Response       Other          Total
     2000         $11,026                $3,931     $2,679            $592        $1,225        $549         $20,003
     2001         $11,814                $4,180     $2,854            $676        $1,410        $595         $21,529
     2002         $12,586                $4,267     $2,995            $778        $1,636        $643         $22,905
     2003         $13,316                $4,446     $3,173            $754        $1,779        $718         $24,185
     2004         $13,790                $4,734     $3,436            $826        $1,902        $739         $25,427
     2005         $14,666                $5,145     $3,657            $978        $2,071        $721         $27,238
     2006         $15,796                $5,287     $3,765          $1,070        $2,286        $820         $29,025
     2007         $16,812                $5,888     $4,001          $1,163        $2,539        $901         $31,304
     2008         $17,963                $6,129     $4,294          $1,259        $2,861        $975         $33,479
     2009         $18,313                $6,311     $4,538          $1,393        $3,053       $1,030        $34,638
     2010         $18,399                $6,370     $4,595          $1,499        $3,171       $1,037        $35,071
    Percent of Total
     2000           55.1%                19.7%        13.4%          3.0%          6.1%         2.7%          100.0%
     2010           52.5%                18.2%        13.1%          4.3%          9.0%         3.0%          100.0%
   Source: National Transit Database.




6-30 Description of Current System                                                                          FHWA002329
Case 5:23-cv-00304-H             Document 15-18              Filed 01/31/24           Page 47 of 534             PageID 2607

   Operating Expenditures by Type of Cost
   In 2010, $18.6 billion—or 53.1 percent of total transit operating expenditures—went toward vehicle
   operations. Smaller amounts were expended on maintenance and administration; these expenses, which have
   virtually been the same for the last several years, are broken down across cost categories in Exhibit 6-32.

     Exhibit 6-32 Operating Expenditures by Mode and Type of Cost, 2010
                                                 Distribution of Expenditures, Millions of Dollars
                                           Vehicle          Vehicle      Nonvehicle          General
       Mode                               Operations     Maintenance Maintenance          Administration             Total
       Motor Bus                            $10,788           $3,717            $773             $3,121              $18,399
       Heavy Rail                             $2,789          $1,113          $1,577               $890               $6,370
       Commuter Rail                          $1,860          $1,161            $822               $752               $4,595
       Light Rail                               $612            $308            $262               $317               $1,499
       Demand Response                        $2,016            $409             $85               $661               $3,171
       Other                                    $561            $170             $80               $226               $1,037
       Total                                $18,625           $6,878          $3,600             $5,968              $35,071
       Percent of All Modes                   53.1%            19.6%          10.3%              17.0%               100.0%
     Source: National Transit Database.


   Exhibits 6-33 and 6-34 illustrate how road and rail operations have inherently different cost structures
   because, in most cases, roads are not paid for by the transit provider, but tracks are. A significantly higher
   percentage of expenditures for rail modes of transportation are classified as nonvehicle maintenance,
   corresponding to the repair and maintenance costs of fixed guideway systems.

     Exhibit 6-33 Rail Operating Expenditures by Type                  Exhibit 6-34 2010 Nonrail Operating
     of Cost, Millions of Dollars                                      Expenditures by Type of Cost, Millions of Dollars
                                                     General            Nonvehicle                                    General
                                                    Administra-         Maintenance                                  Administra-
                        Nonvehicle
                                                       tion               $938.4                                        tion
                          Mainten-
                                                     $1,959.3               4%                                        $4,008.9
                            ance                                                        Vehicle
                                                       16%                                                             18%
                          $2,661.6                                                    Maintenance
                            21%                                                        $4,296.3
                  Vehicle
                 Mainten-                                                                19%
                   ance
                                   Vehicle                                                           Vehicle
                 $2,581.7
                                 Operations                                                         Operations
                   21%
                                  $5,261.1                                                          $13,364.1
                                    42%                                                               59%



     Source: National Transit Database.                                Source: National Transit Database.



   Operating Expenditures per Vehicle Revenue Mile
   Operating expenditures per vehicle revenue mile (VRM) is one measure of financial or cost efficiency. It
   shows the expense of operating a transit vehicle in revenue service. As shown in Exhibit 6-35, operating
   expenditures per VRM for all transit modes combined was $8.95 in 2010; the average annual increase
   in operating expenditures per VRM for all modes combined between 2000 and 2010 was 1.3 percent in
   constant dollars.
   As shown in Exhibit 6-36, analysis of NTD reports for urbanized areas with greater than 1 million in
   population shows that the growth in operating expenses is led by the cost of fringe benefits, which have


                                                                                                             FHWA002330
                                                                                                                  Finance      6-31
   Case 5:23-cv-00304-H                    Document 15-18               Filed 01/31/24              Page 48 of 534             PageID 2608

      Exhibit 6-35 Operating Expenditures per Vehicle Revenue Mile, 2000–2010 (Constant Dollars)
                         Motor            Heavy        Commuter           Light          Demand
           Year          Bus1              Rail          Rail              Rail         Response          Other2          Total
           2000           $7.84             $8.52        $13.55           $14.43           $3.40            $6.33          $7.83
           2001           $7.94             $8.66        $13.81           $15.58           $3.52            $6.62          $7.94
           2002           $8.13             $8.52        $13.92           $15.64           $3.75            $6.73          $8.05
           2003           $8.36             $8.58        $14.30           $14.46           $3.86            $7.52          $8.21
           2004           $8.43             $8.73        $14.72           $14.27           $3.90            $5.99          $8.25
           2005           $8.68             $9.14        $14.72           $16.06           $3.90            $5.20          $8.43
           2006           $8.92             $8.99        $14.15           $15.81           $4.07            $5.53          $7.88
           2007           $9.12             $9.66        $14.12           $14.79           $4.12            $5.41          $8.70
           2008           $9.40             $9.57        $14.22           $14.92           $4.26            $5.01          $8.80
           2009           $9.39             $9.55        $14.67           $15.82           $4.26            $4.58          $8.77
           2010           $9.60             $9.84        $14.60           $16.36           $4.42            $4.49          $8.95
           Average Annual Rate of Change
           2010/2000        2.0%               1.4%         0.8%             1.3%            2.7%            -3.4%            1.3%
      1 Note that annual changes in operating expense per capacity-equivalent VRM and unadjusted motor bus

      operating expenditures are consistent with those shown in Exhibit 6-31.
      2 Automated guideway, Alaska railroad, cable car, ferryboat, inclined plane, monorail, Público, trolleybus, and

      vanpool.
      Source: National Transit Database.


been going up at a rate of 3.8 percent per year above inflation (constant dollars) since 2000. By comparison,
average salaries at these 10 agencies grew at an inflation-adjusted rate of only 0.4 percent per year in that
period. FTA does not collect data on the different components of fringe benefits, but increases in the cost of
medical insurance drive growth rates in fringe benefits across the economy and likely drive the growth in this
category.

   Exhibit 6-36 Growth in Operating Costs—UZAs over 1 million*, 2000–2010

                                           Average Cost per Mile, Constant Dollars                                         % Increase
     Cost                                                                                                               2000– Average
   Component        2000     2001       2002    2003    2004     2005     2006      2007    2008     2009     2010       2010 Annual
   Salaries         $3.49 $3.48 $3.58 $3.62 $3.56 $3.51 $3.56 $3.58 $3.61 $3.62 $3.63                                    4%        0.4%
   Fringe
   Benefits         $2.12 $2.17 $2.31 $2.49 $2.62 $2.69 $2.69 $2.85 $2.81 $2.93 $3.07                                   45%        3.8%
   Labor Cost       $5.61 $5.65 $5.89 $6.11 $6.18 $6.20 $6.25 $6.44 $6.42 $6.55 $6.69                                   19%        1.8%
   Total           $11.21 $11.29 $11.78 $12.21 $12.36 $12.41 $12.50 $12.88 $12.84 $13.10 $13.39                         19%        1.8%
   *MTA New York City, Chicago Transit Authority, Los Angeles County Metropolitan Transportation Authority, Washington
   Metropolitan Area Transit Authority, Massachusetts Bay Transportation Authority, Southeastern Pennsylvania Transportation
   Authority, New Jersey Transit Corporation, San Francisco Municipal Railway, Metropolitan Atlanta Rapid Transit Authority, and
   Maryland Transit Administration.
   Source: National Transit Database.


Operating expenditures per capacity-equivalent VRM is a better measure of comparing cost efficiency
among modes than operating expenditures per VRM because it adjusts for passenger-carrying capacities.
As demonstrated by the data in Exhibit 6-37, rail systems are more cost efficient in providing service than
nonrail systems, once investment in rail infrastructure has been completed. Based on operating costs alone,
heavy rail is the most efficient at providing transit service, and demand response systems are the least
efficient. Annual changes in operating expense per capacity-equivalent VRM are not comparable across
modes because average capacities for all vehicle types are adjusted separately each year based on reported
fleet averages.

6-32 Description of Current System                                                                                            FHWA002331
Case 5:23-cv-00304-H               Document 15-18                Filed 01/31/24              Page 49 of 534              PageID 2609

       Exhibit 6-37 Operating Expenditures per Capacity-Equivalent Vehicle Revenue Mile by
       Mode, 2000–2010 (Constant Dollars)
                  Motor       Heavy                      Commuter            Light            Demand
         Year      Bus          Rail                       Rail               Rail           Response             Other             Total
         2000      $7.84       $3.61                      $5.81              $5.73             $18.86             $9.66            $6.46
         2001      $7.94       $3.67                      $5.93              $6.18             $19.56             $10.45           $6.42
         2002      $8.13       $3.61                      $5.98              $6.21             $20.85             $10.16           $6.40
         2003      $8.36       $3.46                      $5.61              $5.38             $21.43             $11.30           $6.48
         2004      $8.43       $3.52                      $5.78              $5.31             $22.95             $10.48           $6.54
         2005      $8.68       $3.68                      $4.80              $5.83             $23.51             $9.66            $6.70
         2006      $8.92       $3.62                      $4.62              $5.74             $24.49             $10.69           $6.79
         2007      $9.12       $3.91                      $4.64              $5.44             $24.59             $10.49           $6.76
         2008      $9.40       $3.87                      $4.67              $5.49             $25.39             $13.22           $6.93
         2009      $9.39       $4.54                      $5.33              $6.32             $25.80             $11.47           $7.50
         2010      $9.60       $3.98                      $5.34              $5.95             $25.48             $11.16           $7.24
       Compound Annual Growth Rate
      2010/2000    2.0%        1.0%                         -0.8%             0.4%              3.1%              1.5%              1.1%

      Source: National Transit Database.


   Operating Expenditures per Passenger Mile
   Operating expense per passenger mile is an indicator of the cost effectiveness of providing a transit service.
   It shows the relationship between service inputs as expressed by operating expenses and service consumption
   as expressed by passenger miles traveled. Operating expenditures per passenger mile for all transit modes
   combined increased at an average annual rate of 1.8 percent between 2000 and 2010 (from $0.56 to $0.67).
   These data are shown in Exhibit 6-38.

      Exhibit 6-38 Operating Expenditures per Passenger Mile, 2000–2010 (Constant Dollars)

                             Motor            Heavy        Commuter            Light          Demand
           Year               Bus              Rail           Rail              Rail         Response           Other*            Total
            2000             $0.73            $0.36          $0.36             $0.55           $2.61            $0.61             $0.56
            2001             $0.74            $0.36          $0.37             $0.58           $2.76            $0.63             $0.57
            2002             $0.78            $0.38          $0.38             $0.65           $3.03            $0.66             $0.60
            2003             $0.81            $0.39          $0.39             $0.65           $3.05            $0.66             $0.63
            2004             $0.84            $0.38          $0.40             $0.64           $3.11            $0.61             $0.63
            2005             $0.84            $0.40          $0.43             $0.64           $3.13            $0.59             $0.64
            2006             $0.84            $0.39          $0.39             $0.62           $3.27            $0.62             $0.63
            2007             $0.86            $0.38          $0.38             $0.63           $3.42            $0.63             $0.63
            2008             $0.87            $0.37          $0.40             $0.62           $3.47            $0.58             $0.64
            2009             $0.88            $0.38          $0.41             $0.64           $3.50            $0.58             $0.65
            2010             $0.89            $0.39          $0.43             $0.69           $3.63            $0.57             $0.67
       Compounded Annual Growth Rate
        2010/2000             2.0%            0.9%             1.8%             2.2%            3.3%            -0.8%             1.8%
       * Automated guideway, cable car, ferryboat, inclined plane, jitney, monorail, Público, trolleybus, aerial tramway, and vanpool.
       Source: National Transit Database.


   Farebox Recovery Ratios
   The farebox recovery ratio represents farebox revenues as a percentage of total transit operating costs.
   It measures users’ contributions to the variable cost of providing transit services and is influenced by
   the number of riders, fare structure, and rider profile. Low regular fares, the high availability and use of

                                                                                                                       FHWA002332
                                                                                                                            Finance         6-33
   Case 5:23-cv-00304-H                    Document 15-18                  Filed 01/31/24              Page 50 of 534                 PageID 2610

discounted fares, and high transfer rates tend to result in lower farebox recovery ratios. Farebox recovery
ratios for 2004 to 2010 are provided in Exhibit 6-39. The average farebox recovery ratio over this period for
all transit modes combined was 34.6 percent; heavy rail had the highest average farebox recovery ratio at
59.9 percent. Farebox recovery ratios for total costs are not provided because capital investment costs are not
spread evenly across years. Rail modes have farebox recovery ratios for total costs that are significantly lower
than for operating costs alone because of these modes’ high level of capital costs.
   Exhibit 6-39 Farebox Recovery Ratio by Mode, 2004–2010
                     Motor            Heavy           Commuter             Light           Demand
      Year            Bus              Rail              Rail               Rail          Response             Other2             Total
     2004 1          27.9%            61.3%             47.0%              26.2%            9.6%               36.2%              35.5%
     2005 1          27.6%            58.4%             47.2%              25.4%            9.5%               12.6%              34.8%
     2006 1          26.6%            60.9%             49.4%              27.4%            9.3%               34.3%              34.8%
      2007           26.6%            56.8%             49.5%              26.6%            8.2%               35.3%              34.0%
      2008           26.3%            59.4%             50.3%              29.3%            7.5%               32.7%              34.1%
      2009           26.7%            60.2%             47.9%              28.0%            7.8%               34.9%              34.2%
      2010           26.7%            62.3%             48.5%              27.5%            7.9%               37.0%              34.7%
    Average          26.9%            59.9%             48.5%              27.2%            8.5%               31.9%              34.6%
     1 Note that the ratios presented in this exhibit were calculated differently than the ratios presented in the 2008 C&P Report;

     therefore, they are not totally comparable. The ratios presented here were calculated using data from NTD data table 26,
     "Fares per Passenger and Recovery Ratio", which is available at www.ntdprogram.gov/ntdprogram/data.htm.
     2 Automated guideway, Alaska railroad, cable car, ferryboat, inclined plane, jitney, monorail, Público, trolleybus, aerial

     tramway, and vanpool.
     Source: National Transit Database.



                                                         Rural Transit
Since 1978, the Federal government has contributed to the funding of transit in rural areas (i.e., areas with
populations of less than 50,000). These rural areas are estimated to account for approximately 36 percent of
the U.S. population and 38 percent of the transit-dependent population.
Funding for rural transit is currently provided through 49 U.S.C. Section 5311, the Rural Formula Grant
Program. Rural transit funding was increased substantially with passage of TEA-21 and continued to
increase under SAFETEA-LU. Federal funding for rural transit was $240 million in the last year of TEA-21,
FY 2004, and reached $465 million in FY 2009 under SAFETEA-LU. States may transfer additional funds
to rural transit from highway projects or formula transit funds for small urbanized areas.
As shown in Exhibit 6-40, 28 percent of rural transit authorities’ operating budgets come from Federal
funds. State and local governments cover 45 percent
of their rural transit operating budgets through            Exhibit 6-40 Rural Transit Funding Sources for
a combination of dedicated State and local taxes,           Operating   Expenditures, 2010
appropriations from State general revenues, and                                                         System
                                                                                                       Generated
allocations from other city and county funds.                                                             8%
Contract revenue, defined as reimbursement from a                            State and
                                                                               Local
private entity (profit or nonprofit) for the provision                         45%
of transit service, accounts for 19 percent of rural                                          Contract
transit operating budgets. Fares accounted for only                                          Revenue
                                                                                               19%
8 percent, close to the average farebox recovery rate                             Federal
for demand response service (which constitutes most                                 28%
of rural transit). In 2010, the total value of rural
transit operating budgets reported to the NTD was
                                                            Source: National Transit Database.
$1.25 billion.

6-34 Description of Current System                                                                                                FHWA002333
Case 5:23-cv-00304-H   Document 15-18               Filed 01/31/24                   Page 51 of 534                    PageID 2611




                                                     PART
                         Investment/Performance Analysis
                                                                                                                 II
                           Introduction ................................................................................................II-2
                           Capital Investment Scenarios ....................................................................II-3
                                Highway and Bridge Investment Scenarios ..................................................... II-3
                                Transit Investment Scenarios............................................................................ II-4
                                Comparisons Between Report Editions ........................................................... II-5
                           The Economic Approach to Transportation Investment Analysis ............II-6
                                The Economic Approach in Theory and Practice ............................................ II-6
                                Measurement of Costs and Benefits in “Constant Dollars” ............................. II-8
                                Multimodal Analysis .......................................................................................... II-9
                                Uncertainty in Transportation Investment Modeling......................................... II-9
                        Chapter 7: Potential Capital Investment Impacts ........................... 7-1
                        Chapter 8: Selected Capital Investment Scenarios........................ 8-1
                        Chapter 9: Supplemental Scenario Analysis .................................. 9-1
                        Chapter 10: Sensitivity Analysis...................................................... 10-1



                                                                                          Investment/Performance Analysis                  II-1


                                                                                                                    FHWA002334
   Case 5:23-cv-00304-H            Document 15-18         Filed 01/31/24       Page 52 of 534        PageID 2612

                                             Introduction
Chapters 7 through 10 present and analyze future capital investment scenario estimates for highways,
bridges, and transit. These chapters provide general investment benchmarks as a basis for the development
and evaluation of transportation policy and program options. The 20-year investment scenario estimates
shown in these chapters reflect the total capital investment from all sources that is projected to be required
to achieve certain levels of performance. They do not directly address specific public or private revenue
sources that might be used to finance the investment under each scenario, nor do they identify how
much might be contributed by each level of government.
These four investment-related chapters include the following analyses:
Chapter 7, Potential Capital Investment Impacts, analyzes the projected impacts of alternative levels of
   future investment on measures of physical condition, operational performance, and benefits to system
   users. Each alternative pertains to investment from 2011 through 2030, and is presented as an annual
   average level of investment (highway and transit) and as the annual rates of increase or decrease in
   investment that would produce that annual average (highway only). Both the level and rate of growth in
   investment are measured using constant 2010 dollars.
Chapter 8, Selected Capital Investment Scenarios, examines several scenarios distilled from the investment
   alternatives considered in Chapter 7. Some of the scenarios are oriented around maintaining different
   aspects of system condition and performance or achieving a specified minimum level of performance,
   while others link to broader measures of system user benefits. The scenarios included in this chapter
   are intended to be illustrative and do not represent comprehensive alternative transportation policies;
   U.S. Department of Transportation (DOT) does not endorse any of these scenarios as a target level of
   investment.
Chapter 9, Supplemental Scenario Analysis, explores some of the implications of the scenarios presented
   in Chapter 8 and contains some additional policy-oriented analyses addressing issues not covered in
   Chapters 7 and 8. As part of this analysis, highway projections from previous editions of the C&P
   report are compared with actual outcomes to throw light on the value and limitations of the projections
   presented in this edition.
Chapter 10, Sensitivity Analysis, explores the impacts on scenario projections of varying some of the
   key assumptions. The investment scenario projections in this report are developed using models that
   evaluate current system condition and operational performance and make 20-year projections based
   on assumptions about future travel growth and a variety of engineering and economic variables. The
   accuracy of these projections depends, in large part, on the realism of these assumptions. To address
   the uncertainty concerning which assumptions would be most realistic, Chapter 10 presents sensitivity
   analyses that vary the discount rate, the value of travel time savings, and other assumed parameter values.
   Other sources of uncertainty in the modeling procedures are discussed further below.
Unlike Chapters 1 through 6, which largely present highway and transit statistics drawn from other
sources, the investment scenario projections presented in these chapters (and the models used to create the
projections) were developed exclusively for the C&P report. The procedures for developing the investment
scenario estimates have evolved over time to incorporate recent research, new data sources, and improved
estimation techniques. The methodologies used to analyze investment for highways, bridges, and transit are
discussed in greater detail in Appendices A, B, and C.
The combination of engineering and economic analysis in this part of the report is consistent with the
movement of transportation agencies toward asset management, value engineering, and greater consideration
of cost effectiveness in decision making. The economic approach to transportation investment is discussed in
greater detail at the end of this section.

II-2 Investment/Performance Analysis                                                               FHWA002335
Case 5:23-cv-00304-H         Document 15-18         Filed 01/31/24        Page 53 of 534       PageID 2613

                                Capital Investment Scenarios
   The 20-year capital investment scenario projections shown in this report reflect complex technical
   analyses that attempt to predict the impact that capital investment may have on the future conditions and
   performance of the transportation system. These scenarios are intended to be illustrative, and the U.S. DOT
   does not endorse any of them as a target level of investment. Where practical, supplemental information has
   been included to describe the impacts of other possible investment levels.
   This report does not attempt to address issues of cost responsibility. The investment scenarios predict the
   impact that particular levels of combined Federal, State, local, and private investment might have on the
   overall conditions and performance of highways, bridges, and transit. While Chapter 6 provides information
   on what portion of highway investment has come from different revenue sources in the past, the report
   does not make specific recommendations about how much could or should be contributed by each level of
   government or the private sector in the future.
   In considering the system condition and performance projections in this report’s capital investment
   scenarios, it is important to note that they represent what could be achievable assuming a particular level
   of investment, rather than what would be achieved. The models used to develop the projections generally
   assume that, when funding is constrained, the benefit-cost ratio (BCR) establishes the order of precedence
   among potential capital projects, with projects having higher BCRs being selected first. In actual practice, the
   BCR generally omits some types of benefits and costs because of difficulties in valuing them monetarily, and
   these other benefits and costs can and do affect project selection.
   Also, some potential capital investments selected by the models, regardless of their economic merits
   or impact on conditions and performance, may be infeasible for political or other reasons. As a result,
   the supply of feasible cost-beneficial projects could be lower than the levels estimated by the modeling
   assumptions of some scenarios.

   Highway and Bridge Investment Scenarios
   Projections for future conditions and performance under alternative potential levels of investment are
   developed independently for highways and bridges in Chapter 7 using separate models and techniques, and
   then combined for selected investment scenarios in Chapter 8. Investments in bridge repair, rehabilitation,
   and replacement are modeled by the National Bridge Investment Analysis System (NBIAS); those in
   capacity expansion and the highway resurfacing and reconstruction component of system rehabilitation are
   modeled by the Highway Economic Requirements System (HERS). Although HERS was primarily designed
   to analyze highway segments, it also factors in the costs of expanding bridges and other structures when
   deciding whether to add lanes to a highway segment. Some elements of highway investment spending are
   modeled by neither HERS nor NBIAS. Chapter 8 factors these elements into the investment levels associated
   with each scenario using scaling procedures external to the models. The scenario investment levels are
   estimates of the amount of future capital spending required to meet the performance goals specified in the
   scenarios.
   Chapter 8 uses consistent performance criteria to create separate but parallel investment scenarios for all
   Federal-aid highways, the National Highway System, and the Interstate System. Corresponding scenarios
   are also presented for all roads system-wide, but projections for these scenarios are less reliable because data
   coverage is more limited off the Federal-aid highways. Although the NBIAS database includes information
   on all bridges, the Highway Performance Monitoring System (HPMS) database, on which the HERS model
   relies, includes detailed information only on Federal-aid highways; for the scenarios based on all roads,
   non-model-based estimates must be generated for roads functionally classified as rural minor collectors, rural
   local, or urban local. For system-wide and Federal-aid highway investment, Chapter 8 includes an alternative
   set of scenarios that assume future lower reduce the vehicle miles traveled (VMT) growth forecasts derived
   from HPMS to match the actual trend in VMT growth from 1995 to 2010.
                                                                                               FHWA002336
                                                                                Investment/Performance Analysis II-3
   Case 5:23-cv-00304-H            Document 15-18         Filed 01/31/24        Page 54 of 534        PageID 2614

The Sustain 2010 Spending scenario projects the potential impacts of sustaining capital spending at
2010 base-year levels in constant dollar terms over the 20-year period 2011 through 2030. The Maintain
Conditions and Performance scenario assumes that combined highway capital investment by all levels
of government gradually changes in constant dollar terms over 20 years to the point at which selected
performance indicators in 2030 are maintained at their 2010 base year levels. For this edition, the HERS
component of the scenario is defined as the average of the investment level required to maintain average
pavement roughness and the investment level required to maintain the average amount of congestion delay
per VMT (the scenario is defined around the average of the investment level required to maintain each);
the NBIAS component is defined as the investment level required to maintain the average sufficiency rating
for bridges. The investment levels for the Improve Conditions and Performance scenario are determined
by identifying the highest rate of annual spending growth for which potentially cost-beneficial highway
and bridge improvements can be identified. This scenario represents an “investment ceiling” above which it
would not be cost-beneficial to invest, even if available funding were unlimited. The portion of this scenario
directed toward addressing engineering deficiencies on pavements and bridges is described as the State of
Good Repair benchmark.
The Intermediate Improvement scenario is included in Chapter 8 in recognition that any investment
above the level of the Maintain Conditions and Performance scenario described above should theoretically
improve conditions and performance. The HERS portion of this scenario reflects a level of investment at
which all potential improvements with a BCR of 1.5 or higher could be funded (in contrast to the Improve
Conditions and Performance scenario, which utilizes a minimum BCR of 1.0). The NBIAS portion of this
scenario assumes an increase in spending sufficient to achieve, for illustration, half the improvement in the
average sufficiency index projected under the Improve Conditions and Performance scenario.

Transit Investment Scenarios
The transit section of Chapter 7 evaluates the impact of varying levels of capital investment on various
measures of condition and performance, while the transit section of Chapter 8 provides a more in-depth
analysis of specific investment scenarios.
The Sustain 2010 Spending scenario projects the potential impacts of sustaining preservation and
expansion spending at 2010 base-year levels in constant dollar terms over the 20-year period of 2011
through 2030. The scenario applies benefit-cost analysis to prioritize investments within this constrained
budget target.
The State of Good Repair benchmark projects the level of investment needed to bring all assets to a state
of good repair over the next 20 years, defined as asset condition ratings of 2.5 or higher on a 5-point scale
(Chapter 3 discusses these ratings). This scenario is focused solely on the preservation of existing assets and
does not apply a benefit-cost screen.
The Low Growth scenario adds a system expansion component on top of the system preservation needs
associated with the State of Good Repair benchmark. The goal of this scenario is to preserve existing
assets and expand the transit asset base to support projected ridership growth over 20 years as forecast by
metropolitan planning organizations. The High Growth scenario incorporates a more extensive expansion
of the existing transit asset base to support a higher annual rate of growth consistent with that experienced
between 1995 and 2010. Both of these scenarios incorporate a benefit-cost test for evaluating potential
investments.




II-4 Investment/Performance Analysis                                                                FHWA002337
Case 5:23-cv-00304-H          Document 15-18          Filed 01/31/24         Page 55 of 534          PageID 2615

   Comparisons Between Report Editions
   When comparing capital investment scenarios presented in different editions of the C&P report, several
   considerations should be taken into account:
   Scenario definitions have been modified over time. Between the present edition and the 2010 C&P report,
   the target performance indicators in the Maintain Conditions and Performance scenarios have changed.
   In the 2010 edition, those indicators were average speed for investments modeled by HERS and the backlog
   of potential cost-beneficial bridge investments modeled by NBIAS. In the present edition, the corresponding
   indicators are pavement roughness/congestion delay and the average sufficiency rating for bridges. In
   addition, the expansion of the National Highway
   System under the Moving Ahead for Progress in            Why do the scenarios presented
   the 21st Century Act (MAP-21) means that the             in Part II of this report focus on
   scenarios for that system considered in this edition     the NHS as expanded by MAP-21,
                                                            rather than the NHS as it existed in
   of the C&P report are not comparable to those            2010?
   considered in the 2010 edition.
                                                               While the data presented in Part I of this report
   The scenarios for highway and bridge investment             naturally focus on the NHS as it existed in 2010,
                                                               presenting investment scenarios through the year
   now present alternate sets of projections applying          2030 for that version of the NHS would provide little
   the 15-year historic trend in VMT growth to                 value going forward given that MAP-21 significantly
   the assumed rate of future growth, whereas all              expanded the size of the system.
   recent editions of the report have exclusively used         While basing the Part II 20-year investment scenarios
   the traffic growth forecasts from HPMS. This                on the NHS as expanded by MAP-21 requires
   change makes the highway and bridge investment              readers to be mindful that the 2010 data presented
   scenarios more comparable to the transit investment         in Part I relate to the pre-expanded system, this
                                                               approach was deemed preferable to the alternative
   scenarios, which introduced an alternative trend-           of simply excluding NHS-based scenarios from this
   based ridership growth forecast in the 2010 edition.        edition entirely.
   The analytical tools and data used in generating the
   scenarios have been refined and improved over time.
   The base year of the analysis advances two years between successive editions of this biennial report. During
   this period, changes in many real-world factors can affect the investment scenario estimates. Among these
   factors are construction costs and other prices, conditions and performance of the highway and transit
   systems, expansion of the system asset base, and changes in technology (such as improvements in motor
   vehicle fuel economy). While this issue is relevant to all scenarios, it is particularly significant for scenarios
   aimed at maintaining base-year conditions.
   Selected comparisons of this report’s capital investment scenarios for highways with those from previous
   editions are presented in Chapter 9. Chapter 9 also includes analyses that look back at the highway and
   bridge scenarios presented in the 1991 C&P Report to see how its projections of future conditions and
   performance have lined up with what has actually occurred over time, taking into account factors such as
   changes in capital spending and travel growth.




                                                                                                   FHWA002338
                                                                                    Investment/Performance Analysis II-5
   Case 5:23-cv-00304-H            Document 15-18         Filed 01/31/24       Page 56 of 534        PageID 2616

                 The Economic Approach to Transportation
                          Investment Analysis
The methods and assumptions used to analyze future highway, bridge, and transit investment scenarios are
continuously evolving. Since the beginning of the highway report series in 1968, improvements in the data
and techniques relating to the highway investment scenarios have resulted from innovations in analytical
methods, new data and evidence, and changes in transportation planning objectives. Estimates of future
highway investment requirements, as reported in the 1968 National Highway Needs Report to Congress, began
as a combined “wish list” of State highway “needs.” As the focus of national highway investment changed
from system expansion to management of the existing system during the 1970s, national engineering
standards were defined and applied to identify system deficiencies, and the investments necessary to remedy
these deficiencies were estimated. By the end of the decade, a comprehensive database, the HPMS, had been
developed to allow monitoring of highway system conditions and performance nationwide.
By the early 1980s, a sophisticated simulation model, the HPMS Analytical Process (HPMS-AP), was
available to evaluate the impact of alternative investment strategies on system conditions and performance.
The procedures used in the HPMS-AP were based on engineering principles. Engineering standards were
applied to determine which system attributes were considered deficient, and improvement option packages
were developed using standard engineering practices to potentially correct given deficiencies, but without
consideration of comparative economic benefits and costs.
In 1988, the Federal Highway Administration embarked on a long-term research and development effort
to produce an alternative simulation procedure combining engineering principles with economic analysis,
culminating in the development of the HERS. The HERS model was first utilized to develop one of the two
highway investment scenarios presented in the 1995 C&P Report. In subsequent reports, HERS has been
used to develop all of the highway investment scenarios.
Executive Order 12893, “Principles for Federal Infrastructure Investments,” issued on January 26, 1994,
directs that Federal infrastructure investments be selected on the basis of a systematic analysis of expected
benefits and costs. This order provided additional momentum for the shift toward developing analytical tools
that incorporate economic analysis into the evaluation of investment requirements.
In the 1997 C&P Report, the Federal Transit Administration introduced the Transit Economics
Requirements Model (TERM), which was used to develop both of the transit investment scenarios. TERM
incorporates benefit-cost analysis into its determination of transit investment levels.
The 2002 C&P Report introduced the NBIAS, incorporating economic analysis into bridge investment
modeling for the first time.

The Economic Approach in Theory and Practice
The economic approach to transportation investment entails analysis and comparison of benefits and costs.
Investments that yield benefits whose values exceed their costs have the potential to increase societal welfare
and are thus considered “economically efficient.” For such analysis to be reliable, it must give adequate
consideration to the range of possible benefits and costs and the range of possible investment alternatives.
Which Benefits and Costs Should Be Considered?
A comprehensive benefit-cost analysis of a transportation investment would consider all impacts of potential
significance for society and value them in monetary terms to the extent feasible. For some types of impacts,
monetary valuation is facilitated by the existence of observable market prices. Such prices are generally
available for inputs to the provision of transportation infrastructure, such as concrete for building highways


II-6 Investment/Performance Analysis                                                               FHWA002339
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24       Page 57 of 534        PageID 2617

   or buses purchased for a transit system. The same is true for some types of benefits from transportation
   investments, such as savings in business travel time, which are conventionally valued at a measure of average
   hourly labor cost of the travelers.
   For some other types of impacts, market prices are not available but monetary values can be reasonably
   inferred from behavior or expressed preferences. In this category are savings in non-business travel time
   and reductions in risk of crash-related fatality or other injury. As discussed in Chapter 10 (under “Value of
   a Statistical Life”), what is inferred is the amount that people would typically be willing to pay per unit of
   improvement, e.g., per hour of non-business travel time saved. These values are combined with estimates of
   the magnitude of the improvement (or, as may happen, deterioration).
   For other impacts, monetary valuation may not be possible because of problems with reliably estimating
   the magnitude of the improvement, putting a monetary value on the improvement, or both. Even when
   possible, reliable monetary valuation may require time and effort that would be out of proportion to the
   likely importance of the impact concerned. Benefit-cost analyses of transportation investments will thus
   typically omit to value certain impacts that could nevertheless be of interest.
   The benefit-cost analyses performed by the models used in this report to evaluate levels of transportation
   investment—HERS, NBIAS, and TERM—each omit various types of investment impacts. To some extent,
   this reflects the national coverage of their primary databases; while consistent with this report’s focus on the
   Nation’s highways and transit systems, such broad geographic coverage requires some sacrifice of detail to
   stay within feasible budgets for data collection. In the future, technological progress in data collection as
   well as growing demand for data for performance management systems for transportation infrastructure will
   likely yield richer national databases.
   In addition, U.S. DOT will continue to explore other avenues for addressing impacts not captured by the
   suite of models used for the C&P report. One approach is to have the models represent impacts in ways that
   are sufficiently simplified to demand no more data than are available. This approach was taken to represent
   within HERS the impacts of traffic disruptions resulting from road construction. Another approach that
   U.S. DOT will continue to explore for the C&P report is to supplement the findings from HERS, NBIAS
   and TERM with evidence from other sources. This could shed additional light on various environmental,
   health, and community impacts of highway and transit investments. Examples include environmental
   impacts of increased water runoff from highway pavements, barrier effects of highways for human and
   animal populations, the health benefits from the additional walking activity when travelers go by transit
   rather than by car, and other impacts related to livability. Another effect not considered by the DOT models,
   but which may be significant for some transportation investments, is the boost to economic competitiveness
   that results when travel times among competing producers are lessened. Faced with stiffer competition from
   rivals in other locations, producers may become more efficient and lower prices.
   What Alternatives Should Be Analyzed?
   In defining the investment alternatives in a benefit-cost analysis of transportation investments, it is
   important to make the range of alternatives sufficiently broad. For some transit and highway projects, this
   would require consideration of cross-modal alternatives. Transit and highway projects can be complements,
   as when the addition of high-occupancy toll lanes to a freeway creates a demand for bus express services;
   they can also be substitutes, as when construction of a light rail line lessens the demand for travel on
   a parallel freeway. In contrast, HERS and TERM each focus on investment in just one mode, and to
   properly incorporate a cross-modal perspective would require a major increase in the level of detail in their
   supporting databases that, as was noted above, necessarily sacrifice detail to provide national-level coverage.
   For the foreseeable future, the best way to address this deficiency in future editions of the C&P report
   would be through review of evidence obtained from more regionally focused analyses using other modeling
   frameworks.

                                                                                               FHWA002340
                                                                                Investment/Performance Analysis II-7
   Case 5:23-cv-00304-H            Document 15-18         Filed 01/31/24       Page 58 of 534        PageID 2618

Beyond related cross-modal investment possibilities, economic evaluations of investments in highways or
transit should also attempt to consider related public choices, such as policies for travel demand management
and local zoning, or investment in other infrastructure.
Several previous editions of the C&P report presented the HERS modeling of highway investment
combined with system-wide highway congestion pricing. Although this modeling indicated that pricing
has potential to substantially reduce the amount of highway investment that would be cost-beneficial, a
subsequent review of the methodology found significant limitations, which reflected in large part the lack
of transportation network detail in the HPMS database. For this reason, and because the estimated effects
of congestion pricing would likely have differed little from that reported in previous editions of the C&P
report, the present edition does not repeat this analysis. Also omitted from this edition are HERS analyses
of scenarios that adjusted future motor fuel taxes, or other taxes related to highway use, to produce changes
in revenue offsetting any increases in highway investment relative to the base year level. The inclusion of this
mechanism had minimal effects on the HERS results.
Future editions of the C&P report could further explore the implications for highway and transit
investments of congestion pricing and other regionally or locally focused measures with which these
investments could be packaged. However, because the databases supporting HERS and TERM lack regional
economic and transportation network data, these models are probably not the best vehicles for such analysis.
More could probably be learned from regional case studies that use alternative modeling frameworks and
databases.

Measurement of Costs and Benefits in “Constant Dollars”
Benefit-cost analyses normally measure all benefits and costs in “constant dollars”, i.e., at the prices
prevailing in some base year that is normally near the year when the analysis is released. Future price changes
may be difficult to forecast, and benefits and costs measured in base-year prices are more comprehensible.
In the simplest form of constant dollar measurement, conversion of any quantity to a dollar value is done
at that quantity’s base-year price. Future savings in gallons of gasoline, for example, are monetized at the
average price per gallon of gasoline in the base year (with the price possibly measured net of excise tax, as in
HERS). This approach is still quite common in benefit-cost analysis and was the general practice in pre-2008
editions of the C&P report. It is important to note that this approach does not assume a future without
inflation, but simply that ratios among prices will remain at their base-year levels. With relative prices
constant, whether a benefit-cost analysis uses actual base-year prices or those prices uniformly inflated at a
projected rate of inflation is a purely a presentational issue.
An alternative approach is called for when significant changes in the relative price of a quantity important to
the analysis can be predicted with sufficient confidence. What constitutes sufficient confidence is a judgment
call, but some predictions carry official weight. The Energy Information Administration’s Annual Energy
Outlook forecasts changes in motor fuel prices relative to the consumer price index (CPI) 25 years out.
The 2008 edition of the C&P report incorporated these CPI-deflated forecasts in the highway investment
scenarios, a practice that resumes in this edition. The 2010 edition incorporated CPI-deflated forecasts of the
marginal damage cost of CO2 emissions, taken from a 2010 report by a Federal inter-agency working group,
into its baseline HERS simulations; the 2013 edition continues this approach (Interagency Working Group
on Social Cost of Carbon. February 2010. Social Cost of Carbon for Regulatory Impact Analysis under
Executive Order 12866, http://www.whitehouse.gov/sites/default/files/omb/inforeg/for-agencies/Social-
Cost-of-Carbon-for-RIA.pdf ).
The modeling presented in Part II of the present edition of the C&P report moves allows for still other
changes in relative prices. Chapter 10 includes sensitivity tests to examine the effects on some of the
modeling results of assuming growth in the real (i.e., CPI-deflated) values of travel time savings and crash

II-8 Investment/Performance Analysis                                                               FHWA002341
Case 5:23-cv-00304-H          Document 15-18          Filed 01/31/24        Page 59 of 534         PageID 2619

   reductions, as now recommended under guidance for U.S. DOT analyses issued in 2011 by the Office of
   Economic and Strategic Analysis under the Assistant Secretary for Transportation Policy. This guidance
   recommends assuming that these values will grow over time at specified rates that are based on expected
   growth in real income.
   Notwithstanding these allowances for likely changes in prices relative to the CPI, the analysis in this report
   may be considered to measure benefits and costs in constant 2010 dollars. Office of Management and
   Budget guidance on benefit-cost analysis defines “real or constant dollar values” as follows:
           Economic units measured in terms of constant purchasing power. A real value is not affected by
           general price inflation. Real values can be estimated by deflating nominal values with a general price
           index, such as the implicit deflator for Gross Domestic Product or the Consumer Price Index
           (OMB Circular No. A-94 Revised, http://www.whitehouse.gov/omb/circulars_a094).

   Multimodal Analysis
   The HERS, TERM, and NBIAS all use consistent valuations of travel time savings and of reductions in
   transportation injuries and fatalities, which are key variables in any economic analysis of transportation
   investment. Although HERS, TERM, and NBIAS all use benefit-cost analysis, their methods for
   implementing this analysis differ significantly. The highway, transit, and bridge models each rely on
   separate databases, making use of the specific data available for each mode of the transportation system and
   addressing issues unique to that mode.
   These three models have not yet evolved to the point where direct multimodal analysis would be possible.
   For example, HERS assumes that, when lanes are added to a highway, highway user costs will initially fall,
   resulting in additional highway travel. Some of the increased use of the expanded facility would result from
   newly generated travel, while some would be the result of travel shifting from transit to highways. However,
   HERS is unable to distinguish between these different sources of additional highway travel. At present, the
   models provide no direct way to analyze the impact that a given level of highway investment in a particular
   location would have on the transit investment in that vicinity (or vice versa). Opportunities for future
   development of HERS, TERM, and NBIAS, including efforts to allow feedback between the models, are
   discussed in Appendix D.

   Uncertainty in Transportation Investment Modeling
   The three investment analysis models used in this report are deterministic rather than probabilistic, meaning
   that they provide a single projected value of total investment for a given scenario rather than a range of likely
   values. As a result, it is possible to make only general statements about the element of uncertainty in these
   projections, based on the characteristics of the process used to develop them, rather than giving specific
   information about confidence intervals. As was indicated above, the analysis in Chapter 10 of this edition
   of the C&P report enables statements about the sensitivity of the scenario projections to variation in the
   underlying parameters (e.g., discount rates, value of time saved, statistical value of lives saved, etc.). As far as
   possible, the range of variation considered in these tests corresponds to the range considered plausible in the
   corresponding research literature or to ranges recommended in authoritative guidance. The sensitivity tests
   address only some of the elements of uncertainty in the scenario projections. In some cases, the uncertainty
   goes beyond the value of a model parameter to the entire specification of the equations in which the
   parameters are embedded.
   The modeling undertaken for the C&P report is simplified by omitting certain effects. These are effects for
   which reliable quantification is either unfeasible or would require a modeling or data collection effort out
   of proportion with their likely significance. In particular, while the modeling uses benefit-cost analysis to
   evaluate potential investments in transportation infrastructure, some external costs and benefits are omitted.

                                                                                                  FHWA002342
                                                                                   Investment/Performance Analysis II-9
   Case 5:23-cv-00304-H             Document 15-18       Filed 01/31/24       Page 60 of 534        PageID 2620

The omissions include, for example, costs or benefits from impacts on noise pollution and benefits from
increased competition when transportation investments improve access to markets. Across a broad program
of investment projects, such external effects may fully or partially cancel each other out; to the extent that
they do not, the “true” level of investment required to achieve a particular goal may be either higher or lower
than those predicted by the model. Some projects that HERS, TERM, or NBIAS view as economically
justifiable may not be after more careful scrutiny, while other projects that the models would reject might
actually be justifiable if these other factors were considered.
There are differences in the relative level of uncertainty among different projections made in this report.
As already noted, the projections for all roads system-wide are less reliable than those for Federal-aid
highways. In addition, the projections for absolute levels of conditions and performance indicators entail
more uncertainty than the differences among these levels according to an assumed level of investment.
For example, if speed limits were increased nationwide in the future, contrary to the HERS modeling
assumption of no change from the base-year speed limits, this might significantly reduce the accuracy of the
model’s projections for average speed. At the same time, the indications based on these projections of how
the amount of future investments in highways affects average speed could be relatively accurate. Although
investments in highway capacity expansion increase average speed, the increase will occur mainly under
conditions of congestion when average speeds can be well below even the current speed limit. Under such
conditions, an increase in the speed limit may have a negligible effect on the congestion reduction benefits
from adding lanes.




II-10 Investment/Performance Analysis                                                             FHWA002343
Case 5:23-cv-00304-H       Document 15-18                     Filed 01/31/24                   Page 61 of 534                   PageID 2621




                                                                       CHAPTER                                                              7
               Potential Capital Investment Impacts
               Potential Highway Capital Investment Impacts ..........................................................7-2
                  Types of Capital Spending Projected by HERS and NBIAS .....................................7-2
                  Alternative Levels of Future Capital Investment Analyzed .......................................7-4
                  Highway Economic Requirements System ...............................................................7-5
                       HPMS Database.................................................................................................................. 7-6
                       Operations Strategies ......................................................................................................... 7-7
                       HERS Treatment of Traffic Growth ...................................................................................... 7-8
                       Travel Demand Elasticity..................................................................................................... 7-10
                   Impacts of Federal-Aid Highway Investments Modeled by HERS ...........................7-10
                       Selection of Investment Levels for Analysis ....................................................................... 7-10
                       Investment Levels and BCRs by Funding Period ............................................................... 7-12
                       Impact of Future Investment on Highway Pavement Ride Quality..................................... 7-13
                       Impact of Future Investment on Highway Operational Performance ................................. 7-16
                       Impact of Future Investment on Highway User Costs........................................................ 7-19
                   Impacts of NHS Investments Modeled by HERS ......................................................7-22
                       Impact of Future Investment on NHS Pavement Ride Quality ........................................... 7-23
                       Impact of Future Investment on NHS Travel Times and User Costs.................................. 7-24
                   Impacts of Interstate System Investments Modeled by HERS .................................7-26
                       Impact of Future Investment on Interstate Pavement Ride Quality .................................... 7-26
                       Impact of Future Investment on Interstate System Travel Times and User Costs ............. 7-27
                   National Bridge Investment Analysis System ...........................................................7-28
                       Performance Measures ....................................................................................................... 7-29
                   Impacts of Systemwide Investments Modeled by NBIAS ........................................7-30
                   Impacts of Federal-Aid Highway Investments Modeled by NBIAS ..........................7-31
                   Impacts of NHS Investments Modeled by NBIAS .....................................................7-32
                   Impacts of Interstate Investments Modeled by NBIAS .............................................7-34

               Potential Transit Capital Investment Impacts .............................................................7-35
                  Types of Capital Spending Projected by TERM ........................................................7-35
                       Preservation Investments.................................................................................................... 7-35
                       Expansion Investments ....................................................................................................... 7-36
                       Recent Investment in Transit Preservation and Expansion ................................................ 7-37
                   Impacts of Systemwide Investments Modeled by TERM .........................................7-37
                       Impact of Preservation Investments on Transit Backlog and Conditions .......................... 7-37
                       Impact of Expansion Investments on Transit Ridership ..................................................... 7-40
                   Impacts of Urbanized Area Investments Modeled by TERM ....................................7-41
                       Urbanized Areas Over 1 Million in Population .................................................................... 7-42
                       Other Urbanized and Rural Areas....................................................................................... 7-44

                                                                                                 Potential Capital Investment Impacts 7-1
                                                                                                                       FHWA002344
      Case 5:23-cv-00304-H           Document 15-18      Filed 01/31/24       Page 62 of 534        PageID 2622



      Potential Highway Capital Investment Impacts

The analyses presented in this section use a common set of assumptions to derive relationships between
alternative levels of future highway capital investment and various measures of future highway and bridge
conditions and performance. A subsequent section within this chapter provides comparable information for
different types of potential future transit investments.
The analyses in this section focus on the types of investment within the scopes of the Highway Economic
Requirements System (HERS) and the National Bridge Investment Analysis System (NBIAS), and form the
building blocks for the capital investment scenarios presented in Chapter 8. The accuracy of the projections
in this chapter depends on the validity of the technical assumptions underlying the analysis, some of which
are varied in the sensitivity analysis in Chapter 10. The analyses presented in this section do not make any
explicit assumptions regarding how future investment in highways might be funded.


      Types of Capital Spending Projected by HERS and NBIAS
The types of investments evaluated by HERS and NBIAS can be related to the system of highway functional
classification introduced in Chapter 2 and to the broad categories of capital improvements introduced in
Chapter 6 (system rehabilitation, system expansion, and system enhancement). NBIAS relies on the NBI
database, which covers bridges on all highway functional classes, and evaluates improvements that generally
fall within the system rehabilitation category.
HERS evaluates pavement improvements—resurfacing or reconstruction—and highway widening; the
types of improvements included in these categories roughly correspond to system rehabilitation and system
expansion as described in Chapter 6. In estimating the per-mile costs of widening improvements, HERS
recognizes a typical number of bridges and other structures that would need modification. Thus, the
estimates from HERS are considered to represent system expansion costs for both highways and bridges.
Coverage of the HERS analysis is limited, however, to Federal-aid highways, as the Highway Performance
Monitoring System (HPMS) sample does not include data for rural minor collectors, rural local roads, or
urban local roads.
The term “non-modeled spending” refers in this report to spending on highway and bridge capital
improvements not evaluated in HERS or NBIAS; while these types of spending are absent from the analyses
presented in this chapter, the capital investment scenarios presented in Chapter 8 are adjusted to account for
them. Non-modeled spending includes capital improvements on highway classes omitted from the HPMS
sample and hence the HERS model. Development of future investment scenarios for the highway system as
a whole thus requires separate estimation outside the HERS modeling process.
Non-modeled spending also includes types of capital expenditures classified in Chapter 6 as system
enhancements, which neither HERS nor NBIAS currently evaluate. Although HERS incorporates
assumptions about future operations investments, whose capital components would be classified as system
enhancements, the model does not directly evaluate the need for these deployments. In addition, HERS
does not identify specific safety-oriented investment opportunities, but instead considers the ancillary safety
impacts of capital investments that are directed primarily toward system rehabilitation or capacity expansion.
This limitation of the model owes to the HPMS database containing no information on the location of
crashes or of safety devices such as guardrails or rumble strips.



7-2    Investment/Performance Analysis                                                            FHWA002345
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24         Page 63 of 534         PageID 2623


     How closely do the types of capital improvements modeled in HERS and NBIAS
     correspond to the specific capital improvement type categories presented in Chapter 6?
     Exhibit 6-12 in Chapter 6 provides a crosswalk between a series of specific capital improvement
     types for which data are routinely collected from the States, and three major summary categories: system
     rehabilitation, system expansion, and system enhancement. The types of improvements covered by the HERS
     and NBIAS model are assumed to correspond with the system rehabilitation and system expansion categories.
     As in Exhibit 6-12, HERS splits spending on “reconstruction with added capacity” between these categories.
     The assumed correspondence is close overall, but for some of the detailed categories in Exhibit 6-12 not exact.
     In particular, the extent to which HERS covers construction of new roads and bridges is ambiguous. While not
     directly modeled in HERS, such investments are often motivated by a desire to alleviate congestion on existing
     facilities in a corridor, and thus would be captured indirectly by the HERS analysis in the form of additional
     normal-cost or high-cost lanes. As described in Appendix A, the costs per mile assumed in HERS for high-cost
     lanes are based on typical costs of tunneling, double-decking, or building parallel routes, depending on the
     functional class and area population size for the section being analyzed. To the extent that investments in the
     “new construction” and “new bridge” improvement types identified in Chapter 6 are motivated by desires to
     encourage economic development or accomplish other goals aside from the reduction of congestion on the
     existing highway network, such investments would not be captured in the HERS analysis.
     Some other comparability issues include:
     • HERS captures relocation improvements that are components of system expansion projects to relieve
       congestion, but may not capture relocation improvements that are motivated more by safety concerns.
     • The bridge expenditures that Exhibit 6-12 counts as system rehabilitation may include work on bridge
       approaches and ancillary improvements that are not modeled by NBIAS.
     • HERS and NBIAS are assumed not to capture improvements that count as system enhancement spending,
       including the spending on the “safety” category in Exhibit 6-12. However, some safety deficiencies may be
       addressed as part of broader pavement and capacity improvements modeled in HERS.
     • The HERS Operations preprocessor described in Appendix A includes capital investments in operations
       equipment and technology that would fall under the definition of the “traffic management/engineering”
       improvement type in Chapter 6. These investments are counted among the non-modeled system
       enhancements because they are not evaluated within the benefit-cost framework that HERS applies to system
       preservation and expansion investments.



   Exhibit 7-1 shows that systemwide in 2010, highway capital spending amounted to $100.2 billion, of which
   $56.4 billion went for types of improvements modeled in HERS and $17.1 billion for types of improvement
   modeled in NBIAS. The other $26.7 billion that went for non-modeled highway capital spending was
   divided fairly evenly between system enhancement expenditures and capital improvements to classes of
   highways not reported in HPMS.
   Because the HPMS sample data are available only for Federal-aid highways, the percentage of capital
   improvements classified as non-modeled spending is lower for Federal-aid highways than is the case
   systemwide. Of the $75.8 billion spent by all levels of government on capital improvements to Federal-aid
   highways in 2010, 74.5 percent fell within the scope of HERS, 16.5 percent fell within the scope of NBIAS,
   and 9.0 percent was for spending captured by neither model. The percent distribution is similar for the
   Interstate Highway System.
   It should be noted that the statistics presented in this chapter and Chapter 8 relating to future National
   Highway System (NHS) investment are based on an estimate of what the NHS will look like after it is
   expanded pursuant to MAP-21, rather than the system as it existed in 2010. As indicated in Chapter 6,
   combined highway capital spending by all levels of government on the NHS in 2010 totaled $44.4 billion.




                                                                                                    FHWA002346
                                                                               Potential Capital Investment Impacts    7-3
      Case 5:23-cv-00304-H                   Document 15-18            Filed 01/31/24         Page 64 of 534           PageID 2624

                                                                      The $53.9 billion NHS spending figure referenced in
Exhibit 7-1 Distribution of 2010 Capital
Expenditures by Investment Type
                                                                      Exhibit 7-1 includes amounts spent on other principal
(Billions of Dollars)                                                 arterials, as much of this mileage will be added to the
                                                           $4.1
                                                                      NHS.
                                                          20.4%

                                                                            Treatment of the NHS in 20-Year Projections
 Interstate System                                                     Pursuant to MAP-21, the NHS will be expanded to
    $20.2 Billion              $14.7                                   include additional principal arterial and connector
                               72.7%
                                                              $1.4     mileage that was not part of the original system. In light
                                                              6.9%     of this change, projecting future NHS investment needs
                                                                       over 20 years based on the system as it existed in 2010
                                                                       would not produce particularly useful results.
                                                               $8.7    Rather than dropping the NHS projections from the
                                                              16.2%    C&P report series until such time as the system as the
                                                                       formal NHS re-designation is completed, this report
                                                                       includes projections based on an estimate of what
 National Highway                                                      the system would ultimately look like, by adding in
     System*                  $40.6
                                                              $4.6     principal arterials that are not currently part of the NHS.
   $53.9 Billion              75.3%
                                                              8.5%
                                                                       Once the revised NHS designations have been coded
                                                                       into the HPMS and NBI, future editions of this report
                                                              $0.0     will use them for all NHS-based analyses.
                                                              0.0%

                                                          $12.5
                                                          16.5%        Alternative Levels of Future
                                                                       Capital Investment Analyzed
      Federal-Aid
       Highways                                               $6.8    The HERS and NBIAS analyses presented in this
                                 $56.4
      $75.8 Billion                                           9.0%
                                 74.5%                                chapter each assumes that capital investment within
                                                                      the scope of the model will grow over the 20 years
                                                              $0.0    at a constant annual percentage rate, which could
                                                              0%      be positive, negative, or zero. The starting point
                                                          $17.1       for each analysis is the level of investment in 2010,
                                                          17.0%       which includes one-time funding under the American
                                                                      Recovery and Reinvestment Act of 2009 (Recovery
       Systemwide            $56.4                            $12.8   Act). Because future levels are measured in constant
       (All Roads)           56.3%                            12.8%
      $100.2 Billion                                                  2010 dollars, the percent rates of growth are real
                                                                      (inflation-adjusted). This “ramped” approach to
                                                                      analyzing alternative investment levels was introduced
                                                              $13.9
                                                              13.9%
                                                                      in the 2008 C&P Report. Previous editions had
                                                                      either assumed a fixed amount would be spent in
            Improvement types modeled in HERS                         each year or set funding levels based on benefit-cost
            Improvement types modeled in NBIAS                        ratios, which tended to front-load the investment
            Improvement types not modeled in HERS or NBIAS            within the 20-year analysis period. Chapter 9
            Highway functional systems not reported in HPMS
                                                                      includes an analysis of the impacts on conditions and
*The NHS statistics presented in this chapter are intended to
                                                                      performance of these alternative investment timing
approximate the NHS as it will exist after its expansion              patterns, as well as an example of how the ramping
directed by MAP-21, not the NHS as it existed in 2010.
                                                                      approach impacts year-by-year funding levels for
Source: Highway Statistics 2010, Table SF-12A, and
unpublished FHWA data.
                                                                      some of the highway investment scenarios presented
                                                                      in Chapter 8.



7-4     Investment/Performance Analysis                                                                              FHWA002347
Case 5:23-cv-00304-H          Document 15-18           Filed 01/31/24         Page 65 of 534          PageID 2625

   This chapter provides a quantitative picture of potential highway and bridge system outcomes under
   alternative assumptions about the rate of ramped investment growth. The particular investment levels
   identified were selected from among the results of a much larger number of model simulations. Each
   investment level shown corresponds to a particular target outcome, such as funding all potential capital
   improvements with a benefit-cost ratio above a certain threshold or attaining a certain performance
   standard for highways or bridges. While each of the particular rates of change selected has some specific
   analytical significance, the analyses presented in this chapter do not constitute complete investment
   scenarios, but rather form the building blocks for such scenarios, which are presented in Chapter 8.


                    Highway Economic Requirements System
   Simulations conducted with the HERS model provide the basis for this report’s analysis of investment
   in highway resurfacing and reconstruction as well as for highway and bridge capacity expansion. HERS
   employs incremental benefit-cost analysis to evaluate highway improvements based on data from the
   HPMS. The HPMS includes State-supplied information on current roadway characteristics, conditions, and
   performance and anticipated future travel growth for a nationwide sample of more than 120,000 highway
   sections. HERS analyzes individual sample sections only as a step toward providing results at the national
   level; the model does not provide definitive improvement recommendations for individual sections.
   Simulations with the HERS model start by evaluating the current state of the highway system using data
   from the HPMS sample. These data provide information on pavements, roadway geometry, traffic volume
   and composition (percent trucks), and other characteristics of the sampled highway sections. For sections
   with one or more deficiencies identified, the model then considers potential improvements, including
   resurfacing, reconstruction, alignment improvements, and widening or adding travel lanes. HERS selects the
   improvement (or combination of improvements) with the greatest net benefits, where benefits are defined as
   reductions in direct highway user costs, agency costs for road maintenance, and societal costs from vehicle
   emissions of greenhouse gases and other pollutants. (The model uses estimates of emission costs that include
   damage to property and human health and, in the case of greenhouse gases, certain other potential impacts
   such as loss of outdoor recreation amenities.) The model allocates investment funding only to the sections
   where at least one of the potential improvements are projected to produce benefits exceeding construction
   costs.

     How closely does the HERS model simulate the actual project selection processes of
     State and local highway agencies?
     While the HERS model is a powerful tool for projecting future investment/performance
     relationships, the process of project selection in the model differs from reality in several respects. HERS assumes
     that the allocation of total national spending on highway investment will be “economically efficient,” meaning
     that the projects selected will be the set that maximizes total benefits to society. The model takes no account
     of the division of funding authority among States and localities. For example, it could program a large increase
     in highway investment in a State that lacks the needed budgetary resources. The model does not attempt to
     simulate the influence on project selection decisions of evaluation criteria other than economic efficiency, such
     as perceptions of fairness and political considerations. To the extent that these other factors shape the project
     selection decisions, HERS may underestimate the level of investment needed to achieve a given performance or
     conditions target, such as maintaining average pavement ride quality.
     In addition, HERS lacks access to the full array of information that governments would need to determine what
     is economically efficient. It relies on the HPMS database, which provides only a limited amount of information on
     each sampled highway section. For example, while the HPMS includes information regarding the potential for
     adding lanes to each highway section, and obstacles to further widening, it does not currently include information
     on the feasibility of alternative approaches to added capacity in a given location (construction of parallel routes,
     double-decking, tunneling, investments in other transportation modes, etc.). This issue is discussed further in
     Appendix A.


                                                                                                      FHWA002348
                                                                                 Potential Capital Investment Impacts      7-5
      Case 5:23-cv-00304-H           Document 15-18       Filed 01/31/24       Page 66 of 534        PageID 2626

HERS normally considers highway conditions and performance over a period of 20 years from the base
(“current”) year, which is the most recent year for which HPMS data are available. This analysis period
is split into four funding periods of equal length. After HERS performs its analysis for the first funding
period, it updates the database to reflect the influences of what is predicted to happen during the first period,
including the effects of the selected highway improvements. The updated database is the foundation for the
analysis of conditions and performance in the second period, and so on through the fourth and last period.
Appendix A contains a more detailed description of the project selection and implementation process used
by HERS.

HPMS Database
The analyses presented in the 2010 C&P report relied on the 2008 HPMS database. The HPMS has
subsequently been significantly modified, incorporating major changes in database structure and data items.
These changes emerged from a comprehensive reassessment of how well the database was meeting user and
customer needs; for details, see the HPMS Reassessment 2010+ Final Report issued in September 2008.
Changes to the HPMS
The new HPMS structure organizes data into program areas and links them together through a Geographic
Information System (GIS) using spatial relationships. The revised procedures include those for creating
the statistical population of highway sections from which the HPMS sample is drawn (to better ensure
homogeneity over each section’s length with respect to traffic volume, number of through lanes, and other
key variables) and those for averaging or summarizing measures from which different values have been
estimated over a section’s length (e.g., for pavement roughness). A number of new data items have been
added to the HPMS, particularly in regards to pavement characteristics and different types of pavement
distresses, which are intended to support more robust analysis of pavement performance in HERS. Another
key change from the HERS perspective was the replacement of an old data item regarding widening
feasibility with two new items intended to provide more specific information on widening potential in terms
of the specific number of lanes that could be added to a given location and obstacles to further widening;
these data items are intended to support more robust analysis of widening alternatives. Appendix D discusses
possible enhancements to HERS to make use of new data items on highway ramps and on measures of
pavement distress other than pavement roughness.
Assessment of 2010 HPMS Sample Database’s Suitability for HERS
With the data requirements for the C&P report in mind, the initial timetable for the HPMS reassessment
implementation called for States to start submitting data in the new format for the 2009 data year, in the
hopes that any problems with the changeover could be addressed and resolved in time for the 2010 data
submittal. However, the timetable was delayed, and only 15 States reported using the new HPMS format in
2009; for most States, 2010 was the first year in which they submitted data items under the new format.
The initial Federal Highway Administration (FHWA) data reviews conducted on the 2010 HPMS data
focused on addressing issues pertaining to the types of statistics on current system characteristics and system
conditions that are presented in Chapters 2 and 3. While these national-level data are considered reasonably
reliable, subsequent examination of the more detailed HPMS sample data identified a large number of
omissions and seemingly implausible coding for some individual items and for some combinations of data
reported in different fields. Of particular concern were the large numbers of:
 Blank entries for both the International Roughness Index (IRI) and Present Serviceability Rating (PSR)
 Blank entries for pavement surface type or inconsistent entries relative to what is coded in other fields
 Miscoded responses for widening potential (at most, 20 States coded the field correctly)
 Seemingly implausible entries for the numbers of peak, counterpeak, and total lanes relative to each other
 Missing entries for single unit and combination truck traffic.
7-6    Investment/Performance Analysis                                                             FHWA002349
Case 5:23-cv-00304-H         Document 15-18         Filed 01/31/24       Page 67 of 534         PageID 2627

   The data omissions in particular present a problem for the HERS model, which relies on having a completely
   populated sample data set for each individual sample record that it analyzes. In order to make use of the
   2010 HPMS data, a significant effort was undertaken to impute logical values for some of the omitted data,
   and to develop additional screens to adjust apparent data outliers. Based on these procedures, a modified
   data set was then tested in HERS. This testing found anomalies in the pavement performance analysis; this
   was not wholly unexpected, as this was the first full national-level test of both new pavement data items and
   new pavement performance models that had been introduced into HERS to take advantage of these data.
   More puzzling were anomalies in the operational performance analysis, as these aspects of HERS had not
   been significantly modified, so that the changes in results could be attributed solely to the HPMS data.
   In light of these issues, the FHWA has determined that for the purposes of this report, the 2008 HPMS
   sample data would serve as a better proxy for the “current” conditions and performance of the highway
   system than would the 2010 HPMS sample data set in its present form. Based on this decision, the analyses
   presented in this report have been developed using an older version of HERS very similar to that used for
   the 2010 C&P report, rather than utilizing the newer version of HERS that is customized for use with the
   new HPMS data format.
   The FHWA will be working with the States to address issues with the HPMS sample data reporting to
   improve its utility for supporting future editions of the C&P report. As States become more familiar with
   the new HPMS data structure and data fields over time, the completeness and quality of the data should
   improve. To the extent that the modified HPMS structure facilitates the reporting of better data, some
   degree of inconsistency with the data reported in previous years can be expected.
   Implications of Database Selection
   Although this edition uses the same 2008 HPMS database as was used in the 2010 C&P report, other
   input variables were updated from 2008 to 2010, resulting in significantly different projections than those
   presented in the 2010 C&P report. Base-year values were updated to 2010 for prices and unit costs, average
   vehicle fuel efficiency, vehicle emission rates, and the level on highway investment (for runs that assume
   highway investment to remain at the base-year level in constant dollars). Inputs in the form of projections
   for fuel efficiency and vehicle emissions rates were updated to the analysis period used throughout Part II of
   this report, 2011-2030.
   On the basis of these updates, this report considers the base year for the HERS analyses to be 2010 and
   the projection period to be the subsequent two decades through 2030. However, the reliance on the
   2008 HPMS database should be borne in mind when interpreting the exhibits in this and following
   chapters. Except as noted, the base year values reported for conditions and performance indicators are
   actually HERS-computed values for 2008 serving as proxies for 2010 values.

   Operations Strategies
   Starting with the 2004 C&P report, the HERS model has considered the impacts of certain types of
   highway operational improvements, in which intelligent transportation systems (ITS) feature prominently.
   The types of strategies currently evaluated by HERS include:
    Freeway management (ramp metering, electronic roadway monitoring, variable message signs, integrated
     corridor management, variable speed limits, queue warning systems, lane controls)
    Incident management (incident detection, verification, and response)
    Arterial management (upgraded signal control, electronic monitoring, variable message signs)
    Traveler information (511 systems and advanced in-vehicle navigation systems with real-time traveler
     information).



                                                                                                FHWA002350
                                                                           Potential Capital Investment Impacts   7-7
      Case 5:23-cv-00304-H             Document 15-18           Filed 01/31/24         Page 68 of 534         PageID 2628

Appendix A describes these strategies in more detail and their treatment in the HERS model. It is important
to note that HERS does not subject these types of investments to benefit-cost analysis and does not directly
analyze tradeoffs between them and the pavement improvements and widening options also considered by
the model. Instead, operations strategies are modeled via a separate preprocessor that estimates their impact
on the performance of highway sections where they are deployed. The analyses presented in this chapter
assume a package of investments representing the continuation of existing deployment trends, while a
sensitivity analysis presented in Chapter 10 considers the impacts of a more aggressive deployment pattern.
HERS does not currently model various applications of vehicle-to-vehicle and vehicle-to-infrastructure
communications that are under development because it is too early to reliably predict their impacts and
patterns of deployment.

      How will Vehicle-to-Vehicle (V2V) and Vehicle-to-Infrastructure (V2I) communications
      potentially impact future investment needs?
      Cellular, Wi-Fi, and other dedicated short-range communication technologies are expanding
      the possibilities for a Connected Vehicle Environment. Communications among vehicles on
      the road (V2V), and between these vehicles and infrastructure (V2I) hold promise for substantial reductions
      in crashes and vehicle emissions, and enhanced mobility through more efficient transportation systems
      management and operations. Adding to this potential are rapid advances in vehicle automation. For example,
      under advanced speed harmonization, vehicle speed would adjust automatically to speed limits that vary based
      on road, traffic, and weather conditions (an existing V2I application).
      Additional examples of connectivity applications include blind spot monitoring/lane change warning, smart
      parking, forward collision warning, do-not-pass warning, curve speed warning, red light violation warning, transit
      pedestrian warning, cooperative adaptive cruise control, breaking assist, and dynamic lane closure management.
      To reach the full potential of connected vehicles will require investment, coordination, and partnership with
      public and private entities. As development and implementation of connected vehicle applications proceeds,
      additional information should make possible their representation in HERS. Research efforts by FHWA, FTA,
      NHTSA, AASHTO and others that will measure benefits and costs of these applications include: (1) Applications
      for the Environment: Real-Time Information Synthesis (AERIS) Program; (2) AASHTO Connected Vehicle Field
      Infrastructure Footprint Analysis; (3) Connected and Automated Vehicle Benefit Cost Analysis; and (4) Measuring
      Local, Regional and Statewide Economic Development Associated with the Connected Vehicle program.



HERS Treatment of Traffic Growth
For each HPMS sample highway section, States provide the actual traffic volume in the base year and a
forecast of traffic volume for a future year, based on available information concerning the particular section
and the corridor of which it is a part. These forecasts are interpreted by HERS as having been made under
the assumption that the average user cost per mile of travel, including costs of travel time, vehicle operation,
and crash risk, would remain unchanged over the 20-year analysis period.
Because the present HERS analysis uses the HPMS sample data for 2008, the traffic volumes for the base
and forecast years pertain to 2008 and 2028. In the 2008 database, the composite weighted average annual
VMT growth rate between the 2008 base year and the forecast year is 1.85 percent. Projected VMT growth
in rural areas averages 2.15 percent per year, somewhat higher than the average of 1.70 percent in urban
areas.
To allow for the possibility that future traffic growth will be lower than forecast in the HPMS, the
HERS analysis presented in this report considers an alternative in which VMT grows at the trend rate of
1.36 percent per annum that prevailed from 1985 to 2010. In this case, the section-level forecasts of VMT
from the HPMS are reduced in uniform proportion to bring the growth rate of VMT down to this level
from the 1.85 percent assumed in the baseline. Exhibit 7-2 applies the alternative forecast growth rates,


7-8     Investment/Performance Analysis                                                                     FHWA002351
Case 5:23-cv-00304-H                         Document 15-18            Filed 01/31/24           Page 69 of 534           PageID 2629

   1.36 percent and 1.85 percent, to actual Federal-aid highway and systemwide VMT for 2010 to derive
   year-by-year estimates through 2030. An underlying assumption is that VMT will grow in a linear fashion
   (so that 1/20th of the additional VMT is added each year), rather than geometrically (growing at a constant
   annual rate). With linear growth, the annual percent rate of growth gradually declines over the forecast
   period.

     What are some of the technical limitations associated with the analysis of alternative
     trend-based travel growth rates included in this section?
     One of the strengths of the State-provided VMT forecasts used in the baseline analysis is
     their geographic specificity. Separate forecasts are provided for the more than 100,000 HPMS
     sample sections. The 1.85 percent average annual VMT growth rate referenced as the “forecast VMT growth” in
     this section reflects a compilation of these forecasts for individual sample sections.
     In forming their section-specific forecasts, States can take account of specific local influences on travel growth
     and their own long-range planning assumptions about future travel patterns on particular routes or corridors. The
     inclusion of these section-level forecasts, as opposed to regional or statewide travel estimates, allows for more
     refined analyses of projected future investment/performance relationships.
     The analyses based on the alternative “trend VMT growth”, adjust the HPMS-derived forecasts for the next
     20 years to match the 15-year trend from 1995 to 2010 when average VMT increased at an average annual rate
     of 1.36 percent. These analyses use a top-down, rather than a bottom-up approach; while they use the HPMS
     forecasts for individual highway sections as a starting point, these forecasts are adjusted downward in uniform
     proportion on a national basis. In reality, if VMT were to grow more slowly than the State projections, these
     differences would not be uniform, and could be heavily concentrated in particular corridors, regions, or States.
     Moreover, these differences could significantly impact the level of investment that might be required to achieve
     particular systemwide performance targets. The assumption of uniformity thus limits the reliability of this section’s
     analysis of the trend-based alternative VMT growth rates.



     Exhibit 7-2 Annual Projected Highway VMT Based on HPMS Forecasts or Actual
     15-Year Average Growth Trend
                       5.0
                                    HPMS-Derived Forecast: Applied to All Roads
                                    15-Year Average Growth Trend: Applied to All Roads
                       4.5          HPMS-Derived Forecast: Federal-Aid Highways                                                        4.31
                                    15-Year Average Growth Trend: Applied to Federal-Aid Highways                           4.17
                                                                                                                  4.04
                                                                                                        3.91                          3.91
                       4.0                                                                  3.78
      VMT, Trillions




                                                                                  3.65
                                                                       3.51
                                                            3.38
                       3.5                                                                                                            3.64
                                                 3.25
                                      3.12
                             2.99                                                                                                      3.31
                       3.0                                                                                                  3.23
                                                                                                                  3.15
                                                                                                        3.07
                                                                                            2.99
                                                                                  2.92
                                                                       2.84
                                                            2.76
                       2.5                       2.68
                                      2.60
                             2.53


                       2.0
                             2010     2012       2014       2016       2018       2020      2022        2024      2026      2028      2030

     Note: The HPMS forecasts were for the period 2008 to 2028, but their average annual growth rates have been applied to actual
     2010 VMT and extended to 2030 for purposes of this analysis. The alternative forecast substitutes in the actual average annual
     VMT growth trend from 1995 to 2010 and extends it through 2030.
     Source: Highway Performance Monitoring System.




                                                                                                                         FHWA002352
                                                                                                    Potential Capital Investment Impacts      7-9
   Case 5:23-cv-00304-H            Document 15-18         Filed 01/31/24        Page 70 of 534        PageID 2630

Travel Demand Elasticity
One of the key features of the economic analysis in HERS is the influence of the cost of travel on the
demand for travel. HERS represents this relationship as a travel demand elasticity that relates demand,
measured by VMT, to average user cost per VMT. The model applies this elasticity to the forecasts of future
travel (VMT) found in the HPMS sample data, which are interpreted as constant user cost forecasts. Any
change that HERS projects in user cost relative to the base-year level will, through the mechanism of the
travel demand elasticity, affect the model’s projection for future travel growth. For any highway investment
scenario that predicts average user cost to decrease, the projected growth rate will be higher than the baseline
rate derived from HPMS. The demand for travel induced by the reduction in cost could arise from various
traveler responses in various ways—for example, changing route or mode of travel, or even the total amount
of travel undertaken. Conversely, for scenarios in which highway user cost increases, the projected VMT
growth rate will tend to be lower than the baseline rate.
HERS also allows the induced demand predicted through the elasticity mechanism to influence the cost
of travel to highway users. On congested sections of highway, the initial congestion relief afforded by an
increase in capacity will reduce the average user cost per VMT, which in turn will stimulate demand for
travel and this increased demand will reverse a portion of the initial congestion relief. The elasticity feature
operates likewise with respect to improvements in pavement quality by allowing for induced traffic that
adds to pavement wear. (Conversely, an initial increase in user costs can start a causal chain with effects in
the opposite direction). By capturing these offsets to initial impacts on highway user costs, HERS is able to
estimate the net impacts.


               Impacts of Federal-Aid Highway Investments
                            Modeled by HERS
The present HERS analysis starts with an evaluation of the state of Federal-aid highways in the 2010 base
year. Exhibit 7-1 showed that capital spending on these highways for the types of improvements modeled
in HERS then amounted to $56.4 billion (out of total highway capital spending of $100.2 billion). The
analysis next goes on to consider the potential impacts on system performance of raising or lowering the
amount of investment within the scope of HERS at various annual rates over 20 years. Spending in any year
is measured in constant 2010 dollars, so that spending and its rate of growth are both measured in real rather
than nominal terms. Chapter 9 includes an illustration of how future spending levels could be converted
from real to nominal dollars levels under alternative assumptions about the future inflation rate.

Selection of Investment Levels for Analysis
Exhibit 7-3 describes the significance of the 10 funding levels selected for presentation in this chapter.
Some of these funding levels over the 20-year analysis period are geared toward the attainment of a specific
minimum value over that period for the benefit-cost ratio (BCR). As explained in the introduction to
Part II of this report, HERS ranks potential projects in order of BCR and implements them until the
funding constraint is reached. The lowest BCR among the projects selected, the “marginal BCR” will vary
across the four funding periods, and HERS refers to the lowest of these values across the funding periods
as the “minimum BCR”. For each minimum BCR target, 1.0 or 1.5, the requisite amount of investment is
determined under the alternative baseline assumptions about the future growth rate of VMT: the HPMS
forecast rate (1.85 percent per annum) or the historical trend rate (1.36 percent per annum). The highest
level of spending shown in Exhibit 7-3 corresponds to the annual growth rate in real spending, 3.95 percent,
associated with a minimum BCR of 1.0 in the forecast VMT growth case. The attainment of this minimum
BCR can be interpreted as having implemented all potentially cost-beneficial projects (BCR≥1.0). The next
highest level of spending shown in Exhibit 7-3 is the estimate of what would achieve this target assuming

7-10 Investment/Performance Analysis                                                                FHWA002353
Case 5:23-cv-00304-H               Document 15-18               Filed 01/31/24             Page 71 of 534             PageID 2631

   trend-based VMT growth and averages $70.5 billion per year, which is about 18 percent less than in the
   forecast-based VMT growth case ($86.9 billion per year).
   Other funding levels shown in Exhibit 7-3 are geared toward achieving a specific level of performance for
   a particular indicator for 2030—average congestion delay per VMT, average speed, or the average IRI. For
   each such indicator, the requisite amount of investment to maintain the base-year level is shown for the
   forecast-based VMT growth case. Shown for the cases of both forecast-based and trend-based VMT, growth
   is the “Cost to Maintain,” which is the average of the investment levels associated with maintaining the
   congestion delay and pavement roughness indicators. (Separate values are not shown for the investment
   levels associated with maintaining average delay per VMT and maintaining average IRI in the trend-based
   VMT growth case, as coincidentally they are virtually identical). In the trend-based VMT growth case, this
   level of investment averages $35.7 billion per year, the lowest amount shown in Exhibit 7-3, and associated
   rate with negative 4.3-percent annual growth in investment. (The connections between funding growth rates
   and performance indicators are identifiable from the exhibits presented later in this section).
   The other rate of investment growth in Exhibit 7-3 is zero, for the case where average annual spending over
   2010–2030 remains at the actual level of spending in 2010 in constant dollar terms.

      Exhibit 7-3 Description of Ten Alternative HERS-Modeled Investment Levels Selected for
      Further Analysis
           HERS-Modeled
         Capital Investment       Minimum BCR 2
       Annual       Average
       Percent       Annual     Assuming Assuming
       Change      Spending 1   Forecast   Trend                   Funding Level Description Assuming Future VMT Growth
          in       (Billions of   VMT       VMT                           Consistent With HPMS Forecast ("Forecast")
                                       3
      Spending 2010 Dollars) Growth       Growth 4                       or Consistent with VMT Growth Trend "(Trend)"
        3.95%         $86.9       1.00        –                   Minimum BCR=1.0 (Forecast)
        2.08%         $70.5       1.42      1.00                  Minimum BCR=1.0 (Trend)
        1.71%         $67.8       1.50      1.06                  Minimum BCR=1.5 (Forecast)
        0.72%         $60.9       1.73      1.27                  Average Delay per VMT in 2030 Matches 2010 Level (Forecast)
        0.00%         $56.4       1.92      1.42                  Constant Dollar Investment Sustained at 2010 Level
       -0.32%         $54.6       2.01      1.50                  Minimum BCR=1.5 (Trend)
       -0.66%         $52.7       2.09      1.58                  Average Speed in 2030 Matches 2010 Level (Forecast)
       -0.95%         $51.1       2.17      1.64                  "Cost to Maintain" (Forecast) 5
       -2.62%         $43.2       2.64      2.08                  Average IRI in 2030 Matches 2010 Level (Forecast)
       -4.60%         $35.7       2.83      2.53                  "Cost to Maintain" (Trend) 5 6
      1 The amounts shown represent the average annual investment over 20 years that would occur if annual investment grows in

      constant dollar terms by the percentage shown in each row of the first column.
      2 The minimum BCR represents the lowest benefit-cost ratio for any project implemented by HERS during the 20-year analysis period

      at the level of funding shown.
      3 The "Forecast" VMT growth is computed by comparing the current average annual daily traffic (AADT) with the future AADT that are

      reported by the States for individual HPMS sample sections; nationally this comes out to an average annual growth rate of 1.85% .
      HERS assumes this represents the VMT that would occur at a constant price (i.e., highway user costs do not increase or decrease),
      but adjusts the growth for individual sections during its analysis in response to changes in user costs.
      4 The average annual growth rate assumed in the "Trend" VMT growth analyses is 1.36%, matching the average growth rate for the

      15-year period from 1995 to 2010. To implement this assumption, the future AADT values reported for each HPMS sample section in
      HPMS were proportionally reduced; the resulting values were assumed to be the VMT that would occur at a constant price.
      5 The "Cost to Maintain" represents the average of the investment levels associated with maintaining average delay per VMT and

      maintaining IRI, and is used in the "Maintain Conditions and Performance" investment scenarios in Chapter 8.
      6 Assuming VMT growth follows its 15-Year Trend, the annual percent change in spending at which average delay per VMT in 2030

      matches the 2010 level is negative 4.61 percent, while the annual rate of spending change at which average IRI in 2030 matches the
      2010 level is negative 4.60 percent. Since these values are so close, their investment levels are not identified separately, and the
      "Cost to Maintain" is defined around an annual change of negative 4.60 percent.
      Source: Highway Economic Requirements System.


                                                                                                                   FHWA002354
                                                                                              Potential Capital Investment Impacts           7-11
   Case 5:23-cv-00304-H                    Document 15-18                Filed 01/31/24             Page 72 of 534                PageID 2632

  Why are many of the spending growth rates associated with meeting performance
  targets negative in this report, when they were positive in the 2010 C&P report?
  Actual highway capital investment for capital improvements modeled in HERS rose from
  $54.7 billion in 2008 (base year for the 2010 C&P report) to $56.4 billion in 2010, a 3 percent
  increase in nominal dollar terms. However, this coincided with a steep drop in highway construction costs,
  estimated in this report to have been about 18 percent. Factoring in this price change, real spending within the
  scope of HERS is estimated to have increased between 2008 and 2010 by almost 26 percent. This does much to
  explain why the present analysis indicates that maintaining target performance indicators at their base-year levels
  would be consistent with spending less than in the base year, whereas the analysis presented in the 2010 C&P
  report indicated that spending more than in the base year would be required.
  It should also be noted that 2010 highway capital investment was supplemented by one-time funding under the
  Recovery Act, which would make it more challenging to sustain this level of investment in the future.


Investment Levels and BCRs by Funding Period
Exhibit 7-4 illustrates how the 10 alternative funding growth rates for Federal-aid highways that were
selected for further analysis in this chapter would translate into cumulative spending in 5-year intervals

    Exhibit 7-4 Benefit-Cost Ratio Cutoff Points Associated With Different Possible Funding Levels
    for Federal-Aid Highways
   Annual       Spending Modeled in HERS (Billions of 2010 Dollars)                                                               Minimum
                                                                                                                    2
   Percent                Cumulative                                   Average                  Marginal BCR                       BCR
   Change 5-Year 5-Year 5-Year 5-Year                      20-Year      Annual  5-Year          5-Year 5-Year           5-Year    20-Year
  in HERS 2011       2016   2021    2026                    2011       Spending 2011             2016    2021            2026      2011
   Capital   to       to     to      to                       to        Over 20   to              to      to              to         to
  Spending 2015      2020   2025    2030                    2030        Years 1  2015            2020    2025            2030      2030
  Assuming Forecast VMT Growth
    3.95%   $317     $385   $468    $568                    $1,738        $86.9        2.30       1.73       1.30        1.00      1.00
    2.08%   $300     $333   $369    $409                    $1,411        $70.5        2.40       1.97       1.63        1.42      1.42
    1.71%   $297     $323   $352    $383                    $1,355        $67.8        2.42       2.03       1.70        1.50      1.50
    0.72%   $288     $299   $310    $321                    $1,218        $60.9        2.47       2.17       1.89        1.73      1.73
    0.00%   $282     $282   $282    $282                    $1,129        $56.4        2.51       2.28       2.04        1.92      1.92
   -0.32%   $279     $275   $271    $266                    $1,092        $54.6        2.54       2.33       2.10        2.01      2.01
   -0.66%   $277     $268   $259    $250                    $1,054        $52.7        2.56       2.39       2.17        2.09      2.09
   -0.95%   $274     $261   $249    $238                    $1,023        $51.1        2.58       2.43       2.24        2.17      2.17
   -2.62%   $261     $228   $200    $175                     $864         $43.2        2.68       2.72       2.64        2.72      2.64
   -4.60%   $246     $194   $153    $121                     $714         $35.7        2.83       3.12       3.18        3.38      2.83
  Assuming Trend VMT Growth
    2.08%   $300     $333   $369    $409                    $1,411        $70.5        2.18       1.66       1.22        1.00      1.00
    1.71%   $297     $323   $352    $383                    $1,355        $67.8        2.20       1.71       1.28        1.06      1.06
    0.72%   $288     $299   $310    $321                    $1,218        $60.9        2.27       1.84       1.44        1.27      1.27
    0.00%   $282     $282   $282    $282                    $1,129        $56.4        2.32       1.93       1.57        1.42      1.42
   -0.32%   $279     $275   $271    $266                    $1,092        $54.6        2.34       1.98       1.64        1.50      1.50
   -0.66%   $277     $268   $259    $250                    $1,054        $52.7        2.36       2.03       1.70        1.58      1.58
   -0.95%   $274     $261   $249    $238                    $1,023        $51.1        2.38       2.07       1.75        1.64      1.64
   -2.62%   $261     $228   $200    $175                     $864         $43.2        2.49       2.33       2.10        2.08      2.08
   -4.60%   $246     $194   $153    $121                     $714         $35.7        2.62       2.67       2.53        2.63      2.53
    1 The amounts shown represent the average annual investment over 20 years that would occur if annual investment grows in

    constant dollar terms by the percentage shown in each row of the first column.
    2 The marginal BCR represents the lowest benefit-cost ratio for any project implemented during the period identified at the

    level of funding shown. The minimum BCRs, indicated by bold font and also shown in the last column, are the smallest of the
    marginal BCRs across the funding periods.
    Source: Highway Economic Requirements System.


7-12 Investment/Performance Analysis                                                                                            FHWA002355
Case 5:23-cv-00304-H                          Document 15-18       Filed 01/31/24             Page 73 of 534             PageID 2633

   (corresponding to 5-year analysis periods used in HERS), along with the marginal benefit-cost ratios
   associated with that investment. The marginal BCR is generally higher for earlier than for later subperiods,
   resulting in the minimum BCR over the entire analysis period, shown in the last column, equaling the
   marginal BCR in the last subperiod. This pattern reflects the tendency in HERS for implementing the most
   worthwhile improvements first. The exception to this pattern occurs when funding is assumed to decline at
   an annual real rate of negative 2.62 percent or more; in this case, the relative scarcity of funding toward the
   end of the analysis period limits what can be implemented to relatively high-return projects.
   As shown in Exhibit 7-4, achieving a minimum BCR of 1.0 is estimated to require $1.738 trillion over the
   analysis period when forecast VMT growth is assumed and about $1.411 trillion when trend VMT growth is
   assumed. Applying the more restrictive minimum BCR target of 1.50 would require, respectively, 15 percent
   and 20 percent less than these amounts ($1.355 trillion and $1.092 trillion over the analysis period).
   Further evident in Exhibits 7-3 and 7-4 is the inverse relationship described in the introduction to Part
   II between the minimum BCR and the level of investment. Exhibit 7-5 graphs this inverse relationship,
   as well as that between the average BCR and the level of investment. At any given level of average annual
   investment, the average BCR always exceeds the marginal BCR. For example, at the lowest level of
   investment considered, $714 billion over 20 years, the average BCR of 5.82 exceeds the minimum BCR of
   2.83, assume forecast VMT growth.

         Exhibit 7-5 Minimum and Average Benefit-Cost Ratios (BCRs) for Different Possible Funding Levels
         for Federal-Aid Highways
                          7.00
                                     5.82
                          6.00                                                                  Minimum BCR            Average BCR
                                                           4.60
     Benefit-Cost Ratio




                          5.00                                        4.29
                                                                                                  3.65
                          4.00
                                                                                                                                   3.08
                                     2.83
                          3.00
                                                           2.17
                                                                      1.92
                          2.00                                                                    1.42
                                                                                                                                   1.00
                          1.00

                          0.00
                             $30.0          $40.0       $50.0                $60.0              $70.0               $80.0                  $90.0
                                             Average Annual Investment Modeled in HERS (Billions of Dollars)
          Note: The five minimum BCR points that are labeled correspond to five of the 10 investment levels presented in Exhibit 7-3. As
          HERS ranks potential improvements by their estimated BCRs and assumes that the improvements with the highest BCRs will be
          implemented first (up until the point where the available budget specified is exhausted), the minimum and average BCRs will
          naturally tend to decline as the level of investment analyzed rises. The BCRs shown assuming VMT growth consistent with the
          HPMS-derived forecast.
          Source: Highway Economic Requirements System.



   Impact of Future Investment on Highway Pavement Ride Quality
   The primary measure in HPMS of highway physical condition is pavement ride quality as measured by
   the IRI index of pavement roughness (defined in Chapter 3). The HERS analysis presented in this report
   focuses on VMT-weighted IRI values; the average IRI values shown thus reflect the pavement ride quality
   experienced on a typical mile of travel. Exhibit 7-6 shows how the projection for the average IRI on
   Federal-aid highways in 2030 varies with the total amount of HERS-modeled investment and between
   the assumptions regarding VMT growth. Also shown is the portion of investment that HERS allocates to
   system rehabilitation, which is more significant than investment in system expansion in influencing average
   pavement ride quality.

                                                                                                                      FHWA002356
                                                                                                 Potential Capital Investment Impacts         7-13
     Case 5:23-cv-00304-H                                     Document 15-18              Filed 01/31/24            Page 74 of 534         PageID 2634

For each of the funding levels analyzed, HERS would direct a greater share of total spending toward system
rehabilitation assuming the trend rate of VMT growth (1.36 percent per annum) rather than the forecast
rate of VMT growth (1.85 percent per annum). The lower VMT under the trend growth case also results in
less pavement damage from traffic. Consequently, for any given level of investment in Federal-aid highways,
Exhibit 7-6 indicates the average IRI projected for 2030 to be lower in the trend than in the forecast case.
For example, assuming that real investment in highways remains at the 2010 base year level of $56.4 billion,
the projection is for the average IRI to decline by 17.7 percent to 94.1 in the trend VMT growth case, while
it would only decline by 11.5 percent to 101.3 for the forecast VMT growth case.
For almost all combinations of investment level and traffic growth that Exhibit 7-6 presents, pavements
on Federal-aid highways are projected to be smoother on average in 2030 than in 2010. The exception
combines spending declining at an average annual rate of 4.6 percent with traffic growing at the forecast

      Exhibit 7-6 Projected 2030 Average Pavement Roughness on Federal-Aid Highways Compared with
      Base Year, for Different Possible Funding Levels
                                  15%
   Pavement Roughness From Base




                                  10%                                      Assuming Forecast VMT Growth             Assuming Trend VMT Growth
     Percent Change in Average




                                   5%
                                   0%
                                   -5%
                                  -10%
                                  -15%
                                  -20%
                                  -25%
                                  -30%
                                      $30.0          $40.0            $50.0              $60.0              $70.0             $80.0             $90.0
                                                         Average Annual Investment Modeled in HERS (Billions of Dollars)


                                         HERS-Modeled Capital Investment                       Projected Impacts on Federal-Aid Highways 3
              Annual                              Average Annual Spending                            Average IRI (VMT-Weighted)
              Percent                               (Billions of 2010 Dollars)                  Projected                  Percent Change
              Change                                          System Rehabilitation 2          2030 Level              Relative to Base Year
                 in                           Total 1       If Forecast      If Trend  If Forecast      If Trend    If Forecast      If Trend
             Spending                                      VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth
               3.95%                          $86.9             $43.9            –         83.9             –          -26.7%             –
               2.08%                          $70.5             $36.7          $40.6        92.3           85.7        -19.3%         -25.1%
               1.71%                          $67.8             $35.6          $39.3        93.8           87.0        -18.0%         -24.0%
               0.72%                          $60.9             $32.6          $35.8        98.0           91.3        -14.3%         -20.2%
               0.00%                          $56.4             $30.6          $33.6       101.3           94.1        -11.5%         -17.7%
              -0.32%                          $54.6             $29.7          $32.6       102.7           95.5        -10.2%         -16.5%
              -0.66%                          $52.7             $28.9          $31.6       104.2           96.9         -8.9%         -15.3%
              -0.95%                          $51.1             $28.1          $30.8       105.7           98.1         -7.6%         -14.2%
              -2.62%                          $43.2             $24.2          $26.6       114.4          105.4          0.0%          -7.9%
              -4.60%                          $35.7             $20.6          $22.6       123.8          114.4          8.2%           0.0%
                                                                      Base Year Value:     114.4
     1 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would

     occur if such spending grows annually in constant dollar terms by the percentage shown in each row of the first column.
     2 The amounts shown represent the portion of HERS-modeled spending directed toward system rehabilitation, rather than system

     expansion, which is influenced by the assumption made about future VMT growth rates.
     3 The HERS model relies on information from the HPMS sample section database, which is limited to those portions of the road

     network that are generally eligible for Federal funding (i.e., "Federal-aid highways") and excludes roads classified as rural minor
     collectors, rural local, and urban local.
     Source: Highway Economic Requirements System.




7-14 Investment/Performance Analysis                                                                                                     FHWA002357
Case 5:23-cv-00304-H                            Document 15-18              Filed 01/31/24           Page 75 of 534          PageID 2635

   rate (1.85 percent per annum). For those circumstances, HERS projects an 8.2-percent increase in average
   pavement roughness. The same rate of decline in spending combined with the trend rate of traffic growth
   (1.36 percent per annum) is projected to maintain the average IRI at the base year level. The rate of spending
   growth that would maintain average IRI at the 2010 level case is higher when traffic is assumed to grow at
   the forecast rate, but still negative (-2.62 percent per annum).
   Exhibit 7-7 shows the HERS projections for the percentage of travel occurring on pavements with ride
   quality that would be rated good or acceptable based on the IRI thresholds set in Chapter 3. Under
   all circumstances represented in the exhibit, the 2030 projection for the percent of travel occurring on
   pavements with good ride quality exceeds the 50.6 percent that occurred in 2010. With traffic assumed to
   grow at the forecast rate, the projection for 2030 ranges from 75.8 percent at the highest level of investment
   modeled, which implements all projects with BCR≥1.0, to 51.0 percent at the lowest level, which would
   reduce investment at an average annual rate of 4.6 percent. When zero change from the 2010 level of
   investment is modeled, the projections for 2030 in the forecast growth case are for pavements with good
   ride quality to carry 64.7 percent of travel. In the trend traffic case, the corresponding projections are 4 to
   5 percentage points higher, reflecting the greater share of investment directed toward system rehabilitation.

      Exhibit 7-7 Projected 2030 Pavement Ride Quality Indicators on Federal-Aid Highways Compared with
      2010, for Different Possible Funding Levels
                               80%
                                             Assuming Trend VMT Growth
                               75%
      VMT on Roads with Good




                                             Assuming Forecast VMT Growth
       Ride Quality, Percent




                               70%

                               65%

                               60%

                               55%

                               50%
                                  $30.0           $40.0            $50.0              $60.0              $70.0           $80.0            $90.0
                                                    Average Annual Investment Modeled in HERS (Billions of Dollars)

                                     HERS-Modeled Capital Investment                   Projected Impacts on Federal-Aid Highways
                  Annual                      Average Annual Spending             Percent of 2030 VMT on      Percent of 2030 VMT on
                  Percent                      (Billions of 2010 Dollars)         Roads With IRI<95 (Good        Roads With IRI<170
                  Change                                 System Rehabilitation          Ride Quality)1       (Acceptable Ride Quality)1
                     in                                If Forecast    If Trend    If Forecast     If Trend    If Forecast    If Trend
                 Spending                  Total      VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth
                   3.95%                   $86.9           $43.9          –          75.8%            –          93.4%           –
                   2.08%                   $70.5           $36.7        $40.6        70.5%         74.8%         90.8%        93.1%
                   1.71%                   $67.8           $35.6        $39.3        69.5%         74.0%         90.4%        92.6%
                   0.72%                   $60.9           $32.6        $35.8        66.8%         71.2%         89.1%        91.3%
                   0.00%                   $56.4           $30.6        $33.6        64.7%         69.2%         88.1%        90.3%
                  -0.32%                   $54.6           $29.7        $32.6        63.9%         68.3%         87.6%        89.9%
                  -0.66%                   $52.7           $28.9        $31.6        62.9%         67.3%         87.2%        89.5%
                  -0.95%                   $51.1           $28.1        $30.8        62.1%         66.5%         86.7%        89.1%
                  -2.62%                   $43.2           $24.2        $26.6        56.6%         61.6%         84.0%        86.8%
                  -4.60%                   $35.7           $20.6        $22.6        51.0%         55.8%         81.5%        84.0%
                                                              Base Year Values 2:    50.6%                       82.0%
           1 As discussed in Chapter 3, IRI values of 95 and 170 inches per mile, respectively, are the thresholds associated with "good" and

           "acceptable" pavement ride quality on the NHS.
           2 Base Year values shown are 2010 values reported in Chapter 3, rather than those reflected in the 2008 HPMS sample dataset.

           Source: Highway Economic Requirements System.




                                                                                                                             FHWA002358
                                                                                                        Potential Capital Investment Impacts    7-15
   Case 5:23-cv-00304-H             Document 15-18            Filed 01/31/24         Page 76 of 534           PageID 2636

In almost all the circumstances considered, Exhibit 7-7 also shows increases relative to the base year level
of 82.0 percent in the proportion of travel occurring on pavements with ride quality rated as acceptable.
With traffic assumed to grow at the forecast rate, the projection for 2030 ranges from 93.4 percent at the
highest level of investment modeled to 81.5 percent at the lowest. When no change from the 2010 level of
investment is modeled, 88.1 percent of travel in 2030 in the forecast traffic growth case is projected to occur
on pavements with acceptable ride quality. In the trend traffic growth case, the corresponding projections are
2 to 3 percentage points higher. As noted in Chapter 3, the IRI threshold of 170 used to identify acceptable
ride quality was originally set to measure performance on the NHS and may not be fully applicable to non-
NHS routes, which tend to have lower travel volumes and speeds.

Impact of Future Investment on Highway Operational Performance
Exhibit 7-8 shows the HERS projections for travel time-related indicators of highway performance for
the case where traffic grows as forecast in the HPMS. As noted above, HERS assumes the continuation of
existing trends in the deployment of certain system management and operations strategies. Among these
strategies are several, such as freeway incident management programs, that can be expected to mitigate delay
associated with isolated incidents more than the delay associated with recurring congestion (“congestion
delay”). In line with this, Exhibit 7-8 shows the amount of incident delay decreasing relative to congestion
delay over the period 2010-2030. Assuming that investment within the scope of HERS remains in real
terms at its 2010 level, the model projects incident delay per VMT on Federal-aid highways to decrease
10.3 percent between 2010 and 2030, and congestion delay to increase 12.9 percent.
The results in Exhibit 7-8 also reveal investment within the scope of HERS to be a potent instrument for
reducing congestion delay. Exhibit 7-8 splits out the portion of that investment that HERS programs for
system expansion (such as the widening of existing highways or building new routes in existing corridors),
which will tend to reduce congestion delay more than spending on system rehabilitation.
When average annual total investment is assumed to be sustained at the 2010 level of $56.4 billion,
total delay per VMT in 2030 is projected to be 1.9 percent higher than in 2010. If instead annual total
investment is assumed to average the $86.9 billion that HERS estimates would be needed to fund all

   How large is the investment backlog estimated by HERS?

   The investment backlog represents all improvements that could be economically justified for
   immediate implementation, based solely on the current conditions and operational performance
   of the highway system (without regard to potential future increases in VMT or potential future physical
   deterioration of pavements).
   The HERS model does not routinely produce rolling backlog figures over time as an output, but is equipped to
   do special analyses to identify the base year backlog. To determine which action items to include in the backlog,
   HERS evaluates the current state of each highway section before projecting the effects of future travel growth
   on congestion and pavement deterioration. Any potential improvement that would correct an existing pavement
   or capacity deficiency and that has a BCR greater than or equal to 1.0 is considered part of the current highway
   investment backlog.
   HERS estimates the size of the backlog as $486.6 billion for Federal-aid highways, stated in constant 2010
   dollars. The estimated backlog for the Interstate System is $145.9 billion; adding in other principal arterials
   produces an estimated backlog of $344.8 billion for the expanded NHS. The investment levels associated with
   a minimum BCR of 1.0 presented in this chapter would fully eliminate this backlog, as well as addressing other
   deficiencies that arise over the next 20 years, when it is cost beneficial to do so.
   It should be noted that these figures reflect only a subset of the total highway investment backlog; they do not
   include the types of capital improvements modeled in NBIAS (presented later in this chapter) or the types of
   capital improvements not currently modeled in HERS or NBIAS. Chapter 8 presents an estimate of the combined
   backlog for all types of improvements.



7-16 Investment/Performance Analysis                                                                         FHWA002359
Case 5:23-cv-00304-H                                         Document 15-18               Filed 01/31/24              Page 77 of 534         PageID 2637

   improvements with BCR≥1.0, the projected change in total delay per VMT is a reduction of 8.0 percent
   from the 2010 level. For annual congestion delay per vehicle in 2030, the projections indicate that the effect
   of this difference in investment levels is to save 5.1 hours (47.1 hours assuming $86.9 billion per year versus
   52.4 hours at actual 2010 spending). In contrast, at assumed investment levels much lower than what was
   spent in 2010, the projections are for significant increases in congestion delay per VMT—12.0 percent at
   the lowest level of investment considered, an annual average of $35.7 billion.

     Exhibit 7-8 Projected Changes in 2030 Highway Travel Delay and Speed on Federal-Aid Highways
     Compared with Base Year, for Different Possible Funding Levels
                                               30%
      Percent Change in Delay From Base Year




                                               20%

                                               10%

                                                0%

                                               -10%

                                               -20%

                                                           Total Delay          Congestion Delay            Incident Delay
                                               -30%

                                               -40%
                                                   $30.0     $40.0               $50.0              $60.0               $70.0           $80.0            $90.0

                                                                     Average Annual Investment Modeled in HERS (Billions of Dollars)


                 HERS-Modeled
                Capital Investment                                                            Projected Impacts on Federal-Aid Highways 1
       Annual    Average Annual Spending                                             Annual         Percent Change Relative to Baseline               Average
       Percent    (Billions of 2010 Dollars)                                        Hours of        Total       Congestion       Incident              Speed
      Change in                    System                                           Delay per       Delay          Delay           Delay              in 2030
      Spending      Total 2      Expansion 3                                        Vehicle 4      per VMT       per VMT        per VMT                (mph)
        3.95%        $86.9          $43.0                                             47.3          -8.0%          -1.7%          -27.9%                44.3
        2.08%        $70.5          $33.9                                             49.6          -3.5%           5.2%          -20.2%                43.8
        1.71%        $67.8          $32.2                                             50.2          -2.4%           6.6%          -18.1%                43.7
        0.72%        $60.9          $28.3                                             51.4           0.0%         10.1%           -13.9%                43.5
        0.00%        $56.4          $25.9                                             52.4          1.9%          12.9%           -10.3%                43.3
       -0.32%        $54.6          $24.9                                             52.8           2.8%         14.0%            -8.4%                43.3
       -0.66%        $52.7          $23.8                                             53.3           3.7%         15.4%            -6.9%                43.2
       -0.95%        $51.1          $23.0                                             53.6          4.3%          16.2%            -5.9%                43.1
       -2.62%        $43.2          $19.0                                             55.3           7.6%         21.4%             0.0%                42.8
       -4.60%        $35.7          $15.1                                             57.6          12.0%         27.5%             8.4%                42.3
                          Base Year Values:                                           51.4                                                              43.2
      1 The projected impacts are influenced by the assumption made about future VMT growth rates; this exhibit assumes VMT growth

      consistent with the HPMS-derived forecast.
      2 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would

      occur if such spending grows annually in constant dollar terms by the percentage shown in each row of the first column.
      3 The amounts shown represent the portion of HERS-modeled spending directed toward system expansion, rather than system

      rehabilitation, which is influenced by the assumption made about future VMT growth rates.
      4 The values shown were computed by multiplying HERS estimates of average delay per VMT by 11,853, the average VMT per

      registered vehicle in 2010. HERS does not forecast changes in VMT per vehicle over time. The HERS delay figures include delay
      attributable to stop signs and signals, as well as delay resulting from congestion and incidents.
      Source: Highway Economic Requirements System; Highway Statistics 2010, Table VM-1.




                                                                                                                                             FHWA002360
                                                                                                                        Potential Capital Investment Impacts   7-17
   Case 5:23-cv-00304-H                                       Document 15-18            Filed 01/31/24          Page 78 of 534              PageID 2638

Exhibit 7-9 presents results from HERS simulations in which the baseline VMT growth conforms to
15-year historical trend rather than the HPMS forecasts. Because this reduces the rate of VMT growth,
the projections of delay for 2030 are lower than in Exhibit 7-8. For the case where spending continues at
the 2010 level, annual delay per vehicle is projected at 47.4 hours versus the 52.4 hours that was projected
in Exhibit 7-8 when forecast traffic growth was assumed. The impacts on delay of varying the level of
investment are somewhat smaller, as well. For example, increasing average annual investment from the
2010 level to $68.4 billion reduces the 2030 projection of annual delay per vehicle by 1.8 hours
(from 47.4 to 45.6), whereas the corresponding reduction in Exhibit 7-8 was 2.2 hours.

  Exhibit 7-9 Projected Changes in 2030 Highway Travel Delay and Speed on Federal-Aid Highways
  Compared with Base Year, for Different Possible Funding Levels, Assuming Trend-Based VMT Growth

                                             30%
    Percent Change in Delay From Base Year




                                             20%                                      Total Delay       Congestion Delay           Incident Delay

                                             10%

                                              0%

                                             -10%

                                             -20%

                                             -30%

                                             -40%
                                                 $30.0    $40.0               $50.0                 $60.0                  $70.0                    $80.0
                                                         Average Annual Investment Modeled in HERS (Billions of Dollars)

              HERS-Modeled
             Capital Investment                                                    Projected Impacts on Federal-Aid Highways 1
    Annual     Average Annual Spending                                    Annual        Percent Change Relative to Baseline               Average
    Percent     (Billions of 2010 Dollars)                               Hours of         Total     Congestion      Incident               Speed
   Change in                     System                                  Delay per        Delay        Delay          Delay               in 2030
   Spending       Total 2      Expansion 3                               Vehicle 4      per VMT       per VMT      per VMT                 (mph)
     2.08%        $70.5           $30.0                                    45.2          -12.1%        -9.1%         -33.0%                 44.6
     1.71%        $67.8           $28.5                                    45.6          -11.2%        -7.8%         -31.6%                 44.5
     0.72%        $60.9           $25.1                                    46.6           -9.3%        -5.0%         -28.0%                 44.3
     0.00%        $56.4           $22.8                                    47.4           -7.8%        -2.9%         -25.2%                 44.2
    -0.32%        $54.6           $22.0                                    47.6           -7.3%        -2.2%         -23.9%                 44.2
    -0.66%        $52.7           $21.1                                    48.0           -6.7%        -1.3%         -22.6%                 44.1
    -0.95%        $51.1           $20.3                                    48.2           -6.2%        -0.7%         -21.6%                 44.0
    -2.62%        $43.2           $16.6                                    49.7           -3.2%         3.6%         -15.9%                 43.8
    -4.60%        $35.7           $13.1                                    51.4           0.0%          8.0%          -9.5%                 43.4
                        Base Year Values:                                  51.4                                                             43.2
   1 The projected impacts are influenced by the assumption made about future VMT growth rates; this exhibit assumes VMT growth

   consistent with the trend over the 15-year period from 1995 to 2010.
   2 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would

   occur if such spending grows annually in constant dollar terms by the percentage shown in each row of the first column.
   3 The amounts shown represent the portion of HERS-modeled spending directed toward system expansion, rather than system

   rehabilitation, which is influenced by the assumption made about future VMT growth rates.
   4 The values shown were computed by multiplying HERS estimates of average delay per VMT by 11,853, the average VMT per

   registered vehicle in 2010. HERS does not forecast changes in VMT per vehicle over time. The HERS delay figures include
   delay attributable to stop signs and signals, as well as delay resulting from congestion and incidents.
   Sources: Highway Economic Requirements System; Highway Statistics 2010, Table VM-1.




7-18 Investment/Performance Analysis                                                                                                      FHWA002361
Case 5:23-cv-00304-H           Document 15-18           Filed 01/31/24         Page 79 of 534          PageID 2639

   Whichever the traffic growth assumption, forecast or trend, it is important to bear in mind some traffic
   basics when interpreting these results. In addition to congestion and incident delay, some delay inevitably
   results from traffic control devices. For this reason, and because traffic congestion occurs only at certain
   places and times, Exhibits 7-8 and 7-9 show the variation in the level of investment as having less of an
   impact on projections for total delay and average speed than on the projections for congestion and incident
   delay. In addition, while the impacts of additional investment on average speed are proportionally small—
   when trend traffic growth is assumed, investing enough to implement all cost beneficial projects rather than
   at the 2010 level increases average speed projected for 2030 from 44.2 mph to 44.6 mph—these impacts
   apply to a vast amount of travel, so that the associated savings in user cost are not necessarily small relative to
   the cost of the investment.

   Impact of Future Investment on Highway User Costs
   In the HERS model, the benefits from highway improvements are the reductions in highway user costs,
   agency costs, and societal costs of vehicle emissions. In measuring the highway user costs, the model
   includes the costs of travel time, vehicle operation, and crashes, but excludes from vehicle operating costs
   taxes imposed on highway users (such as motor fuel taxes and vehicle registration fees). As discussed in the
   Introduction to Part II, the exclusion of these taxes conforms with the principle in benefit-cost analysis of
   measuring the costs of transportation inputs as their opportunity cost to society. The exclusion also makes
   the measure of user costs more of an indicator of highway conditions and performance, of which the amount
   paid in highway-user taxes provides no indication.
   Impact on Overall User Cost
   For Federal-aid highways, HERS estimates that user costs—the costs of travel time, vehicle operation,
   and crashes—averaged $1.030 per mile of travel in the base year (Exhibit 7-10). When baseline traffic is
   assumed to grow as forecast, the average user cost is generally higher in the 2030 projection than in the
   base year estimate. Average user cost is projected to increase between 2010 and 2030 by 0.8 percent and by
   2.1 percent under the assumptions that real annual spending remains at the base year level or, alternatively,
   decreases annually at the rate geared toward maintaining average pavement roughness (2.62 percent).
   Decreases in average user cost are projected for the two highest levels of spending considered. At the level
   HERS indicates would be needed to fund all cost-beneficial projects (averaging $86.9 billion annually),
   average user cost per mile of travel in 2030 is projected to be $1.018, or 1.1 percent less than in the base
   year. Exhibit 7-10 also reveals that assuming baseline traffic growth to follow trend rather than the HPMS
   forecasts reduces the projections of average user cost at a given level of investment by 1 to 2 percent.


       How much does HERS modify the baseline projections of VMT?
       The modification is largest at the lowest investment level presented in Exhibit 7-10, which
       averages $35.7 billion per year and corresponds to negative 4.6 percent annual growth in
       spending. At this investment level, average user costs are projected to increase between 2010 and 2030 by
       3.1 percent when the baseline traffic growth is assumed to be as forecast in HPMS. The projected increase in
       average user cost operates through the HERS elasticity mechanism to reduce the VMT projection for 2030. The
       increase from 2.520 trillion VMT in the base year to 3.550 trillion VMT in 2030 translates into an average annual
       VMT growth rate of 1.73 percent, which falls below the 1.85 percent growth rate forecast in HPMS.
       Similarly, when traffic growth is assumed to follow the 15-year trend, average user costs per VMT are projected
       to increase by 1.3 percent; the increase from 2.520 trillion VMT to 3.253 trillion VMT translates into an average
       annual VMT growth rate of 1.28 percent, rather than the 1.36 percent annual growth rate assumed if user costs
       remained constant.
       In the present analysis, the percent changes in average user cost are relatively small. For this reason, and
       because HERS incorporates the indications from available evidence that travel demand is not highly sensitive to
       price, HERS only slightly modifies the baseline projection of VMT.


                                                                                                       FHWA002362
                                                                                  Potential Capital Investment Impacts     7-19
   Case 5:23-cv-00304-H                                  Document 15-18             Filed 01/31/24              Page 80 of 534         PageID 2640

The projections in Exhibit 7-10 for VMT on Federal-aid highways incorporate the effects on travel demand
of changes in average user cost. These outputs from the HERS analysis differ from the “trend” and “forecast”
projections of VMT on Federal-aid highways that are inputs to the analysis. The input projections, which
were shown in Exhibit 7-2, are interpreted as representing the baseline levels of traffic in the absence of any
change in average user cost from the 2010 level. The 2030 traffic levels presented in Exhibit 7-10 are thus
higher or lower than these baseline levels according to whether average user cost is projected to decrease or
increase.

   Exhibit 7-10 Projected 2030 Average Total User Costs and VMT on Federal-Aid Highways Compared
   with Base Year, for Different Possible Funding Levels
                                      4%
    Total User Costs from Base Year




                                                                   Assuming Forecast VMT Growth                Assuming Trend VMT Growth
      Percent Change in Average




                                      3%

                                      2%

                                      1%

                                      0%

                                      -1%

                                      -2%
                                         $30.0   $40.0            $50.0             $60.0              $70.0              $80.0            $90.0

                                                    Average Annual Investment Modeled in HERS (Billions of Dollars)

              HERS-Modeled Capital
                  Investment                                              Projected Impacts on Federal-Aid Highways*
           Annual     Average                                Percent Change in User    Projected 2030 VMT on
                                  Average Total User Costs
           Percent     Annual                              Costs per VMT, Relative to   Federal-aid Highways
                                           ($/VMT)
           Change     Spending                                       Base Year            (Trillions of VMT)*
              in     (Billions of If Forecast    If Trend   If Forecast     If Trend  If Forecast       If Trend
          Spending 2010 Dollars) VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth
            3.95%       $86.9        $1.018          –          -1.1%            –        3.629             –
            2.08%       $70.5        $1.027        $1.015       -0.2%         -1.4%       3.612           3.303
            1.71%       $67.8        $1.029        $1.017        0.0%         -1.3%       3.608           3.300
            0.72%       $60.9        $1.034        $1.021        0.4%         -0.9%       3.599           3.293
            0.00%       $56.4        $1.038        $1.024        0.8%         -0.6%       3.592           3.287
           -0.32%       $54.6        $1.040        $1.025        1.0%         -0.5%       3.589           3.285
           -0.66%       $52.7        $1.041        $1.026        1.1%         -0.3%       3.586           3.282
           -0.95%       $51.1        $1.043        $1.028        1.3%         -0.2%       3.584           3.280
           -2.62%       $43.2        $1.051        $1.035        2.1%          0.5%       3.568           3.268
           -4.60%       $35.7        $1.062        $1.043        3.1%          1.3%       3.550           3.253
               Base Year Values:     $1.030                                               2.520
        * The HERS model relies on information from the HPMS sample section database, which is limited to those portions of the road
        network that are generally eligible for Federal funding (i.e., "Federal-aid highways") and excludes roads classified as rural minor
        collectors, rural local, and urban local.
    Source: Highway Economic Requirements System.



Impact on User Cost Components
Exhibit 7-11 shows the projected changes from 2010 to 2030 in average user cost of travel on Federal-
aid highways by cost component. The cost of crashes is the component least sensitive to the assumed
level of highway investment, which as an annual average varies between $35.7 billion and $86.9 billion
or $70.5 billion depending on whether baseline VMT growth is assumed to follow the HPMS forecast
or the 15-year trend. Compared with the lowest level, the highest level of spending reduces the crash cost

7-20 Investment/Performance Analysis                                                                                                 FHWA002363
Case 5:23-cv-00304-H               Document 15-18                Filed 01/31/24             Page 81 of 534              PageID 2641

   per VMT by 0.7 percent (forecast case) or 0.1 percent (trend case). These levels of spending are limited to
   the types of improvements that HERS evaluates, which are basically system rehabilitation and expansion.
   Because the HPMS lacks detailed information on the current location and characteristics of safety-related
   features (e.g., guardrail, rumble strips, roundabouts, yellow change intervals at signals), safety-focused
   investments are not evaluated. Thus, the findings presented in Exhibit 7-11 establish nothing about how
   such investments affect highway safety.
   Crash costs also form the smallest of the three components of highway user costs. For 2010 travel on
   Federal-aid highways, HERS estimates the breakdown by cost component to be crash cost, 13.6 percent;
   travel time cost, 44.9 percent, and vehicle operating cost, 41.5 percent. Research under way to update the
   vehicle operating cost equations in HERS (see Appendix D) may somewhat alter the split among these costs,
   but crash costs will remain a small component. Although highway trips always consume traveler time and
   resources for vehicle operation, only a small fraction involve crashes. In addition, most crashes are non-
   catastrophic: particularly on urban highways, many involve only damage to property without anyone being
   injured.
   The projections for the travel time costs are somewhat more sensitive to the assumed level of investment than
   are the projections for vehicle operating costs. When baseline VMT growth is based on HPMS forecasts,
   the projected 2010-2030 change in travel cost per VMT ranges from a decrease of 3.5 percent at the
   highest level of assumed investment to an increase of 2.5 percent at the lowest. This implies that investing
   at the highest rather than the lowest level would reduce the per VMT cost of travel in 2030 by 5.4 percent
   (= (035+.025)/(1-.025)). For vehicle operating cost, the corresponding estimate is a reduction of 3.3 percent.
   When VMT growth is based on trend rather than forecasts, the projections of travel time and vehicle
   operating cost are lower and less sensitive to variation in the assumed investment level. Investing at the


        Exhibit 7-11 Projected Changes in 2030 Average Highway User Costs on Federal-Aid Highways
        Compared With Base Year, for Different User Cost Components and Different Possible Funding Levels
        HERS-Modeled Capital
            Investment                                         Projected Impacts on Federal-Aid Highways
         Annual       Average                    Percent Change in Average User Costs per VMT in 2030,
         Percent       Annual                                     Relative to Base Year
         Change       Spending          Travel Time Costs     Vehicle Operating Costs 1          Crash Costs 2
            in       (Billions of  If Forecast      If Trend   If Forecast      If Trend  If Forecast     If Trend
        Spending    2010 Dollars) VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth VMT Growth
          3.95%         $86.9          -3.0%             –         0.2%             –         1.1%            –
          2.08%         $70.5          -1.8%          -3.9%        1.0%           0.8%        1.3%          0.1%
          1.71%         $67.8          -1.6%          -3.7%        1.1%           0.9%        1.3%          0.1%
          0.72%         $60.9          -0.9%          -3.2%        1.6%           1.3%        1.4%          0.2%
          0.00%         $56.4          -0.4%          -2.8%        1.8%           1.5%        1.5%          0.3%
         -0.32%         $54.6          -0.2%          -2.7%        2.0%           1.7%        1.5%          0.3%
         -0.66%         $52.7          0.1%           -2.5%        2.1%           1.8%        1.5%          0.4%
         -0.95%         $51.1          0.2%           -2.4%        2.3%           1.9%        1.6%          0.4%
         -2.62%         $43.2          1.2%           -1.5%        3.2%           2.7%        1.6%          0.4%
         -4.60%         $35.7          2.5%           -0.6%        4.1%           3.7%        1.8%          0.6%
    1
     The projected vehicle operating costs are heavily influenced by an assumption drawn from the EIA Annual Energy Outlook 2012
    publication that motor fuel prices would grow by 45 percent over the 20 year analysis period. The average retail price of a gallon of
    gasoline was $2.44 per gallon in 2010, but had already risen to $3.58 by 2011.
    2
      The HPMS does not contain the type of detail that would be needed to conduct an analysis of targeted safety enhancements. The
    crash costs estimated by the HERS model represent ancillary impacts associated with pavement and capacity improvements and are
    heavily influenced by traffic volume and speed.

    Source: Highway Economic Requirements System.




                                                                                                                    FHWA002364
                                                                                               Potential Capital Investment Impacts         7-21
   Case 5:23-cv-00304-H             Document 15-18           Filed 01/31/24         Page 82 of 534          PageID 2642

highest level shown for the trend forecast case rather than at the lowest level reduces the projected time cost
of travel in 2030 by 3.7 percent and the projected vehicle operating cost by 2.8 percent.
For vehicle operating costs per VMT, all the projections in Exhibit 7-11 show levels in 2030 to exceed those
for 2010. This uniformity contrasts with the mixed pattern in the projections for travel time cost and reflects
the assumption of future increases in motor fuel prices. For these prices and for vehicle fuel economy, the
assumptions are based on projections from the Energy Information Administration (EIA) Annual Energy
Outlook 2012. The weighted average price of gasoline and diesel fuel is assumed to increase between
2010 and 2030 by 45 percent more than the consumer price index. This increase outweighs the fuel cost
savings that would result from the improvements in vehicle energy efficiency that the EIA projects for this
same period; these equate to increases in average MPG of 32.8 percent for light-duty vehicles, 30.0 percent
for two-axle trucks, and 19.4 percent for 3+ axle trucks. These projections incorporate the effect of increases
in Corporate Average Fuel Economy (CAFE) standards and U.S. Environmental Protection Agency (EPA)
standards for emissions of greenhouse gases by automobiles and light trucks through model year 2016, as
well as new standards for fuel efficiency and greenhouse gas emissions for medium- and heavy-duty trucks
through model year 2018 adopted by U.S. Department of Transportation (DOT) and EPA.

  What changes in CAFE standards have recently been adopted, and what impacts are
  these changes expected to have?

   On May 7, 2010, NHTSA and EPA jointly adopted Corporate Average Fuel Economy (CAFE)
   and carbon dioxide (CO2) emission standards for cars and light trucks produced during model years 2012
   through 2016. In combination with NHTSA’s previous actions, this rule raised required fuel economy levels for
   cars from 27.5 miles per gallon (mpg) in model year 2010 to 37.8 mpg for model year 2016, and those for light
   trucks from 23.5 mpg in 2010 to 28.8 mpg for 2016. On August 28, 2012, the two agencies adopted new rules
   that further increased CAFE standards for model year 2021 to 46.1 to 46.8 mpg for automobiles and to 32.6 to
   33.3 mpg for light trucks; this most recent action also established tentative CAFE standards for model year 2025
   of 55.3 to 56.2 mpg for cars and 39.3 to 40.3 mpg for light trucks.
   The impacts of these standards on the fuel economy of the overall vehicle fleet will continue to grow for many
   years beyond 2025, as new vehicles meeting the higher fuel economy requirements gradually replace older, less-
   fuel-efficient vehicles. In announcing the most recent increases in CAFE standards, NHTSA estimated that the
   cumulative effects of its actions would be to save more than 500 billion gallons of fuel and reduce carbon dioxide
   emissions by 6 billion metric tons over the lifetimes of cars and light trucks produced in 2011 through 2025. The
   agency also estimated that its standards would save the Nation’s drivers more than $1.7 trillion in fuel costs over
   these vehicles’ lifetimes.
   In 2011, NHTSA and EPA also established new fuel efficiency and CO2 emission standards for medium- and
   heavy-duty trucks produced from 2014 through 2018. These standards are expected to reduce fuel consumption
   by an additional 22 billion gallons, while further reducing CO2 emissions by nearly 270 million metric tons.



             Impacts of NHS Investments Modeled by HERS
As described in Chapter 2, the NHS includes the Interstate System as well as other routes most critical to
national defense, mobility, and commerce. As noted earlier, the NHS analyses presented in this chapter are
based on an estimate of what the NHS will look like after it is expanded pursuant to MAP-21, rather than
the actual system as it existed in 2010.
This section examines the total spending modeled in HERS, identifying the portion of this investment that
is directed by the model to the NHS, and the impacts that such investment could have on future NHS
conditions and performance. For Federal-aid highways, the preceding analysis in this chapter examined
the effect on the HERS projections of replacing the HPMS traffic forecasts with trend traffic growth. In
analyzing investments in the NHS portion of Federal-aid highways, this section assumes traffic growth as
forecast in the HPMS.

7-22 Investment/Performance Analysis                                                                      FHWA002365
Case 5:23-cv-00304-H           Document 15-18            Filed 01/31/24         Page 83 of 534          PageID 2643

   HERS allocates a portion of future investment in Federal-aid highways to the NHS based on the model’s
   engineering and economic criteria, which give funding priority to high-BCR projects. The levels of future
   investment in Federal-aid highways considered in this section’s analysis are either identical to or counterparts
   of levels considered in this chapter’s preceding sections. Carried over from the preceding analysis are the
   investment levels tied to a specific minimum BCR among all improvements to the Federal-aid highways that
   HERS programs over the analysis period. Also included are levels of investment in Federal-aid highways tied
   to one of the goals considered in the preceding analysis, such as maintaining average pavement roughness
   at the base year level, except that the goals are now limited to the NHS. In the simulations with these
   investment levels, HERS allocates to the NHS the amount needed to achieve the goal for the NHS without
   regard to whether or not the same goal is met for other Federal-aid highways.

     How were the seven NHS investment levels presented in Exhibits 7-12 and 7-13 selected?

      As MAP-21 directs that the NHS be expanded, the 20-year NHS projections presented in this
      report were based on all sections coded in HPMS as being on the NHS, plus those other principal
      arterials that are not currently part of the NHS. While this will not exactly match the scope of the NHS in the
      future (some sections currently coded as principal arterials may not be ultimately be included in the NHS,
      and some additional connector mileage may be included), it represents a reasonably close approximation for
      purposes of the types of analyses presented.
      The investment levels associated with minimum BCR cutoffs of 1.00 and 1.50 were derived from the same
      HERS runs identified in Exhibit 7-3 as associated with these cutoffs assuming VMT growth consistent with the
      HPMS-derived forecast. The investment levels shown reflect the portion of spending in those runs that was
      directed to the NHS.
      The remaining five levels were selected using comparable criteria to those identified in Exhibit 7-3, but in terms
      of the NHS in particular, rather than Federal-aid highways in general. The 20-year investment level associated
      with a minimum BCR cutoff of 1.78 results in an average annual investment level of $40.6 billion, consistent
      with spending on the NHS in 2010 on types of capital improvements modeled in HERS.
      The investment level associated with a minimum BCR cutoff of 2.49 was selected to be included because
      it results in projected average speed in 2030 matching the base year level. Investing at the level associated
      with a minimum BCR cutoff of 2.19 is projected to result in average delay being maintained, while applying a
      minimum BCR cutoff of 2.88 would maintain average IRI. The minimum BCR cutoff of 2.74 was selected as it
      results in a level of NHS spending that equals the average of the levels associated with maintaining average
      delay and maintaining average IRI.


   Impact of Future Investment on NHS Pavement Ride Quality
   Exhibit 7-12 shows the portions of the levels of Federal-aid highway investment considered that HERS
   allocates to the NHS. To throw light on the projections for NHS pavement quality that are presented, the
   exhibit also shows the sub-portions of modeled NHS spending that HERS allocates to rehabilitation projects
   (which influence average pavement quality more than expansion projects). At the assumed level of Federal-
   aid investment that would cause HERS to allocate to the NHS an annual average of $40.6 billion, matching
   the level invested in 2010, the model projects average pavement roughness on the NHS will be 23.7 percent
   lower in 2030 than in 2010. For HERS to project average pavement roughness to remain unchanged
   between these years would require assuming an annual average NHS spending level of $22.5 billion, an
   amount that could be achieved if NHS spending declined by 6.01 percent per year beginning in 2010.
   At the other end of the investment spectrum in Exhibit 7-12, implementing all cost-beneficial improvements
   would require annual average spending on the NHS estimated at $58.1 billion, which is projected to reduce
   the average IRI over the analysis period by 35.3 percent. At this level of investment in the system, the model
   also projects that pavements with an IRI below 95, which was the criterion in Chapter 3 for rating ride
   quality as “good”, will carry 89.6 percent of the VMT on the NHS, up from the 54.7 percent estimated for
   2010. Based on these modeling results, additional investment to bring this percentage closer to 100 percent
   would be economically inefficient, as the costs would exceed the benefits.

                                                                                                       FHWA002366
                                                                                  Potential Capital Investment Impacts     7-23
   Case 5:23-cv-00304-H                                             Document 15-18              Filed 01/31/24            Page 84 of 534          PageID 2644


  Exhibit 7-12 Projected 2030 Pavement Ride Quality Indicators on the NHS Compared with 2010,
  for Different Possible Funding Levels
                                         10%
    Percent Change in Average Pavement
         Roughness from Base Year




                                          0%

                                         -10%

                                         -20%

                                         -30%

                                         -40%
                                             $20.0      $25.0        $30.0        $35.0         $40.0         $45.0        $50.0         $55.0      $60.0

                                                                Average Annual NHS Investment Modeled in HERS (Billions of Dollars)

                                                                HERS-Modeled                      Projected Impact of HERS-Modeled Capital
                                                                                   12
                                                           NHS Capital Investment                          Investment on the NHS 1
                                                    Computed       Average Annual Spending Percent of 2030 VMT on             Average IRI
         Minimum                                 Average Annual     (Billions of 2010 Dollars)      Roads With...5       Projected   Change
           BCR                                   Percent Change                     System                                 2030     Relative to
          Cutoff                                  in Spending 3       Total     Rehabilitation 4 IRI<95       IRI<170      Level    Base Year
           1.00                                        3.30%          $58.1           $24.0      89.6%         96.7%       69.0      -35.3%
           1.50                                        1.17%          $45.9           $20.0      83.5%         94.9%       77.1      -27.7%
           1.78                                        0.00%          $40.6           $18.2      80.2%         93.9%       81.3      -23.7%
           2.19                                       -1.54%          $34.6           $16.0      75.6%         92.6%        87.2     -18.2%
           2.49                                       -2.51%          $31.4           $14.7      72.2%         91.7%        91.7     -14.0%
           2.73                                       -3.73%          $27.9           $13.2      67.7%         90.5%        97.6      -8.4%
           2.88                                       -6.01%          $22.5           $11.2      61.6%         88.8%       106.6       0.0%
                                                                             Base Year Values:          54.7%         88.8%           106.6
   1
    The NHS statistics presented in this chapter are intended to approximate the NHS as it will exist after its expansion directed by
   MAP-21, not the NHS as it existed in 2010.
   2
     The seven NHS capital investment levels identified were derived from systemwide HERS runs with the minimum BCR cutoff
   identified in the first column, based on the portion of these runs directed to the NHS. While the systemwide capital investment for
   these runs grew at a constant annual rate, this was not the case for the subset of the total spending that was directed to the NHS.
   3
     The amounts shown represent the average annual growth rate in NHS spending that would generate a cumulative 20-year
   spending level consistent with the average annual HERS-modeled NHS investment levels identified in the third column. The HERS
   runs were not actually developed using these growth rates.
   4
    The portion of HERS-modeled spending directed toward system rehabilitation varies by funding level and is not directly linked to
   actual spending for this purpose in the baseline year.
   5
     As discussed in Chapter 3, IRI values of 95 and 170 inches per mile, respectively, are the thresholds associated with "good" and
   "acceptable" pavement ride quality on the NHS. The base year values shown are 2010 values reported in Chapter 3, rather than
   those reflected in the 2008 HPMS sample data set.

   Source: Highway Economic Requirements System.



Impact of Future Investment on NHS Travel Times and User Costs
Exhibit 7-13 presents the projections of NHS averages for time-related indicators of performance, along with
the amount that HERS programs for NHS expansion projects (which more than preservation projects affect
these indicators). For HERS to project average speed on the NHS to be the unchanged from 2010 to 2030,
an annual average of $31.4 billion of NHS spending would be required, a level that could be achieved if
annual NHS spending declines by 2.51 percent per year. In contrast, when average annual investment on the



7-24 Investment/Performance Analysis                                                                                                             FHWA002367
Case 5:23-cv-00304-H                                Document 15-18              Filed 01/31/24            Page 85 of 534         PageID 2645

   NHS is what would be needed to implement all cost-beneficial improvements, an estimated $58.1 billion,
   HERS projects average NHS speed to be 4.4 percent higher in 2030 than in 2010 (50.8 mph versus
   48.7 mph). At this investment level, HERS also projects for the NHS that average delay will decline by
   18.4 percent, and average user cost by 2.4 percent, over the analysis period. For the case where investment in
   the NHS would remain at the 2010 level, average delay decreases by 5.9 percent, while average user costs are
   projected to decrease by 0.6 percent.

      Exhibit 7-13 Projected Changes in 2030 Delay, Speed, and Highway User Costs on the NHS
      Compared with 2030 for Different Possible Funding Levels
                                        20.0%
      Percent Change in Average Delay




                                        15.0%
                                        10.0%
               from Base Year




                                        5.0%
                                        0.0%
                                        -5.0%
                                    -10.0%
                                    -15.0%
                                    -20.0%
                                          $20.0   $25.0         $30.0        $35.0         $40.0         $45.0        $50.0      $55.0        $60.0

                                                          Average Annual NHS Investment Modeled in HERS (Billions of Dollars)


                              HERS-Modeled                                                      Projected Impact of HERS-Modeled Capital
                          NHS Capital Investment 1                                                       Investment on the NHS 1
                   Computed      Average Annual Spending                                    Percent Change Relative        Average Speed
        Minimum Average Annual    (Billions of 2010 Dollars)                                  to Baseline per VMT      Projected    Change
          BCR   Percent Change                     System                                    Average       Average        2030     Relative to
         Cutoff   in Spending        Total       Expansion2                                 User Costs       Delay    Level (mph) Base Year
          1.00       3.30%          $58.1           $34.1                                      -2.4%        -18.3%        50.8       4.4%
          1.50       1.17%          $45.9           $25.9                                      -1.2%        -10.2%        50.0       2.7%
          1.78        0.00%         $40.6           $22.4                                      -0.6%         -5.9%        49.6       1.9%
          2.19       -1.54%         $34.6           $18.6                                      0.2%           0.0%        49.0       0.6%
          2.49       -2.51%         $31.4           $16.7                                      0.7%           2.8%        48.7        0.0%
          2.73       -3.73%         $27.9           $14.6                                      1.5%           6.7%        48.3       -0.9%
          2.88       -6.01%         $22.5           $11.4                                      2.7%          13.8%        47.5       -2.5%
                                                                                                   Base Year Value:       48.7
      1 The NHS statistics presented in this chapter are intended to approximate the NHS as it will exist after its expansion directed by

      MAP-21, not the NHS as it existed in 2010.
      2The portion of HERS-modeled spending directed toward system expansion varies by funding level and is not directly linked to

      actual spending for this purpose in the baseline year. System expansion expenditures have a more direct impact on delay and
      speed, while both system expansion and system rehabilitation expenditures impact highway user costs.
      Source: Highway Economic Requirements System.




                                                                                                                                 FHWA002368
                                                                                                            Potential Capital Investment Impacts   7-25
   Case 5:23-cv-00304-H             Document 15-18            Filed 01/31/24          Page 86 of 534          PageID 2646

 Impacts of Interstate System Investments Modeled by HERS
The Interstate System, unlike the broader NHS of which it is a part, has standard design and signing
requirements, which makes it the most recognizable subset of the highway network. This section examines
the amount of investment that HERS directs to the Interstate System, and the potential impacts of this
investment on future Interstate System conditions and performance. For this analysis, the funding levels
presented were selected in the same way as those for the preceding section’s analysis of investment in the
NHS.


   How were the seven Interstate System investment levels presented in Exhibits 7-14
   and 7-15 selected?

   The investment levels associated with minimum benefit-cost ratio cutoffs of 1.00 and 1.50 were
   derived from the same HERS runs identified in Exhibit 7-3 as associated with these cutoffs assuming VMT
   growth consistent with the HPMS-derived forecast. The investment levels shown reflect the portion of spending
   in those runs that was directed to the Interstate System.
   The remaining five levels were selected using comparable criteria to those identified in Exhibit 7-3, but in terms
   of the Interstate System in particular, rather than Federal-aid highways in general. The 20-year investment
   level associated with a minimum benefit-cost ratio cutoff of 2.72 results in an average annual investment level
   of $14.7 billion, consistent with spending on the Interstate System in 2010 on types of capital improvements
   modeled in HERS.
   The investment level associated with a minimum benefit-cost ratio cutoff of 2.66 was selected to be included
   because it results in projected average speed in 2030 matching the base year level. Investing at the level
   associated with a minimum benefit-cost ratio cutoff of 2.70 is projected to result in average delay being
   maintained, while applying a minimum benefit-cost ratio cutoff of 2.97 would maintain average IRI. The
   minimum benefit-cost ratio cutoff of 2.84 was selected as it results in a level of Interstate System spending that
   equals the average of the levels associated with maintaining average delay and maintaining average IRI.


Impact of Future Investment on Interstate Pavement Ride Quality
Exhibit 7-14 shows the levels of Federal-aid highway investment that HERS allocates to the Interstate
System. To throw light on the projections for Interstate System pavement, the exhibit also shows the portion
of modeled Interstate System spending that HERS allocates to system rehabilitation projects. At the assumed
level of Federal-aid investment that would cause HERS to allocate to the Interstate System an annual average
of $14.7 billion, matching the level invested in 2010, the model projects average pavement roughness on the
Interstate System to be 12.7 lower in 2030 than in 2010. For HERS to project average pavement roughness
to remain unchanged between these years would require assuming a level of Federal-aid highway investment
out of which the model would allocate to the Interstate System an annual average of $11.1 billion, which
could be achieved with an average annual reduction in spending of 2.71 percent per year starting in 2010.
At the other end of the investment spectrum in Exhibit 7-14, implementing all cost-beneficial improvements
would require annual average spending on the Interstate System estimated at $26.2 billion; this level
of investment is projected to reduce the average IRI over the analysis period by 32.9 percent. At this
economically efficient level of investment in the Interstate System, the model also projects that pavements
with an IRI below 95, which was the criterion in Chapter 3 for rating ride quality as “good”, will carry
94.2 percent of the VMT on the Interstate System, up from the 69.5 percent estimated for 2010.




7-26 Investment/Performance Analysis                                                                        FHWA002369
Case 5:23-cv-00304-H                                   Document 15-18              Filed 01/31/24            Page 87 of 534             PageID 2647


      Exhibit 7-14 Projected 2030 Pavement Ride Quality Indicators on the Interstate System Compared
      with 2010, for Different Funding Levels

      Pavement Roughness from Base   10%
        Percent Change in Average


                                      0%

                                     -10%

                                     -20%

                                     -30%

                                     -40%
                                         $10.0     $12.0       $14.0       $16.0       $18.0        $20.0        $22.0        $24.0      $26.0    $28.0
                                                           Average Annual Interstate Investment Modeled in HERS (Billions of Dollars)


                                                             HERS-Modeled                         Projected Impact of HERS-Modeled Capital
                                                     Interstate Capital Investment 1                 Investment on the Interstate System
                                               Computed          Average Annual Spending        Percent of 2030 VMT          Average IRI
           Minimum                          Average Annual        (Billions of 2010 Dollars)     on Roads With...4     Projected     Change
             BCR                            Percent Change                        System                                 2030       Relative to
            Cutoff                           in Spending 2          Total      Rehabilitation 3  IRI<95      IRI<170     Level      Base Year
             1.00                                5.22%              $26.2           $8.5         94.2%        99.6%       62.3        -32.9%
             1.50                                3.77%              $22.2           $7.7         90.8%        98.9%       66.6        -28.2%
             2.66                                0.35%              $15.2           $5.9         81.6%        96.5%       79.3        -14.5%
             2.70                                0.17%              $15.0           $5.9         81.0%        96.3%       79.9        -13.9%
             2.72                                 0.00%             $14.7           $5.8         80.3%        96.2%       81.0        -12.7%
             2.84                                -1.28%             $12.9           $5.3         76.8%        95.4%       86.8         -6.5%
             2.97                                -2.71%             $11.1           $4.6         72.1%        94.4%       92.8          0.0%
                                                                          Base Year Values:      69.5%        90.3%       92.8
      1 The seven Interstate System capital investment levels identified were derived from systemwide HERS runs with the minimum BCR

      cutoff identified in the first column, based on the portion of these runs directed to the Interstate System. While the systemwide capital
      investment for these runs grew at a constant annual rate, this was not the case for the subset of the total spending that was directed
      to the Interstate System.
       2 The amounts shown represent the average annual growth rate in Interstate System spending that would generate a cumulative

      20-year spending level consistent with the average annual HERS-modeled Interstate System investment levels identified in the third
      column. The HERS runs were not actually developed using these growth rates.
      3 The portion of HERS-modeled spending directed toward system rehabilitation varies by funding level and is not directly linked to

      actual spending for this purpose in the baseline year.
      4 As discussed in Chapter 3, IRI values of 95 and 170 inches per mile, respectively, are the thresholds associated with "good" and

      "acceptable" pavement ride quality on the NHS. The base year values shown are based on 2010 values reported in Chapter 3,
      rather than those reflected in the 2008 HPMS sample data set.
      Source: Highway Economic Requirements System.



   Impact of Future Investment on Interstate System Travel Times and User Costs
   Exhibit 7-15 presents the projections of Interstate System averages for time-related indicators of
   performance, along with the amount that HERS programs for Interstate System expansion projects. For
   HERS to project average speed on the Interstate System to be unchanged from 2010 to 2030, an annual
   average of $15.2 billion of Interstate System spending would be required, which could be achieved if
   spending increases by 0.35 percent per year beginning in 2010. In contrast, when average annual investment
   in the Interstate System is what would be needed to implement all cost-beneficial improvements, an




                                                                                                                                    FHWA002370
                                                                                                               Potential Capital Investment Impacts   7-27
    Case 5:23-cv-00304-H                                     Document 15-18                 Filed 01/31/24            Page 88 of 534           PageID 2648

estimated $26.2 billion, HERS projects average Interstate System speed to be 7.5 percent higher in 2030
than in 2010 (64.6 mph versus 60.1 mph). At this investment level, HERS also projects for the Interstate
System that average congestion delay will decline by 39.5 percent, and average user cost by 2.9 percent, over
the analysis period. For the case where investment in the Interstate System would remain at the 2010 level,
average congestion delay and average user cost are each projected to decrease by about one percent.

        Exhibit 7-15 Projected Changes in 2030 Speed, Delay, and Highway User Costs on the Interstate
        System Compared with 2010, for Different Possible Funding Levels
                                     30%
   Percent Change in Average Delay




                                     20%
                                     10%
            from Base Year




                                      0%
                                     -10%
                                     -20%
                                     -30%
                                     -40%
                                     -50%
                                         $10.0   $12.0     $14.0        $16.0       $18.0        $20.0        $22.0       $24.0       $26.0      $28.0

                                                         Average Annual Interstate Investment Modeled in HERS (Billions of Dollars)


                                         HERS-Modeled                     Projected Impact of HERS-Modeled Capital
                                  Interstate Capital Investment              Investment on the Interstate System
                             Computed       Average Annual Spending Percent Change Relative          Average Speed
                  Minimum Average Annual (Billions of 2008 Dollars)    to Baseline per VMT       Projected     Change
                    BCR   Percent Change                    System     Average       Average       2030        Relative
                   Cutoff   in Spending        Total      Expansion 1 User Costs       Delay   Level (mph) to Baseline
                    1.00        5.22%          $26.2         $17.6      -2.9%         -39.5%       64.6          7.5%
                    1.50        3.77%          $22.2         $14.5      -1.9%         -27.3%       63.1          5.0%
                    2.66        0.35%          $15.2          $9.3      0.6%           -1.7%       60.1          0.0%
                    2.70        0.17%          $15.0          $9.1      0.8%            0.0%       60.0         -0.3%
                    2.72        0.00%          $14.7          $8.9      0.9%            1.0%       59.8         -0.5%
                    2.84       -1.28%          $12.9          $7.6      2.0%           10.1%       58.6         -2.5%
                    2.97       -2.71%          $11.1          $6.5      3.1%           19.8%       57.6         -4.2%
                                                                           Base Year Values:       60.1
        1 The portion of HERS-modeled spending directed toward system expansion varies by funding level and is not directly linked to

        actual spending for this purpose in the baseline year. System expansion expenditures have a more direct impact on delay and
        speed, while both system expansion and system rehabilitation expenditures impact highway user costs.
        Source: Highway Economic Requirements System.




                                            National Bridge Investment Analysis System
The scenario estimates relating to bridge repair and replacement shown in this report are derived primarily
from NBIAS, which accepts detailed structural data on individual bridge elements. Because such detailed
information is not currently available at the national level, NBIAS also has the capability to synthesize
element level data from the general condition ratings reported for individual bridges in the National Bridge
Inventory (NBI). The analyses presented in this report are based on synthesized element level data. Examples
of bridge elements include the bridge deck, a steel girder used for supporting the deck, a concrete pier cap on
which girders are placed, a concrete column used for supporting the pier cap, or a bridge railing.


7-28 Investment/Performance Analysis                                                                                                          FHWA002371
Case 5:23-cv-00304-H          Document 15-18            Filed 01/31/24          Page 89 of 534          PageID 2649

   The NBIAS model uses a probabilistic approach to model bridge deterioration for each synthesized bridge
   element. It relies on a set of transition probabilities to project the likelihood that an element will deteriorate
   from one condition state to another over a given period of time. Another key input to the model is the
   overall objective assumed for maintenance, repair, and rehabilitation (MR&R) policies. Previous C&P
   reports assumed that the bridge owners would follow MR&R policies aimed at minimizing costs, but
   NBIAS has recently been enhanced to allow alternative assumptions. In this report, the standard assumption
   is that bridge owners will pursue MR&R policies aimed at achieving a steady state of bridge performance;
   other assumptions are considered for sensitivity analysis in Chapter 10. Given the assumed policy objective,
   NBIAS determines an optimal set of MR&R actions to take for each bridge element based on the condition
   of the element.
   To estimate functional improvement needs, NBIAS applies a set of improvement standards and costs to each
   bridge in the NBI. The model then identifies potential improvements—such as widening existing bridge
   lanes, raising bridges to increase vertical clearances, and strengthening bridges to increase load-carrying
   capacity—and evaluates their potential benefits and costs. NBIAS evaluates potential bridge replacements by
   comparing their benefits and costs with what could be achieved through MR&R work alone. Appendix B
   discusses the NBIAS model in more detail.
   In using the NBIAS model to project conditions and performance of the Nation’s bridges over 20 years, this
   section considers the alternatives of continuing to invest in bridge rehabilitation at the 2010 level
   (in constant dollars) and at higher or lower levels. The expenditures modeled pertain only to bridge system
   rehabilitation; expenditures associated with bridge system expansion are modeled separately as part of the
   capacity expansion analysis in the HERS model. (The NBIAS-modeled investments presented here should
   be considered as additive to the HERS-modeled investments presented above; each of the capital investment
   scenarios presented in Chapter 8 combines one of the HERS analyses with one of the NBIAS analyses, and
   makes adjustments to account for non-modeled spending.)

   Performance Measures
   The NBIAS model considers bridge deficiencies at the level of individual bridge elements based on
   engineering criteria and computes an initial value for the cost of a set of corrective actions that would
   address all such deficiencies. The economic bridge investment backlog represents the combined cost of these
   corrective actions in those cases where NBIAS estimates it would be cost-beneficial to implement them.
   Changes in this economic bridge investment backlog over time can be viewed as a proxy for changes in
   overall bridge conditions.
   Previous editions of the C&P report used the economic bridge investment backlog as the sole indicator of
   bridge system performance. For a more comprehensive view of the impacts of various levels of investment,
   two new additional metrics have been added for this edition, the average Sufficiency Rating and the average
   Health Index.

      How does the NBIAS definition of bridge deficiencies compare with the information on
      structurally deficient bridges reported in Chapter 3?

     NBIAS considers bridge deficiencies and corrective improvements at the level of individual
     bridge elements. The economic backlog of bridge deficiencies estimated by NBIAS thus consists of the cost
     of all improvements to bridge elements that would be justified on both engineering and economic grounds.
     It includes many improvements on bridges with certain components that may warrant repair, rehabilitation, or
     replacement, but whose overall condition is not sufficiently deteriorated for them to be classified as structurally
     deficient.
     The corrective actions recommended by NBIAS would include those aimed at addressing structural
     deficiencies, as well as some functional deficiencies. System expansion needs for both highways and bridges
     are addressed separately as part of the HERS model analysis.

                                                                                                       FHWA002372
                                                                                  Potential Capital Investment Impacts     7-29
   Case 5:23-cv-00304-H            Document 15-18          Filed 01/31/24        Page 90 of 534        PageID 2650

Prior to MAP-21, under the Highway Bridge Program (HBP), the Sufficiency Rating of a bridge served as a
factor for determining funding eligibility and as an initial prioritization. This initial prioritization, which was
provided annually to the States and known as the “Selection List,” was a listing of bridges that were eligible
for programming for replacement and rehabilitation (other activities under the HBP with separate and
different eligibility criteria such as systematic preventive maintenance were also eligible for programming).
The Sufficiency Rating is a numeric value that ranges from 100 to 0, in which 100 represents an entirely
sufficient bridge and 0 represents an entirely insufficient or deficient bridge. Its calculation is based on a
complex formula involving a number of NBI data fields relating to: structural adequacy and safety (in terms
of bridge component condition ratings and a load capacity rating), serviceability and functional obsolescence
(in terms of bridge geometric features and appraisal ratings, volume of traffic carried, approach roadway
features, deck condition rating, structural evaluation, and whether the bridge is on the Strategic Highway
Network [STRAHNET]), and essentiality for public use (in terms of volume of traffic carried, detour length,
and whether the bridge is on the STRAHNET). For this report, the investment scenarios presented in
Chapter 8 focus on the Sufficiency Rating rather than the economic bridge investment backlog.
The Bridge Health Index is a 0-100 ranking system typically used in the context of decision making for
bridge preventative maintenance. Although element condition states are categorical; it is useful to think of
the condition of an element at a given time as a point along a continuous timeline from 100 percent in the
best state to 100 percent in the worst state. The Health Index merely indicates where the element is along
this continuum. To aggregate the element-level result to the bridge level, weights are assigned to the elements
according to the economic consequences of element failure. Thus, elements whose failure has relatively little
economic effect, such as railings, receive less weight than elements whose failure could close the bridge,
such as girders. In general, the lower the Health Index number, the higher the priority for rehabilitation or
maintenance of the structure, though other factors also come into play when determining priority of work
on bridges.


     Impacts of Systemwide Investments Modeled by NBIAS
As referenced in Chapter 6, of the $100.2 billion invested in highways in 2010, $17.1 billion was used for
bridge system rehabilitation, an increase of more than one-third compared to 2008. This sharp increase is
attributable in part to the use of Recovery Act funds to repair and replace bridges.
For investments of the types modeled by NBIAS, Exhibit 7-16 shows how the total amount invested over
the 20-year analysis period influences the bridge performance levels projected for the final year, 2030. If
spending were sustained at its 2010 level in constant dollar terms, projected performance for 2030 would
improve relative to 2010 for each of the three measures considered. The average Sufficiency Rating would
increase from 81.7 in 2010 to 84.1 in 2030, the average Health Index would rise from 92.1 to 92.7; and the
economic investment backlog would decrease by 92.6 percent relative to its 2010 level of $106.4 billion. The
highest level of spending shown in Exhibit 7-16 averages $20.2 billion per year, which is the estimate of what
would be needed to eliminate the economic backlog by 2030.
Exhibit 7-16 also indicates that bridge investment spending could be reduced from the 2010 level while
maintaining bridge performance. If average annual spending declined by 2.30 percent to an average annual
investment level of $13.5 billion, this would still be sufficient to maintain the average Health Index at its
2010 level through 2030. An annual decrease in investment of 3.33 percent to an average investment level of
$12.2 billion would be adequate to maintain the average Sufficiency Rating at its 2010 level. The economic
bridge investment backlog could be maintained at its 2010 level even if annual bridge investment declined
by 6.72 percent per year to an average annual level of $8.9 billion.




7-30 Investment/Performance Analysis                                                                 FHWA002373
Case 5:23-cv-00304-H                                 Document 15-18              Filed 01/31/24            Page 91 of 534            PageID 2651

      Exhibit 7-16 Projected 2030 Bridge Condition Indicators for All Bridges, for Different Funding
      Scenarios
                                 100
      Rating and Health Index Rating                                             Average Health Index Rating           Average Sufficiency Rating
      Projected Average Sufficiency

                                       95


                                       90


                                       85


                                       80


                                       75
                                         $8.5        $10.5            $12.5             $14.5               $16.5               $18.5               $20.5
                                                             Average Annual Investment Modeled in NBIAS (Billions of Dollars)


                                      NBIAS-Modeled
                                     Capital Investment                     Projected Impact of NBIAS-Modeled Capital Investment
                                 Annual         Average Annual            2030              2030        Economic Investment Backlog 2
                                 Percent          Spending1             Average           Average            2030            Change
                                Change in         (Billions of         Sufficiency         Health        (Billions of       Relative to
                                Spending         2010 Dollars)           Rating            Index        2010 Dollars)        Baseline
                                  1.57%              $20.2                84.6              92.8              $0.0           -100.0%
                                  0.00%              $17.1                84.1              92.7              $7.9            -92.6%
                                 -1.70%              $14.3                83.2              92.3             $20.6            -80.6%
                                 -2.30%              $13.5                82.7              92.1             $26.4            -75.2%
                                 -3.33%              $12.2                81.7              91.3             $39.5            -62.9%
                                 -6.72%               $8.9                75.6              87.1            $106.4             0.0%
                                         2010 Baseline Values:            81.7              92.1            $106.4
      1 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would

      occur if annual investment grows in constant dollar terms by the percentage shown in each row of the first column.
      2 The amounts shown do not reflect system expansion needs; the bridge components of such needs are addressed as part of the

      HERS model analysis.
      Source: National Bridge Investment Analysis System.


     Why does the economic backlog estimated by NBIAS differ from bridge backlog
     figures estimated by some other organizations?

     One major reason for such differences is that the backlog estimated by NBIAS is not intended
     to constitute a complete bridge investment estimate backlog. The NBIAS figures relate only to
     investment needs associated with the condition of existing structures, and not capacity expansion needs. The
     backlog estimated by HERS includes estimates of capacity-related needs for highways and bridges combined.
     Some estimates of bridge backlog produced by other organizations do attempt to combine estimates of needs
     relating to bridge capacity with those relating to existing structures.



                                                Impacts of Federal-Aid Highway Investments
                                                            Modeled by NBIAS
   For bridges on Federal-aid highways, Exhibit 7-17 compares performance projections for 2030 at various
   levels of investment with measured performance in 2010. If spending on types of improvements modeled
   in NBIAS were sustained at the 2010 level of $12.5 billion (in constant dollars), the projections show
   performance improving. The average Sufficiency Rating would increase from 82.0 in 2010 to 83.6 in
   2030 and the average Health Index would rise from 92.0 to 92.5; the economic investment backlog would

                                                                                                                                    FHWA002374
                                                                                                               Potential Capital Investment Impacts     7-31
   Case 5:23-cv-00304-H                                     Document 15-18              Filed 01/31/24            Page 92 of 534             PageID 2652


   Exhibit 7-17 Projected 2030 Bridge Condition Indicators for Bridges on Federal-Aid Highways, for
   Different Possible Funding Levels
                               100
   Rating and Health Index Rating
   Projected Average Sufficiency




                                                                                  Average Health Index Rating        Average Sufficiency Rating
                                    95


                                    90


                                    85


                                    80


                                    75
                                      $7.0   $8.0   $9.0        $10.0      $11.0      $12.0      $13.0       $14.0        $15.0     $16.0         $17.0
                                                           Average Annual Investment Modeled in NBIAS (Billions of Dollars)

            NBIAS-Modeled Capital Investment Projected Impact of NBIAS-Modeled Capital Investment on Federal-Aid
             on Federal-Aid Highway Bridges                            Highway Bridges
                Annual       Average Annual        2030              2030        Economic Investment Backlog 2
                                           1
                Percent         Spending         Average           Average            2030           Change
              Change in         (Billions of   Sufficiency          Health         (Billions of    Relative to
               Spending        2010 Dollars)      Rating            Index        2010 Dollars)      Baseline
                 2.61%             $16.6           84.7              92.9              $0.0          -100.0%
                 0.00%             $12.5           83.6              92.5             $13.2           -84.8%
                -0.44%             $12.0           83.3              92.4             $16.2           -81.3%
                -1.31%             $10.9           82.7              92.0             $22.8           -73.7%
                -2.09%             $10.1           82.0              91.6             $30.8           -64.5%
                -5.67%              $7.2           75.7              87.3             $86.8            0.0%
                        2010 Baseline Values:      82.0              92.0             $86.8
          1 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would

          occur if annual investment grows in constant dollar terms by the percentage shown in each row of the first column. Bridges on
          roadways functionally classified as rural minor collector, rural local, and urban local are not included in these figures.
          2 The amounts shown do not reflect system expansion needs; the bridge components of such needs are addressed as part of

          the HERS model analysis.
          Source: National Bridge Investment Analysis System.


decrease by 84.8 percent from its 2010 level of $86.8 billion. If spending increases by 2.61 percent per year
to an average annual level of $16.6 billion, the economic investment backlog would fall to zero by 2030,
while the average Sufficiency Rating would increase to 84.7 and the average Health Index would increase to
92.9.
If spending declined by 1.31 percent per year to an average annual investment level of $10.9 billion, this
would still be sufficient to maintain the average Health Index at its 2010 level through 2030. An annual
decrease in investment of 2.09 percent to an average investment level of $10.1 billion would be adequate to
maintain the average Sufficiency Rating at its 2010 level. The economic bridge investment backlog could be
maintained at its 2010 level even if annual bridge investment declined by 5.67 percent per year to an average
annual level of $7.2 billion.


                                         Impacts of NHS Investments Modeled by NBIAS
Exhibit 7-18 shows the impact of varying funding levels on the performance of bridges on the NHS. As
noted earlier, the NHS analyses presented in this chapter are based on an estimate of what the NHS will
look like after it is expanded pursuant to MAP-21, rather than the actual system as it existed in 2010.


7-32 Investment/Performance Analysis                                                                                                        FHWA002375
Case 5:23-cv-00304-H                               Document 15-18          Filed 01/31/24             Page 93 of 534            PageID 2653

   If spending on types of improvements modeled in NBIAS on NHS bridges were sustained at the 2010 level
   of $8.7 billion in constant dollar terms, projected performance for 2030 would improve relative to 2010.
   The average Sufficiency Rating would increase from 82.5 in 2010 to 84.1 in 2030, the average Health Index
   would rise from 92.0 to 92.9, and the economic investment backlog would decrease by 91.7 percent relative
   to its 2010 level of $59.2 billion. If spending were to increase by 1.72 percent per year to an average annual
   level of $10.5 billion, this is estimated to be sufficient to reduce the economic investment backlog to zero
   by 2030, while increasing the average Sufficiency Rating to 84.7 and increasing the average Health Index to
   93.0.
   If spending declined by 2.38 percent per year to an average annual investment level of $6.8 billion, this
   would still be sufficient to maintain the average Health Index at its 2010 level through 2030. An annual
   decrease in investment of 2.53 percent to an average investment level of $6.7 billion would be adequate to
   maintain the average Sufficiency Rating at its 2010 level. The economic bridge investment backlog could be
   maintained at its 2010 level even if annual bridge investment declined by 6.55 percent per year to an average
   annual level of $4.6 billion.

      Exhibit 7-18 Projected 2030 Bridge Condition Indicators for Bridges on the NHS, for Different
      Possible Funding Levels
                                       100
      Rating and Health Index Rating
      Projected Average Sufficiency




                                                                             Average Health Index             Average Sufficiency Rating
                                       95


                                       90


                                       85


                                       80


                                       75
                                         $4.0   $5.0        $6.0            $7.0            $8.0             $9.0           $10.0          $11.0
                                                       Average Annual Investment Modeled in NBIAS (Billions of Dollars)

             NBIAS-Modeled Capital Investment                       Projected Impact of NBIAS-Modeled Capital Investment on NHS
                      on NHS Bridges1                                                         Bridges1
                 Annual        Average Annual                         2030               2030       Economic Investment Backlog 3
                 Percent         Spending2                          Average           Average           2030            Change
               Change in         (Billions of                      Sufficiency         Health        (Billions of     Relative to
                Spending        2010 Dollars)                        Rating             Index       2010 Dollars)      Baseline
                  1.72%             $10.5                             84.7               93.0            $0.0           -100.0%
                  0.00%              $8.7                             84.1               92.9            $4.9            -91.7%
                 -0.97%              $7.9                             83.6               92.6           $10.3            -82.6%
                 -2.38%              $6.8                             82.6               92.0           $18.9            -68.2%
                 -2.53%              $6.7                             82.5               91.9           $19.9            -66.4%
                 -6.55%              $4.6                             76.3               87.3           $59.2             0.0%
                          2010 Baseline Values:                       82.5               92.0           $59.2
       1 The NHS statistics presented in this chapter are intended to approximate the NHS as it will exist after its expansion directed by

       MAP-21, not the NHS as it existed in 2010.
       2 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would occur

       if annual investment grows in constant dollar terms by the percentage shown in each row of the first column. Bridges on roadways
       functionally classified as rural minor collector, rural local, and urban local are not included in these figures.
       3 The amounts shown do not reflect system expansion needs; the bridge components of such needs are addressed as part of the

       HERS model analysis.
       Source: National Bridge Investment Analysis System.




                                                                                                                             FHWA002376
                                                                                                        Potential Capital Investment Impacts       7-33
     Case 5:23-cv-00304-H                            Document 15-18              Filed 01/31/24             Page 94 of 534           PageID 2654

                                    Impacts of Interstate Investments Modeled by NBIAS
Exhibit 7-19 shows the impact of varying funding levels on the performance of those bridges on the
Interstate System. If spending on types of improvements modeled in NBIAS on Interstate bridges were
sustained at the 2010 level of $4.1 billion in constant dollar terms, projected performance for 2030 would
improve relative to 2010. The average Sufficiency Rating would increase from 82.3 in 2010 to 84.0 in
2030, the average Health Index would rise from 91.7 to 92.9, and the economic investment backlog
would decrease by 91.4 percent relative to its 2010 level of $30.4 billion. If spending were to increase by
1.23 percent per year to an average annual level of $4.7 billion, this is estimated to be sufficient to reduce the
economic investment backlog to zero by 2030, while increasing the average Sufficiency Rating to 84.5 and
increasing the average Health Index to 93.1.
If annual spending declined by 2.20 percent per year to an average annual investment level of $3.3 billion,
this would still be adequate to maintain the average Sufficiency Rating at its 2010 level through 2030.
An annual decrease in investment of 2.60 percent to an average investment level of $3.2 billion would be
sufficient to maintain the average Health Index at its 2010 level. The economic bridge investment backlog
could be maintained at its 2010 level even if annual bridge investment declined by 5.94 percent per year to
an average annual level of $2.3 billion.

   Exhibit 7-19 Projected 2030 Bridge Condition Indicators for Bridges on the Interstate System, for
   Different Funding Levels
                                    100
   Rating and Health Index Rating
   Projected Average Sufficiency




                                                                           Average Health Index             Average Sufficiency Rating
                                    95


                                    90


                                    85


                                    80


                                    75
                                      $2.0   $2.5             $3.0               $3.5                $4.0              $4.5              $5.0

                                                    Average Annual Investment Modeled in NBIAS (Billions of Dollars)

        NBIAS-Modeled Capital Investment                    Projected Impact of NBIAS-Modeled Capital Investment on Interstate
               on Interstate Bridges                                                    Bridges
            Annual         Average Annual                       2030              2030        Economic Investment Backlog 2
            Percent           Spending1                       Average           Average             2030           Change
          Change in           (Billions of                   Sufficiency         Health         (Billions of      Relative to
           Spending          2010 Dollars)                     Rating            Index        2010 Dollars)        Baseline
             1.23%                $4.7                          84.5              93.1              $0.0           -100.0%
             0.00%                $4.1                          84.0              92.9              $2.6            -91.4%
            -0.93%                $3.7                          83.4              92.6              $5.7            -81.1%
            -2.20%                $3.3                          82.3              91.9             $11.3            -62.7%
            -2.60%                $3.2                          82.0              91.7             $12.8            -57.7%
            -5.94%                $2.3                          76.8              87.7             $30.4             0.0%
                     2010 Baseline Values:                      82.3              91.7             $30.4
     1 The amounts shown represent the average annual investment over 20 years by all levels of government combined that would occur if

     annual investment grows in constant dollar terms by the percentage shown in each row of the first column. Bridges on roadways
     functionally classified as rural minor collector, rural local, and urban local are not included in these figures.
     2 The amounts shown do not reflect system expansion needs; the bridge components of such needs are addressed as part of the HERS

     model analysis.
     Source: National Bridge Investment Analysis System.



7-34 Investment/Performance Analysis                                                                                               FHWA002377
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 95 of 534          PageID 2655



          Potential Transit Capital Investment Impacts

   This section examines how different types and levels of annual capital investments would likely affect transit
   system condition and performance by the year 2030. It begins with an overview of the types of capital
   spending projected by the Federal Transit Administration’s (FTA’s) Transit Economic Requirements Model
   (TERM), which is the primary analysis tool used to assess transit investment needs and impacts in Part II
   of this report. The section then examines how variations in the level of annual capital spending are likely
   to impact future transit conditions and performance—both at the national level and for urbanized areas
   (UZAs) with populations greater than 1 million.


                 Types of Capital Spending Projected by TERM
   TERM is an analysis tool that uses engineering and economic concepts to forecast total capital investment
   needs for the U.S. transit industry through a 20-year time horizon. Specifically, TERM is designed to
   forecast the following types of investment needs:
    Preservation: The level of investment in the rehabilitation and replacement of existing transit capital
       assets required to attain specific investment goals (e.g., to attain a state of good repair [SGR]) subject to
       potentially limited capital funding.
    Expansion: The level of investment in the expansion of transit fleets, facilities, and rail networks required
       to support projected growth in transit demand (i.e., maintain performance at current levels as demand
       for service increases).
   TERM includes a benefit-cost test that is applied to expansion scenarios to determine which investments are
   cost effective and which are not; TERM reports investment costs only for investments that pass the test. The
   SGR benchmark, described in Chapter 8, uses a zero-growth assumption and turns off the cost-benefit test.
   It estimates the cost of maintaining what is currently in service as an analytical exercise and is not considered
   to be a realistic scenario.
   The data used to support TERM’s needs estimates are derived from a variety of sources—including asset
   inventory data provided by local transit agencies (at FTA’s request), fleet investment and transit performance
   data obtained from the National Transit Database (NTD), and transit travel demand forecast data provided
   by metropolitan planning organizations (MPOs). Appendix C contains a detailed description of the analysis
   methodology used by TERM.

   Preservation Investments
   TERM estimates current and future preservation investment needs by first assessing the age and current
   condition of the Nation’s existing stock of transit assets (the results of this analysis were presented in
   Chapter 3 of this report). TERM then uses this information to assess both current reinvestment needs
   (i.e., the reinvestment backlog) as well as the expected level of ongoing investment required to meet the
   life-cycle needs of the Nation’s transit assets over the next 20 years, including all required rehabilitation and
   replacement activities.
   Condition-Based Reinvestment. Rather than relying on age alone in assessing the timing and cost of
   current and future reinvestment activities, TERM uses a set of empirical asset deterioration curves that
   estimate asset condition (both current and future) as a function of asset type, age, past rehabilitation
   activities, and possibly past maintenance and utilization levels (depending on asset type). The timing of
   specific rehabilitation and replacement activities is determined by an asset’s estimated condition at the start

                                                                                                   FHWA002378
                                                                              Potential Capital Investment Impacts   7-35
   Case 5:23-cv-00304-H            Document 15-18         Filed 01/31/24       Page 96 of 534        PageID 2656

of each year over the 20-year forecast horizon, with asset condition declining as the asset ages, triggering
reinvestment events at different levels of deterioration and leading ultimately to outright replacement.
Financial Constraints, the Investment Backlog, and Future Conditions. TERM is designed to estimate
investment needs with or without annual capital funding constraints. When run without funding
constraints, TERM estimates the total level of investment required to complete all of the rehabilitation and
replacement needs identified by the model at the time when those investment needs come due (hence, there
is no appreciable investment backlog with unconstrained analyses after any initial deferred investment is
addressed). In contrast, when TERM is run in a financially constrained mode, there may not be sufficient
funding to cover the reinvestment needs of all assets, in which case some reinvestment activities are deferred
until a future period when sufficient funds become available. The lack of sufficient funds to address all
reinvestment needs for some or all years of the 20-year model results in varying levels of investment backlog
during this time period. Most analyses presented in this chapter were completed using funding constraints.
Similarly, TERM’s ability to estimate asset conditions—both current and future—allows for assessment
of how future asset conditions are likely to improve or decline given varying levels of capital reinvestment.
Finally, note that TERM’s benefit-cost analysis is utilized to determine the order in which reinvestment
activities are completed when funding capacity is limited, with investments with the highest benefit-cost
ratios addressed first.

Expansion Investments
In addition to ongoing reinvestment in existing assets, most transit agencies also invest in the expansion of
their vehicle fleets, maintenance facilities, fixed guideway, and other assets. Investments in expansion assets
can be thought of as serving two distinct purposes. First, the demand for transit services typically increases
over time in line with population growth, employment, and other factors. To maintain current levels of
performance in the face of expanding demand, transit operators must similarly expand the capacity of their
services (e.g., by increasing the number of vehicles in their fleets). Failure to accommodate this demand
would result in increased vehicle crowding, increased dwell times at passenger stops, and decreased operating
speeds for existing services. Second, transit operators also invest in expansion projects with the aim of
improving current service performance. Such improvements include capital expansion projects (e.g., a new
light rail segment) to reduce vehicle crowding or increase average operating speeds. TERM is designed to
assess investment needs and impacts for both types of expansion investments.
Expansion Investments: Maintain Performance
To assess the level of investment required to maintain existing service quality, TERM estimates the rate of
growth in transit vehicle fleets required to maintain current vehicle occupancy levels given the projected
growth rate in transit passenger miles. In addition to assessing the level of investment in new fleet vehicles
required to support this growth, TERM also forecasts investments in the expansion of other assets needed
to support projected fleet growth, including bus maintenance facilities and, in the case of rail systems,
additional investment in guideway, track work, stations, maintenance facilities, train control, and traction
power systems. Asset expansion investment needs are assessed for all agencies reporting to the NTD on a
mode-by-mode basis. However, cost-benefit constraints prevent TERM from investing in asset expansion for
those agency-modes with low ridership (per vehicle) as compared with the national average.
Expansion Investments: Improve Performance
In prior editions of the C&P report, TERM was used to estimate the level of investment required to improve
current transit performance by (1) reducing crowding in higher-utilization transit systems and (2) expanding
existing investment in rail as a means of improving average operating speeds in urbanized areas with average
operating speeds (across all transit modes) well below the national average. For this edition, the impact of
increased investment on system performance is assessed by developing TERM scenarios where the rate of
investment in transit asset expansion exceeds the projected rate of growth in transit passenger miles. This
difference between the rate of asset expansion and actual growth in travel demand represents projected long-
term reductions in in-vehicle crowding and potential increases in average operating speed.
7-36 Investment/Performance Analysis                                                                FHWA002379
Case 5:23-cv-00304-H         Document 15-18         Filed 01/31/24                          Page 97 of 534           PageID 2657

   Recent Investment in Transit                                Exhibit 7-20 2010 Transit Capital Expenditures
   Preservation and Expansion                                  (Billions of Dollars)
   Exhibit 7-20 shows the broad composition of the                                    $12
                                                                                            Total: $10.3                    UZAs Under
   2010 spending by U.S. transit agencies on capital                                  $10
                                                                                                                            1 Million in
                                                                                                1.3                         Population
   projects that correspond to the investment types                                                                         UZAs Over 1




                                                                Billions of Dollars
   modeled in TERM. Of the total spending amounting                                    $8                                   Million in
                                                                                                           Total: $6.2      Population
   to $16.5 billion, $10.3 billion or 62.5 percent was                                 $6                      0.9
   devoted to preserving existing assets, and the rest was
                                                                                                9.0
   spent on expansion investments.                                                     $4
                                                                                                               5.4
   As expected, preservation and expansion spending                                    $2
   were concentrated in the large urban systems. In
                                                                                       $0
   combination, urbanized areas with populations greater                                    Preservation    Expansion
   than 1 million in 2010 accounted for 87.1 percent of                                     Investments    Investments

   preservation spending and 86.1 percent of expansion         Numbers may not total due to rounding.
   spending. Smaller urbanized areas and rural areas           Source: National Transit Database.
   accounted for the rest.


        Impacts of Systemwide Investments Modeled by TERM
   This section uses TERM analyses to assess how different levels of investment in the preservation and
   expansion of the Nation’s transit asset base can be expected to impact transit conditions and performance
   over the next 20 years. A key objective here is to place a broad range of potential future investment levels—
   and the consequences of those levels of investment—within the context of both the current expenditures
   on transit preservation and expansion and of some potential investment goals (e.g., attainment of an SGR
   within 20 years). More specifically, these analyses consider the impact of different levels of transit capital
   expenditures on the following:
    Preservation Investments—Average condition rating of U.S. transit assets and state of good repair
      backlog
    Expansion Investments—Additional ridership (boardings) capacity.
   Each of these analyses is completed first at the national level (the remainder of this section) and then
   repeated (in the following section) for two different segments of urbanized areas, including the following:
    Urbanized areas with populations greater than 1 million
    All other urbanized areas and rural areas with existing transit services.
   Impact of Preservation Investments on Transit Backlog and Conditions
   This subsection considers the expected impact of varying levels of aggregate capital reinvestment by all levels
   of government on the future investment backlog and physical condition (as of 2030) for the Nation’s existing
   stock of transit assets.
   Transit Backlog. The 2010 Conditions and Performance Report introduced the concept of reinvestment
   backlog as an indication of the amount of near-term investment needed to replace assets that are past
   their expected useful lifetime. It focuses attention on assets that are in the worst condition rather than on
   the average condition of all assets, which is reported below and has been the primary measure in previous
   editions. This additional perspective is needed since average condition has become less meaningful in the
   current environment with high levels of investment in new assets for transit system expansion. Investment
   backlog is a measure of the need for investment in infrastructure preservation. TERM estimates that
   investment backlog is $85.9 billion (see Chapter 8).

                                                                                                                   FHWA002380
                                                                                              Potential Capital Investment Impacts   7-37
         Case 5:23-cv-00304-H                                           Document 15-18                  Filed 01/31/24            Page 98 of 534          PageID 2658

Exhibit 7-21 focuses on the impact of future spending levels on this investment backlog. Specifically,
Exhibit 7-21 presents the estimated impact of differing levels of annual capital reinvestment on the expected
size of the investment backlog in 2030. The investment backlog is defined here as the level of investment
required to bring all of the Nation’s assets to a state of good repair. This includes replacement of those assets
that currently exceed their useful lives (the $85.9 billion) and the performance of all major rehabilitation
activities and replacement of assets that will exceed their useful lives during the analysis period. If future
reinvestment rates are insufficient to address these ongoing reinvestment needs as they arise, then the size of
the backlog will increase over time. Reinvestment at a rate above that required to address new needs as they
arise will ultimately result in elimination of the existing backlog.
As shown in Exhibit 7-21, TERM analysis suggests that the current rate of capital reinvestment of
$10.3 billion is insufficient to keep pace with ongoing rehabilitation and replacement needs and, if
maintained over the next 20 years, would result in a reinvestment backlog of roughly $141.7 billion by
2030. In contrast, increasing the annual rate of reinvestment to an average of $18.5 billion will completely
eliminate the backlog by 2030. The annual level of reinvestment would need to be increased to roughly
$12.7 billion just to maintain the backlog at roughly its current size.

  Exhibit 7-21 Impact of Preservation Investment on 2030 Transit State of Good Repair Backlog in
  All Urbanized and Rural Areas

                                         $200

                                         $180
                                                                                       Current Annual Capital Investment ($10.3 B)
   2030 State of Good Repair Backlog




                                         $160
       (Billions of 2010 Dollars)




                                         $140
                                                                                                                            Current Backlog ($85.9 B)
                                         $120

                                         $100

                                          $80

                                          $60

                                          $40

                                          $20

                                              $0
                                                $8.0            $10.0                $12.0              $14.0             $16.0              $18.0            $20.0

                                                                    Annual Expenditures for Preservation (Billions of 2010 Dollars)


   Average Annual
      Investment                                       Average Annual       Average    Backlog in 2030 Percent Change
   (Billions of 2010                                   Percent Change      Condition     (Billions of   From Current
        Dollars)                                          vs. 2010       Rating in 2030 2010 Dollars)     Backlog                     Funding Level Description
                                       $18.5               5.5%               3.54              $0.0             -100%        SGR (Unconstrained, Replace at 2.50)
                                       $12.7               2.0%               3.48              $85.9              0%         Maintain Current Backlog
                                       $10.3               0.0%               3.39             $141.7             65%         2010 Capital Expenditures (Sustain
                                                                                                                              2010 Spending)
                                       $8.6                -1.9%              3.34             $168.7             96%         Reduce 2.5 Percent
                                       $6.8                -5.1%              3.28             $199.0             132%        Reduce 5 Percent
                                       $4.4                -9.9%              3.20             $239.5             179%        Reduce 10 Percent
                                       $2.2                -22.2%             3.13             $275.6             221%        Reduce 20 Percent
 Note that for this report, assets are considered past their useful lives once their estimated condition in TERM falls below condition 2.50.
 Source: Transit Economic Requirements Model.



7-38 Investment/Performance Analysis                                                                                                                    FHWA002381
Case 5:23-cv-00304-H                                             Document 15-18                          Filed 01/31/24                     Page 99 of 534           PageID 2659

   Transit Conditions. Exhibit 7-22 presents the estimated impact of differing levels of annual rehabilitation
   and replacement investments on the average physical condition of all existing assets nationwide as of 2030.
   It shows ongoing improvements to the overall condition of the Nation’s existing transit asset base from
   increasing levels of transit capital reinvestment. It should be emphasized here that average condition provides
   a measure of asset conditions in the aggregate. Hence, while overall conditions improve with additional
   expenditures, it should nonetheless be expected that the condition of some individual assets will still
   deteriorate (given the length of asset lives and the timing of their replacement cycles) while the condition
   of other assets improves. The value of the aggregate measure lies in providing an overall, single measure of
   aggregate conditions. Moreover, given the relationship between asset condition and asset reliability, any
   general improvement in overall asset conditions should also be associated with related improvements to
   service quality, reliability, and possibly safety.
   The table portion of Exhibit 7-22 presents the same investment and average condition information as in
   the chart. This table also presents the impact of reinvestment on asset conditions for five key transit asset
     Exhibit 7-22 Impact of Preservation Investment on 2030 Transit Conditions in All Urbanized and Rural
     Areas
                                          4.2

                                          4.0
      National Average Condition (2030)




                                                    Current Average Condition (3.8)
                                          3.8

                                          3.6

                                          3.4

                                          3.2                                                                                       SGR Average Condition by 2030 (3.5)
                                                           Current Annual Capital
                                          3.0               Investment ($10.3B)

                                          2.8
                                             $0.0                 $5.0                            $10.0                            $15.0                  $20.0                  $25.0

                                                                   Annual Expenditures for Preservation (Billions of 2010 Dollars)

               Average                                                              Average Transit Conditions in 2030
               Annual
                                                                                          Asset Categories
             Investment
             (Billions of
                                                                         Guideway



                                                                                     Facilities



                                                                                                   Systems




                                                                                                                        Vehicles
                                                                                                             Stations




            2010 Dollars) Average Annual                                                                                                     All
            Total Capital Percent Change                                                                                                   Transit
                Outlay       vs. 2010                                                                                                      Assets                  Notes
                $23.3          7.5%                                      3.68       3.80           3.80      3.78       3.37                3.70     Unconstrained, Replace at 3.00
                                          $20.2         6.3%             3.65       3.43           3.70      3.76       3.33                3.62     Unconstrained, Replace at 2.75
                                          $18.5         5.5%             3.58       3.06           3.59      3.74       3.31                3.54     SGR (Unconstrained, Replace at 2.50)
                                          $12.7         2.0%             3.45       2.85           3.55      3.74       3.36                3.48     Maintain Current Backlog
                                          $10.3         0.0%             3.31       2.77           3.40      3.69       3.37                3.39     2010 Capital Expenditures
                                           $8.6         -1.9%            3.26       2.73           3.30      3.67       3.27                3.34
                                           $6.8         -4.4%            3.22       2.73           3.19      3.66       3.04                3.28
                                           $4.4         -9.9%            3.21       2.70           3.08      3.64       2.65                3.20
                                           $2.2         -22.2%           3.17       2.70           2.96      3.63       2.35                3.13
      Note that the conditions of individual transit assets are estimated using TERM’s asset decay curves, which estimate asset conditions
      on a scale of 5 (excellent) through 1 (poor), as described earlier in this chapter and in Appendix C of this report. The average national
      condition is the weighted average of the condition of all assets nationwide, weighted by the estimated replacement cost of each asset.
      Note that this preservation analysis is intended to consider reinvestment needs only for existing transit assets (as of 2010), not for
      expansion assets to be added to the existing capital stock in future years.
      Source: Transit Economic Requirements Model.


                                                                                                                                                                   FHWA002382
                                                                                                                                              Potential Capital Investment Impacts       7-39
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24         Page 100 of 534         PageID 2660

categories (i.e., guideway and track, facilities, systems, stations, and vehicles) as well as the average annual
percent change in constant dollar funding from 2010 levels to achieve each projected condition level.
Further review of Exhibit 7-22 reveals several observations. First, note that none of the selected reinvestment
rates presented (including the current level of reinvestment, which was $10.3 billion in 2010) is sufficient
to maintain aggregate conditions at or near the current national average condition rating of 3.8. Even the
highest reinvestment rate presented here of $23.3 billion annually (replacement at condition rating 3.0),
which represents a fairly aggressive reinvestment rate, is not quite sufficient to maintain aggregate conditions
at current levels. A primary factor driving this result is the ongoing expansion investment in new rail systems
over the past several decades, which has tended to maintain or even increase the average condition rating
of assets nationwide (despite the ongoing deterioration of older assets), but has also resulted in an average
condition rating that is not sustainable in the long term (i.e., without including the influence of further
expansion investments or replacing assets at an unreasonably early age). Second, note that reinvestment
at roughly $18.5 billion annually is required to attain a condition of SGR by 2030 and that this level of
reinvestment is estimated to yield an average condition value of roughly 3.5 by 2030. Given the definition
of the SGR benchmark (described in more detail in Chapter 8), which seeks to eliminate the existing
investment backlog and then address all subsequent rehabilitation and replacement activities “on time”
thereafter, the 3.5 value could be considered representative of the expected long-term average condition of a
well-maintained and financially unconstrained national transit system. Hence, an average condition rating of
roughly 3.5 represents a more reasonable long-term condition target for existing transit infrastructure than
the current aggregate rating of 3.8.
A final observation is that a significant level of reinvestment is required to alter the estimated 2030 average
condition measure by a point or more. This result is also driven in part by a large proportion of transit assets
with expected useful lives of up to 80 years or more that will not require significant reinvestment over the
20-year period of this analysis (regardless of the level of reinvestment). These assets tend to contribute a
high weighting in the average condition measure, making the measure somewhat insensitive to the rate of
reinvestment (note that a high proportion of reinvestment activity is focused on the replacement of those
assets with relatively shorter useful lives, such as vehicles).

Impact of Expansion Investments on Transit Ridership
While capital spending on preservation primarily benefits the physical condition of existing transit assets,
expansion investments are typically undertaken to expand the asset base to accommodate projected growth
in ridership and potentially to improve service performance for existing transit system users.
Exhibit 7-23 shows the relationship between aggregated annual capital spending by all levels of government
on expansion investments and the additional number of annual passenger boardings that transit systems
would be able to support by 2030. More precisely, this chart presents the level of expansion investment
required to ensure that transit vehicle occupancy rates are maintained at current levels over the next two
decades for a broad range of the potential rates of growth in transit passenger miles traveled (PMT). As
the upward sloping curve of the chart indicates, higher levels of investment are required to support greater
numbers of additional riders at a constant level of service. If investment levels are insufficient to fully support
the projected growth in ridership, then vehicle occupancy rates will tend to increase, leading to increased
crowding on high-utilization systems and potentially leading to increased dwell times at stops, reduced
average operating speeds, and increased rates of vehicle wear. Conversely, if the rate of transit capacity
expansion exceeds the actual rate of ridership growth, then occupancy rates will tend to decline and service
performance would likely also improve.
The findings presented in Exhibit 7-23 suggest the following trends. First, the recent rate of investment
in asset expansion ($6.2 billion in 2010) could support roughly 4.6 billion additional boardings by 2030
(approximately a 1.8 percent annual growth in ridership). This amount is greater than that required
to support the level of growth projected by the Nation’s MPOs (roughly 1.3 percent when adjusted to

7-40 Investment/Performance Analysis                                                                  FHWA002383
Case 5:23-cv-00304-H                                           Document 15-18            Filed 01/31/24              Page 101 of 534             PageID 2661

   exclude expansion investments that do not pass TERM’s benefit-cost test). As discussed in further detail
   in Chapter 9, MPO projections of transit growth (which are financially constrained) have typically fallen
   well short of actual growth in recent years. Assuming that the actual rate of ridership growth is close to the
   trend rate of growth for the last 15 years, then an average of $7.1 billion in annual transit capital expansion
   investment would be required over the next 20 years to support an additional 5.4 billion annual boardings
   (again after excluding expansion investments that do not pass TERM’s benefit-cost test). Hence, while
   the existing levels of transit capital expansion investment may be sufficient to maintain current service
   performance (i.e., vehicle occupancy rates) if ridership growth is relatively low, this level of investment is
   roughly two-thirds that required to support a level of ridership growth consistent with that experienced over
   the most recent 15-year period.
      Exhibit 7-23 New Ridership Supported in 2030 by Expansion Investments in All Urbanized and Rural
      Areas

                                         16
       New Boardings Supported by 2030




                                         14
                                                     Trend Increase in Boardings
                                                            by 2030 (5.4B)
                                         12

                                         10
                  (Billions)




                                                   MPO Projected Increase
                                                 in Boardings by 2030 (3.0B)
                                         8

                                         6

                                         4

                                         2
                                                                                                             Average Investment in Expansion 2010 ($6.2B)
                                         0
                                          $0.0           $2.0          $4.0          $6.0             $8.0          $10.0         $12.0          $14.0         $16.0

                                                                          Annual Expenditures in Expansion (Billions of 2010 Dollars)


           Average                                   Average           Total New Boardings by 2030
           Annual                                    Annual          New Riders
         Investment                                  Percent      Supported (Billions    Average Annual
         (Billions of                               Change vs.        of Annual            Growth in
        2010 Dollars)                                 2010           Boardings)            Boardings*                       Funding Level Description
                                $14.4                   7.7%              13.8                 4.3%
                                $10.2                   4.6%              8.5                  3.0%
                                   $7.1                 1.3%              5.4                  2.1%            Trend Growth in PMT (1995 to 2010)
                                   $6.2                 0.0%              4.6                  1.8%            2010 Capital Expenditures (Maintain Current Spending)
                                   $4.6                -3.5%              3.0                  1.3%            MPO Projected Increase in PMT
                                   $3.5                -6.3%              2.0                  0.9%
                                   $0.8                -36.0%             0.4                  0.2%
       * As compared with total urban ridership in 2010; only includes increases covered by investments passing TERM's benefit-cost test.
       Note that TERM assesses expansion needs at the agency-mode level subject to (1) current vehicle occupancy rates at the agency-
       mode level and (2) expected transit PMT growth at the UZA level (hence, all agency modes within a given UZA are subject to the
       same transit PMT growth rate). Note, however, that TERM does not generate expansion needs estimates for agency modes that
       have occupancy rates that are well below the national average for that mode.
       Source: Transit Economic Requirements Model.


     Impacts of Urbanized Area Investments Modeled by TERM
   The remainder of this chapter focuses on how different levels of annual capital investment in the U.S.
   transit infrastructure affect urbanized areas with dissimilar transit investment needs. Specifically, this section
   explores the impact of capital expenditures by transit agencies sorted into two distinct UZA groupings:
   (1) the urbanized areas with populations greater than 1 million and (2) all other urbanized and rural areas
   with existing transit services.
                                                                                                                                              FHWA002384
                                                                                                                         Potential Capital Investment Impacts      7-41
   Case 5:23-cv-00304-H                                                     Document 15-18                                 Filed 01/31/24           Page 102 of 534             PageID 2662

Urbanized Areas Over 1 Million in Population
The Nation’s largest urbanized areas own and operate the majority of the Nation’s existing transit assets.
These urbanized areas also typically have the highest levels of investment in older rail assets.
In 2010, transit agencies operating in urbanized areas with populations greater than 1 million expended
$14.4 billion on capital projects, consisting of $9.0 billion on preservation investments intended to
rehabilitate or replace existing assets, and $5.4 billion on expansion investments designed to increase
service capacity. The following is a discussion of the transit asset preservation and expansion needs of these
urbanized areas with populations greater than 1 million.
Preservation Investments
Exhibit 7-24 shows the estimated impact of varying levels of preservation investments on the future
condition of existing transit assets located in urbanized areas with populations greater than 1 million.
As with the earlier chart covering the entire industry, this chart clearly indicates that due to significant
recent investments in long-lived expansion assets the current average condition rating for transit assets

  Exhibit 7-24 Impact of Level of Preservation Investment on 2030 Transit Conditions in Urbanized
  Areas Over 1 Million in Population

                                          4.0
                                                    Current Average Condition (3.8)
                                          3.9
    National Average Condition (2030)




                                          3.8

                                          3.7

                                          3.6

                                          3.5
                                                    SGR Average Condition by 2030 (3.6)
                                          3.4

                                          3.3

                                          3.2
                                                                                                                                             Current Annual Capital
                                          3.1                                                                                                 Investment ($9.0B)

                                          3.0
                                             $0.0      $2.0                $4.0               $6.0              $8.0            $10.0       $12.0        $14.0        $16.0      $18.0
                                                                      Annual Expenditures for Preservation (Billions of 2010 Dollars)



                                                                           Average Transit Conditions in 2030
  Average Annual                                                               Asset Categories
    Investment    Average
    (Billions of  Annual
                                                                Guideway


                                                                              Facilities


                                                                                           Systems




                                                                                                                Vehicles
                                                                                                     Stations




   2010 Dollars)  Percent                                                                                                     All
   Total Capital Change vs.                                                                                                 Transit
      Outlay       2010                                                                                                     Assets                     Notes
       $16.0       5.4%                                        3.54           3.13         3.59      3.74       3.31         3.56 SGR (Unconstrained Condition, Replace at 2.50)
                                        $11.5        2.4%      3.42           2.87         3.55      3.74       3.38         3.50   Maintain Current Backlog
                                        $9.0         0.0%      3.30           2.75         3.41      3.69       3.37         3.41   2010 Capital Expenditures (Maintain Current Spending)
                                        $7.6         -1.7%     3.25           2.70         3.30      3.67       3.28         3.36   Reduce 2.5 Percent
                                        $6.0         -4.3%     3.21           2.69         3.20      3.66       3.03         3.30   Reduce 5 Percent
                                        $4.0         -9.4%     3.19           2.65         3.09      3.64       2.68         3.22   Reduce 10 Percent
                                        $2.1        -20.2%     3.15           2.65         2.96      3.63       2.41         3.15   Reduce 20 Percent

  Source: Transit Economic Requirements Model.



7-42 Investment/Performance Analysis                                                                                                                                          FHWA002385
Case 5:23-cv-00304-H                                         Document 15-18                 Filed 01/31/24            Page 103 of 534             PageID 2663

   located in the largest urbanized areas is not sustainable in the long term without replacing assets on a fairly
   aggressive schedule (i.e., replacement at or before condition rating 3.0). At the same time, the 2010 level of
   reinvestment ($9.0 billion) is less than that required to attain a state of good repair ($16.0 billion), with the
   latter supporting a more sustainable long-term average condition rating of roughly 3.6.
   As shown in Exhibit 7-25, the 2010 level of capital reinvestment of $9.0 billion for the largest urbanized
   areas is insufficient to keep pace with ongoing rehabilitation and replacement needs and, if maintained over
   the next 20 years, would result in a larger SGR backlog of roughly $120.4 billion by 2030 compared with
   the current $73.8 billion backlog. In contrast, increasing the rate of reinvestment to an annual average of
   roughly $16.0 billion will completely eliminate the entire backlog by 2030. The annual level of reinvestment
   would need to be increased to roughly $11.5 billion to maintain the backlog at roughly its current size.

      Exhibit 7-25 Impact of Preservation Investment on 2030 Transit State of Good Repair Backlog in
      Urbanized Areas Over 1 Million in Population
                                             $250
       2030 State of Good Repair Backlog




                                             $200
                                                                                                                  Current Annual Capital
            (Billions of 2010 Dollars)




                                                                                                                   Investment ($9.0B)

                                             $150
                                                                                                                                       Current Backlog
                                                                                                                                           ($73.8B)
                                             $100



                                              $50



                                                  $0
                                                    $4.0           $6.0              $8.0               $10.0              $12.0             $14.0           $16.0

                                                                     Annual Expenditures for Preservation (Billions of 2010 Dollars)


      Average Annual
         Investment     Average Annual                                                     Average        Backlog in 2030
      (Billions of 2010 Percent Change                                    Replacement     Condition       (Billions of 2010
           Dollars)        vs. 2010                                        Condition    Rating in 2030         Dollars)           Funding Level Description
            $16.0            5.4%                                             2.50           3.56                $0.0       SGR (Unconstrained, Replace at 2.50)
                                     $11.5                 2.4%              2.50             3.50              $73.8       Current Backlog
                                           $9.0            0.0%              2.50             3.41              $120.4        2010 Capital Expenditures
                                           $7.6            -1.7%             2.50             3.36              $145.7
                                           $6.0            -4.3%             2.50             3.30              $173.9
                                           $4.0            -9.4%             2.50             3.22              $209.2


      Source: Transit Economic Requirements Model.



   Expansion Investments
   Although urbanized areas with populations greater than 1 million tend to be cities with slower rates of
   increase in population and transit ridership (e.g., Boston, Philadelphia, and Chicago), this group also
   includes urbanized areas expected to experience relatively high rates of growth in transit boardings and PMT
   over the next two decades, including Los Angeles, Atlanta, and Seattle. Given the high numbers of existing
   riders and transit capacity in these higher-growth large urbanized areas, they will require significant increases
   in expansion investments to maintain current service performance during this time period.

                                                                                                                                              FHWA002386
                                                                                                                         Potential Capital Investment Impacts      7-43
   Case 5:23-cv-00304-H                                                         Document 15-18               Filed 01/31/24            Page 104 of 534           PageID 2664

Exhibit 7-26 presents estimates of the level of expansion investment required to support varying levels of
growth in transit demand while maintaining current performance levels (as measured by vehicle capacity
utilization) for these large urbanized areas. Note that the 2010 level of investment for these urbanized areas
($5.4 billion) was more than that required to support the rate of increase in transit demand as projected by
the Nation’s MPOs (low growth) but well short of that required to support a rate of growth comparable to
the trend rate of increase as experienced in recent years.

   Exhibit 7-26 New Ridership Supported in 2030 by Expansion Investments in Urbanized Areas
   Over 1 Million in Population
                                                        12
    New Boardings Supported by 2030 (Billions)




                                                        10


                                                        8
                                                                Trend Increase in Boardings
                                                                       by 2030 (4.4B)                                                    MPO Projected Increase in
                                                                                                                                         Boardings by 2030 (2.5B)
                                                        6


                                                        4


                                                        2
                                                                                                               Average Investment in Expansion 2010 ($5.4B)
                                                        0
                                                         $0.0            $2.0         $4.0            $6.0             $8.0            $10.0          $12.0          $14.0

                                                                                   Annual Expenditures in Expansion (Billions of 2010 Dollars)


      Average                     Total New Boardings by 2030
      Annual                     New Riders
    Investment Average Annual Supported (Billions Average Annual
    (Billions of Percent Change   of Annual         Growth in
   2010 Dollars)    vs. 2010     Boardings)         Boardings*                                                                     Funding Level Description
                                       $11.8                    7.3%              11.0                  4.0%
                                                 $8.6           4.5%               6.9                  2.8%
                                                 $6.1           1.3%               4.4                  2.0%          Trend Growth in PMT (1995 to 2010)
                                                 $5.4           0.0%               3.7                  1.7%          Maintain Spending (2010)
                                                 $4.1           -2.8%              2.5                  1.2%          MPO Projected Growth
                                                 $3.2           -5.6%              1.7                  0.8%
                                                 $0.8           -31.8%             0.4                  0.2%
   * As compared with total urban ridership in 2010; only includes increases covered by investments passing TERM's benefit-cost test.
   Source: Transit Economic Requirements Model.



Other Urbanized and Rural Areas
The following analysis considers the combined preservation and expansion needs of urbanized areas under
1 million in population and those of all rural areas with existing transit service. This diverse group therefore
includes a large number of mid- and small-sized urbanized and rural transit operators offering only bus
and/or paratransit services.
In 2010, transit agencies operating outside of the largest urbanized areas expended $2.2 billion on capital
projects, consisting of $1.3 billion on preservation investments intended to rehabilitate or replace existing
assets, and $0.9 billion on expansion investments designed to increase service capacity. The following is a
discussion of the transit asset preservation and expansion needs of transit agencies in these areas.

7-44 Investment/Performance Analysis                                                                                                                           FHWA002387
Case 5:23-cv-00304-H                                                Document 15-18                                   Filed 01/31/24               Page 105 of 534              PageID 2665

   Preservation Investments
   Exhibit 7-27 shows the estimated impact of varying levels of preservation investments on the future
   condition of existing transit assets located in urbanized areas with populations less than 1 million and in
   rural areas. As with the earlier analyses for the largest urbanized areas, this chart also indicates that the
   current average condition rating for transit assets in these smaller urbanized and rural areas is not sustainable
   in the long term without replacing assets on a fairly aggressive schedule (i.e., replacement at or before
   condition rating 3.0). At the same time, the 2010 level of reinvestment ($1.3 billion) is significantly less
   than that required to attain an SGR ($2.5 billion), with the latter supporting a more sustainable long-term
   average condition rating of roughly 3.4.


     Exhibit 7-27 Impact of Preservation Investment on 2030 Transit Conditions in Urbanized
     Areas Under 1 Million in Population
                                             4.0
                                                                    Current Average Condition (3.6)
                                             3.8
       National Average Condition (2030)




                                             3.6

                                             3.4

                                             3.2
                                                       SGR Average Condition
                                             3.0           by 2030 (3.4)


                                             2.8

                                             2.6                                                                                                      Current Annual Capital
                                                                                                                                                       Investment ($1.3 B)
                                             2.4
                                                $0.0                            $0.5                                 $1.0                      $1.5                    $2.0                  $2.5
                                                                                           Annual Expenditures for Preservation (Billions of 2010 Dollars)


                                                                                Average Transit Conditions in 2030
         Average
         Annual                                                                    Asset Categories
       Investment                                        Average
       (Billions of                                      Annual
                                                                     Guideway


                                                                                   Facilities


                                                                                                Systems




                                                                                                                      Vehicles
                                                                                                          Stations




      2010 Dollars)                                      Percent                                                                   All
      Total Capital                                      Change                                                                  Transit
          Outlay                                         vs. 2010                                                                Assets                           Notes
           $2.5                                           7.5%      4.45          2.93          3.73      3.87        3.30        3.36     SGR (Unconstrained, Replace at 2.5)
                                           $1.3           0.0%      3.57          2.79          3.11      3.75        3.32        3.09     2010 Capital Expenditures (Maintain Current Spending)
                                           $0.90          -2.1%     3.57          2.78          3.05      3.51        3.23        3.06     Reduce 2.5 Percent
                                           $0.8           -3.3%     3.57          2.78          3.03      3.41        3.09        3.02     Reduce 5 Percent
                                           $0.4          -12.2%     3.57          2.78          2.99      3.38        2.37        2.86     Reduce 10 Percent
                                           $0.1          -52.1%     3.57          2.78          2.98      3.35        1.88        2.76     Reduce 20 Percent
      Source: Transit Economic Requirements Model.




                                                                                                                                                                            FHWA002388
                                                                                                                                                       Potential Capital Investment Impacts        7-45
   Case 5:23-cv-00304-H                                                 Document 15-18               Filed 01/31/24            Page 106 of 534            PageID 2666

As shown in Exhibit 7-28, the 2010 level of capital reinvestment of $1.3 billion for rural areas and smaller
urbanized areas is insufficient to keep pace with ongoing rehabilitation and replacement needs. If maintained
over the next 20 years, this rate of investment would result in a larger SGR backlog of roughly $21.3 billion
by 2030, as compared with the current backlog of $6.8 billion for this group. In contrast, increasing the rate
of reinvestment to an annual average of roughly $2.5 billion will completely eliminate the entire backlog
by 2030. The annual level of reinvestment would need to be increased to roughly $1.8 billion annually to
maintain the backlog at roughly its current size.

   Exhibit 7-28 Impact of Preservation Investment on 2030 Transit State of Good Repair Backlog in
   Urbanized Areas Under 1 Million in Population
                                          $40

                                          $35
    2030 State of Good Repair Backlog




                                                                                                                                  Maintain current
                                                                                                                                  backlog ($1.8B)
                                          $30
         (Billions of 2010 Dollars)




                                          $25

                                          $20

                                          $15
                                                               Current Annual Capital                                                  Current Backlog ($6.8B)
                                                                Investment ($1.3B)
                                          $10

                                           $5

                                           $0
                                             $0.0                $0.5               $1.0                $1.5               $2.0              $2.5                $3.0

                                                                     Annual Expenditures for Preservation (Billions of 2010 Dollars)


                                                     Average
   Average Annual                                    Annual                                            Backlog in
      Investment                                     Percent                           Average             2030
   (Billions of 2010                                Change vs.      Replacement       Condition        (Billions of
        Dollars)                                      2010           Condition      Rating in 2030    2010 Dollars)               Funding Level Description
                                        $2.5           7.5%              2.50              3.36            $0.0          SGR (Unconstrained, Replace at 2.50)
                                        $1.8           4.7%              2.50              3.17            $6.8          Current Backlog
                                        $1.3           0.0%              2.50              3.09           $21.3          2010 Capital Expenditures
                                        $0.9           -2.1%             2.50              3.06           $23.0
                                        $0.8           -3.3%             2.50              3.02           $25.0
                                        $0.4          -12.2%             2.00              2.86           $30.3
                                        $0.1          -52.2%             2.50              2.76           $34.2
   Source: Transit Economic Requirements Model.


Expansion Investments
While the urbanized and rural areas in this group represent a smaller number of riders and a smaller existing
transit asset base, these areas are also expected to have a higher projected rate of increase in transit ridership.
Exhibit 7-29 presents estimates of the level of expansion investment required to support varying levels of
growth in transit demand while maintaining current performance levels (as measured by transit passenger
miles per peak vehicle) for the smaller urbanized and all rural areas. Note that the 2010 level of investment
for these areas ($0.9 billion) was the same as that required to support the rate of increase in transit demand
as projected by the Nation’s MPOs and slightly less than the trend rate of increase as experienced over the
last several years. Such investments should yield improvements in transit performance in these urbanized
areas and also help promote transit-led urban development in urbanized areas subject to above average rates
of population and transit growth.

7-46 Investment/Performance Analysis                                                                                                                   FHWA002389
Case 5:23-cv-00304-H                                             Document 15-18        Filed 01/31/24             Page 107 of 534              PageID 2667


      Exhibit 7-29 New Ridership Supported in 2030 by Expansion Investments in Urbanized
      Areas Under 1 Million in Population
                                                   3.0
      New Boardings Supported by 2030 (Billions)
                                                                                           Average Investment in
                                                                                           Expansion 2010 ($0.9B)
                                                   2.5


                                                   2.0
                                                                                                                                   Trend Increase in
                                                                                                                                Boardings by 2030 (1.0B)
                                                   1.5


                                                   1.0


                                                   0.5
                                                                                                    MPO Projected Increase in
                                                                                                    Boardings by 2030 (0.5B)
                                                   0.0
                                                      $0.0       $0.5         $1.0                $1.5                $2.0              $2.5               $3.0

                                                                        Annual Expenditures in Expansion (Billions of 2010 Dollars)


                                                                        Total New Boardings by 2030
     Average Annual                      New Riders
        Investment     Average Annual Supported (Billions Average Annual
     (Billions of 2010 Percent Change     of Annual         Growth in
          Dollars)        vs. 2010       Boardings)         Boardings*                                                   Funding Level Description
                                                   $2.6      9.9%          2.8                 6.4%
                                                   $1.5      5.1%          1.6                 4.5%
                                                   $1.0      1.4%          1.0                 3.2%         Trend Growth in PMT (1995 to 2010)
                                                   $0.9      0.0%          0.9                 2.8%         Maintain Spending (2010)
                                                   $0.5      -7.3%         0.5                 1.6%         MPO Projected Growth
                                                   $0.3      -11.6%        0.3                 1.3%
                                                   $0.1      -68.0%        0.1                 0.3%
      * As compared with total urban ridership in 2008; only includes increases covered by investments passing TERM's benefit-cost test.
      Source: Transit Economic Requirements Model.




                                                                                                                                           FHWA002390
                                                                                                                      Potential Capital Investment Impacts    7-47
   Case 5:23-cv-00304-H           Document 15-18   Filed 01/31/24   Page 108 of 534     PageID 2668




7-48 Investment/Performance Analysis                                                  FHWA002391
Case 5:23-cv-00304-H      Document 15-18                      Filed 01/31/24                  Page 109 of 534                     PageID 2669




                                                                        CHAPTER                                                              8
               Selected Capital Investment Scenarios

               Selected Highway Capital Investment Scenarios .......................................................8-2
                   Scenario Selected for Analysis ..................................................................................8-2
                   Scenario Spending Levels .........................................................................................8-4
                        Spending Levels Assuming Forecast Growth in VMT ........................................................ 8-4
                        Spending Levels Assuming Trend Growth in VMT ............................................................. 8-7
                   Scenario Spending Patterns and Conditions and Performance Projections ...........8-7
                        Systemwide Scenarios ....................................................................................................... 8-7
                        Federal-Aid Highway Scenarios ......................................................................................... 8-11
                        Scenarios for the National Highway System and the Interstate Highway System ............ 8-18
                   Highway and Bridge Investment Backlog .................................................................8-21

               Selected Transit Capital Investment Scenarios ..........................................................8-23
                   Sustain 2010 Spending Scenario ..............................................................................8-25
                        Preservation Investments.................................................................................................... 8-26
                        Expansion Investments ....................................................................................................... 8-27
                   State of Good Repair Benchmark..............................................................................8-29
                        SGR Investment Needs ...................................................................................................... 8-29
                        Impact on the Investment Backlog ..................................................................................... 8-30
                        Impact on Conditions ......................................................................................................... 8-30
                        Impact on Vehicle Fleet Performance................................................................................. 8-31
                   Low and High Growth Scenarios ...............................................................................8-31
                        Low Growth Assumption .................................................................................................... 8-32
                        High Growth Assumption.................................................................................................... 8-32
                        Low and High Growth Scenario Needs .............................................................................. 8-32
                        Impact on Conditions and Performance ............................................................................ 8-33
                   Scenario Benefits Comparison ..................................................................................8-34
                        Scorecard Comparisons ..................................................................................................... 8-36




                                                                                               Selected Capital Investment Scenarios 8-1
                                                                                                                      FHWA002392
      Case 5:23-cv-00304-H          Document 15-18      Filed 01/31/24       Page 110 of 534        PageID 2670



  Selected Highway Capital Investment Scenarios

This section presents future investment scenarios that build on the Chapter 7 analyses of alternative levels
of future investment in highways and bridges. Each scenario includes projections for system conditions and
performance based on simulations with the Highway Economic Requirements System (HERS) and National
Bridge Investment Analysis System (NBIAS). To put the modeling results in perspective, each scenario
scales up the total amount of simulated investment using ratio factors to add in the types of highway and
bridge investment that are beyond these models’ scopes. A subsequent section of this chapter explores transit
investment scenarios that, like those of this section, start with a 2010 base year and cover the 20-year period
through 2030. All the scenarios are intended to be illustrative; none of them is endorsed as a target level of
funding.
Chapter 9 includes supplemental analyses relating to these scenarios, including comparisons with the
investment levels presented for comparable scenarios in previous C&P reports. Chapter 10 includes a series
of sensitivity analyses that explore the implications of alternative technical assumptions for the scenario
investment levels. The Introduction to Part II provides critical background information relating to the
technical limitations of the analysis, which are discussed further in the appendices.
Pursuant to Moving Ahead for Progress in the 21st Century (MAP-21), the National Highway System
(NHS) will be expanded to include additional principal arterial and connector mileage that was not part of
the original system. In light of this change, projecting future NHS investment needs over 20 years based on
the system as it existed in 2010 would have limited value. Rather than dropping the NHS scenarios from
the C&P report series until a formal NHS re-designation is completed, this report includes projections
based on an estimate of what the system would ultimately look like by adding in principal arterials that are
not currently part of the NHS. After the revised NHS designations have been coded into the HPMS and
National Bridge Inventory (NBI), future editions of this report will use them for the NHS-based scenarios.


                             Scenarios Selected for Analysis
For the entire road network and then separately for Federal-aid highways, the NHS, and the Interstate
Highway System, this section examines the four scenarios described in Exhibit 8-1. Each of these scenarios is
based on capital investment by all levels of government combined. The question of what portion should be
funded by the Federal government, State governments, local governments, or the private sector is beyond the
scope of this report. Each scenario pairs an assumed level of total investment in the types of improvements
modeled by HERS with an assumed level of investment in the types of improvements modeled by NBIAS;
these levels are drawn from those considered in Chapter 7. Together, the scopes of these models cover
spending on highway expansion and pavement improvements on Federal-aid highways (HERS) and on
bridge rehabilitation on all highways (NBIAS). In the absence of data required for the non-modeled types
of highway and bridge investment, each scenario simply assumes that their share of highway and bridge
investment will remain at the 2010 percentage. Percent shares in 2010 also served to distribute the amount
of non-modeled investment among the component categories: pavement spending on non-Federal-aid
highways, system expansion spending on non-Federal-aid highways, and system enhancement spending
(which include safety enhancements, operational improvements, and environmental projects).




8-2    Investment/Performance Analysis                                                            FHWA002393
Case 5:23-cv-00304-H             Document 15-18               Filed 01/31/24             Page 111 of 534             PageID 2671

       Exhibit 8-1 Capital Investment Scenarios for Highways and Bridges, Derivation of Components

        Scenario       Sustain 2010         Maintain Conditions and             Intermediate                   Improve Conditions
       Component        Spending*                  Performance                 Improvement                       and Performance
        HERS-    Sustain spending on        Set spending at the         Set spending at the level            Set spending at the
        Derived  types of capital           average of (1) the level at sufficient to fund all               level sufficient to fund
                 improvements modeled       which projected average     potential projects with a            all cost-beneficial
                 in HERS at 2010 levels in IRI in 2030 matches that     BCR greater than or                  potential projects (i.e.,
                 constant dollar terms over in 2010, and (2) the level equal to 1.5                          those with a BCR
                 next 20 years              at which projected average                                       greater than or equal to
                                            delay per VMT in 2030                                            1.0)
                                            matches that in 2010
        NBIAS-       Sustain spending on        Set spending at the level        Set spending at the level   Set spending at the
        Derived      types of capital           at which the projected           which achieves one-half     level sufficient to fund
                     improvements               average bridge sufficiency       of the projected increase   all cost-beneficial
                     modeled in NBIAS at        rating in 2030 matches           to the average bridge       potential projects
                     2010 levels in constant    that in 2010                     sufficiency rating under
                     dollar terms over the next                                  the Improve Conditions
                     20 years                                                    and Performance
                                                                                 scenario
        Other        Sustain spending on        Set spending at the level        Set spending at the level   Set spending at the
        (Non-        types of capital           necessary so that                necessary so that the       level necessary so that
        Modeled)     improvements not           the nonmodeled share of          nonmodeled share of         the nonmodeled share
                     modeled in HERS or         total highway and bridge         total highway and bridge    of total highway and
                     NBIAS at 2010 levels in investment will remain the          investment will remain      bridge investment will
                     constant dollar terms over same as in 2010                  the same as in 2010         remain the same as in
                     the next 20 years                                                                       2010
        * Highway capital spending in 2010 was supplemented by one-time funding under the Recovery Act.



     How do the definitions of the selected scenarios presented in this report compare to
     those presented in the 2010 C&P Report?
     The Sustain 2010 Spending scenario is defined in a manner consistent with the Sustain
     Current Spending scenario presented in previous editions of the C&P report; however, the scenario name was
     changed to emphasize that 2010 was an atypical year, since spending was boosted by one-time funding under the
     Recovery Act. The names and definitions of the Improve Conditions and Performance scenario and the
     State of Good Repair benchmark are unchanged.
     The definition of the HERS-derived component of the Intermediate Improvement scenario remains unchanged.
     For the 2010 C&P Report, the NBIAS-derived component was defined around the average annual spending growth
     rate taken from the HERS-derived component; for this edition, the NBIAS-derived component has been redefined to
     be independent of HERS, and instead represents a level of investment that achieves half of the improvement in the
     average bridge sufficiency rating computed for the Improve Conditions and Performance scenario.
     The Maintain Conditions and Performance scenario is similar in concept to the comparable scenario in the
     2010 C&P Report, in that it attempts to maintain selected performance measures at their base-year levels through
     the end of the 20-year analysis period; however, the target measures have been modified. The NBIAS-derived
     component of the scenario targets the average bridge sufficiency rating rather than the bridge investment backlog,
     a measure that was utilized for the last several editions of the C&P report.
     The HERS-derived component of the Maintain Conditions and Performance scenario had been defined around
     maintaining average highway user cost for several editions through the 2008 C&P Report. For technical reasons,
     it had become increasingly cumbersome to apply and explain this target measure, so in the 2010 C&P Report,
     average speed was adopted instead, in large part because it yielded similar results at the systemwide level
     (though this was not consistently true for subsets of the system). The HERS-derived component of this scenario
     used for the current edition is defined as the average of the investment level estimated to be sufficient to maintain
     average IRI, and the investment level estimated to be sufficient to maintain average delay. In practice, this approach
     results in one of these target measures improving somewhat over 20 years, while the other gets somewhat worse—
     an outcome consistent with the results obtained when the target measure was average highway user cost. At the
     systemwide level, and assuming that VMT growth conforms to HPMS forecasts, using average speed as the target
     measure as in the 2010 C&P Report would have produced annual average investment levels of $88.4 billion, or
     2.5 percent more than what is shown in Exhibit 8-2.


                                                                                                                FHWA002394
                                                                                          Selected Capital Investment Scenarios          8-3
      Case 5:23-cv-00304-H          Document 15-18       Filed 01/31/24       Page 112 of 534         PageID 2672

The projections for conditions and performance in each scenario represent estimates of what could be
achieved with a given level of investment assuming an economically driven approach to project selection.
They do not represent what would be achieved given current decision making practices. Consequently,
comparing the relative conditions and performance outcomes across the different scenarios may be more
illuminating than focusing on the specific projections for each individual scenario.


                                  Scenario Spending Levels
Future spending levels by scenario, summarized in Exhibit 8-2, are stated in constant 2010 dollars.
(Chapter 9 illustrates how to convert these real-dollar values into nominal [future dollar] values that factor in
inflation beyond 2010.) The modeling on which the scenarios are based (which was presented in
Chapter 7) assumes that spending grows at an annual percent rate that does not vary over the 20-year
analysis period, but which differs between the types of investments modeled by HERS and those modeled
by NBIAS, and also in some scenarios according to the assumed rate of future traffic growth. (The average
annual investment levels are determined by summing the amounts expended for each year from 2011
through 2030 under the scenario, and dividing by 20.)
The application of the four illustrative scenarios to different highway systems produces the subscenarios
in Exhibit 8-2. For example, the subscenario for Federal-aid highways in the Sustain 2010 Spending
scenario fixes average annual spending on those highways at what was actually spent in 2010, $75.8 billion,
without likewise forcing the portions of that spending directed to the NHS or the Interstate System to
match their 2010 levels. Differences between these portions and the corresponding base-year amounts arise
because HERS and NBIAS rely on benefit-cost principles to flexibly allocate spending among potential
improvements within their scope.
For each of the other scenarios in Exhibit 8-2, the spending levels vary according to the future growth rate
assumed for vehicle miles traveled (VMT). As discussed in Chapter 7, the VMT forecasts from the HPMS
imply an average annual growth rate of 1.85 percent, whereas the 15-year trend growth (between 1995
and 2010) was only 1.36 percent. Assuming that future growth follows the trend rather than the forecast
rate reduces the spending level associated with achieving scenario goals related to pavement improvements
and system expansion, which are modeled with HERS. The needs for bridge rehabilitation spending are
less sensitive to changes in VMT growth, so the implied traffic growth from the NBI forecasts was used to
generate all of the NBIAS inputs to these scenarios.
The Maintain Conditions and Performance scenario is geared toward maintaining overall conditions
and performance on the particular portion of the road network to which the scenario is being applied.
For example, when the scenario relates to maintaining average conditions and performance on Federal-aid
highways, it may entail improvement or deterioration in average conditions and performance on subsets of
these highways, such as the Interstate Highway System. The models used to simulate the scenarios, HERS
and NBIAS, are each designed to determine the investment program that will minimize the cost of achieving
the scenario goal.

Spending Levels Assuming Forecast Growth in VMT
The Maintain Conditions and Performance scenario uses average pavement roughness, average delay per
VMT, and average bridge sufficiency rating as the measures of overall system conditions and performance
that it seeks to maintain. Although the system to which these goals pertain varies across the subscenarios,
the average annual amount of investment is uniformly less than actual 2010 spending. A major reason for
this pattern is that the 2010 level of investment was quite high by historical standards (due largely to the



8-4    Investment/Performance Analysis                                                             FHWA002395
Case 5:23-cv-00304-H              Document 15-18                 Filed 01/31/24             Page 113 of 534               PageID 2673

     Exhibit 8-2 Summary of Average Annual Investment Levels, by Scenario
                                                                                                                            Assuming Lower,
                                                                       Assuming Higher VMT Growth Derived                   Trend-Based VMT
                                                                                from HPMS Forecasts1                             Growth2
                                                                                           Federal-                         Federal-
                                                                      Interstate             Aid     All                      Aid        All
    Scenario and Comparison Parameter                                  System       NHS3 Highways Roads                    Highways Roads
    Sustain 2010 Spending Scenario4
       Average Annual Investment (Billions of 2010                      $20.2         $53.9        $75.8       $100.2        $75.8        $100.2
       Dollars), for 2011 through 2030
    Maintain Conditions and Performance Scenario
        Average Annual Investment (Billions of 2010                     $17.4         $37.8        $67.3        $86.3        $50.3         $65.3
        Dollars), for 2011 Through 2030
        Percent Difference Relative to 2010 Spending4                  -14.1%        -29.8%      -11.2%       -13.9%        -33.6%       -34.8%
        Annual Spending Increase Needed to Support                     -1.47%        -3.51%      -1.15%       -1.44%        -4.08%       -4.29%
        Scenario Investment Level5
    Intermediate Improvement Scenario
        Average Annual Investment (Billions of 2010                     $27.8         $58.8        $87.6       $111.9        $73.1         $93.9
        Dollars), for 2011 Through 2030
       Percent Difference Relative to 2010 Spending4                    37.8%          9.2%       15.6%        11.7%          -3.5%        -6.3%
       Annual Spending Increase Needed to Support                       2.96%        0.83%        1.36%        1.04%        -0.34%       -0.62%
       Scenario Investment Level5
    Improve Conditions and Performance Scenario
        Average Annual Investment (Billions of 2010                     $33.1         $74.9       $113.7       $145.9        $95.7        $123.7
        Dollars), for 2011 through 2030
        Percent Difference Relative to 2010 Spending4                   64.0%        39.1%        50.1%        45.7%         26.4%        23.4%
        Annual Spending Increase Needed to Support                      4.51%        3.05%        3.72%        3.46%         2.18%        1.96%
        Scenario Investment Level5
    State of Good Repair Benchmark6
        Average Annual Investment (Billions of 2010                     $13.2         $34.5        $60.4        $78.3        $57.2         $72.9
        Dollars), for 2011 Through 2030
      1 As discussed in Chapter 7, the "forecast" VMT growth derived from the HPMS comes out to an average annual growth rate of 1.85

      percent. HERS assumes this represents the VMT that would occur at a constant price, but adjusts the growth for individual scenarios in
      response to changes in user costs. NBIAS is less sensitive to changes in VMT growth, and the implied traffic growth from the NBI was
      used to generate all of the NBIAS inputs to these scenarios.
      2 As discussed in Chapter 7, the average annual growth rate for the 15-year period from 1995 to 2010 was 1.36 percent, and is

      referenced as the "Trend" VMT growth. HERS assumes this represents the VMT that would occur at a constant price, and adjusts the
      growth rate for the individual scenarios in response to changes in highway user costs. NBIAS is less sensitive to changes in VMT growth,
      and the implied traffic growth from the NBI was used to generate all of the NBIAS inputs to these scenarios.
      3 The NHS statistics presented in this chapter are intended to approximate the NHS as it will exist after its expansion directed by MAP-21,

      not the NHS as it existed in 2010.
      4 Highway capital spending in 2010 was boosted by one-time funding under the Recovery Act.

      5 This percentage represents the annual percent change for each year relative to 2010 that would be required to achieve the average

      annual funding level specified for the scenario in constant dollar terms. Additional increases in nominal dollar terms would be needed to
      offset the impact of future inflation. Negative values indicate that the average annual investment level associated with the scenario is
      lower than 2010 spending.
      6 The State of Good Repair benchmark is the subset of the Improve Conditions and Performance scenario that pertains to system

      rehabilitation investments only, and excludes investments in system expansion and system enhancement.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


   Recovery Act), particularly for system rehabilitation spending. (For a discussion of highway and bridge
   investment trends, see Chapter 6). Highway capital spending increased by 10.8 percent between 2008 and
   2010 in nominal dollar terms while highway construction costs dropped by 18.0 percent. Factoring in this
   price change, capital spending grew by 35.1 percent in constant dollar terms between 2008 and 2010.


                                                                                                                    FHWA002396
                                                                                              Selected Capital Investment Scenarios               8-5
      Case 5:23-cv-00304-H          Document 15-18             Filed 01/31/24         Page 114 of 534           PageID 2674

For the version of the Maintain Conditions and Performance scenario focused on all roads (and assuming
HPMS forecast VMT growth), the average annual investment level of $86.3 billion is 13.9 percent lower
than actual 2010 capital spending of $100.2 billion on all roads; the goals of this subscenario could be
achieved even if capital spending declined by 1.44 percent per year over 20 years in constant dollar terms.
Similar percentage differences are evident in the subscenarios for Federal-aid highways (11.2 percent)
and Interstate highways (14.1 percent). The outlier is the sub-scenario for the NHS, where the level of
investment to maintain conditions and performance is estimated to be 29.8 percent lower than the amount
of investment directed to that system in 2010. Because the Interstate highways form a significant portion
of the NHS, this implies relatively sharp reductions in spending for the remaining portion off of the
Interstate System. Annual percentage growth rates in spending are between -1.0 percent and -1.5 percent
across subscenarios, except for the -3.5 percent annual decline in spending indicated to be consistent with
maintaining overall conditions and performance on the NHS. It is important to note that because 2010
highway capital spending included one-time funding under the Recovery Act, sustaining this level of
investment in the future would present a greater challenge than would be the case for a more typical base
year.
Unless one is completely satisfied with base year conditions and performance, investing at a level projected
to maintain that level of performance would not yield an ideal result. The analyses reflected in the Improve
Conditions and Performance scenario suggest that an economically driven approach to investment that
funds all cost-beneficial improvements would substantially increase real spending on highways and bridges
above base-year levels. Assuming forecast VMT growth for the 2011–2030 analysis period, the annual
percent increase in investment associated with implementation of all cost-beneficial capital improvements is
4.51 percent for the Interstate highways, 3.05 percent for the NHS, 3.72 percent for Federal-aid highways,
and 3.46 percent for all roads. The associated levels of average annual spending represent an investment
ceiling above which it would not be cost-beneficial to invest even if available funding were unlimited, and
exceed the 2010 levels by 64.0 percent for Interstate highways, 39.1 percent for the NHS, 50.1 percent for
Federal-aid highways, and 45.7 percent for all roads. For all roads, the average annual spending amounts to
fully implement all cost-beneficial investments is estimated to be $145.9 billion, or $2.9 trillion over the
20-year period, stated in constant 2010 dollars.
The State of Good Repair benchmark represents the portion of average annual spending that the Improve
Conditions and Performance scenario allocates to system rehabilitation investments. Put at $78.3 billion
in Exhibit 8-2 for all roads, this benchmark represents the amount of cost-beneficial investment identified

  Does the State of Good Repair benchmark apply the same criteria for all types of
  roadways modeled in HERS?
  No. For principal arterials, the deficiency levels in HERS have been set so that the model will
  consider taking action on a pavement only when its International Roughness Index (IRI) value has risen above
  95 (inches per mile), meaning that it would no longer be considered to have “good” ride quality based on the
  criteria described in Chapter 3.
  For roads functionally classified as collectors, the HERS deficiency levels have been set so that pavement actions
  will only be considered when IRI values have risen above 170, and the roads, thus, no longer meet the criteria for
  “acceptable” ride quality. The IRI threshold for minor arterials is set at 120.
  Although the engineering thresholds identified above define when the model may consider a pavement
  improvement, any such improvement must pass a benefit-cost test in order to be implemented. Even when HERS
  is given an unlimited budget to work with, it does not recommend improving all principal arterials to the “good”
  ride quality level, or all collectors to the “acceptable” ride quality level. The specific IRI value at which a pavement
  improvement will pass a benefit-cost test depends on a number of factors, including the traffic volume and
  average speeds on that facility. As discussed in Chapter 3, pavement ride quality has a greater impact on highway
  user costs on higher-speed roads.



8-6    Investment/Performance Analysis                                                                       FHWA002397
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24        Page 115 of 534         PageID 2675

   for rehabilitation of existing pavements and bridges. In determining the size of this benchmark, HERS and
   NBIAS screen out through benefit-cost analysis any assets that may have outlived their original purpose,
   rather than automatically re-investing in all assets in perpetuity. With national consensus lacking on exactly
   what constitutes a “state of good repair” for the various transportation assets, alternative benchmarks with
   different objectives could be equally valid from a technical perspective.
   The goal of the Intermediate Improvement scenario is to partially achieve the performance improvements
   associated with the economically driven approach to investment taken in the Improve Conditions and
   Performance scenario. For bridge rehabilitation spending, the Intermediate Improvement scenario seeks
   to achieve half of the improvement in the average bridge sufficiency rating; for spending on pavement
   rehabilitation and highway expansion, the scenario implements all projects with a benefit-cost ratio (BCR)
   of 1.5 or greater, as opposed to 1.0 or greater in the Improve Conditions and Performance scenario.
   (Applying a minimum BCR cutoff higher than 1.0 reduces the risk of investing in projects that initially
   appear cost beneficial but do not prove so due to unexpected changes in future costs or travel demand.)
   Assuming forecast VMT growth for 2011–2030, the average annual spending in the Intermediate
   Improvement scenario for all roads, $111.9 billion, exceeds the actual 2010 level by $11.7 billion, which
   is about one-fourth of the $45.7 billion increase indicated in the Improve Conditions and Performance
   scenario. For the Federal-aid highways and the NHS, the corresponding proportion is similar to that for
   all roads, but, for the Interstate System, the increase in spending relative to 2010 under the Intermediate
   Improvement scenario amounts to nearly three-fifths of the increase under the Improve Conditions and
   Performance scenario.

   Spending Levels Assuming Trend Growth in VMT
   Replacing the overall rate of traffic growth implied by the HPMS forecasts with the 15-year historic trend
   rate of growth reduces the scenario levels of spending substantially. Annual spending in the Maintain
   Conditions and Performance scenario averages $65.3 billion for all roads and $50.3 billion for Federal-
   aid highways, which are each about 25 percent lower than when the overall rate of VMT growth from the
   HMPS forecasts was used. For the Intermediate Improvement and Improve Conditions and Performance
   scenarios, the spending reductions from the forecast growth case are smaller, at about 16 percent. The
   results for annual percent growth in spending show spending decreasing at just over 4 percent per year in
   the Maintain Conditions and Performance scenario, and at less than one percent in the Intermediate
   Improvement scenario. Only in the Improve Conditions and Performance scenario does spending
   increase, at about 2 percent per year, when trend growth in traffic is assumed.


              Scenario Spending Patterns and Conditions and
                         Performance Projections
   The following discussion details the derivation of scenario spending levels, the patterns in spending by type
   of improvement and highway functional class, and the projections for conditions and performance.

   Systemwide Scenarios
   For the scenarios that consider all roads, the derivation of the average annual investment levels is presented
   in Exhibit 8-3 (forecast-based VMT growth) and Exhibit 8-4 (trend-based VMT growth). The HERS-
   derived component, which accounts in each scenario for most of the total investment, represents spending
   on pavement rehabilitation and capacity expansion on Federal-aid highways. The NBIAS-derived component
   represents rehabilitation spending on all bridges, including those not on the Federal-aid highways. In
   the Sustain 2010 Spending scenario, the values for these components sum to $72.5 billion, of which
   $56.4 billion is the HERS-derived component. Nonmodeled spending accounted in 2010 for 26.6 percent

                                                                                                FHWA002398
                                                                          Selected Capital Investment Scenarios   8-7
      Case 5:23-cv-00304-H                Document 15-18               Filed 01/31/24             Page 116 of 534             PageID 2676


       Exhibit 8-3 Systemwide Highway Capital Investment Scenarios for 2011 through 2030:
       Derivation and Distribution
                                                                      Sustain        Maintain                             Improve
                                                                       2010        Conditions &        Intermediate     Conditions &
                                                                     Spending      Performance        Improvement       Performance
                                                                     Scenario       Scenario             Scenario        Scenario
      Scenario Derivation, by Input Components*
      Average Annual Investment (Billions of 2010 Dollars)             $100.2           $86.3             $111.9            $145.9
      HERS-Derived Component (Billions of 2010 Dollars)                 $56.4           $51.1             $67.8             $86.9
      Percent of Scenario Derived from HERS                            56.3%           59.2%              60.6%             59.5%
      Annual Percent Change in HERS Spending                            0.0%            -1.0%             1.7%               4.0%
      Minimum BCR for HERS-Derived Component                            1.92            2.17               1.50              1.00
      NBIAS-Derived Component (Billions of 2010 Dollars)                $17.1           $12.2             $14.3              $20.2
      Percent of Scenario Derived from NBIAS                           17.0%           14.1%              12.8%             13.8%
      Annual Percent in NBIAS Spending                                  0.0%            -3.3%             -1.7%              1.6%
      Other Component (Billions of 2010 Dollars)                        $26.7           $23.0             $29.8             $38.8
      Percent of Scenario Derived from Other                           26.6%           26.6%              26.6%             26.6%
      Distribution by Capital Improvement Type, Average
      Annual (Billions of 2010 Dollars)
      System Rehabilitation-Highway                                     $40.4           $36.5             $46.5             $58.1
      System Rehabilitation-Bridge                                      $17.1           $12.2             $14.3             $20.2
      System Rehabilitation-Total                                       $57.4           $48.7             $60.8             $78.3
      System Expansion                                                  $30.0           $26.6             $36.8             $49.0
      System Enhancement                                                $12.8           $11.0             $14.3             $18.6
      Total, All Improvement Types                                     $100.2           $86.3             $111.9            $145.9
      Percent Distribution by Capital Improvement Type
      System Rehabilitation                                            57.3%           56.5%              54.4%             53.7%
      System Expansion                                                 29.9%           30.8%              32.9%             33.6%
      System Enhancement                                               12.8%           12.8%              12.8%             12.8%
      * Each scenario consists of three separately estimated components. The HERS-derived scenario components are linked directly to
      the analyses presented in Exhibits 7-3 through 7-11 in Chapter 7 that assumed future VMT consistent with HPMS forecasts; the
      NBIAS-derived components are linked directly to the analysis presented in Exhibit 7-16. These components can be cross-
      referenced to those exhibits using the annual percent change in HERS spending or NBIAS spending reflected in this table. The
      third scenario component, identified as "Other," represents types of capital spending beyond those modeled in HERS or NBIAS;
      each scenario assumes that the percentage of total spending on these items in the future will remain the same as in 2010.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



of total investment ($26.7 billion out of $100.2 billion) and is assumed to form the same share in all
scenarios. The non-modeled spending is allocated among types of capital improvements according to its
2010 percent distribution: 36.7 percent, system rehabilitation (non-Federal-aid highways); 15.4 percent,
system expansion (non-Federal-aid highways), and 47.9 percent, system enhancements. Because they include
non-modeled spending, the amounts shown in any scenario for the “system rehabilitation-highway” and
“system expansion” categories sum to more than the HERS-derived component of spending.
The minimum BCR associated with the HERS components of the Improve Conditions and Performance
scenario (1.0) and the Intermediate Improvement scenario (1.5) are the same whether forecast VMT
growth or trend-based VMT growth is assumed, as these scenarios are defined around these particular BCR
levels. For the Sustain 2010 Spending scenario, the minimum BCR of 1.92 assuming forecast VMT growth
(Exhibit 8-3) is higher than the minimum BCR of 1.42 assuming trend-based VMT growth (Exhibit 8-4)
because higher future travel volumes would tend to increase the benefits associated with both pavement and


8-8    Investment/Performance Analysis                                                                                     FHWA002399
Case 5:23-cv-00304-H             Document 15-18               Filed 01/31/24             Page 117 of 534              PageID 2677


       Exhibit 8-4 Systemwide Highway Capital Investment Scenarios for 2011 through 2030:
       Derivation and Distribution, Assuming Lower Trend-Based VMT Growth
                                                                       Sustain         Maintain                             Improve
                                                                        2010         Conditions &        Intermediate     Conditions &
                                                                      Spending       Performance        Improvement       Performance
                                                                      Scenario        Scenario             Scenario        Scenario
      Scenario Derivation, by Input Components*
                                                                        $100.2            $65.3             $93.9             $123.7
      Average Annual Investment (Billions of 2010 Dollars)

      HERS-Derived Component (Billions of 2010 Dollars)                  $56.4            $35.7             $54.6              $70.5
      Percent of Scenario Derived from HERS                              56.3%           54.7%              58.1%              57.1%
      Annual Percent Change in HERS Spending                             0.0%             -4.6%             -0.3%              2.1%
      Minimum BCR for HERS-Derived Component                              1.42            2.53               1.50               1.00
      NBIAS-Derived Component (Billions of 2010 Dollars)                 $17.1            $12.2             $14.3              $20.2
      Percent of Scenario Derived from NBIAS                             17.0%           18.7%              15.3%              16.3%
      Annual Percent in NBIAS Spending                                   0.0%             -3.3%             -1.7%              1.6%
      Other Component (Billions of 2010 Dollars)                         $26.7            $17.4             $25.0              $32.9
      Percent of Scenario Derived from Other                             26.6%           26.6%              26.6%              26.6%
      Distribution by Capital Improvement Type, Average
      Annual (Billions of 2010 Dollars)
      System Rehabilitation-Highway                                      $43.4            $29.0             $41.8              $52.7
      System Rehabilitation-Bridge                                       $17.1            $12.2             $14.3              $20.2
      System Rehabilitation-Total                                        $60.4            $41.2             $56.1              $72.9
      System Expansion                                                   $26.9            $15.8             $25.8              $35.0
      System Enhancement                                                 $12.8            $8.3              $12.0              $15.8
      Total, All Improvement Types                                      $100.2            $65.3             $93.9             $123.7
      Percent Distribution by Capital Improvement Type
      System Rehabilitation                                              60.3%           63.1%              59.8%              58.9%
      System Expansion                                                   26.9%           24.1%              27.5%              28.3%
      System Enhancement                                                 12.8%           12.8%              12.8%              12.8%
       * Each scenario consists of three separately estimated components. The HERS-derived scenario components are linked directly to
       the analyses presented in Exhibits 7-3 through 7-11 in Chapter 7 that assumed future VMT consistent with the 15-year trend from
       1995 to 2010; the NBIAS-derived components are linked directly to the analysis presented in Exhibit 7-16. These components can
       be cross-referenced to those exhibits using the annual percent change in HERS spending or NBIAS spending reflected in this table.
       The third scenario component, identified as "Other," represents types of capital spending beyond those modeled in HERS or NBIAS;
       each scenario assumes that the percentage of total spending on these items in the future will remain the same as in 2010.
       Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



   capacity improvements. For the Maintain Conditions and Performance scenario, the minimum BCR of
   2.17 assuming forecast VMT growth is higher than the minimum BCR of 1.42 assuming trend-based VMT
   growth primarily because the average annual investment level associated with achieving the goals of this
   scenario is considerably higher assuming forecast VMT growth, so HERS would need to move further down
   its BCR-prioritized list of potential improvements.
   Spending by Improvement Type
   In the Improve Conditions and Performance scenario, annual spending on highway and bridge
   rehabilitation averages $78.3 billion assuming forecast VMT growth and $72.9 billion assuming trend
   VMT growth, in either case considerably more than the $60.0 billion of such spending in 2010 identified in
   Chapter 6. This suggests that achieving a state of good repair on the Nation’s highways would require either
   a significant increase in overall highway and bridge investment or a significant redirection of investment
   from other types of improvements toward system rehabilitation.

                                                                                                                FHWA002400
                                                                                          Selected Capital Investment Scenarios            8-9
   Case 5:23-cv-00304-H               Document 15-18                Filed 01/31/24                 Page 118 of 534          PageID 2678

Exhibit 8-5 compares the distributions from the preceding two exhibits for investment spending by
improvement type with the actual distribution of capital spending in 2010. When higher VMT growth is
assumed (based on HPMS forecast), system expansion comprises between 29.9 percent and 33.6 percent
of each scenario’s total investment in highways and bridges, somewhat higher than its actual 27.4 percent
share of such spending in 2010. The share of spending directed to rehabilitation is correspondingly lower

   Exhibit 8-5 Systemwide Highway Capital Investment Scenarios for 2011 Through 2030: Distribution
   by Capital Improvement Type Compared to 2010 Spending

               System Rehabilitation - Highway    System Rehabilitation - Bridge    System Expansion      System Enhancement

                      Base Year 2010 Spending                    42.8%                     17.0%            27.4%          12.8%



         Scenarios Assuming Higher VMT Growth

                Sustain 2010 Spending Scenario                 40.3%                      17.0%             29.9%          12.8%

   Maintain Conditions and Performance Scenario                 42.3%                     14.1%            30.8%           12.8%

              Intermediate Improvement Scenario                 41.6%                    12.8%             32.9%           12.8%

    Improve Conditions and Performance Scenario                39.8%                     13.8%            33.6%            12.8%



         Scenarios Assuming Lower VMT Growth

                Sustain 2010 Spending Scenario                   43.3%                      17.0%            26.9%         12.8%

   Maintain Conditions and Performance Scenario                  44.4%                       18.7%            24.1%        12.8%

              Intermediate Improvement Scenario                  44.5%                      15.3%           27.5%          12.8%

    Improve Conditions and Performance Scenario                 42.6%                      16.3%            28.3%          12.8%

                                                  0%            20%                40%              60%             80%        100%

   Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



in each scenario than it was in 2010; the sharpest decline is indicated for bridge rehabilitation spending,
which attracts only 13.1 percent of spending in the Improve Conditions and Performance scenario versus
17.0 percent in 2010.
When lower VMT growth is assumed (based on the 15-year historic trend), compared with its actual
27.4 percent share in 2010, the system expansion share of spending is virtually the same in the Intermediate
Improvement scenario, 3.3 percentage points lower in the Sustain 2010 Spending scenario, and marginally
higher or lower in the other scenarios. In each scenario, the system expansion share of spending assuming
trend-based VMT growth is lower than where a higher VMT growth rate is assumed—in the Improve
Conditions and Performance scenario, for example, 28.3 percent versus 33.6 percent. This reflects that
benefits from system expansion projects tend to be more sensitive to future traffic volumes than benefits
from system rehabilitation projects.
Projections for 2030 Conditions and Performance
Since the HERS model considers only Federal-aid highways, whereas NBIAS considers bridges on all
roads, the only conditions and performance indicators available for the systemwide scenarios are those for
bridges. Exhibit 8-6 presents projections for the average bridge sufficiency index . Apart from the Maintain
Conditions and Performance scenario, the values of this index projected for 2030 indicate improvement
on the 2010 base year values. The largest improvement is in the Improve Conditions and Performance



8-10 Investment/Performance Analysis                                                                                      FHWA002401
Case 5:23-cv-00304-H            Document 15-18             Filed 01/31/24      Page 119 of 534        PageID 2679


     Exhibit 8-6 Projected Impact of Systemwide Capital Investment Scenarios on Average Bridge
     Sufficiency Rating in 2030

                                  2010 Base Year                                      81.7



                  Sustain 2010 Spending Scenario                                         84.1

     Maintain Conditions and Performance Scenario                                     81.7

               Intermediate Improvement Scenario                                        83.2

     Improve Conditions and Performance Scenario                                             84.6

                                                 50.0         60.0      70.0           80.0         90.0          100.0

     Source: National Bridge Investment Analysis System.



   scenario, where spending on bridge rehabilitation is at the highest level considered and the average
   sufficiency index is projected to be 84.6 in 2030 compared with 81.7 in 2010.

   Federal-Aid Highway Scenarios
   For the scenarios that focus on Federal-aid highways, the average annual investment totals are derived in
   Exhibit 8-7 (forecast-based VMT growth) and Exhibit 8-8 (trend-based VMT growth). The NBIAS-derived
   components are smaller than in the corresponding systemwide scenarios (compare with Exhibit 8-3 and
   Exhibit 8-4) because they exclude spending on types of roads generally ineligible for Federal aid—
   local roads and rural minor collectors. Bridge rehabilitation spending on such roads is excluded in these
   scenarios, even though the bridges themselves are eligible for Federal aid. On the other hand, the HERS-
   derived components of the Federal-aid highway scenarios are the same as in the systemwide scenarios because
   the scope of HERS is limited to Federal-aid highways. The systemwide scenarios added an allowance for
   nonmodeled spending on pavement rehabilitation and system expansion on highways ineligible for Federal
   aid, but restricting the scenario focus to Federal-aid highways eliminates the need for such adjustment.
   The only nonmodeled spending in the Federal-aid highway scenarios is on system enhancements, which
   accounted for 9.0 percent of investment in Federal-aid highways in 2010.
   Under the Sustain 2010 Spending scenario, highway rehabilitation and system expansion (the HERS-
   derived component) accounted for 74.5 percent of the total, matching their combined share of 2010
   spending. Bridge rehabilitation (the NBIAS-derived component) accounted for 16.5 percent of the
   investment under this scenario, also matching its share of 2010 spending. As shown in Exhibit 8-7, assuming
   forecast-based VMT growth, average International Roughness Index (IRI) is projected to be reduced
   (i.e., to improve) by 11.5 percent, while average delay per VMT increases (worsens) by 1.9 percent. As
   shown in Exhibit 8-8, assuming trend-based VMT growth, both average IRI and average delay are projected
   to be reduced, by 17.7 percent and 7.8 percent, respectively.
   Although the Maintain Conditions and Performance scenario is geared toward conditions and performance
   in 2030 being the same as in 2010 overall, it does not force each individual indicator of conditions and
   performance to remain at its 2010 level. Assuming forecast-based VMT growth, average pavement roughness
   is projected to be 7.6 percent lower in 2030 than in 2010 under this scenario and for average delay per VMT
   to be 4.3 percent higher (Exhibit 8-7). Only in the two scenarios geared toward improving conditions and
   performance are both average pavement roughness and average delay projected to be lower in 2030 than in
   2010. Under the Improve Conditions and Performance scenario, the projected declines are 26.7 percent
   and 8.0 percent, respectively. The patterns in the bridge performance indicators are very similar to those
   found in the systemwide projections discussed above.

                                                                                                     FHWA002402
                                                                               Selected Capital Investment Scenarios   8-11
   Case 5:23-cv-00304-H                  Document 15-18                Filed 01/31/24              Page 120 of 534          PageID 2680

    Exhibit 8-7 Federal-Aid Highway Capital Investment Scenarios for 2011 through 2030:
    Derivation, Distribution, and Projected Impacts
                                                                      Sustain   Maintain                               Improve
                                                                       2010   Conditions &            Intermediate   Conditions &
                                                                     Spending Performance            Improvement     Performance
                                                                     Scenario  Scenario                 Scenario       Scenario
   Scenario Derivation, by Input Components1
   Average Annual Investment (Billions of 2010 Dollars)                 $75.8           $67.3           $87.6            $113.7
   HERS-Derived Component (Billions of 2010 Dollars)                    $56.4           $51.1           $67.8             $86.9
   Percent of Scenario Derived from HERS                                74.5%           76.0%           77.4%            76.4%
   Annual Percent Change in HERS Spending                                0.0%           -1.0%            1.7%             4.0%
   Minimum BCR for HERS-Derived Component                                1.92            2.17            1.50              1.00
   NBIAS-Derived Component (Billions of 2010 Dollars)                   $12.5           $10.1           $12.0             $16.6
   Percent of Scenario Derived from NBIAS                               16.5%           15.0%           13.6%            14.6%
   Annual Percent in NBIAS Spending                                      0.0%           -2.1%           -0.4%             2.6%
   Other Component (Billions of 2010 Dollars)                            $6.8            $6.1            $7.9            $10.2
   Percent of Scenario Derived from Other                                9.0%            9.0%            9.0%             9.0%
   Distribution by Capital Improvement Type, Average
   Annual (Billions of 2010 Dollars)
   System Rehabilitation-Highway                                        $30.6           $28.1           $35.6             $43.9
   System Rehabilitation-Bridge                                         $12.5           $10.1           $12.0             $16.6
   System Rehabilitation-Total                                          $43.1           $38.2           $47.5             $60.4
   System Expansion                                                     $25.9           $23.0           $32.2             $43.0
   System Enhancement                                                   $6.8            $6.1            $7.9              $10.2
   Total, All Improvement Types                                         $75.8           $67.3           $87.6            $113.7
   Percent Distribution by Capital Improvement Type
   System Rehabilitation                                                56.9%           56.8%           54.3%            53.2%
   System Expansion                                                     34.1%           34.2%           36.7%            37.8%
   System Enhancement                                                   9.0%            9.0%             9.0%             9.0%
   Projected 2030 Values for Selected Indicators
   Average Bridge Sufficiency Rating                                     83.6               82.0         83.3             84.7
   Percent of VMT on Roads with Good Ride Quality                       64.7%           62.1%           69.5%            75.8%
   Percent of VMT on Roads with Acceptable Ride Quality                 88.1%           86.7%           90.4%            93.4%
   Projected Changes by 2030 Relative to 2010 for
   Selected Indicators
   Percent Change in Average IRI2                                      -11.5%           -7.6%           -18.0%           -26.7%
   Percent Change in Average Delay                                      1.9%            4.3%             -2.4%            -8.0%
   1 Each scenario consists of three separately estimated components. The HERS-derived scenario components are linked directly to

   the analyses presented in Exhibits 7-3 through 7-11 in Chapter 7 that assumed future VMT consistent with HPMS forecasts; the
   NBIAS-derived components are linked directly to the analysis presented in Exhibit 7-17. These components can be cross-referenced
   to those exhibits using the annual percent change in HERS spending or NBIAS spending reflected in this table. The third scenario
   component, identified as "Other," represents types of capital spending beyond those modeled in HERS or NBIAS; each scenario
   assumes that the percentage of total spending on these items in the future will remain the same as in 2010.
   2 Reductions in average pavement roughness (IRI) translate into improved ride quality.

   Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


As shown in Exhibit 8-8, assuming trend-based VMT growth under the Maintain Conditions and
Performance scenario for Federal-aid highways, average IRI and average delay would both remain
unchanged in 2030 relative to 2010. This is a coincidence rather than an outcome forced by the scenario
definition; it is simply the case that the mix of investments identified by HERS as having a BCR of 2.53 or
higher just so happens to result in average IRI and average delay both being maintained. Ordinarily, based
on the scenario definition, one would expect that one of these indicators would improve a little, while the


8-12 Investment/Performance Analysis                                                                                     FHWA002403
Case 5:23-cv-00304-H             Document 15-18                Filed 01/31/24             Page 121 of 534             PageID 2681

       Exhibit 8-8 Federal-Aid Highway Capital Investment Scenarios for 2011 through 2030:
       Derivation, Distribution, and Projected Impacts, Assuming Lower Trend-Based VMT Growth
                                                                         Sustain        Maintain                            Improve
                                                                          2010        Conditions &       Intermediate     Conditions &
                                                                        Spending      Performance       Improvement       Performance
                                                                        Scenario       Scenario            Scenario         Scenario
       Scenario Derivation, by Input Components1
       Average Annual Investment (Billions of 2010 Dollars)                $75.8           $50.3            $73.1              $95.7
       HERS-Derived Component (Billions of 2010 Dollars)                   $56.4           $35.7            $54.6              $70.5
       Percent of Scenario Derived from HERS                              74.5%            70.9%            74.7%              73.7%
       Annual Percent Change in HERS Spending                              0.0%            -4.6%            -0.3%              2.1%
       Minimum BCR for HERS-Derived Component                              1.42             2.53             1.50               1.00
       NBIAS-Derived Component (Billions of 2010 Dollars)                  $12.5           $10.1            $12.0              $16.6
       Percent of Scenario Derived from NBIAS                             16.5%            20.1%            16.3%              17.3%
       Annual Percent in NBIAS Spending                                    0.0%            -2.1%            -0.4%              2.6%
       Other Component (Billions of 2010 Dollars)                          $6.8             $4.5             $6.6               $8.6
       Percent of Scenario Derived from Other                              9.0%            9.0%              9.0%              9.0%
       Distribution by Capital Improvement Type, Average
       Annual (Billions of 2010 Dollars)
       System Rehabilitation-Highway                                       $33.6           $22.6            $32.6              $40.6
       System Rehabilitation-Bridge                                        $12.5           $10.1            $12.0              $16.6
       System Rehabilitation-Total                                         $46.1           $32.7            $44.6              $57.2
       System Expansion                                                    $22.8           $13.1            $22.0              $30.0
       System Enhancement                                                  $6.8             $4.5             $6.6               $8.6
       Total, All Improvement Types                                        $75.8           $50.3            $73.1              $95.7
       Percent Distribution by Capital Improvement Type
       System Rehabilitation                                              60.9%            65.0%            61.0%              59.7%
       System Expansion                                                   30.2%            26.0%            30.0%              31.3%
       System Enhancement                                                  9.0%            9.0%              9.0%              9.0%
       Projected 2030 Values for Selected Indicators
       Average Bridge Sufficiency Rating                                   83.6             82.0             83.3               84.7
       Percent of VMT on Roads with Good Ride Quality                     69.2%            55.8%            68.3%              74.8%
       Percent of VMT on Roads with Acceptable Ride Quality               90.3%            84.0%            89.9%              93.1%
       Projected Changes by 2030 Relative to 2010 for
       Selected Indicators
       Percent Change in Average IRI2                                     -17.7%           0.0%            -16.5%             -25.1%
       Percent Change in Average Delay                                     -7.8%           0.0%             -7.3%             -12.1%
       1 Each scenario consists of three separately estimated components. The HERS-derived scenario components are linked directly to

       the analyses presented in Exhibits 7-3 through 7-11 in Chapter 7 that assumed future VMT consistent with the 15-year trend from
       1995 to 2010; the NBIAS-derived components are linked directly to the analysis presented in Exhibit 7-16. These components can
       be cross-referenced to those exhibits using the annual percent change in HERS spending or NBIAS spending reflected in this table.
       The third scenario component, identified as "Other," represents types of capital spending beyond those modeled in HERS or
       NBIAS; each scenario assumes that the percentage of total spending on these items in the future will remain the same as in 2010.
       2 Reductions in average pavement roughness (IRI) translate into improved ride quality.

       Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


   other would worsen a little. Under the Improve Conditions and Performance scenario assuming trend-
   based VMT growth, the projected reductions in average IRI and average delay per VMT are 25.1 percent
   and 12.1 percent, respectively.
   Spending by Improvement Type and Highway Functional Class
   As in the systemwide scenarios, basing the average rate of VMT growth on trend rather than the HPMS
   forecasts increases the rehabilitation share of spending in each Federal-aid highway scenario. The share ranges

                                                                                                                 FHWA002404
                                                                                           Selected Capital Investment Scenarios           8-13
   Case 5:23-cv-00304-H                  Document 15-18                Filed 01/31/24               Page 122 of 534             PageID 2682

from 53.2 percent in the Improve Conditions and Performance scenario when forecast growth is assumed
(Exhibit 8-7) to 65.0 percent in the Maintain Conditions and Performance scenario when trend growth is
assumed (Exhibit 8-8).
For the forecast VMT growth case, the next four exhibits add highway functional class to the breakdown
of Federal-aid highway spending; Exhibit 8-9, Exhibit 8-10, Exhibit 8-11, and Exhibit 8-12 present the
distribution by improvement type and highway functional class for the Sustain 2010 Spending scenario,

  Exhibit 8-9 Sustain 2010 Spending Scenario for Federal-Aid Highways:
  Distribution of Average Annual Investment for 2011 Through 2030 Compared With Actual 2010
  Spending, by Functional Class and Improvement Type
                Average Annual National Investment on Federal-Aid Highways (Billions of 2010 Dollars)
                                           System Rehabilitation        System          System
             Functional Class         Highway     Bridge       Total   Expansion Enhancement                                    Total
  Rural Arterials and Major Collectors
    Interstate                                  $1.6           $0.9         $2.5            $1.2              $0.4              $4.1
    Other Principal Arterial                    $1.8           $0.8         $2.6            $0.6              $0.7              $3.9
    Minor Arterial                              $1.9           $0.7         $2.7            $0.3              $0.6              $3.6
    Major Collector                             $2.7           $1.1         $3.9            $0.3              $0.4              $4.6
    Subtotal                                    $8.1           $3.5         $11.6           $2.4              $2.2              $16.1
  Urban Arterials and Collectors
    Interstate                                   $5.4          $3.0          $8.4           $10.9             $1.0              $20.3
    Other Freeway and Expressway                 $2.7          $1.2          $3.9            $4.8             $0.7               $9.3
    Other Principal Arterial                     $5.7          $2.2          $7.9            $3.5             $1.5              $12.9
    Minor Arterial                               $6.0          $1.9          $7.9            $2.9             $0.9              $11.8
    Collector                                    $2.7          $0.7          $3.4            $1.4             $0.6               $5.4
    Subtotal                                    $22.5          $9.0         $31.5           $23.5             $4.7              $59.6
  Total, Federal-Aid Highways*                  $30.6         $12.5         $43.1           $25.9             $6.8              $75.8


    Percent Above Actual 2010 Capital Spending on Federal-Aid Highways by All Levels of Government Combined
                                          System Rehabilitation        System          System
           Functional Class           Highway    Bridge       Total   Expansion Enhancement          Total
  Rural Arterials and Major Collectors
    Interstate                                 -65.1%          29.7%        -52.7%         -12.2%             0.0%             -41.5%
    Other Principal Arterial                   -58.0%         -13.9%        -50.5%         -85.9%             0.0%             -62.1%
    Minor Arterial                             -49.3%          -6.3%        -42.1%         -82.4%             0.0%             -48.3%
    Major Collector                            -11.1%          14.8%         -4.9%         -73.3%             0.0%             -18.2%
    Subtotal                                   -48.8%           5.2%        -39.4%         -71.8%             0.0%             -45.8%
  Urban Arterials and Collectors
    Interstate                                  11.5%         -13.2%         1.3%          174.1%             0.0%             53.2%
    Other Freeway and Expressway                36.8%          98.3%        51.3%          132.8%             0.0%             76.2%
    Other Principal Arterial                    20.0%         -20.6%         5.1%          -31.4%             0.0%             -8.7%
    Minor Arterial                              68.1%          41.6%        60.8%           26.9%             0.0%             44.2%
    Collector                                   22.7%         -30.8%         5.8%            0.3%             0.0%              3.7%
    Subtotal                                    29.7%          -1.9%        18.8%           58.3%             0.0%             29.6%
  Total, Federal-Aid Highways*                  -7.7%          0.0%          -5.6%          11.0%             0.0%              0.0%
   * The term "Federal-Aid Highways" refers to those portions of the road network that are generally eligible for Federal funding. Roads
   functionally classified as rural minor collectors, rural local, and urban local are excluded, although some types of Federal program
   funds can be used on such facilities.
   Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



8-14 Investment/Performance Analysis                                                                                         FHWA002405
Case 5:23-cv-00304-H               Document 15-18               Filed 01/31/24              Page 123 of 534              PageID 2683

   the Maintain Conditions and Performance scenario, the Intermediate Improvement scenario, and the
   Improve Conditions and Performance scenario, respectively.
   Moving to a finer level of detail tends to reduce the reliability of simulation results from HERS and
   NBIAS, so the results presented in these exhibits should be viewed with caution. It should also be noted
   that comparing scenario results with actual spending for the single year 2010 may result in some apparent
   anomalies that are primarily attributable to atypical spending patterns for that year influenced in part by
   the Recovery Act, rather than to the model results. Nevertheless, the patterns are strongly suggestive of

     Exhibit 8-10 Maintain Conditions and Performance Scenario for Federal-Aid Highways:
     Distribution of Average Annual Investment for 2011 Through 2030 Compared With Actual 2010 Spending,
     by Functional Class and Improvement Type
                   Average Annual National Investment on Federal-Aid Highways (Billions of 2010 Dollars)
                                              System Rehabilitation        System          System
                Functional Class         Highway     Bridge      Total    Expansion Enhancement                                   Total
     Rural Arterials and Major Collectors
        Interstate                                 $1.5          $0.7          $2.2           $1.1              $0.4              $3.8
        Other Principal Arterial                   $1.7          $0.7          $2.4           $0.6              $0.6              $3.5
        Minor Arterial                             $1.7          $0.6          $2.4           $0.3              $0.5              $3.2
        Major Collector                            $2.4          $1.0          $3.3           $0.2              $0.4               $4.0
        Subtotal                                   $7.3          $3.0          $10.3          $2.2              $1.9              $14.4
     Urban Arterials and Collectors
        Interstate                                 $5.1          $2.4          $7.6           $9.8              $0.9              $18.2
        Other Freeway and Expressway               $2.5          $1.1          $3.6           $4.3              $0.6               $8.5
        Other Principal Arterial                   $5.1          $1.7          $6.8           $3.1              $1.4              $11.2
        Minor Arterial                             $5.6          $1.4          $7.0           $2.5              $0.8              $10.3
        Collector                                  $2.4          $0.5          $3.0           $1.2              $0.5               $4.7
        Subtotal                                   $20.8         $7.1          $27.9          $20.8             $4.1              $52.8
     Total, Federal-Aid Highways*                  $28.1         $10.1         $38.2          $23.0             $6.1              $67.3


      Percent Above Actual 2010 Capital Spending on Federal-Aid Highways by All Levels of Government Combined
                                            System Rehabilitation        System         System
              Functional Class          Highway    Bridge      Total   Expansion Enhancement          Total
     Rural Arterials and Major Collectors
        Interstate                                -66.5%         4.9%         -57.1%         -14.8%            -11.2%            -46.0%
        Other Principal Arterial                  -62.2%        -20.2%        -55.1%         -86.9%            -11.2%            -65.6%
        Minor Arterial                            -54.6%        -17.9%        -48.5%         -84.8%            -11.2%            -54.1%
        Major Collector                           -23.2%         1.3%         -17.3%         -80.2%            -11.2%            -29.4%
        Subtotal                                  -54.0%         -8.2%        -46.0%         -74.1%            -11.2%            -51.5%
     Urban Arterials and Collectors
        Interstate                                  5.5%        -29.1%         -8.9%         145.7%            -11.2%            37.4%
        Other Freeway and Expressway               27.8%        73.0%          38.5%         110.2%            -11.2%            59.8%
        Other Principal Arterial                    8.7%        -39.9%         -9.2%         -40.7%            -11.2%            -20.8%
        Minor Arterial                             58.0%         1.5%          42.3%          9.4%             -11.2%            26.8%
        Collector                                   9.2%        -49.0%         -9.2%         -10.9%            -11.2%             -9.9%
        Subtotal                                   20.1%        -23.3%          5.1%          40.6%            -11.2%             14.9%
     Total, Federal-Aid Highways*                 -15.2%        -19.3%        -16.3%          -1.1%            -11.2%            -11.2%
      * The term "Federal-Aid Highways" refers to those portions of the road network that are generally eligible for Federal funding. Roads
      functionally classified as rural minor collectors, rural local, and urban local are excluded, although some types of Federal program
      funds can be used on such facilities.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


                                                                                                                   FHWA002406
                                                                                             Selected Capital Investment Scenarios            8-15
   Case 5:23-cv-00304-H                  Document 15-18                Filed 01/31/24              Page 124 of 534              PageID 2684

certain directions in which spending patterns would need to change for scenario goals to be realized. The
scenarios can feature shifts in spending across highway functional classes and in highway spending between
rehabilitation and expansion because the modeling frameworks determine allocations through benefit-
cost optimization. Salient patterns common to all the scenarios and illustrations from particular scenarios
include:
 Rural spending decreases relative to 2010. In the Sustain 2010 Spending scenario, total spending
   remains at the 2010 level, but spending on rural highways averages 45.8 percent less than the 2010

  Exhibit 8-11 Intermediate Improvement Scenario for Federal-Aid Highways:
  Distribution of Average Annual Investment for 2011 Through 2030, Compared With Actual 2010 Spending,
  by Functional Class and Improvement Type
                Average Annual National Investment on Federal-Aid Highways (Billions of 2010 Dollars)
                                           System Rehabilitation        System          System
             Functional Class         Highway     Bridge      Total    Expansion Enhancement                                    Total
   Rural Arterials and Major Collectors
     Interstate                                  $1.7          $0.8         $2.5            $1.2              $0.5             $4.3
     Other Principal Arterial                    $2.3          $0.8         $3.1            $0.7              $0.8             $4.6
     Minor Arterial                              $2.3          $0.7         $3.0            $0.4              $0.7             $4.1
     Major Collector                             $3.6          $1.1         $4.7            $0.4              $0.5             $5.6
     Subtotal                                    $9.9          $3.4         $13.3           $2.7              $2.5             $18.6
   Urban Arterials and Collectors
     Interstate                                 $6.0           $2.9         $8.9           $13.2              $1.1             $23.2
     Other Freeway and Expressway               $3.1           $1.2         $4.2            $6.1              $0.8             $11.1
     Other Principal Arterial                   $6.8           $2.1         $8.9            $4.6              $1.8             $15.2
     Minor Arterial                             $6.5           $1.8         $8.3            $3.7              $1.1             $13.1
     Collector                                  $3.2           $0.7         $3.9            $1.8              $0.6              $6.4
     Subtotal                                   $25.7          $8.6         $34.2          $29.4              $5.4             $69.0
   Total, Federal-Aid Highways*                 $35.6         $12.0         $47.5          $32.2              $7.9              $87.6


    Percent Above Actual 2010 Capital Spending on Federal-Aid Highways by All Levels of Government Combined
                                          System Rehabilitation        System         System
            Functional Class          Highway    Bridge      Total   Expansion Enhancement          Total
   Rural Arterials and Major Collectors
     Interstate                                 -62.7%        22.1%         -51.5%          -8.1%            15.6%             -38.9%
     Other Principal Arterial                   -47.3%        -14.9%        -41.8%         -82.8%            15.6%             -55.3%
     Minor Arterial                             -39.7%         -8.2%        -34.5%         -78.2%            15.6%             -40.8%
     Major Collector                            17.7%         12.3%         16.4%          -65.5%            15.6%              0.0%
     Subtotal                                   -37.2%          2.2%        -30.4%         -67.7%            15.6%             -37.7%
   Urban Arterials and Collectors
     Interstate                                 23.4%         -16.0%         7.1%         233.2%             15.6%             75.7%
     Other Freeway and Expressway               56.0%         90.4%         64.2%         196.8%             15.6%            109.1%
     Other Principal Arterial                   43.6%         -25.0%        18.3%         -11.0%             15.6%              7.4%
     Minor Arterial                             84.5%          30.9%        69.6%          61.8%             15.6%             61.1%
     Collector                                  45.8%         -35.7%        19.9%          34.5%             15.6%             23.3%
     Subtotal                                   48.0%          -6.9%        29.0%          98.6%             15.6%             50.1%
   Total, Federal-Aid Highways*                  7.4%         -4.5%          4.1%          38.1%             15.6%             15.6%
   * The term "Federal-Aid Highways" refers to those portions of the road network that are generally eligible for Federal funding. Roads
   functionally classified as rural minor collectors, rural local, and urban local are excluded, although some types of Federal program
   funds can be used on such facilities.
   Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



8-16 Investment/Performance Analysis                                                                                         FHWA002407
Case 5:23-cv-00304-H             Document 15-18                Filed 01/31/24             Page 125 of 534               PageID 2685

      level, whereas spending on urban highways averages 29.6 percent more (Exhibit 8-9). The rural share
      of spending in this scenario would be 21.3 percent ($16.1 billion out of $75.8 billion), compared to
      39.3 percent in 2010. Even in the Improve Conditions and Performance scenario, which funds all
      projects that appear to be cost-beneficial without consideration of funding constraints, spending on rural
      highways averages 21.0 percent less than in 2010 (Exhibit 8-12).

      Exhibit 8-12 Improve Conditions and Performance Scenario for Federal-Aid Highways:
      Distribution of Average Annual Investment for 2011 Through 2030 Compared With Actual 2010 Spending,
      by Functional Class and Improvement Type
                   Average Annual National Investment on Federal-Aid Highways (Billions of 2008 Dollars)
                                             System Rehabilitation        System           System
              Functional Class           Highway   Bridge       Total    Expansion Enhancement                                    Total
      Rural Arterials and Major Collectors
        Interstate                               $1.9           $1.1         $2.9             $1.4              $0.7              $5.0
        Other Principal Arterial                 $2.9           $0.8         $3.7             $1.0              $1.0              $5.7
        Minor Arterial                           $3.2           $0.8         $4.0             $0.4              $0.9              $5.3
        Major Collector                          $5.1           $1.2         $6.3             $0.5              $0.7              $7.5
        Subtotal                                 $13.1          $3.9         $17.0            $3.3              $3.2              $23.5
      Urban Arterials and Collectors
        Interstate                                $6.6          $3.7         $10.3           $16.3              $1.4             $28.0
        Other Freeway and Expressway              $3.7          $1.5          $5.2            $8.0              $1.0              $14.2
        Other Principal Arterial                  $8.7          $3.2         $11.9            $7.4              $2.3              $21.6
        Minor Arterial                            $7.6          $3.1         $10.8            $5.4              $1.4              $17.6
        Collector                                 $4.1          $1.2          $5.3            $2.7              $0.8               $8.8
        Subtotal                                 $30.8         $12.7         $43.5           $39.7              $7.0             $90.2
      Total, Federal-Aid Highways*               $43.9         $16.6         $60.4           $43.0              $10.2            $113.7

      Percent Above Actual 2010 Capital Spending on Federal-Aid Highways by All Levels of Government Combined
                                             System Rehabilitation       System         System
              Functional Class           Highway   Bridge       Total  Expansion Enhancement          Total
      Rural Arterials and Major Collectors
        Interstate                               -58.3%        55.4%         -43.4%           3.1%              50.1%            -28.5%
        Other Principal Arterial                 -33.1%        -11.4%        -29.4%          -77.4%             50.1%            -44.5%
        Minor Arterial                           -17.6%         2.8%         -14.2%          -73.9%             50.1%            -23.2%
        Major Collector                          66.6%         24.8%         56.5%           -54.2%             50.1%            33.9%
        Subtotal                                 -17.1%         16.2%        -11.3%          -60.9%             50.1%            -21.0%
      Urban Arterials and Collectors
       Interstate                               36.3%           6.8%          24.1%          309.0%             50.1%            111.6%
       Other Freeway and Expressway             85.2%         148.9%         100.2%          289.9%             50.1%            166.9%
       Other Principal Arterial                 84.1%          17.6%          59.6%           44.0%             50.1%             52.9%
       Minor Arterial                           115.6%        129.7%         119.5%          135.9%             50.1%            116.1%
       Collector                                86.1%         13.6%          63.1%           95.0%              50.1%            70.1%
       Subtotal                                  77.5%         38.4%          64.0%          167.9%             50.1%             96.1%
      Total, Federal-Aid Highways*               32.4%         32.5%          32.4%           84.7%             50.1%             50.1%
      * The term "Federal-Aid Highways" refers to those portions of the road network that are generally eligible for Federal funding. Roads
      functionally classified as rural minor collectors, rural local, and urban local are excluded, although some types of Federal program
      funds can be used on such facilities.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.




                                                                                                                  FHWA002408
                                                                                            Selected Capital Investment Scenarios             8-17
   Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24       Page 126 of 534         PageID 2686

 Urban spending increases relative to 2010. Even in the Maintain Conditions and Performance
   scenario, where average annual spending is 11.2 percent lower than base-year 2010 spending overall, total
   spending on urban highways is 14.9 percent higher (Exhibit 8-10).
 For rural highways, the system rehabilitation share of spending increases relative to 2010. In the
   Intermediate Improvement scenario, relative to base-year levels, spending on rural rehabilitation
   decreases 30.4 percent, but spending on rural expansion decreases proportionally more than twice as
   much, by 67.7 percent (Exhibit 8-11). As a result, the rehabilitation share of rural spending increases
   from 64.3 percent in the base year to 71.8 percent in the scenario.
 For urban highways, the system expansion share of spending increases on urban highways relative to
   2010. In the Improve Conditions and Performance scenario, spending on urban system expansion
   increases 64.0 percent relative to base-year levels, but urban expansion spending increases more than
   twice as much, by 167.9 percent (Exhibit 8-12). As a result, system expansion’s share of urban spending
   increases from 32.2 percent in 2010 to 44.0 percent under this scenario.
The exhibits also display some striking patterns for individual highway functional classes. For example, the
scenarios significantly increase the share of rural highway rehabilitation spending that is allocated to rural
major collectors. In the Improve Conditions and Performance scenario, for instance, relative to levels
in 2010, spending on rural highway rehabilitation averages 17.1 percent lower, while the portion of this
spending allocated to rural major collectors averages 66.1 percent higher (Exhibit 8-12). This and other eye-
catching results for individual functional classes reflect features of the models and databases used to simulate
the scenarios, as well as investment patterns in 2010 that may or may not continue in the future. In the
case of rural major collectors, the increase in this class’ share of rehabilitation spending on rural highways
stems partly from pavements being rougher on this class than on other rural highway classes, as discussed in
Chapter 3.
Suggestive though these patterns are from a policy perspective, some caveats apply. Importantly, differences
between spending shares in the scenario for 2011 through 2030 and corresponding spending shares in 2010
do not necessarily indicate misallocations of actual capital spending. Apart from the errors that may result
from limitations of the HERS and NBIAS models and the associated databases, two other considerations
argue for caution. First, the actual distribution of expenditures among improvement types and functional
classes varies from year to year, and 2010 may be atypical in some respects. Second, even if annual highway
and bridge investment were to continue on average at the 2010 level, changing circumstances would alter the
economically optimal distribution of this spending. The actual distribution in 2010 could, therefore, make
perfect economic sense and still differ significantly from the economically optimal distribution over the
following 20 years.
Moreover, these results pertain only to Federal-aid highways. The rural shares of spending are relatively
modest partly because rural minor collectors (along with rural local and urban local roads) are not classified
as such. As discussed in Chapter 2, while Federal-aid highways carry over five-sixths of total VMT, they
account for less than one-quarter of total mileage. The system rehabilitation needs on the remaining three-
quarters of total mileage are significant.

Scenarios for the National Highway System and the Interstate Highway
System
Since the effects of differences in VMT growth have already been revealed in the scenarios for Federal-aid
highways, only the forecast rate of growth is considered in the scenarios for the NHS (Exhibit 8-13) and the
Interstate Highway System (Exhibit 8-14). All these scenarios are derived in the same way, and the only non-
modeled spending component is system enhancements, which, in 2010, accounted for slightly smaller shares
of spending on the NHS and Interstate Highway Systems than on all Federal-aid highways.


8-18 Investment/Performance Analysis                                                               FHWA002409
Case 5:23-cv-00304-H              Document 15-18                  Filed 01/31/24             Page 127 of 534               PageID 2687

      Exhibit 8-13 NHS Capital Investment Scenarios for 2011 through 2030:
      Derivation, Distribution, and Projected Impacts
                                                                            Sustain   Maintain                              Improve
                                                                             2010   Conditions &             Intermediate Conditions &
                                                                           Spending Performance             Improvement Performance
                                                                           Scenario  Scenario                  Scenario    Scenario
      Scenario Derivation, by Input Components1, 2
      Average Annual Investment (Billions of 2010 Dollars)                   $53.9            $37.8              $58.8              $74.9
      HERS-Derived Component (Billions of 2010 Dollars)                      $40.6            $27.9              $45.9              $58.1
      Percent of Scenario Derived from HERS                                  75.3%           73.7%              78.1%              77.5%
      Annual Percent Change in HERS Spending                                  0.0%            -3.7%              1.2%               3.3%
      Minimum BCR for HERS-Derived Component                                  1.78             2.73              1.50               1.00
      NBIAS-Derived Component (Billions of 2010 Dollars)                      $8.7             $6.7              $7.9               $10.5
      Percent of Scenario Derived from NBIAS                                 16.2%           17.8%              13.4%              14.0%
      Annual Percent in NBIAS Spending                                        0.0%            -2.5%              -1.0%              1.7%
      Other Component (Billions of 2010 Dollars)                              $4.6             $3.2              $5.0               $6.4
      Percent of Scenario Derived from Other                                  8.5%            8.5%               8.5%               8.5%
      Distribution by Capital Improvement Type, Average
      Annual (Billions of 2010 Dollars)2
      System Rehabilitation-Highway                                          $18.1            $13.2              $20.0              $24.0
      System Rehabilitation-Bridge                                           $8.7             $6.7               $7.9               $10.5
      System Rehabilitation-Total                                            $26.9            $20.0              $27.9              $34.5
      System Expansion                                                       $22.4            $14.6              $25.9              $34.1
      System Enhancement                                                     $4.6             $3.2               $5.0               $6.4
      Total, All Improvement Types                                           $53.9            $37.8              $58.8              $74.9
      Percent Distribution by Capital Improvement Type2
      System Rehabilitation                                                  49.9%           52.8%              47.4%              46.0%
      System Expansion                                                       41.6%           38.7%              44.1%              45.5%
      System Enhancement                                                      8.5%            8.5%               8.5%               8.5%
                                                              2
      Projected 2030 Values for Selected Indicators
      Average Bridge Sufficiency Rating                                       84.1             82.5              83.6               84.7
      Percent of VMT on Roads with Good Ride Quality                         80.2%           67.7%              83.5%              89.6%
      Percent of VMT on Roads with Acceptable Ride Quality                   93.9%           90.5%              94.9%              96.7%
      Projected Changes by 2030 Relative to 2010 for
      Selected Indicators2
      Percent Change in Average IRI3                                        -23.7%            -8.4%             -27.7%             -35.3%
      Percent Change in Average Delay                                        -5.9%            6.7%              -10.2%             -18.3%
      1 Each scenario consists of three separately estimated components. The HERS-derived scenario components are linked directly to

      the analyses presented in Exhibits 7-12 through 7-13 in Chapter 7 that assumed future VMT consistent with HPMS forecasts; the
      NBIAS-derived components are linked directly to the analysis presented in Exhibit 7-18. These components can be cross-
      referenced to those exhibits using the annual percent change in HERS spending or NBIAS spending reflected in this table. The third
      scenario component, identified as "Other," represents types of capital spending beyond those modeled in HERS or NBIAS; each
      scenario assumes that the percentage of total spending on these items in the future will remain the same as in 2010.
      2 The NHS statistics presented in this chapter are intended to approximate the NHS as it will exist after its expansion directed by

      MAP-21, not the NHS as it existed in 2010.
      3 Reductions in average pavement roughness (IRI) translate into improved ride quality.

      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.




                                                                                                                    FHWA002410
                                                                                              Selected Capital Investment Scenarios         8-19
   Case 5:23-cv-00304-H                  Document 15-18                Filed 01/31/24               Page 128 of 534         PageID 2688

  Exhibit 8-14 Interstate System Capital Investment Scenarios for 2011 through 2030:
  Derivation, Distribution, and Projected Impacts
                                                                       Sustain   Maintain                             Improve
                                                                        2010   Conditions &            Intermediate Conditions &
                                                                      Spending Performance            Improvement Performance
                                                                      Scenario  Scenario                 Scenario    Scenario
  Scenario Derivation, by Input Components1
  Average Annual Investment (Billions of 2010 Dollars)                   $20.2              $17.4        $27.8            $33.1
  HERS-Derived Component (Billions of 2010 Dollars)                      $14.7              $12.9        $22.2            $26.2
  Percent of Scenario Derived from HERS                                 72.7%           74.1%            79.6%            78.9%
  Annual Percent Change in HERS Spending                                 0.0%               -1.3%        3.8%              5.2%
  Minimum BCR for HERS-Derived Component                                  2.72              2.84          1.50             1.00
  NBIAS-Derived Component (Billions of 2010 Dollars)                      $4.1              $3.3          $3.7             $4.7
  Percent of Scenario Derived from NBIAS                                20.4%           18.9%            13.4%            14.1%
  Annual Percent in NBIAS Spending                                       0.0%               -2.2%        -0.9%             1.2%
  Other Component (Billions of 2010 Dollars)                              $1.4              $1.2          $1.9             $2.3
  Percent of Scenario Derived from Other                                 6.9%               6.9%         6.9%              6.9%
  Distribution by Capital Improvement Type, Average
  Annual (Billions of 2010 Dollars)
  System Rehabilitation-Highway                                           $5.8              $5.3          $7.7             $8.5
  System Rehabilitation-Bridge                                            $4.1              $3.3          $3.7             $4.7
  System Rehabilitation-Total                                             $9.9              $8.6         $11.4            $13.2
  System Expansion                                                        $8.9              $7.6         $14.5            $17.6
  System Enhancement                                                      $1.4              $1.2         $1.9             $2.3
  Total, All Improvement Types                                           $20.2              $17.4        $27.8            $33.1
  Percent Distribution by Capital Improvement Type
  System Rehabilitation                                                 49.0%           49.3%            41.0%            39.8%
  System Expansion                                                      44.1%           43.8%            52.0%            53.3%
  System Enhancement                                                     6.9%               6.9%         6.9%             6.9%
  Projected 2030 Values for Selected Indicators
  Average Bridge Sufficiency Rating                                       84.0              82.3          83.4             84.5
  Percent of VMT on Roads with Good Ride Quality                        80.3%           76.8%            90.8%            94.2%
  Percent of VMT on Roads with Acceptable Ride Quality                  96.2%           95.4%            98.9%            99.6%
  Projected Changes by 2030 Relative to 2010 for
  Selected Indicators
  Percent Change in Average IRI2                                        -12.7%              -6.5%        -28.2%          -32.9%
  Percent Change in Average Delay                                        1.0%           10.1%            -27.3%          -39.5%
   1 Each scenario consists of three separately estimated components. The HERS-derived scenario components are linked directly to

   the analyses presented in Exhibits 7-14 through 7-15 in Chapter 7 that assumed future VMT consistent with HPMS forecasts; the
   NBIAS-derived components are linked directly to the analysis presented in Exhibit 7-19. These components can be cross-referenced
   to those exhibits using the annual percent change in HERS spending or NBIAS spending reflected in this table. The third scenario
   component, identified as "Other," represents types of capital spending beyond those modeled in HERS or NBIAS; each scenario
   assumes that the percentage of total spending on these items in the future will remain the same as in 2010.
   2 Reductions in average pavement roughness (IRI) translate into improved ride quality.

   Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.




8-20 Investment/Performance Analysis                                                                                    FHWA002411
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24        Page 129 of 534         PageID 2689

   Comparison of these scenarios with the Federal-aid highway scenarios reveals several patterns of interest:
    The shares of spending directed to system rehabilitation are smaller, particularly in the Interstate
     Highway System scenarios, than in the Federal-aid highway scenarios. In the Improve Conditions and
     Performance scenario, the rehabilitation share is 53.2 percent when the scenario relates to Federal-aid
     highways (Exhibit 8-7) and 39.8 percent when it relates to Interstate highways (Exhibit 8-14).
    In the Maintain Conditions and Performance scenario, future annual spending on Interstate highways
     averages $17.4 billion when the scenario concerns only those highways versus $22.0 billion ($3.8 billion
     plus $18.2 billion from Exhibit 8-10) when it considers all Federal-aid highways. In combination,
     HERS and NBIAS found that the most cost-effective way to maintain overall system conditions and
     performance would be, on average, to improve them somewhat on the Interstate System, and to let
     them deteriorate somewhat on non-Interstate routes. Similarly, in the Sustain 2010 Spending scenario,
     future annual spending on Interstate highways averages $20.2 billion versus $24.4 billion ($4.1 billion
     plus $20.3 billion from Exhibit 8-9) when it considers all Federal-aid highways. This again suggests
     that an economically driven approach to investment in highways and bridges would favor the Interstate
     highways.
    Projected changes between 2010 and 2030 in average pavement roughness and average delay are more
     favorable in these scenarios than in those for Federal-aid highways. In the Improve Conditions and
     Performance scenario, when the scenario concerns only Interstate highways, the average IRI is projected
     to decrease by 32.9 percent and average delay by 39.5 percent; when the focus extends to all Federal-aid
     highways, the reductions are 26.7 percent and 8.0 percent (Exhibit 8-7). By design, no matter which
     set of roads is the focus, the Maintain Conditions and Performance scenario projections indicate no
     unambiguous improvement or deterioration in conditions and performance. The projected outcomes
     for the bridge condition indices also appear relatively invariant to changes in focus among Federal-aid
     highways, the NHS, and Interstate highways.

                     Highway and Bridge Investment Backlog
   The investment backlog represents all highway and bridge improvements that could be economically
   justified for immediate implementation, based solely on the current conditions and operational performance
   of the highway system (without regard to potential future increases in VMT or potential future physical
   deterioration of infrastructure assets). Conceptually, the backlog represents a subset of the investment levels
   reflected in the Improve Conditions and Performance scenario, which addresses the existing backlog as
   well as additional projected pavement, bridge, and capacity needs that may arise over the next 20 years.
   Exhibit 8-15 presents an estimate of the backlog in 2010 for the types of capital improvements that are
   modeled in HERS and NBIAS, plus an adjustment factor for nonmodeled capital improvement types. The
   portion of the backlog derived from NBIAS amounts to $106.4 billion in spending on bridge rehabilitation.
   The portion derived from HERS, $598.6 billion, is much larger and represents the pool of cost-beneficial
   investments in system expansion and pavement improvements based solely on conditions and performance
   in 2010.
   Of the estimated $808.2 total backlog, approximately $189.4 billion (23.4 percent) is on the Interstate
   Highway System and $441.4 billion (54.6 percent) is on the NHS (which includes the Interstate Highway
   System). Approximately 59.3 percent ($479.1 billion) of the total backlog is attributable to system
   rehabilitation needs, while the remainder is mainly associated with system expansion improvements to
   address existing capacity deficiencies. The share of the total backlog attributable to system rehabilitation
   is progressively lower for Federal-aid highways (60.6 percent), the NHS (56.8 percent), and the Interstate
   Highway System (47.4 percent).


                                                                                                FHWA002412
                                                                          Selected Capital Investment Scenarios   8-21
   Case 5:23-cv-00304-H                Document 15-18               Filed 01/31/24            Page 130 of 534             PageID 2690


    Exhibit 8-15 Estimated Highway and Bridge Investment Backlog as of 2010
                                                                (Billions of 2010 Dollars)
                                                                                         System                         Percent
                                             System Rehabilitation              System Enhance-                           of
          System Component               Highway    Bridge      Total          Expansion  ment*             Total        Total
   Federal-Aid Highways—Rural              $57.3     $28.4      $85.7              $8.8   $17.4            $111.9        13.9%
   Federal-Aid Highways—Urban             $236.5     $58.5    $294.9             $184.0   $37.6            $516.5        63.9%
   Federal-Aid Highways—Total             $293.8     $86.8    $380.6             $192.9   $55.0            $628.5        77.8%
   Non-Federal-Aid Highways*               $78.9     $19.6      $98.5             $33.1   $48.2            $179.8        22.2%
   All Roads*                             $372.7    $106.4    $479.1             $225.9  $103.1            $808.2       100.0%
   Interstate Highway System               $59.4     $30.4      $89.8             $86.4   $13.1            $189.4        23.4%
   National Highway System                $191.3     $59.2    $250.6             $153.4   $37.4            $441.4        54.6%
    * Italicized values are estimates for those system components and capital improvement types not modeled in HERS or NBIAS,
    such as system enhancements, as well as pavement and expansion improvements to roads functionally classified as rural minor
    collector, rural local, or urban local, for which HPMS data are not available to support an HERS analysis.
    Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



The $808.2 billion estimated backlog is heavily weighted toward urban areas; approximately 63.9 percent
of this total is attributable to Federal-aid highways in urban areas. As noted in Chapter 3, average pavement
ride quality on Federal-aid highways in 2008 was worse in urban areas than rural areas; urban areas also face
relatively greater problems with congestion and functionally obsolete bridges than do rural areas.
It should be noted that the $808.2-billion backlog is considerably higher than that presented in previous
C&P reports because it includes $215.1 billion for the types of capital improvements that are not modeled
in HERS or NBIAS; nonmodeled investment types were previously excluded.




8-22 Investment/Performance Analysis                                                                                   FHWA002413
Case 5:23-cv-00304-H               Document 15-18             Filed 01/31/24     Page 131 of 534          PageID 2691



       Selected Transit Capital Investment Scenarios

   While Chapter 7 considered the impacts of varying levels of capital investment on transit conditions and
   performance, this chapter provides in-depth analysis of four specific investment scenarios, as outlined
   below in Exhibit 8-16. The Sustain 2010 Spending scenario assesses the impact of sustaining current
   expenditure levels on asset conditions and system performance over the next 20-year period. Given that
   current expenditure rates are generally less than are required to maintain current condition and performance
   levels, this scenario reflects the magnitude of the expected declines in conditions and performance given
   maintenance of current capital investment rates. The state of good repair (SGR) benchmark considers the
   level of investment required to eliminate the existing capital investment backlog as well as the condition and
   performance impacts of doing so. In contrast to the other scenarios considered here, the SGR benchmark
   only considers the preservation needs of existing transit assets (with no consideration of expansion
   requirements). Moreover, this is the only scenario that does not require that investments pass the Transit
   Economic Requirements Model’s (TERM’s) benefit-cost test (hence, this scenario brings all assets to an
   SGR regardless of TERM’s assessment of whether reinvestment is warranted). Finally, the Low Growth and
   High Growth scenarios both assess the required levels of reinvestment to (1) preserve existing transit assets
   at a condition rating of 2.5 or higher and (2) expand transit service capacity to support differing levels of
   ridership growth while passing TERM’s benefit-cost test.


     Exhibit 8-16 2010 C&P Analysis Scenarios for Transit

                                                                                 Low Growth
        Scenario                                                             (MPO Projected             High Growth
         Aspect           Sustain 2010 Spending             SGR                  Growth)            (Historical Growth)
      Description         Sustain preservation   Level of investment to  Preserve existing assets Preserve existing assets
                          and expansion spending attain and maintain SGR and expand asset base and expand asset base
                          at current levels over over next 20 years (no to support MPO            to support historical rate
                          next 20 years          assessment of           projected ridership      of ridership growth
                                                 expansion needs)        growth (about 1.4%)      (2.2% between 1995
                                                                                                  and 2010)
      Objective           Assess impact of        Requirements to attain    Assess unconstrained    Assess unconstrained
                          constrained funding on SGR (as defined by         preservation and        preservation and
                          condition, SGR backlog, assets in condition 2.5   capacity expansion      capacity expansion
                          and ridership capacity  or better)                needs assuming low      needs assuming high
                                                                            ridership growth        ridership growth
      Apply Benefit-                 Yes1                       No                   Yes                      Yes
      Cost Test?
      Preservation?                  Yes2                      Yes2                  Yes2                    Yes2
      Expansion?                     Yes                        No                   Yes                     Yes
     1 To prioritize investments under constrained funding.

     2 Replace at condition 2.5.




   Exhibit 8-17 summarizes the analysis results for each of these scenarios. It should be noted that each of the
   scenarios presented in Exhibit 8-17 imposes the same asset condition replacement threshold (i.e., assets are
   replaced at condition rating 2.5 when there is sufficient budget to do so) when assessing transit reinvestment
   needs. Hence, the differences in the total preservation expenditure amounts across each of these scenarios
   primarily reflect the impact of either (1) an imposed budget constraint (Sustain 2010 Spending scenario)


                                                                                                        FHWA002414
                                                                                  Selected Capital Investment Scenarios    8-23
   Case 5:23-cv-00304-H                   Document 15-18        Filed 01/31/24        Page 132 of 534         PageID 2692

or (2) application of TERM’s benefit-cost test (the SGR benchmark does not apply the benefit-cost test). A
brief review of Exhibit 8-17 reveals the following:
 Sustain 2010 Spending Scenario: Total spending under this scenario is well below that of each of the
   other needs-based scenarios, indicating that sustaining recent spending levels is insufficient to attain the
   investment objectives of the SGR, Low Growth, or High Growth scenarios (suggesting future increases
   in the size of the SGR backlog and a likely increase in the number of transit riders per peak vehicle—
   including an increased incidence of crowding—in the absence of increased expenditures).
 SGR Benchmark: The level of expenditures required to attain and maintain an SGR over the upcoming
   20-year period—which covers preservation needs but excludes any expenditures on expansion
   investments—is 12 percent higher than that currently expended on asset preservation and expansion
   combined.
 Low and High Growth Scenarios: The level of investment to address expected preservation and expansion
   needs is estimated to be roughly 33 percent to 49 percent higher than currently expended by the Nation’s
   transit operators. Preservation and expansion needs are highest for urbanized areas (UZAs) exceeding
   1 million in population.
The following subsections present more detailed assessments of each scenario.

  Exhibit 8-17 Annual Average Cost by Investment Scenario (2010–2030)
                                                              Investment Projection (Billions of 2010 Dollars)
                    Mode, Purpose,                     Sustain 2010                         Low             High
                    and Asset Type                      Spending          SGR             Growth           Growth
   Urbanized Areas Over 1 Million in Population1
   Nonrail2
     Preservation                                     $2.9                   $4.6            $4.2            $4.2
     Expansion                                        $1.2                   $0.0            $1.2            $2.1
        Subtotal Nonrail3                             $4.1                   $4.6            $5.4            $6.3
   Rail
     Preservation                                     $6.3                 $11.4           $11.0            $11.1
     Expansion                                        $4.2                  $0.0            $2.9             $4.0
        Subtotal Rail3                               $10.5                 $11.4           $13.9            $15.1
     Total, Over 1 Million in Population3            $14.6                 $16.0           $19.3            $21.4
   Urbanized Areas Under 1 Million in Population and Rural
   Nonrail2
     Preservation                                     $1.1                   $2.2            $1.9            $1.9
     Expansion                                        $0.6                   $0.0            $0.5            $1.0
        Subtotal Nonrail3                             $1.7                   $2.2            $2.4            $2.9
   Rail
     Preservation                                     $0.0                  $0.3            $0.2             $0.2
     Expansion                                        $0.2                  $0.0            $0.0             $0.0
        Subtotal Rail3                                $0.2                  $0.3            $0.2             $0.2
                                      3
     Total, Under 1 Million and Rural                 $1.9                  $2.5            $2.7             $3.1
   Total3                                            $16.5                 $18.5           $22.0            $24.5
    1 Includes 37 different urbanized areas.

    2 Buses, vans, and other (including ferryboats).

    3 Note that totals may not sum due to rounding.

    Source: Transit Economic Requirements Model.




8-24 Investment/Performance Analysis                                                                       FHWA002415
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 133 of 534                PageID 2693

                             Sustain 2010 Spending Scenario
   In 2010, as reported by transit agencies to the National Transit Database (NTD), transit operators spent
   a total of $16.5 billion on capital projects (see Exhibit 7-20 and the corresponding discussion in Chapter
   7). Of this amount, $10.3 billion was dedicated to the preservation of existing assets while the remaining
   $6.2 billion was dedicated to investment in asset expansion, both to support ongoing ridership growth and
   to improve service performance. This Sustain 2010
   Spending scenario considers the expected impact            Exhibit 8-18 Annual Transit Capital Expenditures,
   on the long-term physical conditions and service           2004 to 2010
   performance of the Nation’s transit infrastructure         (Billions of Current-Year Dollars)
   if these 2010 expenditure levels are sustained in               Year     Preservation Expansion      Total
   constant dollar terms through 2030. Similar to the              2004         $9.4          $3.2      $12.6
   discussion in Chapter 7, the analysis considers the             2005         $9.0          $2.9      $11.8
   impacts of asset preservation investments separately            2006         $9.3          $3.5      $12.8
   from those of asset expansion.                                  2007         $9.6          $4.0      $13.6
   Capital Expenditures for 2010. As reported to                2008            $11.0             $5.1          $16.1
   the NTD, the level of transit capital expenditures           2009            $11.3             $5.3          $16.6
   peaked in 2009 at $16.6 billion and experienced              2010            $10.3             $6.2          $16.5
   a slight decrease in 2010 to $16.5 billion. (See           Average           $10.0             $4.3          $14.3
   Exhibit 8-18.) Although the annual transit capital               Expenditures 2004 to 2010 in 2010 Dollars
   expenditures averaged $14.3 billion from 2004 to           Average           $10.5             $4.5          $15.0
   2010, expenditures averaged $16.4 billion in the        Source: National Transit Database.
   last three years of NTD reporting. Furthermore,
   even though capital expenditures for preservation
   purposes in 2010 decreased $1.0 billion relative to     Exhibit 8-19 Sustain 2010 Spending Scenario:
   prior year levels, capital expenditures for expansion   Average Annual Investment by Asset Type,
   purposes increased $0.9 billion in 2010.                2010–2030 (Billions of 2010 Dollars)
                                                                                      Investment Category
   TERM’s Funding Allocation. The following                 Asset Type              Preservation Expansion       Total
   analysis of the Sustain 2010 Spending scenario relies    Rail
   on TERM’s allocation of 2010-level preservation          Guideway Elements             $1.2           $1.2     $2.4
   and expansion expenditures to the Nation’s existing      Facilities                    $0.0           $0.1     $0.1
   transit operators, their modes, and their assets         Systems                       $2.3           $0.2     $2.5
   over the upcoming 20-year period as depicted             Stations                      $0.4           $0.6     $1.1
   in Exhibit 8-19. As with other TERM analyses             Vehicles                      $2.4           $1.1     $3.5
   involving the allocation of constrained transit          Other Project Costs           $0.0           $1.1     $1.1
   funds, TERM allocates limited funds based on              Subtotal Rail*               $6.3           $4.4    $10.7
   the results of the model’s benefit-cost analysis,        Nonrail
   which ranks potential investments based on their         Guideway Elements             $0.0           $0.1     $0.1
   assessed benefit-cost ratios (with the highest-ranked    Facilities                    $0.1           $0.3     $0.4
   investments being funded first). Note that this          Systems                       $0.1           $0.1     $0.2
   TERM benefit-cost–based allocation of funding            Stations                      $0.0           $0.0     $0.1
   between assets and modes may differ from the             Vehicles                      $3.8           $1.2     $5.0
   allocation that local agencies might actually pursue     Other Project Costs           $0.0           $0.0     $0.0
   assuming that total spending is sustained at current      Subtotal Nonrail*            $4.0           $1.8     $5.8
   levels over 20 years.                                    Total*                       $10.3           $6.2    $16.5
                                                            * Note that totals may not sum due to rounding.
                                                            Source: Transit Economic Requirements Model and FTA staff
                                                            estimates.



                                                                                                  FHWA002416
                                                                            Selected Capital Investment Scenarios       8-25
   Case 5:23-cv-00304-H                                                      Document 15-18                Filed 01/31/24              Page 134 of 534               PageID 2694

Preservation Investments
As noted above, transit operators spent an estimated $10.3 billion in 2010 on the rehabilitation and
replacement of existing transit infrastructure. Based on current TERM analyses, this level of reinvestment is
less than that required to address the anticipated reinvestment needs of the Nation’s existing transit assets,
and, if sustained over the forecasted 20-year period, would result in an overall decline in the condition of
existing transit assets as well as an increase in the size of the investment backlog.
For example, Exhibit 8-20 presents the projected increase in the proportion of existing assets that exceed
their useful life by asset category during the period from 2010 to 2030. Given the benefit-cost-based
prioritization imposed by TERM for this scenario, the proportion of existing assets that exceed their useful
life is projected to undergo a near-continuous increase across each of these asset categories. (This condition
projection uses TERM’s benefit-cost test to prioritize rehabilitation and replacement investments in this
scenario. Specifically, for each investment period in the forecast, TERM ranks all proposed investment
activities based on their assessed benefit-cost ratios [highest to lowest.) TERM then invests in the highest-
ranked projects for each period until the available funding for the period is exhausted. It is apparent here
that TERM investment priorities favor vehicle investments (as do those of most transit agencies). Between
2015 and 2025 TERM invests in vehicles, which rate highly on several investment criteria, decreasing the
vehicle over-age forecast over this time period. (Investments not addressed in the current period as a result
of the funding constraint are then deferred until the following period.) Also, given that the proportion of
over-age assets is projected to increase for all asset categories under this prioritization, it is clear that any
reprioritization to favor reinvestment in one asset category over another would accelerate the rate of increase
of the remaining categories. Note that these over-age assets tend to deliver the lowest-quality transit service
to system users (e.g., have the highest likelihood of in-service failures).

   Exhibit 8-20 Sustain 2010 Spending Scenario: Over-Age Forecast by Asset Category, 2010–2030

                                                                   (Existing Transit Assets; Federal Transit Administration Minimum Useful Life for Vehicles)
                                                   60%
                                                               Guideway Elements
   Percent of Assets Exceeding Their Useful Life




                                                               Facilities
                                                   50%
                                                               Systems
                                                               Stations
                                                   40%         Vehicles
                    (by Value)




                                                   30%


                                                   20%


                                                   10%


                                                   0%
                                                     2010   2012         2014        2016        2018       2020        2022        2024        2026        2028      2030
                                                                                                  Forecast Year

  Note: The proportion of assets exceeding their useful life is measured based on asset replacement value, not asset quantities.
  Source: Transit Economic Requirements Model.


Finally, Exhibit 8-21 presents the projected change in the size of the investment backlog if reinvestment
levels are sustained at the 2010 level of $10.3 billion, in constant dollar terms. As described in Chapter 7,
the investment backlog represents the level of investment required to replace all assets that exceed their useful
life and also to address all rehabilitation activities that are currently past due. Given that the current rate of


8-26 Investment/Performance Analysis                                                                                                                               FHWA002417
Case 5:23-cv-00304-H                              Document 15-18          Filed 01/31/24           Page 135 of 534            PageID 2695

   capital reinvestment is insufficient to address the replacement needs of the existing stock of transit assets,
   the size of that backlog is projected to increase from the currently estimated level of $85.9 billion to roughly
   $142.0 billion by 2030. This chart also divides the backlog amount according to transit service area size,
   with the lower portion showing the backlog for UZAs with populations greater than 1 million and the upper
   portion showing the backlog for all other UZAs and rural areas combined. This segmentation highlights
   the significantly higher existing backlog for those UZAs serving the largest number of transit riders. The
   initial reduction in the backlog for these largest-transit UZAs, as shown in Exhibit 8-21, results from
   TERM’s higher prioritization of replacement needs for this urban area type and does not necessarily reflect
   the actual or expected allocation of expenditures between urban area types given maintenance of current
   spending levels in the future. Regardless of the actual allocation, it is clear that the 2010 expenditure level of
   $10.3 billion, if sustained, is not sufficient to prevent a further increase in the backlog needs of one or more
   of these UZA types.

             Exhibit 8-21 Investment Backlog: Sustain 2010 Spending ($10.3 Billion Annually)
                                $160
                                            Under 1 Million Population
                                $140
                                            Over 1 Million Population
                                $120
     Billions of 2010 Dollars




                                $100

                                 $80

                                 $60

                                 $40

                                 $20

                                  $0
                                    2010   2012      2014        2016    2018       2020        2022        2024      2026      2028      2030
                                                                                Forecast Year
            Source: Transit Economic Requirements Model.


   Expansion Investments
   In addition to the $10.3 billion spent on transit asset preservation in 2010, transit agencies spent
   $6.2 billion on expansion investments to support ridership growth and to improve transit performance.
   This section considers the impact of sustaining the 2010 level of expansion investment on future ridership
   capacity and vehicle utilization rates under both lower and higher ridership growth rate assumptions. As
   noted above, it is important to consider here that the $6.2 billion spent on expansion investments in 2010
   was significantly higher than that reported in prior years.
   As already considered in Chapter 7 (see Exhibit 7-23), the 2010 rate of investment in transit expansion is
   not sufficient to expand transit capacity at a rate equal to the rate of growth in travel demand, as projected
   by the historical trend rate of increase. Under these circumstances, it should be expected that transit
   capacity utilization (e.g., passengers per vehicle) will increase, with the level of increase determined by
   actual growth in demand. Although the impact of this change may be minimal for systems that currently
   have lower capacity utilization, service performance on some higher utilization systems would likely decline
   as riders experience increased vehicle crowding and potential for service delays. This impact is illustrated
   in Exhibit 8-22, which presents the projected change in vehicle occupancy rates by mode during the
   period from 2010 through 2030 (reflecting the impacts of spending from 2009 through 2030) under
   both lower (metropolitan planning organization [MPO]) and higher (trend) rates of growth scenarios in
   transit ridership, assuming that transit agencies continue to invest an average of $6.2 billion per year on
   transit expansion. Under the MPO-projected rate of increase, capacity utilization is stable, indicating that
   investment is sufficient. However, for the higher historical trend rates of increase, there is a steady rise in the

                                                                                                                             FHWA002418
                                                                                                       Selected Capital Investment Scenarios   8-27
   Case 5:23-cv-00304-H                                                     Document 15-18                 Filed 01/31/24      Page 136 of 534         PageID 2696


                         Exhibit 8-22 Sustain 2010 Spending Scenario: Capacity Utilization by Mode Forecast, 2010–2030
                                                    45


                                                    40
                                                                                                                                        Commuter Rail (Trend)

                                                    35                                                                                  Commuter Rail (MPO)
                        Average Vehicle Occupancy




                                                    30                                                                                  Heavy Rail (Trend)

                                                                                                                                        Heavy Rail (MPO)
                                                    25
                                                                                                                                        Light Rail (Trend)
                                                    20
                                                                                                                                        Light Rail (MPO)
                                                    15
                                                                                                                                        Motor Bus (Trend)

                                                    10
                                                                                                                                        Motor Bus (MPO)

                                                    5
                                                         2010           2015              2020            2025          2030
                                                                                            Forecast Year
                           Source: Transit Economic Requirements Model.


average number of riders per transit vehicle across each of the four modes depicted here. For perspective,
note that MPO growth rate projections tend to be conservative because they are developed based on
financially constrained transportation plans. Moreover, the actual growth in travel demand has typically
exceeded the MPO growth projections for much of the past decade.
Exhibit 8-23 presents the projected growth in transit riders that can be supported by the 2010 level of
investment (keeping vehicle occupancy rates constant) as compared with the potential growth in total
ridership under both the lower and higher growth rate scenarios. Similar to prior analyses, the $6.2-billion
level of investment for expansion can support ridership growth that is similar to the MPO-projected
ridership increases, but is short of that required to support continued ridership growth at recent historical
rates (i.e., without impacting service performance).

  Exhibit 8-23 Projected Versus Currently Supported Ridership Growth
                                        18.0
                                                                Projected Increase in Ridership (Trend)
                                        17.0
   Billions of Annual Boardings




                                                                Rider Growth Supported by 2010 Spending
                                        16.0                    Projected Increase in Ridership (MPO)
                                        15.0

                                        14.0

                                        13.0

                                        12.0

                                        11.0

                                        10.0
                                                            2010                   2015                     2020               2025             2030
                                                                                                        Forecast Year
  Source: Transit Economic Requirements Model.




8-28 Investment/Performance Analysis                                                                                                               FHWA002419
Case 5:23-cv-00304-H          Document 15-18           Filed 01/31/24           Page 137 of 534              PageID 2697

                              State of Good Repair Benchmark
   The preceding scenario considered the impacts of sustaining transit spending at current levels, which
   appear to be insufficient to address either deferred investment needs (which are projected to increase) or the
   projected trends in transit ridership (without a reduction in service performance). In contrast, this section
   focuses on the level of investment required to eliminate the investment backlog over the next 20 years
   and to provide for sustainable rehabilitation and replacement needs once the backlog has been addressed.
   Specifically, the SGR benchmark estimates the level of annual investment required to replace assets that
   currently exceed their useful life, to address all
   deferred rehabilitation activities (yielding an SGR        What is the definition of a state
   where the asset has a condition rating of 2.5 or           of good repair (SGR)?
   higher), and then to address all future rehabilitation     The definition of “state of good
   and replacement activities as they come due. The           repair” used for this scenario relies on TERM’s
   SGR benchmark considered here uses the same                assessment of transit asset conditions. Specifically,
                                                              for this scenario, TERM considers assets to be in a
   methodology as that described in the Federal Transit       state of good repair if they are rated at a condition
   Administration’s National State of Good Repair             rating of 2.50 or higher and if all required rehabilitation
   Assessment, released June 2010.                            activities have been addressed.

   Differences with Other Scenarios: In contrast
   to the other scenarios in this chapter, the SGR benchmark (1) makes no assessment of expansion needs
   and (2) does not apply TERM’s benefit-cost test to investments proposed by TERM. These benchmark
   characteristics are inconsistent with the SGR concept. First, analyses of expansion investments are ultimately
   focused on capacity improvements and not on the needs of deteriorated assets. Second, application
   of TERM’s benefit-cost test would leave some reinvestment needs unaddressed. The intention of this
   benchmark is to assess the total magnitude of unaddressed reinvestment needs for all transit assets currently
   in service, regardless of whether it appears to be cost-beneficial for these assets to remain in service.

   SGR Investment Needs                                         Exhibit 8-24 SGR Benchmark: Average Annual
   Annual reinvestment needs under the SGR                      Investment by Asset Type, 2010–2030
   benchmark are presented in Exhibit 8-24. Under               (Billions of 2010 Dollars)
   this benchmark, an estimated $ 18.5 billion                                                Urban Area Type
   in annual expenditures will be required over                                             Over      Under
   the next 20 years to bring the condition of all                                        1 Million  1 Million
                                                                    Asset Type           Population Population           Total
   existing transit assets to an SGR. Of this amount,
                                                                 Rail
   roughly $11.7 billion (63 percent) is required to             Guideway Elements             $2.8               $0.1    $2.9
   address the SGR needs of rail assets. Note that               Facilities                    $0.8               $0.1    $0.9
   a large proportion of rail reinvestment needs are             Systems                       $3.4               $0.0    $3.4
   associated with guideway elements (primarily                  Stations                      $2.0               $0.0    $2.0
   aging elevated and tunnel structures) and rail                Vehicles                      $2.5               $0.0    $2.5
   systems (including train control, traction power,               Subtotal Rail*             $11.4               $0.3   $11.7
                                                                 Nonrail
   and communications systems) that are past their
                                                                 Guideway Elements             $0.4               $0.1    $0.5
   useful life as well as potentially technologically            Facilities                    $0.9               $0.7    $1.6
   obsolete. Bus-related reinvestment needs are                  Systems                       $0.2               $0.0    $0.2
   primarily associated with aging vehicle fleets.               Stations                      $0.1               $0.0    $0.1
                                                                 Vehicles                      $3.0               $1.3    $4.3
   Exhibit 8-24 also provides a breakout of capital                Subtotal Nonrail*           $4.6               $2.2    $6.7
   reinvestment needs by type of UZA. This breakout              Total*                       $16.0               $2.5   $18.5
   emphasizes the fact that capital reinvestment needs          * Note that totals may not sum due to rounding.
   are most heavily concentrated in the Nation’s                Source: Transit Economic Requirements Model.
   larger UZAs. Together, these urban areas account

                                                                                                       FHWA002420
                                                                                 Selected Capital Investment Scenarios       8-29
   Case 5:23-cv-00304-H                            Document 15-18      Filed 01/31/24              Page 138 of 534               PageID 2698

for approximately 86 percent of total reinvestment needs (across all mode and asset types), with the rail
reinvestment needs of these urban areas accounting for more than one-half of the total reinvestment required
to bring all assets to an SGR. This high proportion of total needs reflects the high level of investment in
older assets found in these urban areas.

Impact on the Investment Backlog
A key objective of the SGR benchmark is to determine the level of investment required to attain and
then maintain an SGR across all transit assets over the next 20 years, including elimination of the existing
investment backlog. Exhibit 8-25 shows the estimated impact of the $18.5 billion in annual expenditures
under the SGR benchmark on the existing investment backlog over the 20-year forecast period (compare
these data with Exhibit 8-21). Given this level of expenditures, the backlog is projected to be eliminated by
2030, with the majority of this drawdown addressing the reinvestment needs of the UZAs with populations
greater than 1 million.

   Exhibit 8-25 Investment Backlog: State of Good Repair Benchmark ($18.5 Billion Annually)
                                $100
                                $90                                                          Under 1 Million Population
                                $80                                                          Over 1 Million Population
                                $70
     Billions of 2010 Dollars




                                $60
                                $50
                                $40
                                $30
                                $20
                                $10
                                 $0
                                   2010   2012   2014   2016   2018       2020        2022        2024       2026         2028     2030
                                                                      Forecast Year
    Source: Transit Economic Requirements Model.



Impact on Conditions
In drawing down the investment backlog, the annual capital expenditures of $18.5 billion under the SGR
benchmark would also lead to the replacement of assets with an estimated condition rating of 2.5 or lower.
Within TERM’s condition rating system, this includes assets in marginal condition that have ratings of
below 2.5 and all assets in poor condition. Exhibit 8-26 shows the current distribution of asset conditions for
assets estimated to be in a rating condition of 2.5 or lower (with assets in poor condition segmented into two
sub-groups). Note that this graphic excludes both tunnel structures and subway stations in tunnel structures
because these are considered assets that require ongoing capital rehabilitation expenditures but that are never
actually replaced. As with the investment backlog, the proportion of assets at condition rating 2.5 or lower
is projected to decrease under the SGR benchmark from roughly 10 percent of assets in 2010 to well below
1 percent by 2030. Once again, this replacement activity would remove from service those assets with higher
occurrences of service failures, technological obsolescence, and lower overall service quality.




8-30 Investment/Performance Analysis                                                                                         FHWA002421
Case 5:23-cv-00304-H                                   Document 15-18   Filed 01/31/24                              Page 139 of 534              PageID 2699


      Exhibit 8-26 Proportion of Transit Assets Not in State of Good Repair (Excluding Tunnel Structures)
                                       14%
                                                                                                                                    Condition 2.0 to 2.5
                                       12%
       Percent of All Transit Assets
                                                                                                                                    Condition 1.5 to 2.0
                                       10%
                                                                                                                                    Below 1.5
                                       8%
                (by Value)




                                       6%

                                       4%

                                       2%

                                       0%
                                         2010   2012      2014   2016   2018       2020                          2022        2024      2026        2028    2030
                                                                               Forecast Year
      Source: Transit Economic Requirements Model.




   Impact on Vehicle Fleet Performance
   While the preceding analysis considered the impact of higher investment on reducing the investment
   backlog and potential replacement of assets past their useful life, this analysis may not provide a sense of
   the potential positive implications of these changes for daily transit service. To help better understand these
   effects, Exhibit 8-27 shows the estimated percent
   reduction in fleet-wide revenue service disruptions           Exhibit 8-27 Percent Reduction in Revenue
   (relative to 2010) for heavy rail and motor bus vehicles      Service Disruptions Relative to 2010 for State of
                                                                 Good Repair Benchmark
   resulting from the retirement of over-age transit
                                                                       0%
   passenger vehicles under the SGR benchmark. Note
   that the large variation in the percent reduction for bus          -5%
                                                                                      Reduction in Disruptions




   is a result of the timing of large bus fleet replacements.       -10%
   Also, while the reduction in service disruptions is
                                                                    -15%
   significant for bus and heavy rail vehicles, some vehicle
   types (e.g., light and commuter rail) actually show              -20%
   a net increase in service disruptions under the SGR                                Heavy Rail
                                                                    -25%
   benchmark; this is because the current age distribution                            Motor Bus
                                                                    -30%
   for these fleets is skewed toward younger vehicle ages                     2010      2015      2020    2025 2030
   and is not sustainable in the longer term. This effect is                                      Year
   the result of the recent development of new light rail        Source: Transit Economic Requirements Model.
   and commuter rail systems.


                                                       Low and High Growth Scenarios
   The preceding scenario considered the level of investment to bring existing transit assets to a SGR but
   in doing so did not consider either (1) the cost effectiveness of these investments (investments were not
   required to pass TERM’s benefit-cost test) or (2) the level of expansion investment required to support
   projected ridership growth. The Low Growth scenario and High Growth scenario address both of these
   issues. Specifically, these scenarios use the same rules to assess when assets should be rehabilitated or replaced
   as were applied in the preceding SGR benchmark (e.g., with assets being replaced at condition 2.5), but
   also require that these preservation and expansion investments pass TERM’s benefit-cost test. In general,
   some reinvestment activities do not pass this test (i.e., have a benefit-cost ratio of less than one), which can


                                                                                                                                              FHWA002422
                                                                                                                        Selected Capital Investment Scenarios     8-31
   Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24        Page 140 of 534        PageID 2700

result from low ridership benefits, higher capital or operating costs, or a mix of these factors. Excluding
investments that do not pass the benefit-cost test has the effect of reducing total estimated needs.
In addition, the Low and High Growth scenarios also assess transit expansion needs given ridership
growth as projected by the Nation’s MPOs (low growth) and based on the average annual compound rate
as experienced over the last 15-year period (high growth). For the expansion component of this scenario,
TERM assesses the level of investment required to maintain current vehicle occupancy rates (at the agency-
mode level) subject to the rate of projected growth in transit demand in that UZA and also subject to the
proposed expansion investment passing TERM’s benefit-cost test.

Low Growth Assumption
The Low Growth scenario is intended to provide a lower bound on the level of investment required to
maintain current service performance (as measured by transit vehicle capacity utilization) as determined by
a relatively low rate of growth in travel demand. In particular, this Low Growth scenario relies on growth
in travel demand as projected by a sample of the MPOs (representing the Nation’s 30 largest UZAs and
a sample of smaller UZAs). When aggregated across the Nation’s UZAs (and corrected for differences in
transit demand by UZA), this source yields a national average annual growth rate of 1.4 percent over the
20-year period from 2010 to 2030. (This represents the weighted average growth rate at the national level.
In practice, the ridership growth rates applied by TERM vary by UZA based on the growth projections
obtained from that UZA’s MPO.) This projected rate of growth is less than the 2.2-percent trend rate
experienced over the 15 year period from 1995 to 2010 (as utilized by the High Growth scenario presented
below), but is higher than the 1.2 percent trend rate of growth in urban population over the decade from
2000 to 2010 (a primary driver of transit ridership).
The MPO projections are considered low (or at least conservative) for the following reasons. First, MPO
transit demand projections are financially constrained (i.e., projected ridership growth is limited by the
expected capacity to fund expansion projects) and, hence, these projections are lower than the potential
for increased ridership demand if funding were unconstrained. Second, as discussed further in Chapter 9,
the historical rate of increase in transit ridership and transit passenger miles have generally exceeded MPO
growth projections for these same time periods, again tending to characterize the MPO growth projections
as relatively low or conservative.

High Growth Assumption
The High Growth scenario provides a higher bound on the level of investment required to maintain current
service performance as determined by a relatively high rate of growth in travel demand. In particular, the
High Growth scenario relies on the trend rate of growth in transit passenger miles over the period 1995
through 2010 as reported to the NTD. When calculated across all transit operators, this historical trend
rate of growth converts to a national average compound annual growth rate of 2.2 percent during this
time period. Similar to the MPO growth rates in the Low Growth scenario, the 15-year trend growth rates
applied by TERM for the High Growth scenario also vary by UZA either based on the actual trend rates of
growth experienced by each UZA (for UZAs close to or higher than 1 million in population) or based on the
average for UZAs of comparable size in the same geographic region. This rate is considered relatively high
primarily due to the unusually high rate of growth in ridership experienced over the period from roughly
2006 to 2010, partly in response to high fuel prices.

Low and High Growth Scenario Needs
TERM’s projected annual average capital investment needs under the Low and High Growth scenarios—
including those for both asset preservation and asset expansion—is presented in Exhibit 8-28.


8-32 Investment/Performance Analysis                                                               FHWA002423
Case 5:23-cv-00304-H             Document 15-18                Filed 01/31/24     Page 141 of 534         PageID 2701

     Exhibit 8-28 Low and High Growth Scenarios: Average Annual Investment by Asset Type, 2010–2030
     (Billions of 2010 Dollars)
                                       Lower Growth                                   Higher Growth
            Asset Type           Preservation Expansion              Total      Preservation Expansion           Total
       Rail
       Guideway Elements                $2.7            $0.7          $3.5          $2.8           $0.9           $3.6
       Facilities                       $0.9            $0.1          $0.9          $0.9           $0.1           $1.0
       Systems                          $3.4            $0.2          $3.5          $3.4           $0.2           $3.6
       Stations                         $1.8            $0.5          $2.2          $1.8           $0.6           $2.4
       Vehicles                         $2.5            $0.8          $3.3          $2.5           $1.3           $3.8
       Other Project Costs              $0.0            $0.7          $0.7          $0.0           $0.9           $0.9
         Subtotal Rail*                $11.2            $2.9         $14.2         $11.3           $4.0          $15.3
       Nonrail
       Guideway Elements                $0.4            $0.1          $0.5          $0.4           $0.1           $0.5
       Facilities                       $1.4            $0.3          $1.7          $1.4           $0.6           $2.0
       Systems                          $0.2            $0.0          $0.3          $0.2           $0.1           $0.3
       Stations                         $0.1            $0.0          $0.1          $0.1           $0.0           $0.1
       Vehicles                         $4.0            $1.2          $5.3          $4.1           $2.3           $6.3
       Other Project Costs              $0.0            $0.0          $0.0          $0.0           $0.0           $0.0
         Subtotal Nonrail*              $6.1            $1.7          $7.8          $6.1           $3.1           $9.2
       Total Investment*               $17.3            $4.6         $22.0         $17.4           $7.1          $24.5
      * Note that totals may not sum due to rounding.
      Source: Transit Economic Requirements Model.



   Lower Growth Needs
   Assuming the relatively low ridership growth in the Low Growth scenario, total investment needs for both
   system preservation and expansion are estimated to average roughly $22.0 billion each year for the next
   two decades. Of this amount, roughly 79 percent are for preservation of existing assets and approximately
   $11 billion is associated with preservation of existing rail infrastructure alone. Note that the $1.2 billion
   difference between the $18.5 billion in annual preservation needs under the SGR benchmark and the
   $17.3 billion in preservation needs under the Low Growth scenario is entirely due to the application of
   TERM’s benefit-cost test under the Low Growth scenario. Finally, expansion needs in this scenario total
   $4.6 billion annually, with 63 percent of that amount associated with rail expansion costs.
   Higher Growth Needs
   In contrast, total investment needs under the High Growth scenario are estimated to be $24.5 billion
   annually, a 12 percent increase over the total investment needs under the Low Growth scenario. The High
   Growth scenario total includes $17.4 billion for system preservation and an additional $7.1 billion for
   system expansion. Note that system preservation costs are higher under the High Growth scenario because
   the higher growth rate leads to a larger expansion of the asset base as compared to the Low Growth scenario.
   Under this scenario, investment in expansion of rail assets is still larger than that for nonrail expansion
   (56 percent for rail and 44 percent for non-rail). However, under the High Growth scenario rail takes only
   56 percent of total expansion investment versus 63 percent of expansion needs under the Low Growth
   scenario. Overall, total expansion investment needs are roughly 53 percent higher for the High Growth
   scenario than for the Low Growth scenario (which is somewhat consistent with the high growth rate at
   2.2 percent being approximately 60 percent higher than the low growth rate of 1.4 percent).

   Impact on Conditions and Performance
   The impact of the Low and High Growth Rate preservation investments on transit conditions is essentially
   the same as that already presented for the SGR benchmark in Exhibit 8-25 and Exhibit 8-26. As noted

                                                                                                         FHWA002424
                                                                                   Selected Capital Investment Scenarios   8-33
   Case 5:23-cv-00304-H           Document 15-18        Filed 01/31/24       Page 142 of 534        PageID 2702

above, these scenarios use the same rules to assess when assets should be rehabilitated or replaced as were
applied in the SGR benchmark (e.g., with assets being replaced at condition rating 2.5). In terms of asset
conditions, the primary difference between the SGR benchmark and the Low and High Growth scenarios
relates to: (1) TERM’s benefit-cost test not applying to the SGR benchmark (leading to higher SGR
preservation needs overall) and (2) the Low and High Growth scenarios having some additional needs for
the replacement of expansion assets with short service lives. Together, these impacts tend to work in opposite
directions with the result that the rate of drawdown in the investment backlog and the elimination of assets
exceeding their useful life are roughly comparable for each of these three scenarios.
Similarly, the impact of the Low and High Growth rate expansion investments on transit performance was
considered in Exhibit 8-23. That analysis demonstrated the significant difference in the level of ridership
growth supported by the High Growth scenario as compared with either the current level of expenditures
($5.4 billion in 2010 for UZAs over 1 million) or the rate of growth supported under the Low Growth
scenario.


                            Scenario Benefits Comparison
Finally, this subsection summarizes and compares many of the investment benefits associated with each of
the four analysis scenarios considered above. While much of this comparison is based on measures already
introduced above, this discussion also considers a few additional investment impact measures. These
comparisons are presented in Exhibit 8-29. Note that the first column of data in Exhibit 8-29 presents the
current values for each of these measures (as of 2010). The subsequent columns present the estimated future
values in 2030 assuming the levels, allocations, and timing of expenditures associated with each of the four
investment scenarios.
Exhibit 8-29 includes the following measures:
 Average Annual Expenditures (billions of dollars): This amount is broken down into preservation and
  expansion expenditures.
 Condition of Existing Assets: This analysis only considers the impact of investment funds on the
  condition of those assets currently in service.
  Average Physical Condition Rating: The weighted average condition of all existing assets on TERM’s
  condition scale of 5 (excellent) through 1 (poor).
   Investment Backlog: The value of all deferred capital investment, including assets exceeding their useful
   lives and rehabilitation activities that are past due (this value can approach but never reach zero due to
   assets continually aging with some exceeding their useful life). The backlog is presented here both as a
   total dollar amount and also as a percent of the total replacement value of all U.S. transit assets.
   Backlog Ratio: The ratio of the current investment backlog to the annual level of investment required to
   maintain normal annual capital needs once the backlog is eliminated.
 Performance Measures: The impact of investments on U.S. transit ridership capacity and system
   reliability.
   New Boardings Supported by Expansion Investments: The number of additional riders that transit
   systems can carry without a loss in performance (given the projected ridership assumptions for each
   scenario).
   Carbon Dioxide (CO2) Emissions Avoided (millions of metric tons): Potential reduction in CO2
   emissions from providing the additional transit rider carrying capacity (assumes that riders would
   otherwise use other modes of travel, including automobiles).


8-34 Investment/Performance Analysis                                                              FHWA002425
Case 5:23-cv-00304-H              Document 15-18                Filed 01/31/24             Page 143 of 534               PageID 2703

      Exhibit 8-29 Scenario Investment Benefits Scorecard

                                                         Baseline 2010                                  Scenarios for 2030
                                                             Actual
                                                           Spending,                       Sustain
                                                        Conditions and                      2010                       Low          High
                        Measure                          Performance                      Spending         SGR        Growth       Growth
       Average Annual Expenditures (Billions of 2010 Dollars)
       Preservation                                           $10.3                          $10.3         $18.5       $17.3           $17.4
       Expansion                                                           $6.2               $6.2          NA          $4.6            $7.1
       Total                                                               $16.5             $16.5         $18.5       $22.0           $24.5
       Conditions (Existing Assets)
       Average Physical Condition Rating                                   3.75               3.39          3.54        3.54            3.54
       Investment Backlog (Billions of Dollars)                            $85.9            $141.7          $0.0        $0.0            $0.0
       Investment Backlog (% of Replacement Costs)                        12.6%             20.9%          0.0%         0.0%           0.0%
       Backlog Ratio1                                                       6.1               10.0          0.0          0.0            0.0
       Performance
       Ridership Impacts of Expansion Investments (2010)
         New Boardings Supported by                                         NA                4.6           NA           3.0            5.4
         Expansion (Billions)
         CO2 Emissions Avoided (Millions of Metric Tons)                    NA                3.0           NA           1.9            3.5
       Fleet Performance
         Revenue Service Disruptions per Thousand PMT                       9.5               10.5          9.3          9.2            9.3
         Fleet Maintenance Cost per                                        $1.75             $1.86         $1.74       $1.73           $1.73
         Revenue Vehicle Mile
       Other Benefits
       Job Years Impact (Thousands)2
         Operating and Maintenance                                        1,201.7           1,620.6       1,201.7     1,549.3      1,828.4
         Capital                                                           264.3             264.3         295.4       351.3           392.6
         Total Annual Job Years Supported                                 1,466.0           1,884.9       1,497.0     1,900.6      2,221.0
       GDP Impact (Billions of Dollars)
        Operating and Maintenance                                          $71.1             $95.9         $71.1       $91.7           $108.2
         Capital                                                           $22.0             $22.0         $24.6       $29.3           $32.7
         Total Annual Incremental Impact                                   $93.1            $117.9         $95.7       $120.9          $140.9
       1 The backlog ratio is the ratio of the current investment backlog to the annual level of investment to maintain SGR once the

       backlog is eliminated.
       2 Includes direct, indirect, and induced impacts.

       Source: Transit Economic Requirements Model.



      Revenue Service Disruptions per Passenger Mile Traveled: Number of disruptions to revenue service per
      million passenger miles.
      Fleet Maintenance Cost per Vehicle Revenue Mile: Fleet maintenance costs tend to increase with fleet age
      (or reduced asset condition). This measure estimates the change in fleet maintenance costs expressed in a
      per-revenue-vehicle-mile basis.
    Other Benefits: Impacts other than those to transit conditions and performance. The jobs and Gross
      Domestic Product (GDP) impacts considered here were determined using an input-output analysis.
      Jobs Impacts: The number of job years associated with both transit mode operations and ongoing
      capital investment (both preservation and expansion), including direct, indirect, and induced job years.


                                                                                                                   FHWA002426
                                                                                             Selected Capital Investment Scenarios              8-35
   Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24        Page 144 of 534         PageID 2704

    Each $1 million invested in transit operation activities is estimated to support 33 job years while each
    $1 million invested in transit capital investments supports 16 job years.
    GDP Impacts: The impact on GDP associated with both transit mode operations and ongoing capital
    investment (both preservation and expansion), including direct, indirect, and induced impacts. Each
    $1 invested in transit operation activities is estimated to generate $0.95 in additional GDP while each
    $1 invested in transit capital investments generates $0.33 in additional GDP.

Scorecard Comparisons
A review of the scorecard results for each of the four investment scenarios reveals the impacts discussed
below.
Preservation Impacts
Continued reinvestment at the 2010 level is likely to yield a decline in overall asset conditions, an increase
in the size of the investment backlog, and an increase in both service disruptions per million passenger miles
and in maintenance costs per vehicle revenue mile. In contrast, with the exception of overall asset conditions,
each of these measures is projected to improve under the SGR, Low Growth, and High Growth scenarios,
each of which project roughly comparable levels of required capital reinvestment expenditures. Note that the
overall condition rating measure of 3.54 under these last three investment scenarios represents a sustainable,
long-term condition level for the Nation’s existing transit assets over the long term (in contrast to the current
measure of roughly 3.8, which would be difficult to maintain in the long term without replacing many asset
types prior to the conclusion of their expected useful lives).
Expansion Impacts
While continued expansion investment at the 2010 level appears sufficient to support a relatively low rate
of increase in transit ridership, recent historical rates of growth suggest that a significantly higher rate of
expansion investment is required to avoid a decline in overall transit performance (e.g., in the form of
increased crowding on high utilization systems). Higher rates of transit expansion investment, as required
to support higher transit ridership growth or through a shift from auto travel to transit, can also help yield
reductions in CO2 emissions. Finally, higher rates of expansion investment also tend to support higher
direct, indirect and induced impacts on jobs and other economic activity related to transit operations,
construction, and rehabilitation activities.




8-36 Investment/Performance Analysis                                                                FHWA002427
Case 5:23-cv-00304-H       Document 15-18                      Filed 01/31/24                    Page 145 of 534                     PageID 2705




                                                                         CHAPTER                                                                9
               Supplemental Scenario Analysis

               Highway Supplemental Scenario Analysis .................................................................9-2
                   Comparison of Scenarios With Previous Reports ....................................................9-2
                        Comparison With 2010 C&P Report ................................................................................... 9-2
                        Comparisons of Implied Funding Gaps ............................................................................. 9-3
                   Comparison of Scenario Projections in 1991 C&P Report to Actual
                   Expenditures, Conditions, and Performance ............................................................9-4
                        1991 C&P Report Scenario Definitions............................................................................... 9-4
                        Comparison of Scenario Projections in 1991 C&P Report to Actual Spending ................ 9-5
                        Comparison of Scenario Projections in 1991 C&P Report to Actual Outcomes ............... 9-6
                   Accounting for Inflation ..............................................................................................9-7
                   Timing of Investment..................................................................................................9-10
                        Alternative Timing of Investment in HERS .......................................................................... 9-10
                        Alternative Timing of Investment in NBIAS ........................................................................ 9-13

               Transit Supplemental Scenario Analysis ....................................................................9-15
                  Asset Conditions Forecasts and Expected Useful Service Life Consumed
                  for All Transit Assets Under Four Scenarios .............................................................9-15
                        Alternative Methodology ..................................................................................................... 9-18
                   Comparison of 2010 to 2013 TERM Results .............................................................9-19
                   Comparison of Passenger Miles Traveled (PMT) Growth Rates ..............................9-20
                        MPO Growth Compared to Historical Growth for All Urbanized and Rural Areas ............. 9-20
                        UZAs Over 1 Million in Population ...................................................................................... 9-21
                        UZAs Under 1 Million in Population and Rural Areas......................................................... 9-21
                   Impact of New Technologies on Transit Investment Needs .....................................9-22
                        Impact of Compressed Natural Gas and Hybrid Buses on Future Needs ........................ 9-23
                        Impact on Costs .................................................................................................................. 9-23
                        Impact on Needs................................................................................................................. 9-23
                        Impact on Backlog .............................................................................................................. 9-24
                   Forecasted Expansion Investment ............................................................................9-25




                                                                                                          Supplemental Scenario Analysis 9-1
                                                                                                                        FHWA002428
      Case 5:23-cv-00304-H          Document 15-18       Filed 01/31/24        Page 146 of 534         PageID 2706



           Highway Supplemental Scenario Analysis

This section explores the implications of the highway investment scenarios considered in Chapter 8, starting
with a comparison of the scenario investment levels relative to those presented in previous C&P reports. For
a longer-term perspective, this section also looks back to the 20-year projections presented in the 1989 C&P
Report relative to actual outcomes in terms of system conditions and performance.
This section also includes an illustration of the impact of alternative rates of future inflation on the constant
dollar scenario investment levels presented in Chapter 8, and explores alternative assumptions concerning
the timing of investment over the 20-year analysis period. A subsequent section within this chapter provides
supplementary analysis regarding the transit investment scenarios.


             Comparison of Scenarios With Previous Reports
Each edition of this report presents various projections of travel growth, pavement conditions, and bridge
conditions under different scenarios. The projections cover 20 year periods, beginning the first year after
the data presented on current conditions and performance. While the scenario names and criteria have
varied over time, the C&P Report has traditionally included highway investment scenarios corresponding in
concept to Maintain Conditions and Performance scenario and Improve Conditions and Performance
scenario presented in Chapter 8.

Comparison With 2010 C&P Report
As discussed in Chapter 8, the measures targeted by the Maintain Conditions and Performance scenario
have been changed; the 2010 C&P Report version of this scenario attempted to maintain average speed and
the bridge investment backlog, but the current version targets average pavement roughness, average delay
and the average bridge sufficiency rating. However, the fundamental purpose of the scenario is to identify
a level of investment associated with keeping overall conditions and performance in 20 years at roughly
base-year levels. The criteria used to define the Improve Conditions and Performance scenario remains
unchanged from the 2010 C&P Report; the only difference is that the 2010 C&P Report projected the
impact of investment for 2009 through 2028, rather than the 2011 through 2030 period covered in the
current edition.
As discussed in Chapter 6, highway construction costs as measured by the Federal Highway Administration’s
(FHWA’s) National Highway Construction Cost Index decreased by 18.0 percent between 2008 and
2010. Consequently, adjusting the 2010 C&P Report’s scenario figures from 2008 dollars to 2010 dollars
causes them to appear smaller. As shown in Exhibit 9-1, the 2010 C&P Report estimated the average
annual investment level in the scenario comparable to the current Maintain Conditions and Performance
scenario at $101.0 billion; adjusting for inflation (or, in this discussion, deflation) decreases this amount
to $82.8 billion in 2010 dollars. The comparable amount for the Maintain Conditions and Performance
scenario presented in Chapter 8 of this edition is $86.3 billion, approximately 4.2 percent higher.
The average annual investment level in the 2010 C&P Report scenario comparable to the current Improve
Conditions and Performance scenario was $170.1 billion; adjusting for inflation decreases this amount
to $139.4 billion in 2010 dollars. The comparable amount for the current Improve Conditions and
Performance scenario presented in Chapter 8 of this edition is $145.9 billion, approximately 4.7 percent
higher.


9-2    Investment/Performance Analysis                                                              FHWA002429
Case 5:23-cv-00304-H             Document 15-18               Filed 01/31/24             Page 147 of 534              PageID 2707

     Exhibit 9-1 Selected Highway Investment Scenario Projections Compared With Comparable Data
     From the 2010 C&P Report (Billions of Dollars)
                                                                               2009–2028 Projection
                                                                               (Based on 2008 Data)
                   Highway and Bridge Scenarios—                              2010         Adjusted for                 2011–2030
                             All Roads                                      C&P Report       Inflation1                 Projection
                                                                            (Billions of          (Billions of          (Billions of
                                                                           2008 Dollars)         2010 Dollars)         2010 Dollars)
      Maintain Conditions and Performance scenario2                              $101.0               $82.8                  $86.3
      Improve Conditions and Performance scenario                                $170.1              $139.4                 $145.9
      1 The investment levels for the highway and bridge scenarios were adjusted for inflation using the FHWA National Highway

      Construction Cost Index (NHCCI).
      2 In the 2010 C&P report, the HERS component of this scenario focused on maintaining average speed, rather than representing

      the average of the cost associated with maintaining average delay and the cost associated with maintaining average pavement
      condition; the NBIAS component of the scenario focused on maintaining the bridge investment backlog, rather than maintaining the
      average sufficiency rating for bridges.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.

   The changes in the scenario findings in this report relative to the 2010 C&P Report are also partially
   attributable to changes in the underlying characteristics, conditions, and performance of the bridge system
   reported in Chapters 2 and 3, as well as to changes in the analytical methodology in the National Bridge
   Investment Analysis System (NBIAS) model. As noted in Chapter 7, the version of the Highway Economic
   Requirements System (HERS) used for this report was not significantly different from that used in the
   2010 C&P Report, and the same underlying Highway Performance Monitoring System (HPMS) dataset
   was used. The main differences within the HERS analysis related to updated model parameter values.

   Comparisons of Implied Funding Gaps
   Exhibit 9-2 compares the funding gaps implied by the analysis in the present report with those implied by
   previous C&P report analyses. Each such gap is measured as the percentage by which the average annual
   investment estimated for a specific scenario exceeds the base-year level of investment. The scenarios examined
   are this report’s Maintain Conditions and Performance and Improve Conditions and Performance
   scenarios, and their counterparts in previous C&P reports.
   For each of the reports identified, actual spending in the base year for that report has been below the
   estimate of the average annual investment level required to maintain conditions and performance at base-
   year levels over 20 years. In the current report, the gap between these amounts, negative 13.9 percent,
   is dramatically different than in the 2010 C&P Report when it was positive 10.8 percent. This indicates
   that 2010 spending was greater than the level of spending identified for the Maintain Conditions and
   Performance scenario. This is partly due to the increase in funding under the American Recovery and
   Reinvestment Act, but largely due to the fact that construction costs have declined, making it cheaper to
   meet the scenario’s objectives.
   Changes in the actual capital spending by all levels of government combined can substantially alter these
   spending gaps, as can sudden, large swings in construction costs. The large increase in the gap between base-
   year spending and the primary “Maintain” scenario presented in the 2008 C&P Report coincided with a
   large increase of construction costs experienced between 2004 and the 2006 base year for that report. The
   decreases in the gaps presented in the 2010 and 2012 editions coincided with declines in construction costs
   since their 2006 peak.
   The differences among C&P report editions in the implied gaps reported in Exhibit 9-2 do not constitute
   a consistent indicator of change over time in how effectively highway investment needs are addressed. The
   FHWA continues to enhance the methodology used to determine scenario estimates for each edition of

                                                                                                               FHWA002430
                                                                                                 Supplemental Scenario Analysis          9-3
      Case 5:23-cv-00304-H                  Document 15-18                Filed 01/31/24             Page 148 of 534               PageID 2708

the C&P report in order to provide a more comprehensive and accurate assessment. In some cases, these
refinements have increased the level of investment in one or both of the scenarios (the “Maintain” or
“Improve” scenarios, or their equivalents); other refinements have reduced this level.

      Exhibit 9-2 Comparison of Average Annual Highway and Bridge Investment Scenario
      Estimates With Base Year Spending, 1997 to 2013 C&P Reports
                                                                                          Percent Above Base-Year Spending
      Report                         Relevant Comparison                                    Primary             Primary
       Year                                                                           "Maintain" Scenario* "Improve" Scenario*
      1997     Average annual investment scenario estimates for 1996                           21.0%                       108.9%
               through 2015 compared with 1995 spending
      1999     Average annual investment scenario estimates for 1998                           16.3%                        92.9%
               through 2017 compared with 1997 spending
      2002     Average annual investment scenario estimates for 2001                           17.5%                        65.3%
               through 2020 compared with 2000 spending
      2004     Average annual investment scenario estimates for 2003                            8.3%                        74.3%
               through 2022 compared with 2002 spending
      2006     Average annual investment scenario estimates for 2005                           12.2%                        87.4%
               through 2024 compared with 2004 spending
      2008     Average annual investment scenario estimates for 2007                           34.2%                       121.9%
               through 2026 compared with 2006 spending
      2010     Average annual investment scenario estimates for 2009                           10.8%                        86.6%
               through 2028 compared with 2008 spending
      2013     Average annual investment scenario estimates for 2011                           -13.9%                       45.7%
               through 2030 compared with 2010 spending
      * Amounts shown correspond to the primary investment scenario associated with maintaining or improving the overall highway
      system in each C&P report; the definitions of these scenarios are not fully consistent between reports. The values shown for this
      report reflect the Maintain Conditions and Performance and the Improve Conditions and Performance scenarios. Negative
      numbers signify that the investment scenario estimate was lower than base year spending.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.




 Comparison of Scenario Projections in 1991 C&P Report to
    Actual Expenditures, Conditions, and Performance
The highway component of the C&P report is part of a series dating back to the 1968 National Highway
Needs report to Congress.
The 1991 Status of the Nation’s Highways and Bridges: Condition and Performance report to Congress
(1991 C&P Report) is the most recent edition for which the 20-year forecast period has ended. This section
explores the predictions made in the 1991 report for the year 2009 relative to what actually occurred in
terms of pavement conditions, bridge conditions, and operational performance, taking into account actual
investment and travel growth that has occurred.
Comparing such past predictions with actual results can be very informative in placing the projections from
the current edition in their proper context. However, direct comparisons of results across different C&P
editions pose challenges for multiple reasons, including differences in base-year conditions and analysis
periods, changes in analytical models, and changes in scenario definitions.

1991 C&P Report Scenario Definitions
Similar to the current edition, the 1991 C&P Report estimated two scenarios for future investment
requirements: Improve 1989 Conditions and Performance and Maintain 1989 Conditions and
Performance. The investment levels presented were stated in constant 1989 dollars.

9-4     Investment/Performance Analysis                                                                                        FHWA002431
Case 5:23-cv-00304-H             Document 15-18                Filed 01/31/24              Page 149 of 534               PageID 2709

   The 1991 C&P Report develops scenarios based on engineering standards that were applied uniformly
   nationwide without the consideration of the relative importance of specific facilities, regional variation,
   or other policy considerations. The scenario predictions were designed to provide general financial and
   performance benchmarks and were a basis for development and evaluation of policy and program options.
   Improve 1989 Conditions and Performance
   The Improve 1989 Conditions and Performance scenario estimated the costs associated with addressing
   deficiencies relative to a set of engineering-based minimum standards for physical conditions and
   performance. The goal of this scenario was to improve conditions and performance across all functional
   systems on a uniform basis nationwide, for both urban and rural, even as travel demand increased at a rate
   of 2.5 percent annually for 20 years. However, the 1991 C&P Report indicates that a cap on the width of
   individual highway sections was imposed, which resulted in a set of unmet capacity needs to the extent to
   which operational performance in larger urbanized areas could not be maintained. The scenario reflected
   estimated annual capital savings from an aggressive traffic management program.
   Unlike the present edition, which prioritizes investment based on benefit-cost analysis, the 1991 C&P
   Report acknowledges that the scenarios did not involve priorities regarding cost-effectiveness and was not
   intended to represent an optimum recommended investment strategy. Instead, the scenario was intended to
   provide a framework for policy development by establishing a measure of the total capital costs of providing
   a desirable level of highway and bridge infrastructure on all facilities, assuming a future travel demand
   growth of 2.5 percent annually.
   Maintain 1989 Conditions and Performance
   The Maintain 1989 Conditions and Performance scenario estimated the cost of maintaining both current
   overall physical conditions and current levels of performance as traffic increased over a 20-year period. The
   1991 C&P Report notes that overall system performance would not be maintained in the largest urbanized
   areas assuming a 2.5 percent annual growth in vehicle miles traveled (VMT).

   Comparison of Scenario Projections in 1991 C&P Report to Actual Spending
   Exhibit 9-3 shows the estimated average annual and cumulative 20-year highway and bridge needs associated
   with the two scenarios presented in the 1991 C&P Report. The cumulative values are also adjusted for

      Exhibit 9-3 1991 C&P Report Highway and Bridge Investment Scenario Estimates and
      Cumulative Spending, 1990 Through 2009
                                                                               1990–2009 Projection From 1991              Adjusted for
                                                                                          C&P Report                         Inflation
                                                                                  Average        Cumulative                 Cumulative
                                                                                   Annual         20 Years                   20 Years
                                                                                 (Billions of    (Billions of               (Billions of
                                                                                1989 Dollars)   1989 Dollars)              2010 Dollars)
      20-Year Highway Capital Investment Scenarios (Assuming
      2.5-Percent Annual VMT Growth from 1989 to 2009)
         Improve Conditions and Performance Scenario                                 $74.9              $1,498.0              $2,422.2
         Maintain Conditions and Performance Scenario                                $45.7                $914.0              $1,477.9
      Actual 20-Year Highway Capital Investment (VMT Grew
      1.74 Percent per Year from 1989 to 2009)
         Cumulative Capital Outlay, 1990 through 2009*                                                                        $1,418.9
      * Highway capital outlay by all levels of Government combined totaled $1.2111 trillion in nominal dollar terms over the 20-year period
      from 1990 through 2009. This equates to $1.4189 trillion in constant 2010 dollars.
      Sources: 1991 Status of the Nation's Highways and Bridges: Conditions and Performance Report to Congress; Highway Statistics,
      various years, Tables HF-10A, HF-10, PT-1, and SF-12A; and unpublished FHWA data.



                                                                                                                 FHWA002432
                                                                                                   Supplemental Scenario Analysis              9-5
      Case 5:23-cv-00304-H          Document 15-18         Filed 01/31/24        Page 150 of 534         PageID 2710

inflation to 2010 dollars using the FHWA Composite Bid Price Index (BPI) through the year 2006 and the
new FHWA National Highway Construction Cost Index (NHCCI) for subsequent years.
The 1991 C&P Report estimated the average annual cost of the Improve 1989 Condition and
Performance scenario at $74.9 billion for 1990 through 2009, assuming a 2.5 percent VMT growth rate.
The average annual cost to Maintain 1989 Condition and Performance on existing roads and bridges
through 2009 was estimated at $45.7 billion, again assuming a 2.5 percent VMT growth rate.
The cumulative 20-year value inflated to 2010 dollars for the Improve 1989 Condition and Performance
scenario equates to $2.422 trillion. The cumulative value of the Maintain Conditions and Performance
scenario in 2010 dollars equates to $1.478 trillion, which is within 4 percent of the actual cumulative capital
outlay of $1.419 trillion, stated in constant 2010 dollars.
Assumptions about future VMT growth are a critical input to the investment scenario. The actual rate
of VMT growth over the 20-year period from 1989 to 2009 was 1.74 percent per year, well below the
2.5 percent annual VMT growth forecast used in the 1991 C&P Report scenarios.
The 1991 C&P Report included sensitivity analysis that assumed a higher average annual VMT growth rate
of 3.0 percent for some of the major components of the two investment scenarios, which increased their cost
by 13 percent (Improve) to 17 percent (Maintain). However, the 1991 C&P Report did not conduct any
tests of VMT growth rates lower than 2.5 percent. As a result, although these analyses demonstrate that the
scenarios were significantly affected by the VMT growth rate assumption, it would not be safe to assume
that the reductions in scenario costs associated with lower VMT growth rates would be proportional to these
increases in scenario costs associated with higher VMT growth forecasts. If the forecasts had been developed
assuming a 1.74-percent average annual growth rate, the cost associated with both scenarios would have been
lower.

Comparison of Scenario Projections in 1991 C&P Report to Actual Outcomes
The 1991 C&P Report included projections for measures of pavement condition, bridge condition,
and operational performance. As was demonstrated in Exhibit 9-3, actual capital spending from 1990
through 2009 was slightly lower than the investment levels associated with the Maintain Conditions
and Performance scenario, which suggests that overall highway and bridge system conditions would have
deteriorated slightly relative to 1989. However, because the VMT growth rate assumed in that scenario was
significantly higher than what actually occurred from 1989 to 2009, the investment levels associated with
that scenario were overstated to some degree. Consequently, improvements to some measures of conditions
and performance relative to 1989 could reasonably be expected.
Exhibit 9-4 compares the percentage of pavement in good condition by facility type; bridge deficiencies;
and travel under congested condition for 1989, 2008, and 2010. The pavement condition ratings presented
in the 1991 C&P Report were based on a subjective evaluation of overall pavement quality which has
subsequently been replaced by a more objective measure of pavement ride quality. However, the percentage
of pavements in good condition is roughly comparable between the two reports. Since 1989, the percent of
good pavement mileage has increased for the rural functional classes shown, except for rural major collectors.
In contrast, for urban highways, the percent of good pavement mileage has decreased for all functional
classes shown except urban Interstate.
The percentage of bridges classified as structurally deficient or functionally obsolete is still defined in a
manner comparable to that in the 1991 C&P Report. There has been improvement since 1989, as the
percentage of structurally deficient bridges has been cut sharply and reductions in the percentage of
functionally obsolete bridges have been achieved.


9-6    Investment/Performance Analysis                                                                FHWA002433
Case 5:23-cv-00304-H           Document 15-18                 Filed 01/31/24              Page 151 of 534               PageID 2711


              Exhibit 9-4 Selected Pavement, Bridge, and Congestion Metrics, 1989, 2008, and 2010

              Scenario and Comparison Parameter                                     1989              2008             2010
              Percent of "Good" Pavement Mileage1
                Rural Interstate                                                   58.2%             78.2%            73.8%
                Rural Other Principal Arterial                                     51.9%             66.5%             N/A
                Rural Minor Arterial                                               45.5%             53.3%            49.7%
                Rural Major Collector                                              34.2%             34.0%            28.7%
                Urban Interstate                                                   57.4%             61.4%            63.2%
                Urban Other Freeway & Expressway                                   52.7%             50.6%            48.0%
                Urban Other Principal Arterial                                     42.7%             27.4%            26.7%
                Urban Minor Arterial                                               40.7%             32.1%            22.2%
                Urban Collector                                                    31.3%             28.3%             N/A
              Bridge Deficiencies2
                Percent Structurally Deficient                                     23.2%             11.9%            11.5%
                Percent Functionally Obsolete                                      15.9%             13.3%            12.8%
                Total Percent Deficient                                            39.2%             25.2%            24.3%
              Operational Performance3
                Percent of Travel Under Congested Conditions                       20.6%             26.3%            26.2%
               1 The 1991 C&P Report classified pavements as "Good" if they had a Pavement Serviceability Rating (PSR) of

               3.5 or higher on a scale of 5.0. The current terminology reflected in Chapter 3 describes pavements as having
               "Good Ride Quality" if they have a reported IRI of 95 inches per mile or lower (or a PSR of 3.5 or higher if IRI is
               not available). Subtotals and Totals are not provided because the 1991 C&P Report did not include them. N/A
               is shown for functional classes that were split starting in 2010.
               2 See Chapter 3 for more information on these measures.

               3 See Chapter 5 for more information on this measure.

               Sources: Sources: 1991 C&P Report, Highway Performance Monitoring System, National Bridge Inventory,
               and Texas Transportation Institute.



   The operational performance measures presented in the 1991 C&P Report are not consistent with those in
   the current edition. However, the Texas Transportation Institute has computed a fully comparable historic
   time series for a metric presented in Chapter 5: the percent of travel occurring under congested conditions.
   Based on this measure, congestion has worsened since 1989.
   Although these types of rough comparisons of individual conditions and performance measures are not
   sufficiently robust to make definitive statements of the validity of the analyses presented in the 1991 C&P
   Report, actual trends over the forecast period do not appear to be wildly inconsistent with the report’s
   findings, taking into account the lower than projected growth in VMT. Because actual capital investment
   over the 20-year period was relatively close to the Maintain 1989 Conditions and Performance scenario,
   it is not surprising that actual performance outcomes were mixed, with pavement condition improving on
   some functional classes while worsening on others, with bridge conditions improving, and with operational
   performance deteriorating relative to 1989.


                                           Accounting for Inflation
   The analysis of potential future investment/performance relationships in the C&P report has traditionally
   stated future investment levels in constant dollars, with the base-year set according to the year of the
   conditions and performance data supporting the analysis. Throughout Chapters 7 and 8, this edition of the
   C&P report has stated all investment levels in constant 2010 dollars. For some purposes, however, such as
   comparing investment spending in a particular scenario with nominal dollar revenue projections, one would
   want to adjust for inflation. Given an assumption about future inflation, one could either convert the C&P
   report’s constant-dollar numbers to nominal dollars or convert the nominal projected revenues to constant
   2010 dollars.

                                                                                                                FHWA002434
                                                                                                  Supplemental Scenario Analysis      9-7
      Case 5:23-cv-00304-H            Document 15-18            Filed 01/31/24          Page 152 of 534          PageID 2712


      Why are the investment analyses presented in this report expressed in constant
      base-year dollars?
      The investment/performance models discussed in this report estimate the future benefits and costs of
      transportation investments in constant-dollar terms. This is standard practice for this type of economic analysis.
      To convert the model outputs from constant dollars to nominal dollars, it would be necessary to externally adjust
      them to account for projected future inflation.
      Traditionally, this type of adjustment has not been made in the C&P report. Because inflation prediction is an
      inexact science, adjusting the constant-dollar figures to nominal dollars tends to add to the uncertainty of the
      overall results and make the report more difficult to use if the inflation assumptions are inaccurate. Allowing
      readers to make their own inflation adjustments based on actual trends observed subsequent to the publication
      of the C&P report and/or the most recent projections from other sources is expected to yield a better overall
      result, particularly in light of the sharp swings in highway construction materials costs in recent years.
      The use of constant-dollar figures is also intended to provide readers with a reasonable frame of reference in
      terms of an overall cost level that they have recently experienced. When inflation rates are compounded for
      20 years, even relatively small growth rates can produce nominal dollar values that appear very large when
      viewed from the perspective of today’s typical costs.



      Why does this report assume that construction costs measured in constant
      dollars remain unchanged over the analysis period?
      Chapter 7 provided the definition of constant dollar measurement that the Office of Management and Budget
      includes in its guidance on benefit-cost analysis. Under this definition, any price predicted for a future year must
      be adjusted for the general inflation expected to occur between the base year and the future year, For example,
      if a future-year price is expected to be $1.10, whereas prices in general are expected to increase 3 percent
      between the base year and the future year, the price in constant dollars would be calculated as $1.10 divided by
      1.03, which is approximately $1.068.
      With a few exceptions, this report’s analyses of future investments in highways assume that prices entering the
      HERS model will change by the same percentage as general inflation, as measured by the Consumer Price
      Index (CPI). Under this assumption, the future price in constant dollars simply equates to the base-year price.
      As discussed in Chapter 7, the exceptions include the price of motor fuel and the marginal damage cost of
      CO emissions; as discussed in Chapter 10, the values of travel time savings and of crash reductions are also
      exceptions.
      The costs of highway improvements were not among the exceptions. Typical prices by type of improvement
      were assumed to increase at the same rate as the CPI, so that base-year prices were applied to future years.
      One reason for making this simplifying assumption is that, as discussed in Chapter 6, highway construction
      prices have been volatile in recent years; this suggests that forecasting their future movements relative to the
      CPI would be challenging. (Motor fuel price have also been volatile, but long-range forecasts are available from
      the Energy Information Administration.)
      Additional challenges to attempting such forecasting include limitations of the historical data on construction
      prices, as discussed in Appendix D of the 2010 C&P Report. It should be noted that the assumption that
      construction prices will change at the rate of general inflation may be fairly reasonable on average. As noted
      in Chapter 6, this report’s reading of the historical evidence is that, over the 20-year period from 1990 to 2010,
      highway construction costs increased 60.5 percent, which is not much different from the 66.8 percent increase
      in the CPI.

The average annual increase in highway construction costs over the last 20 years (1990 to 2010) was
2.4 percent. Since the creation of the Federal Highway Trust Fund in 1956, the 20-year period with the
smallest increase in construction costs was 1980 to 2000, when costs grew by 2.0 percent per year; the
largest increase occurred from 1960 to 1980, when costs grew by 7.4 percent per year. From 1986 to 2006,
highway construction costs grew by 4.0 percent annually. (Historic inflation rates were determined using the
FHWA Composite Bid Price Index through 2006, and the new FHWA National Highway Construction
Cost Index from 2006 to 2010; these indices are discussed in Chapter 6.) Exhibit 9-5 illustrates how the
constant dollar figures associated with three of the four systemwide scenarios for highways and bridges

9-8     Investment/Performance Analysis                                                                       FHWA002435
Case 5:23-cv-00304-H              Document 15-18                Filed 01/31/24             Page 153 of 534            PageID 2713

   presented in Chapter 8 could be converted to nominal dollars based on two alternative inflation rates of
   2.0 percent and 4.0 percent.
   The systemwide Sustain 2010 Spending scenario presented in Chapter 8 assumes that combined capital
   spending for highway and bridge improvements would be sustained at its 2010 level in constant-dollar terms
   for 20 years. Hence, Exhibit 9-5 shows $100.2 billion of spending in constant 2010 dollars for each year
   from 2011 through 2030, for a 20-year total of $2.0 trillion. Applying annual inflation in construction costs
   of 2.0 percent or 4.0 percent would imply a 20-year total in nominal dollars of $2.5 trillion or $3.1 trillion,
   respectively, for this scenario.
   Chapter 8 indicates that achieving the objectives of the systemwide Maintain Conditions and Performance
   scenario would require investment averaging $86.3 billion per year in constant 2010 dollars, equivalent
   to the level of investment achieved with a reduction of 1.44 percent per year in constant-dollar spending.
   Exhibit 9-5 illustrates the application of this real reduction rate, demonstrating how annual capital
   investment would decrease from $100.1 billion in 2010 to $74.9 billion in 2030, resulting in a 20-year

      Exhibit 9-5 Illustration of Potential Impact of Alternative Inflation Rates on Selected Systemwide
      Investment Scenarios
                                           Highway Capital Investment (Billions of Dollars)
                                                  Nominal Dollars (Assuming 2.0       Nominal Dollars (Assuming 4.0
                     Constant 2010 Dollars*           Percent Annual Inflation)           Percent Annual Inflation)
               Sustain    Maintain     Improve   Sustain     Maintain     Improve    Sustain    Maintain      Improve
                 2010    Conditions Conditions     2010     Conditions Conditions      2010    Conditions Conditions
                Spend-    & Perfor-   & Perfor-  Spend-      & Perfor-   & Perfor-    Spend-    & Perfor-    & Perfor-
                  ing       mance       mance       ing       mance        mance        ing       mance        mance
      Year     Scenario Scenario      Scenario Scenario Scenario         Scenario Scenario Scenario          Scenario
      2010      $100.2      $100.2      $100.2    $100.2      $100.2       $100.2     $100.2      $100.2       $100.2
      2011      $100.2       $98.7      $103.6    $102.2      $100.7       $105.7     $104.2      $102.7       $107.8
      2012      $100.2       $97.3      $107.2    $104.2      $101.2       $111.6     $108.3      $105.2       $116.0
      2013      $100.2       $95.9      $110.9    $106.3      $101.8       $117.7     $112.7      $107.9       $124.8
      2014      $100.2       $94.5      $114.8    $108.4      $102.3       $124.2     $117.2      $110.6       $134.3
      2015      $100.2       $93.2      $118.7    $110.6      $102.8       $131.1     $121.9      $113.3       $144.5
      2016      $100.2       $91.8      $122.8    $112.8      $103.4       $138.3     $126.8      $116.2       $155.4
      2017      $100.2       $90.5      $127.1    $115.1      $103.9       $146.0     $131.8      $119.1       $167.3
      2018      $100.2       $89.2      $131.5    $117.4      $104.5       $154.1     $137.1      $122.0       $180.0
      2019      $100.2       $87.9      $136.0    $119.7      $105.0       $162.6     $142.6      $125.1       $193.6
      2020      $100.2       $86.6      $140.7    $122.1      $105.6       $171.6     $148.3      $128.2       $208.3
      2021      $100.2       $85.4      $145.6    $124.6      $106.1       $181.1     $154.2      $131.4       $224.2
      2022      $100.2       $84.1      $150.7    $127.0      $106.7       $191.1     $160.4      $134.7       $241.2
      2023      $100.2       $82.9      $155.9    $129.6      $107.3       $201.6     $166.8      $138.1       $259.5
      2024      $100.2       $81.7      $161.3    $132.2      $107.8       $212.8     $173.5      $141.5       $279.2
      2025      $100.2       $80.5      $166.8    $134.8      $108.4       $224.5     $180.4      $145.1       $300.5
      2026      $100.2       $79.4      $172.6    $137.5      $109.0       $236.9     $187.6      $148.7       $323.3
      2027      $100.2       $78.2      $178.6    $140.3      $109.6       $250.0     $195.1      $152.4       $347.8
      2028      $100.2       $77.1      $184.7    $143.1      $110.1       $263.9     $202.9      $156.2       $374.3
      2029      $100.2       $76.0      $191.1    $145.9      $110.7       $278.5     $211.1      $160.1       $402.7
      2030      $100.2       $74.9      $197.8    $148.9      $111.3       $293.8     $219.5      $164.1       $433.3
      Total    $2,003.5    $1,725.9    $2,918.6  $2,482.7    $2,118.3     $3,697.1   $3,102.3    $2,622.6     $4,717.9
                 0.00%      -1.44%      3.46%   Constant Dollar Growth Rate
                $100.2       $86.3      $145.9  Average Annual Investment Level in Constant 2010 Dollars
     * Based on average annual investment levels and annual constant dollar growth rates identified in Exhibit 8-2.
     Source: FHWA staff analysis.



                                                                                                                 FHWA002436
                                                                                                   Supplemental Scenario Analysis   9-9
   Case 5:23-cv-00304-H           Document 15-18        Filed 01/31/24        Page 154 of 534        PageID 2714

(2011 to 2030) total of $1.7 trillion in constant 2010 dollars. A 2.0-percent inflation rate applied to these
constant-dollar estimates would produce a 20-year cost of $2.1trillion in nominal dollar terms, while a
4.0-percent inflation rate results in a 20-year nominal dollar cost of $2.6 trillion.
The compounding impacts of inflation are even more evident in the figures for the systemwide Improve
Conditions and Performance scenario presented in Exhibit 9-5. As described in Chapter 8, this scenario
assumes 3.46 percent growth in constant-dollar highway capital spending per year in order to address all
potentially cost-beneficial highway and bridge improvements by 2030. The $145.9-billion average annual
investment level associated with this scenario equates to a 20-year investment level of $2.9 trillion in
constant 2010 dollars. Adjusting this figure to account for inflation of 2.0 percent or 4.0 percent would
translate into 20-year nominal dollar costs of $3.7 trillion or $4.7 trillion, respectively.
Over any 20 year period, construction costs will increase despite the occasional year-to-year drops sometimes
experienced. Using a low inflation rate of 2.0 percent adds between 23 and 27 percent to the constant dollar
estimates for the 20-year period for the three scenarios. Using a higher inflation rate of 4.0 percent requires
between 52 and 62 percent of additional funding to meet the needs identified under the three scenarios.


                                       Timing of Investment
The investment/performance analyses presented in this report focus mainly on how alternative average
annual investment levels over 20 years might impact system performance at the end of this period. Within
this period, system performance can be significantly influenced by the timing of investment. Consistent with
the approach in the 2008 C&P Report, and as discussed in Chapter 7, the analyses in the present edition
assume that any change from the 2008 level of combined investment per year by all levels of government
would occur gradually and at a constant percent rate. However, some previous editions used different
approaches. The HERS 2006 C&P Report assumed that combined investment would immediately jump
to the average annual level being analyzed, then remain fixed at that level for 20 years. The HERS analyses
presented in the 2004 C&P Report were tied directly to alternative benefit-cost ratio (BCR) cutoffs rather
than to particular levels of investment in any given year. At higher spending levels, this approach resulted
in a significant front-loading of capital investment in the early years of the analysis as the existing backlog
of potential cost-beneficial investments (discussed above) was addressed, followed by a sharp decline in later
years. The analysis did not assume any increase in material and labor costs in response to the sharp increase
in the number of highway construction projects.
The discussion below explores the impact of each of these three assumptions about the timing of future
investment—ramped spending, flat spending, or BCR-driven spending—on system performance within the
20-year period analyzed. Each of the average annual investment levels analyzed correspond to the baseline
HERS analyses for Federal-aid Highways, and the baseline NBIAS analyses for all bridges presented in
Chapter 7.

Alternative Timing of Investment in HERS
This section presents information regarding how the timing of investment would impact the distribution
of spending among the four 5-year funding periods considered in HERS, and how these spending patterns
could potentially impact average pavement conditions (measured using International Roughness Index [IRI])
and delay per VMT. Because the timing of investment is varied for any given capital investment level, the
pavement condition and delay per VMT will change.
Alternative Investment Patterns
Exhibit 9-6 indicates how alternative assumptions regarding the timing of investment would impact the
distribution of spending among the four 5-year funding periods considered in HERS, and how these

9-10 Investment/Performance Analysis                                                              FHWA002437
Case 5:23-cv-00304-H               Document 15-18                 Filed 01/31/24               Page 155 of 534               PageID 2715

   spending patterns could potentially impact pavement condition and delay per VMT. The six investment
   levels were selected from the baseline (“ramped”) HERS analyses for Federal-aid highways presented in
   Chapter 7. Each investment level is compared across the three investment patterns: baseline (ramped)
   spending, flat spending, and BCR-driven spending.

      Exhibit 9-6 Distribution of Spending Among 5-Year HERS Analysis Periods and Projected Impacts
      on Average IRI and Average Delay, for Alternative Approaches to Investment Timing
     Average Annual           Percentage of HERS-Modeled Spending Occurring in Each 5-Year Period
     HERS-Modeled             Baseline                                 Alternatives
         Capital          Ramped Spending              Flat Spending 1             BCR-Driven Spending 2
       Investment    2011   2016    2021   2026  2011    2016   2021   2026     2011   2016    2021   2026
       (Billions of   to     to      to     to    to      to     to     to       to     to      to     to
      2010 Dollars)  2015   2020    2025   2030  2015    2020   2025   2030     2015   2020    2025   2030
          $86.9     18.3% 22.2% 26.9% 32.7% 25.1% 25.1% 25.1% 24.7% 41.2% 18.7% 18.2% 21.9%
          $67.8     21.9% 23.9% 26.0% 28.3% 25.0% 25.0% 25.0% 25.0% 37.5% 21.4% 18.9% 22.1%
          $60.9     23.7% 24.5% 25.4% 26.4% 25.0% 25.0% 25.0% 25.0% 35.8% 23.3% 19.7% 21.3%
          $56.4     25.0% 25.0% 25.0% 25.0% 25.0% 25.0% 25.0% 25.0% 34.2% 24.0% 20.4% 21.4%
          $51.1     26.8% 25.6% 24.4% 23.2% 25.0% 25.0% 25.0% 25.0% 32.7% 25.4% 21.0% 20.8%
          $43.2     30.2% 26.4% 23.1% 20.3% 25.0% 25.0% 25.0% 25.0% 29.5% 26.9% 22.2% 21.4%

     Average Annual                               Change in Average IRI Relative to Base Year
     HERS-Modeled                                          on Federal-aid Highways
         Capital                    Baseline                                      Alternatives
       Investment               Ramped Spending,                Flat Spending,               BCR-Driven Spending,
       (Billions of           Percent Change as of:         Percent Change as of:            Percent Change as of:
      2010 Dollars)        2015   2020    2025   2030   2015     2020    2025    2030     2015   2020    2025   2030
          $86.9           -9.6% -18.2% -23.3% -26.7% -17.7% -25.0% -26.5% -25.5% -31.0% -30.2% -26.7% -24.5%
          $67.8           -8.1% -13.7% -17.1% -18.0% -11.4% -17.0% -18.5% -17.7% -21.9% -22.6% -19.8% -17.6%
          $60.9           -7.6% -11.8% -14.4% -14.3% -8.7% -13.2% -14.9% -14.2% -17.9% -19.1% -16.8% -14.1%
          $56.4           -7.2% -10.5% -12.2% -11.5% -7.2% -10.5% -12.2% -11.5% -15.0% -16.2% -14.0% -11.5%
          $51.1           -6.5% -8.7% -9.2% -7.6% -4.8% -6.9% -8.0% -7.5% -11.4% -12.5% -10.4% -7.9%
          $43.2           -5.2% -5.5% -4.0% 0.0% -1.1% -0.8% -1.2% 0.4% -4.9% -5.4% -3.4% 0.0%

     Average Annual                         Change in Average Delay Per VMT Relative to Base Year
     HERS-Modeled                                         on Federal-aid Highways
         Capital                    Baseline                                   Alternatives
       Investment               Ramped Spending,               Flat Spending,              BCR-Driven Spending,
       (Billions of           Percent Change as of:        Percent Change as of:           Percent Change as of:
      2010 Dollars)        2015   2020    2025   2030   2015    2020    2025   2030     2015   2020    2025   2030
          $86.9           -9.2% -8.3% -7.8% -8.0% -11.9% -11.5% -9.6% -7.4% -16.9% -14.0% -10.3% -7.1%
          $67.8           -8.6% -6.5% -4.4% -2.4% -9.7% -7.9% -5.4% -2.2% -13.3% -10.4% -5.8% -1.7%
          $60.9           -8.3% -5.8% -2.7% 0.0% -8.8% -6.3% -3.0% 0.1% -11.8% -8.9% -4.0% 0.4%
          $56.4           -8.0% -5.2% -1.5% 1.9% -8.0% -5.2% -1.5% 1.9% -10.6% -7.4% -2.5% 2.3%
          $51.1           -7.8% -4.5% -0.3% 4.3% -7.3% -3.8% 0.0%              4.2% -9.5% -6.0% -0.9% 4.7%
          $43.2           -7.5% -3.2% 2.0%       7.6% -6.1% -1.6% 3.0%         7.4% -7.2% -3.1% 2.3%          7.6%
      1 The shaded values identified for the row labeled $86.9 billion actually reflect a lower average annual investment level of

      $86.5 billion, as HERS did not find a sufficient pool of cost-beneficial potential investments to spend the full amount in the last
      funding period.
      2 Each percentage distribution shown corresponds to a HERS analysis assuming investment up to a minimum benefit-cost ratio

      cutoff point (not shown) which was set at a level such that 20-year spending would be consistent with the average annual
      spending level shown. The shaded values for the row labeled $86.9 billion are actually based on a lower average annual
      investment level of $86.5 billion, as spending more than that amount would have required investing in improvements with a BCR
      lower than 1.0 (which HERS won't do).
      Source: Highway Economic Requirements System.



                                                                                                                     FHWA002438
                                                                                                       Supplemental Scenario Analysis       9-11
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24       Page 156 of 534         PageID 2716

For the baseline (ramped) analyses, the distribution of spending among funding periods is driven by the
annual constant dollar spending growth rate assumed; for higher growth rates, a smaller percentage of a total
20-year investment would occur in the first 5 years.
The flat spending alternative is linked directly to the average annual investment levels associated with each of
the baseline analyses; as shown in the top section of Exhibit 9-6, because spending would remain the same in
each of the 20 years, the distribution of spending within each 5-year period makes up exactly one-quarter of
the total. For example, when HERS-modeled capital investment spending is sustained at the base-year level
of $56.4 billion, the results of the ramped spending and flat spending alternatives are identical. (Spending
is flat when its growth rate is zero.) As noted in Exhibit 9-6, although HERS finds an average annual
investment level of $86.9 billion to be cost-beneficial assuming ramped spending, the model identifies only
$86.5 billion of cost-beneficial investment assuming flat spending.
The BCR-driven spending percentages identified in Exhibit 9-6 represent the distribution of spending that
would occur if a uniform minimum BCR were applied in HERS across all four 5-year funding periods.
The benefit-cost cutoff points were selected to coordinate with the total 20-year spending for each of the
baseline analyses. At higher spending levels, the existence of the backlog of cost-beneficial investments would
cause a higher percentage of spending to occur in the first 5-year period through 2015. This effect is less
pronounced at lower levels of investment because some potential projects included in the estimated backlog
would have a BCR below the cutoff point associated with that level of spending, and would thus be deferred
for consideration in later funding periods. The percentage of total HERS-modeled, BCR-driven spending
occurring in the first 5 years ranged from 29.5 percent for the lowest spending level analyzed to 41.2 percent
for the highest level analyzed.
Impacts of Alternative Investment Patterns
An obvious difference among the three alternative investment patterns is that the higher the level of
investment within the first 5-year analysis period, the better the level of performance achieved by 2015. At
levels of HERS-modeled investment above $56.4 billion per year, the flat spending approach invests more in
the first 5 years, resulting in lower IRI and average delay in 2015 than under the ramped spending approach;
the reverse is true at funding levels less than $56.4 billion. The BCR-driven approach invests more in the
first 5 years for all but the lowest average annual investment level presented of $43.2 billion per year; thus, at
the higher investment levels, the BCR-driven approach achieves more IRI and delay reduction by 2015.
The more significant results pertain to system performance in 2030. In terms of average IRI, the flat
spending approach and the BCR-driven approach yield results that are equal to or slightly inferior to those
assuming ramped spending. For example, at an average annual investment level of $43.2 billion, average
IRI would remain unchanged under the ramped spending approach or the BCR-driven approach in 2030
relative to 2010, but would increase by 0.4 percent under the flat spending approach.
The flat spending alternative achieves the largest reduction in average delay per VMT in 2030 relative
to the baseline ramped spending approach only for HERS investment levels below the base-year level of
$56.4 billion; the BCR-driven alternative produces average delay results equal or slightly inferior to the
other two approaches at all levels of investment. For example, at an average annual investment level of
$60.9 billion, average delay would remain unchanged under the ramped spending approach, but would
increase by 0.1 percent under the flat funding alternative and by 0.4 percent under the BCR-driven funding
alternative.
The significance of these 2030 results is that, although the ramped funding approach is often marginally
superior to the two alternatives presented, it is ultimately the amount of funding invested over 20 years
that has the most impact on system performance rather than the timing of that investment. Based on this
analysis, the main advantage to front-loading highway investment is not in reducing 20-year investment


9-12 Investment/Performance Analysis                                                                FHWA002439
Case 5:23-cv-00304-H             Document 15-18                Filed 01/31/24             Page 157 of 534              PageID 2717

   needs; instead, the advantage is the years of additional benefits that highway users would accrue over time if
   system conditions and performance were improved earlier in the 20-year period.

   Alternative Timing of Investment in NBIAS
   Exhibit 9-7 identifies the impacts of alternative investment timing on the average bridge sufficiency rating
   using four investment levels selected from those presented in Chapter 7. (See Chapter 7 for additional
   discussion of the sufficiency rating.) One of these investment levels matches the 2010 spending level of
   $17.1 billion on types of investments modeled in NBIAS, one corresponds to a higher level of investment
   of $20.2 billion annually (representing the NBIAS-derived component of the Improve Conditions
   and Performance scenario presented in Chapter 8), and two lower investment average annual levels of
   $14.3 billion and $12.2 billion (representing the NBIAS-derived component of the Maintain Conditions
   and Performance scenario presented in Chapter 8).

      Exhibit 9-7 Distribution of Spending Among 5-Year Periods in NBIAS and Projected Impacts on the
      Average Bridge Sufficiency Rating, for Alternative Approaches to Investment Timing
     Average Annual           Percentage of NBIAS-Modeled Spending Occurring in Each 5-Year Period
     NBIAS-Modeled            Baseline                                  Alternatives
         Capital          Ramped Spending                Flat Spending             BCR-Driven Spending*
       Investment    2011   2016    2021   2026   2011   2016    2021  2026     2011    2016    2021 2026
       (Billions of   to     to      to      to    to      to     to     to      to      to      to    to
      2010 Dollars)  2015   2020    2025   2030   2015   2020    2025  2030     2015    2020    2025 2030
          $20.2     22.2% 24.0% 25.9% 28.0% 25.0% 25.0% 25.0% 25.0% 38.9% 21.4% 20.7% 19.0%
          $17.1     25.0% 25.0% 25.0% 25.0% 25.0% 25.0% 25.0% 25.0% 37.3% 22.8% 20.9% 19.1%
          $14.3     28.3% 26.0% 23.8% 21.9% 25.0% 25.0% 25.0% 25.0% 34.5% 24.4% 21.3% 19.7%
          $12.2     31.7% 26.7% 22.6% 19.0% 25.0% 25.0% 25.0% 25.0% 31.6% 23.5% 24.6% 20.3%

     Average Annual
     NBIAS-Modeled                        Projected Average Bridge Sufficiency Rating
         Capital             Baseline                                     Alternatives
       Investment        Ramped Spending,               Flat Spending,               BCR-Driven Spending*
       (Billions of    Percent Change as of:         Percent Change as of:           Percent Change as of:
      2010 Dollars) 2015   2020    2025   2030    2015   2020    2025    2030     2015   2020   2025    2030
          $20.2     82.8   83.9    84.6   84.6    83.4   84.4    84.5    84.3     85.3   84.6    84.1   83.9
          $17.1     82.5   83.2    83.9   84.1    82.5   83.2    83.9    84.1     84.3   83.9    83.6   83.4
          $14.3     82.3   82.5    82.9   83.2    81.5   81.8    82.7    83.5     83.2   82.9    82.8   82.9
          $12.2     82.0   81.8    81.7   81.7    80.6   80.3    80.9    82.2     82.1   81.5    81.8   82.1
      * Each percentage distribution shown corresponds to a NBIAS analysis assuming investment up to a minimum benefit-cost ratio
      cutoff point (not shown) which was set at a level such that 20-year spending would be consistent with the average annual spending
      level shown.
      Source: National Bridge Investment Analysis System.



   Similar to the HERS results presented earlier, the projected average bridge sufficiency rating in 2015
   is driven by the amount of NBIAS investment during the first 5-year period. Unlike the HERS results
   presented earlier, NBIAS does not find the maximum level of cost-beneficial investment to be lower under
   the two alternatives than under the baseline ramped spending approach; in all three cases, NBIAS identified
   20 years of cost-beneficial investment corresponding to an average annual investment level of $20.2 billion.
   At an average annual investment level of $20.2 billion, NBIAS projects that the highest average bridge
   sufficiency rating in 2030 would be achieved under the baseline ramped spending approach at 84.6 (on a
   scale of 0 to 100), compared to 84.3 assuming ramped spending and 83.9 for the BCR-driven spending


                                                                                                                FHWA002440
                                                                                                  Supplemental Scenario Analysis          9-13
   Case 5:23-cv-00304-H           Document 15-18       Filed 01/31/24       Page 158 of 534        PageID 2718

alternative. However, at an average annual investment level of $12.2 billion, NBIAS projects that the average
bridge sufficiency rating in 2030 would match the 2010 level of 81.7 assuming the baseline ramped funding
approach, which is lower than the 82.2 and 82.1 average sufficiency ratings projected for the flat spending
and BCR-driven spending alternatives, respectively.
The BCR-driven spending approach is intended to better align annual capital spending to annual needs.
This approach has a benefit in terms of reducing ongoing maintenance costs; however, front-loading capital
investment in this manner tends to exacerbate the concentration of future bridge needs by putting a larger
number of bridges on the same repair and rehabilitation cycle. The imposition of an annual spending
constraint in the baseline ramped spending analyses tends to stretch out bridge work across a longer period,
so that subsequent repair and rehabilitation cycles would be more spread out.




9-14 Investment/Performance Analysis                                                            FHWA002441
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 159 of 534         PageID 2719



               Transit Supplemental Scenario Analysis

   This section is intended to provide the reader with a deeper understanding of the assumptions behind the
   scenarios presented in Chapters 7 and 8 and also of the real-world issues that impact transit operators’ ability
   to address their outstanding capital needs. Specifically, this section includes discussion of the following
   topics:
    Asset condition forecasts under four scenarios: (1) Sustain 2010 Spending, (2) State of Good Repair
       (SGR) benchmark, (3) Low Growth, and (4) High Growth
      A comparison of 2010 to 2013 TERM results
      A comparison of recent historic passenger miles traveled (PMT) growth rates with the growth projections
       of the Nation’s Metropolitan Planning Organizations (MPOs)
      An assessment of the impact of purchasing hybrid vehicles to the backlog estimate
      The forecast of purchased transit vehicles, route miles, and stations under the High Growth and
       Low Growth scenarios.

   Asset Conditions Forecasts and Expected Useful Service Life
      Consumed for All Transit Assets Under Four Scenarios
   As in the 2010 edition, this edition of the C&P report uses four condition projection scenarios (i.e., SGR
   benchmark, Sustain 2010 Spending, Low Growth, and High Growth scenarios) to better understand
   which conditions outcome is desirable or even sensible. For example, are current asset conditions at an
   acceptable level or are they too low (or too high) for individual asset types?
   To help answer this question, consider Exhibit 9-8, which presents the condition projections for each of the
   four scenarios. Note that these projections predict the condition of all transit assets in service each year of
   the 20-year analysis period, including transit assets that exist today and any investments in expansion assets
   by these scenarios. The Sustain 2010 Spending, Low Growth, and High Growth scenarios each make
   investments in expansion assets while the SGR benchmark scenario only reinvests in existing assets. Note
   that the estimated current average condition of the Nation’s transit assets is 3.75. As discussed in Chapter 8,
   expenditures under the financially constrained Sustain 2010 Spending scenario are not sufficient to address
   replacement needs as they arise, leading to a predicted increase in the investment backlog. This increasing
   backlog is a key driver in the decline in average transit asset conditions as shown for this scenario in
   Exhibit 9-8.
   In contrast to the Sustain 2010 Spending scenario, the SGR benchmark scenario is financially
   unconstrained and considers the level of investment required to both eliminate the current investment
   backlog and to address all ongoing reinvestment needs as they arise such that all assets remain in an SGR
   (i.e., a condition of 2.5 or higher). Despite adopting the objective of maintaining all assets in an SGR
   throughout the forecast period, average conditions under the SGR benchmark scenario ultimately decline to
   levels well below the current average condition value of 3.75.
   This result, although counterintuitive, is explained by a high proportion of long-lived assets (e.g., guideway
   structures, facilities, and stations) that currently have fairly high average condition ratings and a significant
   amount of useful life remaining, as shown in Exhibit 9-9. The exhibit shows the share of all transit assets
   (equal to approximately $658 billion in 2010) as a function of their useful life consumed. The spike in


                                                                                               FHWA002442
                                                                                 Supplemental Scenario Analysis   9-15
           Case 5:23-cv-00304-H                                                    Document 15-18                    Filed 01/31/24            Page 160 of 534              PageID 2720


 Exhibit 9-8 Asset Condition Forecast for All Existing and Expansion Transit Assets
                                               4.10
                                               4.05                                                                                                    High Growth
                                                                                                                                                       Low Growth
                                               4.00
                                                                                                                                                       Sustain Spending
  National Average Condition Rating




                                               3.95                                                                                                    SGR
                                               3.90                                                                                                    Starting Condition
                                               3.85
                                               3.80
                                               3.75
                                               3.70
                                               3.65
                                               3.60
                                                           Sustain spending curve is lower
                                               3.55        since assets past their useful life
                                               3.50            are not initially replaced.

                                               3.45
                                               3.40
                                                  Start: 2010   2011        2013         2015          2017         2019      2021      2023      2025       2027           2029
                                                                                                                    Forecast Year
 Source: Transit Economic Requirements Model.



Exhibit 9-9 at the point where only 20 percent of useful life has been consumed is driven in part by ongoing
expansion investments. Elimination of the current SGR backlog removes a significant number of over-age
assets from service (resulting in an initial jump in asset conditions), but the ongoing aging of the longer-lived
assets will ultimately draw the average asset conditions down to a long-term condition level that is consistent
with the objective of SGR (and hence sustainable) but ultimately measurably below current average aggregate
conditions.
If the SGR benchmark scenario represents a reasonable long-term investment strategy (i.e., replacing assets
close to the end of their useful life which results in a long-term decline in average conditions), then investing
under the Sustain 2010 Spending scenario implies an investment strategy of replacing assets at later ages, in
worse conditions, and potentially after the end of their useful life, as shown in Exhibit 9-10. Expenditures on
asset reinvestment for the Sustain 2010 Spending scenario are insufficient to address ongoing reinvestment
needs, leading to an increase in the size of the backlog. Note that the forecast for 2030 for the Sustain 2010


   Exhibit 9-9 SGR Baseline Scenario: Asset Percent of Useful Life Consumed

                                                16%
                                                14%                                                                                                                          2010
                 Share of All Transit Assets




                                                12%                                                                                                                          2030

                                                10%
                                                  8%
                                                  6%
                                                  4%
                                                  2%
                                                  0%
                                                        0%          20%          40%             60%          80%        100%        120%       140%       160%        180%
                                                                                             Percent of Useful Life Consumed
  Source: Transit Economic Requirements Model.



9-16 Investment/Performance Analysis                                                                                                                                  FHWA002443
Case 5:23-cv-00304-H                                          Document 15-18     Filed 01/31/24           Page 161 of 534          PageID 2721

   Spending scenario in Exhibit 9-10 indicates that assets under this scenario will be closer to or beyond the
   end of their useful life when compared with the other scenarios; this difference reflects a larger portion of the
   national transit assets still in use after the end of their useful lives.

     Exhibit 9-10 Sustain 2010 Spending Scenario: Asset Percent of Useful Life Consumed
                                            16%

                                            14%                                                                                             2010
              Share of All Transit Assets




                                            12%                                                                                             2030

                                            10%

                                             8%

                                             6%

                                             4%

                                             2%

                                             0%
                                                   0%    20%      40%    60%       80%       100%         120%    140%     160%      180%          200%
                                                                                Percent of Useful Life Consumed
     Source: Transit Economic Requirements Model.



   To underscore these findings, note that the Low Growth scenario and the High Growth scenario include
   unconstrained investments in both asset replacements and asset expansions. Hence, not only are older
   assets replaced as needed with an aggressive reinvestment rate, but new expansion assets are also continually
   added to support ongoing growth in travel demand. While initially insufficient to fully arrest the decline
   in average conditions, the impact of these expansion investments would ultimately reverse the downward
   decline in average asset conditions in the final years of the 20-year projections. This would also result
   in a higher proportion of long-lived assets with a larger amount of useful life remaining in 2030 than
   in 2010 as illustrated in Exhibit 9-11 and Exhibit 9-12, respectively. Furthermore, the High Growth
   scenario (Exhibit 9-12) adds newer expansion assets at a higher rate than does the Low Growth scenario
   (Exhibit 9-11), ultimately yielding higher average condition values for that scenario (and average condition
   values that exceed the current average of 3.75 throughout the entire forecast period).


     Exhibit 9-11 Low Growth Scenario: Asset Percent of Useful Life Consumed
                                        16%

                                        14%                                                                                       2010
      Share of All Transit Assets




                                        12%                                                                                       2030

                                        10%

                                            8%

                                            6%

                                            4%

                                            2%

                                            0%
                                                  0%    20%      40%    60%       80%       100%       120%       140%     160%      180%          200%
                                                                               Percent of Useful Life Consumed
    Source: Transit Economic Requirements Model.




                                                                                                                                FHWA002444
                                                                                                                  Supplemental Scenario Analysis      9-17
            Case 5:23-cv-00304-H                                                  Document 15-18               Filed 01/31/24             Page 162 of 534        PageID 2722

  Exhibit 9-12 High Growth Scenario: Asset Percent of Useful Life Consumed
                                              18%
                                              16%                                                                                                                  2010

                                              14%                                                                                                                  2030
               Share of All Transit Assets




                                              12%
                                              10%
                                               8%
                                               6%
                                               4%
                                               2%
                                               0%
                                                     0%        20%            40%         60%         80%        100%       120%      140%      160%      180%          200%
                                                                                                Percent of Useful Life Consumed
  Source: Transit Economic Requirements Model.


Alternative Methodology
When we consider current transit investment practices, the level of investment needed to eliminate the
SGR backlog in 1 year is unfeasible. So the SGR benchmark, Low Growth, and High Growth scenarios’
financially unconstrained assumptions (e.g., spending of unlimited transit investment funds each year) is
unrealistic. As indicated in Exhibit 9-8, the elimination of the backlog in the first year and the resulting
jump in asset conditions in year 1 can be attributed to this unconstrained assumption.
An alternative, more feasible methodology is to have the SGR benchmark, Low Growth, and High
Growth scenarios use a financially constrained reinvestment rate to eliminate the SGR backlog by year 20
while maintaining the collective national transit assets at a condition rating of 2.5 or higher. Analysis has
determined that investing $17.5 billion annually would achieve this objective of eliminating the backlog in
20 years.
Exhibit 9-13 presents the condition projections for each of the four scenarios using this alternative
methodology. However, the SGR benchmark, Low Growth, and High Growth scenarios are financially
constrained so the investment strategies result in replacing assets at later ages, in worse conditions, and
potentially after the end of their useful lives.
 Exhibit 9-13 Asset Condition Forecast for All Existing and Expansion Transit Assets Under
 Alternative Methodology
                                             3.85

                                             3.80
  National Average Condition Rating




                                             3.75

                                             3.70

                                             3.65

                                             3.60
                                                                     Sustain Spending
                                             3.55                    SGR
                                             3.50                    Low Growth
                                                                     High Growth
                                             3.45                    Starting Condition

                                             3.40
                                                Start: 2010   2011         2013       2015         2017       2019      2021       2023      2025      2027      2029
                                                                                                            Forecast Year
  Source: Transit Economic Requirements Model.



9-18 Investment/Performance Analysis                                                                                                                          FHWA002445
Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24        Page 163 of 534          PageID 2723

                     Comparison of 2010 to 2013 TERM Results
   The backlog and investment needs estimated by TERM differ between the 2010 and 2013 C&P Reports.
   This section compares the TERM results between these two reports and explains why they differ.
   The estimated backlog in the 2013 C&P Report increased from $77.7 billion (as reported in the 2010 C&P
   Report) to $85.9 billion, representing an increase of more than 10 percent. There are three primary reasons
   for the increase in the backlog:
    Additional needs: The value of the backlog is strongly correlated to the age of the inventory of assets.
      Certain assets that were nearing the condition threshold of 2.5 in 2008 continued to age and degrade
      until 2010. As the predicted condition of these assets moved from better than 2.5 to worse than
      2.5 during this period, the cost of replacing them was added to the backlog calculation. The backlog
      increased by $9 billion for this reason between the 2010 and the 2013 C&P Report.
    Inflation: Using published construction inflation factors, the backlog was escalated from 2008 to 2010
      dollars. The impact of inflation on the backlog between the 2010 and 2013 C&P Reports is $3.6 billion.
    Changed Asset Inventory: The asset inventory used in the TERM simulation consists of nearly 84,000
      asset records for almost 2,400 transit agencies.
      For each edition of the C&P report, the Federal       Exhibit 9-14 Causes of the Increase in the
      Transit Administration (FTA) collects new             Backlog between the 2010 C&P Report and the
      asset data from select agencies. In general,          2013 C&P Report
      agencies continue to improve the defensibility                                                             Billion $
      and accuracy of their inventory data. As a            SGR Backlog as reported in the 2010 C&P report $77.7
      result, FTA expects some change to reflect the          Impact of two additional years of needs               +9.0
      improved data. For the 2013 C&P Report,                 Impact of inflation                                   +3.6
      the impact of improved data resulted in a net           Impact  from  the change  in the asset inventory       -4.4
      decrease of approximately $4.4 billion.               SGR  Backlog    as reported in the 2013  C&P  report  $85.9
                                                            Source: Transit Economic Requirements Model.
   Exhibit 9-14 provides a summary of these three
   adjustments. Note that the SGR backlog of
   $77.7 billion dollars comes from Exhibit 8-30 in the 2008 C&P Report.
   Nonrail investment projections decreased in this 2013 C&P Report relative to the 2010 C&P Report for all
   scenarios, as presented in Exhibit 9-15, while rail investments decreased in this report relative to the previous
   report only for the High Growth scenario. This is because the high growth rate in this 2013 C&P Report is
   lower than the high growth rate in the 2010 C&P Report.
   The high growth rate is projected using 10- or 15-year historical ridership growth trends. The 2010 C&P
   Report used a 10-year trend (1999 to 2008), which gave a high growth rate of 2.8 percent. The 10-year
   trend for the 2013 C&P Report (2001 to 2010) included the effects of the recession and, thus, was not
      Exhibit 9-15 Comparison of Projected Investment Needs for 2010 and 2013 C&P Report
      Investment Scenarios
                                                      Investment Projection (Billions of 2010 Dollars)
                                              Nonrail                      Rail                        Total
                                      2010 C&P     2013 C&P      2010 C&P       2013 C&P      2010 C&P     2013 C&P
                Scenario               Report        Report       Report          Report       Report        Report
       Sustain 2010 Spending             $6.4          $5.8        $10.7          $10.7         $17.1         $16.5
       SGR Benchmark                     $7.5          $6.7        $11.6          $11.7         $19.1         $18.5
       Low Growth                        $8.4          $7.8        $13.6          $14.2         $22.1         $22.0
       High Growth                      $10.0          $9.2        $16.0          $15.3         $26.0         $24.5
      Source: Transit Economic Requirements Model.



                                                                                                  FHWA002446
                                                                                    Supplemental Scenario Analysis    9-19
        Case 5:23-cv-00304-H                                           Document 15-18                   Filed 01/31/24             Page 164 of 534                PageID 2724

much higher than the low growth rate of 1.4 percent. Accordingly, a 15-year historical time horizon was used
to calculate the high growth rate for the 2013 C&P Report, which resulted in a growth rate of 2.2 percent.
The low growth rate is the MPO-projected ridership growth rate and is roughly the same for both reports.


                                               Comparison of Passenger Miles Traveled (PMT)
                                                              Growth Rates
The Low Growth and High Growth scenarios presented in Chapter 8 assessed transit expansion investment
needs assuming two differing rates of growth in transit PMT. Specifically, the Low Growth scenario assumed
urbanized-area (UZA)–specific rates of PMT growth as projected by the Nation’s MPOs. The High Growth
scenario assumed the UZA-specific average annual compound rates experienced over the most recent 15-year
period. The objective of this discussion is to put into perspective these two differing growth rates.
In general, the MPO projections are believed to provide a lower range for PMT growth because these
projections are financially constrained (i.e., the assumed rate of transit and highway network expansion
is constrained to what is feasible given expected future funding capacity and long-term expansion plans).
Hence, while the Low Growth scenario is intended to represent unconstrained transit investment needs
given a projected rate of increase in PMT, the MPO PMT growth rates underlying this scenario are
financially constrained, thus imposing an implicit financial constraint on this scenario. The UZA PMT
projections used for the Low Growth scenario were provided by a sample of MPOs; this sample was
dominated by the Nation’s largest UZAs but also included a mix of small- and medium-sized metropolitan
areas from around the Nation. When weighted to account for differences in current annual PMT, this sample
yields a weighted national average PMT growth rate of 1.3 percent.

MPO Growth Compared to Historical Growth for All Urbanized and Rural Areas
As shown in Exhibit 9-16, the historical rates of PMT growth experienced over the past 16 years have
typically been in excess of the MPO-projected growth rates. During the period from 1994 through 2010

  Exhibit 9-16 Passenger Miles Traveled, All Urbanized and Rural Areas
                                        60                                                                                                                        6%
                                                                                                                              5.1%
                                                                                                                                     4.8%
                                             4.6%                                                                                                                 5%
                                        50                                  4.0% 4.2%

                                                                                                                                                                        Year-Over-Year Percentage Change
  Passenger Miles Traveled (Billions)




                                                                     3.5%                                                                   3.5%                  4%
                                                              3.1%                        3.1%
                                                       2.7%
                                        40                                                                                                                        3%
                                                                                                                1.9%
                                                                                                                                                                  2%
                                        30
                                                                                                                                                                  1%
                                                                                                                       1.2%                        0.3%
                                                                                   45.1   46.5   46.1    45.7
                                                                     41.6   43.3                                46.5
                                        20                    40.2                                                     47.1 49.5                                  0%
                                                  0.2% 39.0                                                                          51.9
                                             37.9 38.0                                                                                      53.7   53.9 52.6
                                                                                                                                                                  -1%
                                        10                                                       -0.9% -0.9%
                                                                                                                                                          -2.4%
                                                                                                                                                                  -2%

                                        0                                                                                                                         -3%
                                             1994      1996          1998          2000          2002           2004          2006          2008          2010

                                                                                                 Year
                                                          Passenger Miles Traveled                               Year-Over-Year Percentage Change
                                                          MPO Projected Growth                                   15-Year Compound Growth Rate

  Source: NTD and MPO estimates.



9-20 Investment/Performance Analysis                                                                                                                        FHWA002447
Case 5:23-cv-00304-H                                              Document 15-18                  Filed 01/31/24                 Page 165 of 534               PageID 2725

   presented in Exhibit 9-16, the compound annual growth rate averaged roughly 2.1 percent rather than the
   1.3-percent growth rate projected by MPOs for the upcoming 20- to 30-year period. The average compound
   annual growth rate of 2.1 percent closely resembles the 2.0 percent high growth rate. Given the significant
   difference in these two rates (and the relatively high rate of historic PMT growth as compared to other
   additional measures, such as urban area population growth), the historical rate of PMT was identified as a
   reasonable input value for the High Growth (or higher-growth) scenario. There is a significant drop in year-
   over-year percentage change in 2009 and 2010 PMT that is mostly due to the decrease in PMT for UZAs
   over 1 million in population.

   UZAs Over 1 Million in Population
   As shown in Exhibit 9-17, the difference between the MPO-projected growth rate and the recent historical
   PMT growth rate remains unchanged when limited to UZAs with populations greater than 1 million. For
   these larger UZAs, the compound average annual growth rate again averaged roughly 2.2 percent during the
   period from 1994 through 2010 as compared with the 1.2-percent growth rate projected by MPOs for the
   up-coming 20- to 30-year period.

     Exhibit 9-17 Passenger Miles Traveled, UZAs over 1 Million in Population
                                            50                                                                                                                              8%
                                                                                                                                        45.3          48.9   49.0
                                            45                                                    42.7                   43.0    43.3          47.5                 47.8
                                                                                           41.3          42.2    41.9
                                                                                                                                                                            6%




                                                                                                                                                                                  Year-Over-Year Percentage Change
                                                                                    39.6
      Passenger Miles Traveled (Billions)




                                            40   4.9%                        38.1                                                       4.8%
                                                                      36.7
                                                        34.7   35.9
                                            35                               3.8% 3.8%                                                         4.8% 3.1%                    4%
                                                               3.3%                        4.5% 3.3%
                                            30   34.5                                                                    2.4%

                                            25                        2.4%                                                                                                  2%

                                            20
                                                        0.6%                                                                    0.6%                                        0%
                                            15
                                                                                                                                                             0.1%
                                            10                                                                   -0.6%
                                                                                                         -1.1%                                                              -2%
                                             5
                                                                                                                                                                    -2.4%
                                             0                                                                                                                              -4%
                                                 1994          1996          1998          2000          2002            2004           2006          2008          2010
                                                                                                         Year

                                                                        Passenger Miles Traveled                                Year-Over-Year Percentage Change
                                                                        MPO Projected Growth                                    15-Year Compound Growth Rate

     Source: NTD and MPO estimates.



   UZAs Under 1 Million in Population and Rural Areas
   Finally, as shown in Exhibit 9-18, there is significantly less difference between the MPO-projected and recent
   annual average historical PMT growth rates when the analysis is limited to urbanized areas with populations
   less than 1 million and rural areas. For UZAs under 1 million in population, the compound average annual
   growth rate averaged roughly 2.3 percent during the period from 1994 through 2010, which is close to
   the 2.2-percent growth rate projected by MPOs for this group. There are two significant differences to
   note here with the findings for the larger UZAs. First, the MPO-projected rate of increase for UZAs under
   1 million in population is roughly 64 percent higher than for UZAs over 1 million in population. This
   difference is partly accounted for by (1) the higher rates of population growth in many of these smaller
   UZAs (particularly in the south and in the west) and (2) proposed light and commuter rail investments in
   some UZAs in this group. Second, the year-to-year variance in the actual growth rates is roughly double that

                                                                                                                                                       FHWA002448
                                                                                                                                         Supplemental Scenario Analysis                                       9-21
   Case 5:23-cv-00304-H                                                      Document 15-18                 Filed 01/31/24                   Page 166 of 534              PageID 2726

   Exhibit 9-18 Passenger Miles Traveled, UZAs Under 1 Million in Population
                                         5.0                                                                                                                               12%
                                                                                                                                                            4.9    4.9
                                         4.5                    10.7%                                                                                4.8                   10%
                                                                                                                                       4.2
                                                                                                                                8.4%           4.4




                                                                                                                                                                                 Year-Over-Year Percentage Change
   Passenger Miles Traveled (Billions)




                                         4.0                                                      3.8
                                                                                    3.7                                                                                    8%
                                                                                                         3.9                           8.5%          8.8%
                                         3.5                                               3.8                  3.7
                                                                             3.5                                        3.6                                                6%
                                               3.4                     3.5                                                                                  3.3%
                                         3.0          3.3                                                                       3.9
                                                              3.1                   6.8%                                                      4.9%                         4%
                                         2.5
                                                                                                                                                                           2%
                                         2.0
                                               1.7%                                                      1.6%
                                                                             0.9%          1.3%                                                                            0%
                                         1.5
                                                                                                  1.3%
                                         1.0                                                                                                                               -2%
                                                                                                                                                                   -1.6%
                                         0.5          -3.1%                                                                                                                -4%
                                                              -4.1%                                             -3.9%
                                                                                                                        -4.2%
                                         0.0                                                                                                                               -6%
                                               1994           1996           1998         2000           2002           2004           2006          2008          2010
                                                                                                         Year
                                                                     Passenger Miles Traveled                           Year-Over-Year Percentage Change
                                                                     MPO Projected Growth                               15-Year Compound Growth Rate

   Source: NTD and MPO estimates.


experienced by UZAs over 1 million in populations. The percent change in annual passenger miles traveled
varies with a low of -4.2 percent to a high of 10.7 percent over the 17-year period. Given this variability in
growth rates, it is important to have alternative growth rates (i.e., Low Growth and High Growth scenarios)
for projection purposes.


   Impact of New Technologies on Transit Investment Needs
The investment needs scenarios presented in Chapter 8 implicitly assume that all replacement and expansion
assets will utilize the same technologies as are currently in use today (i.e., all asset replacement and expansion
investments are “in kind’). However, as with most other industries, the existing stock of assets used to
support transit service is subject to ongoing technological change and improvement and this change
tends to result in increased investment costs (including future replacement needs). While many of these
improvements are standardized and hence embedded in the asset (i.e., the transit operator has little or no
control over this change), there are numerous instances where transit operators have intentionally selected
technology options that can be significantly more costly than pre-existing assets of the same type. A key
example here is the frequent decision to replace diesel motor buses with compressed natural gas (CNG) or
hybrid buses. While these options offer clear environmental benefits (and CNG may also result in decreases
in operating costs), acquisition costs for these vehicle types are 20 to 60 percent higher than diesel. This
increase in costs generally increases current and long-term reinvestment needs and, in a budget-constrained
environment, increases the expected future size of the investment backlog. This increase may be offset by
lower operating costs from more reliable operation, longer useful lives, and improved fuel efficiency, but this
possible offset is not captured in this assessment of capital needs. Again, the impact of these technology-
driven increases in needs is not included in the needs estimates presented in Chapters 7 and 8 of this report.
In addition to improvements in pre-existing asset types, transit operators periodically expand their existing
asset stock to introduce new asset types that take advantage of technological innovations. Good examples
include investments in intelligent transportation system technologies such as real-time passenger information
systems and automated dispatch systems, assets and technologies that are common today but that were

9-22 Investment/Performance Analysis                                                                                                                                 FHWA002449
Case 5:23-cv-00304-H            Document 15-18             Filed 01/31/24   Page 167 of 534       PageID 2727

   not available 15 to 20 years ago. These improvements typically yield improvements in service quality and
   efficiency, but they also tend to yield increases in asset acquisition, maintenance, and replacement costs,
   resulting in an overall increase in reinvestment costs as well as the expected future size of the SGR backlog.

   Impact of Compressed Natural Gas and Hybrid Buses on Future Needs
   To provide a better sense of the impact of new technology adoption on long-term needs, the analysis below
   presents estimates of the long-term cost of the shift from diesel to compressed natural gas (CNG) and hybrid
   buses. It is important to emphasize that this analysis is only intended to provide a sense of the significance of
   this impact on long-term capital needs (including the possible consequences of not capturing this impact in
   TERM’s needs estimates). This is not an assessment of the full range of operational, environmental, or other
   potential costs and benefits arising from this shift and, hence, is not an evaluation of the decision to invest in
   any specific technology.
   Exhibit 9-19 below presents historical (2000 to 2010) and forecast (2011 to 2030) estimates of the share of
   transit buses that rely on CNG and other alternative fuels vehicles and on hybrid power sources. The forecast
   estimates assume the current trend rate of increase in alternative and hybrid vehicle shares as observed over
   the period 2005 to 2010. Based on this projection, the share of vehicles powered by alternative fuels is
   estimated to increase from 23 percent in 2010 to 53 percent in 2030. During the same period, the share
   of hybrid buses is estimated to increase from 3 percent to 35 percent. This results in diesel shares declining
   from roughly 74 percent today to roughly 12 percent by 2030.

     Exhibit 9-19 Hybrid and Alternative Fuel Vehicles: Share of Total Bus Fleet, 2000–2030
      100%

                     Hybrid and Electric
       80%
                     CNG and Other Alternative Fuel
       60%


       40%


       20%


        0%
          2000                2005                  2010         2015         2020            2025                2030

     Source: Transit Economic Requirements Model.



   Impact on Costs
   Based on FTA analysis, the average unit cost of an alternative fuels bus is 15.5 percent higher than that of a
   standard diesel bus of the same size. Similarly, hybrid buses cost roughly 65.9 percent more than standard
   diesel buses of the same size. When combined with the current and projected mix of bus vehicle types
   presented above in Exhibit 9-19, these cost assumptions yield an estimated increase in average bus vehicle
   capital costs of 25.7 percent over the period 2010 to 2030 (using the mix of bus types from 2010 as the base
   of comparison). (It is important to note here that this cost increase represents a shift in the mix of bus types
   purchased and not the impact of underlying inflation, which will impact all vehicle types, including diesel,
   alternative fuels, and hybrid.) Reductions in operating costs due to the new technology are not shown in this
   analysis of capital needs but are presumably part of the motivation for agencies that purchase these vehicles.

   Impact on Needs
   What, then, is the impact of this cost increase on long-term transit capital needs? Exhibit 9-20 presents the
   impact of this potential cost increase on annual transit needs as estimated for the Low Growth scenario

                                                                                               FHWA002450
                                                                                 Supplemental Scenario Analysis     9-23
   Case 5:23-cv-00304-H                                         Document 15-18        Filed 01/31/24        Page 168 of 534         PageID 2728


  Exhibit 9-20 Impact of Shift to Vehicles Using Hybrid and Alternative Fuels on Investment Needs:
  Low Growth Scenario
                                  $40

                                  $35        Hybrid and Alternative Fuels Impact
   Investment Dollars, Billions




                                  $30        Scenario Needs Estimates

                                  $25

                                  $20

                                  $15

                                  $10

                                  $5

                                  $0
                                        2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023 2024 2025 2026 2027 2028 2029 2030
  Source: Transit Economic Requirements Model.


presented in Chapter 8. For this scenario, the cost impact is negligible in the early years of the projection
period but grows over time as the proportion of buses using alternative fuel and hybrid power increases (note
that the investment backlog is not included in this depiction). The impact on total investment needs for
all Chapter 9 investment scenarios (SGR baseline, Low Growth, and High Growth) is presented in dollar
and percentage terms in Exhibit 9-21. Note that the shift to alternative fuels and hybrid buses is estimated
to increase average annual replacement needs by $0.5 to $0.8 billion, yielding a 2.5- to 3.5-percent increase
in investment needs. To help place these estimated amounts in perspective, it is helpful to note that (1) the
shift from diesel to alternative fuels and hybrid buses is only one of a number of technology changes
that may impact long-term transit reinvestment
needs, but (2) reinvestment in transit buses likely        Exhibit 9-21 Impact of Shift from Diesel to
represents the largest share of transit needs subject      Alternative Fuels and Hybrid Vehicles on Annual
to this type of significant technological change.          Investment Needs
Hence, the impact of all new technology adoptions                                         SGR        Low   High
(not accounted for in the Chapter 8 scenarios and          Measure                     Baseline Growth Growth
including but not limited to new bus propulsion            Average Annual Needs         $0.47B     $0.67B $0.83B
systems) may add on the order of 5 to 10 percent           Percent  Increase             2.50%      3.00% 3.50%
to long-term transit capital needs.                        Source: Transit Economic Requirements Model.


Impact on Backlog
Finally, in addition to impacting unconstrained capital needs, the shift from diesel to hybrid and alternative-
fuel vehicles can also have an impact on the size of the future backlog. For example, Exhibit 9-22 shows the
estimated impact of this shift on the SGR backlog as was estimated for the Sustain 2010 Spending scenario
from Chapter 8. Under this scenario, long-term spending is capped at current levels such that any increase
in costs over the analysis period must necessarily be added to the backlog. Moreover, given that buses’ useful
lives as estimated by TERM range from roughly 7 to 14 years, all existing and many expansion vehicles will
need to be replaced over the 20-year analysis period, meaning that any increase in costs for this asset type
will be added to the backlog over this period of analysis.
As with the analysis above, Exhibit 9-22 suggests that the initial impact of the shift to hybrid and alternative-
fuel vehicles is small but increases over time as these vehicle types make up an increasing share of the
Nation’s bus fleet. By 2030, this shift is estimated to increase the size of the backlog from $141.7 billion to
$151.4 billion, an increase of $9.8 billion or 6.9 percent.

9-24 Investment/Performance Analysis                                                                                             FHWA002451
Case 5:23-cv-00304-H                                       Document 15-18               Filed 01/31/24        Page 169 of 534            PageID 2729


      Exhibit 9-22 Impact of Shift to Vehicles Using Hybrid and Alternative Fuels on Backlog Estimate:
      Sustain 2010 Spending Scenario
                                     $160
                                                Hybrid and Alternative Fuels Impact
                                     $140
                                                Scenario SGR Backlog Estimate
      Investment Dollars, Billions



                                     $120

                                     $100

                                      $80

                                      $60

                                      $40

                                      $20

                                       $0
                                            2010      2012        2014       2016       2018      2020      2022      2024       2026      2028        2030

     Source: Transit Economic Requirements Model.




                                                          Forecasted Expansion Investment
   This section compares key characteristics of the national transit system in 2010 to their forecasted TERM
   results over the next 20 years for different scenarios. It also includes expansion projections of fleet size,
   guideway route miles, and stations broken down by scenario to better understand the expansion investments
   that TERM is making.
   TERM’s projections of fleet size are presented in Exhibit 9-23. The projections for the Low Growth and
   High Growth scenarios are higher than the projected Sustain 2010 Spending scenario in order to preserve
   existing transit assets at a condition rating of 2.5 or higher and expand transit service capacity to support
   differing levels of ridership growth while passing TERM’s benefit-cost test. An exponential trend line based
   on historical data from 2002 to 2010 is extrapolated 20 years into the future also is shown in Exhibit 9-23.
   This extrapolated historical trend line falls between the low and high growth projections indicating that the
   Low Growth and High Growth scenario investments potentially could maintain current conditions.


      Exhibit 9-23 Projection of Fleet Size by Scenario


                                     255,000
                                                                                                                                        High (est)
           Fleet Vehicle Count




                                     205,000                                                                                            Low (est)

                                                                                                                                        Sustain 2010 Spending
                                     155,000

                                                                                                                                        Actual
                                     105,000
                                                                                                                                        Historical Trend

                                      55,000
                                               2002      2006        2010        2014      2018      2022      2026       2030

      Note: Data through 2010 are actual; data after 2010 are estimated based on trends.
      Source: Transit Economic Requirements Model.




                                                                                                                                    FHWA002452
                                                                                                                      Supplemental Scenario Analysis       9-25
   Case 5:23-cv-00304-H                    Document 15-18                 Filed 01/31/24          Page 170 of 534       PageID 2730

In contrast, the projected guideway route miles for the Sustain 2010 Spending, Low Growth, and High
Growth scenarios are less than the projected historical trend scenario as shown in Exhibit 9-24. (Note that
TERM’s projections of guideway route miles for the Sustain 2010 Spending and Low Growth scenarios
are nearly identical.) Commuter rail has substantially more guideway route miles than heavy and light
rail, making it very hard to accurately project total guideway route miles for all rail modes; therefore, the
historical trend line is not provided.

       Exhibit 9-24 Projection of Guideway Route Miles by Scenario
                   13,500
                   13,000
                   12,500
                                                                                                                    High (est)
                   12,000
                                                                                                                    Low (est)
                   11,500
                   11,000                                                                                           Sustain 2010
                                                                                                                    Spending
                   10,500                                                                                           Actual
                   10,000
                    9,500
                    9,000
                            2002   2006   2010        2014         2018        2022        2026      2030

      Note: Data through 2010 are actual; data after 2010 are estimated based on trends.
      Source: Transit Economic Requirements Model.



TERM’s expansion projections of stations by scenario needed to preserve existing transit assets at a condition
rating of 2.5 or higher and expand transit service capacity to support differing levels of ridership growth
(while passing TERM’s benefit-cost test) are presented Exhibit 9-25, along with the historical trend. TERM’s
Low Growth estimates generally are in line with the historical trend, indicating that expansion projects of
stations under the Low Growth scenario could maintain current transit conditions.


  Exhibit 9-25 Projection of Stations by Scenario
                   5,000


                   4,500

                                                                                                               High (est)
   Station Count




                   4,000
                                                                                                               Low (est)

                   3,500                                                                                       Sustain 2010
                                                                                                               Spending
                                                                                                               Actual
                   3,000
                                                                                                               Historical Trend

                   2,500
                            2002   2006   2010        2014        2018         2022        2026      2030

  Note: Data through 2010 are actual; data after 2010 are estimated based on trends.
  Source: Transit Economic Requirements Model.




9-26 Investment/Performance Analysis                                                                                 FHWA002453
Case 5:23-cv-00304-H                                             Document 15-18    Filed 01/31/24    Page 171 of 534         PageID 2731

   For each of the various scenarios, TERM estimates future investment in fleet size, guideway route miles, and
   stations for each of the next 20 years. Exhibit 9-26 presents TERM’s projection for total fixed guideway route
   miles under a Low Growth scenario by rail mode. TERM projects different investment needs for each year
   that is added to the year 2010 actual total stock. Heavy rail’s share of the projected annual fixed guideway
   route miles remains relatively constant over the 20-year period, while the amount of fixed guideway route
   miles increases slightly for light and commuter rail.


      Exhibit 9-26 Stock of Fixed Guideway Miles by Year Under Low Growth Scenario, 2010–2030
                                     16,000
                                                    Light Rail
                                     14,000         Heavy Rail
      Fixed Guideway Length, Miles




                                                    Commuter Rail
                                     12,000

                                     10,000

                                      8,000

                                      6,000

                                      4,000

                                      2,000

                                         0
                                               2010        2012      2014   2016    2018   2020     2022    2024      2026     2028         2030
                                              (actual)

     Source: Transit Economic Requirements Model.




                                                                                                                         FHWA002454
                                                                                                           Supplemental Scenario Analysis     9-27
   Case 5:23-cv-00304-H           Document 15-18   Filed 01/31/24   Page 172 of 534     PageID 2732




9-28 Investment/Performance Analysis                                                  FHWA002455
Case 5:23-cv-00304-H       Document 15-18                      Filed 01/31/24                   Page 173 of 534                     PageID 2733




                                                              CHAPTER                                                                10
               Sensitivity Analysis

               Highway Sensitivity Analysis .......................................................................................10-2
                   Alternative Economic Analysis Assumptions ............................................................10-2
                        Value of Travel Time ............................................................................................................ 10-2
                        Growth in the Value of Time................................................................................................ 10-5
                        Value of a Statistical Life ..................................................................................................... 10-7
                        Discount Rate...................................................................................................................... 10-8
                        Alternative Future Fuel Price Assumptions ......................................................................... 10-10
                   Alternative Strategies .................................................................................................10-11
                        Alternative Bridge Maintenance, Repair, and Rehabilitation Strategies ............................. 10-11
                        Accelerating Operations/ITS Deployments ........................................................................ 10-12

               Transit Sensitivity Analysis ..........................................................................................10-15
                   Changes in Asset Replacement Timing (Condition Threshold) ...............................10-15
                   Changes in Capital Costs ..........................................................................................10-16
                   Changes in the Value of Time ....................................................................................10-16
                   Changes to the Discount Rate ...................................................................................10-17




                                                                                                                          Sensitivity Analysis 10-1
                                                                                                                             FHWA002456
   Case 5:23-cv-00304-H            Document 15-18        Filed 01/31/24        Page 174 of 534        PageID 2734



                         Highway Sensitivity Analysis

In any modeling effort, it is critical to evaluate the validity of the underlying assumptions and determine
the degree to which projected outcomes could be affected by changes to these assumptions. This section
demonstrates how the average annual highway investment requirements associated with the Maintain
Conditions and Performance scenario and the Improve Conditions and Performance scenario presented
in Chapter 8 would be affected by changes in some of the underlying assumptions in the Highway
Economic Requirements System (HERS) and the National Bridge Investment Analysis System (NBIAS).
To simplify the presentation of results, these sensitivity tests were applied only to the systemwide versions of
these scenarios based on HPMS-derived future growth in vehicle miles traveled (VMT), rather than to the
full range of subscenarios presented in Chapter 8.
This section begins with sensitivity tests on economic inputs to the models, varying the assumptions about
the value that travelers attach to travel time and crash risk, and the discount rate used to convert future costs
and benefits into present equivalents. The effects of assuming growth in the value of travel time and price
of fuel are also discussed. This is followed by tests relating to investment strategies, including the impact of
applying some alternative Maintenance, Repair, and Rehabilitation (MR&R) strategies built into NBIAS,
and the impact of alternative assumptions about future Operations/Intelligent Transportation System (ITS)
deployment strategies in HERS. A subsequent section within this chapter explores information regarding the
assumptions underlying the analyses developed using the Transit Economic Requirements Model (TERM).


                Alternative Economic Analysis Assumptions
The U.S. Department of Transportation (DOT) periodically issues guidance on the valuation of travel time
and the economic value of a statistical life, while the Office of Management and Budget (OMB) provides
guidance to Federal agencies on the discount rate to be applied in benefit-cost analysis. Recognizing the
uncertainty regarding these values, the guidance documents include both specific recommended values
and ranges of values to be tested. The analyses presented in Chapter 7 and 8 of this report are based on the
primary recommendations from the OMB and U.S. DOT guidance for these economic inputs, whereas the
analyses presented in this chapter rely on recommended alternative values to be used for sensitivity testing.
The HERS analyses presented in Chapter 7 and 8 assume future changes in fuel prices consistent with
forecasts from the U.S. Department of Energy’s Annual Energy Outlook (AEO) publication. This
publication presents a range of potential alternative forecasts. One such alternative assuming higher fuel
prices is explored in this section.

Value of Travel Time
The value of travel time is a critical component of benefit-cost analysis of transportation investments. It is
often the largest component of the benefits estimated. Time used for travel represents a cost to society and
the economy because that time could be used for other more enjoyable or productive purposes. There is
much debate on the appropriate value of travel time. Studies show that the value of time can vary by income,
time of day and type of trip. The U.S. DOT’s Revised Departmental Guidance on the Value of Travel Time
in Economic Analysis, 2011 recommends values of time to use for economic analysis developed from the
findings of current research and the values used in other countries (see http://www.dot.gov/sites/dot.dev/
files/docs/vot_guidance_092811c_0.pdf ). The value of time is tied to specified percentages of the median
annual household income for personal travel and the median gross wage for business travel, which vary

10-2   Investment/Performance Analysis                                                             FHWA002457
Case 5:23-cv-00304-H            Document 15-18               Filed 01/31/24            Page 175 of 534              PageID 2735


     Why conduct a sensitivity analysis for the assumed value of travel time savings?
     Sensitivity analysis is done to test the results of models using information that is uncertain,
     such as the value of travel time saved.
     The U.S. DOT based its guidance for valuing travel time on a review of the research literature, which reflects
     estimates that vary widely even after attempts to standardize them. Particularly for personal travel (including
     commuting), the evidence is hard to synthesize. Internationally, common practice among transportation
     government agencies is to assume that the average value of personal travel time bears a fixed ratio to a measure
     of economy-wide average wages (or some similar measure).
     For local personal travel, the value of travel time savings is estimated to be 50 percent of hourly median household
     income, derived by dividing the nationwide median annual household income by 2,080 hours to yield an hourly
     income. For business travel, the value of travel time savings is assumed to be equal to a nationwide median gross
     wage, defined as the sum of the median hourly wage and estimated hourly benefits.
     The U.S. DOT recognizes the uncertainty in the recommended values and therefore recommends that alternative
     calculations be done using the range of high and low dollar values. For personal auto travel, the low value is
     35 percent of the estimated hourly median household income and the high value is about 60 percent. For business
     travel, 80 percent of the median wage is used for the low dollar value and 120 percent is used for the high value.


   depending on the mode of travel. Within the HERS and NBIAS models, the per-person-hour estimates
   of travel time savings based on this guidance are converted to average values of time per vehicle-hour for
   different types of vehicle classes, drawing upon estimates of average vehicle occupancy; time-related vehicle
   depreciation cost; and, for trucks, the inventory cost of freight in transit. For 2010, the average values
   per vehicle-hour ranged from $16.89 for small autos to $31.44 for five-axle combination trucks. (For the
   passenger vehicle classes, the averages are weighted means of a value for personal travel and a higher value for
   business travel.) The U.S. DOT guidance recommends sensitivity analyses using a lower and a higher value
   of travel time savings given the uncertainty of the values recommended; these alternative values are based on
   different valuations of travel time savings per person hour as a percentage of hourly earnings. Exhibit 10-1
   shows the results of applying these alternative travel time values to the average annual investment levels

      Exhibit 10-1 Impact of Alternative Value of Time Assumptions on Highway Investment Scenario
      Average Annual Investment Levels
                                                                   Maintain Conditions and              Improve Conditions and
           Alternative Assumptions About the
                                                                    Performance Scenario                 Performance Scenario
        Valuation of Travel Time Savings per Hour
                                                                   Billions        Percent               Billions      Percent
           as a Percentage of Hourly Earnings,
                                                                   of 2010     Change From               of 2010    Change From
            for Personal and Business Travel
                                                                   Dollars        Baseline               Dollars      Baseline
       Baseline* (Personal–50%; Business–100%)                      $86.3                                $145.9
          HERS-Derived Component                                    $51.1                                 $86.9
          NBIAS-Derived Component                                   $12.2                                 $20.2
          Other (Non-modeled) Component                             $23.0                                 $38.8
       Lower (Personal–35%; Business–80%)                           $89.2            3.3%                $134.9         -7.6%
          HERS-Derived Component                                    $53.2           4.0%                  $78.9         -9.2%
          NBIAS-Derived Component                                   $12.2           0.4%                  $20.1         -0.5%
          Other (Nonmodeled) Component                              $23.7           3.3%                  $35.9         -7.6%
       Higher (Personal–60%; Business–120%)                         $84.9           -1.6%                $153.3          5.1%
          HERS-Derived Component                                    $50.1           -2.0%                 $92.3         6.2%
          NBIAS-Derived Component                                   $12.2           0.1%                  $20.2         0.1%
          Other (Nonmodeled) Component                              $22.6           -1.6%                 $40.8         5.1%
      * The Baseline levels shown correspond to the systemwide scenarios presented in Chapter 8 that applied higher, HPMS-derived
      VMT growth forecasts. The investment levels shown are average annual values for the period from 2011 through 2030.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.



                                                                                                                FHWA002458
                                                                                                              Sensitivity Analysis   10-3
  Case 5:23-cv-00304-H             Document 15-18        Filed 01/31/24        Page 176 of 534         PageID 2736

associated with the Maintain Conditions and Performance scenario and the Improve Conditions and
Performance scenario. Results are shown separately for the portions of these scenarios derived from HERS
and NBIAS because their sensitivity to these inputs is very different. As discussed in Chapter 8, each scenario
includes non-modeled investment components reflecting types of investments not modeled in HERS or
NBIAS, which varies proportionally based on the model results.

                                        Non-modeled Highway Investments
  The HERS-derived component of each scenario represents spending on pavement rehabilitation and capacity
  expansion on Federal-aid highways. The NBIAS-derived component represents rehabilitation spending on all
  bridges, including those off the Federal-aid highways. The non-modeled component corresponds to system
  enhancement spending, plus pavement rehabilitation and capacity expansion on roads not classified as Federal-
  aid highways.
  In the Sustain 2010 Spending scenario presented in Chapter 8, the values for these HERS and NBIAS
  components sum to $72.5 billion. In 2010, non-modeled spending accounted for 26.6 percent of total investment
  ($26.7 billion out of $100.2 billion) and is assumed to form the same share in all scenarios presented in
  Chapter 8.
  Similarly for the sensitivity analysis for the Maintain Condition and Performance scenario and the Improve
  Condition and Performance scenario presented in this section, the non-modeled component is set at
  26.6 percent of the total investment level. As the combined levels of the HERS-derived and NBIAS-derived
  scenario components rise or fall, the non-modeled component changes proportionally. Consequently, the percent
  change in the non-modeled component of each alternative scenario relative to the baseline always matches the
  percent change in the total investment level for that scenario.


Impact on Improve Conditions and Performance Scenario
As shown in Exhibit 10-1, applying a lower value of travel time reduces the average annual investment level
for the Improve Conditions and Performance scenario from $145.9 billion to $134.9 billion
(-7.6 percent). The HERS-derived component of the scenario declines by 9.0 percent from $86.9 billion to
$78.9 billion, whereas the NBIAS-derived component declines by only 0.5 percent. Applying a higher value
of time would increase the average annual investment level associated with this scenario by 5.5 percent in
total, again with HERS investments being more sensitive, increasing by 6.2 percent.
The HERS investments are more sensitive to the value of travel time savings because the HERS model
evaluates a mix of system rehabilitation and system expansion investments, and system expansion
investments tend to be more sensitive to changes in travel time savings. NBIAS only considers system
rehabilitation investments, which tend to have a much smaller impact on travel time, except to the extent
that they address situations where weight restrictions had been imposed on a bridge requiring long detours
for trucks.
As described in Chapter 8, the Improve Conditions and Performance scenario is defined to include all
investments that would be cost-beneficial (i.e., with a benefit-cost ratio [BCR] greater than or equal to 1.00).
The change in the value of travel time saved affects the benefits estimated. A reduction in the value of travel
time saved is likely to reduce the magnitude of the benefits estimated from the time savings, thus reducing
the BCR for individual projects under consideration. To the extent that the estimated BCR for some of
these projects falls below 1.00, they would no longer qualify for inclusion under this scenario. Conversely,
applying a higher value of time increases the estimated benefits and, hence, the BCR, causing more projects
to appear to be cost-beneficial.




10-4   Investment/Performance Analysis                                                              FHWA002459
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 177 of 534         PageID 2737

   Impact on Maintain Conditions and Performance Scenario
   As described in Chapter 8, the Maintain Conditions and Performance scenario is intended to keep overall
   system conditions and performance in 2030 at roughly the same level as in 2010. The NBIAS-derived
   portion of this scenario is based on maintaining the average bridge sufficiency rating (see Chapter 7 for a
   discussion of this measure). The HERS-derived portion represents the average of two investment levels:
   (1) the amount of total HERS investment in system rehabilitation and system expansion that results in
   average pavement roughness (as measured by the International Roughness Index [IRI]) being maintained;
   and (2) an investment level which results in average delay per VMT being maintained. Generally, this
   approach results in one of these two indicators (IRI in the baseline analysis) improving a little over the
   20- year period, while the other (delay in the baseline analysis) gets a little worse.
   For the Maintain Condition and Performance scenario, applying a lower value of travel time savings
   increases the average annual investment level for HERS-derived component by 4.0 percent, from
   $51.1 billion to $53.2 billion. This change is primarily driven by changes in the mix of investments selected
   by HERS; reducing the value of time makes capacity projects less attractive, so that HERS will direct a
   greater share of investment towards pavement rehabilitation. This has the effect of reducing the level of total
   HERS investment required to maintain average pavement roughness, while increasing the level of total
   HERS investment required to maintain average delay. In this case, these changes were not proportional,
   causing the average of these two HERS investment levels to rise. The opposite is true applying a higher value
   of travel time savings, which brings the investment level associated with maintaining average pavement
   roughness closer to the investment level associated with maintaining average delay, and reduces their average
   by 2.0 percent relative to the baseline.
   The NBIAS-derived component of the Maintain Condition and Performance scenario rounds to
   $12.2 billion regardless of which set of travel time assumptions is applied. The overall investment level
   associated with this scenario would increase by 3.3 percent, from $86.3 billion to $89.2 billion, assuming a
   lower value of time, and decline by 1.6 percent to $84.9 billion assuming a higher value of time.

   Growth in the Value of Time
   Benefit cost analysis is generally done in constant base year dollars, assuming no change in the value of the
   parameters used in the analysis. The implicit assumption of this approach is that all values will experience
   the same rate of growth in the future, therefore not changing the relative values. U.S. DOT guidance
   recommended value for travel time savings is based on the median national gross hourly wage for business
   travel and the median hourly household income for personal travel. The guidance also recognizes the
   need to increase the value of travel time savings in line with the growth in income adjusted for inflation.
   It assumes income elasticity equal to one for scaling the value of travel time savings, based on time series
   estimates of income elasticity. The recommendation is that the value of travel time savings increases annually
   by 1.6 percent based on Congressional Budget Office assumption of future annual growth in real median
   household income.
   This poses a few challenges on how to appropriately include the increase in the real value of time. The value
   of time will affect both the demand for travel and the value of the benefits estimated. Since the real value of
   time increases due to an increase in income, this would increase the demand for travel given income elasticity
   of demand for travel, possibly in addition to the other changes. However, as HERS is currently configured,
   the base year value of time is factored into the implicit baseline price that the model assumes is consistent
   with the HPMS-derived VMT growth forecast. If the value of time is increased over time, the HERS model
   will interpret the resulting increase in travel time costs relative to the base year the same way it would if this
   increase in costs were related to increased congestion. Consequently, the travel demand elasticity feature in
   HERS will cause some of the HPMS-derived future VMT growth to be suppressed.


                                                                                               FHWA002460
                                                                                             Sensitivity Analysis   10-5
   Case 5:23-cv-00304-H                 Document 15-18              Filed 01/31/24            Page 178 of 534              PageID 2738

  What are some examples of the types of behavior that the travel demand elasticity
  features in HERS represent?
  If highway congestion worsens in an area, this increases travel time costs on the road network. In
  response, some highway users might shift their trips to mass transit or perhaps forgo some personal trips that
  they might ordinarily make. For example, they might be more likely to combine multiple errands into a single trip
  because the time spent in traffic discourages them from making a trip unless it is absolutely necessary. Increases
  in fuel prices also increase the cost of driving and would have a similar impact.
  In the longer term, people might make additional adjustments to their lifestyles in response to changes in user
  costs that would impact their travel demand. For example, if travel time in an area is reduced substantially for an
  extended period of time, some people may make different choices about where to purchase a home. If congestion
  is reduced, purchasing a home far out in the suburbs might become more attractive because commuters would
  be able to travel farther in a shorter period of time.

Exhibit 10-2 illustrates the effect of including an increase in the real value of time in HERS as it is currently
configured. Under the Improve Conditions and Performance scenario, the growth in the value of time
increases the HERS-modeled component of the average annual investment level from $86.9 billion to
$87.7 billion, a 0.9 percent change. Projected 2030 Federal-aid highway VMT would be 3.544 trillion
under this alternative, rather than the 3.629 trillion predicted for 2030 in the baseline analysis. The
reduction in travel demand reduces the net time savings and pavement improvements resulting from the
investments, while the value of time estimate increases. The two countervailing impacts have a very small
effect on the estimated benefits, and hence the resulting investment needs.

   Exhibit 10-2 Impact of Alternative Assumptions About Growth in the Real Value of Time on
   Highway Investment Scenario Average Annual Investment Levels
                                                                Maintain Conditions and              Improve Conditions and
          Alternative Assumptions About Growth
                                                                 Performance Scenario                 Performance Scenario
              in Value of Time in Response to
                                                                Billions        Percent               Billions      Percent
                Projected Increases in Real
                                                                of 2010     Change From               of 2010    Change From
                 Median Household Income
                                                                Dollars        Baseline               Dollars      Baseline
       Baseline* (No change)                                     $86.3                                $145.9
          HERS-Derived Component                                 $51.1                                 $86.9
       Alternative (1.6 % increase per year)                     $77.8           -9.8%                $147.0         0.8%
          HERS-Derived Component                                 $44.9          -12.2%                 $87.7         0.9%
   * The Baseline levels shown correspond to the systemwide scenarios presented in Chapter 8 that applied higher, HPMS-derived
   VMT growth forecasts. The investment levels shown are average annual values for the period from 2011 through 2030.
   Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


For the Maintain Conditions and Performance scenario, the average annual investment level associated
with the HERS-derived component would fall from $51.1 billion to $44.9 billion under this alternative,
a 12.2 percent decline. The investment associated both with maintaining average pavement roughness and
average delay per VMT would be lower under this alternative—projected 2030 Federal-aid highway VMT
would be 3.489 trillion, down from 3.584 trillion in the baseline analysis. The increased value of time
tends to increase the BCR associated with some projects, which has an impact on the prioritized ranking of
potential projects, but this effect is swamped by the HERS perception that any increase in travel time costs
equates to a higher implicit price and, consequently, less travel.
The initial plans for this report had been to factor in an increasing value of time into the baseline analysis,
as directed by U.S. DOT guidance. However, as a result of HERS testing similar to that presented above,
this increased value was not included in the analysis for this report, and instead to work on alternative
approaches that would better capture the impacts of higher incomes without unintentionally suppressing
travel growth. The NBIAS model does not currently have the capability to process changes to the value of
time during its analysis period.

10-6     Investment/Performance Analysis                                                                               FHWA002461
Case 5:23-cv-00304-H          Document 15-18          Filed 01/31/24         Page 179 of 534          PageID 2739

   Value of a Statistical Life
   One of the most challenging issues in benefit-cost analysis is how to best determine the monetary cost to
   place on injuries of various severities. Few people would consider any amount of money to be adequate
   compensation for a person being seriously injured, much less killed. On the other hand, people can attach a
   value to changes in their risk of suffering an injury, and indeed such valuations are implicit in their everyday
   choices. For example, a traveler may face a choice between two travel options that are equivalent except that
   one carries a lower risk of fatal injury but costs more. If the additional cost is $1, then a traveler who selects
   the safer option is manifestly willing to pay at least $1 for the added safety—what economists call “revealed
   preference.” Moreover, if the difference in risk is, say, one in a million, then a million travelers who select
   the safer option are collectively willing to pay at least $1 million for a risk reduction that statistically can be
   expected to save one of their lives. In this sense, the “value of a statistical life” among this population is at
   least $1 million.
   Based on the results of various studies of individual choices involving money versus safety trade-offs, some
   government agencies estimate an average value of a statistical life (VSL) for use in their regulatory and
   investment analyses. The U.S. DOT issued guidance in 2008 (Revised Departmental Guidance: Treatment
   of the Value of Preventing Fatalities and Injuries in Preparing Economic Analyses) recommending a value
   of $5.8 million per statistical life, to be updated annually by the changes in prices and income. The 2010
   inflated VSL is $6.2 million. (Subsequent to the analysis undertaken for this report, guidance issued by
   the DOT in 2013 increased the VSL to $9.1 million for analyses with a base year of 2012 [Guidance on
   Treatment of the Economic Value of a Statistical Life in U.S. Department of Transportation Analyses,
   http:// www.dot.gov/office-policy/transportation-policy/guidance-treatment-economic-value-statistical-life].)
   For nonfatal injuries, the DOT retained from its 1993 guidance the practice of setting values per statistical
   injury as percentages of the value of a statistical life; these vary according to the level of severity, from
   0.2 percent for a “minor” injury to 76.3 percent for a “critical” injury. (The injury levels are from the
   Maximum Abbreviated Injury Scale.) In view of the uncertainty surrounding the average value of a statistical
   life, the Department also required that regulatory and investments analyses include sensitivity tests using
   alternative values; alternative values of $3.4 million as the lower bound and $9.0 million as the upper bound
   are presented.
   Impact of Alternatives on HERS Results
   The HERS model contains for each highway functional class equations to predict crash rates per VMT
   and parameters to determine the number of fatalities and nonfatal injuries per crash. The model assigns to
   crashes involving fatalities and other injuries an average cost consistent with the guidance in the U.S. DOT
   memorandum. Exhibit 10-3 demonstrates that the results from the HERS simulations are nevertheless
   relatively insensitive to the use of alternative values of a statistical life. This is consistent with the observations
   from Chapter 7 that crash costs: (1) form a small share of highway user cost (13.6 percent in 2010); and
   (2) are much less sensitive than travel time and vehicle operating costs to changes in the level of total
   investment within the scope of HERS, which excludes targeted safety-oriented investments due to data
   limitations. Replacing the baseline value of a statistical life with a figure of $9.0 million slightly raises the
   BCR for potential improvements and increases the estimate of the amount of potentially cost-beneficial
   investment (the HERS component of the Improve Conditions and Performance scenario) by 0.9 percent,
   from $86.9 billion to $87.7 billion. Conversely, assuming a value of statistical life of $3.4 million would
   reduce the average annual investment level associated with the HERS-derived component of the scenario by
   0.7 percent.
   For the Maintain Conditions and Performance scenario, increasing (to $9.0 million) or lowering
   (to $3.4 million) the average value of a statistical life would change the average annual investment level by
   negative 0.8 percent or positive 0.5 percent respectively.


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                                                                                                 Sensitivity Analysis   10-7
  Case 5:23-cv-00304-H                    Document 15-18               Filed 01/31/24            Page 180 of 534             PageID 2740

       Exhibit 10-3 Impact of Alternative Value of Life Assumptions on Highway Investment Scenario
       Average Annual Investment Levels
                                                                       Maintain Conditions and           Improve Conditions and
                       Alternative Value of a                           Performance Scenario              Performance Scenario
                    Statistical Life Assumption,                        Billions      Percent             Billions     Percent
                           in 2010 Dollars                              of 2010    Change From            of 2010   Change From
                                                                        Dollars      Baseline             Dollars     Baseline
       Baseline* ($6.2 Million)                                          $86.3                             $145.9
          HERS-Derived Component                                         $51.1                              $86.9
          NBIAS-Derived Component                                        $12.2                              $20.2
          Other (Non-modeled) Component                                  $23.0                              $38.8
       Lower ($3.4 Million)                                              $84.5         -2.1%               $142.4       -2.4%
          HERS-Derived Component                                         $50.7         -0.8%                $86.3       -0.7%
          NBIAS-Derived Component                                        $11.3         -7.6%                $18.2       -9.8%
          Other (Non-modeled) Component                                  $22.5         -2.1%                $37.9       -2.4%
       Higher ($9.0 Million)                                             $87.7          1.7%               $148.9        2.0%
          HERS-Derived Component                                         $51.4          0.5%               $87.7         0.9%
          NBIAS-Derived Component                                        $13.0          6.5%               $21.5         6.7%
          Other (Non-modeled) Component                                  $23.4          1.7%               $39.6         2.0%
       * The Baseline levels shown correspond to the systemwide scenarios presented in Chapter 8 that applied higher, HPMS-derived
       VMT growth forecasts. The investment levels shown are average annual values for the period from 2011 through 2030.
       Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


Impact of Alternatives on NBIAS Results
Exhibit 10-3 also shows that increasing the assumed value of a statistical life to $9.0 million raises the
NBIAS estimate of the average annual investment in bridges that would be needed over the following
20 years to fund all cost-beneficial projects by 2030 (the NBIAS component of the Improve Conditions
and Performance scenario) by 6.7 percent, from $20.2 billion to $21.5 billion. Assuming a higher value of
life increases the benefits associated with projects that reduce crash rates, causing additional projects to have
a BCR above 1.0. Conversely, reducing the statistical value of life to $3.4 million reduces the NBIAS-derived
component of the Improve Conditions and Performance scenario by 9.8 percent, indicating that there
are a number of projects with BCRs not far above 1.0 in the baseline analysis that derived benefits from
reducing crash rates.
At any given level of investment, increasing the value of statistical life shifts investment toward producing
significant safety benefits to bridge users (by reducing crash rates) and away from projects that may be more
focused on addressing issues with the physical conditions of bridges. Consequently, the overall level of
NBIAS investment associated with maintaining the average bridge sufficiency rating is 6.5 percent higher
($13.0 billion versus $12.2 billion per year) assuming a $9.0 million value of a statistical life than in the
baseline analysis. Assuming a $3.4 million value of a statistical life reduces the average annual NBIAS-
derived component of the Maintain Conditions and Performance scenario by 7.6 percent, because a
greater share of this spending is directed towards projects that would more directly impact the sufficiency
rating.

Discount Rate
Benefit-cost analyses use a discount rate that scales down benefits and costs arising in the future relative
to those arising in the base year. To this point, the real discount rate has been 7 percent in this report’s
applications of HERS, NBIAS, and TERM; this means that deferring a benefit or cost for a year reduces its
real value by approximately 6.5 percent (1/1.07). This choice of real discount rate conforms to the “default
position” in the 1992 OMB guidance on discount rates, in Circular A-94, for benefit-cost analyses of public
investment and regulatory programs. Subsequently, in 2003, OMB’s Circular A-4 recommended that
10-8     Investment/Performance Analysis                                                                                  FHWA002463
Case 5:23-cv-00304-H             Document 15-18              Filed 01/31/24            Page 181 of 534              PageID 2741

     Could the discount rate be higher than 7 percent?
     The 2003 OMB guidance calls for the use of a discount rate higher than 7 percent as a further
     sensitivity test in some instances. In the context of public investment, this recommendation
     applies when there is a fair likelihood that: (1) much of the investment’s opportunity cost will take the form of
     crowding out private investment, and (2) the displaced investment would have generated an average real rate
     of return exceeding 7 percent annually. Although the first of these conditions could be valid for some public
     investments in highways and transit systems, the expectation that displaced private investments will average rates
     of return above 7 percent annually could be difficult to justify. In 2003, the OMB referred to its own recent estimate
     that the average real rate of return on private investment remained near the 7 percent that the OMB had estimated
     in 1992. Although the OMB also noted that the average real rate of return on corporate capital in the United States
     was approximately 10 percent in the 1990s, it is by no means clear whether the current economic outlook could
     justify the expectation of a rate of return averaging above 7 percent during this report’s analysis period.


   regulatory analyses use both 3 percent and 7 percent as alternative discount rates (http://www.whitehouse.
   gov/sites/default/files/omb/assets/omb/circulars/a004/a-4.pdf ). The justifications for these recommendations
   apply equally to benefit-cost analyses of public investments, so the sensitivity tests in this section include the
   use of the 3-percent discount rate as an alternative to the 7-percent rate used in the baseline simulations.
   Alternative Discount Rates—HERS
   When the goal is to select all cost-beneficial improvements, as is the case for the Improve Conditions
   and Performance scenario, changing the discount rate from 7 percent to 3 percent increases the amount
   of investment in HERS programs by 21.6 percent, with the annual average amount increasing from
   $86.9 billion to $105.7 billion over the period from 2011 to 2030 Exhibit 10-4). This increase in investment
   dollars results in more favorable projections for highway conditions and performance in 2030. The lowering
   of the discount rate improves the projection for average pavement roughness by 5.8 percentage points
   (from a 26.4 percent reduction to a 32.2 percent reduction) and average delay by 3.7 percentage points
   (from an 8.0 percent reduction to an 11.7 percent reduction).
   In addition to increasing the amount of investment that can be economically justified, the reduction
   in assumed discount rate shifts the HERS allocation of any given investment, in particular toward
   improvements that produce relatively long streams of future benefits. This shift in investment patterns would
   result in a small (2.7 percent) increase in the HERS-derived component of the Maintain Conditions and
   Performance scenario.

      Exhibit 10-4 Impact of Alternative Discount Rate Assumption on Highway Investment Scenario
      Average Annual Investment Levels
                                                                   Maintain Conditions and              Improve Conditions and
                                                                    Performance Scenario                 Performance Scenario
       Alternative Assumptions About Discount Rate                 Billions        Percent               Billions      Percent
                                                                   of 2010     Change From               of 2010    Change From
                                                                   Dollars        Baseline               Dollars      Baseline
       Baseline* (7% discount rate)                                  $86.3                               $145.9
          HERS-Derived Component                                     $51.1                                $86.9
          NBIAS-Derived Component                                    $12.2                                $20.2
          Other (Non-modeled) Component                              $23.0                                $38.8
       Alternative (3% discount rate)                                $88.1           2.1%                $177.3         21.5%
          HERS-Derived Component                                     $52.5          2.7%                 $105.7         21.6%
          NBIAS-Derived Component                                    $12.2          -0.3%                 $24.4         20.7%
          Other (Non-modeled) Component                              $23.5          2.1%                  $47.2         21.5%
      * The Baseline levels shown correspond to the systemwide scenarios presented in Chapter 8 that applied higher, HPMS-derived
      VMT growth forecasts. The investment levels shown are average annual values for the period from 2011 through 2030.
      Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.


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                                                                                                              Sensitivity Analysis   10-9
   Case 5:23-cv-00304-H                Document 15-18               Filed 01/31/24            Page 182 of 534             PageID 2742

Alternative Discount Rates—NBIAS
Since many of the bridge improvements evaluated in NBIAS are relatively long-lived, the choice of discount
rate can significantly affect the model’s estimate of investments necessary to maintain or improve the
condition and performance of the system. Reducing the discount rate increases the number of potential
investments that pass the benefit cost test. Exhibit 10-4 shows that reducing the real discount rate in NBIAS
from the baseline 7 percent to 3 percent would increase the NBIAS-derived component of the Improve
Conditions and Performance scenario by 20.7 percent, from $20.2 billion to $24.4 billion, annually.
For the maintain scenario, the BCR is not the limiting factor or the goal. Many projects that pass the benefit
test will not be included under the maintain scenario, so increasing the number of eligible projects does
not significantly affect the needs estimated. The change in discount rate would change the composition of
investments implemented in NBIAS, which would result in a 0.3 percent reduction in the NBIAS-derived
component for the Maintain Conditions and Performance scenario.

Alternative Future Fuel Price Assumptions
In this edition of the C&P report, the price of oil used in the baseline analyses presented in Chapters 7
and 8 is the AEO reference forecast. This is a change from the 2010 C&P report where price of oil was
held constant at the base year level. From 2008 to 2010 the price of fuel (both gasoline and diesel) declined
by 38.5 percent. AEO projects oil prices to increase above the rate of inflation and anticipates that, after
recovering in 2011, fuel prices will ease up for a few years and then start to increase above the rate of
inflation, resulting in an increase of 28.2 percent over the first 5 years of the C&P analysis period, and a
45.0 percent increase over the 20-year period.
The sensitivity analysis presented in Exhibit 10-5 compares the changes in investment needs using
AEO’s projections assuming a more aggressive rate of growth in prices. Under this projection, the oil
prices continue to increase, resulting in 93.1 percent growth in the first 5 years, with a total increase of
162.6 percent over the 20-year period. Exhibit 10-5 shows the results of using a more aggressive rate of
growth in oil prices. For the Improve Conditions and Performance scenario, the average annual investment
level would decline by 14.7 percent, driven by a decline in the HERS-modeled component of 18.1 percent.
For the Maintain Conditions and Performance scenario, the average annual investment level would decline
from $86.3 billion to $72.8 billion, a reduction of 15.7 percent, driven by a decline in the HERS-modeled
component of 19.4 percent. Under both scenarios, the reduction in investments results primarily from
reduced spending on system expansion. This sensitivity test was not applied to NBIAS, as it does not include
fuel prices as a separate discrete model input.

    Exhibit 10-5 Impact of Alternative Future Fuel Price Assumption on Highway Investment Scenario
    Average Annual Investment Levels
                                                                     Maintain Conditions and           Improve Conditions and
                                                                      Performance Scenario              Performance Scenario
     Alternative Assumptions About Future Fuel Prices                 Billions      Percent             Billions     Percent
                                                                      of 2010    Change From            of 2010   Change From
                                                                      Dollars      Baseline             Dollars     Baseline
    Baseline* (AEO Reference Case)                                     $86.3                             $145.9
       HERS-Derived Component                                          $51.1                              $86.9
    Alternative (AEO High Oil Price Case)                              $72.8         -15.7%              $124.5       -14.7%
       HERS-Derived Component                                          $41.2         -19.4%               $71.2       -18.1%
    * The Baseline levels shown correspond to the systemwide scenarios presented in Chapter 8 that applied higher, HPMS-derived
    VMT growth forecasts. The investment levels shown are average annual values for the period from 2011 through 2030.
    Sources: Highway Economic Requirements System and National Bridge Investment Analysis System.




10-10 Investment/Performance Analysis                                                                                  FHWA002465
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24       Page 183 of 534         PageID 2743

   Assuming a higher rate of growth in oil prices increases the user costs by increasing the cost of driving.
   As discussed in Chapter 7, an increase in user costs lead to reduced miles of travel. Under the Maintain
   Conditions and Performance scenario, projected 2030 VMT on Federal-aid highways would be 8.1 percent
   lower (3.293 trillion vs. 3.584 trillion) relative to the baseline assumption. Under the Improve Conditions
   and Performance scenario, VMT would be 8.2 percent lower assuming higher fuel prices than in the
   baseline.


                                        Alternative Strategies
   In addition to analyses based on alternative technical assumptions, the HERS and NBIAS models are
   capable of analyzing selected policy alternatives as well. Two such alternatives pertain to strategies for bridge
   MR&R (modeled in NBIAS), and accelerating the future rate of deployment of Operations/ITS strategies.

   Alternative Bridge Maintenance, Repair, and Rehabilitation Strategies
   As discussed in Appendix B, the NBIAS model has been adapted to consider four alternative strategies
   for the MR&R actions simulated in NBIAS. The State of Good Repair MR&R strategy is the most
   aggressive, and seeks to bring all bridges to a relatively high condition level that can be sustained via
   ongoing investment, and involves heavy frontloading of MR&R spending. The Sustain Steady State MR&R
   strategy is somewhat less aggressive, and is aimed toward identifying and implementing a pattern of MR&R
   improvements that would reach and achieve an improved steady state in terms of overall bridge system
   conditions without frontloading MR&R investment. The Maximize Average Returns strategy is even less
   aggressive, seeking to maximize the degree of bridge system performance improved per dollar of MR&R
   expenditure. The least aggressive alternative is the Minimize MR&R Costs strategy, which seeks to minimize
   MR&R costs only, without regard to the implications for other types of NBIAS-modeled spending. The
   baseline analyses presented in Chapters 7 and 8 applied the Sustain Steady State MR&R strategy; previous
   C&P reports relied on the Minimize MR&R Costs strategy.
   As discussed in Chapter 7, the NBIAS model considers bridge deficiencies at the level of individual bridge
   elements based on engineering criteria and computes an initial value for the cost of a set of corrective
   actions that would address all such deficiencies. The economic bridge investment backlog represents the
   combined cost of these corrective actions in those cases where NBIAS estimates that it would be cost-
   beneficial to implement them. Assuming the Sustain Steady State MR&R strategy, the economic backlog for
   year 2010, as reported in Chapter 7, was estimated to be $106.4 billion. Exhibit 10-6 shows that, if less-
   aggressive MR&R strategies are assumed, the size of the initial backlog would be smaller. Reducing the set
   of MR&R actions considered results in an estimated 2010 backlog of $93.4 billion assuming the Minimize
   MR&R Costs strategy and $100.8 assuming the Maximize Average Return strategy. Assuming the more
   aggressive State of Good Repair MR&R strategy would increase the 2010 backlog computed by NBIAS to
   $114.3 billion.
   Although the Minimize MR&R Costs strategy has the lowest initial backlog from among the four
   alternatives, the average annual investment level associated with implementing all cost-beneficial NBIAS
   modeled investment within the Improve Conditions and Performance scenario is $31.6 billion,
   56.3 percent higher than the $20.2 billion level estimated in the baseline. Even this level of investment is
   insufficient to maintain the average sufficiency rating at its 2010 level of 81.7 on a scale of zero to 100;
   the projected average sufficiency rating for 2030 would be only 75.4. Thus, it is not possible to achieve
   the objective of the Maintain Conditions and Performance scenario assuming a Minimize MR&R Cost
   strategy. The implications of these findings are that skimping on MR&R spending in the short term may
   make it necessary to conduct major bridge rehabilitation actions or bridge replacements sooner than would
   have been the case had MR&R spending been more robust.


                                                                                               FHWA002466
                                                                                             Sensitivity Analysis 10-11
   Case 5:23-cv-00304-H                   Document 15-18                 Filed 01/31/24              Page 184 of 534                PageID 2744

Exhibit 10-6 shows similar results when the Maximize Average Returns MR&R strategy is applied. The
criteria for the Maintain Conditions and Performance scenario cannot be met. Applying this strategy
results in an average annual investment level of $31.7 billion for the NBIAS-derived component of the
Improve Conditions and Performance scenario.

    Exhibit 10-6 Impact of Alternative Bridge Maintenance, Repair, and Rehabilitation Strategies on the
    Economic Bridge Investment Backlog and Future Capital Investment Scenarios
                                                                        Average Annual Highway Capital Investment, 2011
                                                                2010         Through 2030 (Billions of 2010 Dollars)
                                                              Economic Maintain Conditions and Improve Conditions and
                                                               Bridge   Performance Scenario2     Performance Scenario
       Alternative Maintenance, Repair, and
                                                             Investment  NBIAS-                    NBIAS-
         Rehabilitation (MR&R) Strategies
                                                              Backlog1   Modeled       Total      Modeled         Total
    Sustain Steady State (2013 C&P Baseline)                   $106.4     $12.2        $86.3        $20.2        $145.9
    Minimize MR&R Costs (2010 C&P Baseline)                     $93.4      N/A          N/A         $31.6        $161.4
    Maximize Average Returns                                   $100.8      N/A          N/A         $31.7        $161.6
    State of Good Repair                                       $114.3     $10.0        $83.3        $20.8        $146.8
    1 When future MR&R strategies are assumed to be less aggressive, the MR&R-related component of the initial backlog is reduced.

    2 N/A indicates that the maximum amount of cost-beneficial investment identified by NBIAS under the Improve Conditions and

    Performance scenario was insufficient to maintain the average sufficiency rating at its base-year level of 81.7; thus, the criteria for
    the Maintain Conditions and Performance scenario cannot be met.
    Source: National Bridge Investment Analysis System.



Applying the State of Good Repair MR&R strategy reduces the cost of maintaining the average sufficiency
rating relative to the baseline, resulting in an average annual investment level of $10.0 billion over 20 years
for the NBIAS component of the Maintain Conditions and Performance scenario. Use of this MR&R
strategy would result in a small increase in the annual NBIAS component of the Improve Conditions and
Performance scenario relative to the baseline ($20.8 billion versus $20.2 billion), but would result in a
higher average sufficiency rating in 2030 relative to the baseline (86.0 versus 84.6).

Accelerating Operations/ITS Deployments
As described in Chapter 7, the HERS model considers the impacts on highway conditions and performance
of various types of ITS and other operational enhancements to highways. Appendix A describes the types
of strategies considered (including arterial management, freeway management, incident management, and
traveler information systems) and three scenarios for future deployment. Although HERS incorporates
assumptions about future deployment, it does not subject operational enhancements to benefit-cost analysis
or to other economic evaluation; hence, the preceding chapters in this report referred to spending on these
and other system enhancements as non-modeled. The only spending that HERS models in this sense is on
highway pavement rehabilitation and capacity expansion, although spending on operational enhancements is
represented.
Impact on Maintain Conditions and Performance Scenario
In the Maintain Conditions and Performance scenario, annual spending on HERS-modeled
improvements averaged $51.1 billion under the baseline assumptions about future deployment of
operational improvements. If HERS-modeled spending were held at that level while future deployment of
operational improvements were assumed to be more aggressive, overall conditions and performance in 2030
relative to 2010 would be improved rather than maintained. To attain the scenario goal, HERS-modeled
spending must therefore be lower when the alternative deployment assumptions replace the baseline.
For the “aggressive” deployment alternative, Exhibit 10-7 shows the HERS-modeled capital spending to
average $49.7 billion per year and spending on operational enhancements (including capital, operations

10-12 Investment/Performance Analysis                                                                                           FHWA002467
Case 5:23-cv-00304-H               Document 15-18               Filed 01/31/24             Page 185 of 534               PageID 2745

   and maintenance costs) to be $4.6 billion per year more than in the baseline. The sum of these figures,
   $54.3 billion, indicates a $3.2 billion increase in total spending relative to the baseline value of $51.1 billion
   to achieve the objectives of the Maintain Conditions and Performance scenario. For the “full immediate
   deployment alternative,” total spending is $55.1 billion, or $4.0 billion higher than the baseline value.

      Exhibit 10-7 Impact of Alternative Operations Strategies Deployment Rate Assumptions on Selected
      Performance Indicators and Highway Investment Scenarios
                                              Average Annual Highway Investment, 2011 Percent Change, 2030
                                                Through 2030 (Billions of 2010 Dollars)  Compared With 2010
                                                  HERS-Derived Component                  Average  Average
             Operations/ITS Deployments         HERS     Additional                      Pavement    Delay
                     Assumption1               Modeled Deployment       Total           Roughness      per
                                                                    2
                                              Spending   Spending       HERS      Total      (IRI)    VMT
       Maintain Conditions and Performance Scenario
       Baseline3 (continue existing trends)     $51.1        N/A        $51.1     $86.3     -7.6%     4.3%
       Aggressive deployments alternative       $49.7        $4.6       $54.3     $90.6     -6.6%     3.3%
       Full immediate deployments alternative   $45.0       $10.1       $55.1     $91.7     -1.9%     3.5%
       Improve Conditions and Performance Scenario
       Baseline3 (continue existing trends)     $86.9        N/A        $86.9    $145.9    -26.7%    -8.0%
       Aggressive deployments alternative       $86.4        $4.6       $91.0    $151.5    -26.7%    -9.3%
       Full immediate deployments alternative   $86.4       $10.1       $96.5    $159.0    -27.0%   -11.0%
       Average Annual Spending $145.9 Billion
       Baseline3 (continue existing trends)     $86.9        N/A        $86.9    $145.9    -26.7%    -8.0%
       Aggressive deployments alternative       $82.3        $4.6       $86.9    $145.9    -25.3%    -8.1%
       Full immediate deployments alternative   $76.8       $10.1       $86.9    $145.9    -22.8%    -8.7%
      1 The analyses presented in this table assume one of the following: (1) existing trends in ITS deployments will continue for 20 years;

      (2) an aggressive pattern of deployment will occur over the next 20 years; or (3) all of the aggressive deployments will occur
      immediately, rather than being spread out over 20 years. The costs associated with the more aggressive deployments were deducted
      from the budget available in HERS for pavement and widening investments.
      2 Amounts reflect additional capital and operation and maintenance costs associated with the alternative Operations/ITS deployment

      strategies relative to the Baseline.
      3 The Baseline levels shown correspond to the systemwide scenarios presented in Chapter 8 that applied higher, HPMS-derived VMT

      growth forecasts.
      Source: Highway Economic Requirements System.


   By design, under any of the deployment assumptions, the Maintain Conditions and Performance
   scenario shows no unambiguous change in overall conditions and performance relative to the baseline.
   An improvement in one of the scenario’s measures of conditions and performance must be accompanied
   by deterioration in the other measure. Under each deployment assumption, the measure which shows
   improvement happens to be average pavement roughness; at the same time, average delay per VMT worsens.
   Assuming aggressive rather than baseline deployment makes the projected change less favorable for average
   pavement roughness (-6.6 percent versus -7.6 percent) but more favorable for average delay (3.3 percent
   versus 4.3 percent). The projections for average delay are more favorable because the types of operational
   improvements represented are assumed to have direct impacts only on travel time and accident rates; direct
   impacts on pavement conditions are assumed to be negligible.
   These findings suggest that at the particular investment level reflected in the Maintain Conditions and
   Performance scenario (which is 13.9 percent below the actual level of spending by all levels of government in
   2010), diverting resources from pavement and capacity improvements towards more aggressive deployment
   of operational improvements would not produce better conditions and performance outcomes. It should be
   noted however, that some of the operational improvements being considered, such as incident management
   systems, have benefits in crash reductions that would not be reflected in the IRI and delay measures used as
   targets in the Maintain Conditions and Performance scenario.

                                                                                                                     FHWA002468
                                                                                                                   Sensitivity Analysis 10-13
   Case 5:23-cv-00304-H           Document 15-18        Filed 01/31/24       Page 186 of 534       PageID 2746

Impact on Improve Conditions and Performance Scenario
In the Improve Conditions and Performance scenario, more aggressive deployment of operational
enhancements marginally reduces the amount of highway rehabilitation and capacity investment that
HERS finds to be cost-beneficial. HERS-modeled rehabilitation and capacity investment decreases from
$86.9 billion per year assuming baseline deployment to $86.4 billion per year assuming either of the more
aggressive deployment alternatives. Total spending represented in HERS increases, however, because of the
extra spending on the operations deployments, from $86.9 billion per year in the baseline to $96.5 billion
per year assuming full immediate deployments. After adding an allowance for capital spending on non-
modeled improvements, Exhibit 10-7 indicates the corresponding variation in total spending to be between
$145.9 billion per year in the baseline and $159.0 billion per year assuming full immediate deployments.
Because of the increased spending on operational enhancements, projections for average delay are
more favorable when deployment is more aggressive than when the baseline is assumed. Although the
types of operational enhancements considered in these cases are assumed to have no direct impacts on
pavement quality, the projections for average pavement roughness are also slightly better than in the
baseline. One reason for this is that spending on pavement rehabilitation is slightly higher under more
aggressive deployment even though total HERS-modeled spending is lower. Pavement rehabilitation
receives $44.3 billion out of the total $86.4 billion in HERS-modeled spending under the full immediate
deployment alternative, versus $43.9 billion out $86.9 billion in the baseline.
Although these findings suggest that adopting more aggressive Operations/ITS deployment strategies
would be advantageous if overall highway spending levels were significantly increased, the different levels
of investment associated with each of these alternatives under the Improve Conditions and Performance
scenario make direct tradeoffs more difficult to assess. To address this issue, the bottom three rows in
Exhibit 10-7 present alternative allocations of fixed total spending between the HERS-modeled types of
improvements and operational enhancements given a single fixed level of HERS investment, based on
the $86.9 billion HERS-derived component of the Improve Conditions and Performance scenario.
The additional spending on operational improvements in the more aggressive deployment alternatives is
assumed to come out of this total, reducing dollar-for-dollar the HERS-modeled component of spending.
The balance of this spending offset between pavement rehabilitation and highway capacity expansion is
determined by the model’s cost-benefit optimization.
Exhibit 10-7 indicates that such reallocation of spending would produce worse outcomes in 2030 for
pavement roughness, but better outcomes for travel delay. For pavement roughness, this reflects reduced
spending on pavement rehabilitation together with operational enhancements being assumed to have no
direct effect. For average delay, the reduction from the additional spending on operational enhancements
outweighs the effect of the offset to spending on highway capacity. With the full immediate deployment
assumed, pavements are projected to become 22.8 percent smoother between 2010 and 2030, compared
with 26.7 percent smoother with baseline deployment assumed. For average delay per VMT, the
corresponding projections are for reductions of 8.7 percent versus 8.0 percent.




10-14 Investment/Performance Analysis                                                            FHWA002469
Case 5:23-cv-00304-H            Document 15-18                Filed 01/31/24       Page 187 of 534        PageID 2747



                                 Transit Sensitivity Analysis

   This section examines the sensitivity of the Transit Economic Requirements Model’s (TERM’s) transit
   investment needs estimates to variations in the values of these key inputs:
    Asset Replacement Timing (Condition Threshold)
    Capital Costs
    Value of Time
    Discount Rate.
   Specifically, these alternative projections assess how the estimates of baseline investment needs for the
   State of Good Repair (SGR) Benchmark and the Low Growth and High Growth Scenarios discussed
   in Chapter 8 vary in response to changes in the assumed values of these input variables. Note here that, by
   definition, funding under the Sustain 2010 Spending Scenario is invariant to changes in any input variable
   and, for this reason, that scenario is not considered in this sensitivity analysis.


                          Changes in Asset Replacement Timing
                                (Condition Threshold)
   Each of the four investment scenarios examined in Chapter 8 assume that assets are replaced at condition
   rating 2.50 as determined by TERM’s asset condition decay curves (in this context, 2.50 is referred to as the
   “replacement condition threshold”). Recall here that TERM’s condition rating scale runs from 5.0 for assets
   in “excellent” condition through 1.0 for assets in “poor” condition. In practice, this assumption implies
   replacement of assets within a short-term period (e.g., roughly 1 to 5 years depending on asset type) after
   they have attained their expected useful life. Replacement at condition 2.50 can therefore be thought of as
   providing a replacement schedule that is both realistic (in practice, few assets are replaced exactly at their
   expected useful life value due to a range of factors including the time to plan, fund, and procure an asset
   replacement) and potentially conservative (i.e., the needs estimates would be higher if all assets were assumed
   to be replaced at precisely the end of their expected useful life).
   Based on this background, Exhibit 10-8 shows the impact of varying the replacement condition threshold
   by increments of 0.25 on TERM’s projected asset preservation needs for the SGR Benchmark and the Low

      Exhibit 10-8 Impact of Alternative Replacement Condition Thresholds on Transit Preservation
      Investment Needs by Scenario (Excludes Expansion Impacts)
                                                                               Low Growth            High Growth
                                                     SGR Benchmark              Scenario               Scenario
                                                               Percent                Percent                Percent
                                                 Billions      Change     Billions    Change     Billions    Change
       Replacement Condition                     of 2010         From     of 2010       From     of 2010       From
       Thresholds                                Dollars       Baseline   Dollars     Baseline   Dollars     Baseline
       Very late asset replacement (2.00)        $15.57         -15.7%    $14.68       -13.7%    $14.77       -13.7%
       Replace assets later (2.25)                   $17.33      -6.1%    $16.00       -5.9%     $16.13       -5.8%
       Baseline (2.50)                               $18.46               $17.01                 $17.12
       Replace assets earlier (2.75)                 $22.07      19.6%    $20.16       18.5%     $20.41       19.2%
       Very early asset replacement (3.00)           $26.03      41.0%    $23.28       36.9%     $23.49       37.2%
      Source: Transit Economic Requirements Model.



                                                                                                     FHWA002470
                                                                                                   Sensitivity Analysis 10-15
   Case 5:23-cv-00304-H              Document 15-18           Filed 01/31/24      Page 188 of 534       PageID 2748

Growth and High Growth Scenarios. It should be noted that selection of a higher replacement condition
threshold results in assets being replaced at a higher condition (i.e., at an earlier age), which in turn reduces
the length of each asset’s service life, thus increasing the number of replacements over any given period
of analysis and driving up scenario costs. Reducing the replacement condition threshold will, of course,
have the opposite effect. As shown in Exhibit 10-8, each of these three scenarios shows significant changes
to total estimated preservation needs from quarter point changes in the replacement condition threshold.
Relatively small changes in the replacement condition threshold frequently translate into significant changes
in the expected useful life of some asset types; hence, small changes can also drive significant changes in
replacement timing and replacement costs.


                                    Changes in Capital Costs
The asset costs used in TERM are based on actual prices paid by agencies for capital purchases as reported
to Federal Transit Administration (FTA) in the Transit Electronic Award Management (TEAM) System
and in special surveys. Asset prices in the current version of TERM have been converted from the dollar
year replacement costs in which assets were reported to FTA by local agencies (which vary by agency and
asset) to 2010 dollars using RSMeans© construction cost index. Given the uncertain nature of capital costs,
a sensitivity analysis has been performed to examine the effect that higher capital costs would have on the
dollar value of TERM’s baseline projected transit investment.
As shown in Exhibit 10-9, TERM projects that a 25 percent increase in capital costs (i.e., beyond the 2010
level used for this report) would be fully reflected in the SGR Benchmark, but only partially realized under
either the Low Growth or High Growth Scenarios. This difference in sensitivity results is driven by the
fact that investments are not subject to TERM’s benefit-cost ratio in computing the SGR Benchmark
(i.e., there are no consequences to increasing costs), whereas the two cost-constrained scenarios do employ
this test. Hence, for the Low Growth or High Growth Scenarios, any increase in capital costs (without a
similar increase in the value of transit benefits) results in lower benefit-cost ratios and the failure of some
investments to pass this test. Therefore, for these latter two scenarios, a 25 percent increase in capital costs
would yield a range of roughly 19 to 20 percent increase in needs that pass TERM’s benefit-cost test.

   Exhibit 10-9 Impact of an Increase in Capital Costs on Transit Investment Estimates by Scenario

                                                                         Low Growth           High Growth
                                                 SGR Benchmark            Scenario              Scenario
                                             Billions     Percent    Billions   Percent    Billions   Percent
                                                of        Change        of      Change        of      Change
                                              2010         From       2010       From       2010       From
    Capital Cost Increases                   Dollars      Baseline   Dollars    Baseline   Dollars    Baseline
    Baseline (no change)                     $18.46                  $21.96                $24.54
    Increase Costs 25%                           $23.08    25.0%     $26.38      20.1%     $29.19      18.9%

  Source: Transit Economic Requirements Model.



                                Changes in the Value of Time
The most significant source of transit investment benefits, as assessed by TERM’s benefit-cost analysis, is
the net cost savings to users of transit services, a key component of which is the value of travel time savings.
Therefore, the per-hour value of travel time for transit riders is a key model input and a key driver of total
investment benefits for those scenarios that employ TERM’s benefit-cost test. Readers interested in learning
more about the measurement and use of the value of time for the benefit-cost analyses performed by TERM,
Highways Economic Requirements System (HERS), and National Bridge Investment Analysis System
(NBIAS) should refer to the related discussion presented earlier in the highway section of this chapter.

10-16 Investment/Performance Analysis                                                                 FHWA002471
Case 5:23-cv-00304-H           Document 15-18              Filed 01/31/24       Page 189 of 534       PageID 2749

   For this C&P report, the Low Growth and High Growth Scenarios are the only scenarios with investment
   needs estimates that are sensitive to changes in the benefit-cost ratio. (Note: The Sustain 2010 Spending
   Scenario uses TERM’s estimated benefit-cost ratios to allocate fixed levels of funding to preferred
   investments, while the computation of the SGR Benchmark does not employ TERM’s benefit-cost test in
   any way.)
   Exhibit 10-10 shows the effect of varying the value of time on the needs estimates of the Low Growth and
   High Growth Scenarios. The baseline value of time for transit users is currently $12.50 per hour, based
   on Department of Transportation (DOT) guidance. TERM applies this amount to all in-vehicle travel, but
   then doubles this amount to $25.00 per hour when accounting for out-of vehicle travel time, including time
   spent waiting at transit stops and stations.
   Given that value of time is a key driver of total investment benefits, changes in this variable lead to changes
   in investment ranging from an increase of more than 10 percent to a decrease of more than 6 percent. The
   resulting different magnitudes of percent changes is because the absolute value of the changes from the
   baseline are different ($6.25 is a 50 percent change from baseline and $25 is a 100 percent change from
   baseline). In addition to this issue, we observe that the High Growth Scenario appears to be more sensitive
   to the value of time than the Low Growth Scenario. This is due to the fact that higher investment levels are
   associated with the High Growth Scenario than with the Low Growth Scenario; therefore, any changes in
   the value of time will be magnified accordingly.

     Exhibit 10-10 Impact of Alternative Value of Time Rates on Transit Investment Estimates by Scenario
                                                           Low Growth Scenario             High Growth Scenario
                                                      Billions of    Percent Change    Billions of    Percent Change
      Changes in Value of Time                       2010 Dollars     From Baseline   2010 Dollars     From Baseline
      Reduce 50% ($6.25)                                $20.85            -5.1%          $22.98            -6.4%
      Baseline ($12.50)                                 $21.96                           $24.54
      Increase 100% ($25.00)                            $23.40             6.6%          $27.04            10.2%
      Source: Transit Economic Requirements Model.




                                   Changes to the Discount Rate
   Finally, TERM’s benefit-cost module utilizes a discount rate of 7.1 percent in accordance with White House
   Office of Management and Budget (OMB) guidance. Readers interested in learning more about the selection
   and use of discount rates for the benefit-cost analyses performed by TERM, HERS, and NBIAS should refer
   to the related discussion presented earlier in the highway section of this chapter. For this sensitivity analysis
   and for consistency with the HERS and NBIAS discount rate sensitivity discussion above, TERM’s needs
   estimates for the Low Growth and High Growth Scenarios were re-estimated using a 3 percent discount
   rate. The results of this analysis are presented in Exhibit 10-11. These results show that this approximately
   58 percent reduction in the discount rate yields an increase in total investment needs (or an increase in the
   proportion of needs passing TERM’s benefit-cost test) of 3.2 to 6.1 percent.

      Exhibit 10-11 Impact of Alternative Discount Rates on Transit Investment Estimates by Scenario
                                                          Low Growth Scenario              High Growth Scenario
                                                      Billions of   Percent Change     Billions of    Percent Change
       Discount Rates                                2010 Dollars    From Baseline    2010 Dollars     From Baseline
       7.10% (Baseline)                                 $21.96                           $24.54
       3.00%                                            $22.67           3.2%            $26.03            6.1%
     Source: Transit Economic Requirements Model.




                                                                                                   FHWA002472
                                                                                                 Sensitivity Analysis 10-17
   Case 5:23-cv-00304-H           Document 15-18   Filed 01/31/24   Page 190 of 534     PageID 2750




10-18 Investment/Performance Analysis                                                 FHWA002473
Case 5:23-cv-00304-H   Document 15-18       Filed 01/31/24       Page 191 of 534        PageID 2751




                                  PART
                         Special Topics
                                                                         III
                         Chapter 11: Transportation Serving Federal and Tribal Lands ....... 11-1
                         Chapter 12: Center for Accelerating Innovation .............................. 12-1
                         Chapter 13: National Fuel Cell Bus Program .................................. 13-1




                                                                                    Special Topics   III-1


                                                                                     FHWA002474
   Case 5:23-cv-00304-H           Document 15-18           Filed 01/31/24        Page 192 of 534         PageID 2752

                                              Introduction
Chapters 11 through 13 are intended to provide additional insights into topics touched on elsewhere in
this report, and to highlight related issues. Chapter 11 provides information on transportation serving
Federal and tribal lands, a subset of the transportation system that is not explored in depth in the analyses
presented in Chapters 1 through 10. While the investment analyses presented in Part II of this report focus
mainly on the potential impacts of alternative levels of investment on future conditions and performance,
it is important to recognize the role that innovation and technology can play in ensuring the efficacy of
these investments; for this reason, in Part III, Chapters 12 and 13 explore some activities currently under
way within the U.S. Department of Transportation (U.S. DOT) to accelerate innovation and explore new
technologies.
Chapter 11, Transportation Serving Federal and Tribal Lands, examines the transportation systems
   serving Federal lands, including resources and types of lands served, and the role of these systems. It
   also discusses the condition, sources of funding, and expenditures. Lastly, it discusses the future of the
   transportation systems in Federal lands.
Chapter 12, Center for Accelerating Innovation, examines aspects of utilizing innovation to improve the
   way transportation infrastructure is created and maintained. It includes initiatives under this program
   and also discusses the benefits generated for the highway system because of the innovative initiatives.
Chapter 13, National Fuel Cell Bus Program, discusses the background, accomplishments, and current
   status of fuel cell transit bus research. It describes fuel cell electric bus research projects in the United
   States and the impact of these projects on commercialization of fuel cell power systems and electric
   propulsion for transit buses in general.




III-2   Special Topics                                                                                 FHWA002475
Case 5:23-cv-00304-H      Document 15-18                      Filed 01/31/24                    Page 193 of 534                     PageID 2753




                                                              CHAPTER                                                                11
               Transportation Serving Federal
               and Tribal Lands
               Transportation Serving Federal and Tribal Lands .....................................................11-2
                  Types of Federal and Tribal Lands.............................................................................11-2
                  Accessing Tribal Communities ..................................................................................11-3
                  Resources Served within Federal Lands...................................................................11-3
                  Role of Transportation in the Use of Federal and Tribal Lands ................................11-4
                  Role of Federal Lands in U.S. Economy ...................................................................11-5
                  Condition and Performance of Roads Serving Federal and Tribal Lands................11-6
                       Forest Service ..................................................................................................................... 11-7
                       National Park Service .......................................................................................................... 11-7
                       Fish and Wildlife Service..................................................................................................... 11-9
                       Bureau of Land Management ............................................................................................. 11-10
                       Bureau of Reclamation ....................................................................................................... 11-11
                       Bureau of Indian Affairs....................................................................................................... 11-11
                       Department of Defense ....................................................................................................... 11-11
                       United States Army Corps of Engineers............................................................................. 11-12
                  Transportation Funding for Federal and Tribal Lands...............................................11-13
                  Increasing Walking, Biking, and Transit Use on Federal and Tribal Lands ..............11-14
                  The Future of Transportation on Federal and Tribal Lands ......................................11-15




                                                                                               Transportation Serving Federal Lands 11-1
                                                                                                                      FHWA002476
   Case 5:23-cv-00304-H                  Document 15-18        Filed 01/31/24   Page 194 of 534     PageID 2754



   Transportation Serving Federal and Tribal Lands

This chapter documents transportation serving Federal and Tribal lands, a subset of the transportation system
that is not explored in depth in the analyses presented in Chapters 1 through 10. Included are discussions of
the types of lands, the resources served, the role of Federal and Tribal lands in the U.S. economy, the role of
transportation in the use of Federal and Tribal lands, the condition of the transportation system, sources of
funding, expenditures of funds for construction and maintenance of transportation infrastructure, and the
future of Federal and Tribal transportation.


                               Types of Federal and Tribal Lands
The Federal government has title to about 650 million acres1, or about 30 percent of the United States’ total
area of 2.3 billion acres2. Additionally, the Federal government holds in trust approximately 55 million acres
of land on behalf of Tribal governments. These lands are primarily located in the western part of the country.
Federal lands are managed by various Federal land management agencies (FLMAs), primarily within the
Departments of the Interior (DOI), Agriculture (USDA), and Defense (DOD). Tribal lands are primarily
held in trust by the DOI’s Bureau of Indian Affairs, though many Tribes own additional land beyond these
trust lands. Exhibit 11-1 illustrates the major Federal and Tribal lands (note that this only shows the large

 Exhibit 11-1 Major Federal Lands




 Source: The National Atlas of the United States of America.


11-2 Special Topics                                                                               FHWA002477
Case 5:23-cv-00304-H         Document 15-18         Filed 01/31/24           Page 195 of 534            PageID 2755

   units; many smaller units are not shown due to the scale of the image). Exhibit 11-2 highlights resources
   managed by eight FLMAs.

      Exhibit 11-2 Types of Lands Managed by Federal Land Management Agencies

      Federal Agency                           Federal Lands Served
      Department of Agriculture
      Forest Service (FS)                      155 National Forests and 20 National Grass Lands
      Department of the Interior
      National Park Service (NPS)              401 National Parks and Monuments
      Fish and Wildlife Service                556 Wildlife Refuges, 38 Wetland Management Districts, 70 Fish
                                               Hatcheries and 43 Administrative sites
      Bureau of Land Management                247.5 million acres of public lands; 700 million acres of subsurface
                                               mineral estate; 601 recreation sites
      Bureau of Indian Affairs                 566 federally-recognized Indian Tribes
      Bureau of Reclamation                    476 dams, 348 reservoirs, 187 recreation areas, and 58 power plants
      Department of Defense
      Military Installations                   400 Major Military Installations
      U.S. Army Corps of Engineers -           423 lakes
      Civil Works Facilities
      Source: FLMAs.



                                Accessing Tribal Communities
   An Indian reservation is land reserved for a Tribe when it relinquished its other land areas to the United
   States through treaties. More recently, Congressional acts, Executive Orders, and administrative acts have
   also officially recognized Tribes and their lands. Tribal communities exist in all corners of the country.
   Some Tribes are located in the cities or suburbs, but most are located in rural America. The 229 Alaska
   Native Villages continue to be found at their historic locations throughout the State of Alaska. Access
   to basic community services for the 566 federally recognized sovereign Tribal governments is primarily
   served by roads, but also can include ice roads, snow machine and ATV trails, airfields, and waterways in
   remote Alaskan villages. Some Tribes operate transit service within their communities. This transportation
   infrastructure (roads, bridges, trails, or transit systems) can be owned by the Bureau of Indian Affairs, Tribes,
   States, counties, or other local governments.
   Many roads accessing tribal lands can be characterized as substandard native surface roadways, which can
   only be used during periods of good weather. Access to many critical community services, jobs, stores,
   schools, hospitals, emergency services, or intercommunity commerce can be compromised by a common
   rain event or a thaw of an Alaskan river or permafrost. More than 8 billion vehicle miles are traveled annually
   on the Tribal Transportation Program road system, even though it is among the most rudimentary of any
   transportation network in the United States, with more than 60 percent of the system unpaved.


                       Resources Served within Federal Lands
   The natural and cultural resources of Federal and Tribal lands are among the Nation’s greatest assets. Each
   individual site managed by the FLMAs has a unique mission for managing its resources while providing
   access in varying degrees to those resources for the enjoyment of the public and the citizens living on those
   lands. Most FLMAs are charged with managing the wise use of resources for the benefit of present and future
   generations. Resource management includes preserving and protecting natural, cultural, and historical areas
   as well as wildlife use areas. Many of the sites have multiple uses, while others have a very limited, specific
   use. It is estimated that approximately one-half of the Federal lands are managed under multiple use and
   sustained yield policies that rely on transportation. The remaining lands have protected use management

                                                                                                       FHWA002478
                                                                                  Transportation Serving Federal Lands   11-3
  Case 5:23-cv-00304-H              Document 15-18          Filed 01/31/24        Page 196 of 534        PageID 2756

policies, but even so, transportation systems are essential to their resource management, development,
recreational use, and protection.
Federal lands have many uses. These include facilitating national defense, recreation, range and grazing,
timber and minerals extraction, energy generation, watershed management, fish and wildlife management,
and wilderness. These lands are also managed to protect natural, scenic, scientific, and cultural values. In
recent years, resource extraction and cutting of timber have been significantly reduced. At the same time,
recreation use has significantly increased. Exhibit 11-3 summarizes annual recreation use and visits on
Federal lands. Recreation on Federal lands is measured in recreation visitor days (RVD), which is equivalent
to a 12-hour visit.

   Exhibit 11-3 Summary of Annual Recreation Use and Visits
                                                            Recreation Visits   Recreation Visitor
    Agency                                                     (Millions)        Days (Millions)     # of Sites
    Department of Agriculture
    Forest Service                                                173                  288              175
    Department of the Interior
    National Park Service                                         279                  101              397
    Fish and Wildlife Service                                     46                   46               626
    Bureau of Land Management                                     58                   58               601
    Bureau of Indian Affairs                                      N/A                  N/A              N/A
    Bureau of Reclamation                                         28                   28            187 areas
    Department of Defense
    Military Installations                                        10                   53              400+
    U.S. Army Corps of Engineers - Civil Works Facilities         365                  210              463
    Total                                                         959                  884            2,849+
    Source: FLMAs.


Role of Transportation in the Use of Federal and Tribal Lands
Tribal communities, national defense, recreation, travel and tourism, and resource extraction are all
dependent on quality transportation infrastructure. Transportation plays a key role in the way that people
access and enjoy Federal and Tribal lands, and in providing access to jobs and resources. It is impossible
to conceive of visiting our Federal lands without the hundreds of thousands of miles of Federal and Tribal
roads, trails, and transit systems providing access to and within these lands. This transportation infrastructure
provides opportunities for employment, recreational travel and tourism, protection and enhancement of
resources, sustained economic development in rural/urban areas, access to educational and health services,
and national and international access to our Nation’s most pristine natural, cultural, and historic resources.
Federal agencies, along with States, have designated numerous highways as Scenic Byways, many of which
are Federal roads. The Forest Service began designating National Forest Scenic Byways in 1988; as of
2012, more than 130 routes have been designated, totaling 9,000 miles in 36 States. There are more than
3,000 miles of U.S. National Park Service (NPS) roads and parkways that also meet the criteria for Scenic
Byways. In 1989, the Bureau of Land Management (BLM) began designating the Back Country Byways;
more than 60 routes have been designated to date, totaling 3,100 miles in 11 States.
Public roads make up significant portions of the transportation systems serving these Federal and Tribal
lands. In many areas—both urban and rural—transit, bicycling, and pedestrian use supplement this road
network, though most agencies do not track this usage. In many remote areas, motorized and non-motorized
trails, waterways, and air transports serve as the primary mode of transportation. The broad range of needs
dependent on transportation access to Federal lands is summarized in Exhibit 11-4.


11-4 Special Topics                                                                                   FHWA002479
Case 5:23-cv-00304-H          Document 15-18           Filed 01/31/24                         Page 197 of 534                                                               PageID 2757


         Exhibit 11-4 Federal Land Use




                                                                                         Minerals, Oil, & Gas

                                                                                                                  Grazing & Farming

                                                                                                                                      Water Resources




                                                                                                                                                                                               National Defense
                                                                 Recreation




                                                                                                                                                                                     Housing
                                                                                                                                                                 Industry
                                                                              Wildlife




                                                                                                                                                                            Energy
                                                                                                                                                        Timber
         Federal Agency
         Department of Agriculture
         Forest Service                                            X            X             X                       X                  X               X         X         X        X            X
         Department of the Interior
         National Park Service                                     X            X                                                        X                                            X
         Fish and Wildlife Service                                 X            X             X                       X                  X               X         X         X
         Bureau of Land Management                                 X            X             X                       X                  X               X         X         X
         Bureau of Indian Affairs                                  X            X             X                       X                  X               X         X         X        X
         Bureau of Reclamation                                     X            X             X                       X                  X                                   X
         Department of Defense
         Military Installations                                    X            X                                                        X                         X                  X            X
         U.S. Army Corps of Engineers - Civil Works Facilities     X            X             X                       X                  X               X                   X
         Source: FLMAs.




                          Role of Federal Lands in U.S. Economy
   The American outdoor recreation economy produces 6.1 million jobs, spurs $646 billion in spending, and
   creates $39.9 billion in Federal tax revenue and $39.7 billion in state and local tax revenue.3 In total, there
   are nearly 1 billion visits per year to Federal lands. In 2011, the recreational visits to lands owned by the
   Department of the Interior supported over 403,000 jobs and contributed around $48.7 billion in economic
   activity4. This economic output in 2011 represents about 6.5 percent of the direct output of tourism related
   personal consumption expenditures for the United States and about 7.6 percent of the direct tourism-related
   employment. The travel, tourism, and recreation industry claim a share of many other industry sectors,
   including transportation, lodging, communications, power, wholesale and retail trade, manufacturing, and
   construction.
   Not only is travel and tourism a significant part of our Nation’s economy, it is also an integral part of
   many local economies in communities adjacent to Federal lands. Overall, recreating visitors spend a little
   more than $11 billion per year in areas around National Forest System lands. In total, spending by visitors
   to National Forests and Grasslands contributes almost $13.4 billion to the U.S. economy and sustains
   more than 205,000 full-and part-time jobs5. Direct and indirect economic benefits on BLM lands from
   recreation are $7 billion and contribute a total of nearly 59,000 jobs6 . The U.S. Fish and Wildlife Service
   (FWS) reported that visits to units of the National Wildlife Refuge System (NWRS) generated more than
   $1.7 billion for the economy per year and employ nearly 27,000 people7. Nationally, U.S. Army Corps of
   Engineers lakes attract 365 million recreation visitors every year, and the economic impact on these areas is
   enormous. The total economic benefits on local communities (within 30 miles of a lake) include more than
   112,000 jobs, almost $3 billion in annual salaries and wages, and more than $9.7 billion in total spending.
   An additional $1.5 billion in spending are generated outside the 30-mile radius resulting in total spending
   of over $11 billion and supporting 189,000 jobs nationwide. In addition, visitors to Corps lakes also spend
   $5 billion a year on recreation equipment which supports 81,000 jobs. That is $16 billion a year in spending
   by Corps lake visitors and 270,000 jobs to the Nation’s economy8.

                                                                                                                                     FHWA002480
                                                                                                                Transportation Serving Federal Lands                                                              11-5
  Case 5:23-cv-00304-H             Document 15-18         Filed 01/31/24            Page 198 of 534               PageID 2758

There are significant amounts of national and
                                                          Exhibit 11-5 Economic Benefits of Federal Lands*
international visitation to national parks that add
considerably to the gross national product of the                                                             Recreation
                                                                                           Recreation         Economic
United States. The national park units receive
                                                                                          Related Jobs         Benefits
approximately 279 million visitors annually.               Federal Agency                                     ($ Billion)
Recreational use in the national parks is expected         Department of Agriculture
to double by the year 2020. Park visitors spent
                                                           Forest Service                    205,000                  13
$12.13 billion9 in the local region surrounding the
                                                           Department of the Interior
parks. The contribution of this spending to the
                                                           National Park Service             258,000                  39
national economy is 258,400 jobs, $9.8 billion in
labor income, and $16.6 billion in value added.            Fish and Wildlife Service          27,000                  2
                                                           Bureau of Land
Exhibit 11-5 summarizes recreation-related                                                    59,000                  7
                                                           Management
economic benefits and employment.                          Bureau of Reclamation                N/A                   N/A
In addition to recreation, travel, and tourism,            Department of Defense
Federal lands provide substantial economic                 Military Installations               N/A                   N/A
benefit from resource outputs including defense-           U.S. Army Corps of
                                                           Engineers - Civil Works           270,000                  16
related industries, grazing, timber harvesting,            Facilities
oil extraction, mining, electrical generation, and        * Economic benefits include lodging, food, entertainment,
related activities. In many instances, a portion          recreation, and incidentals expended during travel.
of the receipts are returned directly to local            Source: FLMAs.
governments.


              Condition and Performance of Roads Serving
                        Federal and Tribal Lands
While the primary focus of the C&P report is on the Nation’s highways, bridges, and transit systems as a
whole, the Federal government has a special interest and responsibility for public roads and transportation
that provide access to and within federally and tribally owned lands. The transportation systems serving
various Federal and Tribal lands are discussed below. Roads serving these lands are summarized in
Exhibit 11- 6.

    Exhibit 11-6 Roads Serving Federal Lands
                                    Public
                                    Paved                          Public     Public Bridges                 Backlog of
                                    Road     Paved Road Condition Unpaved           Structurally              Deferred
    Agency                          Miles    Good    Fair  Poor Road Miles Total      Deficient             Maintenance
    Forest Service                 10,700     25%    50%    25%   259,300  3,840         6%                   $5.1 billion
    National Park Service           5,450     60%    28%    12%     4,100  1,270         3%                     $5 billion
    Bureau of Land Management         700     60%    20%    20%     2,000    439         3%                  $350 million
    Fish & Wildlife Service           400     59%    23%    18%     5,200    281         7%                     $1 billion
    Bureau of Reclamation             762     N/A    N/A    N/A     1,253    311        11%                           N/A
    Bureau of Indian Affairs        8,800     N/A    N/A    N/A    20,400    929        15%                           N/A
    Tribal Governments              3,300     N/A    N/A    N/A    10,200    N/A        N/A                           N/A
    Military Installations         26,000     N/A    N/A    N/A       N/A  1,422        11%                           N/A
    U.S. Army Corps of Engineers    5,135     55%    25%    20%       N/A    294        11%                  $100 million
    Source: FLMAs.




11-6 Special Topics                                                                                           FHWA002481
Case 5:23-cv-00304-H         Document 15-18         Filed 01/31/24         Page 199 of 534         PageID 2759

   Forest Service
   The USDA Forest Service has jurisdiction over the National Forest System (NFS) that contains a total of
   155 national forests and 20 grasslands spanning approximately 193 million acres in 40 States plus Puerto
   Rico and the Virgin Islands. The NFS is about 25 percent of federally owned lands.
   There are approximately 372,000 miles of National Forest System Roads (NFSR) under the jurisdiction of
   the Forest Service serving the NFS. About 308,000 miles of NFSR are managed for high-clearance vehicles.
   Of the 270,000 miles of NFSR, 65,000 miles open to public travel are designated for passenger car use. Of
   these 137 (9,126 miles) are byways in the National Forest Scenic Byways Program.
   The timber harvest volumes have been reduced by
                                                                  Exhibit 11-7 Forest Roads Pavement Condition
   80 percent since the 1980s. The loss of road maintenance
                                                                  (Paved Roads Only)
   support from the timber sale program, reduced resource
   project related work, and the increase in recreation use               Good,                           Poor
   has resulted in significant deterioration of the entire road           25%                             25%

   system. The agency currently has a $5.1 billion backlog
   of deferred maintenance. Approximately 10,700 miles
   of these roads are paved, and the remainder are surfaced
   with gravel. As shown in Exhibit 11-7, of the paved
   roads, 25 percent are in good condition, 50 percent are
                                                                                                           Fair
   in fair condition, and 25 percent are in poor condition.                                                50%
   There are approximately 3,840 bridges on public
   NFSRs, 6 percent of which are structurally deficient.          Source: USFS.
   (See Chapter 3 for a more extensive discussion of
   structural deficiencies.)
   The 102,000 miles of non-public NFSRs provide access for management and protection of the NFS. These
   roads are generally maintained for high-clearance vehicles. The backlog of deferred maintenance for these
   roads is estimated at $4.3 billion. Approximately 100,000 miles of the roads are gravel surface, and the
   remainder are earth surface. There are approximately 1,000 bridges on non-public NFSRs. Approximately
   20 percent of these bridges are structurally deficient.

   National Park Service
   The NPS system includes more than 84 million acres over 401 national park units, which include National
   Parks, National Parkways, National Monuments, National Historic Sites, National Military Parks, National
   Battlefields, National Memorials, National Recreational Areas, National Scenic Waterways, and National
   Seashores.
   Roads continue to be the primary method of access to and within the NPS system. With few exceptions,
   travel by private vehicle or tour buses are the only means of getting to and moving within the system. As a
   result, some of the most conspicuous problems in units of the NPS system with high visitation levels stem
   from an inability to accommodate increasing volumes of traffic, larger vehicles and the spiraling demand for
   visitor parking.
   There are about 10,000 miles of park roads and parkways (PRP). Approximately 5,500 miles are paved.
   As shown in Exhibit 11-8, the condition rankings of paved roads are 60 percent good, 28 percent fair, and
   12 percent poor. There are approximately 1,270 bridges and 69 tunnels. Approximately 3 percent of the
   bridges are structurally deficient—deficient due to deterioration. An additional 23 percent of the bridges are
   functionally obsolete and are labeled such due to a function of the geometrics of these bridges in relation to
   the geometrics required by current design standards. The NPS owns a number of historic bridges, which are
   often functionally obsolete. The annual vehicle miles traveled (VMT) is in excess of 2.4 billion based upon

                                                                                                  FHWA002482
                                                                             Transportation Serving Federal Lands   11-7
   Case 5:23-cv-00304-H            Document 15-18             Filed 01/31/24    Page 200 of 534         PageID 2760

a subset of 33 parks representing 63 percent of paved
                                                                 Exhibit 11-8 Park Roads and Parkways
road miles for which VMT information is available.               Pavement Condition (Paved Roads Only)
The number of fatal crashes in the NPS varies between
                                                                         Fair                    Poor
40 and 60 fatalities per year, with an annual average                    28%                     12%
of 47 fatalities. The average fatal crash rate is less than
2 fatalities per 100 million VMT.
The backlog of improvement needs for paved roads
and bridges is more than $5 billion. In addition to this
backlog, more than $270 million of new park road
construction remains to complete the Natchez Trace
Parkway and the Foothills Parkway. Also, there are                                                Good
                                                                                                  60%
national parks where congestion has become a major          Source: NPS.
problem and constructing wider or new roadways is not
a preferred solution. Investments made in alternative
modes of transportation and the integration of several transport alternatives will be key to solving these
capacity problems. To address this challenge, the NPS pursues a performance-based strategy, using both
analytical tools to maximize investment decisions in terms of pavement, bridge, congestion, and safety
metrics, as well as mechanisms that ensure preventive maintenance for those assets.
There are approximately 450 miles of roads intended for non-public use (i.e., roads restricted to official
use) which are not funded from the Federal Lands Highway Program (FLHP), but are funded from DOI
appropriations. NPS also uses NPS Fee Program dollars and various other funding avenues both public and
private to cover the cost to build, operate, and maintain all the different aspects of the NPS transportation
system.
The NPS manages 147 discrete transit systems in 72 of the 401 NPS units10. These transit systems annually
accommodate 36.3 million passenger boardings. Shuttle, bus, van, and tram systems make up the largest
share of all system types (44 percent), followed by boat and ferry systems (34 percent), planes (9 percent),
snow coaches (10 percent), and trains and trolleys (3 percent). Twenty of these systems are owned and
operated by NPS directly and 13 operate under service contracts; together, they account for 13.4 percent of
all passenger boardings. A further 97 systems operate under concession contracts and represent the majority
(54.4 percent) of all passenger boardings. The final 17 systems operate under a cooperative agreement and
represent 18.7 percent of passenger boardings. Fifty-two of these systems provide the sole access to an NPS
unit because of resource or management needs and geographic constraints. Twelve systems are operated
by a local transit agency under a specific agreement with the NPS. In total, these transit systems include
890 vehicles, including 264 vehicles owned or leased by the NPS, and 56 vehicles which operate in systems
with intermixed NPS and non-NPS owners. Two thirds (175 of 264) of the NPS-owned or leased vehicles
operate on alternative fuel, while 14 percent (79 of 562) of non-NPS-owned vehicles operate on alternative
fuel.
Bicycling and pedestrian usage in the National Parks plays an integral role in the visitor’s experience and
serves a critical non-motorized transportation function providing access to areas unreachable by motorized
travel. Bicycling, hiking, and walking are effective and pleasurable alternatives to motor vehicle travel. NPS
is exploring the use of these and other transportation alternatives to disperse visitor use and accommodate
more park visitors while alleviating congestion, protecting park resources, and improving the visitor
experience. All park trails are open to pedestrians, while 28 percent are paved and used by bicyclists. Bicycle
and pedestrian access provides an interface between different transportation modes (i.e., park shuttle and
public transportation systems) and many times serves as the primary transportation facility linking visitors
(including disabled visitors) with the resources they want to see and experience. The NPS trails inventory
includes 17,872 miles of trails, of which 5,012 miles (28 percent) consist solely of front country paved

11-8 Special Topics                                                                                FHWA002483
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24       Page 201 of 534            PageID 2761

   trails. The total replacement value of these trails is approximately $2.5 billion. The approximate deferred
   maintenance value is over $315 million. Approximately 21 percent of front country paved trails
   (1,070 miles) are in fair, poor, or serious condition.
   The NPS does not generally track usage of bicycle or pedestrian trails. However, some NPS units track
   bicycle or pedestrian usage in multi-modal contexts. For example, the Cuyahoga valley Scenic Railroad has
   served an average of 21,000 “Bike Aboard!” passengers each year since its inception in 2008. Cuyahoga
   Valley National Park in Ohio partnered with the Cuyahoga Valley Scenic Railroad to offer “Bike Aboard!”
   so that bicyclists can ride the Towpath Trail and pick up the railroad to return to their starting location. This
   program offers visitors the flexibility to pedal as far as they want with an option to return by train. It also
   provides a wonderful opportunity to view the park from two different perspectives. Another example is the
   45-mile historic Carriage Path network in Acadia National Park in Maine, a crushed stone aggregate system
   of paths providing access to pedestrians and non-motorized equipment users (e.g., bicycles, skis) to park
   resources directly from surrounding towns without the need of a vehicle. In conjunction with the Carriage
   Path network, the Acadia Island Explorer public transportation system carried nearly 424,000 visitors in
   2013. Each bus has the capacity to transport bicycles to points throughout the park to access the Carriage
   Path network, and a dedicated Bicycle Express route carried over 17,000 riders in 2013 alone. Ridership of
   this transportation system has increased 77 percent since it started in 2001.

   Fish and Wildlife Service
   The U.S. Fish and Wildlife Service (FWS) manages the National Wildlife Refuge System (NWRS). This
   system consists of 594 wildlife refuges and wetland management districts encompassing 150 million acres
   of land. It receives about 46 million recreation visits per year and has a variety of roads, trails, boat ramps,
   access points, bicycle trails, viewing areas, etc. The FWS also operates 70 National Fish Hatcheries that are
   open to the public for visits and tours. The FWS owns more than 11,000 miles of wildlife refuge roads,
   including 5,600 miles of public roads.
   Approximately 400 public miles are paved; the                  Exhibit 11-9 Wildlife Refuge Roads Condition
   remaining 5,200 miles consist of gravel and native                            Poor
   surfaced roads open to the public. The condition                              18%

   of the public-use roads during the 2008–2012
   condition assessments were 59 percent excellent to
   good, 23 percent fair, and 18 percent poor to failed,
   as shown in Exhibit 11-9. There are about 281 bridges                Fair
   and 5,150 parking lots associated with the public road               23%

   system. Approximately 7 percent of the bridges are                                                        Good
                                                                                                             59%
   structurally deficient.
   The 2008–2012 inventory and condition assessment
                                                                Source: FWS.
   identified a maintenance backlog that approaches
   $1 billion for all public roads and bridges. Using
   estimated life cycles of 10 years for gravel roads and 20 years for paved roads, prorated annual infrastructure
   replacement costs amount to approximately $100 million a year to maintain the existing system.
    The FWS owns and operates 16 permanent transit systems, with temporary service expanded to other
   units during special events, such as the 3-day Festival of the Cranes at Bosque Del Apache National
   Wildlife Refuge in New Mexico. A more comprehensive inventory of FWS transit needs will be conducted
   in FY 2014. Further, at least seven urban transit systems currently serve FWS units. Additionally, the
   2013 FWS Urban Refuge Initiative implementation strategy has included as a “standard of excellence” the
   increase of equitable access to urban refuges by transit and trails for refuges within 25 miles of urban areas
   with populations greater than 250,000.

                                                                                                    FHWA002484
                                                                               Transportation Serving Federal Lands   11-9
   Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24     Page 202 of 534         PageID 2762

Also, pedestrian and bicycle use continue to be important ways for visitors to experience FWS lands. There
are nearly a million visits on bicycles on FWS lands and more than 15 million uses of FWS footpaths
annually. The FWS maintains 2,187 miles of trails, 95 percent of which are in excellent to good condition.
Approximately 32 percent of these miles are paved or boardwalk, and the remainder are gravel, native
surface, wood chipped, or mowed. These trails have a current replacement value of $186 million, with a
deferred maintenance backlog of $1.3 million, which yields a trails facility condition index of 0.007.

Bureau of Land Management
The BLM manages 16 percent of the surface area of the United States and is the largest manager (40 percent)
of Federal lands. The BLM lands, totaling 247.5 million acres, are concentrated primarily in the 11 Western
States and Alaska. These lands often make up between 20 to 80 percent of the individual States and/or their
political subdivisions. These lands play a significant role in the environmental and socioeconomic fabric of
the Nation, its Western States, Alaska, and local governmental units. The BLM also manages 700 million
acres of subsurface mineral estate throughout the United States.
As the National Parks and National Forest have become more overcrowded, an increasing number of people
are using facilities on BLM-managed lands. Between 1991 and 2007, visitor use of BLM lands and facilities
increased 62 percent.
Comprehensive transportation planning has become a major priority to the BLM. Extensive cross-
country travel, which can impact vegetation, soils, air and water quality, and cultural resources, and can
fragment habitat on “open” or unrestricted lands, has led the BLM into an era that calls for thoughtful and
comprehensive transportation planning. Completing travel plans by inventorying, evaluating, and deciding
how roads or areas will be designated is an enormous task. Travel plans on more than 100,000,000 acres still
remain to be completed.
The BLM owns approximately 74,000 miles of public lands development roads and trails (PLDR&T),
which is the primary road system on BLM lands. The PLDR&T are not considered public roads. However,
there are about 2,700 miles of BLM roads being proposed for inclusion in the Federal Land Highway
system under Moving Ahead for Progress in the 21st Century (MAP-21) as public roads. Many of the
roads serve public uses and special purposes, such as those that serve recreational development areas. The
PLDR&T system evolved from a user-established system dating back to the period in which settlement of
the West first began. The BLM will soon complete a 10-year effort to inventory and assess the condition
of its road system. This effort has identified deferred maintenance and capital replacement costs as well
as gathered basic inventory and geospatial data over what is currently considered to be the agency’s road
system (approximately 49,000 miles). Additionally, the BLM has another set of assets as part of its formal
transportation system, known as Primitive Roads.
Primitive roads, or high-clearance roads, do not
normally meet any BLM road design standards. The              Exhibit 11-10 BLM Roads Pavement Condition
                                                              (Paved Roads Only)
BLM has an inventory of approximately 25,000 miles
                                                                                             Poor
of primitive roads.                                                                          20%
                                                                     Fair
                                                                     20%
The PLDR&T system has approximately 700 miles
of paved public roadways. The system has about
439 public bridges and major culverts. As shown
in Exhibit 11-10, the condition of paved roads is
60 percent good, 20 percent fair, and 20 percent poor.
Approximately 3 percent of the public bridges are
structurally deficient. The backlog of improvement
                                                                                             Good
needs is $350 million.                                                                       60%
                                                            Source: BLM.



11-10 Special Topics                                                                            FHWA002485
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24       Page 203 of 534         PageID 2763

   Bureau of Reclamation
   The Bureau of Reclamation (Reclamation) administers 476 dams and 348 reservoirs in the 17 Western
   States and manages in partnership 187 recreation areas. One of the most notable reservoirs is Lake Mead,
   created by the Hoover Dam. Reclamation is the ninth largest electric utility and second largest producer of
   hydropower in the United States, with 58 power plants producing on the average 40 billion kilowatt-hours
   annually. Reclamation is also the Nation’s largest wholesale water supplier, delivering 10 trillion gallons of
   water to more than 31 million people each year and providing one out of five western farmers with irrigation
   water.
   Reclamation owns approximately 2,015 miles of roads that are open for use by the general public, of which
   762 miles are paved. Additionally, Reclamation owns 311 public bridges, and approximately 11 percent of
   the public bridges are structurally deficient. Reclamation also owns administrative roads and operations and
   maintenance (O&M) roads which are estimated to be approximately 8,000 miles, and are not open to the
   public.

   Bureau of Indian Affairs
   The United States has a unique legal and political relationship with Indian tribes and Alaska Native entities
   as provided by the Constitution of the United States, treaties, court decisions, and Federal statutes. Within
   the government-to-government relationship, the Bureau of Indian Affairs (BIA) provides services directly or
   through contracts, grants, or compacts to 566 federally recognized tribes with a service population of about
   1.9 million American Indian and Alaska Natives. The BIA offers an extensive scope of programs that covers
   the entire range of Federal, State, and local government services. Programs administered through the BIA
   include social services, natural resources management on trust lands representing 55 million surface acres
   and 57 million acres of subsurface minerals estates, economic development programs in some of the most
   isolated and economically depressed areas of the United States, law enforcement and detention services,
   administration of tribal courts, implementation of land and water claim settlements, housing improvement,
   disaster relief, replacement and repair of schools, repair and maintenance of roads and bridges, and the repair
   of structural deficiencies on high-hazard dams. The BIA operates a series of irrigation systems and provides
   electricity to rural parts of Arizona.
   The BIA has responsibility over approximately 29,200 miles of existing roads that are open for use by the
   general public, of which 8,800 miles are paved. Tribal governments further own an additional 13,500 miles
   of existing public use roads, including 3,300 miles of paved roads. Neither number includes any mileage
   for future or proposed roads that are in the inventory. Approximately 17 percent of total BIA and tribally
   owned roads are in acceptable condition. Additionally, the BIA owns 929 public bridges, and approximately
   15 percent of the public bridges are structurally deficient. Approximately 68 percent of these bridges are
   in acceptable condition. The number and condition of tribally owned bridges is currently unknown, since
   these were first required to be inspected in 2013 with the passage of the Moving Ahead for Progress in the
   21st Century Act (MAP-21).

   Department of Defense
   The mission of the Department of Defense (DOD) is to provide the military forces needed to deter war
   and to protect the security of our country. The DOD owns millions of acres of land within the continental
   United States. There are more than 400 major military installations in the United States, encompassing about
   20 million acres of land, which are integral to the defense of the country. The economic benefit provided by
   the DOD to the country as a whole has not been precisely calculated, but is in the hundreds of billions of
   dollars.



                                                                                               FHWA002486
                                                                          Transportation Serving Federal Lands 11-11
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24        Page 204 of 534         PageID 2764

When one thinks of DOD installations, one assumes that they are generally not open to the public due to
the overriding military mission of those specific areas. However, many installation roads are open to use by
dependents, visitors, and other members of the public, even though there may be a requirement to stop at
a gate area. Roads on military installations serve housing offices, commissaries, base exchanges, recreation
facilities, unrestricted training facilities, hospitals, and traffic crossing the installation. This public street
system is similar to the street system in urban areas. In many cases, the military streets are an integral part of
the street system of the local community.
The 2008 calculations indicated that the DOD has in excess of 26,000 miles of paved roads under its
jurisdiction deemed open for public travel. Travel on installation roads consists of military personnel and
their dependents, civilian work force on military installations, contractors performing work for the military,
civilian personnel operating businesses, and visitors (to include non-military associated sportsmen). The
DOD has 1,422 public bridges, of which 11 percent are structurally deficient.
The DOD maintenance and construction of roadways are prioritized at the local installation level. As the
mission of each installation may be extremely different from one installation to another, the infrastructure
needs from one installation to another will vary greatly. Therefore, the DOD does not track roadway
condition for all installations in any one central repository. That tracking is done at the local level and will
continue to remain there. Currently, the DOD does record and document to the FHWA the condition and
performance of all bridge structures. This philosophy is consistent in all aspects from geometrics to sign
standards. It is DOD policy to adhere, whenever possible, to the same standards non-DOD public roadways
are held. For instance, DOD policy is that all DOD roadways are subject to the Manual of Uniform Traffic
Control Devices (MUTCD) and should be operated in conformance to MUTCD standards. It is the local
installation’s responsibility to maintain sign inventories and monitor their programs. This philosophy is in
part tied to how installation roadways receive funding for roads. Roadway projects are prioritized and funded
with all other military construction work, i.e. barracks, offices, training sites. The DOD does collect State
and Federal gas taxes on all military installation service stations but does not retain those funds. In 2011,
those sales included more than 468 million gallons of gasoline and more than 5 million gallons of diesel
fuel. These sales were to DOD civilians and military personnel who in general live and shop outside military
installations.
Additionally, in the past 20 years, residences of military personnel have shifted from on-base facilities to
off-base housing. This trend has placed a greater emphasis on the need for alternative transportation. Many
installations across the country have partnered with adjacent communities to incorporate local transit
services onto the installation. For example, Scott Air Force Base is directly served by the St Louis area metro
rail and is serviced on base by a bus service operated by the regional transit service. Other installations have
implemented similar programs and are implementing transit options where feasible. In addition, the DOD
discourages single occupancy vehicle usage by restricting parking and offering special parking for carpooling.

United States Army Corps of Engineers
The United States Army Corps of Engineers (USACE) has the responsibility to maintain and improve
navigable waterways throughout the United States, and to mitigate flooding risks affecting the country. One
supplementary benefit to the public of the USACE’s navigation and flood protection projects is that the
USACE has become the largest provider of water-based recreation in the country. The USACE currently
administers approximately 12.8 million acres of land and water at 423 lakes and waterways reporting public
recreation use throughout the United States.




11-12 Special Topics                                                                                 FHWA002487
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24       Page 205 of 534         PageID 2765

   There are more than 8,800 miles of public roads serving       Exhibit 11-11 U.S. Army Corps of Engineers
   USACE lakes and waterways. About 6,234 miles are              Road Condition
   owned by the USACE. More than 5,135 miles are
                                                                        Fair
   paved. The USACE also own 294 public bridges, of                     25%
                                                                                                       Poor
                                                                                                       20%
   which 11 percent are structurally deficient. As shown
   in Exhibit 11-11, the condition of USACE roads are
   55 percent Good, 25 percent Fair, and 20 percent Poor.
   The backlog of improvement needs of public roads and
   bridges is estimated at $100 million.
                                                                                                      Good
                                                                                                      55%

                                                                Source: USACE.




           Transportation Funding for Federal and Tribal Lands
   Providing access within Federal and Tribal lands is generally not a State or local responsibility, but
   Federal government responsibility. Before the 1980s, all road improvements were dependent upon the
   unpredictability of the various annual Federal Agency appropriations competing with non-transportation
   needs. This caused many road systems on Federal and Tribal lands to fall into disrepair. The Surface
   Transportation Assistance Act of 1982 (STAA) established the Federal Lands Highway Program (FLHP).
   It brought together for the first time a consolidated and coordinated long-range program funded under the
   Highway Trust Fund.
   The funding for FLHP continued and, under SAFETEA-LU, the FLHP provided funding for the NPS’s
   Park Roads and Parkways (PRP), the Bureau of Indian Affair’s Indian Reservation Roads (IRR), the FWS’s
   Refuge Roads (RR), and two components of the Public Lands Highway Program: Forest Highways (FH) and
   a discretionary component called the Public Lands Highway Discretionary Program (PLHD). The funding
   categories and annual authorizations are shown for FY 1983 through FY 2012 in Exhibit 11-12.
   On July 6, 2012, the President signed MAP-21 into law. This transformative law realigned and expanded the
   component programs of the FLHP into three more comprehensive Federal Lands and Tribal Transportation
   Programs (FLTTP), funded at a total of $1 billion annually for FY 2013 and 2014. The Tribal
   Transportation Program (TTP), funded at $450 million annually for FY 2013 and 2014, replaces the IRR
   program. The Federal Lands Transportation Program (FLTP), funded at $300 million annually for FY 2013
   and 2014, merges the PRP and RR programs and expands to include transportation facilities owned by the
   Bureau of Land Management, the U.S. Army Corps of Engineers, and the USDA Forest Service to address
   improvements to transportation facilities owned by the biggest Federal recreation providers. The Federal
   Lands Access Program (FLAP) is funded at $250 million annually for FY 2013 and 2014, takes attributes
   from the FH and PLHD programs to comprehensively address transportation needs on non-Federal roads
   which provide access to all types of Federal lands.
   The FLHP and FLTTP funds may be used for transportation planning, research engineering, and
   construction of roadways. They may also be used to fund transit facilities that provide access to or within
   Federal and Tribal lands. Maintenance, rehabilitation, and reconstruction of transportation facilities may also
   be funded through various other FLMA appropriations.




                                                                                               FHWA002488
                                                                          Transportation Serving Federal Lands 11-13
   Case 5:23-cv-00304-H             Document 15-18       Filed 01/31/24         Page 206 of 534       PageID 2766


    Exhibit 11-12 FLHP Annual Authorizations ($M)
                                                             Program
    Authorization            FY        FH     PLHD        IRR           PRP            RR            Total
    STAA                    1983       50      50          75            75             0             250
                            1984       50      50         100            100            0             300
                            1985       50      50         100            100            0             300
                            1986       50      50         100            100            0             300
    STURAA                  1987       55      40          80            60             0             235
                            1988       55      40          80            60             0             235
                            1989       55      40          80            60             0             235
                            1990       55      40          80            60             0             235
                            1991       55      40          80            60             0             235
    ISTEA                   1992       94      49         159            69             0             371
                            1993      113      58         191            83             0             445
                            1994      113      58         191            83             0             445
                            1995      113      58         191            83             0             445
                            1996      114      58         191            84             0             447
                            1997      114      58         191            84             0             447
    TEA-21                  1998      129      67         225            115            0             536
                            1999      162      84         275            165            20            706
                            2000      162      84         275            165            20            706
                            2001      162      84         275            165            20            706
                            2002      162      84         275            165            20            706
                            2003      162      84         275            165            20            706
    TEA-21 Extension        2004      162      84         275            165            20            706
    SAFETEA-LU              2005      172      88         314            180            29            783
                            2006      185      95         344            195            29            848
                            2007      185      95         384            210            29            903
                            2008      191      99         424            225            29            968
                            2009      198     102         464           240             29           1,033
    SAFETEA-LU              2010      198     102         464           240             29           1,033
    Extension               2011      198     102         464           240             29           1,033
                            2012       198     102        464            240           29            1,033
                            Total     3,762   2,095      7,086          4,036          352           17,331
    Source: FLHP.




                    Increasing Walking, Biking, and Transit Use
                            on Federal and Tribal Lands
Growth in public use of Federal and Tribal lands has created a need for additional investment in
transportation facilities for transit, bicycle, and pedestrian uses on Federal and Tribal lands. High visitation
levels, in both large and small sites, are causing problems due to the growing volumes of traffic and demands
for visitor parking. In many areas, it is not that there are too many people but too many motor vehicles and
too many visits concentrated in certain time periods. Specific examples of parks that have made successful
investments in transit are shuttle bus systems in Denali National Park and Preserve, Acadia National Park,
Cape Cod National Seashore, Zion National Park, and Grand Canyon National Park; the train system
serving Cuyahoga National Park; and the ferry system serving Fire Island National Seashore.


11-14 Special Topics                                                                               FHWA002489
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24       Page 207 of 534         PageID 2767

   A 2004 U.S. DOT study estimated transit needs on USDA Forest Service lands. This study identified
   30 sites that would benefit from new or supplemental transit investments and estimated that approximately
   $698 million in 2003 dollars ($714 million in 2004 dollars or $60 million per year) would be needed in
   these areas between 2003 and 2022. An earlier joint FTA/FHWA study, undertaken in 2001, estimated
   transit investment needs on NPS, BLM, and FWS lands, which are all part of the DOI. Total DOI needs for
   the period 2002 to 2020 were estimated to be $1.71 billion in 1999 dollars ($2.16 billion in 2004 dollars
   or $180 million per year). Ninety-one percent of these needs were estimated to be required by the NPS,
   7 percent by the FWS, and 2 percent by the BLM.
   In 2005, the Paul S. Sarbanes Transit in the Parks (TRIP) Program was established under the SAFETEA-LU,
   and provided approximately $26 million of federal funding annually. The TRIP Program was established
   to help develop new alternatives for enjoying our parks and public lands while protecting resources. The
   program funded transportation in the parks and public lands; helped conserve natural, historical, and
   cultural resources; reduced congestion and pollution; improved visitor mobility and accessibility; enhanced
   the visitors’ experience; and helped to ensure access to all, including persons with disabilities. The TRIP
   Program was not continued under the most recent surface transportation authorization, MAP-21.
   Also in 2005, the SAFETEA-LU created the Tribal Transit Program. The SAFETEA-LU authorized funding
   for this program beginning in FY 2006 at $8 million, increasing to $10 million in FY 2007, to $12 million
   in FY 2008, and to $15 million in FY 2009 through FY 2012. The MAP-21 increased the funding to
   $30 million in FY 2013 and 2014. Federally recognized Tribes may use the funding for capital, operating,
   planning, and administrative expenses for public transit projects that meet the growing needs of rural Tribal
   communities. Examples of eligible activities include: capital projects; operating costs of equipment and
   facilities for use in public transportation; and the acquisition of public transportation services, including
   service agreements with private providers of public transportation services.


      The Future of Transportation on Federal and Tribal Lands
   In looking at the future transportation needs on Federal and Tribal lands, FLMAs need to address challenges
   in identifying and involving all of the stakeholders and gaining a better understanding of the complex
   relationship among these entities. Along with this, the following significant issues continually need to be
   addressed:
   1. As population increases, the demand for access to Federal and Tribal lands will continue to grow. This
      will require the need to fully consider and implement innovative transportation solutions, including
      efficient intermodal transfers among the available modes of transportation (pedestrians, bicycles, cars,
      buses, RVs, transit, ferries, or aircraft). Intelligent transportation systems will continue to play more and
      more important roles as a way to communicate congestion and provide information on alternative routes
      and times to visit Federal and Tribal lands.
   2. In many instances, urban growth is expanding closer and closer to Federal and Tribal lands. As these
      lands become part of urban areas, FLMAs and Tribes are challenged with all the issues affecting urban
      transportation officials. These agencies need to undertake and implement effective urban transportation
      planning in close cooperation with metropolitan transportation officials, local officials, and various
      transportation officials. Tribes and FLMAs are focusing on intermodal solutions to challenges of
      increasing demands for access and balancing those desires with impacts on natural, cultural, and historic
      resources; and the environment, including air and water quality.
   3. As transportation funding continues to lag behind transportation needs, there is a need to ensure more
      effective coordination between Federal agencies, Tribal governments, and State/local transportation
      agencies. It also necessitates effective development and implementation of transportation investment that

                                                                                                FHWA002490
                                                                           Transportation Serving Federal Lands 11-15
     Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24    Page 208 of 534       PageID 2768

      fully uses products of transportation planning and bridge, safety, pavement, and congestion management
      systems.
4. The average age of drivers on Federal and Tribal lands will continue to increase. This requires continued
   improvements in signs, information systems, and accommodation for visitors with disabilities. This will
   be especially important in urban areas where the need for effective destination guidance is a challenge to
   implement.


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11-16 Special Topics                                                                             FHWA002491
Case 5:23-cv-00304-H      Document 15-18                    Filed 01/31/24                 Page 209 of 534                  PageID 2769




                                                           CHAPTER                                                          12
               Center for Accelerating Innovation

               Center for Accelerating Innovation ............................................................................12-2
                   Highways for LIFE: Improving the American Driving Experience ............................12-2
                   Every Day Counts: Creating a Sense of Urgency .....................................................12-3
                        Accelerating Technology and Innovation Deployment ...................................................... 12-5
                        Accelerating Project Delivery Methods............................................................................... 12-7
                        Shortening Project Delivery Toolkit ..................................................................................... 12-9
                        Every Day Counts Round Two ............................................................................................ 12-10
                   A New Way of Doing Business ..................................................................................12-12




                                                                                               Center for Accelerating Innovation 12-1
                                                                                                                   FHWA002492
   Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24         Page 210 of 534           PageID 2770



                  Center for Accelerating Innovation

America’s transportation system faces unprecedented challenges. Aging roads and bridges that carry greater
traffic volumes and heavier loads than ever need extensive rehabilitation. Limited resources—both staff and
budgets—at transportation agencies across the country create the need to work more efficiently and focus on
technologies and processes that produce the best results.
At the same time, Americans continue to expect a multimodal transportation system that is safe, accessible,
reliable, and convenient. They want to experience a minimum of traffic congestion, whether they are going
about their daily lives in their communities or traveling across the country. They also want accountability for
the tax dollars that support the building, maintenance, and repair of roads and bridges.
Addressing these challenges requires the transportation industry to pursue ways of doing business that are
better, faster, and smarter. It requires harnessing
the power of innovation to dramatically change                   Accelerating Project Delivery in MAP-21
the way highways are built. The FHWA Center               The Moving Ahead for Progress in the 21st Century
for Accelerating Innovation, established in               Act builds on the Every Day Counts initiative with
2011, provides national leadership on deploying           provisions designed to speed up the project delivery
innovation to meet today’s transportation                 process several ways:
challenges. The center houses Every Day Counts—           • It encourages the use of innovative technologies
an initiative launched in 2009 by FHWA to shorten            and practices and enhances contracting
                                                             efficiencies.
project delivery, enhance roadway safety, and protect
                                                          • It targets the environmental review process,
the environment—and Highways for LIFE—the                    providing for earlier coordination, promoting
agency’s initiative to build roads and bridges faster,       greater linkage between the planning and
better, more safely, and with less impact on the             environmental review process, using a
traveling public.                                            programmatic approach where possible, and
                                                              consolidating environmental documents. Projects
This chapter discusses the goals of the Center for            stalled in the environmental review process can
Accelerating Innovation initiatives and the benefits          get technical assistance to speed their completion.
they generate for America’s highway system.                • It strives to improve project delivery efficiency by
It also highlights the progress of the initiatives           broadening States’ ability to acquire or preserve
                                                             right-of-way for a transportation facility before
between 2005 and 2012 in helping the highway                 completion of the review process required under
community use innovation to improve the way the              the National Environmental Policy Act.
transportation infrastructure is built.


         Highways for LIFE: Improving the American Driving
                             Experience
Highways for LIFE, a pilot program established in 2005 by the Safe, Accountable, Flexible, Efficient
Transportation Equity Act: A Legacy for Users, has three goals: improve safety during and after construction,
reduce congestion caused by construction, and improve the quality of highway infrastructure. To achieve
these goals the program focuses on using sophisticated marketing approaches and dedicated teams to deploy
innovations faster and more effectively; it gives highway agencies incentives to use innovations and customer-
focused performance goals to build highways better; and it helps industry move promising innovations from
the prototype to the market-ready stage, where they can benefit the traveling public.



12-2 Special Topics                                                                                    FHWA002493
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24       Page 211 of 534          PageID 2771

   Through the Highways for LIFE Vanguard Technologies effort, FHWA developed a model technology
   deployment process that combines multidisciplinary teams, marketing techniques, and focused effort to
   move innovations all the way to full implementation. The process is designed to deploy technology quickly
   and efficiently so that years don’t elapse between the time that research is done and the time that highway
   users benefit from an innovation. FHWA also created a training program (Leap Not Creep: Accelerating
   Innovation Implementation) and a guide to developing marketing plans (FHWA’s Guide to Creating an
   Effective Marketing Plan) that organizations are using to launch their own innovation deployment efforts.
   Highways for LIFE helps highway agencies try new approaches by offering financial incentives for
   construction projects that employ proven but little-used innovations. From fiscal years 2006 to 2012,
   the program provided incentives totaling about $65 million for 70 projects in 35 States, the District of
   Columbia, and Puerto Rico. These projects featured innovations such as accelerated bridge construction
   techniques, precast concrete pavement systems, and new contracting methods. Many projects include
   showcases to draw transportation professionals from around the country to view innovations in person and
   learn from their peers what it takes to deploy them.
   To qualify for incentive funding, highway agencies had to set project performance goals by defining
   desired results for safety, speed of construction, mobility, quality, and user satisfaction, and committing to
   measuring their success in meeting those goals. A change from the traditional practice of specifying how a
   project should be built, performance goals spur agencies and contractors to use creativity and flexibility in
   developing solutions to meet project goals and challenges. By documenting and comparing project results to
   the performance goals set, agencies get data on which to base future decisions.
   Recognizing that the private sector is a reservoir of innovation that can benefit the highway system, FHWA
   developed the Technology Partnerships Program to move useful innovations into routine practice. The
   program offers grants to help industry turn promising prototypes into market-ready products and fosters
   partnerships with highway agencies to demonstrate the technologies under real-world conditions. FHWA
   has funded eight Technology Partnerships projects with grants ranging from $200,000 to $500,000 for a
   total of nearly $2.8 million. It also launched a program to provide independent evaluation of worthwhile
   safety technologies with limited U.S. use.
   Through Highways for LIFE, the highway community has begun to harness the power of innovation
   by deploying available technologies with immediate, tangible benefits. As a result, highway community
   stakeholders are adopting a customer-focused performance model and making innovations that enhance the
   highway system standard practice. They are changing the way the Nation builds highways to improve the
   American driving experience.


              Every Day Counts: Creating a Sense of Urgency
   The Every Day Counts Initiative was launched by FHWA in 2009 to identify and deploy market-ready
   innovations aimed at speeding up project delivery, making roads safer, and protecting the environment. The
   idea behind the initiative is to create a new sense of urgency in pursuing better, faster, and smarter ways to
   build highway infrastructure.
   Working on the premise that technology deployment needs to occur much more rapidly to meet today’s
   transportation needs, FHWA created a State-based model in which FHWA teams work with State
   departments of transportation (DOTs) and other highway community stakeholders to make innovations
   standard practice. Every Day Counts focuses on high-priority initiatives to accelerate technology and
   innovation deployment and open highway projects to the public faster. From that menu of technologies,
   tactics, and techniques, each State chooses the options that work best for its highway program. FHWA


                                                                                              FHWA002494
                                                                             Center for Accelerating Innovation   12-3
   Case 5:23-cv-00304-H           Document 15-18           Filed 01/31/24        Page 212 of 534           PageID 2772

teams work closely with the States to mainstream their selected initiatives over a 2-year period and develop
performance measures to gauge their success.
Every Day Counts focuses on two key components:
 Accelerating technology and innovation deployment. This category involves identifying market-ready
    technologies that can benefit the highway system and accelerating their widespread use. This effort is
    aimed at advancing solutions that enhance safety, reduce congestion, and keep America moving and
    competitive.
 Shortening project delivery. To help the highway community deliver projects faster, FHWA developed
    a toolkit of strategies for using flexibilities available under current law and eliminating duplicate efforts in
    the planning and environmental review process. The agency is also recommending innovative contracting
    practices that accelerate project delivery as standard business practices.
In choosing candidates for the first round of Every Day Counts initiatives that began in October 2010,
FHWA sought input from stakeholders throughout the highway community, including industry experts,
the American Association of State Highway and Transportation Officials (AASHTO), the American Road
and Transportation Builders Association, and the Associated General Contractors of America. Through
this collaborative process, FHWA designated five initiatives to focus on in the accelerating technology and
innovation category and 10 in the shortening project delivery category (Exhibit 12-1). FHWA identified
agency experts to champion each initiative and assembled deployment teams.
Working with AASHTO, FHWA advanced the Every
                                                                 Exhibit 12-1 Selected Every Day Counts
Day Counts program nationwide through a series of                Initiatives
regional summits in the autumn of 2010. FHWA invited
Federal, State, and local agency representatives, industry                 Accelerating Technology and
                                                                             Innovation Deployment
leaders, and technical experts with direct involvement
                                                                 • Adaptive Signal Control Technology
in delivering Federal-Aid Highway Program projects to            • Geosynthetic Reinforced Soil Integrated Bridge
participate.                                                       Systems
                                                                 • Prefabricated Bridge Elements and Systems
After the summits, each State formed a State                     • Safety EdgeSM
Transportation Innovation Council to provide leadership          • Warm-Mix Asphalt
for its Every Day Counts effort. States selected a                      Shortening Project Delivery Toolkit
minimum of five initiatives to pursue over a 2-year
period and developed action plans. Many chose to                 • Eliminate Time-Consuming Duplication Efforts
                                                                 • Encourage Use of Existing Regulatory Flexibilities
incorporate all of the initiatives into their Every Day
Counts effort. This State-based approach recognizes                   Accelerated Project Delivery Methods
that DOTs serve as the innovation leaders for their
States and, by partnering with local and county agencies         • Design-Build
and industry stakeholders, they can play a key role in           • Construction Manager–General Contractor

innovation deployment.
On an ongoing basis, FHWA staff support the State DOTs by offering recommendations on maximizing
the effectiveness of Every Day Counts activities. FHWA also provides training and guidance to help State
DOTs achieve the goals they set in their action plans (Exhibit 12-2). For example, the team focusing on
accelerating project delivery conducted regional peer exchanges on the construction manager–general
contractor (CM-GC) and design-build initiatives. At each, participants from several States heard perspectives
and best practices from DOTs with experience using the contracting approaches, examined case studies, and
participated in group exercises. FHWA also uses Web conferences to expedite dissemination of information
on technology initiatives. Target audiences include staff from State, regional, and local transportation
agencies and the contracting industry.


12-4 Special Topics                                                                                     FHWA002495
Case 5:23-cv-00304-H          Document 15-18            Filed 01/31/24          Page 213 of 534          PageID 2773

   As well as being rapidly deployable, the initiatives are
                                                                       Exhibit 12-2 Every Day Counts State-Based
   performance based and measurable. Accountability                    Structure
   is inherent to the process of pursuing better, faster,
   and smarter ways of doing business. As steward of the
   Nation’s transportation system, FHWA is responsible
   for delivering products and services that engender
   public trust. The performance goals FHWA set for
   each initiative help the agency track its progress. All of
   the initiatives are moving forward as teams implement
   them across the country. The following sections take
   a closer look at how several are succeeding in making
   innovative technologies and construction methods
   standard practice and shortening project delivery.




                                                   Every Day Counts Highlights
    In its first 2 years, the Every Day Counts initiative helped States deploy innovations that benefit road users
    nationwide:
    • Forty-three States used the Safety EdgeSM on a paving project.
    • Forty-five States are in various stages of implementing warm-mix asphalt.
    • Adaptive signal control technology is being installed at 64 project locations.
    • A total of 675 replacement bridges were designed or constructed using prefabricated bridge elements and
      systems (PBES).
    • Eighty-five geosynthetic reinforced soil integrated bridge system (GRS-IBS) bridges were designed or
      constructed.
    • Thirteen States have active mitigation banking agreements.
    • Fifty-six programmatic agreements were initiated and 101 were updated.
    • More than 220 projects were designed and constructed using the design-build (DB) and construction manager-
      general contractor (CM-GC) project delivery methods.


   Accelerating Technology and Innovation Deployment
   Accelerating technology and innovation deployment is about taking effective, proven, and market-ready
   technologies and putting them into widespread use. FHWA is working with State, local, and industry
   partners to implement the following technologies to improve safety, reduce congestion, and keep people and
   goods moving.
   Safety EdgeSM. Pavement edge drop-off on highways has been linked to many serious crashes and fatalities.
   Rather than leave a vertical drop-off at the pavement shoulder, the Safety Edge shapes the edge of the
   pavement to a 30-degree angle, making it easier for drivers to steer back onto the roadway for drivers who
   stray off the travel lane (see Safety Edge discussion in Chapter 4).
   The Safety Edge is installed during paving, using a
   commercially available shoe that attaches to existing                                  Safety Edge
   paving equipment in just a few minutes. The Safety              The Iowa Department of Transportation (DOT) has
   Edge also decreases pavement edge raveling and                  made the Safety Edge a standard practice, and
                                                                   requires it on all projects with a paved shoulder less
   contributes to longer pavement life. The benefits of            than 4 feet wide. In addition to using it on asphalt
   Safety Edge have encouraged 34 State DOTs and all               paving projects, the Iowa DOT was the first in the
   three Federal Lands Highway Divisions to adopt the              country to try it on a Portland cement concrete paving
   Safety Edge as a standard for paving projects.                  project.



                                                                                                      FHWA002496
                                                                                     Center for Accelerating Innovation   12-5
   Case 5:23-cv-00304-H            Document 15-18           Filed 01/31/24        Page 214 of 534         PageID 2774

Warm-mix asphalt (WMA). Composed in various fashions, WMA enables construction crews to produce
and place asphalt on a road at lower temperatures than possible using conventional hot-mix methods.
In most cases, the lower temperatures result in significant cost savings because fuel consumption during
WMA production is typically 20 percent lower. WMA production also generates fewer emissions, making
conditions for workers healthier, and has the potential to extend the construction season, enabling agencies
to deliver projects faster.
By July 2012, 45 State DOTs and all three Federal Lands Highway Divisions had adopted a standard
specification for WMA use. Twenty-four State DOTs and Federal Lands Highway Divisions had set usage
goals ranging from 46,000 to 600,000 tons of WMA per year, or 20 percent to 50 percent of all applicable
projects. In 2010, more than 47 million tons
of WMA were produced nationwide, a nearly
                                                                          Warm-Mix Asphalt
150-percent increase over 2009. That saved more
                                                       The New Hampshire DOT placed about 243,000 tons
than 30 million gallons of fuel worth more than        of WMA in 2011, 41 percent of all pavement the State
$80 million and removed 800,000 tons of CO2            placed during the year. The Delaware DOT used WMA
from the air, which equates to taking more than        on about 40 percent of its paving projects in 2011 and
150,000 cars off the road.                             plans to use it on all projects by 2015. In Puerto Rico,
                                                             more than 60,000 tons of WMA were placed on three
According to the National Asphalt Paving                     2012 projects, resulting in a 30-percent reduction in
Association, current data indicate that WMA will             fuel costs. (Source: Federal Highway Administration,
                                                             The Best of EDC, May 2012, www.fhwa.dot.gov/
capture more than 25 percent of the market in                everydaycounts/pdfs/bestofedc.pdf.)
the next year and will be the industry standard for
asphalt mixtures in 3 to 5 years.
Geosynthetic reinforced soil integrated bridge system (GRS-IBS). While utilizing traditional equipment
and materials, GRS-IBS uses alternating layers of compacted granular fill material and fabric sheets of
geotextile reinforcement to provide support. The technology is particularly advantageous in the construction
of small bridges (less than 140 feet long), reducing construction time and generating cost savings of 25 to
60 percent compared to conventional construction methods. It facilitates design flexibility conducive to
construction under variable site conditions, including soil type, weather, utilities and other obstructions, and
proximity to existing structures.
From October 2010 to July 2012, 85 bridges across the country were designed or built using GRS-IBS.
Thirty-seven State DOTs and Federal Lands Highway Divisions are implementing GRS-IBS.

                                                        GRS-IBS
   Defiance County, OH, used GRS-IBS to build a bridge in just 6 weeks, compared to the months required for
   traditional construction methods.1 The county saved nearly 25 percent on the project, not only because of the
   reduced labor costs resulting from shorter construction time and simpler construction, but also because fewer
   materials were required for the GRS bridge abutments. GRS-IBS technology helped Clearfield County, PA, build
   a bridge on a school bus route in just 35 days, saving months of time and 50 percent on costs.2 Another bridge
   built using GRS-IBS technology in St. Lawrence County, NY, realized a 60-percent cost savings.3
   1
    Federal Highway Administration, Every Day Counts, GRS-IBS Case Studies,
   www.fhwa.dot.gov/everydaycounts/technology/grs_ibs/casestudies.cfm.
   2
    Randy Albert, Pennsylvania Department of Transportation, “Every Day Counts,” EDC Forum,
   www.fhwa.dot.gov/everydaycounts/forum/post.cfm?id=27
   3
    Federal Highway Administration, Every Day Counts, GRS-IBS Case Studies,
   www.fhwa.dot.gov/everydaycounts/technology/grs_ibs/casestudies.cfm.




12-6 Special Topics                                                                                    FHWA002497
Case 5:23-cv-00304-H            Document 15-18           Filed 01/31/24        Page 215 of 534           PageID 2775

   Adaptive signal control technology. These technologies coordinate the control of traffic signals across a
   network by adjusting the lengths of signal phases based on prevailing traffic conditions. This improves travel
   time reliability, reduces congestion, and creates smoother traffic flow.
   According to the Information Technology and Innovation Foundation’s 2010 report titled Explaining
   International IT Application Leadership: Intelligent Transportation Systems, applying real-time traffic data
   to traffic signals can cut red-light delays by as much as 40 percent, CO2 emissions by 22 percent, and gas
   consumption by 10 percent. Although adaptive signal control technology has been used in the United States
   for about 20 years, it had been deployed on less than 1 percent of the Nation’s 260,000 traffic signals before
   its adoption as an Every Day Counts technology in October 2010. By July 2012, 44 State DOTs were
   implementing the technology.

                                             Adaptive Signal Control Technology
     Topeka, KS, installed new traffic signals equipped with cameras and processors on the 21st Street corridor. The
     system saves drivers on the corridor an estimated 123,000 gallons of gasoline and 191,000 pounds of CO2 a year.
     Crashes dropped by 30 percent during the system’s first year of operation.1 The city of Temecula, CA, deployed
     the technology at 83 intersections spanning 18 miles of roadway. As a result, drivers have enjoyed a 14 percent
     reduction in travel time, a 17 percent increase in corridor speed, and a 29 percent reduction in stops. That
     translates to annual savings of about $2.6 million in travel time and $437,000 in fuel costs.2
     1
         Federal Highway Administration, The Best of EDC, May 2012, www.fhwa.dot.gov/everydaycounts/pdfs/bestofedc.pdf.
     2
      Federal Highway Administration, Every Day Counts, Adaptive Signal Control Case Studies,
     www.fhwa.dot.gov/everydaycounts/technology/adsc/casestudies.cfm.



   Prefabricated bridge elements and systems (PBES). With PBES, prefabricated components are
   constructed off-site and moved to the work zone for rapid installation, reducing the level of traffic disruption
   typically associated with bridge replacement. In some cases, PBES makes it possible to remove the old
   bridge overnight while putting the new bridge in place the next day. Because PBES components are usually
   fabricated under controlled conditions, weather
   has less impact on the quality and duration of the
                                                                Prefabricated Bridge Elements and Systems
   project.
                                                                   The Massachusetts DOT used prefabricated
   Forty-seven State DOTs and Federal Lands                        bridge elements on a project to replace 14 bridge
                                                                   superstructures on I-93 in Medford, shrinking a 4-year
   Highway Divisions are implementing PBES as part                 bridge replacement project to just one summer. The
   of Every Day Counts. Between October 2010 and                   agency built the bridge superstructures in sections off-
   July 2012, 675 replacement bridges were designed                site and installed them on weekends during 55-hour
   or constructed using PBES. About 18 percent of all              windows to minimize impact on travelers.
   replacement bridges using Federal-aid funds have at
   least one major prefabricated bridge element.

   Accelerating Project Delivery Methods
   The sooner highway agencies can complete major projects, the sooner the public can begin enjoying their
   benefits. With the traditional design-bid-build (DBB) construction method, highway projects can take
   years to deliver. The accelerated project delivery method initiative is aimed at reducing the time it takes
   to complete highway projects by as much as 50 percent. Every Day Counts is focusing on two innovative
   contracting methods that can trim years from project schedules and is encouraging State DOTs to adopt
   them as standard business practices.




                                                                                                      FHWA002498
                                                                                     Center for Accelerating Innovation   12-7
  Case 5:23-cv-00304-H            Document 15-18           Filed 01/31/24        Page 216 of 534         PageID 2776

Design-build contracting. Design-build (DB) is
                                                               Exhibit 12-3 Design-Build Process
a project delivery method in which the design and
construction phases are combined into one contract,
allowing some aspects of design and construction
to take place at the same time (Exhibit 12-3). This
approach can provide significant time savings compared
to the traditional DBB approach, in which the design
and construction phases take place sequentially. The
designer-builder assumes responsibility for most of the
design work and all construction activities. Along with
greater responsibility and risk, DB allows the designer-
builder more flexibility to innovate. Twenty-eight
DOTs and all three Federal Lands Highway Divisions
are implementing the initiative, and DB was used on
about 200 projects from 2010 to 2012. Twenty-four
States expanded their DB statutory authority in 2011
and 2012, according to the Design-Build Institute of
America.
Construction manager–general contractor. Another alternative to the traditional DBB contracting method
is the CM-GC approach. The CM-GC process
has two phases. In the design phase, the highway       Exhibit 12-4 Construction-Manager–General
agency hires a construction manager to work with       Contractor Process
the designer and agency to identify risks, provide
cost projections, and refine the project schedule. The
construction manager and agency negotiate a price
for the construction contract and, if both parties
agree, the construction manager becomes the general
contractor for the construction phase. As with the
DB approach, agencies can save time because of the
contractor’s ability to undertake several activities
concurrently. It also allows State DOTs to remain
active in the design process while assigning risks to
the parties most able to mitigate them. Sixteen DOTs
and all three Federal Lands Highway Divisions are
implementing the CM-GC project delivery method.
Twenty projects were constructed in the past 3 years
using CM-GC, and 25 more were planned for 2012
and 2013 (Exhibit 12-4).


                                           Alternative Contracting Methods
   The Michigan DOT used CM-GC to develop and deliver a complex slope-stability project quickly, safely, and cost-
   effectively. Both DB and CM-GC have helped the Utah DOT streamline production, reduce risk, and cut costs on
   many projects over the past decade. When the Utah DOT needed to complete a $1.5-billion project to rebuild
   a highway in time for the 2002 Salt Lake Winter Olympics, DB accelerated project completion by an estimated
   4 years. On an I-80 widening job that included 14 bridges, CM-GC resulted in user cost savings of $25 million
   on a $140-million project. Since 2010, the Maine DOT has advanced nine DB projects and the DB method has
   become an established accelerated project delivery practice for the agency.




12-8 Special Topics                                                                                   FHWA002499
Case 5:23-cv-00304-H        Document 15-18           Filed 01/31/24        Page 217 of 534          PageID 2777

   Shortening Project Delivery Toolkit
   Highway projects that require environmental impact statements under the National Environmental Policy
   Act (NEPA) typically take 12 to 13 years to complete. In order to deliver needed projects faster, FHWA
   created the Shortening Project Delivery Toolkit to encourage greater use of regulatory flexibilities available
   under current laws. The following highlights how State DOTs are using the initiatives to streamline projects.
   Expanded use of programmatic agreements. Programmatic agreements establish streamlined processes for
   handling routine environmental requirements on common project types. A programmatic agreement spells
   out the terms of a formal agreement between a State DOT and other State or Federal agencies and sets up
   a process for consultation, review, and compliance with applicable Federal laws. Such agreements save time
   in the project delivery process by specifying clear roles and responsibilities, standardizing coordination and
   compliance procedures, and improving relationships among DOT and regulatory agency staff.
   Thirty-seven States have at least two active programmatic agreements. Since October 2010, 56 programmatic
   agreements have been initiated.

                                                   Programmatic Agreements
     The Nebraska Department of Roads developed a programmatic agreement for a biological evaluation process.
     When the programmatic conditions are met at the project level, the agency no longer needs to coordinate with or
     obtain concurrence from FHWA, the U.S. Fish and Wildlife Service, or the Nebraska Game and Parks Commission.
     This agreement results in a minimum savings of 5 weeks in the project schedule for an estimated 80 percent
     of the projects in the State’s transportation program. In another case, the Oklahoma DOT’s American Burying
     Beetle Programmatic Biological Opinion has expedited projects by as much as a year, and it minimizes schedule
     uncertainty on projects where American Burying Beetles, a critical endangered species, might be present.



   Enhanced technical assistance. FHWA is providing additional technical assistance to help States identify
   NEPA-related challenges and implement solutions to resolve project delays where feasible. Interagency
   coordination at all levels of government is helping move projects forward in a streamlined manner.
   FHWA is focusing on new projects that are expected to experience delays and ongoing projects for which
   no record of decision has been issued 60 months or more after the project’s notice of intent was published.
   Of the 10 projects on which assistance is being provided, four—in Alaska, Nebraska, North Carolina, and
   Utah—had a record of decision or withdrawal of the notice of intent by July 2012.
   Use of in-lieu fees and mitigation banking. In-lieu fees are those charged to perform environmental
   enhancement activities throughout an entire watershed rather than at a particular site. Mitigation banking
   refers to restoring or enhancing wetlands, streams, or other resources to offset unavoidable adverse impacts
   related to a highway project in another area. FHWA is encouraging highway agencies to use both approaches
   where allowed. Thirteen of the 23 States participating in the initiative have active agreements for mitigation
   banking programs, and seven of those agreements
   extend to local agencies. Six States have agreements               In-Lieu Fees and Mitigation Banking
   in place for in-lieu fees.                                The Alaska Department of Transportation and Public
                                                               Facilities has used the in-lieu fee program to meet
   Planning and environmental linkages. This                   wetland mitigation commitments on more than 70
   initiative set up a framework for considering and           projects since the Every Day Counts program began.
   incorporating planning documents and decisions              Additionally, the Mississippi DOT has streamlined
                                                               the compensatory mitigation permitting process
   from the earliest stages of project planning into the       for wetland and stream impacts on all applicable
   environmental review process. Linking planning              transportation projects. The Mississippi DOT now
   and environmental considerations can lead to a              owns wetland and stream credits in 18 mitigation
   seamless decision-making process that minimizes             properties, perpetually conserving some 20,000 acres
                                                               of land.
   duplication of effort, promotes environmental

                                                                                                 FHWA002500
                                                                                Center for Accelerating Innovation   12-9
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24        Page 218 of 534         PageID 2778

stewardship, and reduces project delays. To ensure that planning information and decisions are properly
coordinated for use in the NEPA review process, FHWA is recommending use of the Planning and
Environmental Linkages (PEL) Questionnaire, which was adapted from a questionnaire developed for use
in Colorado. By July 2012, 18 of the 32 States and Federal Lands Highway Divisions participating in the
initiative had made use of the PEL Questionnaire or an equivalent process.

                                       Planning and Environmental Linkages
  The Louisiana Department of Transportation and Development created a National Best Practice Planning and
  Environmental Linkages Checklist and is using it on all new projects to save time and money. The Montana DOT
  has standardized its corridor planning process through its Corridor Planning Study Checklist.



Every Day Counts Round Two
In July 2012, FHWA announced a new round of innovative technologies and processes under its Every Day
Counts initiative that can shorten the time needed to open highway projects to the public and enhance
safety and environmental outcomes. Over the next 2 years, expert teams will work with State transportation
agencies and the design and construction industries to deploy 13 innovations.
Programmatic agreements. Also part of the first round of Every Day Counts, programmatic agreements
establish streamlined approaches for handling routine environmental requirements. In this round, some of
the newly developed agreements will be applied in additional States or expanded to include regions.
Locally administered Federal-aid projects. FHWA has developed a three-pronged strategy to help local
agencies navigate the complexities of the Federal-Aid Highway Program. The strategies include certification
and qualification-type programs, indefinite delivery–indefinite quantity consultant contracts, and
stakeholder committees.
Three-dimensional modeling technology. With 3D modeling software, design and construction teams
can connect virtually to collaborate on project designs throughout the design and construction phases. This
technology allows for faster, more accurate, and more efficient planning and construction, in many cases
increasing productivity by up to 50 percent.
Intelligent compaction. When pavement cracks prematurely, a potential cause is that it was not compacted
properly during construction. Intelligent compaction—using global positioning system (GPS)-based
mapping and real-time monitoring to enable adjustment of the compaction process—improves the quality,
uniformity, and lifespan of pavements.
Accelerated bridge construction. FHWA is advancing three technologies to replace bridges faster, more
safely, and sometimes at less cost. They are PBES, in which components are built off-site and moved into
place quickly; slide-in bridge construction, in which a bridge is built next to an existing structure and slid
into place; and GRS-IBS, which uses geosynthetic reinforcement and granular soils as a composite material
to build abutments and approach embankments.
Design-build and construction manager–general contractor project delivery methods. FHWA is
continuing its deployment of DB and CM-GC methods, accelerated project delivery methods that can
shorten construction project schedules by years. Accelerated project delivery also provides opportunities for
significant cost savings and safety improvements.
Alternative technical concepts. Through this flexible contracting process, contractors can recommend
innovative, cost-effective solutions that are equal to or better than a State’s design and construction criteria.
The approach promotes competition and gives highway agencies the opportunity to choose design and
construction solutions that offer the best value.

12-10 Special Topics                                                                                 FHWA002501
Case 5:23-cv-00304-H           Document 15-18            Filed 01/31/24          Page 219 of 534         PageID 2779

   High-friction surface treatment. This pavement technology reduces crashes, injuries, and fatalities. It
   involves applying high-quality aggregate with friction values far exceeding conventional pavement friction to
   existing or potential high-crash areas to help drivers maintain better control in dry and wet conditions.
   Intersection and interchange geometrics. Innovative designs can reduce or move crossover or conflict
   points in intersections and interchanges, increasing safety for motorists, pedestrians, and bicyclists.
   Roundabouts, diverging diamond interchanges, and intersections with displaced left-turns or variations on
   U-turns are among the effective alternatives to traditional designs.
   Geospatial data collaboration. This initiative uses cloud-based geographic information system services,
   which are used to build maps, to improve data sharing within agencies and among project delivery
   stakeholders. Collaborative analyses and rapid updating of shared maps will lead to faster consensus building,
   improved decisions, and better scheduling on highway projects.
   Quality environmental documentation. FHWA is promoting recommendations to improve the quality
   and reduce the size of NEPA documents developed for construction projects. The initiative will help make
   NEPA documents more effective in disclosing to the public and participating agencies the information that
   is used to make project decisions. That, in turn, will help project proponents accelerate project delivery and
   achieve better environmental outcomes.
   First responder training. Crashes, disabled vehicles, and road debris create unsafe driving conditions and
   cause about 25 percent of all traffic delays. This initiative offers the first national, multidisciplinary traffic
   incident management process and training program. It promotes understanding among first responders of
   the requirements for safe and quick clearance of traffic incidents, prompt and open communications, and
   motorist and responder safeguards.

                                      Improving Safety Through Intersection Geometrics
     Intersections and interchanges are planned points of conflict where motorists, pedestrians, and bicyclists cross
     paths or change direction. This creates conditions that could result in a crash. More than 20 percent of roadway
     fatalities in 2009 were intersection-related, a percentage that has not changed significantly for 25 years.
     FHWA encourages highway agencies to consider alternative geometric intersection and interchange designs that
     reduce or alter conflict points and allow for safer travel. Past and ongoing FHWA studies of alternative intersection
     and interchange designs document the magnitude of both safety and operational improvements. Among the
     effective alternatives to traditional designs are roundabouts, diverging diamond interchanges (DDIs), and
     intersections with displaced left turns or variations on U-turns.
     A roundabout is a circular intersection in which traffic travels counterclockwise around a central island and entering
     traffic must yield to circulating traffic. Roundabouts change the nature of intersection conflicts by eliminating
     perpendicular crossings and opposing direction turns in favor of low-speed merging and diverging maneuvers.
     DDIs simplify the operation of intersections at a
     diamond-style interchange by removing from the                Exhibit 12-5 Diverging Diamond Interchange
     signalized intersection the turns on to and off of the
     ramps. This is accomplished by moving traffic to the
     left side of the road between the ramp terminals. DDI
     design reduces the number of perpendicular conflict
     points in an equivalent conventional diamond layout.
     With displaced left turns, motorists cross opposing
     lanes at an intersection several hundred feet from
     the main intersection. Motorists then travel on a road
     parallel to the main road until they turn left with the
     through-traffic at the main intersection. Similarly, U-turn
     designs require motorists to make a U-turn maneuver
     at a one-way median away from the main intersection
     instead of a direct left turn at the main intersection.       Photo courtesy of FHWA.




                                                                                                       FHWA002502
                                                                                      Center for Accelerating Innovation 12-11
   Case 5:23-cv-00304-H           Document 15-18           Filed 01/31/24        Page 220 of 534          PageID 2780

                             A New Way of Doing Business
Through the Center for Accelerating Innovation, FHWA provides both national leadership and State-based
assistance in the effort to shorten project delivery, improve roadway safety, and protect the environment.
Having access to the flexibilities and technologies available through Every Day Counts can help highway
agencies add value to projects or expedite project delivery where appropriate. This collaborative approach
facilitates accelerated deployment of proven solutions that can make a difference. It will result in
development of a national network of transportation professionals skilled in the rapid deployment of
innovation.
Ultimately, the focus of FHWA innovation initiatives such as Every Day Counts is greater than specific
technologies or strategies. The long-term goal of the Center for Accelerating Innovation is to institutionalize
innovations by incorporating them into the standards, specifications, and manuals that highway professionals
use every day. Its aim is to foster a culture of innovation throughout the highway community. The result will
be a new way of doing business that embraces innovation and uses it to meet the Nation’s transportation
needs in the 21st Century.


                                    Enhancing Project Delivery With 3D Modeling
  Using 3D modeling in transportation construction allows for faster, more accurate, and more efficient planning and
  construction. With 3D modeling software, design and construction teams can connect virtually to develop, test, and
  alter project designs throughout the design and construction phases. Intricate design features can be viewed in 3D
  from multiple perspectives, and simulations can be run to detect design flaws before construction begins.
  Data exported from 3D models can be transferred to GPS machine control that guides construction equipment
  such as bulldozers and excavators. Combining 3D modeling and GPS machine control helps highway agencies
  complete highway projects faster with improved quality and safety. GPS-enabled construction equipment can run
  all day and night with guidance from 3D model data and achieve accurate grades on the first pass, reducing waste
  and improving resource use.
  The combined technologies of 3D modeling and GPS machine control can increase productivity by up to
  50 percent for some operations and cut survey costs by up to 75 percent. Reduced idle time of equipment and
  reduced rework lowers fuel consumption and associated greenhouse gas emissions by up to 40 percent. Now
  used in numerous States, 3D technology is proving to be a cost-effective way to accelerate highway construction.

   Exhibit 12-6 3D Modeling




  Source: FHWA.




12-12 Special Topics                                                                                   FHWA002503
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24         Page 221 of 534          PageID 2781


                                 Using Intelligent Compaction to Improve Pavement Quality
     Compaction is one of the most important processes in roadway construction. When pavement crumbles before
     it reaches its expected lifespan, a potential cause is that it was not compacted properly or the thickness is not
     uniform. Intelligent compaction (IC) technology improves the quality, uniformity, and long-lasting performance of
     pavements.
     Using vibration and a system to collect, process, and analyze measurements in real time, IC rollers can compact
     more pavement with fewer passes than traditional rollers. IC efficiencies result in time, cost, and fuel savings.
     With more efficient paving processes, production
     can increase and highway agencies can pave larger           Exhibit 12-7 Intelligent Compaction
     roadway sections daily.
     Using GPS-based mapping and an onboard computer
     reporting system, IC roller operators can monitor and
     provide immediate corrections to the compaction
     process. A continuous record of color-coded plots
     records the number of roller passes, compaction
     measurement values, and precise location of the roller.
     The system analyzes the data and compares the results
     of previous passes to determine whether adjustments
     are needed.
     Expanding IC use nationwide is a cost-effective way to
     accelerate highway pavement construction. Cost-benefit
     analyses show that investment in IC will break even in
     1 to 2 years. Use of IC technology will produce better-
                                                                Photo courtesy of FHWA.
     quality roadways that help keep motorists safe and
     allow highway agencies to operate more efficiently.




                                                                                                    FHWA002504
                                                                                   Center for Accelerating Innovation 12-13
   Case 5:23-cv-00304-H   Document 15-18   Filed 01/31/24   Page 222 of 534     PageID 2782




12-14 Special Topics                                                          FHWA002505
Case 5:23-cv-00304-H      Document 15-18                Filed 01/31/24             Page 223 of 534              PageID 2783




                                                      CHAPTER                                                   13
               National Fuel Cell Bus Program

               National Fuel Cell Bus Program ..................................................................................13-2
                   Value and Challenges of Fuel Cell Electric Propulsion for Transit Buses ................13-2
                   History and Status of FCEB Research ......................................................................13-4
                   Research Accomplishments ......................................................................................13-5




                                                                                           National Fuel Cell Bus Program 13-1
                                                                                                           FHWA002506
   Case 5:23-cv-00304-H          Document 15-18        Filed 01/31/24       Page 224 of 534          PageID 2784



                      National Fuel Cell Bus Program

This chapter summarizes accomplishments of fuel cell transit bus research and demonstration projects
supported by the Federal Transit Administration (FTA) through 2011. It describes fuel cell electric bus
(FCEB) research projects in the United States and describes their impact on commercialization of fuel cell
power systems and electric propulsion for transit buses in general.
FTA conducts most of its FCEB research under the National Fuel Cell Bus Program (NFCBP), a cooperative
research, development, and demonstration program to advance commercialization of FCEBs. The NFCBP is
a part of a larger FTA research program to improve
transit efficiency and contribute to environmentally Transit buses are well suited to demonstrating
sustainable transportation. The FTA conducts the     fuel-cell applications in transportation because:
NFCBP in partnership with industry. Projects         • They are centrally located and fueled
target research to improve performance and lower     • They are government subsidized
costs of next-generation fuel cell systems for       • They are professionally operated and maintained
transportation.
                                                        • They operate on fixed routes and fixed schedules
Congress established the NFCBP in the Safe,             • They tolerate the weight and volume requirements
Accountable, Flexible, Efficient Transportation           of advanced systems
Equity Act: A Legacy for Users (SAFETEA-LU).            • They have rigorous start-up and pull-out
FTA’s research to develop FCEBs has been under            requirements
way since 2006. The NFCBP requires an equal             • They provide public exposure to the benefits of
cost share by project teams for each Federal dollar       advanced technologies, which leads to greater
                                                          public acceptance.
invested, bringing the size of the program to more
than $150 million through FY 2011.
NFCBP objectives, which apply to all FTA-funded FCEB research, are:
 Significantly advance development of FCEBs and related infrastructure through innovation of FCEB
  design, component development, improved systems integration, and real-world implementation and
  demonstration
 Document the state of FCEB technologies development, and examine requirements and next steps for
  market introduction
 Enhance awareness and education related to FCEBs and related infrastructure.

    Value and Challenges of Fuel Cell Electric Propulsion for
                        Transit Buses
U.S. interest in hydrogen FCEBs has grown over the past 20 years, driven primarily by the desire to
reduce both petroleum-based fuel consumption and emissions, particularly greenhouse gas emissions. In
October 2010, the U.S. Environmental Protection Agency (EPA) and the National Highway Traffic Safety
Administration (NHTSA) introduced a program to reduce greenhouse gas emissions and improve fuel
efficiency of medium- and heavy-duty trucks and buses. These federal programs will significantly impact
transit bus propulsion products in the future.




13-2 Special Topics                                                                              FHWA002507
Case 5:23-cv-00304-H            Document 15-18             Filed 01/31/24            Page 225 of 534          PageID 2785

   Exhibit 13-1 illustrates fuel cell operation. Fuel cell electric technology for transit buses can produce benefits
   such as:
    Zero tailpipe emissions
    Improved fuel economy
    Reduced dependence on foreign oil
    Quiet, smooth ride
    Creation of green technology jobs
    Technologies for better-performing, more-efficient hybrid and electric buses
    Demonstration of the value of fuel cell technology to a larger, heavy-duty vehicle market.

     Exhibit 13-1 Diagram of Fuel Cell Operation
                                                           Heat and Water

                                                                         Clean
                                                                        Exhaust




                                                                                           Electricity



                                           Hydrogen               Fuel                                                 AC
       Fuel             Fuel                                                          DC            Power
                                           Rich Gas               Cell
                     Processor                                                                    Conditioner
                                                                 Stacks


                                                                               Air
                                                                            (Oxygen)

     Source: Department of Energy, Fuel Cell Report to Congress (ESECS EE-1973), February 2003.



   The major barriers to reaching full commercialization of FCEBs are:
    Durability – The useful life of fuel cell power systems is increasing, but more work is needed to meet
     transit requirements.
    Initial purchase costs – The cost of buses and infrastructure is decreasing, but to become competitive the
     market will need to realize economies of scale through greatly expanded production.
    Delivery of “green” hydrogen – The availability and cost of hydrogen for FCEB operations remain
     significant barriers. Hydrogen is produced by electrolysis or through natural gas reforming, or it is
     trucked as a liquid into operating locations. These production and delivery methods all pose cost and
     greenhouse gas emission issues that must be resolved before FCEBs are fully commercialized.




                                                                                                            FHWA002508
                                                                                             National Fuel Cell Bus Program   13-3
   Case 5:23-cv-00304-H            Document 15-18           Filed 01/31/24        Page 226 of 534          PageID 2786


  Accomplishments from FTA research on Fuel Cell Bus Technology:
  • Design – Seven fully integrated FCEB designs are now available, in either a fuel cell dominant or battery
    dominant configurations.
  • Manufacture – The NFCBP funded Proterra’s first bus, a battery dominant FCEB that operated in Columbia,
    South Carolina, and will soon operate in Austin, Texas.
  • Demonstration – The newest-generation Van Hool/UTC Power FCEB design was delivered, with 12 buses
    going to the San Francisco Bay Area and 4 buses going to Hartford, Connecticut. These 16 FCEBs are the
    largest demonstration of one FCEB design in the United States.
  • Reliability – As of the end of 2011, one of the Bay Area buses has a fuel cell power system with 11,000 hours
    of operation without significant maintenance (i.e., no change out of the fuel cell system or individual cells)
    and other buses in the fleet have fuel cell power systems with 6,000 and 8,000 hours of operation without
    significant maintenance.
  • Buy America – FTA has made progress in integrating FCEBs that are “Buy America” compliant. Ballard, a
    major supplier, is producing systems in Lowell, Massachusetts; and UTC Power, another major supplier, is
    working toward packaging its system for easier integration into buses from U.S. manufacturers.
  • Fueling Infrastructure – Ongoing demonstrations are facilitating a better understanding of needed
    infrastructure and safe operations for existing transit operations.
  • Hybrid Propulsion – FTA-funded research is leading to better components and the integration of electric
    systems for electric propulsion.
  • Public Awareness – FTA research projects support awareness and education for transit agencies and the
    public. FTA has funded outreach through National and International Fuel Cell Bus Workshops, and develops
    research reports for industry.




                      History and Status of FCEB Research
FTA FCEB propulsion and infrastructure demonstrations began in the early 1990s with buses developed
at Georgetown University. These 30- and 40-foot buses were fueled by methanol that was reformed into
hydrogen onboard and used in the buses’ electric fuel cell propulsion systems. Between 1998 and 2000, the
FTA supported a second major demonstration of three, 40-foot hydrogen fuel cell buses, with Ballard fuel
cells, operated at Chicago Transit Authority (CTA). During this same time period, three fuel cell buses of the
same generation also operated in Vancouver, Canada.
FTA’s early demonstrations proved the feasibility of fuel cell propulsion for transit buses and identified
research needed to:
 Reduce the size of fuel cell stacks and balance-of-plant onboard buses
 Increase power density of the fuel cell power system
 Reduce the weight of fuel cell and electric propulsion systems
 Develop a hydrogen fueling infrastructure suitable for transit bus operations.
The first “next-generation” FCEB, a 40-foot bus with a Ballard fuel cell power system, operated at SunLine
Transit Agency (SunLine) during 2000 and 2001. A second “next-generation” FCEB, a 30-foot bus with
a UTC Power fuel cell power system, operated first at SunLine and then at Alameda-Contra Costa Transit
District (AC Transit) during 2002 and 2003.
In August 2005, Congress established the National Fuel Cell Bus Technology Development Program
to facilitate development of commercially viable FCEB propulsion technologies. The FTA released
the initial competitive solicitation for the NFCBP on April 10, 2006. A multi-department technical
team recommended 14 projects for funding under the program. Projects included partners from


13-4 Special Topics                                                                                     FHWA002509
Case 5:23-cv-00304-H       Document 15-18         Filed 01/31/24       Page 227 of 534         PageID 2787

   industry, government, and transit and provided a balanced portfolio for the NFCBP to advance FCEB
   commercialization. The NFCBP continued beyond its initial four years, funded through extensions of
   SAFETEA-LU for FY 2010 and FY 2011. Each annual extension added approximately $13.5 million, for a
   total of nearly $76 million in federal funding through FY 2011. The 50 percent cost share requirement was
   also continued for all projects, bringing funding for the program to more than $150 million.
   NFCBP projects are managed through one of three non-profit consortia:
    CALSTART – a nonprofit consortium headquartered in Pasadena, California. CALSTART represents
       more than 140 firms. It provides services and consulting to develop clean, advanced transportation
       technologies for all types of vehicles, including trucks, buses, and military vehicles.
    Center for Transportation and the Environment (CTE) – a nonprofit consortium headquartered
       in Atlanta, Georgia. CTE provides research, training, and information exchange for improving
       transportation infrastructure while preserving the integrity of the environment.
    Northeast Advanced Vehicle Consortium (NAVC) – a nonprofit, public-private partnership
       headquartered in Boston, Massachusetts. NAVC conducts research and technology analysis and fosters
       information sharing and collaboration on advanced vehicle technology projects.
   Current FTA FCEB research focuses on developing transit buses that demonstrate full transit operation and
   service. Current bus configurations have either large fuel cell power systems in hybrid electric propulsion
   systems or smaller fuel cell power systems in plug-in/battery dominant hybrid electric propulsion systems.
   Ongoing research also includes electrifying accessories (e.g., air conditioning) and, in some cases, adding
   small fuel cell auxiliary power units (APUs) to power the electric accessories.
   The U.S. Department of Energy (DOE) also funds FCEB research. Most of DOE’s fuel cell and hydrogen
   research is done through the Fuel Cell Technologies Program within the Office of Energy Efficiency and
   Renewable Energy (EERE). DOE’s research in fuel cells and hydrogen complements FTA’s transit bus
   research and demonstration, usually through DOE’s investment in developing technologies used in the
   demonstrations. For example, the DOE supported hydrogen fueling stations at several demonstration
   locations in California. In addition, DOE’s Clean Cities program provides grants for clean energy projects
   that include a hydrogen fueling station planned for CTTRANSIT in Hartford, Connecticut.
   In March 2012, the FTA released a report, FTA Fuel Cell Bus Program: Research Accomplishments through
   2011, (http://www.fta.dot.gov/documents/FTA_Report_No._0014.pdf ) that summarizes 42 research
   projects, including NFCBP projects, other FTA research, and supporting research funded by the DOE. To
   date, 17 of these projects have been completed and 25 are ongoing FTA and DOE projects.


                                Research Accomplishments
   Research under the NFCBP shows progress toward commercialization and readiness for implementation
   of FCEBs in transit operations. The NFCBP has seven performance objectives for the research projects it
   funds. Exhibit 13-2 lists these objectives and summarizes progress toward meeting them. Although progress
   is significant, more investment is needed to meet the objectives.
   Exhibit 13-3 shows the number of FCEBs operating in the United States. Between 2005 and 2009, potential
   regulation by the California Air Resources Board was the impetus for FCEB research, and the first seven
   FCEBs operated in California at SunLine, Santa Clara VTA, and AC Transit. Beginning in 2007, one FCEB
   began operating at CTTRANSIT in Hartford, Connecticut.




                                                                                             FHWA002510
                                                                              National Fuel Cell Bus Program   13-5
   Case 5:23-cv-00304-H                                          Document 15-18               Filed 01/31/24          Page 228 of 534           PageID 2788


  Exhibit 13-2 Progress Toward Achieving Technical Performance Objectives
                                  NFCBP Performance Objective                                                Progress Through FY 2011
                                                                                              Cost reductions from more than $3.0 million per bus in 2006
                                                                                              to $2.3 million for last bus ordered. Battery dominant bus
                                  1. Less than five times the cost of a conventional          with smaller fuel cell power system significantly less than
                                  (commercial diesel) transit bus                             $2.3 million.
                                  2. Four to six years or 20,000 to 30,000 hours of           10,000+ hours achieved on fuel cell power system, with
                                  durability for the fuel cell power system                   durability warranties at 10,000 to 12,000 hours.
                                  3. Double the fuel economy compared to commercial           Exceed two times conventional (diesel transit) bus fuel
                                  (diesel transit) bus                                        economy, but depends on route.
                                                                                         Operated up to 19 hours/day, with good availability, and
                                  4. Bus performance equal to or greater than equivalent miles between road calls at 4,000 miles. Better
                                  commercial (diesel transit) bus                        acceleration. Quiet operation. Weight is still high.
                                  5. Exceed current emissions standards                       Zero emissions.
                                  6. Foster economic competitiveness in FCEB
                                  technologies                                                Multiple manufacturers and platforms demonstrating buses.
                                  7. Increase public acceptance for FCEB technologies         Continued progress.
        Source: FTA, FTA Fuel Cell Bus Program: Research Accomplishments through 2011, FTA Report No.14, March 2012.




  Exhibit 13-3 Fuel Cell Electric Buses Operating in the United States, 2006–2012
                                    35
   Fuel Cell Electric Bus Count




                                    30

                                    25

                                    20

                                    15

                                    10

                                     5

                                     0
                                            2005          2006          2007           2008           2009          2010          2011          2012

  Source: FTA, FTA Fuel Cell Bus Program: Research Accomplishments through 2011, FTA Report No.14, March 2012.



Funding though the NFCBP was available starting in 2006. However, its influence becomes apparent only
in 2010, due to the lag time between designing and building FCEBs and getting them into operation. The
projected number (32) of FCEBs that will be in operation by the end of 2012 is conservative.
Exhibit 13-4 is a map of current or planned FCEB operating locations. FCEB demonstrations have
expanded and are now located across the United States, not just in California.
The 42 projects discussed in the FTA report represent multiple design configurations for FCEBs.
Exhibit 13-5 shows the current fully integrated FCEB configurations and their manufacturers. Three are
fuel cell dominant configurations, and four are battery dominant fuel cell configurations. The design
configurations represent seven bus manufacturers and three fuel cell power system manufacturers. Another
FCEB is planned with a fourth fuel cell power system manufacturer, Nuvera. In addition to those listed in
the table, one existing hybrid electric bus design, Orion VII, BAE Systems, was modified using all-electric
accessories powered by a small fuel cell power system by Hydrogenics. This modified design also provides
some power for all-electric operation of the power plant dominant hybrid.

13-6 Special Topics                                                                                                                          FHWA002511
Case 5:23-cv-00304-H            Document 15-18             Filed 01/31/24           Page 229 of 534            PageID 2789


     Exhibit 13-4 Fuel Cell Electric Bus Demonstration Sites




      Source: FTA, FTA Fuel Cell Bus Program: Research Accomplishments through 2011, FTA Report No.14, March 2012.



      Exhibit 13-5 Fuel Cell Bus Configurations
                                                                         Hybrid
      Bus Manufacturer Fuel Cell System          Hybrid System        Configuration       Energy Storage             Status
                                                                                           Lithium-based
      Van Hool 40-ft           UTC Power         Siemens ELFA       Fuel cell dominant        batteries          Operational
                                                                                           Lithium-based
      ElDorado 40-ft             Ballard          BAE Systems       Fuel cell dominant        batteries          Operational
                                                                                           Lithium-based
      New Flyer 40-ft            Ballard         Siemens ELFA       Fuel cell dominant        batteries          Operational
                             Hydrogenics or          Proterra                              Lithium-based
      Proterra 35-ft            Ballard            integration       Battery dominant         batteries          Operational
                                                   DesignLine                              Lithium-based           Under
      DesignLine 35-ft           Ballard           integration       Battery dominant         batteries         development
                                                                                          Nickel cadmium
      Ebus 22-ft                 Ballard        Ebus integration     Battery dominant        batteries           Operational
                                                   EVAmerica                               Lithium-based           Under
      EVAmerica 30-ft            Ballard           integration       Battery dominant         batteries         development
      Source: FTA, FTA Fuel Cell Bus Program: Research Accomplishments through 2011, FTA Report No.14, March 2012.




   In 2007, Proterra, a new “green” bus manufacturer, started design of and delivered its first bus, a battery
   dominant hybrid fuel cell bus, for demonstration in Columbia, South Carolina (completed in 2010), and
   Austin, Texas (planned to start in 2012). The NFCBP helped Proterra acquire the start-up capital to begin
   manufacturing this bus. Since then, Proterra has built and delivered two more FCEBs that are essentially
   the same as the first one. Proterra based its propulsion system on an all-electric design with the capability to
   add a fuel cell power system as a range extender. Its buses are also designed for opportunity charging while
   on route. Foothill Transit (West Covina, California) purchased three electric buses with one of Proterra’s fast
   charging stations. Proterra is assembling another 10 or more buses for transit operations in other locations.


                                                                                                           FHWA002512
                                                                                            National Fuel Cell Bus Program     13-7
   Case 5:23-cv-00304-H          Document 15-18         Filed 01/31/24        Page 230 of 534        PageID 2790

Several transit agencies in California began testing FCEBs because of potential state regulation and purchase
requirements for zero-emission buses. Beginning in 2005, this testing included an FCEB design from Van
Hool, UTC Power, and ISE (now Bluways), with energy storage in ZEBRA batteries. SunLine operated one
of these buses and AC Transit operated three more. Two additional buses of this design operated in Belgium
and at CTTRANSIT in Hartford, Connecticut.
The NFCBP funded UTC Power and AC Transit to maximize operation of AC Transit’s three FCEBs
(i.e., accelerated testing) to study reliability, durability, and failure modes of the fuel cell power system.
This accelerated testing began in late 2007. The lessons learned and improvements to the design of the
UTC Power fuel cell power system increased durability so that one of the systems reached 11,000 operating
hours without significant maintenance, and two others have accumulated 6,000 and 8,000 operating hours
without significant maintenance. Previous fuel cell power systems reached only about 4,000 operating hours
before a low power output level indicated the end of useful life for the systems.
Following these initial testing activities, AC Transit, Van Hool, and UTC Power designed and developed
an improved “next-design” FCEB for the Zero Emission Bay Area (ZEBA) advanced demonstration in
California. AC Transit is leading a group of San Francisco Bay Area (Bay Area) transit agencies in this
demonstration. The demonstration includes 12 new FCEBs and two new hydrogen fueling stations at
two AC Transit operating depots. UTC Power and CTTRANSIT are demonstrating four more “next-design”
FCEBs in Hartford, Connecticut. Demonstration of the “next-design” version of Van Hool/UTC Power
FCEBs now includes 16 buses in two locations, making it the largest FCEB demonstration in the United
States.
Buy America requirements (Title 49 CFR Part 661), set standards for federally assisted procurements,
specifically: “…no funds may be obligated by FTA for a grantee project unless all iron, steel, and
manufactured products used in the project are produced in the United States.” In 2008, FTA granted
a public interest waiver to the FTA Buy America requirements for NFCBP projects, so that project
teams could access all available technologies and components, regardless of origin, in order to hasten the
development of fuel cell technology for transit. This allowed teams to access a full slate of technologies, many
of which were not readily available domestically, for validating fuel cell bus technology, with the overall
goal to stimulate and further expand the U.S. fuel cell bus industry. Over the past few years, FTA and the
consortia have made progress toward meeting “Buy America” requirements:
 The FTA-funded ElDorado/BAE Systems/Ballard as new manufacturer partners to develop and
   demonstrate a new FCEB at SunLine and CTA. The new bus meets Buy America requirements, and is
   assembled in Riverside, CA.
 Increasing orders for FCEBs in the United States led Canadian-based fuel cell manufacturer,
   Ballard Power Systems, to establish manufacturing capabilities for fuel cell power systems in Lowell,
   Massachusetts. Fuel cell power systems are the largest cost component of FCEBs. Their availability in the
   United States helps bus manufacturers meet Buy America requirements.
 The UTC Power fuel cell power system is currently only available in Van Hool buses from Belgium.
   The NFCBP funded a project with Connecticut-based fuel cell manufacturer, UTC Power, to engineer,
   package, and test a further optimized fuel cell power system that can be installed easily into U.S. bus
   manufacturer models.
Hybrid electric propulsion for transit buses increases energy efficiency for the buses, but it also increases
complexity. Hybrid electric propulsion has the potential to reduce maintenance costs through fewer
moving parts, battery energy storage, and regenerative braking, which reduces both brake wear and brake
maintenance. The challenges for hybrid electric propulsion for buses are reliability and durability of the
major components and optimized integration, especially software integration.



13-8 Special Topics                                                                               FHWA002513
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 231 of 534         PageID 2791

   FTA funding for FCEB research enabled several bus manufacturers and integrators to gain experience in
   building and optimizing electric propulsion systems. It also enabled BAE Systems, a commercial electric
   propulsion manufacturer/supplier, to enter the FCEB market. With NFCBP funding, BAE Systems
   electrified accessories in its Compound Bus 2010 project, which led to an electric accessory package that
   will be integrated into its commercial hybrid products in the future. In addition, the NFCBP funded
   development of critical power electronics components for hybrid electric propulsion systems, such as
   DC-DC convertors. All of this research expands the availability of products to the transit industry.
   Hydrogen fuel for FCEB demonstration projects is typically supplied through electrolysis or natural gas
   reforming, or it is trucked into a fueling site as liquid or high-pressure gas. The FTA has invested in all
   of these methods to support not only the development of hydrogen fueling infrastructure, but also safe
   operations in and around transit maintenance, storage, and wash facilities. In addition, the FTA funded
   the Volpe Center to review safety plans for transit FCEB operations and infrastructure as well as to provide
   technical assistance to each transit agency operator of FCEBs.
   An objective of all FTA research is to share results and lessons learned. Information sharing is a specific
   objective of the NFCBP, including lessons learned from FCEB and infrastructure research to facilitate
   technical progress and future research. FCEB development and demonstration reports document
   implementation to facilitate understanding of the requirements for market introduction.
   All NFCBP demonstration projects include an awareness and education component. Transit agencies that
   operate FCEBs are able to educate their passengers and the communities through outreach and public
   events. Through FY 2011, the NFCBP has funded and/or produced 10 brochures and 29 reports about
   FCEB research.
   The NFCBP also established both a national and an international working group for information sharing
   and cooperation. The FTA initiated the International Fuel Cell Bus Working Group and workshops in 2002
   to facilitate information sharing on worldwide FCEB demonstrations and to harmonize data collection to
   better understand the status of the technologies. Since the first workshop in 2002, the FTA has facilitated
   six more workshops.
   The FTA formed the National Fuel Cell Bus Working Group for information sharing about FCEB
   demonstrations in the United States. To facilitate participation from transit agencies around the country,
   the working group usually meets in conjunction with American Public Transportation Association (APTA)
   conferences. The working group was initiated at the 2002 APTA EXPO in Las Vegas, Nevada, and since
   that time has held three additional meetings to discuss national demonstrations and progress toward
   commercialization.
   The FTA intends to continue efforts to collaborate and coordinate with industry on FCEBs through outreach
   efforts with CTE to conduct a series of webinars on FCEB for the transit industry, and a new website on
   worldwide activities and developments on fuel cell buses, that will help facilitate national and international
   data sharing.




                                                                                                FHWA002514
                                                                                 National Fuel Cell Bus Program   13-9
   Case 5:23-cv-00304-H   Document 15-18   Filed 01/31/24   Page 232 of 534     PageID 2792




13-10 Special Topics                                                          FHWA002515
Case 5:23-cv-00304-H   Document 15-18             Filed 01/31/24                 Page 233 of 534                  PageID 2793




                                        PART
                  Recommendations for HPMS Changes
                                                                                               IV
                         Recommendations for HPMS Changes ........................................... IV-2
                            Background ................................................................................................IV-2
                            Changes to HPMS...................................................................................... IV-3




                                                                              Recommendations for HPMS Changes IV-1


                                                                                                              FHWA002516
   Case 5:23-cv-00304-H            Document 15-18          Filed 01/31/24         Page 234 of 534         PageID 2794



             Recommendations for HPMS Changes

Section 52003 of the Moving Ahead for Progress in the 21st Century Act (MAP-21) added a requirement
for this report to include recommendations on changes to the Highway Performance Monitoring System
(HPMS) that address: “(i) improvements to the quality and standardization of data collection on all
functional classifications of Federal-aid highways for accurate system length, lane length, and vehicle-
mile of travel; and (ii) changes to the reporting requirements authorized under section 315 to reflect
recommendations under this paragraph for collection, storage, analysis, reporting, and display of data for
Federal-aid highways and, to the maximum extent practical, all public roads.” Part IV of this report is
intended to begin to address this requirement; future editions of the C&P report will contain updates as
progress is made in implementing improvements to the HPMS and as other potential changes are identified.
The HPMS is a major data source for the analyses presented in Chapters 2, 3, 7, 8, 9, and 10 of this report;
the HPMS is also discussed in Appendices A and D.


                                               Background
The Highway Performance Monitoring System (HPMS) is an annual collection of information on the
extent, condition, performance, use, and operating characteristics of the Nation’s highways. It was first
developed in 1978 to replace numerous uncoordinated annual State data reports and special studies. HPMS
includes key data on all public roads, more detailed data for a sample of the arterial and collector functional
systems, complete (full extent) coverage of the Interstate and other principle arterials, and other statewide
summary data.
HPMS provides essential information for apportioning Federal-aid funds to the States and for assessing
highway system performance under the Federal Highway Administration’s (FHWA’s) strategic planning
process. Pavement condition data, congestion-related data, and traffic data are used extensively to measure
progress in meeting the objectives embodied in the FHWA’s Performance Plan and other strategic goals. It
also supports the biennial C&P Reports to Congress.
In addition, the HPMS serves needs of the States, metropolitan planning organizations, and local
governments in assessing highway condition, performance, air quality trends, and future investment
requirements. Data from HPMS are the source of a large portion of the information included in FHWA’s
annual Highway Statistics report and other publications.
HPMS is a collaborative effort between FHWA and the States. The States are responsible for collecting
and reporting the data, and FHWA reviews the data for quality and consistency, provides guidance on
data collection, and offers technical support on improving data quality. As much as possible, States employ
common practices, such as American Association of State Highway and Transportation Officials and
American Society for Testing and Materials standards, to enable consistency among the States. There is
a National Cooperative Highway Research Program study currently underway (20-24[82]), “Increasing
Consistency in the Highway Performance Monitoring System for Pavement Reporting,” that will identify
and prioritize measures that might be taken to further reduce any inconsistencies on pavement performance
information.
Periodically, there is a reassessment of the HPMS to ensure that it is still fulfilling its role as the repository for
national highway performance data and to recommend changes to improve it. The most recent reassessment
began in 2006 and led to the elimination of data items no longer needed and the inclusion of additional

IV-2 Recommendations for HPMS Changes                                                                   FHWA002517
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24         Page 235 of 534          PageID 2795

   data items required by its users. It also introduced a new geospatial data model to allow more efficient data
   processing and geospatial analysis. After a series of intensive outreach workshops and webinars, the HPMS
   Reassessment 2010+ Final Report was issued in September 2008.
   The new HPMS requirements have been in effect starting with the submittal of data collected in 2009.
   This led to the development of a new geospatial database management system that incorporates State linear
   referencing systems to locate highway sections. In other words, the HPMS data are attached to the State’s
   highway map, which allows the HPMS data to be mapped and spatially analyzed.
   The forthcoming 2012 edition of the Traffic Monitoring Guide (TMG) will be the basis for travel data
   collected by the States and reported to FHWA. This new edition will provide improved guidance on the
   methods for properly collecting, analyzing, and reporting travel data. One of the new data areas in HPMS
   that will benefit from the forthcoming TMG will be traffic counts on ramps. The new HPMS requires States
   to submit basic information for all ramps including: ramp length, functional class, number of lanes, and
   annual average daily traffic.


                                         Changes to HPMS
   MAP-21 indirectly made two changes to HPMS by expanding the National Highway System (NHS) to
   include all principal arterials. This leads to increased data collection for truck travel data in HPMS, which
   must cover the NHS while being sampled elsewhere, and International Roughness Index (IRI) data, which
   must be collected annually on the NHS in contrast to biennially elsewhere.
   HPMS will serve as the foundation for linking FHWA data systems, which will enable more comprehensive
   analyses thanks to the combining of the financial and bridge data with the highway information in HPMS.
   On August 7, 2012, FHWA notified the States that, starting with data submitted in 2014, it is asking States
   to provide geospatial information for their road network on all public roads. This information will allow
   FHWA to build a national basemap for an integrated system of highway attributes for analysis of safety,
   bridge, freight, and planning data. Also included is
   a requirement for States to provide dual networks
   for all divided highways. This will enable the States    What does the term “dual network”
   to provide FHWA their highway attribute data by          mean?
   roadway direction, which is more convenient for          The geospatial networks, or maps,
   many States.                                             that States currently submit in HPMS are considered
                                                             a single centerline network, which means that
   FHWA is considering a possible change to the              the networks use only single lines to represent all
   reporting requirements of the IRI data that are           roads regardless of whether the roads are two-lane
   used for performance measurement of pavement              collectors or divided Interstate. To contrast, the dual
                                                             network is two lines for all divided highways, one
   condition. This change would standardize the              for each of the directional roadways. This allows for
   section length required for reporting IRI so that         a more accurate spatial representation of divided
   comparisons are consistent. Currently, States use         highways, improves data quality for these roads, and
   different IRI section lengths, although the most          enhances analysis capabilities.
   common is one-tenth of a mile.




                                                                           Recommendations forFHWA002518
                                                                                               HPMS Changes IV-3
  Case 5:23-cv-00304-H        Document 15-18   Filed 01/31/24   Page 236 of 534     PageID 2796




IV-4 Recommendations for HPMS Changes                                             FHWA002519
Case 5:23-cv-00304-H   Document 15-18     Filed 01/31/24     Page 237 of 534      PageID 2797




                         Appendices
                                           PART                               V
                         Appendix A: Highway Investment Analysis Methodology .............. A-1
                         Appendix B: Bridge Investment Analysis Methodology .................. B-1
                         Appendix C: Transit Investment Analysis Methodology.................. C-1
                         Appendix D: Crosscutting Investment Analysis Issues................... D-1




                                                                                  Appendices   V-1


                                                                                FHWA002520
  Case 5:23-cv-00304-H          Document 15-18         Filed 01/31/24      Page 238 of 534        PageID 2798

                                           Introduction
Appendices A, B, and C describe the modeling techniques used to generate the investment/performance
analyses and selected capital investment scenario estimates highlighted in Chapters 7 through 10.
Appendix D discusses crosscutting analytical issues.
Appendix A describes selected technical aspects of the Highway Economic Requirements System (HERS),
   which is used to analyze potential future investments for highway resurfacing and reconstruction and
   highway and bridge capacity expansion.
Appendix B describes the National Bridge Investment Analysis System (NBIAS), which is used for
   analyzing potential future bridge rehabilitation and replacement investments.
Appendix C presents technical information on the Transit Economic Requirements Model (TERM),
   which is used to analyze potential future transit investments in urbanized areas. TERM includes modules
   which estimate the funding that will be required to replace and rehabilitate transit vehicles and other
   assets and to invest in new assets to accommodate future transit ridership growth.
Appendix D describes ongoing research activities and identifies potential areas for improvement in the data
   and analytical tools used to produce the highway, bridge, and transit analyses contained in this report.




V-2 Appendices                                                                                 FHWA002521
Case 5:23-cv-00304-H      Document 15-18                     Filed 01/31/24                  Page 239 of 534                    PageID 2799




                                                                   APPENDIX                                                             A
            Highway Investment Analysis Methodology

               Highway Investment Analysis Methodology ...............................................................A-2
                   Highway Economic Requirements System ...............................................................A-2
                   Highway Operational Strategies ................................................................................A-3
                        Current Operations Deployments ....................................................................................... A-4
                        Future Operations Deployments ........................................................................................ A-4
                        Operations Investment Costs ............................................................................................ A-4
                   Impacts of Operations Deployments .........................................................................A-5
                   HERS Improvement Costs .........................................................................................A-7
                        Allocating HERS Results Among Improvement Types ....................................................... A-7
                   Costs of Air Pollutant Emissions ...............................................................................A-8
                        Greenhouse Gas Emissions .............................................................................................. A-8
                        Emissions of Criteria Air Pollutants .................................................................................... A-9
                        Effects on HERS Results .................................................................................................... A-10
                   Valuation of Travel Time Savings ..............................................................................A-10




                                                                                        Highway Investment Analysis Methodology A-1
                                                                                                                FHWA002522
  Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24       Page 240 of 534         PageID 2800



       Highway Investment Analysis Methodology

Investments in highway resurfacing and reconstruction and in highway and bridge capacity expansion
are modeled by the Highway Economic Requirements System (HERS), which has been used since the
1995 C&P Report. This appendix describes the basic HERS methodology and approach in slightly more
detail than is presented in Part II including the model features that have changed significantly since the
2010 C&P Report: the valuation of travel time and the equations for emissions costs


                   Highway Economic Requirements System
The HERS model begins the investment analysis process by evaluating the current state of the highway
system using information on pavements, geometry, traffic volumes, vehicle mix, and other characteristics
from the Highway Performance Monitoring System (HPMS) sample dataset. Using section-specific traffic
growth projections, HERS forecasts future conditions and performance across several funding periods. As
used in this report, the future analysis covers four consecutive 5-year periods. At the end of each period, the
model checks for deficiencies in eight highway section characteristics: pavement condition, surface type,
volume/service flow (V/SF) ratio (a measure of congestion), lane width, right shoulder width, shoulder type,
horizontal alignment (curves), and vertical alignment (grades).
After HERS determines that a section’s pavement
                                                       Where can I find more detailed
or capacity is deficient, it identifies potential      technical information concerning the
improvements to correct some or all of the             HERS model?
section’s deficient characteristics. The HERS model
                                                       The most recent comprehensive documentation of the
evaluates seven kinds of improvements: resurfacing,    HERS model is a Technical Report from December
resurfacing with shoulder improvements,                2000 that is based on the version of HERS used in the
resurfacing with widened lanes (i.e., minor            development of the 1999 C&P Report. An updated
widening), resurfacing with added lanes (i.e., major   Technical Report based on the version of HERS used for
                                                       the 2012 C&P Report will be released in 2013.
widening), reconstruction, reconstruction with
widened lanes, and reconstruction with added           More current documentation is available for a
lanes. For reconstruction projects, the model          modified version of HERS that the Federal Highway
                                                       Administration developed for use by States. This model,
allows for upgrades of low-grade surface types         HERS-ST, builds on the primary HERS analytical engine
when warranted by sufficient traffic volumes. For      with a number of customized features to facilitate
improvements that add travel lanes, HERS further       analysis on a section-by-section basis. The 2005
distinguishes between those that can be made at        Technical Report on HERS-ST describes a version
                                                       largely based on the version of HERS that was used to
“normal cost” and those on sections with limited
                                                       develop the 2004 C&P Report. See http://www.fhwa.
widening feasibility that could only be made at        dot.gov/asset/hersst/pubs/tech/tech00.cfm for more
“high cost.” HERS may also evaluate alignment          information.
improvements to improve curves, grades, or both.
When evaluating which potential improvement, if any, should be implemented on a particular highway
section, HERS employs incremental benefit-cost analysis. Such an analysis compares the benefits and
costs of a candidate improvement relative to a less-aggressive alternative—for example, reconstructing and
adding lanes to a section may be compared with reconstruction alone. The HERS model defines benefits
as reductions in direct highway user costs, agency costs, and societal costs. Highway user benefits include
reductions in travel time costs, crash costs, and vehicle operation costs (e.g., fuel, oil, and maintenance
costs); agency benefits include reduced routine maintenance costs (plus the residual value of projects with
longer expected service lives than the alternative); and societal benefits include reduced vehicle emissions.

A-2   Appendices                                                                                    FHWA002523
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24       Page 241 of 534        PageID 2801

   Increases in any of these costs resulting from a highway improvement (such as higher emissions rates at high
   speeds or the increased delay associated with a work zone) would be factored into the analysis as a negative
   benefit (“disbenefit”).
   Dividing these improvement benefits by the capital costs associated with implementing the improvement
   results in a benefit-cost ratio (BCR) that is used to rank potential projects on different highway sections.
   The HERS model implements improvements with the highest BCR first. Thus, as each additional project
   is implemented, the marginal BCR declines, resulting in a decline in the average BCR for all implemented
   projects. However, until the point where the marginal BCR falls below 1.0 (i.e., costs exceed benefits), total
   net benefits continue to increase as additional projects are implemented. Investment beyond this point is not
   economically justified because it would result in a decline in total net benefits.
   Because the HERS model analyzes each highway section independently rather than the entire transportation
   system, it cannot fully evaluate the network effects of individual highway improvements. Although efforts
   have been made to indirectly account for some network effects, HERS is fundamentally rooted to its primary
   data source, the national sample of independent highway sections contained in the HPMS. To fully recognize
   all network effects, it would be necessary to develop significant new data sources and analytical techniques.


                             Highway Operational Strategies
   One of the key modifications to HERS featured in previous reports was the ability to consider the impact
   of highway management and operational strategies, including Intelligent Transportation Systems (ITSs),
   on highway system performance. This feature is continued in this report with only minor modifications.
   Current and future investments in operations are modeled outside of HERS, but the impacts of these
   deployments affect the model’s internal calculations and, thus, also affect the capital improvements
   considered and implemented in HERS.
   Among the many operational strategies available to highway agencies, HERS considers only certain types
   based on the availability of suitable data and empirical impact relationships. Grouped by category, these are:
    Arterial Management
     ‒ Signal Control
      ‒ Electronic Roadway Monitoring (considered a supporting deployment necessary to other operations
         strategies)
      ‒ Variable Message Signs (VMS)
    Freeway Management
     ‒ Ramp Metering (preset and traffic-actuated)
      ‒ Electronic Roadway Monitoring (considered to be a supporting deployment necessary to other
         operations strategies)
      ‒ VMS
      ‒ Integrated Corridor Management, with and without comprehensive deployment of Vehicle
         Infrastructure Integration (VII) technologies1. Integrated Corridor Management coordinates the
         operation of the infrastructure elements within a corridor—for example, the timing of traffic signals
         near freeway interchanges with freeway incident management and ramp metering
      ‒ Active Traffic Management, which includes lane controls, queue warning systems, and Variable Speed
         Limits (VSL), also known as “speed harmonization”


                                                                                             FHWA002524
                                                                     Highway Investment Analysis Methodology   A-3
  Case 5:23-cv-00304-H             Document 15-18       Filed 01/31/24       Page 242 of 534         PageID 2802

 Incident Management (freeways only)
  ‒ Incident Detection (free cell phone call number and detection algorithms)
      ‒ Incident Verification (surveillance cameras)
      ‒ Incident Response (on-call service patrols)
 Traveler Information
  ‒ 511 systems
      ‒ Advanced in-vehicle navigation systems with real-time traveler information (enabled by VII
         deployment)
      ‒ Incident response (on-call service patrols).
Creating the operations improvements input files for use in HERS involved four steps: determining
current operations deployment, determining future operations deployments, determining the cost of future
operations investments, and determining the impacts of operations deployments. Different levels and types
of deployments can be selected for an individual scenario.

Current Operations Deployments
To determine current operations deployments on the HPMS sample sections, data from the ITS
Deployment Tracking Survey were used (http://www.itsdeployment.its.dot.gov/). These data were assigned to
HPMS sample sections for each urbanized area using existing congestion and traffic levels on those sections
as criteria.

Future Operations Deployments
For future ITS and operational deployments, projections were developed based on three alternatives. For
the “Continuation of Existing Deployment Trends” alternative, existing deployments in urban areas were
correlated with the congestion level and area population in order to predict on the basis of these factors
where future deployments will occur. This alternative is reflected in the analyses presented in Chapters 7
and 8.
The other two alternatives are reflected in sensitivity analysis presented in Chapter 10. The “Aggressive
Deployment” alternative assumes that deployment accelerates above existing trends and expands to more
advanced strategies. Under this alternative, advanced in-vehicle navigation systems that provide real-
time traveler information would supersede the current 511 systems. The “Full Immediate Deployment”
alternative takes all of the deployments made in the first 20 years of the “Aggressive Deployment” alternative
and assigns them to the first year. The “Full Immediate Deployment” alternative is intended to illustrate the
maximum potential impact of the strategies and technologies modeled in HERS on highway operational
performance. Exhibit A-1 identifies the strategies employed in each alternative.

Operations Investment Costs
The unit costs for each deployment item were taken from the U.S. Department of Transportation’s (DOT’s)
ITS Benefits Database and Unit Costs Database and supplemented with costs based on the ITS Deployment
Analysis System (IDAS) model. Costs were broken down into initial capital costs and annual operating and
maintenance costs. Additionally, costs were determined for building the basic infrastructure to support the
equipment, as well as for the incremental costs per piece of equipment that is deployed.




A-4     Appendices                                                                               FHWA002525
Case 5:23-cv-00304-H       Document 15-18             Filed 01/31/24             Page 243 of 534    PageID 2803

                                 Exhibit A-1 Types of Operations Strategies
                                 Included in Each Scenario
                                                                        Scenario

                                                               Continue      Aggressive and
                                                               Existing      Full Immediate
                                  Operations Strategy           Trends        Deployment
                               Arterial Management
                               Signal Control                      x                 x
                               Emergency Vehicle Signal
                               Preemption
                                                                   x                 x
                                                                                 freeways &
                               Variable Message Signs        freeways only
                                                                                   arterials
                               Advanced Traveler
                               Information
                                                                                     x
                               Freeway Management
                               Ramp Metering                       x                 x
                               Variable Message Signs              x                 x
                               511 Traveler Information            x
                               Advanced Traveler
                               Information                                           x
                               Integrated Corridor Mgmt.                             x
                               Active Traffic Mgmt.                                  x
                               Incident Management (Freeways Only)
                               Detection                           x                 x
                               Verification                        x                 x
                               Response                            x                 x
                                 Source: Highway Economic Requirements System.



                         Impacts of Operations Deployments
   Exhibit A-2 shows the estimated impacts of the different operations strategies considered in HERS. These
   effects include:
    Incident Management: Incident duration and the number of crash fatalities are reduced. Incident
       duration is used as a predictor variable in estimating incident delay in the HERS model.
    Signal Control: The effects of the different levels of signal control are directly considered in the HERS
       delay equations.
    Ramp Meters, VMS, VSL, Integrated Corridor Management, and Traveler Information: Delay
       adjustments are applied to the basic delay equations in HERS. VSL is assumed to have a small impact on
       fatalities as well.
   Based on the current and future deployments and the impact relationships, an operations improvements
   input file was created for each of the two deployment scenarios. The file contains section identifiers, plus
   current and future values (for each of the four funding periods in the HERS analysis) for the following five
   fields:
    Incident Duration Factor
    Delay Reduction Factor
    Fatality Reduction Factor
    Signal Type Override
    Ramp Metering.
                                                                                                  FHWA002526
                                                                          Highway Investment Analysis Methodology   A-5
  Case 5:23-cv-00304-H                 Document 15-18           Filed 01/31/24         Page 244 of 534           PageID 2804


      Exhibit A-2 Impacts of Operations Strategies in HERS
      Operations Strategy                     Impact Category                                 Impact
      Arterial Management
      Signal Control                 Congestion/Delay             Signal Density Factor = n(nx+2)/(n+2), where
                                                                    n = no. of signals per mile
                                                                    x = 1 for fixed time control
                                                                      2/3 for traffic actuated control
                                                                      1/3 for closed loop control
                                                                      0 for real-time adaptive control/SCOOT/SCATS
                                                                  Signal Density Factor is used to compute zero-volume
                                                                  delay due to traffic signals
      Electronic Roadway Monitoring Congestion/Delay              Supporting deployment for corridor signal control
                                                                  (two highest levels) and traveler information
      Emergency Vehicle Signal
      Preemption
      Variable Message Signs         Congestion/Delay              -0.5% incident delay
      Freeway Management
      Ramp Metering
        Preset                       Congestion/Delay             New delay = ((1 - 0.13)(original delay)) + 0.16 hrs
                                                                  per 1000 VMT
        Traffic Actuated             Congestion/Delay             New delay = ((1 - 0.13)(original delay)) + 0.16 hrs
                                                                  per 1000 VMT
                                     Safety                        -3% number of injuries and property damage only
                                                                  accidents
      Electronic Roadway Monitoring Congestion/Delay              Supporting deployment for ramp metering and traveler
                                                                  information
      Variable Message Signs         Congestion/Delay             -0.5% incident delay
      Integrated Corridor            Congestion/Delay             -7.5% total delay without VII,
      Management                                                  12.5% total delay with VII
      Active Traffic Management  Congestion/Delay                  -7.5% total delay
                                 Safety                            -5% fatalities
      Incident Management (Freeways Only)
      Detection Algorithm/       Incident Characteristics          -4.5% incident duration
      Free Cell                  Safety                            -5% fatalities
      Surveillance Cameras       Incident Characteristics          -4.5% incident duration
                                 Safety                            -5% fatalities
      On-Call Service Patrols
        Typical                  Incident Characteristics          -25% incident duration
                                 Safety                            -10% fatalities
        Aggressive               Incident Characteristics          -35% incident duration
                                 Safety                            -10% fatalities
      All Combined               Incident Characteristics          Multiplicative reduction
                                 Safety                            -10% fatalities
      Traveler Information
      511 Only                      Congestion/Delay               -1.5% total delay, rural only
      Advanced Traveler Information Congestion/Delay               -3% total delay, all highways
      (VII-enabled)
      Source: Highway Economic Requirements System.




A-6     Appendices                                                                                            FHWA002527
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 245 of 534        PageID 2805

                                   HERS Improvement Costs
   For the 2004 C&P Report, significant changes were made to the structure of the HERS improvement cost
   matrix, the assumed unit costs in that matrix, and the manner in which those values were applied. The
   improvement cost updates reflected in the 2004 C&P Report were based on highway project data from six
   States (see Appendix A of that report for more information) that, although adequate in most respects, were
   relatively thin in certain key areas. The 2004 update disaggregated the improvement cost values in urban
   areas by functional class and by urbanized area size. Three population groupings were used: small urban
   (populations of 5,000 to 49,999), small urbanized (populations of 50,000 to 200,000), and large urbanized
   (populations of more than 200,000). However, the data used to create values for the large urbanized areas
   did not include a significant number of projects in very large urbanized areas, and concerns were raised about
   the degree of construction cost comparability within this category.
   For the 2006 C&P Report, additional project cost data were collected for large urbanized areas, rural
   mountainous regions, and high-cost capacity improvements. These data were used to update the HERS
   improvement cost matrix, which was also modified to include a new category for major urbanized areas
   with populations of more than 1 million. The HERS improvement cost matrix was adjusted further for
   the 2008 C&P Report based on some additional analysis of the data previously collected. For this report,
   no changes were made to the cost matrix except to adjust it for the change in the National Highway
   Construction Cost Index between 2006 and 2010.
   Exhibit A-3 identifies the costs per lane mile assumed by HERS for different types of capital improvements.
   For rural areas, separate cost values are applied by terrain type and functional class, while costs are broken
   down for urban areas by population area size and type of highway. These costs are intended to reflect the
   typical values for these types of projects in 2010, and thus do not reflect the large variation in cost among
   projects of the same type, even in a given year. Such variation is evident in the project-level data on which
   these typical values are based, and are attributable to a number of location-specific factors. For example,
   the costs assumed for highway widening projects will be predicated on each section having a number of
   bridges typical for its length, but in reality some sections will have more bridges than other sections of equal
   length, which adds to costs. Among other factors that could make costs unusually high are complicated
   interchanges, major environmental issues, and/or other extreme engineering issues.
   The values shown for adding a lane at “Normal Cost” reflect costs for projects where sufficient right-of-
   way is available or could be readily obtained to accommodate additional lanes. The values for adding lane
   equivalents at “High Cost” are intended to reflect situations in which conventional widening is not feasible
   and alternative approaches are required in order to add capacity to a given corridor. Such alternatives include
   the construction of parallel facilities, double-decking, tunneling, or the purchase of extremely expensive
   right-of-way. HERS models these lane equivalents as though they are part of existing highways, but some of
   this capacity could come in the form of new highways or investment in other modes of transportation.

   Allocating HERS Results Among Improvement Types
   Highway capital expenditures can be divided among three types of improvements: system rehabilitation,
   system expansion, and system enhancements (see Chapters 6 and 7 for definitions and discussion).
   All improvements selected by HERS that do not add lanes to a facility are classified as part of system
   rehabilitation, and highway projects that add lanes to a facility normally include resurfacing or
   reconstructing the existing lanes. HERS therefore splits the costs of such projects between system
   rehabilitation and system expansion.




                                                                                               FHWA002528
                                                                       Highway Investment Analysis Methodology   A-7
  Case 5:23-cv-00304-H                Document 15-18               Filed 01/31/24          Page 246 of 534           PageID 2806


  Exhibit A-3 Typical Costs per Lane Mile Assumed in HERS, by Type of Improvement
                                                  (Thousands of 2010 Dollars per Lane Mile)
                   Reconstruct Reconstruct Resurface   Resurface               Add Lane,   Add Lane,       New        New
                    and Widen   Existing   and Widen    Existing    Improve     Normal     Equivalent   Alignment, Alignment,
      Category        Lane        Lane       Lane        Lane       Shoulder     Cost      High Cost      Normal      High
 Rural
 Interstate
 Flat                $1,409       $920        $797        $327         $61      $1,811        $2,510     $2,510      $2,510
 Rolling             $1,579       $944        $918        $348        $100      $1,963        $3,177     $3,177      $3,177
 Mountainous         $2,994      $2,067     $1,521        $515        $210      $6,113        $7,156     $7,156      $7,156
 Other Principal Arterial
 Flat                $1,100       $737        $665        $262         $41      $1,451        $2,076     $2,076      $2,076
 Rolling             $1,242       $757        $756        $292         $68      $1,553        $2,507     $2,507      $2,507
 Mountainous         $2,413      $1,705     $1,465        $412         $89      $5,483        $6,314     $6,314      $6,314
 Minor Arterial
 Flat                $1,006       $647        $620        $232         $38      $1,318        $1,851     $1,851      $1,851
 Rolling             $1,215       $716        $771        $250         $70      $1,511        $2,384     $2,384      $2,384
 Mountainous         $2,018      $1,323     $1,465        $343        $159      $4,629        $5,555     $5,555      $5,555
 Major Collector
 Flat                $1,060       $685        $640        $237         $49      $1,370        $1,850     $1,850      $1,850
 Rolling             $1,160       $696        $720        $252         $66      $1,399        $2,277     $2,277      $2,277
 Mountainous         $1,758      $1,089     $1,048        $343        $101      $2,963        $3,870     $3,870      $3,870
 Urban
 Freeway/Expressway/Interstate
 Small Urban         $2,297      $1,591     $1,810        $386         $71      $2,882        $9,434     $3,884     $13,259
 Small Urbanized     $2,469      $1,605     $1,873        $457         $94      $3,170      $10,346      $5,236     $17,873
 Large Urbanized     $3,938      $2,626     $2,900        $613        $354      $5,270      $17,676      $7,679     $26,216
 Major Urbanized     $7,877      $5,253     $5,629      $1,015        $707     $10,540      $43,953     $15,359     $58,755
 Other Principal Arterial
 Small Urban         $2,002      $1,351     $1,657        $324         $72      $2,450        $8,002     $3,062     $10,451
 Small Urbanized     $2,142      $1,368     $1,732        $383         $96      $2,654        $8,702     $3,778     $12,895
 Large Urbanized     $3,060      $2,005     $2,534        $481        $309      $3,884      $12,977      $5,186     $17,702
 Major Urbanized     $6,120      $4,009     $5,068        $777        $617      $7,768      $30,113     $10,372     $44,897
 Minor Arterial/Collector
 Small Urban         $1,475      $1,021     $1,253        $237         $52      $1,809        $5,860     $2,209      $7,542
 Small Urbanized     $1,546      $1,032     $1,265        $269         $64      $1,906        $6,194     $2,711      $9,254
 Large Urbanized     $2,081      $1,380     $1,729        $331        $173      $2,643        $8,774     $3,528     $12,042
 Major Urbanized     $4,162      $2,761     $2,616        $550        $347      $5,285      $30,113      $7,056     $37,264
 Source: Highway Economic Requirements System.




                               Costs of Air Pollutant Emissions
Greenhouse Gas Emissions
Road traffic generates an appreciable share of anthropogenic emissions of greenhouse gases (GHG). In the
United States, passenger vehicles alone account for roughly 20 percent of emissions of carbon dioxide, and
CO2 emissions account for about 95 percent of the total global warming potential from all U.S. emissions of
GHGs. In line with carbon dioxide emissions being the dominant concern relating to global warming, the
HERS model has included a capability for quantifying and costing these emissions starting with the version
of the model used for the 2010 C&P Report.

A-8     Appendices                                                                                                FHWA002529
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24        Page 247 of 534        PageID 2807

   The quantification of CO2 emissions from motor vehicle traffic is based on the amounts of gasoline and
   diesel fuel consumed (alternative fuels have yet to be incorporated into the model). Emissions directly from
   vehicles amount to 8,852 grams of CO2 per gallon of gasoline consumed, and 10,239 grams per gallon of
   diesel fuel.2 These are often referred to as tailpipe emissions, because they result from the fuel combustion
   process in motor vehicles’ engines. In addition to these direct emissions, the fuel production and distribution
   processes produce CO2 emissions as well, which are often referred to as upstream emissions. HERS allows
   users of the model the option of adding these upstream emissions, about which there is greater quantitative
   uncertainty, to its estimates of direct or tailpipe CO2 emissions. HERS’ estimates of upstream emissions are
   2,072 grams of CO2 per gallon of gasoline consumed, and 2,105 grams CO2 per gallon of diesel.
   HERS uses these estimates of CO2 emissions per gallon of fuel consumed to convert vehicles’ fuel
   consumption rates to CO2 emissions per vehicle mile. The resulting estimates of CO2 emissions per vehicle
   mile are then converted to dollar costs using estimates of climate-related economic damages caused by CO2
   emissions. A recent study by a Federal interagency working group (Interagency Working Group on Social
   Cost of Carbon 2010) estimated the costs to society from future climate-related economic damages caused
   by incremental CO2 emissions. The group’s estimates of this social cost of carbon were intended to include,
   at a minimum, the monetized impacts of emissions-induced climate change on net agricultural productivity,
   on human health, on property damages from increased flood risk, and on the value of ecosystem services.
   Low, medium, and high estimates of the social cost per metric ton of carbon were formed for each year from
   2010 through 2050 using alternative discount rates. All estimates were originally reported in 2007 dollars.
   The analyses presented in this report have used the medium estimates, and updated them to 2010 dollars
   using the gross domestic product price deflator (as was done in a recent analysis of corporate average fuel
   economy standards conducted by the National Highway Traffic Safety Administration). The adjusted values
   of CO2 damage costs increase annually from $22.22 per metric ton in 2010 and reach $34.06 by 2030, the
   final year for which this report projects highway conditions and performance. For use as HERS inputs, the
   values were averaged to produce estimates of CO2 damage costs for each 5-year HERS funding period. At
   the same time, however, vehicles’ fuel consumption rates—and, thus, the rates at which they emit CO2—
   are projected to decline in the future as the more fuel-efficient models required by Federal regulations replace
   older vehicles being retired from the fleet. On balance, CO2 damage costs per vehicle mile under given
   driving conditions are projected to increase from 2010 to 2030, by about 15 percent for two-axle vehicles
   and about 28 percent for trucks with three or more axles.

   Emissions of Criteria Air Pollutants
   For the 2013 C&P Report, FHWA conducted new research to enhance and update HERS’ procedures for
   estimating economic damage costs from motor vehicle emissions of criteria air pollutants or their chemical
   precursors: carbon monoxide, volatile organic compounds, nitrogen oxides, sulfur dioxide, and fine
   particulate matter.3 These enhanced procedures and updated values of emission damage costs replace those
   previously used in HERS, which were originally documented in the 2005 HERS-ST Technical Report and
   previously updated as described in earlier editions of the C&P report.
   HERS estimates of economic damages from vehicle emissions of air pollutants were updated by first
   estimating new emission rates—measured in mass per vehicle-mile of travel—for criteria pollutants and
   their precursors. These updated estimates were developed using the U.S. Environmental Protection Agency’s
   (EPA’s) recently issued Motor Vehicle Emission Simulator (MOVES) model. Average emissions per vehicle-
   mile of each pollutant vary among the roadway functional classes used in HERS because the typical mix
   of vehicles operating on each functional class varies and different types of vehicles emit these pollutants
   at different rates per vehicle mile. MOVES’s emission rates also vary with travel speed and other driving
   conditions that affect vehicles’ power output.


                                                                                              FHWA002530
                                                                      Highway Investment Analysis Methodology   A-9
   Case 5:23-cv-00304-H          Document 15-18          Filed 01/31/24        Page 248 of 534        PageID 2808

Repeated runs of the MOVES model were conducted to develop a schedule of average emissions per vehicle
mile of each pollutant by travel speed for each roadway functional class during the midpoint year of each
5-year funding period used by HERS. Because MOVES utilizes different roadway classes than HERS, the
most appropriate MOVES roadway class was used to represent each HERS functional class.
HERS combines these schedules of average emissions per vehicle mile for different pollutants with estimates
of the average dollar cost of health damages caused per unit mass of each pollutant to calculate damage costs
per vehicle mile for each pollutant. The dollar costs per unit of each pollutant used in HERS were updated
using estimates for the years 2015, 2020, 2030, and 2040 supplied by EPA; these were interpolated to
produce estimates for the midpoint of each 5-year funding period.4 HERS then adds the estimates of damage
costs for individual pollutants together to calculate total air-pollution-related costs per vehicle mile at
different speeds. This process resulted in updated schedules of the average dollar cost of air-pollution-related
damages per vehicle mile by speed for each HERS functional class and funding period.
Motor vehicles emission rates for each criteria pollutant are projected to decline significantly in the future as
new vehicles that meet more stringent emissions standards gradually replace older models in the vehicle fleet.
At the same time, however, EPA projects that economic damage costs per unit of each criteria air pollutant
(except carbon monoxide) will increase rapidly over time. On balance, damage costs from vehicle emissions
of criteria air pollutants are projected to decline by approximately 50 percent from the present through 2030
for four-tire vehicles operating on each HERS functional class, and by 80 to 90 percent for single-unit and
combination trucks.

Effects on HERS Results
Potential improvement projects evaluated by HERS can affect air pollution and CO2 damage costs by
increasing the volume of travel on a section during future funding periods, as well as by increasing the
average speed of travel on that section. Higher travel volumes invariably increase emissions and damage
costs, but emission and fuel consumption rates are more complex functions of travel speeds, so increasing
travel speed on a sample section can cause air pollution and CO2 damage costs to either increase or decline.
Since the speed-mediated effect is often to reduce emissions, the overall effect of an improvement project
on air pollution or CO2 damage costs can go either way. Net reductions in air pollution costs represent one
component of the benefits from a potential improvement to a HERS sample section, while net increases
represent one component of the costs (disbenefits).


                          Valuation of Travel Time Savings
New research was conducted to update estimates of the value of time in HERS for use in this edition of
the C&P report. Estimates of the value of time in HERS are disaggregated by type of travel (i.e., personal
and business) and type of vehicle (i.e., small auto, medium auto, four-tire truck, six-tire truck, three- and
four-axle trucks, four-axle combination trucks, and combination trucks with five or more axles). Values of
time for both personal and business travel are specified as functions of the value of time per person hour
and average vehicle occupancy (i.e., representing the sum of personal travel costs across vehicle occupants);
the value of time for business travel is also a function of vehicle capital costs and the value of cargo (for
combination trucks capable of carrying significant payloads). For each vehicle type, the estimate of the value
of time is the weighted average across personal and business travel value of time estimates (with no personal
travel represented within six-tire trucks and combination trucks).
Exhibit A-4 shows the values for each of the components of the value of travel time savings, including the
aggregate cost of travel for 2010 and 2008. The updating of the values to 2010 was more comprehensive
than that for 2008, and the resulting estimates were more reliable. Values for 2010 were estimated using
recent data, whereas values for 2008 were based on estimates for an earlier reference year that varied across

A-10 Appendices                                                                                     FHWA002531
Case 5:23-cv-00304-H            Document 15-18                Filed 01/31/24           Page 249 of 534            PageID 2809


      Exhibit A-4 Estimated 2010 Values of Travel Time by Vehicle Type

                                                                                          3- and 4-           5- or-More-
      2010 Travel Time       Travel       Small      Medium        4-Tire      6-Tire       Axle    4-Axle        Axle
      Cost Elements           Type        Auto        Auto         Truck       Truck       Truck Combination Combination
      Value of Time
      per Person Hour                     $23.98      $23.98       $23.98      $23.98      $22.98        $22.98          $22.98
      Average Vehicle
      Occupancy                            1.04         1.04        1.04        1.01        1.01          1.02               1.02
                            Business
      Vehicle Capital
      Cost per Vehicle                     $2.79       $3.42       $4.41        $6.22       $8.97         $8.05              $7.33
      Inventory Value
      of Cargo                               --          --           --          --          --          $0.77              $0.77
      Value of Time
      per Vehicle Hour      Subtotal      $27.73      $28.35       $29.46      $30.47      $32.23        $32.17          $31.44
      Value of Time
      per Person Hour                     $11.89      $11.89       $11.89      $11.89      $11.89           --                --
                            Personal
      Average Vehicle
      Occupancy                            1.38         1.38        1.61        1.61        20.20           --                --
      Value of Time
      per Vehicle Hour       Subtotal     $16.35      $16.35       $19.16      $19.16     $272.03           --                --
      Share of
      Personal Travel
      (% Vehicle Miles)                   95.2%        95.2%       94.3%        0.0%       11.1%          0.0%               0.0%
      2010                    Total       $16.89      $16.92       $19.75      $30.47      $58.80        $32.17          $31.44
      2008                    Total       $20.96      $21.00       $24.51      $29.88      $34.35        $38.32          $38.00
      Source: U.S. DOT Revised Guidance on the Value of Travel Time in Economic Analysis (September 28, 2011) and internal
      DOT estimates.


   the elements in the calculations. For average vehicle occupancy and the business-purpose share of travel
   in four-tire vehicles, pre-2002 estimates were used. For monetary elements, reference-year estimates were
   updated using a relevant price deflator. For example, the entry for vehicle capital cost was updated from a
   1995 reference year to 2008 using a measure of the change in average price of new motor vehicles during
   that period.
   The value of travel time is estimated to be lower in 2010 than in 2008 for all vehicle types except six-tire
   trucks and the three- or four-axle vehicles. The value of travel time for six-tire trucks increased slightly
   because the new methodology increased the vehicle capital cost component. The value of travel time for
   three- to four-axle trucks increased substantially because the new methodology recognizes that some of these
   vehicles are actually buses, which have more occupants than trucks. Values for the other vehicle types have
   declined in 2010 compared to 2008 because of changes in methodology and data sources.
   The value of time per person hour used in this edition follows the U.S. DOT’s Revised Guidance on the
   Value of Travel Time in Economic Analysis, 2011. For personal travel that is local, the guidance recommends
   taking 50 percent of median household income divided by 2,080, which is the annual total hours worked
   by someone employed full-time (40 hours per week) and full-year (52 weeks). Although the guidance
   recommends upping this percentage to 70 percent for personal travel that is intercity, data with which to
   apportion personal travel between local and intercity trips is lacking. As a result, the HERS practice has been
   to value all personal travel following U.S. DOT recommendation for valuing personal travel that is local.
   For business travel, each hour is valued at the median nationwide gross wage plus fringe benefits, except for
   travel in trucks with three or more axles, for which the average truck driver wage is used.

                                                                                                          FHWA002532
                                                                                  Highway Investment Analysis Methodology            A-11
    Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24       Page 250 of 534        PageID 2810

Vehicle occupancy data was updated using the 2009 National Household Travel Survey (NHTS) for personal
vehicles and the road freight inspection data from the Freight Motor carriers Safety Administration for
freight. The estimates of average vehicle occupancy are overall lower for 2010 than for 2008. The decrease is
from 1.15 to 1.04 for autos and from 1.12 to 1.02 for combination trucks. The recognition that some of the
vehicles in the three- to four-axle truck category are actually buses increased average vehicle occupancy for
that category significantly; although buses account for about 11 percent of the VMT of the vehicles classified
as three- to four-axle trucks, they carry an average of 21.2 occupants including the driver.
The estimates of vehicle capital cost include the costs of interest and time-related deprecation, based on a
7-percent real discount rate. Time-related depreciation is based on the decline in vehicle value after the first
five years of vehicle life (from the Consumer Reports Depreciation Calculator) net of the portion of this
decline attributable to mileage (from HERS model calculations). The residual is the portion of depreciation
that is time-related, due to vehicle aging. Data sources for the estimation of vehicle capital costs included
the Energy Information Administration’s Annual Energy Outlook, the 2009 NHTS, and 2002 Vehicle
Inventory and Use Survey. The estimates of vehicle capital cost have increased in 2010 relative to 2008
for autos and small trucks and declined for trucks with three or more axles. The estimated value of cargo
declined from $0.82 per hour in 2008 to $0.77 per hour in 2010. The inventory value of cargo represents
the hourly financial carrying cost of holding inventory in transit. The estimate of the inventory value of
cargo was found by assuming an interest rate of 7 percent and vehicle use of 2,000 hours per year, and
applying these values to estimates of average weight of truck cargo (44,800 pounds, as calculated using the
2007 Commodity Flow Survey from the Bureau of Transportation Statistics) and average shipment value per
pound (as calculated from the total value of shipments and total ton-miles carried by truck, also from the
2007 Commodity Flow Survey), with prices adjusted to 2010 dollars.


Endnotes
1
 The VII program at U.S. DOT has evolved into the Connected Vehicle Program: http://www.its.dot.
gov/connected_vehicle/connected_vehicle.htm. As of this writing, for HERS the strategy enabled by VII
technologies is advanced traveler information. Additional strategies covered under the Connected Vehicle
program have not been incorporated.
2
 The chemical properties of fuels were obtained from Wang, M.Q., GREET 1.5 — Transportation Fuel-
Cycle Model: Volume 1, Methodology, Use, and Results, ANL/ESD-39, Vol.1, Center for Transportation
Research, Argonne National Laboratory, Argonne, Ill., August 1999, Table 3.3, p. 25 (available at http://
greet.es.anl.gov/index.php?content=publications&by=date&order=up#Technical_Publications).
3
 Fine particulate matter now includes only particles up to 2.5 microns in diameter and is often referred to
as PM2.5 for that reason. This revised definition excludes most or all components of road dust and particles
produced by brake and tire wear. The main components of PM2.5 are sulfate, nitrate, and other particles
formed by chemical reactions in the atmosphere from gaseous tailpipe emissions.
4
 For a description of these estimated damage costs, see: U.S. EPA and National Highway Traffic Safety
Administration, Joint Technical Support Document, Final Rulemaking for 2017-2025 Light-Duty Vehicle
Greenhouse Gas Emission Standards and Corporate Average Fuel Economy Standards, August 2012, pp.
4-42 to 4-48 (available at http://www.nhtsa.gov/fuel-economy).




A-12 Appendices                                                                                    FHWA002533
Case 5:23-cv-00304-H      Document 15-18                     Filed 01/31/24                 Page 251 of 534                    PageID 2811




                                                                  APPENDIX                                                             B
               Bridge Investment Analysis Methodology

               Bridge Investment Analysis Methodology ..................................................................B-2
                   General Methodology ................................................................................................B-2
                   Determining Functional Improvement Needs ...........................................................B-3
                   Determining Repair and Rehabilitation Needs .........................................................B-3
                        Predicting Bridge Element Composition ............................................................................ B-3
                        Calculating Deterioration Rates .......................................................................................... B-4
                        Forming of the Optimal Preservation Policy ....................................................................... B-4
                        Applying the Preservation Policy ........................................................................................ B-5




                                                                                          Bridge Investment Analysis Methodology B-1
                                                                                                                 FHWA002534
  Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24       Page 252 of 534        PageID 2812



          Bridge Investment Analysis Methodology

The National Bridge Investment Analysis System (NBIAS) was developed for assessing national bridge
investment needs and the trade-off between funding and performance. NBIAS, first introduced in the
1999 C&P Report, is used to model investments in bridge repair, rehabilitation, and functional
improvements. Over time, the system has been used increasingly as an essential decision support tool for
analyzing policy and providing information to the U.S. Congress.
The NBIAS is based on an analytical framework similar to that used in the Pontis bridge program first
developed by the Federal Highway Administration (FHWA) in 1992 and subsequently taken over by the
American Association of State Highway and Transportation Officials (AASHTO). It incorporates economic
forecasting analysis tools to project the multiyear funding needs required to meet user-selected performance
metrics over the length of a user-specified performance period. The NBIAS is modified to work with bridge
condition as reported by the States for the National Bridge Inspection System as well as the element/
condition State inspection regime used in Pontis. The NBIAS combines statistical models with engineering
judgment and heuristic rules to synthesize representative condition units so that they can be defined and
manipulated using the same structure of condition states, actions, deterioration, costs, and effectiveness
probabilities used in Pontis, making them compatible with Pontis’ predictive models and analytical routines.
NBIAS extends the Pontis element model by introducing the climate zone dimension into the stratification
scheme and adding user cost components into the cost model. Effective in version 4.0 (2011), NBIAS also
features an enhanced element optimization model that integrates selected maintenance policies.


                                   General Methodology
Using linear programming optimization, NBIAS generates a set of prototype maintenance policies for
defined subsets of the Nation’s bridge inventory. Models of element deterioration, feasible actions, and the
cost and effectiveness of those actions are incorporated as major inputs for each subset of the inventory.
For functional deficiencies and improvements, NBIAS uses a model similar to the bridge level of service
standards and user cost models of Pontis augmented by a bridge improvement model developed by the
Florida Department of Transportation (DOT).
With a set of synthesized projects developed from the maintenance and functional improvement models,
NBIAS calculates a trade-off structure showing the effect of hypothetical funding levels on each of more than
200 performance measures. For this analysis, it utilizes an adaptation of an incremental benefit-cost model
with a graphical output showing the trade-off between funding and performance. To estimate functional
improvement needs, NBIAS applies a set of improvement standards and costs, which can be modified by
the user, to each bridge in the National Bridge Inventory (NBI). The system uses the available NBI data to
predict detailed structural element data for each bridge. The system measures repair and rehabilitation needs
at the bridge element level using the Markov decision model and then applies the obtained maintenance
strategy, along with the improvement model, to each individual bridge.
The replacement costs for structures are determined based on State-reported values provided by the FHWA.
Improvement costs are based on default costs from Pontis adjusted to account for inflation. In evaluating
functional improvement needs and repair and rehabilitation needs, the system uses a set of unit costs of
different improvement and preservation actions. State-specific cost adjustment factors are applied to the unit
costs.


B-2   Appendices                                                                                 FHWA002535
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 253 of 534         PageID 2813

                  Determining Functional Improvement Needs
   The standards for functional improvement include standards for lane widths, shoulder width, load ratings,
   and clearances (vertical and horizontal). The NBIAS includes a set of standards by functional class and
   additional standards derived from Sufficiency Rating calculations, as well as those prescribed by the models
   developed by Florida DOT.
   The standards used in NBIAS initially were set to be the same as those specified by default in Pontis, which
   were established as an early effort to define level of service standards for AASHTO. The standards used in the
   previous editions of the C&P report were reviewed and compared with design standards in the AASHTO
   Green Book, and adjustments were made where warranted. A revised set of standards has subsequently been
   added that triggers consideration of a functional improvement whenever there is a deduction in Sufficiency
   Rating as a result of a road width, load rating, or clearances. The adoption of the Florida improvement model
   allowed for further fine tuning of the analysis logic of functional needs.
   The NBIAS determines needs for the following types of bridge functional improvements: widening existing
   bridge lanes, raising bridges to increase vertical clearances, and strengthening bridges to increase load-
   carrying capacity. Functional improvement needs are determined by applying user-specified standards to the
   existing bridge inventory, subject to benefit-cost considerations. For instance, a need to raise a bridge will be
   identified if the vertical clearance under the bridge fails to meet the specified standard and if the stream of
   discounted increased cost of diverting commercial vehicles around the bridge exceeds the cost of improving
   the bridge.
   If functional improvement is infeasible due to the bridge design or impractical because of its inferior
   structural condition, then the replacement need for the bridge is determined. Replacement need may also be
   identified if a user-specified replacement rule is triggered. For example, it is possible to introduce in NBIAS
   one or more replacement rules based on the threshold values of age, Sufficiency Rating, and Health Index.
   Because the benefit predicted for a functional improvement increases proportionately with the amount
   of traffic, the determination of whether a functional improvement is justified and the amount of benefit
   from the improvement is heavily dependent upon predicted traffic. In the current version of NBIAS, traffic
   predictions are made for each year in an analysis period based on NBI data. The NBIAS allows the user to
   apply either linear or exponential traffic growth projections. Linear growth was selected for this edition of the
   C&P report, consistent with the assumption used in the Highway Economic Requirements System (HERS).
   When NBIAS selects a structure for replacement, the cost of the replacement is based on the number of
   lanes on the existing bridge. The cost of adding lanes to satisfy increased capacity demands is not included
   in the cost to construct the replacement structure. Additional costs for expanding bridges to meet increased
   capacity demands are included in the cost to construct a lane-mile of highway used in the HERS model.


                  Determining Repair and Rehabilitation Needs
   To determine repair and rehabilitation needs, NBIAS predicts the elements that exist on each bridge in the
   U.S. bridge inventory and applies a set of deterioration and cost models to the existing bridge inventory. This
   allows NBIAS to determine the optimal preservation actions for maintaining the bridge inventory in a state
   of good repair while minimizing user and agency costs.

   Predicting Bridge Element Composition
   The NBIAS analytical approach relies on structural element data not available in the NBI. To develop this
   data, NBIAS uses a set of Synthesis, Quantity, and Condition (SQC) models to predict the elements that
   exist on each bridge in the NBI and the condition of those elements.


                                                                                                FHWA002536
                                                                         Bridge Investment Analysis Methodology   B-3
  Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24        Page 254 of 534        PageID 2814

The synthesis part of the SQC model is implemented as the decision tree, in which the choice of the
elements for a bridge is dictated by its design, material, and several other characteristics available in the
NBI. Element quantities are evaluated based on the geometric dimensions of the bridge, its design, and
material. The condition of the synthesized elements is modeled in the form of percentage-based distribution
of element quantities across condition states. Such distributions are evaluated based on the structural ratings
(superstructure, substructure, and deck) of the bridge to which the statistically tabulated lookup data and
Monte Carlo simulation are applied.
The current version of NBIAS has the capability to accept the direct import of structural element data where
these data are available, but this capability was not used for the development of this report. While most of
the States now routinely collect such data on State-owned bridges as part of the bridge inspection process,
these data are not currently part of the NBI data set.
MAP-21 requires the use of element-level data to analyze the performance of the bridges on the National
Highway System (NHS). All other bridges will have the minimum data recorded and will require element-
level data to be generated. Therefore, bridges on the NHS with detailed data will be combined with bridges
with generated element data. This will require NBIAS to conduct analysis using a database containing
bridges with detailed element information and bridges with generated detained information.

Calculating Deterioration Rates
The NBIAS takes a probabilistic approach to modeling bridge deterioration based on techniques first
developed for Pontis. In the system, deterioration rates are specified for each bridge element through a set of
transition probabilities that specify the likelihood of progression from one condition state to another over
time. For each element, deterioration probability rates vary across nine climate zones.

Forming of the Optimal Preservation Policy
The policy of maintenance, repair, and rehabilitation (MR&R) of NBIAS is generated with the help of two
optimization models: long-term and short-term. The long-term model is formulated as a linear problem
with the objective of keeping the element population in a steady-state condition that requires the minimum
cost to maintain. The short-term model, not being concerned with the steady state, seeks to find such
prescription of remedial actions for condition states that minimize the subsequent costs of the actions
including the discounted future costs. The short-term model of MR&R is implemented as the Markov
Decision Model solved as a linear programming problem.
In the previous versions of NBIAS, only one MR&R strategy was available. In the course of the development
of the NBIAS version 4.0, a study was conducted to develop alternative MR&R models. The result was the
development of three additional MR&R strategies reflecting more diverse approaches to the maintenance of
a bridge network.
Minimize MR&R Costs
This strategy involves identifying and implementing a pattern of MR&R improvements that minimizes
MR&R spending. This model was adopted from Pontis, and used for the NBIAS analyses presented in all
previous editions of the C&P report. This strategy is intended to prevent a catastrophic decrease in bridge
network performance rather than to maintain or improve the overall condition of the bridge network.
Some Pontis users and participants on expert peer review panels for NBIAS had raised concerns that this
strategy was not consistent with typical bridge management strategies, and that following such a strategy
may advance the point in time when a bridge would require replacement than might be the case if a more
aggressive MR&R approach were utilized.




B-4   Appendices                                                                                  FHWA002537
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 255 of 534         PageID 2815

   One of the side effects of having initially built this strategy as the only MR&R option in NBIAS was that
   most measures of bridge performance (such as the health index or sufficiency rating) would always get worse
   over the 20-year analysis period, even if all the potential bridge improvements identified as NBIAS as cost-
   beneficial were implemented. The exception was the estimated backlog of bridge needs, which is why this
   report has focused on that metric in the past. The estimated backlog is affected by the MR&R strategy;
   assuming a less aggressive MR&R strategy reduces the estimate of the MR&R backlog but increases the
   estimate of the bridge replacement backlog, generally resulting in a higher combined backlog estimate.
   Maximize Average Returns
   This strategy seeks to maximize the degree of bridge system performance improved per dollar of MR&R
   expenditure. Following this strategy results in more MR&R spending than under the Minimize MR&R
   strategy, but still generally results in deterioration in bridge performance over time.
   State of Good Repair
   This strategy seeks to bring all bridges to a relatively high condition level that can be sustained via ongoing
   investment. MR&R investment is front-loaded under this strategy, as large MR&R investments would
   be required in the early years of the forecast period to improve bridge conditions, while smaller MR&R
   investments would be needed in the later years to sustain bridge conditions.
   This strategy would be optimal from a theoretical perspective if sufficient funding were available to
   implement it, but the high level of investment funds required in the initial years would make it challenging
   to follow this strategy given real-world financial constraints.
   Sustain Steady State
   This strategy involves identifying and implementing a pattern of MR&R improvements that would reach
   and achieve an improved steady state in terms of overall bridge system conditions, without frontloading
   MR&R investment. Following this strategy results in more MR&R spending than under the Maximize
   Average Returns strategy, but less than under the State of Good Repair strategy.
   This Sustain Steady State strategy appears to be more consistent with current bridge agency practices than the
   other three strategies considered by NBIAS, and has been adopted for use in the baseline analyses presented
   in Chapters 7 and 8 of this report.

   Applying the Preservation Policy
   Using transition probability data, together with information on preservation action costs and user costs for
   operating on deteriorated bridge decks, NBIAS applies the Markov decision model to determine the optimal
   set of repair and rehabilitation actions to take for each bridge element based on the element’s condition.
   During the simulation process, the preservation policy is applied to each bridge in the NBI to determine
   bridge preservation work needed to minimize user and agency costs over time.
   In analyzing potential improvement options, the NBIAS compares the cost of performing preservation work
   with the cost of completely replacing a bridge, to identify situations where replacement is more cost effective.
   If the physical condition of the bridge has deteriorated to the point where it is considered unsafe (where
   the threshold for such a determination is specified by the system user), the system may consider bridge
   replacement to be the only feasible alternative for the bridge.




                                                                                                FHWA002538
                                                                         Bridge Investment Analysis Methodology   B-5
  Case 5:23-cv-00304-H   Document 15-18   Filed 01/31/24   Page 256 of 534     PageID 2816




B-6   Appendices                                                             FHWA002539
Case 5:23-cv-00304-H      Document 15-18                      Filed 01/31/24                   Page 257 of 534                     PageID 2817




                                                                  APPENDIX                                                                C
               Transit Investment Analysis Methodology

               Transit Investment Analysis Methodology ..................................................................C-2
                   Transit Economic Requirements Model ....................................................................C-2
                       TERM Database .................................................................................................................. C-2
                       Investment Categories ........................................................................................................ C-4
                       Asset Decay Curves ............................................................................................................ C-6
                       Benefit-Cost Calculations ................................................................................................... C-8




                                                                                            Transit Investment Analysis Methodology C-1
                                                                                                                    FHWA002540
  Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24        Page 258 of 534        PageID 2818



          Transit Investment Analysis Methodology

The Transit Economic Requirements Model (TERM), an analytical tool developed by the Federal Transit
Administration (FTA), forecasts transit capital investment needs over a 20-year period. Using a broad
array of transit-related data and research including data on transit capital assets, current service levels
and performance, projections of future travel demand, and a set of transit asset-specific condition decay
relationships, the model generates the forecasts that appear in the biennial C&P report.
This appendix provides a brief technical overview of TERM and describes the various methodologies used to
generate the estimates for the 2010 C&P Report.


                    Transit Economic Requirements Model
TERM forecasts the level of annual capital expenditures required to attain specific physical condition and
performance targets within a 20-year period. These annual expenditure estimates cover the following types
of investment needs: (1) asset preservation (rehabilitations and replacements); and (2) asset expansion to
support projected ridership growth.

TERM Database
The capital needs forecasted by TERM rely on a broad range of input data and user-defined parameters.
Gathered from local transit agencies and the National Transit Database (NTD), the input data are the
foundation of the model’s investment needs analysis, and include information on the quantity and value of
the Nation’s transit capital stock. The input data in TERM are used to draw an overall picture of the Nation’s
transit landscape; the most salient data tables that form the backbone of the TERM database are described
below.
Asset Inventory Data Table
The asset inventory data table documents the asset holdings of the Nation’s transit operators. Specifically,
these records contain information on each asset’s type, transit mode, age, and expected replacement cost. As
the FTA does not directly measure the condition of transit assets, asset condition data are not maintained in
this table. Instead, TERM uses asset decay relationships to estimate the current and future physical condition
as required for each model run. These condition forecasts are then used to determine when each type of asset
identified in the asset inventory table is due for either rehabilitation or replacement. The decay relationships
are statistical equations that relate asset condition to asset age, maintenance, and utilization. The decay
relations and how TERM estimates asset conditions are further explained later in this appendix.
The asset inventory data are derived from a variety of sources including the NTD, responses by local transit
agencies to the FTA data requests, and special FTA studies. The asset inventory data table is the primary
data source for the information used in TERM’s forecast of preservation needs. Note that the FTA does not
currently require agencies to report on all asset types (with the exception of data for revenue vehicles, these
data are provided only when requested). Furthermore, the transit industry has no standards for collecting
or recording such data. Because of this, TERM analyses must rely on asset inventory data in the format
and level of detail as provided by those agencies that respond to the FTA’s asset data requests. Hence, the
accuracy and consistency of TERM’s estimates of asset needs would benefit from the availability of consistent
and ongoing reporting of local agency asset holdings, including those asset’s types, ages, modes and
replacement values.


C-2   Appendices                                                                                  FHWA002541
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24       Page 259 of 534          PageID 2819

   Urban Area Demographics Data Table
   This data table stores demographic information on close to 500 large-, medium-, and small-sized urbanized
   areas as well as for 10 regional groupings of rural operators. Fundamental demographic data, such as current
   and anticipated population, in addition to more transit-oriented information, such as current levels of
   vehicle miles traveled (VMT) and transit passenger miles, are used by TERM to predict future transit asset
   expansion needs.
   Agency-Mode Statistics Data Table
   The agency-mode statistics table contains operations and maintenance (O&M) data on each of the
   individual modes operated by approximately 700 urbanized transit agencies and more than 1,000
   rural operators. Specifically, the agency-mode data on annual ridership, passenger miles, operating and
   maintenance costs, mode speed, and average fare data are used by TERM to help assess current transit
   performance, future expansion needs, and the expected benefits from future capital investments in each
   agency-mode (both for preservation and expansion). All the data in this portion of the TERM database come
   from the most recently published NTD reporting year. Where reported separately, directly operated and
   contracted services are both merged into a single agency-mode within this table.
   Asset Type Data Table
   The asset type data table identifies approximately 500 different asset types utilized by the Nation’s public
   transit systems in support of transit service delivery (either directly or indirectly). Each record in this table
   documents each asset’s type, unit replacement costs, and the expected timing and cost of all life-cycle
   rehabilitation events. Some of the asset decay relationships used to estimate asset conditions are also included
   in this data table. The decay relationships—statistically estimated equations relating asset condition to asset
   age, maintenance, and utilization—are discussed more in the next section of this appendix.
   Benefit-Cost Parameters Data Table
   The benefit-cost parameters data table contains values used to evaluate the merit of different types of transit
   investments forecasted by TERM. Measures in the data table include transit rider values (e.g., value of time
   and links per trip), auto costs per VMT (e.g., congestion delay, emissions costs, and roadway wear), and auto
   user costs (e.g., automobile depreciation, insurance, fuel, maintenance, and daily parking costs).
   Mode Types Data Table
   The mode types data table provides generic data on all of the mode types used to support U.S. transit
   operations—including their average speed, average headway, and average fare—and estimates of transit
   riders’ responsiveness to changes in fare levels. Similar data are included for non-transit modes, such as
   private automobile and taxi costs. The data in this table are used to support TERM’s benefit-cost analysis.
   The input tables described above form the foundation of TERM, but are not the sole source of information
   used when modeling investment forecasts. In combination with the input data, which are static—meaning
   that the model user does not manipulate them from one model run to the next—TERM contains user-
   defined parameters to facilitate its capital expenditure forecasts.
   Investment Policy Parameters
   As part of its investment needs analysis, TERM predicts the current and expected future physical condition
   of U.S. transit assets over a 20-year period. These condition forecasts are then used to determine when each
   of the individual assets identified in the asset inventory table are due for either rehabilitation or replacement.
   The investment policy parameters data table allows the model user to set the physical condition ratings
   at which rehabilitation or replacement investments are scheduled to take place (though the actual timing
   of rehabilitation and replacement events may be deferred if the analysis is budget constrained). Unique
   replacement condition thresholds may be chosen for the following asset categories: guideway elements,


                                                                                                 FHWA002542
                                                                         Transit Investment Analysis Methodology   C-3
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24           Page 260 of 534          PageID 2820

facilities, systems, stations, and vehicles. For the 2010 C&P Report, all of TERM’s replacement condition
thresholds have been set to trigger asset replacement at condition 2.50 (under the Sustain 2010 Spending
scenario, many of these replacements would be deferred due to insufficient funding capacity).
In addition to varying the replacement condition, users can also vary other key input assumptions intended
to better reflect the circumstances under which existing assets are replaced and the varying cost impacts of
those circumstances. For example, users can assume that existing assets are replaced under full service, partial
service, or a service shut down. Users can also assume assets are replaced either by agency (force-account) or
by contracted labor. Each of these affects the cost of asset replacement for rail assets.
Financial Parameters
TERM also includes two key financial parameters. First, the model allows the user to establish the rate of
inflation used to escalate the cost of asset replacements for TERM’s needs forecasts. Note that this feature
is not used for the C&P report, which reports all needs in current dollars. Second, users can adjust the
discount rate used for TERM’s benefit-cost analysis.

Investment Categories
The data tables described above allow TERM to estimate different types of capital investments, including
rehabilitation and replacement expenditures, expansion investments, and capital projects aimed at
performance improvements. These three different investment categories are described below.
Asset Rehabilitation and Replacement Investments
TERM’s asset rehabilitation and replacement forecasts are designed to estimate annual funding needs for the
ongoing rehabilitation and replacement of the Nation’s existing transit assets. Specifically, these needs include
the normal replacement of assets reaching the end of their useful life, mid-life rehabilitations, and annual
“capital expenditures” to cover the cost of smaller capital reinvestment amounts not included as part of asset
replacement or rehabilitation activities.
To estimate continuing replacement and rehabilitation investments, TERM estimates the current and
expected future physical condition of each transit asset identified in TERM’s asset inventory for each year
of the 20-year forecast. These projected condition values are then used to determine when individual assets
will require rehabilitation or replacement. TERM also maintains an output record of this condition forecast
to assess the impacts of alternate levels of capital reinvestment on asset conditions (both for individual assets
and in aggregate). In TERM, the physical
conditions of all assets are measured using a
                                                         Exhibit C-1 Definitions of Transit Asset Conditions
numeric scale of 5 through 1; see Exhibit C-1
for a description of the scale.                           Rating   Condition             Description
                                                        Excellent    4.8–5.0   No visible defects, near new condition.
TERM currently allows an asset to be                    Good         4.0–4.7   Some slightly defective or deteriorated
rehabilitated up to five times throughout its life                             components.
cycle before being replaced. During a life-cycle        Adequate     3.0–3.9   Moderately defective or deteriorated
simulation, TERM records the cost and timing                                   components.
                                                        Marginal     2.0–2.9   Defective or deteriorated components in
of each reinvestment event as a model output                                   need of replacement.
and adds it to the tally of national investment         Poor         1.0–1.9   Seriously damaged components in need
needs (provided they pass a benefit-cost test, if                              of immediate repair.
applied).                                               Source: Transit Economic Requirements Model.




C-4   Appendices                                                                                         FHWA002543
Case 5:23-cv-00304-H                              Document 15-18               Filed 01/31/24           Page 261 of 534             PageID 2821

   TERM’s process of estimating rehabilitation and replacement needs is represented conceptually for a
   generic asset in Exhibit C-2. In this theoretical example, asset age is shown on the horizontal axis, the
   cost of life-cycle capital investments is shown on the left-vertical axis (as a percent of acquisition cost),
   and asset conditions are shown on the right-vertical axis. At the acquisition date, each asset is assigned an
   initial condition rating of 5, or “excellent,” and the asset’s initial purchase cost is represented by the tall
   vertical bar at the left of the chart. Over time, the asset’s condition begins to decline in response to age
   and use, represented by the dotted line, requiring periodic lifecycle improvements including annual capital
   maintenance and periodic rehabilitation projects. Finally, the asset reaches the end of its useful life, defined
   in this example as a physical condition rating of 2.5, at which point the asset is retired and replaced.

     Exhibit C-2 Scale for Determining Asset Condition Over Time, From Acquisition to Replacement
                                    Acquisition                                                                               Replacement
                             100%                                                                                                                   5
                                                                                                                       Asset Condition
                                                                                                                        (right scale)
                             80%
                                                                                                                                                    4
     % of Acquisition Cost




                                                                                                                                                         Asset Condition
                             60%                  Replacement Condition Threshold
                                                                                      1/2 Life Rehab
                                                                                                                                                    3
                             40%
                                                                                                             3/4 Life Rehab
                                                         1/4 Life Rehab                                                                             2
                             20%


                              0%                                                                                                                    1
                                    0                       5                           10                      15                          20
                                        [5.0]                   [4.9]                       [4.6]                    [3.8]                       [2.5]
                                                                          Asset Age [Condition]



   Asset Expansion Investments
   In addition to devoting capital to the preservation of existing assets, most transit agencies invest in expansion
   assets to support ongoing growth in transit ridership. To simulate these expansion needs, TERM continually
   invests in new transit fleet capacity as required to maintain at current levels the ratio of peak vehicles to
   transit passenger miles. The rate of expansion is projected individually for each of the Nation’s roughly
   500 urbanized areas (e.g., based on the urbanized area’s specific growth rate projections or historic rates of
   transit passenger mile growth) while the expansion needs are determined at the individual agency-mode
   level. TERM will not invest in expansion assets for agency-modes with current ridership per peak vehicle
   levels that are well below the national average (these agency modes can become eligible for expansion during
   a 20-year model run if there is sufficient projected growth in ridership for them to rise above the expansion
   investment threshold).
   In addition to forecasting fleet expansion requirements to support the projected ridership increases, the
   model also forecasts expansion investments in other assets needed to support that fleet expansion. This
   includes investment in maintenance facilities and, in the case of rail systems, additional guideway miles
   including guideway structure, trackwork, stations, train control, and traction power systems. Like other
   investments forecast by the model, TERM can subject all asset expansion investments to a benefit-cost
   analysis. Finally, as TERM adds the cost of newly acquired vehicles and supporting infrastructure to its tally
   of investment needs, it also ensures that the cost of rehabilitating and replacing the new assets is accounted
   for during the 20-year period of analysis.



                                                                                                                               FHWA002544
                                                                                                       Transit Investment Analysis Methodology                     C-5
   Case 5:23-cv-00304-H             Document 15-18           Filed 01/31/24                              Page 262 of 534     PageID 2822

The rate of growth in transit passenger miles underlying these asset expansion investments have typically
been based on growth rate projections obtained from a sample from the Nation’s 20 to 30 largest
Metropolitan Planning Organizations. For this edition of the C&P report, urbanized-area-specific historic
growth rates have also been used. Note that if the actual growth rate that materializes in the future is less
than the current projected rate of increase, then the level of expansion will be higher than that required to
maintain current service and service quality will improve.

Asset Decay Curves
TERM asset decay curves were developed expressly for use within TERM and are comparable to asset decay
curves used in other modes of transportation and bridge and pavement deterioration models. While the
collection of asset condition data is not uncommon within the transit industry, TERM asset decay curves
are believed to be the only such curves developed at a national level for transit assets. Most of the TERM key
decay curves were developed using data collected by FTA at multiple U.S. transit properties specifically for
this purpose.
TERM decay curves serve two primary functions: (1) to estimate the physical conditions of groups of transit
assets and (2) to determine the timing of rehabilitation and replacement reinvestment.
Estimating Physical Conditions
One use of the decay curves is to estimate the current and future physical conditions of groups of transit
assets. The groups can reflect all of the national transit assets or specific sub-sets, such as all assets for a
specific mode. For example, the Exhibit C-3 below presents a TERM analysis of the distribution of transit
asset conditions at the national level as of 2010.
This exhibit shows the proportion and replacement               Exhibit C-3 Distribution of Asset Physical
                                                                Condition by Asset Type for All Modes
value of assets in each condition category (excellent,
                                                                                                  $250
good, etc.) segmented by asset category. TERM                                                                       4.8–5.0 Excellent
                                                                 Replacement Value, Billions of




produced this analysis by first using the decay curves                                                              4.0–4.7 Good
                                                                                                  $200              3.0–3.9 Adequate
to estimate the condition of individual assets identified                                                           2.0–2.9 Marginal
in the inventory of the national transit assets and                                                                 1.0–1.9 Poor
                                                                                                  $150
                                                                          Dollars




grouping these individual asset condition results by
asset type.
                                                                                                  $100
TERM also uses the decay curves to predict expected
future asset conditions under differing capital                      $50
reinvestment funding scenarios. An example of this
type of analysis is presented below in Exhibits C4                     $0
and C-5, which present TERM forecasts of the future                        Guideway Facilities Systems Stations Vehicles
                                                                            Elements
condition of the national transit assets assuming the        Source: Transit Economics Requirements Model.
national level of reinvestment remains unchanged.
Exhibit C-4 shows the future condition values
estimated for each of the individual assets identified in the asset inventory (weighted by replacement value)
to generate annual point estimates of average future conditions at the national level by asset category.
Exhibit C-5 presents a forecast of the proportion of assets in either marginal or poor condition, assuming
limited reinvestment funding for a subset of the national transit assets.




C-6   Appendices                                                                                                           FHWA002545
Case 5:23-cv-00304-H                                                            Document 15-18                                               Filed 01/31/24                                             Page 263 of 534                              PageID 2823


     Exhibit C-4 Weighted Average by Asset Category, 2010–2029
                              5.00                                                                                                                                                                                                    Guideway Elements
                                                                                                                                                                                                                                      Facilities
                                                                                                                                                                                                                                      Systems
                              4.50                                                                                                                                                                                                    Stations
                                                                                                                                                                                                                                      Vehicles
     Condition Rating




                              4.00


                              3.50


                              3.00


                              2.50
                                                    2010

                                                              2011

                                                                        2012

                                                                                  2013

                                                                                            2014

                                                                                                          2015

                                                                                                                        2016

                                                                                                                                      2017

                                                                                                                                                    2018

                                                                                                                                                                  2019

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                                                                                                                                                                                                                                                       2027

                                                                                                                                                                                                                                                                2028

                                                                                                                                                                                                                                                                        2029
                                                                                                                                                                         Year
     Source: TERM, Sustain 2010 Spending.



       Exhibit C-5 Assets in Marginal or Poor Condition, 2010–2029

                                                  90%
                                                  80%                Poor
                   % of Total Replacement Value




                                                  70%                Marginal
                                                  60%
                                                  50%
                                                  40%
                                                  30%
                                                  20%
                                                  10%
                                                  0%
                                                           2010

                                                                     2011

                                                                               2012

                                                                                         2013

                                                                                                   2014

                                                                                                                 2015

                                                                                                                               2016

                                                                                                                                             2017

                                                                                                                                                           2018

                                                                                                                                                                         2019

                                                                                                                                                                                       2020

                                                                                                                                                                                                 2021

                                                                                                                                                                                                           2022

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                                                                                                                                                                                                                                       2025

                                                                                                                                                                                                                                                2026

                                                                                                                                                                                                                                                         2027

                                                                                                                                                                                                                                                                 2028

                                                                                                                                                                                                                                                                         2029
                                                                       Year
     Source: TERM, Sustain 2010 Spending (Excludes Unreplaceable Assets).




   Determine the Timing of Reinvestment
   Another key use of the TERM asset decay curves is to determine when the individual assets identified in the
   asset inventory will require either rehabilitation or replacement, with the ultimate objective of estimating
   replacement needs and the size of the state of good repair (SGR) backlog. Over the 20-year period of
   analysis covered by a typical TERM simulation, the model uses the decay curves to continually monitor the
   declining condition of individual transit assets as they age. As an asset’s estimated condition value falls below
   pre-defined threshold levels (known as “rehabilitation condition threshold” and “replacement condition
   threshold”), TERM will seek to rehabilitate or replace that asset accordingly. If sufficient funding is available
   to address the need, TERM will record this investment action as a need for the specific period in which it
   occurs. If insufficient funding remains to address a need, that need will be added to the SGR backlog. These
   rehabilitation and replacement condition thresholds are controlled by asset type and can be changed by the
   user. Some asset types, such as maintenance facilities, undergo periodic rehabilitation while others, such as
   radios, do not.




                                                                                                                                                                                                                             FHWA002546
                                                                                                                                                                                                     Transit Investment Analysis Methodology                                    C-7
   Case 5:23-cv-00304-H                  Document 15-18               Filed 01/31/24             Page 264 of 534     PageID 2824

Development of Asset Decay Curves
Asset decay curves are statistically estimated mathematical formulas that rate the physical condition of transit
assets on a numeric scale of 5 (excellent) to 1 (poor).
The majority of TERM decay curves are based on empirical condition data obtained from a broad sample
of U.S. transit operators; hence, they are considered to be representative of transit asset decay processes at
the national level. An example decay curve showing bus asset condition as a function of age and preventive
maintenance based on observations of roughly 900 buses at 43 different transit operators is presented in
Exhibit C-6 below.

  Exhibit C-6 TERM Asset Decay Curve for 40-Foot Buses




 Source: FTA; empirical condition data obtained from a broad sample of U.S. transit operators.



Benefit-Cost Calculations
TERM uses a benefit-cost (B/C) module to assess which of a scenario’s capital investments are cost effective
and which are not. The purpose of this module is to identify and filter investments that are not cost effective
from the tally of national transit capital needs. Specifically, TERM can filter all investments where the
present value of investment costs exceeds investment benefits (B/C<1).
The TERM B/C module is a business case assessment of each agency-mode (e.g., “Metroville Bus” or
“Urban City Rail”) identified in the NTD. Rather than assessing the B/C for each individual investment
need for each agency-mode (e.g., replacing a worn segment of track for Urban City Rail), the module
compares the stream of future benefits arising from continued future operation for an entire agency-mode
against all capital (rehab-replace and expansion) and operating costs required to keep that agency-mode
in service. If the discounted stream of benefits exceeds the costs, then TERM includes that agency-mode’s
capital needs in the tally of national investment needs. If the net present value of that agency-mode
investment is less than 1 (B/C<1), then TERM scales back these agency-mode needs until the benefits are
equal to costs as discussed below.
In effect, the TERM B/C module conducts a system-wide business case analysis to determine if the value
generated by an existing agency-mode is sufficient to warrant the projected cost to operate, maintain, and
potentially expand that agency-mode. If an agency-mode does not pass this system-wide business case


C-8   Appendices                                                                                                   FHWA002547
Case 5:23-cv-00304-H            Document 15-18      Filed 01/31/24        Page 265 of 534          PageID 2825

   assessment, then TERM will not include some or all of that agency-mode’s identified reinvestment needs in
   the tally of national investment needs. The benefits assessed in this analysis include user, agency, and social
   benefits of continued agency operations.
   The specific calculations used by the TERM B/C module – comparing the stream of investment benefits for
   agency-mode “j” against the stream of ongoing costs, calculated over the TERM 20-year analysis horizon –
   is presented below in equation (1).
    Benefit / Cost Ratio agency  mode j                                                                  (1)


            ­
                            ^                                                                   `         ½
                       20

                     ¦
                                                                                      t        t
            °°            User , Agency &Social Benefits j ,t 0 * 1  TMP Growth j       1 i             °°
                      t 1
             ® 20                                                                                          ¾
                 ^
             ° ¦ Replace Cost j ,t  Expansion Cost j ,t  O & M Costs j ,t * 1  TPM Growth j t
             °¯ t 1
                                                                                                    1 i °
                                                                                                        t
                                                                                                           `
                                                                                                           °¿


   Why Use a System-wide Business Case Approach?
   TERM considers the cost-benefit of the entire agency rail investment versus simply considering the
   replacement of a single rail car. Costs and benefits are grouped into an aggregated investment evaluation and
   not evaluated at the level of individual asset investment actions (e.g., replacement of a segment of track) for
   two primary reasons: (1) lack of empirical benefits data, and (2) transit asset interrelationships.
   Lack of Empirical Benefits Data: The marginal benefits of transit asset reinvestment are very poorly
   understood for some asset types (e.g., vehicles) to non-existent for others. Consider this example:
   replacement of an aging motor bus will generate benefits in the form of reduced maintenance costs,
   improved reliability (fewer in-service failures and delays) and improved rider comfort, and potentially
   increased ridership in response to these benefits. The magnitude of each of these benefits will be dependent
   on the age of the vehicle retired (with benefits increasing with increasing age of the vehicle being replaced).
   But what is the dollar value of these benefits? Despite the fact that transit buses are the most numerous of
   all transit assets and a primary component of most transit operations, the relationship between bus vehicle
   age and O&M cost, reliability, and the value of rider comfort is poorly understood (there are no industry
   standard metrics tying bus age to reliability and related agency costs). The availability of reinvestment
   benefits for other transit asset types is even more limited (perhaps with the exception of rail cars, where the
   understanding is comparable to that of bus vehicles).
   Transit Asset Interrelationships: The absence of empirical data on the benefits of transit asset replacement
   is further compounded by both the large number of transit assets that must work together to support
   transit service and the high level of interrelatedness between many of these assets. Consider the example
   of a (1) rail car operating on (2) trackwork equipped with (3) train control circuits and (4) power supply
   (running through the track), all supported by (4) a central train control system and located on (5) a
   foundation such as, elevated structure, subway, retained embankment, etc.. This situation represents a
   system that is dependent on the ongoing operation of multiple interdependent assets, each with differing
   costs, life cycles and reinvestment needs – and yet totally interdependent of one another. Now consider
   the benefits of replacing a segment of track that has failed. The cost of replacement (thousands of dollars)
   is insignificant compared to the benefits derived from all the riders that depend on that rail line for transit
   service of maintaining system operations. The fallacy in making this comparison is that the rail line benefits
   are dependent on ongoing reinvestment in all components of that rail line (track, structures, control systems,
   electrification, vehicles, and stations) and not just from reinvestment in specific components.



                                                                                                FHWA002548
                                                                        Transit Investment Analysis Methodology   C-9
   Case 5:23-cv-00304-H            Document 15-18          Filed 01/31/24        Page 266 of 534         PageID 2826

Incremental Benefit-Cost Assessment
TERM’s B/C module is designed to assess the benefits of incremental levels of reinvestment in each agency-
mode in a three-step approach:
Step 1: TERM begins its benefit-cost assessment by considering the benefits derived from all of TERM’s
proposed capital investment actions for a given agency-mode – including all identified rehabilitation,
replacement, and expansion investments. If the total stream of benefits from these investments exceeds the
costs, then all assets for this agency-mode are assigned the same (passing) benefit-cost ratio. If not, then the
B/C module proceeds to Step 2.
Step 2: Having “failed” the Step 1 B/C test, TERM repeats this B/C evaluation, but this time excludes
all expansion investments. In effect, this test suggests that this agency-mode does not generate sufficient
benefits to warrant expansion but may generate enough benefits to warrant full reinvestment. If the agency-
mode passes this test, then all reinvestment actions are assigned the same, passing B/C ratio. Similarly, all
expansion investments are assigned the same failing B/C ratio (as calculated in Step 1). If the agency-mode
fails the Step 2 B/C test, the B/C module proceeds to Step 3.
Step 3: The Step 3 B/C test provides a more realistic assessment of agency-mode benefits. Under this
test, it is assumed that agency-mode benefits exceed costs for at least some portion of that agency-mode’s
operations; hence, this portion of services is worth maintaining.
Investment Benefits
TERM’s B/C module segments investment benefits into three groups of beneficiaries:
 Transit riders (user benefits)
 Transit operators
 Society.
Rider Benefits: By far the largest individual source of investment benefits (roughly 86% of total benefits)
accrue to transit riders. Moreover, as assessed by TERM, these benefits are measured as the difference in
total trip cost between a trip made via the agency-mode under analysis versus the agency-mode user’s next
best alternative. The total trip cost includes both out-of-pocket costs (e.g., transit fare, station parking fee)
and value of time costs (including access time, wait time, and in-vehicle travel time).
Transit Agency Benefits: In general, the primary benefit to transit agencies of reinvestment in existing assets
comes from the reduction in asset O&M costs. In addition to fewer asset repair requirements, this benefit
also includes reductions of in-service failures (technically also a benefit to riders) and the associated in-
service failures response costs (e.g., bus vehicle towing and substitution, bus for rail vehicle failures).
At present, none of these agency benefits is considered by TERM’s B/C model. As noted above, there
is little to no data to measure these cost savings. That said, there are some data on which to evaluate
these benefits (mostly as related to fleet reinvestment and not available at the time the B/C module was
developed). FTA could move to incorporate some of these benefits in future versions of TERM.
Societal Benefits: TERM assumes that investment in transit provides benefits to society by maintaining
or expanding an alternative to travel by car. More specifically, reductions in vehicle miles traveled (VMT)
made possible by the existence or expansion of transit assets is assumed to generate benefits to society.
Some of these benefits may include reductions in highway congestion, air and noise pollution, greenhouse
gases, energy consumption, and automobile accidents. TERM’s B/C module does not consider any societal
benefits beyond those related to reducing VMT (hence, benefits such as improved access to work, are not
considered).



C-10 Appendices                                                                                       FHWA002549
Case 5:23-cv-00304-H       Document 15-18                      Filed 01/31/24                   Page 267 of 534                      PageID 2827




                                                                APPENDIX                                                                 D
               Crosscutting Investment Analysis Issues

               Crosscutting Investment Analysis Issues...................................................................D-2
                   Conditions and Performance .....................................................................................D-2
                        Pavement Condition ........................................................................................................... D-2
                        Transit Asset Reporting ....................................................................................................... D-3
                        Vehicle Operating Costs ..................................................................................................... D-4
                        Bridge Performance Issues ................................................................................................ D-6
                        Transit Conditions, Reliability, and Safety .......................................................................... D-7
                        Transit Vehicle Crowding by Agency-Mode ....................................................................... D-7
                   Transportation Supply and Demand..........................................................................D-7
                        Cost of Travel Time ............................................................................................................. D-7
                        Construction Costs ............................................................................................................. D-13
                        Travel Demand .................................................................................................................... D-14
                   Productivity and Economic Development .................................................................D-15




                                                                                               Crosscutting InvestmentFHWA002550
                                                                                                                       Analysis Issues D-1
  Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24        Page 268 of 534        PageID 2828



          Crosscutting Investment Analysis Issues

Appendix D of the 2010 C&P Report discussed limitations of the modeling and databases used for the
report’s analysis as well as possible remedies. Appendix D in this report updates that discussion with recent
progress and plans. It further explores select issues that recent developments have made more relevant. The
economic slow-down from which the Nation is now emerging has stimulated interest in the impacts of
transportation investments on aggregate employment and on U.S. economic competitiveness—impacts
which have always been difficult to measure. The increased policy emphasis at the U.S. Department of
Transportation (DOT) on livability, sustainability, and maintenance of transportation assets in a state of
good repair has likewise moved certain modeling challenges to the fore. The structure of the discussion in
this appendix largely follows that of Appendix D in the 2010 C&P Report; readers can refer back to that
report’s appendix for discussion of the many issues that have not been revisited.


                             Conditions and Performance
Pavement Condition
In recent years, the Federal Highway Administration (FHWA) has used the International Roughness Index
(IRI) to describe the condition of the Nation’s pavements. The IRI is an objective measure and pavement
roughness directly affects road users by influencing ride quality. The current pavement performance
models in the Highway Economic Requirements System (HERS) use an alternative measure, the Present
Serviceability Rating, which is strongly correlated with IRI. However, the models are somewhat out of date
with respect to pavement design and to structural pavement problems that do not manifest themselves
through roughness alone.
Enhanced Pavement Deterioration Models
In the last several years, research in the fields of pavement management, pavement design, and the
collection of pavement distress data has resulted in the development of new pavement design formulas,
improvements in data collection, and better approaches to monitoring highway pavement conditions. The
development of a Mechanistic Empirical Pavement Design Guide (ME-PDG) formula was sponsored by the
American Association of State Highway and Transportation Officials and the FHWA through the National
Cooperative Highway Research Program.
Applying the ME-PDG pavement design formulas in the context of the HERS model presents several
challenges. The ME-PDG formulas require an extensive amount of data for use in designing pavements for
individual highway projects; collecting such information on a national basis for all Highway Performance
Monitoring System (HPMS) sample sections (whether they are currently under consideration for
improvement or not) would have placed an excessive reporting burden on the States that would not be
warranted for conducting an aggregate national-level analysis of systemwide needs. Even if the necessary
input data were readily available, applying the ME-PDG equations in their original form within the HERS
model would have significantly impacted the run time for the model, making it impractical from a C&P
report development perspective.
An evaluation of the components of the ME-PDG formulas was conducted to determine the minimum
number of data items required to predict general pavement performance at an aggregate level that would
be more appropriate for pavement performance analysis at the national level. Based on this evaluation,
it was determined the number of additional data items required to be reported by State DOTs could be

D-2   Appendices                                                                                  FHWA002551
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24       Page 269 of 534          PageID 2829

   limited from the more than 100 original ME-PDG inputs to less than 10. Some of the items needed related
   to date of construction, last rehabilitation/maintenance date, and pavement type; such items should be
   readily obtainable from project records. Other items vary with time and would need to be obtained through
   automated data collection and/or observation in the field, including pavement roughness (IRI), depth of
   rutting or faulting, amount of cracking present per mile (percent), and the total area of failure per mile
   (percent). In some cases, default values at the State level representing typical conditions or construction
   practices were deemed sufficient; this includes items such as dowel bar spacing and soil type. Based on
   feedback from a working group of State DOT representatives, it was determined that collecting this
   limited set of additional data items from States is feasible, particularly because many States routinely collect
   information of this nature as part of their own pavement management programs.
   The evaluation of the ME-PDG’s suitability for adaptation into the HERS model fed into the most recent
   formal reassessment of the HPMS. As a result, the HPMS was modified to begin collecting additional
   pavement information to support a set of simplified ME-PDG-based models in HERS. The simplified
   pavement deterioration equations have been added to the HERS model and initial testing has been
   conducted. However, the reporting of the new and revised pavement data items for 2010 HPMS highway
   sample sections by the States was not sufficiently complete to support full testing of the new pavement
   equations. Additional testing will be conducted on future HPMS submittals as States have time to better
   adapt to the revised HPMS reporting requirements. In addition, the underlying ME-PDG pavement design
   formulas have been revised subsequent to the versions originally adapted for use in HERS. The FHWA will
   be evaluating these ME-PDG revisions to determine the extent to which they would impact the simplified
   ME-PDG equations developed for HERS, and will adapt the simplified equations as necessary.
   Preventive Maintenance Models
   As discussed in Chapter 7, the investment scenarios estimated in this report are for capital expenditures only
   and do not include costs associated with preventive maintenance. However, the FHWA and State DOTs
   are paying increased attention to preventive maintenance strategies as a means of extending the useful life
   of pavement improvements. To the extent that such strategies are successful, they can reduce the need for
   capital improvements to address pavement condition deficiencies, an effect that the investment models
   should account for where possible. Future improvements to the HERS model based on these new data
   and equations should facilitate the evaluation of tradeoffs between more aggressive preventive maintenance
   strategies and capital improvements.
   The FHWA has research underway to classify different types of State preventative maintenance strategies into
   broad groups with similar costs and impacts to make it feasible to simulate them within the HERS model
   framework. This research also involves the development of procedures for determining the optimal types and
   timing of preventive maintenance actions to be considered, for assessing the impacts of different types of
   actions on the remaining pavement service life and on future pavement performance, and for estimating the
   impacts of preventative maintenance actions on routine maintenance costs incurred by highway agencies and
   on the costs experienced by system users.

   Transit Asset Reporting
   The Transit Economic Requirements Model’s (TERM’s) assessment of transit capital needs for both asset
   preservation and service expansion rely heavily on data that document the asset holdings of the Nation’s
   urban and rural transit operators. However, with the exception of agency passenger vehicle fleets, local
   transit operators receiving Federal transit funding have not been required to report asset inventory data
   documenting the types, quantities, ages, conditions, or replacement values of assets they use in support of
   transit service. Therefore, to obtain asset inventory data for use in TERM, the Federal Transit Administration
   (FTA) must periodically submit asset inventory data requests to the Nation’s largest bus and rail operators
   and a sample of smaller operators. Given the absence of any standards for asset inventory recording or

                                                                         Crosscutting InvestmentFHWA002552
                                                                                                 Analysis Issues   D-3
  Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24       Page 270 of 534        PageID 2830

reporting, the response to these requests provides inventory data in a variety of formats and at varying levels
of detail and quality. Moreover, the asset holdings of those agencies that either do not receive or do not
effectively respond to these requests must be estimated (based on the asset composition and age distribution
of agencies of comparable size).
This situation will be changing due to requirements in the 2012 surface transportation bill (Moving Ahead
for Progress in the 21st Century [MAP-21]) for FTA grant recipients to report asset inventory and condition
data to the National Transit Database (NTD). Work to roll out this new data collection is underway and
FTA hopes to collect an initial round of asset inventory data when agencies report their 2013 data. These
data will provide for significantly better estimates of long-term transit reinvestment needs and will ensure
greater comparability of results across future editions of the C&P report and allow for establishment of
meaningful performance goals and measures. Although this data collection effort is anticipated to start
with the 2013 NTD reporting year, actual implementation will depend on transit agencies’ response to the
Federal Register Notice of Proposed Rulemaking and on the Office of Management and Budget’s response to
the Paperwork Reduction Act request.

Vehicle Operating Costs
Growing concerns about energy independence and the environmental costs of vehicle emissions have
stimulated interest in the impacts of highway investments and policies on fuel consumption. Unfortunately,
the modeling of the impacts on road fuel economy and, more generally, on vehicle operating costs is an area
in which highway performance evaluation models have lagged. HERS, along with various other models
(e.g., the FHWA’s project evaluation tool, BCA.net), has relied primarily on decades-old evidence, including
foreign evidence that is not easily generalized to U.S. scenarios. The HERS equations for vehicle operating
cost are based on the model of vehicle operating costs developed in a 1982 study by the Texas Research
and Development Foundation (TRDF) (Vehicle Operating Costs, Fuel Consumption, and Pavement Type
and Condition Factors by J.P. Zaniewski et al., TRDF, June 1982, prepared for FHWA). For the impacts
of pavement condition on vehicle operating costs, the study drew on the results of tests conducted in
Brazil in the 1970s on pavements typically rougher than those on U.S. roads. For the impacts of vehicle
speed on vehicle operating costs, the study relied on tests conducted on U.S. roads in the 1970s. Reflecting
the limitations of the TRDF study, HERS does not fully allow for the effects of congestion delay on fuel
consumption. These effects are sometimes conceptualized as stemming partly from a reduction in average
speed and partly from an increase in speed variability due to stop-and-go driving conditions. The HERS
model allows for the speed variability effect only on signalized roadways. A more complete account of this
effect would also extend to stop-and-go conditions on unsignalized facilities and in work zones.
For each edition of the C&P report, the prices in HERS for vehicle operating inputs are updated to the
base-year levels using the most suitable price indices available. Price indices specific to fuel and tires are
available, but more general price indices are used for some of the other input categories (such as repair and
maintenance), which causes some divergence between actual price levels and what HERS assumes. For fuel
consumption, the HERS equations include efficiency factors that incorporate the percent changes over
time in average vehicle fuel efficiency on U.S. highways. Because this adjustment only scales the equations
without otherwise changing the parameters, it cannot capture fundamental changes over time in how vehicle
speed and other factors affect fuel economy—for example, changes in the speed range at which fuel economy
is highest.
To chart a course for improving the HERS treatment of vehicle operating costs, the FHWA has initiated
a scoping study that generated a set of preliminary recommendations for improved modeling of fuel
consumption. The recommended short-term option would make use of a vehicle fuel consumption
simulation model, quite possibly VEHSIM, to develop relationships in HERS that would predict fuel
economy on highway sections as a function of congestion levels, pavement roughness, and other section

D-4   Appendices                                                                                   FHWA002553
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24       Page 271 of 534          PageID 2831

   characteristics. The longer-term and more expensive option would improve modeling accuracy, particularly
   for trucks, by: (1) expanding the set of vehicle drive cycles, which characterize at different levels of
   congestion a typical second-by-second speed trajectory over a short time cycle; and (2) providing a more
   comprehensive profile of the vehicle fleet for modeling fuel economy at the fleet level. The vehicle simulation
   models have been developed to facilitate the design and optimization of individual vehicle models. They
   require information on many vehicle parameters such as engine size, transmission type, transmission shift
   logic, gearing, and vehicle weight, which increases accuracy but also the time and effort in profiling the
   entire vehicle fleet.
   For the longer-term option, special consideration was given to using the EPA Motor Vehicle Emission
   Simulator (MOVES) model because it is currently the basis for the emissions equations in HERS and
   because of its widespread use and reputation. Indeed, for the 2011 Urban Mobility Report, the Texas
   Transportation Institute switched to estimating wasted fuel due to congestion based on regression analysis
   of results from the MOVES model simulations. (In previous years’ editions of that report, the estimation
   was based on the results of field tests conducted in the 1970s in which fuel consumption was measured for
   vehicles driving on urban arterials.) On the other hand, the vehicle operating cost scoping study identified
   a number of limitations of the MOVES modeling of fuel consumption that would need to be addressed. In
   particular, the model’s “operating bins” that describe vehicle operating conditions—i.e., the combination
   of drive cycles and amount of energy demanded (Vehicle Specific Power)—were found to be too coarse
   for HERS requirements. A consequence of this lack of detail is that the model tends to over-predict fuel
   consumption at high speeds.
   Another phase of this vehicle operating cost scoping study is still underway, which involves the development
   of recommended options for enhancing the HERS treatment of vehicle operating costs other than fuel. A
   key reference in the related research literature under review is the National Cooperative Highway Research
   Program (NCHRP) Report 720, Estimating the Effects of Pavement Condition on Vehicle Operating Costs.
   Because this report considers impacts on fuel consumption among the other impacts of pavement condition,
   the focus partly overlaps with that of the completed first phase of the current FHWA study.
   For fuel consumption and tire costs, NCHRP Report 720 presents research that calibrated the World Bank
   HDM 4 model to U.S. conditions using data from Michigan road tests. In common with the models being
   considered as platforms for revamping the HERS fuel consumption equations (e.g., MOVES, VEHSIM),
   the models of fuel consumption and tire costs within HDM 4 are “mechanistic,” meaning that they draw
   on the theoretical laws of physics. In contrast, “empirical” models are developed purely from field tests and
   generalizing their results much beyond the context in which the tests were conducted (the year, country,
   etc.) is not viable. Mechanistic models can be adapted to different contexts through empirical calibration
   that is a generally less data-intensive than re-estimating a purely empirical model. As indicated above, the
   TRDF study model from which the HERS vehicle operating cost equations derive is largely empirical. For
   vehicle repairs and maintenance, for which models have generally been empirical, the NCHRP study took
   an approach that combined (1) development of a hybrid mechanistic-empirical model and (2) updating the
   TRDF study model using recent data on the vehicle fleets of the Texas and Michigan DOTs.
   For fuel consumption, the results of the NCHRP study indicate that pavement condition as measured by
   average roughness has a significant effect. In the illustrations provided for medium-size cars, increasing the
   measure of roughness (IRI) from 1 to 3 meters per kilometer (equivalent to raising it from 63 to 189 inches
   per mile) increases fuel consumption by 4.8 percent. (This is the estimate after the calibration of the HDM
   4 model to U.S. conditions; without calibration, the estimate is 2.6 percent.) To put these IRI values into
   context, the threshold for good ride quality identified in Chapter 3 is an IRI value of less than 95 inches
   per mile, and the threshold for acceptable ride quality is an IRI value of less than or equal to 170 inches per
   mile. Thus, an IRI value of 63 would be considered good, while an IRI value of 189 would not meet the
   definition of acceptable. In 2010, approximately one-half of vehicle miles traveled (VMT) on Federal-aid

                                                                         Crosscutting InvestmentFHWA002554
                                                                                                 Analysis Issues   D-5
  Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24        Page 272 of 534        PageID 2832

highways was on pavements with good ride quality, while 18 percent of VMT was on pavements with poor
ride quality (i.e., ride quality that was less than acceptable).

Bridge Performance Issues
The National Bridge Investment Analysis System (NBIAS) model has undergone several enhancements since
its first use to refine and improve its predictions of future funding needs for the Nation’s bridges. A number
of additional enhancements are under consideration.
Element Level Data Versus Summary Rating Data
The NBIAS model is capable of using detailed bridge element level data to conduct analysis of bridge
conditions. If this level of detailed information is not available, NBIAS can generate element level data based
on the types of summary ratings included in the National Bridge Inventory (NBI) by combining statistical
models, engineering judgment, and heuristic rules to synthesize representative condition levels of bridge
elements. The NBIAS model has been used to conduct analysis using databases compiled using one or the
other of the two above methods but not using a database with both types of bridge data.
MAP-21 requires that States begin reporting element level data for all bridges on the National Highway
System to NBI within two years of its enactment. (MAP-21 also requires that a study be conducted on the
benefits, cost effectiveness, and feasibility of requiring element-level data collection for bridges not on the
National Highway System [NHS].) This presents a challenge from an NBIAS perspective because the model
cannot currently process a single database that contains element level data for some bridges and summary
ratings for other bridges.
It would be possible to analyze two different databases (one with element-level data and one with summary
ratings) separately and combine the results, but this would prevent direct investment tradeoffs between
NHS bridges and non-NHS bridges to be considered. A better solution would be to adapt NBIAS to accept
both types of data as inputs simultaneously; FHWA plans to pursue this option, and will adapt the software
accordingly, if this approach appears to be viable from a programming perspective.
Linkages With HERS
Future enhancements to NBIAS may provide the capability to take advantage of the Geographic
Information System information in HPMS to permit integrated applications of the model and HERS.
Linking the two models could enable improved identification of functional deficiencies on bridges, for
example due to curvature characteristics on adjacent sections of highway, on which the HPMS includes data.
Currently, NBIAS does not increase the number of lanes on a bridge even when traffic volumes would
warrant additional lanes. The issue of requiring additional lanes for bridges has been addressed indirectly
by including costs associated with structures within the average cost per lane mile assumed in the HERS
model for capacity expansion. Research is planned to add the capability for NBIAS to replace bridges with
wider bridges when warranted due to traffic volumes; the widening costs assumed in HERS would be
simultaneously reduced. It is anticipated that adding this capability to NBIAS will allow for a more accurate
assessment of the benefits and costs associated with widening projects involving structures.
There are a large number of culverts under the Nation’s roadways. Culverts are typically used to convey water
under a roadway, but some provide for the movement of people or animals from one side of a roadway to
the other. By definition, culverts with a length of more than 20 feet meet the criteria of a bridge and data
for them is entered in the NBI. They require regular maintenance and, at some point in time, replacement.
The costs associated with culverts are factored into the typical per-mile costs assumed in HERS. However,
adapting NBIAS to directly analyze costs associated with culverts would generate more refined estimates of
their deterioration, maintenance, and replacement needs. The FHWA is planning to initiate research that
would lead to the addition of this analytical capability to NBIAS.

D-6   Appendices                                                                                  FHWA002555
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 273 of 534          PageID 2833

   User Impacts
   FHWA’s long-term research plans for NBIAS include improving the model’s ability to measure the impact
   of the loss of a bridge or the restriction of its load carrying capacity. One approach would be to develop a
   “Risk Factor” that would be merged with the other ranking factors in NBIAS to better prioritize bridges
   for maintenance or construction activities. Bridges in areas where the loss of service due to failure or access
   restriction would create a greater hardship for the traveling public would be assigned higher risk factors and
   could, possibly, be scheduled for work before other bridge projects.
   Additional modifications being planned would determine the time cost to bridge users that results from
   a broader set of deficiencies, structural (e.g., deck, superstructure, and substructure) as well as functional.
   The time cost, formally measured by a mean time to service interruption (MTSI) will, in concept, allow for
   disruptions resulting from a deficiency before being remedied (e.g., heavy trucks having to divert around
   a load-posted bridge) as well as from the remedial bridge work. The MTSI for each bridge can be adjusted
   to reflect traffic (level and composition), environmental, and other factors such as detour length and crash
   rates. For structural deficiencies, NBIAS currently differentiates user costs only as a function of bridge size,
   without considering traffic volumes or other factors.

   Transit Conditions, Reliability, and Safety
   TERM’s condition decay curves have provided an effective means of assessing current asset conditions and
   expected future conditions under alternative investment scenarios, but the FTA and the transit industry in
   general would benefit from an improved understanding of the relationship between asset conditions and key
   outcome measures such as service reliability, safety, and transit ridership. It is helpful to note in this context
   that the intended outcome of the FTA’s heightened focus on a state of good repair is not to have assets in
   good condition per se; it is rather to ensure quality, safe, reliable, and cost-effective transit service. Research
   on and understanding of the relationships between condition and other outcome measures would also
   improve the understanding of the merits of investment scenarios considered in future editions of this report.

   Transit Vehicle Crowding by Agency-Mode
   Given the nature and granularity of transit operating data as currently reported to NTD, most TERM
   analysis on transit operating performance is limited to the agency-mode level of detail (for example,
   Houston metro bus is considered as a single agency-mode). Given this limitation, TERM is not capable
   of determining whether some or any portions of an agency-mode’s existing service (e.g., specific rail lines
   or bus corridors) are in need of transit capacity improvements. Rather, TERM must assess expansion and
   performance improvement needs for the agency-mode as a whole, without consideration of the performance
   of individual service corridors (this is in contrast to the highway segment HPMS data used by HERS). In
   this regard, TERM would benefit from the availability of corridor-level operational data (e.g., level of service
   supplied and service consumed), if only for a sample of the Nation’s transit operators, with which to better
   assess transit operator expansion needs at the subagency-mode level of detail).


                           Transportation Supply and Demand
   Cost of Travel Time
   The valuation of travel time savings—equivalently, the costing of travel time—figures significantly in the
   benefit-cost frameworks of the models used in this report. For valuing person hours of travel time, the
   models basically conform to DOT guidance on this subject referenced in Chapter 10. In recommending
   certain average values of travel time by trip purpose, the guidance acknowledges the considerable uncertainty
   as to which values would be most representative, particularly in the case of travel for personal (non-business)


                                                                           Crosscutting InvestmentFHWA002556
                                                                                                   Analysis Issues   D-7
   Case 5:23-cv-00304-H          Document 15-18          Filed 01/31/24        Page 274 of 534        PageID 2834

purposes. The guidance also notes travel time reliability—being able to predict in advance how long a trip
will take—to be a distinct and complex issue in the costing of travel time, but provides no specific direction
regarding its measurement. This issue is closely related to the costing of delay due to highway incidents,
which is a major source of unreliability of highway travel time.
The following discussion examines the state of research in relation to the potential refinement of the HERS
valuation of travel time, focusing on valuation elements for which the U.S. DOT has not established official
guidance. In addition to incident delay/reliability, it also considers the vexing question of how to value travel
time savings for freight, for which HERS makes an allowance that some see as conservative.
Cost of Incident Delay
Crashes and other traffic incidents (including disabled vehicles) can produce delays that are very hard for
travelers to predict or plan for, particularly when these incidents result in lane closures. The HERS model
differentiates this source of delay from routine traffic congestion and from traffic control devices (on road
sections lacking full access control). Via a preprocessor, the model incorporates growth over the 20-year
analysis period in the deployment of selected types of highway operational/Intelligent Transportation
Systems (ITS) enhancements, such as ramp meters, real-time traveler information systems, and incident
management systems. The benefits of these enhancements are represented in HERS as reductions in incident
and other travel delay and in accidents. On the other hand, HERS does not vet these enhancements with
benefit-cost analysis. The need to assign a cost to incident delay time arises primarily from the model’s use
of benefit-cost analysis to screen potential expansions to highway capacity. In the model and reality, adding
capacity to congested sections of roadway reduces the amount of incident delay per VMT. One of the
reasons for this is that closure of a single lane due to an incident represents a smaller percent reduction in
capacity when additional alternative lanes are available.
The practice in HERS, and in some other models, has been to value savings in incident delay at a premium
above the value assigned to savings in ordinary delay. For HERS, the rationale is that the occurrence of
incidents makes travel time less reliable, which increases the risk of early or late arrival and the associated
inconveniences. Travelers can reduce this risk by adding buffer time to their travel plans, but this entails
inconveniences of its own. The intention in HERS is to make a rough overall allowance for these
inconveniences by including a premium in the cost attached to incident delay. This premium has been set at
2.0, meaning that HERS values incident delay time as twice the value for ordinary delay time. The premium
for incident delay time also features in the ITS Deployment Analysis System (IDAS) model, which FHWA
developed as a tool for cost-benefit analysis of ITS deployments; when incident delay was first added to the
HERS model, IDAS was utilizing a premium of 3.0. Although this value was taken into account, it did
not appear to have a strong empirical basis. When a value was set for HERS, it was decided that a more
conservative value of 2.0 should be utilized.
The choice of the value of 2.0 for HERS was also guided by the findings of NCHRP Report 431, Valuation
of Travel Time savings and Predictability in Congested Conditions for Highway User-Cost Estimation. The
findings were largely based on stated preference experiments that asked travelers for their preferences among
hypothetical travel alternatives. The alternatives differed in expected travel time and in either the reliability
of travel time or the amount of travel time spent under congested conditions. Similar experiments were
conducted with freight carrier participants, but these were based on a very small sample and yielded weaker
results. In the models estimated using the stated preference data, the values of travel time and reliability vary
with traveler characteristics and, depending on the model, other variables such as level of congestion and
trip purpose. As the report noted, the application of these models in benefit-cost analyses of particular road
projects requires data inputs that may not be readily available. As a fallback option that it considered broadly
consistent with its findings, the NCHRP study proposed that benefit-cost analyses value travel time under
severe congestion at 2.5 times the rate for other travel time.


D-8   Appendices                                                                                    FHWA002557
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24       Page 275 of 534          PageID 2835

   These underpinnings of the valuation of incident delay in HERS leave considerable room for improvement.
   The rule of thumb from the NCHRP study relates to travel under severely congested conditions rather than
   to incident delay as such. Its cost premium is meant to allow for both the discomfort of travel under these
   conditions and the associated loss of reliability, whereas the HERS cost premium for incident delay is meant
   only to allow for the loss of reliability. Although incident delay results in congestion, HERS does not factor
   into its valuations of travel time the discomfort cost of traveling under highly congested conditions. To do
   so only for the congestion associated with incident delay would make the model internally inconsistent. To
   do so for severe congestion delay in general, including that resulting from recurrent congestion (traffic values
   being high relative to normal capacity) and from other sources, could be an option for future enhancement
   of HERS. However, available evidence is insufficient to reliably implement this refinement at present,
   and current U.S. DOT guidance does not provide latitude to differentiate values of travel time by level of
   congestion.
   It must also be borne in mind that the data for the NCHRP study was collected on a particular corridor
   (SR 91) in Southern California in the 1990s. Additional research into the valuation of travel time and
   reliability has been conducted since, and some recent evidence indicates that the effect of congestion on the
   value of travel time may differ significantly between regions.
   SHRP2 Research on Value of Travel Time and Reliability
   Much of the recent U.S. research on this topic has been funded under the Transportation Research Board
   Strategic Highway Research Program 2 (SHRP2). One of the program’s four primary research areas focuses
   on travel time reliability—specifically, on “developing basic analytical techniques, design procedures, and
   institutional approaches to address the events—such as crashes, work zones, special events, and inclement
   weather—that result in the unpredictable congestion that makes travel times unreliable.” Recently completed
   Project C04, Improving Our Understanding of How Highway Congestion and Pricing Affect Travel
   Demand, produced a number of findings relevant to an evaluation of possible future directions for valuing
   travel time and reliability in HERS.
   The SHRP2 study relied primarily on three types of data sources on travel patterns in the New York and
   Seattle metropolitan regions:
    Household travel surveys. For each region, the study conducted revealed preference modeling using
     data from household surveys that ask respondents to maintain a diary of travel undertaken by household
     members for one or two days. These data do not include information on non-chosen travel alternatives
     that were available to the survey respondents, nor on the travel times and costs related to the chosen and
     non-chosen alternatives. The study therefore inferred and imputed this information using representations
     of the highway and transit networks.
    Stated preference survey (Seattle region). Because this approach presents survey respondents with
     hypothetical choices in which the travel alternatives and their characteristics are specified, it obviates the
     need for imputing and inferring such information. Another advantage over revealed preference analysis is
     the quasi-experimental design. In revealed preference analysis, the modeled determinants of travel choices
     may be highly correlated, which hinders estimation of their separate influences. For example, tolled
     express lanes offer both lower average travel time and increased reliability; the influences of these factors
     on traveler choices between these and general purpose lanes may be hard to empirically disentangle.
     These advantages must be weighed against the drawbacks of the stated preference approach. Respondents
     may not interpret the hypothetical alternatives as intended, may have trouble relating to them, and may
     make choices in the real-world quite different from those made in the research experiment.
    Experimental data. The study also made extensive use of data from the Traffic Choices Study, which
     recruited Seattle region households for a unique experiment. Participants were given a real monetary
     budget, but then money was deducted from the account every time they used certain roads at certain

                                                                         Crosscutting InvestmentFHWA002558
                                                                                                 Analysis Issues   D-9
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24        Page 276 of 534         PageID 2836

    times of day and week. Respondents were given a pricing schedule and map, as well as an in-vehicle
    meter that showed the price whenever they were being charged. (More information can be found at
    http://www.psrc.org/transportation/traffic.) The resulting data set combines, to a large degree, the
    best of the other types of data sets: experimental design (in common with stated preference data) and
    observations on actual travel choices (in common with the household travel surveys).
Several of the study’s findings are of particular interest from a HERS model development perspective. First,
travelers place a significant value on travel time reliability as measured by the standard deviation of travel
time, which the study found to be the measure that performed best in its models. The reliability ratio—the
value of reducing the standard deviation of travel time by one minute divided by the value of reducing the
average travel time by one minute—was estimated in the range 0.7 to 1.5.
Second, in contrast with NCHRP Report 431, the study did not yield consistent evidence of a congestion
stress factor in values of travel time. This factor was evident in the modeling results obtained for the New
York region, particularly for mode choice, but not in the results for the Seattle region. The report speculates
that this difference stems from the overall level of congestion being higher in the New York region. As in the
NCHRP study, the estimated models included the share of travel time under relatively congested conditions
or a measure of travel time reliability, but not both. In the models that included the share of travel time
under relatively congested conditions, the estimated impact of this factor would also have reflected to some
extent the effects of travel time reliability because these two factors are correlated. In light of this, even the
results for the New York region do not clearly confirm a significant congestion discomfort component in the
cost of travel time.
Third, the study found that savings on average commuting time are generally valued more highly for longer
than for shorter trips, as the U.S. DOT guidance had found to be the case in previous research. However,
the SHRP2 study found that the pattern reverses when trip lengths become unusually long (over 40 miles),
resulting in an inverse U-shaped relationship. In addition, for the value of travel time reliability, the findings
indicated a relative dampening effect for longer trips.
These findings are suggestive, but future research using more advanced data sets and methods could yield
significantly different results. Among the needed improvement that the SHRP2 study identified is more
comprehensive and accurate measurement of travel time reliability. The main challenge is conducting
the measurement on a trip origin-destination basis rather than for individual highway links. The study
noted that measurement on this origin-destination basis is still in its infancy and its own method to be
only a “crude surrogate” for real-world travel time variation. In particular, its method cannot fully address
nonrecurrent sources of congestion (like traffic incidents). There is also a need for research that can
empirically distinguish the effect of congestion on the value of time (the stress factor) from the value of travel
time reliability.
A current SHRP2 Project L04, Incorporating Reliability Performance Measures in Operations and Planning
Modeling Tools, should help resolve a number of the outstanding issues, including how to measure
reliability. Although the study for SHRP2 Project C04 found that the standard deviation of travel time
worked best in its models, other research has argued both on conceptual and model-performance grounds
for alternative measures such as buffer time (the difference between the median and an upper percentile
travel time, commonly the 95th percentile).
Valuation of Travel Time for Freight
In a recent critique of the benefit-cost analysis used for a range of potential transportation improvement
projects in the San Francisco Bay region, the Reason Foundation faulted as unrealistically low the values
assumed for truck travel time savings. These analyses, which were conducted by the region’s Metropolitan
Planning Commission, used the values of travel time in the HERS model. Estimation of these values in


D-10 Appendices                                                                                      FHWA002559
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 277 of 534          PageID 2837

   HERS is based on the resource cost approach described in Appendix A. The resource cost per hour of truck
   travel estimated for each cost component:
    Truck labor (the crew, usually just a driver)
    Vehicle capital cost (interest and time-related depreciation)
    Inventory cost of the truck cargo in transit.
   Estimation of the labor cost component, based on average hourly cost and the average crew size, is relatively
   straightforward. In the vehicle capital cost, the estimate of time-related depreciation component may contain
   a fair amount of error, though it is unclear in which direction. The estimation procedure derives time-related
   depreciation as a residual after netting out the portion of depreciation that is mileage-related. Current and
   planned research to improve the HERS equations for vehicle operating cost should lead to significantly
   improved estimates of mileage-related depreciation and hence of time-related depreciation as well. The
   inventory cost of the freight in transit, calculated from the average value of the cargo and the interest rate,
   is likely a conservative allowance for the freight time cost. It does not include the costs of damage in transit
   from spoilage and could significantly understate the time cost for goods that cannot be stockpiled at the
   destination (e.g., custom orders).
   In gauging the potential for error in the HERS values of truck travel time, one must consider the relative
   magnitudes of each component. Labor cost is the component that can be estimated with the most
   confidence and is also for the largest: for five-axle combination trucks, for example, it amounts to $23.34 per
   hour, or about three-fourths of the overall value of $31.44 per hour. Although the other components contain
   more scope for error, the errors would have to be substantial to translate into large errors overall.
   So how large could the errors in the nonlabor components be? This question is somewhat difficult to answer
   from available evidence. For the time cost of freight, an alternative to the inventory interest cost calculation
   is to derive an estimate from stated preference studies that ask shippers about their preferences among
   hypothetical shipping alternatives. The association of Australian and New Zealand road transport and traffic
   authorities, AUSTROADS, incorporated such estimates into its 2010 guidance on values of truck travel time
   for use in benefit-cost analysis. The time cost of freight is a far larger component of these values than of those
   used in HERS. For five-axle tractor-trailer combinations, for example, AUSTROADS set the cost of freight
   per vehicle-hour at what was worth, in U.S. dollars, $16.13 for nonurban shipments and $31.79 for urban
   shipments, compared with $22.69 for the cost per driver-hour. (In 2010, the Australian dollar averaged
   $0.92 in U.S. dollars.) In comparison, for the same class of truck, HERS sets the time cost of freight at only
   $0.77 per hour versus a cost per driver-hour of $22.98.
   Although this comparison might seem to suggest that HERS greatly understates the time cost of freight,
   the above-discussed limitations of stated preference analysis significantly limit the confidence that can be
   placed in the AUSTROADS estimates. Moreover, the authors of the stated preference analysis on which
   AUSTROADS drew describe their effort as a “first basis” for further research, and noted the need for larger
   samples for more statistical precision.
   Other possible approaches to valuing truck travel time savings are stated or revealed preference analysis of
   truck carrier choices or application of logistic optimization models. The analysis of carrier choices usually
   takes the form of stated preference analysis. The sample of carriers providing the data for these analyses tends
   to be small relative to requirements for valid statistical inferences and may not be representative. Resulting
   estimates of the value of truck travel time savings can be strikingly large—for example, the NCHRP Report
   431 estimated that carriers on average value an hour of transit saved between $144.22 and $192.83, and
   an hour lateness avoided at $371.33. However, the report itself described the findings as statistically weak.
   The Reason Foundation critique of the Metropolitan Planning Commission’s analysis cited evidence from a
   recent academic study (Assessing the Value of Delay to Truckers and Carriers, Q. Miao, B.X.Wang, and T.M.


                                                                          Crosscutting InvestmentFHWA002560
                                                                                                  Analysis Issues   D-11
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24       Page 278 of 534         PageID 2838

Adams, University Transportation Center for Mobility, July 2011, prepared for U.S. DOT Research and
Innovative Technology Administration) that used both stated preference analysis and logistic optimization
modeling to estimate values of truck time savings. The FHWA will be reviewing the results and methodology
of this study more closely as part of a broader literature review. From an initial review, it does not appear
that the stated preference analysis yields values much out of line with those in HERS. The optimization
modeling yields higher values, but is based on illustrative data (commercial sensitivity makes actual data hard
to obtain) for one particular metropolitan area (Houston).
Overall, the values of truck travel time in HERS would seem to be most reasonable that can be derived from
available evidence. Given the limitations of the alternative approaches, the resource cost approach taken in
HERS is preferable, particularly considering that the labor component of the value of truck travel time is
likely the largest and can be estimated with reasonable confidence. The FHWA will monitor and assess new
evidence that becomes available, although enhancements to the truck value of time will not necessarily rank
among the highest priorities for HERS model development. Because traffic on Federal-aid highways consists
preponderantly of light-duty vehicles, even allowing for trucks having a higher value of time, the results of
HERS analyses may not be particularly sensitive to adjustments to the value of truck travel time.
Potential Improvements to HERS Valuation of Travel Time
In its program for HERS model development, the FHWA will carefully monitor the progress in research
on travel time and reliability. Advances in computer and data collection technologies can be expected to
contribute significantly to this progress. In particular, the developing global positioning system/probe
vehicles and other distributed wireless technologies will facilitate collection of data on actual travel times and
speeds on routes between origins and destinations. These data will allow measurement of travel reliability
over entire trips, which matters far more to travelers than reliability on particular links traversed during their
trips. (A particular link could have travel times that are unpredictable day-to-day, but deviations from what
is normal could average out over the many links traversed in a trip, making the entire trip time relatively
predictable.) For this reason, the SHRP2 study focused on trip reliability, as will most future research on the
value of travel time and reliability.
The focus on trip reliability will create challenges in drawing on the results of such research to enhance the
HERS model. HERS estimates travel time for the individual highway sections in the HPMS sample, and
with some refinement could also estimate travel time reliability. On the other hand, since HERS is not a
network model, it cannot perform such estimation for trips by origin and destination. Rough adjustments
around this limitation may be possible, however, as is already done in the model’s s treatment of induced
demand (which makes rough allowance for route diversion).
The non-network nature of HERS is also an obstacle to differentiating values of travel time by trip distance.
(For this reason, the model does not incorporate U.S. DOT guidance’s recommendation to value personal
travel time more highly when it is intercity rather than local.) However, additional evidence on the effect of
trip distance could aid the interpretation of the model’s results, particularly by highway functional class. (For
example, long-distance trips likely form a particularly high share of traffic on rural Interstates.)
Future editions of the C&P report may include new or modified sensitivity tests regarding the value of
travel time savings. One option would be to differentiate values of travel time by geography. The results
from SHRP2 Project L04 confirm the strong effect of income on the value of travel time that many other
studies have found. It is also known that incomes vary geographically and are typically higher in urban
than in rural areas. HERS recognizes that highway improvement costs are higher in urban than rural areas,
and to do likewise for the value of travel time would make for greater consistency. For growth in the value
of travel time, modified sensitivity tests will eventually be needed to address future changes in technology.
Driverless cars, for example, could reduce substantially the value of travel time savings by allowing travelers
to undertake other tasks, including work, while in their vehicles.

D-12 Appendices                                                                                     FHWA002561
Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24       Page 279 of 534          PageID 2839

   Construction Costs
   Allowing construction costs to change relative to consumer prices is another potential refinement for future
   C&P report modeling. In the Chapter 9 supplemental analysis where the timing of investment is driven by
   benefit-cost ratios, spending can ramp up dramatically toward the start of the analysis period. At the highest
   overall level of investment considered, an average of $86.9 billion per year over 20 years, 41.2 percent of the
   20-year investment total would occur within the first funding period, 2011 through 2015. That means that
   annual spending during those first five years would average $143.2 billion, about 2.5 times as much as the
   $56.4 billion actually spent in the 2010 base year.
   In reality, a spending increase of this scale and speed would likely drive up prices for highway construction
   work relative to consumer prices. Even when unemployment rates are high, as at present, such increases in
   demand for highway construction could run up against short-run constraints on the supply of skilled labor
   and other specialized resources. At present, the looming wave of baby boomer retirements and the demand
   for American engineering expertise being generated by the infrastructure boom in developing countries are
   among the factors that could create shortages in the supply of skilled labor for U.S. highway construction
   projects, if demand for such labor increases substantially. To the extent that some of the spending levels
   considered in this report’s modeling would run up against supply-side constraints, they would lead to
   higher costs for highway construction projects, contrary to the modeling assumption that these costs remain
   constant. In this respect, the projections for highway conditions and performance at relatively high levels of
   spending are overly optimistic.
   Even without major demand-side pressures, future rates of inflation could differ significantly between
   industries engaged in transportation infrastructure construction industries and the economy generally. A
   forecasting exercise would need to consider the input cost structure of these industries, the expected rates
   of input cost inflation, and the likely rate of industry productivity growth. The industry has also been
   characterized as relatively energy-intensive; together with the U.S. Energy Information Administration
   projections for sharp increases in energy prices—relative to the consumer price index, a 45 percent increase
   between 2010 and 2030—this could suggest future upward pressures on the industry’s output inflation rate
   relative to general inflation.
   The industry’s future productivity growth relative to the rest of the economy is also an important
   determinant of its relative inflation rate. An example of such growth is the significant advances in recent
   years in the development of long-life asphalt and concrete pavements. Common practice in forecasting
   industry growth combines reliance on expert assessments of future technology prospects with extrapolations
   from estimates of past rates of productivity growth. For the construction sector, however, the measurement
   of productivity growth is often made challenging by the lack of adequate price indices for the sector’s
   output. For highway construction prices, the changeover from using the FHWA Bid Price Index to using
   its successor, the National Highway Construction Cost Index, has created some uncertainty about the
   rate at which prices increased in the recent past, as was discussed in Chapter 10 of the 2010 C&P Report.
   Moreover, neither of these indices adequately reflects the decreases in quality-adjusted prices that result from
   technological advances such as the above-mentioned development of new construction techniques that make
   pavements longer-lived. For transit investment, matters are still worse: the transit industry does not even
   have a price index suitable for inflating historical costs to current or future levels. TERM’s needs estimates
   and those of the transit industry in general would clearly benefit from the availability of a transit-specific
   capital cost index.
   Such problems with the price indices hinder the measurement of past real growth in industry output,
   and hence of past productivity trends. Nevertheless, the prospects for future productivity growth in
   transportation infrastructure construction warrants consideration in the preparation of future C&P
   reports as part of an analysis of how construction prices are likely to change relative to consumer prices.


                                                                         Crosscutting InvestmentFHWA002562
                                                                                                 Analysis Issues   D-13
   Case 5:23-cv-00304-H           Document 15-18          Filed 01/31/24        Page 280 of 534         PageID 2840

The FHWA has initiated a scoping study to investigate possible approaches for performing such analysis.
Among these approaches are econometric modeling (practiced in some States) and simulation with national
economic models. The Global Insight model, for example, yielded forecasts of highway construction costs
that indicated percentage increases between 2010 and 2016 above most forecasts of Consumer Price Index
inflation. Another model that might be used is the United States Applied General Equilibrium (USAGE)
model, which FHWA will be using to estimate economic impacts of changes in overall highway investment
(as discussed later in this Appendix).

Travel Demand
For highways as well as transit systems, the model-based projections presented in Part II of this report are
sensitive to variations in assumptions about future travel demand. The assumptions in the current versions of
the models have been described in Chapter 7 for HERS and Chapter 8 for TERM. NBIAS is less sensitive to
travel demand than the other two models.
Highway VMT Forecasts
The HERS model uses as a baseline the section-level forecast of VMT in the HPMS sample. FHWA has
recently initiated a study to investigate the forecasting procedures being used by the States, on which HPMS
Field Manual provides only general guidance. The manual requires a forecast for each sampled section,
“which may cover a period of 18 to 25 year periods from the data year of the submittal.” On choice of
methodology, the manual allows wide latitude ranging from projections of existing trends to forecasts from
travel demand models. Based on the findings about current practice, the study underway will assess options
for changing the guidance and the HERS model assumptions. The goals of recommended changes will be
increases in forecasting accuracy and consistency among forecasts or between them and the HERS model
assumptions.
The procedure in HERS for adjusting the baseline forecasts assumes values for two types of demand
elasticities: general and route diversion. Conceptually, a general elasticity describes a relationship at a system
level and measures both VMT and average cost per VMT for an entire highway network. The modeling
in this report assumed the general elasticity to have a long-run value of -0.8, meaning that a 1.0-percent
reduction in travel cost systemwide would generate approximately 0.8 percent of additional VMT
systemwide in the long run. For short-run responses, the model assumes a general elasticity of -0.4. These
values are somewhat lower than those originally assumed based on review of related research conducted over
a decade ago. The values were reduced starting with the 2006 C&P Report because some of the more recent
research at the time seemed to point toward lower values.
As the first phase of a study to enhance the HERS treatment of induced demand, FHWA undertook an
effort to re-estimate general elasticity based on a full review of relevant evidence. The review was completed
in 2012 but too late to adjust the demand in light of its findings, which pointed toward elasticities close to
those originally assumed: -0.6 for the short run and -1.2 for the long run. Some of the evidence reviewed
came from models in which demand for travel depended on household income as well as the cost of travel.
The effect of household income was found to be positive; as noted in Chapter 10, HERS would need to
be modified to reflect this effect because it currently treats growth in travel time costs related to growth in
household income in the same manner as it would an increase in travel time cost resulting from increased
congestion, operating through the elasticity mechanism in HERS to reduce travel demand. The second phase
of the study on induced demand will consider ways to deal with this inconsistency was well as the problems
in modeling induced demand within a non-network model. Appendix D of the 2010 C&P Report described
in detail the current representation of induced demand in HERS.




D-14 Appendices                                                                                      FHWA002563
Case 5:23-cv-00304-H        Document 15-18         Filed 01/31/24       Page 281 of 534         PageID 2841

   Transit Ridership Growth Forecasts
   For all but the 2010 editions of this report, TERM’s estimates of the investment expansion needs for transit
   were founded solely on the rate of growth in transit demand (passenger miles traveled [PMT]) as projected
   by the Nation’s Metropolitan Planning Organizations (MPOs). Observers have always expressed concern
   regarding this use of the MPO forecasts to generate unconstrained expansion needs estimates because these
   PMT growth projections are themselves based on financially constrained travel demand models (i.e., MPO
   PMT growth projections make assumptions regarding the level of potential future funding for transit capital
   improvements, including how those funds will be distributed between various modes and projects, with
   subsequent impacts on the rate of growth in transit ridership within each urbanized area). Hence, when used
   by TERM, the MPO growth forecasts effectively represent constrained PMT growth projections that are
   used to project unconstrained transit capital expansion needs.
   As in the 2010 edition, this edition of the C&P report has addressed this issue by labeling expansion
   needs based on MPO projections as a “Low Growth” scenario and by also introducing a “High Growth”
   scenario based for each urbanized area on its historical average rate of growth in PMT, which is roughly
   60 percent higher than the low, MPO-projected rates. Future editions of the C&P report might consider
   other approaches to projecting PMT growth for assessing future transit capital expansion needs. Additional
   understanding of the factors that determine demand for transit services is needed.


                     Productivity and Economic Development
   A better understanding of how transportation investments affect the economy continues to be a priority for
   FHWA research. MAP-21 emphasizes the importance of transportation to improve economic efficiency.
   It requires the U.S. DOT to establish a national freight network and develop a national freight policy that
   will improve the condition and performance of the national freight network to provide the foundation for
   the United States to compete in the global economy, with goals to improve economic efficiency. This would
   require FHWA to develop performance measures that track freight movement and economic activity.
   In the 2010 C&P Report, Appendix D discussed a developing shift in FHWA’s approach to modeling
   the national economic impacts of highway investment. Earlier econometric studies of productivity gains
   from highway investment yielded estimates that were unstable with respect to reasonable changes in model
   specification or sample period. One possible explanation of this problem is that the marginal returns from
   additional investment have declined over the years as the highway network has expanded, to the point where
   they have become difficult to econometrically decipher and pin down.
   An alternative approach that is now being explored is simulation with national economic models drawing
   on evidence from benefit-cost analyses. After analyzing the capabilities of various macroeconomic models
   (econometric, input-output, and computable general equilibrium), the USAGE model has been selected for
   further testing and development. USAGE is a 500-industry dynamic computable general equilibrium model
   of the U.S. economy developed at Monash University in collaboration with the U.S. International Trade
   Commission. It was the only model that satisfied all of the following criteria important for estimating the
   economic effects of transportation investments:
    The freight-carrying modes are represented as separate industries, and substitution between modes can be
     represented.
    The model can represent a change in the productivity of each freight mode through a change in the
     highway (or other modal) capital stock input it utilizes, or in the technical parameters defining the
     productivity of the industry. Further, changes in prices of the freight services influence demand for those
     services, consistent with economic theory.



                                                                       Crosscutting InvestmentFHWA002564
                                                                                               Analysis Issues   D-15
  Case 5:23-cv-00304-H           Document 15-18         Filed 01/31/24       Page 282 of 534        PageID 2842

 The model allows for prices and demand to adjust in response to changes in taxation policy (primarily
    fuel and income taxes).
 The model can account for short-term Keynesian effects of government spending under the presence of
    slack resources (i.e., stimulus effects).
The USAGE model will be run using the outputs of the HERS model as its inputs to estimate the economy-
wide impacts of increased investment in transportation infrastructure, as well as other transportation
policy scenarios. In contrast with this focus on national-level impacts, other research has been investigating
the impacts of highway improvements on State, regional, or local economies—for example, the SHRP2
Projects C03 (Interactions between Transportation Capacity, Economic Systems, and Land Use merged
with Integrating Economic Considerations Project Development) and the follow-on SHRP2 project C11.
Although the focus of such research is not directly related to the HERS model, the results would be useful
for other modeling, possibly including application of the State-level version of HERS, HERS-ST, which is
maintained by FHWA.
Another research study looked at the relationship between transportation investments and the economy.
Historically, the growth in VMT has mirrored the growth in the economy, suggesting a strong correlation
between the two. A literature search was conducted to find the current state of knowledge on the relationship
between growth in Gross Domestic Product (GDP) and VMT. Current literature on this subject is limited
and the evidence is inconclusive on the direction or the nature of this relationship. Understanding how
changes in VMT affect GDP is important because some MPOs look to reduce VMT as a way to reduce the
externalities of vehicle use including greenhouse gas (GHG) emissions, pollution, and roadway congestion.
Alternatively, policies to attain lower GHG emissions could be achieved through the use of alternative fuel
or technologies to improve fuel efficiency, and congestion reduction goals could be achieved by means other
than reducing total VMT. Knowing how changes in VMT affect GDP could influence transportation policy
decisions about congestion and GHG emissions.




D-16 Appendices                                                                                  FHWA002565
Case 5:23-cv-00304-H   Document 15-18   Filed 01/31/24   Page 283 of 534     PageID 2843




A Performance-Based Approach to
Addressing Greenhouse Gas Emissions
through Transportation Planning




                                                                           FHWA002566
Case 5:23-cv-00304-H     Document 15-18           Filed 01/31/24        Page 284 of 534         PageID 2844




                                     Quality Assurance Statement

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                                                                                              FHWA002567
Case 5:23-cv-00304-H   Document 15-18    Filed 01/31/24   Page 285 of 534     PageID 2845




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Case 5:23-cv-00304-H             Document 15-18             Filed 01/31/24          Page 286 of 534           PageID 2846



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  ICF International, Inc.
  9300 Lee Highway
  Fairfax, VA 22031
                                                                                   11. Contract or Grant No.
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Case 5:23-cv-00304-H        Document 15-18          Filed 01/31/24        Page 287 of 534      PageID 2847



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                                                                                             FHWA002570
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through288  of 534 Planning
                                                                                Transportation PageID 2848




    Contents
    Forward ............................................................................................................................................ iii

         Why reduce greenhouse gas emissions? .............................................................................................. iii

         What greenhouse gases are produced by transportation? .................................................................. iv

         How do transportation agencies reduce emissions? ............................................................................. v

    1. Introduction ................................................................................................................................1

         Background ............................................................................................................................................ 1

         Handbook Purpose ................................................................................................................................. 2

         Handbook Organization.......................................................................................................................... 2

    2. What is Performance-based Planning and Programming? .............................................................4

    3. Key Considerations for Addressing GHGs in a Performance-based Approach..................................7

         Key Attributes of GHG Emissions ........................................................................................................... 7

                  GHG Emissions are Global, Not Local ........................................................................................... 7

                  GHG Emissions are Cumulative .................................................................................................... 7

                  Exogenous Factors Significantly Impact Transportation-related GHG Emissions ........................ 8

                  GHG Emissions are Not Directly Measured .................................................................................. 9

         Policy Implications ................................................................................................................................ 10

    4. Establishing Goals and Objectives ............................................................................................... 12

         State and Regional Climate Change Mitigation Goals and Policies ...................................................... 12

         Supporting Related Community Outcomes.......................................................................................... 13

         National Environmental Sustainability Goal......................................................................................... 15

    5. Selecting Greenhouse Gas Performance Measures ...................................................................... 16

         Key Issues in Defining a GHG Performance Measure ........................................................................... 16

                  Which Emissions are Measured ................................................................................................. 16

                  How Emissions are Measured .................................................................................................... 19

                  How Emissions are Expressed .................................................................................................... 21

         Examples of GHG Emissions Metrics .................................................................................................... 22




                                                                                                                                              FHWA002571
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through289  of 534 Planning
                                                                                Transportation PageID 2849



         Other Supporting Measures ................................................................................................................. 25

    6. Analyzing Trends and Setting Targets ......................................................................................... 27

         Developing a Baseline: Looking Back and Looking Ahead .................................................................... 27

                  Considerations for Developing a Historic Baseline GHG Inventory ............................................ 28

                  Considerations for Developing a Business-as-Usual GHG Forecast ........................................... 29

                  Key Tools and Methods to Consider ........................................................................................... 30

         Identifying Desired Levels of GHG Reduction ...................................................................................... 33

         Choosing a Timeframe for Analysis ...................................................................................................... 35

    7. Identifying Strategies, Analyzing Alternatives, and Developing Investment
       Priorities .................................................................................................................................... 36

         Approaches for Using GHG Performance Information in Planning ...................................................... 36

                  Analyze GHG Performance Together with a Range of Other Performance Measures within
                         LRTP Development ........................................................................................................ 36

                  Conduct a Focused Analysis of GHG Reduction Strategies that Supports the LRTP .................. 36

         Identifying the Most Appropriate GHG Reduction Strategies .............................................................. 39

                  VMT Reductions - Light-duty Vehicle Strategies ........................................................................ 39

                  Vehicle/Systems Operations Strategies ..................................................................................... 40

                  Freight Strategies........................................................................................................................ 41

                  Fuel Efficient Vehicle Technologies and Alternative Fuels ......................................................... 42

         Developing an Investment Plan: Analyzing GHG Emissions to Inform Investments and
                    Policy Priorities ................................................................................................................. 42

         Assessing Tradeoffs and Understanding Co-benefits ........................................................................... 44

         Prioritizing Projects for Funding ........................................................................................................... 45

    8. Monitoring, Evaluating, and Reporting on GHG Performance ...................................................... 47

         Monitoring GHG Emissions Performance ............................................................................................. 47

         Evaluating Performance ....................................................................................................................... 47

                  System-level Evaluation.............................................................................................................. 48

                  Project or Program-level Analysis............................................................................................... 48

         Reporting and Communicating Performance....................................................................................... 54



                                                                                                                                           FHWA002572
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through290  of 534 Planning
                                                                                Transportation PageID 2850



    9. Relevant Resources .................................................................................................................... 55

         Performance-based Planning and Programming References .............................................................. 55

         Integrating Climate Change Considerations and Analysis into Planning .............................................. 56




                                                                                                                               FHWA002573
Case 5:23-cv-00304-H   Document 15-18    Filed 01/31/24   Page 291 of 534     PageID 2851




                                        blank
                                            page




                                                                            FHWA002574
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through292  of 534 Planning
                                                                                Transportation PageID 2852




    Acronyms and Abbreviations
    AASHTO – American Association of State Highway Transportation Officials

    AB 32 – California Assembly Bill 32

    AR5 – Fifth Assessment Report

    ARC – Atlanta Regional Commission

    Caltrans – California Department of Transportation

    CARB/ARB – California Air Resources Board

    CH4 – Methane

    CO2 – Carbon Dioxide

    CO2e – Carbon Dioxide Equivalent

    DOT – Department of Transportation

    DRCOG – Denver Regional Council of Governments

    DVRPC – Delaware Valley Regional Planning Commission

    EERPAT – Energy and Emissions Reduction Policy Analysis Tool

    EMFAC – California’s Emissions Factors Model

    EPA – Environmental Protection Agency

    GBNRTC – Greater Buffalo Niagara Regional Transportation Commission

    GHG – Greenhouse Gas

    GTC – Genesee Transportation Council

    GWP – Global Warming Potential

    HFCs – Hydrofluorocarbons

    HPMS – Highway Performance Monitoring System

    IPCC – Intergovernmental Panel on Climate Change

    LCDC – Land Conservation Development Commission

    LRTP – Long Range Transportation Plan

    MAP -21 – Moving Ahead for Progress in the 21st Century

    MassDOT – Massachusetts Department of Transportation


                                                         i
                                                                                         FHWA002575
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through293  of 534 Planning
                                                                                Transportation PageID 2853



    MDE – Maryland Department of Environment

    MOVES – Motor Vehicle Emission Simulator Model

    MPO – Metropolitan Planning Organization

    MTC – Metropolitan Transportation Commission

    N2O – Nitrous Oxide

    NAAQS – National Ambient Air Quality Standards

    NCTCOG – North Central Texas Council of Governments

    NJTPA – North Jersey Transportation Planning Authority

    NYSDOT – New York State Department of Transportation

    PBPP – Performance-based Planning and Programming

    PSRC – Puget Sound Regional Council

    RTAC – Regional Targets Advisory Committee

    SACOG – Sacramento Area Council of Governments

    SB 375 – California Senate Bill 375

    SCS – Sustainable Communities Strategy

    SHSP – Strategic Highway Safety Plan

    SIT – State Inventory Tool

    STIP – Statewide Transportation Improvement Program

    TDM – Transportation Demand Management

    TIP – Transportation Improvement Program

    TPB – Transportation Planning Board

    TRB – Transportation Research Board

    VMT – Vehicle Miles Traveled




                                                      ii
                                                                                         FHWA002576
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through294  of 534 Planning
                                                                                Transportation PageID 2854




    Forward
    Why reduce greenhouse gas emissions?
    Climate models predict that the global climate will shift in a number of ways over the next century in
    response to continued emissions of greenhouse gases (GHGs). According to the Fifth Assessment Report
    (AR5) of the Intergovernmental Panel on Climate Change (IPCC), global mean surface temperature is
    likely to rise by 2.0°F to 8.6°F (1.1°C to 4.8°C) by 2100, based on different scenarios in which human-
    produced GHGs are either constrained by mid-century or continue to rise. As the ocean warms and the
    melting of glaciers and ice sheets accelerates, we are likely to see global average sea levels higher by 12
    to 32 inches.1 Rainfall patterns are likely to change, with some parts of the world becoming wetter and
    experiencing more intense and frequent extreme precipitation events, and other parts becoming hotter
    and drier. The frequency and duration of heat waves is also very likely to increase. Climate changes are
    already clearly observable over the last century based on direct measurements and remote sensing from
    satellites, and since the 1950s, many of the observed changes are unprecedented over decades to
    millennia. During the 20th century, GHG concentrations in the atmosphere have increased, the oceans
    have warmed, global sea levels have risen about 7 to 8 inches, and global average temperatures have
    increased by about 1.4°F. The IPCC has concluded that “[w]arming of the climate system is unequivocal,
    and since the 1950s, many of the observed changes are unprecedented over decades to millennia.”2

    Most climate scientists now agree that increases in global concentrations of GHGs, largely attributable
    to humans, are the predominant cause of climate change.3 Human activities, such as driving cars,
    producing and consuming energy, and clearing forests, are significant contributors to GHG emissions,
    which are emitted into the atmosphere at a faster rate than they are absorbed back into the earth’s land
    and water masses. The principal source of GHG emissions from human activities is the combustion of
    fossil based fuels, including oil, coal, and natural gas.

    Climate change may have potentially catastrophic effects on both the natural and human environments
    as it disrupts ecosystems and threatens buildings, infrastructure, and human health. Expected shifts in




    1
      IPCC, Summary for Policymakers. In: Climate Change 2013: The Physical Science Basis. Contribution of Working Group I to the
      Fifth Assessment Report of the Intergovernmental Panel on Climate Change [Stocker, T.F., D. Quin, G.-K. Plattner, M. Tignor,
      S.K. Allen, J. Boschung, A. Nauels, Y. Xia, V. Bex and P.M. Midgley (eds.)]. Cambridge University Press, Cambridge, United
      Kingdom and New York, NY, USA. Climate effects are described for scenarios RCP4.5, RCP 6.0, and RCP 8.5
    2
      Ibid.
    3
      IPCC, Summary for Policymakers. In: Climate Change 2007: The Physical Science Basis. Contribution of Working
      Group I to the Fourth Assessment Report of the Intergovernmental Panel on Climate Change [Solomon, S., D. Qin, M.
      Manning, Z. Chen, M. Marquis, K.B. Averyt, M.Tignor and H.L. Miller (eds.)]. Cambridge University Press, Cambridge, United
      Kingdom and New York, NY, USA. Also, supported by the IPCC Fifth Assessment Report.




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                                                                                                                   FHWA002577
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through295  of 534 Planning
                                                                                Transportation PageID 2855



    climate may reduce crop yields, increase the risk of invasive species, exacerbate drought conditions, and
    threaten endangered species.4

    The built environment is also at risk. Human settlements in coastal and low-lying areas are particularly
    vulnerable to changes in sea level and to storm and precipitation events. These areas will almost
    certainly be at higher risk from flooding as the climate changes. Transportation infrastructure in
    particular will be threatened by shifts in the global climate. Changes in temperatures, precipitation, and
    water levels threaten to strain asphalt roadways, railroads, airports, and shipping lanes beyond the
    design conditions they were built to withstand.

    According to the IPCC, limiting climate change will require substantial and sustained reductions of GHG
    emissions. Global GHG emissions must be reduced to 50 to 85 percent below year 2000 levels by 2050
    to limit warming to 2.0°C to 2.4°C (3.6°F to 4.3°F).5 Limiting global warming to approximately 2.0° C is
    often considered a level that will minimize many of the worst effects of climate change. An increasing
    number of nongovernmental organizations and U.S. States are now calling for this scale of reduction in
    emissions. A short term target was identified by President Obama in 2009 when he made a pledge to
    reduce U.S. GHG emissions by roughly 17 percent below 2005 levels by 2020 if all major economies
    agreed to limit their emissions as well. This target was reaffirmed in the President’s Climate Action Plan
    in 2013.6

    What greenhouse gases are produced by transportation?
    GHGs are heat trapping gases that are released into
    the atmosphere from a number of sources. The                               Transportation Greenhouse Gases
    four main gases that comprise transportation GHGs
    are carbon dioxide (CO2), various
    hydrofluorocarbons (HFCs), nitrous oxide (N2O),
    and methane (CH4).

    CO2, CH4, and N2O are all emitted via the
    combustion of fuels, while HFCs are the result of
    leaks and end-of-life disposal from air conditioners
    used to cool people and/or freight. Carbon dioxide
    makes up the vast majority of transportation GHGs



    4
      U.S. EPA. 2013. Climate Change Impacts and Adapting to Climate Change. http://www.epa.gov/climatechange/impacts-
      adaptation/.
    5
      IPCC, Contribution of Working Group III to the Fourth Assessment Report of the Intergovernmental Panel on Climate Change,
      2007, B. Metz, O.R. Davidson, P.R. Bosch, R. Dave, L.A. Meyer (eds), Cambridge University Press, Cambridge, United Kingdom
      and New York, NY, USA.
    6
      The President’s Climate Action Plan. June 2013.
      http://www.whitehouse.gov/sites/default/files/image/president27sclimateactionplan.pdf.




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                                                                                                                 FHWA002578
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through296  of 534 Planning
                                                                                Transportation PageID 2856



    in the United States, at about 96 percent, weighted by 100-year global warming potential (GWP). CO2 is
    released into the atmosphere through burning fuels such as gasoline and diesel. HFCs are the second
    most important GHG from transportation comprising approximately three percent of GHGs measured in
    CO2 equivalent (CO2E). N2O comprises about one percent of GHGs and CH4 about a 0.1 percent.7

    How do transportation agencies reduce emissions?
    The transportation sector directly accounts for
                                                                 Transportation GHG Emissions by Source
    roughly 28 percent of total GHG emissions in
    the U.S. It is also a significant source of indirect
    emissions through the extraction and refining
    of fuel, the manufacture of vehicles, and the
    maintenance of supporting infrastructure. In
    2011, over 83 percent of direct transportation
    emissions came from on-road vehicles.
    Passenger cars and light-duty trucks (which
    include pick-up trucks and minivans) together
    make up the largest share of transportation
    GHG emissions at 61 percent (passenger cars
    at 43 percent and light-duty trucks at 18 percent). Medium and heavy-duty trucks, which are largely
    used in freight movement, made up 22 percent of transportation GHG emissions.8 Consequently,
    reducing transportation GHG emissions significantly will require reductions in emissions from on-road
    vehicles.

    Most analyses have shown that a suite of strategies is necessary to make significant reductions in GHG
    emissions from transportation sources. It is important that States and MPOs identify the key drivers of
    GHG emissions in their areas and then analyze potential GHG reduction strategies to assess potential
    effectiveness in their specific State or regional circumstances.

    Transportation GHG reductions can be achieved by implementing strategies in five broad categories:

           x    Vehicle efficiency,
           x    Low-carbon fuels,
           x    Reductions in Vehicle Miles Traveled (VMT),
           x    Vehicle/systems operations, and
           x    Construction/maintenance and agency operations.




    7
        U.S. Environmental Protection Agency, Inventory of U.S. Greenhouse Gas Emissions and Sinks: 1990-2011, 2013.
    8
        U.S. Environmental Protection Agency, Inventory of U.S. Greenhouse Gas Emissions and Sinks: 1990-2011, 2013.




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                                                                                                                  FHWA002579
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through297  of 534 Planning
                                                                                Transportation PageID 2857



    Vehicle and fuel standards are regulated at the national level, but States also play a role. For instance,
    State DOTs and MPOs can influence State policies and take other actions such as education, supporting
    low-carbon fuel planning scenarios, and reducing fuel use by public fleets. Agencies can also support
    truck stop electrification, and related strategies to reduce vehicle fuel use and promote use of
    alternative fuels.

    State Departments of Transportation (DOTs) and Metropolitan Planning Organizations (MPOs) can
    contribute to reductions in motor vehicle emissions through transportation system investments, such as
    multi-modal transportation options that reduce dependence on vehicle travel, and operational
    strategies and targeted capacity improvements to reduce recurring and non-recurring congestion. State
    and local governments can also implement a range of strategies, including those related to land use
    planning, incentives to purchase more energy efficient vehicles, or other pricing mechanisms. Moreover,
    agencies can reduce construction/maintenance-related emissions through policies and contracting
    requirements that include improving equipment fuel economy, using alternative equipment
    technologies and fuels, and using recycled and alternative materials, among others.

    The purpose of this handbook is to assist transportation agencies in their efforts to reduce GHG
    emissions by integrating GHG emissions into a performance-based planning and programming process.




                                                         vi
                                                                                                  FHWA002580
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through298  of 534 Planning
                                                                                Transportation PageID 2858
                                                             Introduction




    1. Introduction
    Background
    The Nation’s surface transportation system requires significant investment, yet most transportation
    agencies are operating with increasingly constrained financial resources. Within this environment, State
    Departments of Transportation (DOTs), metropolitan planning organizations (MPOs), transit providers,
    and other transportation agencies have increasingly been applying performance-based approaches to
    support investment decisionmaking and to prioritize investments. Performance-based planning and
    programming (PBPP) is the application of performance management principles to the investment
    decisionmaking process, using data and tools to make investment decisions based on their ability to lead
    to improved system performance outcomes.

    Because a performance-based decisionmaking approach is focused on ensuring that transportation
    investment decisions are made based on their ability to address transportation system and societal
    goals, PBPP is a cost effective way to make decisions in an environment of limited financial resources. A
    performance-based approach to investment decisions improves resource allocation since information
    about past and expected future system performance is used to inform the selection of strategies,
    projects, and programs. Enabled by improvements in data collection and analysis techniques,
    transportation agencies can utilize information on anticipated investment impacts to develop priorities
    for funding. The result is increased transparency by providing clearer documentation about the
    reasoning for specific transportation spending choices and the impacts of transportation investments.
    Such transparency can yield increased public understanding, trust, and involvement.

    As the prevalence of performance-based planning and programming grows, many States and regions
    across the country have also been recognizing the important role that transportation plays in climate
    change, and have begun to consider and/or implement strategies to reduce greenhouse gas (GHG)
    emissions. As of 2013, 32 States have developed Climate Change Action Plans, which identify policy
    recommendations to reduce GHGs.9

    States and regions also have begun to integrate GHG emissions considerations in transportation
    planning decisions. Some State departments of transportation (DOTs), including Maryland and Vermont,
    have developed climate action plans focused on transportation emissions reductions. Under California’s
    Senate Bill 375 (SB 375), the Sustainable Communities and Climate Protection Act of 2008, every MPO in
    the State is required to develop a sustainable communities strategy (SCS) that details its approach for
    meeting a regional GHG emission reduction target set by the State’s Air Resources Board (CARB). As a
    result of the differing analytical capabilities of different agencies, California’s MPOs have taken various


    9
        U.S. Environmental Protection Agency, State and Local Climate and Energy Program, Climate Climate Action Plan web page,
        http://www.epa.gov/statelocalclimate/state/state-examples/action-plans.html, accessed July 10, 2013.




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Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through299  of 534 Planning
                                                                                Transportation PageID 2859
                                                           Introduction




    analytical approaches to modeling transportation-related GHG emissions. New York State Department
    of Transportation has developed guidance for each of the MPOs in the State to analyze GHG emissions
    as part of the development of their long range transportation plans (LRTPs) and Transportation
    Improvement Programs (TIPs). MPOs have also begun to develop goals related to climate change and
    sustainability to help guide their plan development, and a number of MPOs have developed forecasts of
    transportation GHG emissions and analyses of potential GHG reduction strategies.10

    Moving Ahead for Progress in the 21st Century (MAP-21), signed into law in 2012, places increased
    emphasis on performance management within the Federal-aid highway program. The MAP-21
    establishes a set of national goals, including environmental sustainability.11 States and MPOs must
    provide for the establishment and use of a performance-based approach to transportation
    decisionmaking to support the national goals.12

    Handbook Purpose
    This handbook is intended to serve as a resource for State DOTs and MPOs interested in addressing GHG
    emissions through performance-based planning and programming (PBPP). It describes considerations
    for selecting relevant GHG performance measures, techniques for evaluating performance, and
    approaches for using performance information to support investment choices and enhance decision-
    making.

    This document builds on a wealth of related resources addressing PBPP, as well as resources focused on
    integrating GHG emissions considerations and related analysis in decisionmaking. (See Section 9 for
    references to many useful supporting documents.)

    Handbook Organization
    This Handbook is organized in the following sections, designed to answer key questions that
    transportation planners and other stakeholders may have about addressing GHG emissions within a
    PBPP approach:

         x   Section 2:    What is Performance-based Planning and Programming?
         x   Section 3:    Key Considerations for Addressing GHGs in a Performance-based Approach
         x   Section 4:    Establishing Goals and Objectives
         x   Section 5:    Selecting Greenhouse Gas Performance Measures
         x   Section 6:    Analyzing Trends and Setting Targets


    10
       For instance, the Atlanta Regional Commission (ARC), Atlanta’s MPO, performed a forecast of regional GHG emissions
       through the year 2030 under several policy and land use scenarios (Atlanta Regional Commission’s PLAN 2040 and associated
       documents. Available at: http://www.atlantaregional.com/plan2040/documents--tools).
    11
       23 U.S.C. 150(b).
    12
       23 U.S.C. 134(h)(2) and 135(d)(2).




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Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through300  of 534 Planning
                                                                                Transportation PageID 2860
                                                  Introduction




        x   Section 7: Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities
        x   Section 8: Monitoring, Evaluating, and Reporting on Performance
        x   Section 9: Relevant Resources




                                                       3
                                                                                               FHWA002583
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through301  of 534 Planning
                                                                                Transportation PageID 2861
                                    What is Performance-based Planning and Programming?




    2. What is Performance-based Planning and Programming?
    The emphasis on performance measurement and accountability is increasing not only in the
    transportation sector, but across all levels of government. In transportation, Performance-based
    Planning and Programming (PBPP) refers to the application of performance management principles
    within agencies’ planning and programming processes to achieve desired performance goals and
    outcomes for the multimodal transportation system.13 Linking planning and programming within a
    performance-based approach supports the selection, funding, and implementation of programs and
    projects to achieve desired outcomes. The figure below shows basic elements of a performance-based
    planning and programming process. It is important to note that the process is iterative, as investment
    decisionmaking is a continuous and cyclical process in which information from implemented projects
    helps to inform new cycles of investment decisions.

                                     Performance-Based Planning and Programming




    Source: Performance-Based Planning and Programming Guidebook (FHWA, 2013)

    PBPP starts with strategic direction (answering the question, “what do we want to achieve?”), and
    includes the development of goals and objectives, and associated performance measures. Performance
    measures play a critical role both in 1) informing investment decisions by serving as a basis for



    13
      Performance management is the practice of setting goals and objectives; it is an on-going process of selecting measures,
     setting targets, and using measures in decisionmaking to achieve desired performance outcomes; and reporting results. See
     http://www.fhwa.dot.gov/tpm/about/tpm.cfm for more information.




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Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through302  of 534 Planning
                                                                                Transportation PageID 2862
                               What is Performance-based Planning and Programming?




    comparing alternative investment strategies and policies and 2) tracking progress over time toward
    intended outcomes.

    Planning analysis (“How are we going to get there?”) relies upon data and analysis tools, along with
    public involvement and policy considerations, to develop investment priorities. Agencies identify trends,
    and directional outcomes or targets (specific levels of performance desired to be achieved within a
    certain timeframe) for each measure to provide a basis for comparing alternative sets of strategies.
    Scenario analysis may be used to compare alternative packages of strategies, to consider alternative
    funding levels, or to explore what level of funding would be required to achieve a certain level of
    performance. The result is a set of investment priorities that can be identified in the Long Range
    Transportation Plan (LRTP) and associated planning documents.

    Programming (“What will it take?”) involves the selection of specific investments to include in an agency
    capital plan and/or in a metropolitan or statewide Transportation Improvement Program (TIP or STIP) to
    support attainment of intended trends or targets. An agency may develop a mid-range (e.g., 10 year)
    investment plan, and develop project prioritization or selection criteria to select a program of projects.

    Implementation and evaluation (“How did we do?”) includes monitoring system performance (gathering
    information on actual conditions), evaluation (conducting analysis to understand to the effectiveness of
    implemented strategies), and reporting (communicating information about system performance and the
    effectiveness of plans and programs).

    PBPP involves a range of activities and products undertaken by a transportation agency, working
    together with other agencies, stakeholders, and the public, as part of a 3C (continuing, cooperative, and
    comprehensive) process. These activities include development of LRTPs, TIPs, and STIPs; other Federally-
    required plans and processes (such as Strategic Highway Safety Plans, Congestion Management
    Processes, and Asset Management Plans); and other efforts such as corridor, investment, or modal plans
    that support investment decisionmaking.

    FHWA, the American Association of State Highway and Transportation Officials (AASHTO) and the
    Transportation Research Board (TRB) have developed a number of resources on performance-based
    planning and programming in recent years, including Guidebooks, White Papers, and Findings from Peer
    Exchanges and other research activities. Many of these can be found at:
    http://www.fhwa.dot.gov/planning/performance_based_planning/resources/.

    While there is a significant amount of information available to practitioners on performance-based
    planning and programming in general, little has been written to help transportation agencies consider
    GHG reduction as part of this process. This guidebook can help to meet the needs of communities and
    practitioners interested in addressing GHGs through transportation planning. Within this approach,
    transportation agencies will typically take the following steps, discussed through sections of this
    document:



                                                        5
                                                                                                FHWA002585
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through303  of 534 Planning
                                                                                Transportation PageID 2863
                               What is Performance-based Planning and Programming?




        x   Identify how GHGs relate to key goals and objectives (Section 4).
        x   Identify and select a GHG performance measure or measures (Section 5) – This is a key issue,
            since the selection of a performance measure(s) will form a foundation for understanding
            baseline conditions and anticipated trends, establishing targets, analyzing alternative
            investment strategies, and ultimately for providing information that supports planning and
            project selection decisions.
        x   Analyze trends and set targets (Section 6) – Conduct planning analysis, including development of
            a baseline inventory and forecast of GHG emissions, and identify desired outcomes for GHG
            levels to be achieved.
        x   Analyze alternative investment and policy strategies, and make decisions about investment
            priorities that are incorporated into the LRTP. Develop an investment plan and program of
            projects for inclusion in the TIP or STIP, using GHG reduction as one factor in helping to prioritize
            projects for selection (Section 7).
        x   Monitor, evaluate, and report on progress toward achieving desired outcomes (Section 8).

    Integrating GHGs into PBPP does not mean that all projects will reduce GHG emissions, or that the
    selected set of investments and policies will be the alternative that minimizes GHG emissions. It should,
    however, provide an informed basis for investment decisionmaking to support environmental
    sustainability and allow a more rigorous consideration of both tradeoffs and co-benefits of GHG
    emissions reduction in relation to other goals.




                                                         6
                                                                                                   FHWA002586
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through304  of 534 Planning
                                                                                Transportation PageID 2864
                       Key Considerations for Addressing GHGs in a Performance-based Approach




    3. Key Considerations for Addressing GHGs in a Performance-
       based Approach
    Key Attributes of GHG Emissions
    Climate change is an issue of growing concern, and methods to assess and address the issue are evolving
    rapidly. Many States and MPOs have set aggressive GHG reduction targets and transportation agencies
    have a role to play in meeting this challenge. Increased interest from policy makers and planners at all
    levels of government demonstrates that there is growing awareness of the challenges of climate change.
    This section discusses four key attributes of GHG emissions that should be considered by agencies as
    they seek to address this issue in transportation planning and programming.

    GHG Emissions are Global, Not Local
    The severity of climate change is determined by the total concentration of GHG emissions in the earth’s
    atmosphere. Though scientists have broadly projected the level of global change that we can expect to
    see with different levels of emissions, it is less certain how this change will affect different areas of the
    globe. Moreover, the impacts experienced locally will not necessarily be in proportion with the amount
    of emissions that a city, metro area, or State produces. This means that the scope of emissions (in terms
    of the geographic area where emissions are generated, the source of the emissions) is a key concern to
    address when selecting GHG performance measures. It also means that GHG reduction efforts are often
    driven by the aim of increasing the collective impact of overlapping efforts at the local, State, national
    levels to reduce global emissions.

    GHG Emissions are Cumulative
    Unlike criteria pollutants, which stay in the atmosphere for a relatively limited time, many GHG
    emissions remain in the atmosphere for decades and even centuries. Even if human-produced GHG
    emissions were to dramatically decline, some climate change would occur over the coming years due to
    the increased concentration of emissions that is already in the atmosphere. This means that
    transportation agencies’ efforts to address GHG emissions often take place in the context of larger-scale
    and longer-term efforts to address climate change. It also means that the time horizon of a
    transportation plan will have a substantial effect on how different GHG reduction strategies perform
    under different measures. As we discuss below, transportation planning decisions typically have a much
    greater effect on GHG emissions over the long term than over the short term. Though the cumulative
    impact of emissions can be challenging to analyze and address in the context of performance
    measurement, it is important to consider when thinking about actions to achieve emissions reductions.
    It should be noted that while it is critical for agencies to plan for GHG reductions on a long time-scale,
    this should occur in conjunction with efforts to meet short term reduction targets as well which can




                                                          7
                                                                                                   FHWA002587
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through305  of 534 Planning
                                                                                Transportation PageID 2865
                           Key Considerations for Addressing GHGs in a Performance-based Approach




    make a down payment on GHG reductions. This can make the larger long term reductions required more
    manageable. Smaller reductions that are taken early will have cumulative impacts over time.

    Exogenous Factors Significantly Impact Transportation-related GHG Emissions
    In developing GHG reduction targets and in tracking progress, it is important to recognize the important
    role of exogenous factors – those not under the direct control of State and local agencies – including
    Federal policies in affecting transportation GHG emissions. Some key factors that affect GHG emissions
    include:

           x    Population and economic growth – Population and economic growth are key drivers of GHG
                emissions from on-road sources, and depending upon the performance measures used, their
                effects may outweigh those of transportation investments and policies. For instance, short-run
                economic conditions, such as a recession, may reduce commuting activity, and therefore drive
                down GHG emissions.
           x    Fuel prices – Fuel prices are largely driven by global market forces. They are highly variable in
                the short-term and highly uncertain in the long-term; yet they have important implications for
                GHG emissions. Low fuel prices may tend to encourage increased driving and use of less fuel
                efficient vehicles, and therefore increased GHG emissions, while high fuel prices may encourage
                the opposite.
           x    Clean vehicle and fuels policies and technologies – Vehicle technology improvements, driven by
                increasingly stringent motor vehicle emissions standards, have been the dominant source of
                reductions in vehicle emissions since the 1970s. Moving forward, Federal fuel economy
                standards will have a large effect on GHG emissions, as will market factors that affect the cost
                and availability of more efficient vehicles. In comparison with these policies and factors, States
                and regions generally have limited ability to require or incentivize consumers to use more
                efficient vehicles. It should be noted that California is different than other States in the legal
                authority it has to regulate vehicle technology and air emissions. To the extent that California
                adopts more stringent rules for vehicle technologies, other States may follow its lead by
                adopting its standards.

    Consequently, while transportation investments and strategies play an important role in addressing GHG
    emissions, other factors may have a larger absolute impact on emissions, particularly in the short-term.
    For example, in California, the Air Resources Board estimates that regional transportation and land use
    policies to meet GHG reduction targets will be responsible for about one-sixth of the GHG reductions
    associated with standards for light-duty vehicle efficiency and low carbon fuels through 2020.14
    However, the Board also emphasizes that transportation and land use planning will play a more central


    14
         California Air Resources Board, Greenhouse Gas Reductions from Ongoing, Adopted and Foreseeable Scoping Plan Measures,
         Available at: http://www.arb.ca.gov/cc/inventory/data/tables/reductions_from_scoping_plan_measures_2010-10-28.pdf.




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                                                                                                                FHWA002588
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through306  of 534 Planning
                                                                                Transportation PageID 2866
                         Key Considerations for Addressing GHGs in a Performance-based Approach




    role in reducing GHG emissions between 2020 and 2050 due to the long-term benefits of these
    strategies.15 A study by the National Research Council on the effects of compact development also noted
    that the benefits of compact development increase over time, illustrating on the one hand the longevity
    of the built environment and, on the other, the cumulative effect of land use changes.16,

    Many other transportation outcomes that are commonly measured in plans and programming
    documents are affected by exogenous factors. For instance, safety (traffic fatalities and injuries) is
    affected not only by roadway design and operations, but also by driver behavior and vehicle
    technologies. Similarly, traffic congestion is affected not only by investments in the transportation
    system but also by land use, fuel prices, and economic activities.

    As with these examples, a transportation agency may focus on GHG emissions as a key performance
    measure in its planning and programming -- even emissions that are beyond its direct control – because
    GHG emissions are directly related to an outcome with significant impacts on society, climate change.
    Moreover, the transportation planning process offers a forum to bring together the public, key partners,
    and stakeholders in developing coordinated solutions.

    GHG Emissions are Not Directly Measured
    Another challenge associated with using GHG emissions as a performance measure is that GHG
    emissions cannot be monitored in a literal sense, the way it is possible to monitor some other outcomes
    such as the number of fatal crashes or metrics related to pavement and bridge conditions. GHG
    emissions have to be modeled or calculated using emissions factors. This approach is not unique to
    GHGs, since estimation and modeling are typically conducted for some metrics, such as traffic
    congestion measures (e.g., hours of delay experience by travelers) and measures of accessibility to
    transit (e.g., share of households within ¼ mile of transit). However, it is important to recognize that the
    available tools and assumptions that transportation agencies make when estimating GHG emissions
    have important implications for the results.

    Fuel consumption can serve as a proxy for tailpipe GHG emissions, since fuel sales are tracked at the
    State level, and CO2 is emitted in direct proportion to fuel consumption, with differences in emissions
    rates based on different types of fuel (e.g., motor gasoline, diesel, compressed natural gas). In fact,
    State-level on-road GHG emissions have often been calculated based on fuel sales in multi-sector GHG


    15
       California Air Resources Board, Climate Change Proposed Scoping Plan, Appendix C: Sector Overviews and Emission
       Reduction Strategies, page C-80, available at: http://www.arb.ca.gov/cc/scopingplan/document/appendix1.pdf
    16
       National Research Council, Driving and the Built Environment: The Effects of Compact Development on Motorized Travel,
       Energy use, and CO2 Emissions. Washington, D.C.: Transportation Research Board Special Report 298, 2009. Available at
       http://cta.ornl.gov/cta/Publications/Reports/Reducing_GHG_from_transportation%5b1%5d.pdf. This study estimated CO2
       reductions of 1.3 to 11.0 percent compared to a baseline in 2050 due to more compact development. The broad range is
       based on different assumptions associated with the share of new and replacement development that is compact and the
       reductions in VMT in compact development areas.




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                                                                                                               FHWA002589
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through307  of 534 Planning
                                                                                Transportation PageID 2867
                             Key Considerations for Addressing GHGs in a Performance-based Approach




    inventories, since emissions of carbon dioxide (CO2), the primary GHG, are directly related to fuel
    consumption, and because fuel sales data are typically readily available. However, fuel sales may not
    correspond exactly with travel within a particular State, especially in instances where drivers commonly
    travel between States (e.g., New York, New Jersey, Connecticut). These boundary issues are particularly
    important when examining emissions in smaller geographies, such as metropolitan areas.17 In addition,
    non-road use of motor fuels means that there may be some discrepancies between fuel sold and fuel
    used by motor vehicles. In these cases, GHG emissions can be calculated by collecting data on vehicle
    miles traveled (VMT) and operating conditions and then using an emissions model, such as EPA’s Motor
    Vehicle Emission Simulator Model (MOVES ) – or California’s Emissions Factors (EMFAC) model – to
    estimate emissions.

    As a result, transportation agencies’ GHG analysis will likely be shaped by the tools and data that are
    available, the extent to which these tools and data capture different strategies that agencies may
    undertake to reduce emissions, and the need for consistency with the analytical methods used in
    evaluating GHG emissions under overlapping climate policies. Some States and MPOs have invested in
    creating new tools or enhancing models to expand the analytical capabilities available to analyze
    policies. For instance, Oregon DOT developed the GreenSTEP model to analyze a broad range of GHG
    reduction strategies that could not be addressed in traditional travel models.

    Policy Implications
    The four factors described above demonstrate that there is no single measure that “best” addresses
    GHG emissions within a PBPP approach, nor is there a single correct way to calculate a given measure.
    Instead, several different factors can collectively shape transportation agencies’ choices regarding GHG
    performance measures and how GHG emissions are integrated into decisionmaking, including:

           x    The GHG reduction strategies that are under consideration by transportation agencies;
           x    The geography and travel characteristics of the area under consideration (e.g., city,
                metropolitan area, or State);
           x    Consistency with other local, State, and national climate policies;
           x    The extent to which agencies collaborate with stakeholders to identify additional opportunities
                to reduce GHG emissions;
           x    The effect of Federal policies and other exogenous factors on GHG emissions;
           x    The time horizon of the planning process; and
           x    Available tools and data.




    17
         Road based VMT in small geography analyses can also have inherent errors if the GHG is related to the population or
         economy (per capita and per GDP metrics) and there are significant volumes of external trips or pass through traffic.




                                                                     10
                                                                                                                      FHWA002590
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through308  of 534 Planning
                                                                                Transportation PageID 2868
                      Key Considerations for Addressing GHGs in a Performance-based Approach




    It is important that transportation agencies understand how these factors affect their options when
    selecting a GHG performance measure(s), and understand the limitations associated with various
    approaches. In the following sections of this guidebook, we describe different choices that
    transportation agencies face when selecting GHG performance measures, as well as how the factors
    listed above can shape agencies’ options.




                                                       11
                                                                                               FHWA002591
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through309  of 534 Planning
                                                                                Transportation PageID 2869
                                                    Establishing Goals and Objectives




    4. Establishing Goals and Objectives
    Developing goals and objectives is a fundamental part of any successful planning effort, and this is
    especially true for performance-based planning and programming. Goals and objectives provide
    strategic direction for investment and policy decisions, and consequently play a critical role in guiding
    the selection of performance measures and investment priorities. Regional, State, and national goals
    associated with sustainability, climate change, and related community outcomes can be a primary
    motivation for including GHGs within a performance-based approach to transportation planning and
    programming. For a more detailed discussion of establishing goals and objectives in a performance-
    based planning and programming process, see the FHWA/FTA Performance Based Planning and
    Programming Guidebook.18
                                                               California’s Sustainable Communities and
                                                                     Climate Protection Act of 2008
    State and Regional Climate
                                                                           In 2006, California’s legislature passed, and the
    Change Mitigation Goals and                                            Governor signed, The Global Warming Solutions Act,
                                                                           Assembly Bill 32 (“AB 32”), which called on the State’s
    Policies                                                               Air Resources Board (ARB or CARB) to prepare and
                                                                           approve a plan for achieving ambitious and cost-
    Scientific evidence makes clear that the buildup of                    effective GHG emissions reductions, establish an
    greenhouse gases in the atmosphere is causing                          emission limit for 2020, adopt a regulation requiring
    the Earth's climate to change in ways that affect                      the mandatory reporting of GHG emissions, identify
    our weather, oceans, snow, ice, and ecosystems.                        “early action” measures that could be taken to reduce
                                                                           emissions, and establish a cap-and-trade program.
    Human activities contribute to climate change
                                                                           In 2008, the Legislature passed, and the Governor
    through the release of heat-trapping GHGs.
                                                                           signed, the Sustainable Communities and Climate
    Climate change has substantial impacts on our                          Protection Act, more commonly known as “SB 375,”
    transportation systems and on society as a whole.                      which called on the ARB to develop emission
    For example, warmer temperatures increase the                          reduction targets for cars and light trucks. The law
                                                                           also requires California’s MPOs to prepare Sustainable
    frequency, intensity, and duration of heat waves,
                                                                           Communities Strategies (SCSs) that demonstrate how
    which can pose health risks, particularly for young                    each region will meet these emission reduction
    children and the elderly. Rising sea levels threaten                   targets. SCS’s are land use and transportation plans
    coastal communities and ecosystems. An increase                        that are expected to address regional housing needs
                                                                           as well as more traditional GHG reduction
    in the frequency and intensity of extreme weather                      approaches. The SCSs under SB 375 must also meet all
    events, such as heat waves, droughts, and floods,                      the Federal requirements for a long range
    can harm transportation systems and cause costly                       transportation plan. The SCS components were added
                                                                           to existing Federal and State requirements. The bill
                                                                           aims to foster the implementation of “bottom-up”
                                                                           solutions for addressing GHG emissions.

    18
         While the terms goals and objectives are often used interchangeably, the PBPP guidebook defines a goal as a broad
         statement that described a desired end state, and an objective as a specific, measurable statement that supports
         achievement of a goal. An objective may address a focus area under a broad goal (e.g., an objective could address GHG
         reduction under a broad goal of sustainability), with the specific measure defined outside of the objective statement, or the
         objective could be defined specifically to include a measure and target (discussed further in the next two sections). See
         http://www.fhwa.dot.gov/planning/performance_based_planning/pbpp_guidebook/index.cfm.




                                                                      12
                                                                                                                       FHWA002592
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through310  of 534 Planning
                                                                                Transportation PageID 2870
                                                Establishing Goals and Objectives




    disruptions to society.19 According to the IPCC, global GHG emissions must be reduced to 50 to 85
    percent below year 2000 levels by 2050 to limit these adverse effects of global warming.20

    As noted earlier, thirty-two States and many regions have already developed climate action plans, and
    through those have identified transportation-related GHG emissions reduction as a desired outcome.
    Moreover, several States have passed laws or have had Executive Orders that call for GHG reduction.
    Although climate change action plans typically have not been integrated with transportation plans and
    programs, State and regional goals for GHG reduction may lead to a transportation planning goal or
    objective that addresses climate change. While in some cases State laws may influence the adoption and
    implementation of GHG goals and objectives, input from the community may also provide grassroots
    support for their adoption. For instance, the Delaware Valley Regional Planning Commission (PA-NJ) has
    set a specific target for reducing greenhouse gas emissions by 50% by 2035.21

    As an example within the transportation planning process, the Mid-America Regional Council, the MPO
    for the Kansas City metropolitan area, adopted its LRTP, called Transportation Outlook 2040, in June
    2010. An extensive public outreach process was utilized in the development of a regional vision
    statement and nine goals to serve as a foundation for the plan’s content, identification of performance
    measures, and project evaluation and prioritization. The selected goals include several that have been
    used in the past – system performance, system condition, safety and security, accessibility, and
    economic vitality – as well as new goal areas, including one focused on climate change/energy use. The
    selected climate change/energy use goal is to: “Decrease the use of fossil fuels through reduced travel
    demand, technology advancements and a transition to renewable energy sources.”22

    Supporting Related Community Outcomes
    Protecting and enhancing the natural environment is an end in and of itself, but it can also be a means
    to achieving other broad goals such as supporting sustainable land use patterns, encouraging walking
    and biking, increasing household incomes by reducing energy costs, and boosting employment through
    the implementation of investments in energy efficiency. A number of MPOs discuss climate change as an
    issue in their long range transportation plans, addressing various reasons to care about climate
    change.23 These include regional concerns about the consequences of climate change, such as increases
    in severe weather, sea level rise, air pollution, and public health impacts.



    19
       For more information, see: U.S. Environmental Protection Agency, “Climate Change Science” web page at:
       http://www.epa.gov/climatechange/science/.
    20
       IPCC, 2007. Contribution of Working Groups I, I and III to the Fourth Assessment Report of the Intergovernmental Panel on
       Climate Change. Chapter 5, Section 5.4. Available at: http://www.ipcc.ch/publications_and_data/ar4/syr/en/mains5-4.html.
    21
       Delaware Valley Regional Planning Commission, Connections – The Regional Plan for a Sustainable Future. Public Comment
       Document, 2009.
    22
       Mid-America Regional Council, Transportation Outlook 2040, available at: http://www.marc.org/transportation/lrtp.htm.
    23
       FHWA, “Climate Change – Model Language in Transportation Plans.” Prepared by ICF International, 2010.




                                                                 13
                                                                                                                 FHWA002593
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through311  of 534 Planning
                                                                                Transportation PageID 2871
                                                 Establishing Goals and Objectives




    For instance, the Baltimore Metropolitan Council notes in its LRTP, called Plan It 2035, which was
    adopted in November 2011, that GHG emissions and climate change are an environmental concern for
    multiple reasons: “[I]ncreased runoff and rainfall events from climate change could affect the
    [Chesapeake] Bay through increased erosion and sediment loads. Higher peak stormwater flows also
    would mean greater amounts of nutrients transported downstream, degrading water quality.
    Additionally, climate change will likely cause a decline in biodiversity of plants and animals in the forests
    of Maryland. Increasing summer temperature will likely cause higher ozone levels and more frequent
    exceedances of the Federal ozone air quality standard. Sea level rise will also require costly mitigation
    measures to protect the region’s transportation infrastructure from higher water and damage caused by
    storm surges.”24

    A number of State DOTs and MPOs also emphasize sustainability, and policies that support GHG
    reduction, such as managing travel demand, ensuring multimodal options, and optimizing system
    performance before adding new highway capacity. For instance, the Delaware LRTP, Moving the First
    State Forward, which was adopted in 2010, focuses on developing “smart transportation systems
    consistent with the State’s smart growth strategies.” These strategies seek to guide growth to areas that
    are most prepared to accept it in terms of infrastructure and thoughtful planning; preserve farmland
    and open space; promote infill and redevelopment; facilitate attractive, affordable housing; and protect
    quality of life while slowing sprawl. Consequently, the Plan includes goals related to economic vitality,
    safety, accessibility and mobility, multi-modal transportation, efficiency and effectiveness, and
    environmental stewardship, including integrated land use and transportation and “responsible energy
    consumption”.25

    The Grand Valley Metropolitan Council, MPO for the Grand Rapids, Michigan, metropolitan area,
    includes within its 2035 LRTP, adopted in March 2011, a vision to “Establish a sustainable multimodal
    transportation system for the mobility and accessibility of people, goods, and services; it will provide an
    integrated system that is safe, environmentally sound, socially equitable, economically viable, and
    developed through cooperation and collaboration.” The Plan includes a goal to “Strengthen the link
    between transportation and land use policies to encourage people and businesses and to live and work
    in a manner that reduces dependence on single occupancy vehicles.” Under its environmental goal, the
    plan includes an objective to “Prioritize transportation projects which reduce the frequency and length
    of trips, minimize the energy resources consumed for transportation, and promote a sustainable
    transportation system.”26




    24
       Baltimore Metropolitan Council, Plan It 2035, Chapter 2, available at: http://www.baltometro.org/plans/final-plan-it-2035.
    25
       Delaware Department of Transportation, Moving the First State Forward: Delaware Long Range Transportation Plan, 2010,
       available at: http://www.deldot.gov/information/pubs_forms/delrtp/delrtp_102510.pdf.
    26
       Grand Valley Metropolitan Council, 2035 Long Range Transportation Plan, Chapter 3, available at:
       http://www.gvmc.org/transportation/longrangeplan.shtml.




                                                                  14
                                                                                                                   FHWA002594
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through312  of 534 Planning
                                                                                Transportation PageID 2872
                                                Establishing Goals and Objectives




    National Environmental Sustainability Goal
    Sustainability goals at the national level have been driven by both legislative action and executive
    initiatives. President Obama has established a target to reduce total U.S. greenhouse gas emissions by
    about 17 percent below 2005 levels by 2020.27

    The MAP-21 establishes seven national goal areas; one of these is “Environmental sustainability: To
    enhance the performance of the transportation system while protecting and enhancing the natural
    environment.” [Section 1203, or 23 USC 150(b)]

    Although State DOTs and MPOs are not required to use a consistent national environmental
    sustainability performance measure, they will be expected to use a performance-based approach to
    decisionmaking that supports the national goals. The MAP-21 requires that the metropolitan and
    statewide transportation planning process “shall provide for the establishment and use of a
    performance-based approach to transportation decisionmaking to support the national goals” [23 USC
    134(h)(2)(A) and 23 USC 135(d)(2)(A)].

    The environmental sustainability goal area could include many different focus areas or objectives,
    including minimizing water runoff from transportation facilities, increasing habitat restoration,
    encouraging the use of low-emission transportation options, such as walking, bicycling, taking public
    transit, or using low-emission vehicles. Given the potentially severe impacts associated with climate
    change, States and MPOs may choose to consider GHG emissions as a measure of environmental
    sustainability. GHG emissions have been identified by some States as a promising measure to track
    agency performance in the area of environmental stewardship.28 It addresses a key component of
    sustainability – “meeting the needs of the present without compromising the ability of future
    generations to meet their own needs.”29




    27
       The President’s Climate Action Plan. June 2013.
       http://www.whitehouse.gov/sites/default/files/image/president27sclimateactionplan.pdf.
    28
       See NCHRP 20-24(37), “Technical Guidance for Deploying National Level Performance Measurements.” Prepared by
       Cambridge Systematics, 2011. See page 3-30.
    29
       Common definition of sustainability, derived from the “Brundtland definition” in the World Commission on Environment and
       Development, Our Common Future (New York: Oxford University Press, 1987).




                                                                15
                                                                                                                FHWA002595
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through313  of 534 Planning
                                                                                Transportation PageID 2873
                                  Selecting Greenhouse Gas Performance Measures




    5. Selecting Greenhouse Gas Performance Measures
    Transportation agencies face numerous options when selecting a GHG performance measure or
    measures. This section describes several of the choices that transportation agencies face when selecting
    a GHG performance measure(s) and discusses how local context, overlapping climate and sustainability
    policies, tools, modeling and data availability, and other factors can shape transportation agencies’
    choices. It then discusses the pros and cons of specific commonly-used GHG performance measures.

    It is important to note that a GHG measure should be carefully chosen to support public policies for GHG
    mitigation. The selection of a measure is not merely a technical issue, but rather is closely related to the
    type of vision that a State or region has developed for transportation sustainability. Ultimately the
    performance measure selected should assist an agency or area in implementing its vision.

    A number of States have policies in place that establish transportation-related GHG reduction targets,
    and in some cases, specify performance measures and methodologies. Though this report outlines
    general considerations, the consistency of the measure with State-level policies, initiatives and
    community priorities should be considered carefully by transportation agencies.

    Key Issues in Defining a GHG Performance Measure
    The options that transportation agencies face when selecting GHG performance measures can be
    summarized by three questions:

        1. Which emissions should we measure?
        2. How should we measure these emissions?
        3. How should we express the results?

    Answering each of these questions will require agencies to consider how the policies that they need to
    implement can be supported by these measures. Below we summarize the options that transportation
    agencies face within the categories represented by each of the above questions.

    Which Emissions are Measured
    The first step in selecting a GHG measure (and correspondingly conducting most GHG analyses) is to
    establish the scope of the analysis, including which types of GHG emissions will be measured, which
    sources will be covered, and whether to account for tailpipe or life-cycle emissions.




                                                         16
                                                                                                  FHWA002596
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through314  of 534 Planning
                                                                                Transportation PageID 2874
                                         Selecting Greenhouse Gas Performance Measures




    Which GHGs to Include
    Carbon dioxide (CO2) is the most prevalent GHG and accounts for roughly 95 percent of transportation
    GHGs based on global warming potential.30 As such, the number of tons or pounds of CO2 emitted is a
    reasonable stand-alone indicator of GHG emissions. However, transportation emits several other GHGs,
    such as methane (CH4) and nitrous oxide (N2O), so agencies can also measure multiple GHGs. Some
    gases have a stronger effect on climate change than others; the relative strength of a given GHG’s effect
    on the climate is commonly referred to as its global warming potential (GWP). When measuring multiple
    GHGs, agencies typically state results in tons of carbon dioxide equivalent (tCO2Eq. or tCO2e), a unit that
    accounts for differences in GWP. This can be slightly more complex than just measuring CO2 emissions,
    but many emissions models make it easy to measure multiple GHGs in tCO2Eq.

    The choice of which GHGs are included generally does not affect the responsiveness of a performance
    measure to different strategies to reduce transportation-sector GHG emissions, except in the context of
    choices between different advanced vehicle technologies that typically occur outside of the
    transportation planning and programming process. Consistency with other agencies’ policies and
    accounting methods is typically the driving factor in determining which GHGs to include in a
    transportation analysis.

    Which Transportation Sources are Included
    Transportation agencies face several choices when determining which vehicles and sources should be
    included in an analysis of GHG emissions:

           x    Light-duty vehicle GHG emissions accounts largely for emissions from passenger vehicles, as
                opposed to commercial travel.
           x    Total on-road GHG emissions accounts for the emissions produced by both passenger and
                freight vehicles. This is a more comprehensive approach than the measure above, and will
                capture the benefits of strategies to improve the efficiency of freight movement. This measure
                is also consistent with the scope of analysis for conformity with air quality goals, and addresses
                heavy-duty trucks, which in particular are a significant contributor to on-road GHG emissions.
           x    Total transportation GHG emissions accounts for GHG emissions from all transportation
                sources, potentially including rail, transit, and ferries in addition to on-road vehicles. This is the
                most comprehensive approach, and will capture the benefits of some GHG reduction strategies
                that other measures will ignore, such as strategies to increase the efficiency of transit vehicles.
                However, it is also more complicated to calculate than the two measures described above, since
                this measure not only requires agencies to account for more diverse sources, but also
                potentially to develop emissions factors for transit vehicles such as railcars that are not covered
                by on-road mobile source emissions models.



    30
         U.S. Environmental Protection Agency, Inventory of U.S. Greenhouse Gas Emissions and Sinks: 1990-2011, 2013.




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                                                                                                                  FHWA002597
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through315  of 534 Planning
                                                                                Transportation PageID 2875
                                           Selecting Greenhouse Gas Performance Measures




    In addition to choosing between one of the three measures described above to describe GHG emissions
    related to usage of the transportation network, transportation agencies may choose to account for
    construction and maintenance GHG emissions. Though the amount of GHG emissions due to
    construction and maintenance of the transportation system is generally much smaller than the amount
    of emissions due to use of the system, transportation agencies have the potential to directly influence
    these emissions through procurement policies and contracting requirements. On-road emissions models
    do not typically account for construction and maintenance GHG emissions, but tools are available and
    are being developed to help agencies account for these emissions.
             Greater Buffalo Niagara Regional Transportation Council (GBNRTC) Energy and GHG Analysis

      Based on guidance from New York State DOT (NYSDOT), MPOs in New York State have been analyzing
      construction and maintenance related emissions associated with their LRTPs and TIPs. In 2007, GBNRTC
      completed an energy and GHG analysis of its 2030 Long Range Transportation Plan. In addition to estimating
      GHG emissions from vehicles, GBNRTC also estimated the “indirect” GHG emissions associated with construction
      of transportation infrastructure. GBNRTC’s analysis included GHG emissions from construction equipment,
      transportation of materials, and production and extraction of materials. GBNRTC used procedures specified by
      NYSDOT to estimate the energy used by construction on a per lane-mile or per track-mile basis, and then
      converted this energy consumption to GHG emissions.

      Source: Greater Buffalo Niagara Regional Transportation Council (GBNRTC), Energy and Greenhouse Gas Analysis For the Greater Buffalo
      Niagara Regional Transportation Council (GBNRTC) 2008-2012 TIP and 2030 Long Range Transportation Plan, July 2007, Available at:
      http://www.gbnrtc.org/index.php/resources/publications/reports/

    Two key factors commonly play a role in transportation agencies’ choice of which sources to include in
    GHG performance measures:

         x     Agency interest in developing policies related to GHG emissions from different sources. While
               including more sources is more comprehensive, it often requires more effort. Transportation
               agencies may choose to invest this effort only if it will offer additional insight on the relative
               effectiveness of different GHG reduction strategies; otherwise they typically use simpler
               measures in order to avoid analyzing emissions that are outside of their control. For example,
               passenger travel is more closely tied to regional or State transportation planning decisions (e.g.,
               land use coordination, transit service, demand management, etc.) than freight travel, which
               often is primarily determined by broader economic factors and involves more interstate and
               interregional travel, so some transportation agencies choose to limit analysis to light-duty GHG
               emissions. However, if a transportation plan contains strategies to reduce freight emissions
               through corridor management or other measures, more comprehensive measures will be
               necessary to capture the resulting GHG reductions.
         x     Consistency with regional emissions analysis. Regional emissions analysis to meet Clean Air Act
               requirements in non-attainment and maintenance areas must consider both heavy- and light-
               duty vehicles. For areas that violate the National Ambient Air Quality Standards (NAAQS), this
               makes it easier for MPOs to account for GHG emissions from all on-road vehicles if they are
               analyzing GHG emissions alongside other criteria pollutants.




                                                                        18
                                                                                                                             FHWA002598
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through316  of 534 Planning
                                                                                Transportation PageID 2876
                                         Selecting Greenhouse Gas Performance Measures




    Addressing Life-Cycle Emissions
    Transportation agencies typically focus on tailpipe GHG emissions, which are the emissions that are
    produced by vehicles as they combust fuel, because the analysis of tailpipe emissions is simpler to
    conduct and because it mirrors the approach that agencies typically use to assess criteria pollutant
    emissions. However, since GHGs are global pollutants that have the same impact on the climate
    regardless of where they come from, it can also be beneficial to estimate life-cycle emissions, which
    account for emissions associated with the production, transport, and disposal of transportation fuels,
    and potentially also emissions generated by vehicle production, maintenance and disposal. A life-cycle
    analysis will better account for strategies that involve shifting fuels, such as encouraging adoption of
    hybrid passenger vehicles or using biodiesel in transit vehicles. However, a comprehensive life-cycle
    analysis can also require much more effort and a greater number of assumptions on a transportation
    agency’s part than a tailpipe analysis. An agency can pursue a mixed approach, using tailpipe GHG
    emissions as a primary performance measure and estimating life-cycle GHG reduction factors for
    strategies or projects that primarily impact life-cycle emissions. For instance, Oregon and California have
    quantified the impact of implementing a low carbon fuel standard. Since this approach does not result in
    an “apples-to-apples” comparison, it merits extra caution when interpreting results. Nevertheless, it can
    be helpful to understand the full life-cycle emissions impacts of investments.

    How Emissions are Measured
    One of the key challenges of selecting GHG performance measures is selecting measures that reflect the
    impact of transportation agency investments. In particular, it can be challenging to attribute global
    emissions to a particular State or region, or to attribute cumulative emissions that remain in the
    atmosphere for decades or more to a plan with a limited time horizon.31 As a result, it is important for
    agencies to consider how emissions are measured at the outset when selecting GHG performance
    measures in order to ensure that GHG analysis is responsive to agency goals. This section broadly
    outlines key methodological considerations; Section 6 discusses GHG analysis methods further.

    Geographic Scope of Analysis
    The fact that GHG emissions are global, not local, pollutants means that transportation agencies should
    consider the source of emissions when analyzing GHG performance measures. A geographic analysis
    accounts for GHG emissions due to all vehicle travel that takes place within the boundaries of a region
    or State. This includes internal trips that begin and end within these boundaries, interregional or
    interstate trips, and trips that pass through the region or State. This approach is consistent with the
    approach used in transportation conformity for criteria pollutants. However, a geographic analysis may
    undercount GHG emissions due to trips that may be influenced by a region’s policies or investments
    (i.e., interregional or interstate trips that begin or end at a point near the edges of the region or State)


    31
         Different GHGs can remain in the atmosphere for different amounts of time, ranging from a few years to over a thousand
         years.




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                                                                                                                   FHWA002599
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through317  of 534 Planning
                                                                                Transportation PageID 2877
                                  Selecting Greenhouse Gas Performance Measures




    or count emissions from trips that are largely beyond an agency’s influence (i.e., pass-through trips).
    Alternately, a trip-end analysis accounts for GHG emissions due to vehicle trips that begin or end within
    the boundaries of a region or State. Typically, a trip-end approach counts all GHG emissions from
    internal trips and half of the emissions from interregional or interstate trips, while ignoring pass-through
    trips. As a result, it ties the emissions most directly to their sources.

    Four factors often play a role in transportation agencies’ choice between a geographic and trip-end
    approach to analyzing GHG emissions:

        x   Consistency with regional emissions analysis requirements: Analysis of criteria air pollutants
            takes a geographic approach to analyzing emissions (e.g. nonattainment or maintenance area
            boundaries), which reflects the fact that criteria pollutants are local, not global. This can make it
            easier for MPOs to use geographic analysis of GHG emissions if they are analyzing GHG
            emissions alongside other criteria pollutants.
        x   Role of inter-regional or interstate travel. States and regions that experience a large proportion
            of interregional or interstate and pass-through travel may find that a trip-end analysis focuses
            more on the GHG emissions over which they have the most control, while areas where most
            travel is internal may be better suited to a geographic analysis. The amount of non-internal
            travel typically depends upon a State or region’s size, location, and economic activity relative to
            nearby population centers. A geographic analysis is typically well-suited to regions or States that
            cover a travelshed, a large geographic area, or do not border on other population centers. This
            includes many western States and regions located within sparsely-populated States. On the
            other hand, small States and regions that are adjacent to other metropolitan areas, such as
            States and regions in the densely-populated northeastern U.S., will likely find that their
            neighbors contribute to travel within their boundaries, and that a trip-end analysis may be more
            responsive to certain types of transportation policies and strategies, such as those focused on
            VMT reduction (e.g., land use changes).
        x   Strategies being considered. If a plan contains significant elements that affect interregional or
            interstate travel, such as new transit connections to adjacent regions or States or major land use
            changes that will attract travelers from nearby population centers, a trip-end analysis may
            better capture the resulting GHG emissions, particularly if the focus is on passenger travel.
            However, if a region or State is considering or implementing strategies that include traffic
            operations improvements, reductions of freight bottlenecks, and other strategies that affect
            inter-regional and interstate traffic, a geographic analysis may be better to capture GHG
            emissions impacts.
        x   Consistency with neighboring jurisdictions. A trip-based analysis may leave some GHG
            emissions unaccounted for; particularly GHG emissions from pass-through trips. Transportation
            agencies will minimize the risks of leaving emissions uncounted if they coordinate with
            neighboring or overlapping jurisdictions to align approaches to analyzing GHG emissions. For
            example, under California’s SB 375, MPOs use a trip-end approach to calculating emissions, and



                                                         20
                                                                                                   FHWA002600
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through318  of 534 Planning
                                                                                Transportation PageID 2878
                                  Selecting Greenhouse Gas Performance Measures




            the State DOT will conduct an aggregate analysis of all regional plans to account for emissions
            from pass-through trips and other interregional travel.

    Accounting for Changes in Vehicle Technology
    Improvements in vehicle technology have the potential to reduce transportation-sector GHG emissions
    significantly. At the same time, transportation agencies’ control over vehicle technology is typically
    limited to funding research, offering incentives to consumers to purchase more efficient vehicles, and
    purchasing alternative vehicles and fuels for fleets. These actions often have a marginal effect on GHG
    emissions compared to Federal fuel efficiency standards and market factors. The way in which
    transportation agencies account for technology changes will affect the extent to which performance
    measures are responsive to GHG reduction strategies.

    Measuring total GHG emissions, including emissions from technological changes, is typically the
    simplest approach, and may better align with State targets that specify an absolute emissions reduction
    goal. However, this approach will account for GHG reductions due to fuel efficiency standards and other
    factors that are typically beyond transportation agencies’ control. Alternately, transportation agencies
    can control for the effect of changes in technology on GHG emissions, which can help to focus planning
    efforts on GHG reductions that are most directly under agencies’ control. This approach is more
    complex, and the level of effort involved in controlling for technological changes depends heavily on the
    extent to which Federal and State policies offer a basis for controlling for GHG emissions due to
    exogenous factors.

    How Emissions are Expressed
    In addition to determining the scope of GHG emissions that will be considered in an analysis and how
    these emissions will be measured, transportation agencies can also choose to express emissions in ways
    that control for growth or are easier to communicate.

    Total or Normalized Emissions
    Total GHG emissions offer an indicator of the overall impact of the transportation system, and are more
    closely aligned with the many State-level policies that establish GHG reduction goals in terms of overall
    emissions. However, transportation agencies may choose to normalize GHG emissions in order to
    account for the effect of population and economic growth on emissions. Two common normalized GHG
    performance measures are:

        x   Per capita GHG emissions: This measure accounts for the effect of population growth on GHG
            emissions, but it does not directly address the overall environmental impact. A decrease in per
            capita emissions would indicate that the average resident of a region or State is reducing his or
            her transportation-related GHG footprint, but total emissions will still increase if population
            growth outpaces the decline in per capita emissions. Per capita GHG emissions can be easier to
            communicate and interpret than total GHG emissions because residents are more likely to be



                                                        21
                                                                                                 FHWA002601
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through319  of 534 Planning
                                                                                Transportation PageID 2879
                                  Selecting Greenhouse Gas Performance Measures




            accustomed to seeing per capita or household-level GHG emissions figures from carbon
            footprint calculators and other resources.
        x   GHG emissions per unit of economic output: This measure controls for the effect of economic
            shifts on GHG emissions, such as declines in commute-related GHG emissions due to increased
            unemployment. However, as with per capita emissions, this measure does not always align with
            overall emissions, and poses added challenges to communicating results because definitions of
            economic output differ among planning agencies.

    Since the transportation planning process typically includes population projections, and sometimes uses
    performance measures that assess economic growth or other trends, normalizing emissions often does
    not involve significant additional effort. Therefore, it may be feasible for transportation agencies to use
    total and normalized GHG performance measures side by side; for example a total measure to track
    overall progress toward sustainability goals and a per capita measure to control for population growth
    and facilitate communication.

    Examples of GHG Emissions Metrics
    The various combinations of options for each aspect discussed above yield a large variety of potential
    GHG emissions metrics. However, in practice, the metrics used by transportation agencies to date
    typically vary in terms of three key characteristics:

        x   The type of vehicles that they account for,
        x   Whether they normalize for population growth, and
        x   How they account for technology-related reductions in GHG emissions

    Table 1 below summarizes examples of GHG emissions metrics drawn from existing practice, as well as
    the strength and limitations of each example. This is not an exhaustive discussion of the metrics
    available or the strengths and limitations of each, but provides illustrative examples for some key
    metrics.




                                                        22
                                                                                                  FHWA002602
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through320  of 534 Planning
                                                                                Transportation PageID 2880
                                         Selecting Greenhouse Gas Performance Measures




    Table 1: Strengths and Limitations of Example GHG Emissions Metrics
         Metric          Agencies that Use the Metric                   Strengths                            Limitations

    Total on-road       National Capital Region            Accounts for the vast majority      Emissions from freight sources may be
    related CO2         Transportation Planning Board        of GHG emissions                    difficult for transportation agencies
    emissions (light    at the Metropolitan                Easy to assess progress toward        to address
    duty + freight)     Washington Council of                national or State goals           Outcomes may be affected by
                                      32
                        Governments                                                              population growth

                        Puget Sound Regional
                                33
                        Council
                                         34
    Light-duty          Portland Metro                     Focuses on light-duty               Does not account for benefits of freight-
    vehicle CO2                                              emissions, which are most           related improvements
    emissions per                                            responsive to transportation
    capita                                                   policies and strategies

                                              35
    Light-duty CO2      All California MPOs                Focuses on light-duty               Does not account for benefits of freight-
    emissions per                                            emissions, which are most           related improvements
    capita                                                   responsive to transportation      Requires additional analysis of
    (removing effect                                         policies and strategies.            technology-related reductions
    of reductions                                          Controls for improvements due
    from State fuel                                          to fuel efficiency that are
    and vehicle                                              outside of agencies’ control
    policies)
                                              36
    Total on-road       Massachusetts DOT                  Accounts for all major sources         Emissions from freight and non-road
    and off-road                                             of GHG emissions                       sources may be difficult for
                                          37
    related               Maryland DOT                     Easy to assess progress toward           transportation agencies to address.
    greenhouse gas                                           national or State goals                Outcomes may be affected by
    (GHG) emissions                                                                                 population growth and other
                                                                                                    exogenous factors.
    Note: These examples only include combustion emissions. The strengths and limitations would be different if life- cycle emissions,
    alternative fuels, electrification, freight, or clean construction and maintenance practices were included.




    32
       Metropolitan Washington Council of Governments, Long Range Transportation Plan, Air Quality, Available at:
       http://www.mwcog.org/clrp/performance/air_quality.asp.
    33
       Puget Sound Regional Council, Transportation 2040, available at: http://www.psrc.org/assets/4847/T2040FinalPlan.pdf.
    34
       State established a target for a 20 percent reduction in per capita light-duty CO2 by 2035. See:
       http://www.oregon.gov/LCD/CLIMATECHANGE/pages/metropolitan_greenhouse_gas_reduction_targets.aspx. Prior to
       establishment of this target, the Metro 2035 Regional Transportation Plan also included an aspirational target for total CO 2
       emissions from on-road sources. See:
       http://library.oregonmetro.gov/files//2035_rtp_final_document_as_submitted_and_approved_by_dlcd_usdot_web.pdf.
    35
       California Air Resources Board, Description of Methodology for ARB Staff Review of Greenhouse Gas
       Reductions from Sustainable Communities Strategies (SCS) Pursuant to SB 375, available at:
       http://www.arb.ca.gov/cc/sb375/scs_review_methodology.pdf.
    36
       Massachusetts Department of Transportation (MassDOT), GreenDOT Implementation Plan, available at:
       http://www.massdot.state.ma.us/Portals/0/docs/GreenDOT/finalImplementation/FinalGreenDOTImplementationPlan12.12.
       12.pdf.
    37
       Maryland Climate Action Plan: Maryland Department of Transportation Draft 2012 Implementation Plan, available at:
       http://www.mdot.maryland.gov/Office_of_Planning_and_Capital_Programming/Plans_Programs_Reports/Documents/Clima
       te_Change_2011.pdf.




                                                                   23
                                                                                                                    FHWA002603
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through321  of 534 Planning
                                                                                Transportation PageID 2881
                                  Selecting Greenhouse Gas Performance Measures




    As Table 1 illustrates, each metric has its respective strengths and limitations. An area may also consider
    using a combination of total on-road (or transportation-related) GHG emissions and light-duty GHG
    emissions per capita. These measures complement each other well. A light-duty GHG emissions per
    capita measure can be easier for the general public to interpret and focuses attention on policies such as
    coordinated land use and transportation planning and multimodal travel options that may be State or
    regional policy priorities. A total transportation-sector GHG emissions measure allows the public and
    decision makers to see how transportation agency efforts fit into larger-scale GHG emissions trends and
    multi-sector climate change planning efforts. If a total transportation-sector measure or on-road
    emissions measure is selected, the emissions figures may be broken into components, such as emissions
    from freight and passenger travel, or from heavy-duty trucks, buses, and light-duty vehicles, to provide a
    more detailed understanding of emissions sources.

    The metrics in Table 1 illustrate different approaches to address the relationship between GHG
    emissions metrics and the reduction strategies that are available to different transportation agencies.
    For instance, California MPOs use a light-duty per capita metric that controls for advances in alternative
    vehicles and fuels because existing State policies include light-duty fuel-efficiency standards, a low-
    carbon fuels standard, and measures to increase the efficiency of heavy-duty vehicles. The metric that
    MPOs use controls for the effect of these policies and focuses on GHG emissions that are most
    responsive to regional transportation and land use planning, and the metric is designed to encourage
    sustainable planning practices (e.g., efforts to support land use policies and transportation investments
    that reduce vehicle travel). On the other hand, Massachusetts DOT’s GHG reduction target uses a metric
    account for a much broader scope of emissions, and MassDOT is considering GHG reduction strategies
    that address alternative fuels and light- and heavy-duty vehicle efficiency. In both cases, the agencies’
    GHG emissions metric reflects the scope of the emissions that they intend to address with their
    reduction strategies.




                                                        24
                                                                                                 FHWA002604
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through322  of 534 Planning
                                                                                Transportation PageID 2882
                                           Selecting Greenhouse Gas Performance Measures



                      Establishing GHG performance metrics under California’s Senate Bill 375

    Under California’s SB 375, every MPO in the State is required to develop a sustainable communities strategy
    (SCS), which is an integrated land use and transportation strategy that details its approach for meeting a
    regional GHG emission reduction target set by the State’s Air Resources Board (ARB). The GHG reduction metric
    chosen by ARB is per capita greenhouse gas emissions from passenger vehicles and light-duty trucks. ARB’s
    choice of metric illustrates how the policy goals of SB 375, interaction with state-level GHG reduction
    strategies, and other factors influenced its choices with respect to the key considerations discussed in this
    chapter.

         x    Which sources are included: In addition to reducing GHG emissions, SB 375 aims to better integrate
              regional transportation and land use planning. Since passenger vehicles and light-duty trucks are more
              likely to respond to changes in land use than heavy-duty vehicles, the GHG metric used by ARB focuses
              on emissions from these vehicles.
         x    Geographic scope: The Regional Targets Advisory Committee (RTAC), which developed the
              recommended metric for ARB, suggested a trip-end approach to accounting for emissions, but allowed
              that ARB, in consultation with the State Department of Transportation, Caltrans, may determine the
                                                                            1
              extent to which an MPO has extent over interregional trips. This choice reflects SB 375’s emphasis on
              land use and transportation strategies that are likely to affect both internal and interregional travel,
              the fact that many of California’s MPOs share borders with one another, and Caltrans’ active role in
              analyzing interregional travel.
         x    Accounting for technology: ARB specifies a baseline set of assumptions about GHG reductions due to
              implementation of the State’s fuel efficiency standards for passenger vehicles and its low carbon fuel
              standard. When calculating regional GHG reductions, MPOs only count reductions that exceed these
              baseline reductions in order to avoid double-county.
         x    Ease of communication: According to the RTAC, a per capita metric “is preferred for its simplicity,
              since it is easily understood by the public.”

    Source: California Air Resources Board, Recommendations of the Regional Targets Advisory Committee (RTAC) Pursuant to Senate Bill 375,
    Available at: http://www.arb.ca.gov/cc/sb375/rtac/report/092909/finalreport.pdf.




    Other Supporting Measures
    In addition to using a GHG metric, States or regions could consider related measures to support GHG
    reduction goals. One measure that has sometimes been identified for consideration as a proxy for GHG
    emissions is VMT or VMT per capita. Although this measure is not responsive to a wide range of
    transportation strategies that reduce GHG emissions, including operational strategies to improve traffic
    flow and eco-driving techniques, incentives to use alternative fuels or low-or zero-emission vehicles, and
    vehicle idling reduction, some areas may be interested in considering these measures. In particular, VMT
    can be a useful measure of progress or success when States or MPOs make a policy decision to focus on
    transportation demand management and land use strategies as a priority. Many MPOs also forecast
    these measures as a matter of course in analyzing plan alternatives.




                                                                       25
                                                                                                                             FHWA002605
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through323  of 534 Planning
                                                                                Transportation PageID 2883
                                         Selecting Greenhouse Gas Performance Measures




    For instance, MARC, the MPO for the Kansas City metro area, chose two performance measures to
    support its goal related to climate change/energy use: VMT per capita and average number of vehicle
    occupants.38 Washington State’s House Bill 2815 established GHG emissions and VMT reduction goals
    and targets, including an 18 percent VMT per capita reduction below business–as-usual projections for
    2020; 30 percent by 2035; and 50 percent by 2050.

    The U.S. Environmental Protection Agency’s (EPA) Guide to Sustainable Transportation Performance
    Measures also provides examples of a range of other metrics that might be considered.39




    38
         Mid-America Regional Council, Transportation Outlook 2040, available at: http://www.marc.org/transportation/lrtp.htm.
    39
         This resource is available at: http://www.epa.gov/smartgrowth/pdf/Sustainable_Transpo_Performance.pdf.




                                                                   26
                                                                                                                  FHWA002606
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through324  of 534 Planning
                                                                                Transportation PageID 2884
                                         Analyzing Trends and Setting Targets




    6. Analyzing Trends and Setting Targets
    While a performance measure itself provides a metric for evaluating outcomes, a PBPP approach
    requires a transportation agency to identify trends (directions for impacts) or targets (specific levels of
    performance desired to be achieved within a certain timeframe) for each performance measure to
    provide direction to strategy analysis and performance tracking. There are multiple ways in which
    targets can be set:

        x   Policy-based
        x   Consensus-based
        x   Analysis-based

    Regardless of the approach, it is important to first understand baseline conditions. For GHG emissions,
    the baseline should provide information on the key sources of emissions and factors affecting emissions.
    Baseline conditions will include past trends and current performance levels. In addition, it is important
    to conduct analysis to understand expectations for future performance.

    Developing a Baseline: Looking Back and Looking Ahead
    A first step for agencies in developing a baseline is to develop an inventory of past and/or current GHG
    emissions (such as estimating an inventory of on-road CO2 emissions in 2010) and a long-range forecast
    of CO2 emissions (20, 25 or 30 years out), and then translating that inventory into the selected metric, if
    necessary. The long-range forecast period should ideally correspond with the end date of the long-range
    transportation plan, and could potentially include developing estimates of CO2 emissions at a few mid-
    range points in time (for instance, in 10-year increments).

    Many States have already developed GHG inventories, typically relying on fuel-based methodologies. A
    useful GHG inventory will provide information not only about total GHG emissions, but can provide
    information on the key sources of emissions (e.g., passenger cars, trucks) in order to inform policy and
    investment analysis. Just as detailed data on the sources and locations of crashes is helpful to develop
    effective countermeasures to improve safety, understanding the sources of GHG emissions is helpful in
    identifying potential strategies. Some more sophisticated inventory analyses also provide information
    on the locations of emissions (e.g., either by road link or assigning emissions to origins and destinations).

    Depending on the organization’s resources, modeling can be conducted to develop a baseline (or
    business as usual) forecast for the future. This forecast can be used as a basis for comparing emissions
    under alternative scenarios. This modeling can be relatively sophisticated. Having a business as usual
    scenario is important in understanding where emissions are expected to be headed and what level of
    reduction may be realistic to achieve. Given that PBPP is an iterative or cyclical process, performance
    that is monitored may become the new base line against which results from the next performance cycle
    are reported.



                                                         27
                                                                                                   FHWA002607
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through325  of 534 Planning
                                                                                Transportation PageID 2885
                                               Analyzing Trends and Setting Targets




    It is important to note that particularly at the State level, GHG inventories are often calculated based on
    fuel consumption data. As noted earlier, one limitation of a fuel-based inventory is the potential
    disconnect between the place of fuel sales and the location of the travel activity and/or generators of
    emissions. For instance, Maryland DOT has found that fuel sales do not provide as accurate a basis for
    estimating GHG emissions as VMT-based methods, given the amount of cross-border traffic, and has
    switched to developing inventories and forecasts based on VMT data and the MOVES model.40 Another
    issue is that fuel-based inventories often do not connect well with future emissions forecasts, which are
    typically developed using VMT forecasts and emissions models. This has been noted as an issue by State
    DOTs, including the Vermont Agency of Transportation, which had a transportation GHG inventory
    developed based on fuel consumption data and was trying to reconcile it with its forecasts based on
    travel data.41

    Considerations for Developing a Historic Baseline GHG Inventory
    There are a number of key considerations for developing a historic inventory, which are discussed
    below.

         x   Boundaries – Define the geographic boundaries of analysis. Some MPOs may have modeling
             areas that are larger than the geographic boundary of the MPO. This may affect the ease with
             which existing data can be utilized. In some cases, agencies may wish to account for emissions
             that are generated by external trips beginning or ending outside of the region separately.
         x   Scope – Decide which emissions source categories (e.g., on-road sources only, or all
             transportation sources) and subcategories (e.g., light-duty vehicles, heavy-duty vehicles, buses)
             should be included, as well as which specific GHGs (CO2 only, or also N2O and CH4).
         x   Analysis method – Depending on the data available and purpose of the inventory, choose a top-
             down (fuel-based), bottom-up (VMT-based), or hybrid approach. The geographic scope tends to
             influence the type of method that is selected for GHG analysis, based on data availability. At the
             State level, fuel-based methods are often used given the availability of State-level fuel
             consumption data, whereas at the MPO level, fuel sales data may not be available.
         x   Baseline year – Select a baseline year to provide a benchmark to compare progress going
             forward, considering whether data for that year are available, the chosen year is representative,
             and the baseline is coordinated with baseline years used in other inventories.42 (Note: In some
             cases, legislation or executive direction will specify the baseline year.)


    40
       See Chapter 2, “2006 Baseline and 2020 BAU Forecast Greenhouse Gas Emissions Inventory Update,” from Maryland DOT’s
       2011 Climate Action Plan available at
       http://www.mdot.maryland.gov/Office_of_Planning_and_Capital_Programming/Environmental_Planning.html.
    41
       Potential Methods to Improve Vermont’s Transportation Greenhouse Gas Inventory. Prepared by ICF International, August
       30, 2010.
    42
       For a more detailed discussion of how to select a baseline year, refer to the “Inventory Development” section of Chapter 2.3
       in FHWA’s Handbook for Estimating Transportation Greenhouse Gases for Integration into the Planning Process, available at:
       http://www.fhwa.dot.gov/environment/climate_change/mitigation/resources_and_publications/ghg_handbook/index.cfm.




                                                                  28
                                                                                                                    FHWA002608
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through326  of 534 Planning
                                                                                Transportation PageID 2886
                                            Analyzing Trends and Setting Targets




         x   Data limitations - If necessary data are incomplete or have limitations, as will often be the case,
             it is important that all involved are aware of the limitations and assumptions. Having complete
             documentation of methodologies used is important when comparing inventories or forecasts
             conducted in future years to the current estimate.


               Potential types of emissions that could be 'counted' or assigned to a State or region

     x   Emissions associated with fuel sold within the boundaries. This is the approach commonly used within fuel-
         based inventories; however, it raises some questions about whether a State or region should be responsible
         for fuel that is sold in an area but is used outside of it. From a performance-based planning perspective, an
         agency may want to focus its inventory on those travel activities that they have the greatest level of
         influence over.
     x   Emissions from travel on the transportation system within the boundaries. This is the approach that is
         applied for transportation conformity purposes - emissions from all travel on the roadway network, whether
         due to local traffic or interstate through trips, are analyzed and reported.
     x   Emissions generated by households and/or businesses within the boundaries. A State DOT or MPO might
         instead be interested in focusing on GHG emissions due to the transportation activity of residents living or
         working within their jurisdictional boundaries (possibly including business and freight travel, as related to
         household goods consumption), taking out the effect of "through trips." This can be useful for areas that
         would like to allocate emissions to particular jurisdictions within their planning area (e.g., allocating
         transportation emissions to each county within a State). In this case, it is necessary to understand trip origins
         and destinations, and assign a portion of emissions to each, while removing the effect of trips that entirely
         pass through an area.

     There are some advantages and challenges to each approach, so it will be important to agree upon what is the
     most desired way of counting emissions.




    Considerations for Developing a Business-as-Usual GHG Forecast
    Future emissions levels could differ from existing conditions for many reasons. It could be higher, for
    example, because VMT of the target population is rising. Or it could be lower because the vehicle fleet is
    becoming cleaner. While simple in concept, establishing an emissions baseline for the future, or
    “business-as-usual” forecast, can be challenging because it requires assumptions about travel behavior,
    vehicle technology and fuels, and other factors that affect emissions.

    Some considerations for developing a baseline forecast are discussed below.

         x   Forecast year(s) – Forecasts may be developed for one or more milestone years in the future.
             The selection of milestone year(s) may be influenced by (a) legislative or executive branch GHG
             targets and laws and (b) synchronizing with planning timeframes of the State or area. Also,
             consider whether to analyze GHG on a cumulative basis, rather than for a specific forecast year,
             since climate change impacts are based on cumulative GHG, over decades.
         x   Analysis method – Depending on the data available and the purpose of the forecast, select a
             method that matches the appropriate level of detail and accuracy for the analysis purpose.


                                                              29
                                                                                                           FHWA002609
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through327  of 534 Planning
                                                                                Transportation PageID 2887
                                                 Analyzing Trends and Setting Targets




           x    Additional strategy analyses – Depending on the sophistication of the analysis method and
                existing modeling tools (e.g., the level of sophistication of the travel demand model), additional
                “off model” analyses may need to be conducted to adjust the forecast.
           x    Results – Clearly document the results, including assumptions and any limitations or caveats.
                Identify key areas of sensitivity affecting results

    Key Tools and Methods to Consider
    There are a variety of tools and approaches available to estimate baseline GHG emissions. These include
    both tools for estimating historic emissions as well as tools for forecasting baseline emissions into the
    future. More detail on all of these tools and methods is available from FHWA’s Handbook for Estimating
    Transportation GHGs for Integration into the Planning Process, available at:
    http://www.fhwa.dot.gov/environment/climate_change/mitigation/resources_and_publications/ghg_h
    andbook/index.cfm.

    Fuel-based Methods – Fuel-based methods calculate GHG emissions based on fuel consumption data,
    such that emissions estimates are associated with the location of fuel sales. The most commonly used
    tool for developing a fuel-based inventory at the State level is EPA’s State Inventory Tool (SIT). The SIT is
    a spreadsheet model that helps States to estimate their carbon dioxide (CO2) emissions from all sectors
    (e.g., on-road gasoline, on-road diesel, aviation, rail, marine, and natural gas/other). It provides the
    option of using State-specific data or using default data that is generated by Federal agencies and some
    other sources. Based on its structure, the SIT approach is most appropriate for developing a
    transportation GHG inventory as part of a broader statewide inventory development process for all
    sectors, and for statewide analyses that do not require detailed breakdowns of transportation GHG
    emissions by transportation mode or by local jurisdiction. From a performance-based planning
    perspective, it is desirable to be able to disaggregate on-road vehicle emissions by vehicle class and
    geography (through trips, etc.). State agencies working with SIT have considered implementing
    approaches to disaggregate their on-road emissions further so they can be linked more closely with their
    existing transportation planning models and processes.

    Fuel projections can be used to develop simple forecasts of CO 2 emissions, and EPA’s State Inventory
    Project Tool is a useful tool for these calculations. However, it relies largely on projections of fuel
    consumption reported in the Energy Information Administration’s Annual Energy Outlook by sector and
    region, and does not account for transportation investment strategies, or other characteristics, such as
    fleet composition changes.43 Some States have developed vehicle fuel forecasting methods or tools,
    which can be used for GHG forecasts. Although State DOTs often estimate future fuel sales as part of
    their fuel tax revenue projections, in many cases, these methods are simplistic and do not account for
    many factors that influence GHG emissions.

    43
         “Annual Energy Outlook 2011 - Transportation,” U.S. Energy Information Administration.
         http://www.eia.gov/forecasts/aeo/sector_transportation.cfm.




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                                                                                                     FHWA002610
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through328  of 534 Planning
                                                                                Transportation PageID 2888
                                        Analyzing Trends and Setting Targets




    VMT-based Methods - VMT-based methods involve estimating vehicle travel (and its operating
    characteristics for more accuracy) and then applying emissions factors or an emissions model, such as
    EPA’s MOVES Model, to calculate GHG emissions. States can develop VMT based GHG emissions
    inventories by using VMT estimates from the Highway Performance Monitoring System (HPMS) and
    applying emissions factors. HPMS forecasts of traffic can also be used to develop projections of VMT.
    Alternatively, States could extrapolate trends by functional class, using regression to correlate changes
    in the population to VMT, or other types of statistical analyses.

    Most MPOs use network models for forecast VMT. Network models have the advantage of being able to
    capture changes related to population and employment growth as well as transportation network or
    system changes. Network models also allow for testing of both transportation demand and supply in an
    integrated model. Network models are commonly used by MPOs, their model framework is well
    understood, and the inputs they require are generally available. It is important to recognize, however,
    that many models are not sensitive to or sufficiently complex to address strategies that may be
    considered to reduce GHG emissions, including certain land use policies, demand management
    strategies, and operational strategies.

    There are multiple approaches for converting VMT forecasts into emissions. Capturing changes in
    vehicle technology and improvements in the fuel economy of future vehicles is critical to creating an
    accurate forecast. Estimating how changes in vehicle speeds may affect emissions is also important for
    capturing how changes in traffic levels and infrastructure investment may affect future GHG emissions.

    A more simplified approach is to use sketch planning methods to develop inventories and forecasts,
    such as building estimates of emissions using odometer, household travel survey or land use data. These
    VMT methods are generally intended for calculating household GHG emissions (not freight). They also
    are largely intended for developing inventories, although extrapolations of historical trends can be made
    to develop forecasts, recognizing a high degree of uncertainty in these results.




                                                        31
                                                                                                 FHWA002611
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through329  of 534 Planning
                                                                                Transportation PageID 2889
                                         Analyzing Trends and Setting Targets




               Delaware Valley Regional Planning Commission (DVRPC) GHG Inventory Analysis

 One approach to developing a baseline GHG inventory using a transportation demand model can be seen in
 the inventory developed by DVRPC, the MPO for the Philadelphia metro area. DVRPC developed a regional
 GHG emissions inventory that relies on travel demand model output to allocate GHG emissions to different
 traffic analysis zones.

 HPMS data was used to determine a VMT total. Through traffic was estimated based on the travel demand
 model trip table that shows trips with origins and destinations outside the region. VMT from through traffic
 was subtracted from total VMT to focus the analysis on travel within the region. VMT was then apportioned to
 municipalities based on trip origins, destinations and trip length. Emissions were mapped per acre, per
 population and per employee.




 The map above to the left shows emissions per acre, and indicates that GHG emissions are higher in
 Philadelphia’s urban core. If emissions for trips are allocated 50 percent to the trip origin and 50 percent to the
 trip destination, the map on the right shows that emissions are higher on a per population and per worker
 basis in the suburban and exurban areas around Philadelphia. The DVRPC inventory helps make the case for
 the role of denser land use development in reducing the GHG emissions intensity of development in the
 region. DVRPC’s inventory is available at: http://www.dvrpc.org/EnergyClimate/inventory.htm



    VMT based approaches use emission factors, generally expressed in terms of grams per mile, grams per
    hour, and grams per trip end. For a given pollutant, emission factors will vary according to the vehicle
    type (weight), engine technology, fuel type, vehicle model year, speed, and roadway type. Other factors
    affecting emissions rates include ambient temperature, inspection and maintenance programs, and
    vehicle deterioration.

    EPA’s MOVES model is the most robust tool available to produce estimates of on-road transportation
    GHG (and other) emissions. The model estimates energy consumption and emissions, including
    atmospheric CO2, CH4, N2O, and CO2e. MOVES can estimate emissions at the national, regional, or
    county, scales and for annual or shorter periods of time. The model itself requires many inputs, and



                                                         32
                                                                                                   FHWA002612
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through330  of 534 Planning
                                                                                Transportation PageID 2890
                                                Analyzing Trends and Setting Targets




    although defaults are available for most factors, defaults are generally poor substitutes for locally
    specific inputs. Inputs to MOVES include data on vehicle population, fuel type, and VMT. The model
    works by simulating actual vehicle drive cycles, including the effect of travel at different speeds and
    vehicle power loads. Sensitivity to vehicle operating conditions is important when examining
    transportation plans and policies, such as new highway capacity investments, congestion pricing, and
    other strategies that affect vehicle speeds and operating conditions.

    Identifying Desired Levels of GHG Reduction
    Desired outcomes and targets may be expressed in three primary ways:

           x    Directional – Identifying a direction of impacts desired; in the case of GHG emissions, this
                would be a reduction in emissions. Practitioners from State and regional transportation
                agencies may be hesitant to set specific targets for GHG emission reduction, just as they are
                often hesitant to set targets for other measures, given concerns about either setting targets too
                low as to seem unambitious or too high so that they are unattainable. Agencies also are often
                concerned about the potential ramifications – including public perception – of not meeting
                targets. Consequently, a simple step is to identify a desired direction to reduce GHG emissions.
                While setting only a direction for the desired impact does not provide specificity, it can serve as
                a basis for comparing alternative investment/policy scenarios. It is important to note that in
                areas with fast growing populations, reducing GHG emissions from on-road sources may be
                challenging. However, setting a desired direction sends a signal from higher levels of
                government that decision-makers are interested in committing to GHG reductions.

           x    Aspirational – Setting targets based on policy priorities or to signal an issue’s importance to
                the community, often prior to conducting a detailed analysis to determine actual feasibility.
                Many of the States and regions that have already begun to set targets for GHG emissions
                reductions through climate action plans or related policies have set aspirational targets. The
                following States have established specific statewide GHG emissions targets: Arizona, California,
                Colorado, Connecticut, Florida, Hawaii, Illinois, Maine, Maryland, Massachusetts, Michigan,
                Minnesota, New Hampshire, New Jersey, New Mexico, New York, Oregon, Rhode Island,
                Vermont, and Washington.44 Although many of these aspirational targets address total GHG
                emissions from all sources (transportation and otherwise), setting an aspirational target can
                signal the importance of climate change to policy-makers at the State, regional, or local levels,
                as well as relevant interest and advocacy groups and the public, all of whom may later have
                some involvement in project and investment prioritization. Setting aspirational targets may also
                emphasize the importance of multiple factors – transportation investments, land use, vehicle



    44
         Center for Climate and Energy Solutions, http://www.c2es.org/us-states-regions/policy-maps/emissions-targets.




                                                                   33
                                                                                                                   FHWA002613
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through331  of 534 Planning
                                                                                Transportation PageID 2891
                                        Analyzing Trends and Setting Targets




            technologies, fuels, transportation operations, etc. – in reaching targets, since it may be
            impossible for transportation investment strategies alone to reach the target.

            “Target zero” initiatives focused on eliminating roadway fatalities have brought together a wide
            range of stakeholders involved in traffic safety, including transportation agencies, law
            enforcement, and public health, to address the causes of crashes. Similarly, an aspirational
            target for reducing GHG emissions may help to encourage greater partnership among
            transportation planning agencies, operating agencies, environmental agencies, and policy-
            makers to consider the wide range of strategies needed. For instance, the Denver Regional
            Council of Governments (DRCOG)’s board has set a per capita GHG reduction target of 60%
            below 2005 levels by 2035 from the transportation sector, as well as reduction in “drive alone”
            commutes and per capita VMT. The GHG reduction target was based on the State GHG
            reduction targets, but not on a systematic analysis of what was feasible.

        x   Analytically-based – Accounting for available resources, trends, policies or strategies in
            consideration, and other factors that may affect performance, and setting a target that is
            believed to be attainable. Developing analytically-based targets requires conducting analyses of
            potential strategies, understanding available funding, and considering the various factors that
            influence emissions. This analysis may find that it is not realistic to reduce GHG emissions in the
            short-term but that long-term policies, such as land use changes and technological changes, can
            have more notable effects. For instance, the Metropolitan Transportation Commission (MTC) of
            the San Francisco Bay Area included a set of ambitious targets in its 2035 Transportation Plan,
            adopted in 2009. These targets were aspirational, and among others, included a target “to
            reduce carbon dioxide emissions to 40% below 1990 levels by 2035.” The Plan clearly identified
            gaps between aspirational targets and expected outcomes. In the subsequent development of
            Plan Bay Area, MTC worked with the State of California to develop analytically-based targets in
            relation to State requirements. These targets call for MTC to demonstrate that its long range
            plan will reduce per-capita CO2 emissions from cars and light-duty trucks 7% by 2020 and 15% by
            2035, compared to 2005 levels. As was the case in California in the preceding example, realistic
            targets are often constrained by the decisionmaking status quo and the technical and/or
            political resources available to set policies or implement strategies.

    States and regions that are assessing GHG emissions and setting reduction targets for the first time can
    refer to existing studies that discuss the magnitude of emissions reduction they might be able to expect
    as the result of some common strategies before setting targets. There will be an opportunity later in the
    planning process to revise these targets based on any significant changes in policy, technology, or
    demographic forecasts, but setting a strong target at the outset helps provide direction for strategy
    implementation.




                                                        34
                                                                                                  FHWA002614
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through332  of 534 Planning
                                                                                Transportation PageID 2892
                                            Analyzing Trends and Setting Targets




      The Genesee Transportation Council (GTC) is the MPO that includes nine upstate New York counties and the
      City of Rochester. The GTC includes fifteen performance measures in its Long Range Transportation Plan (LRTP).
      Of these fifteen performance measures, one is directly related to GHG emissions reduction (e.g. CO 2e) and one
      related to direct energy use. Additionally, the LRTP includes four mobility and three accessibility measures, all of
      which are focused on managing future travel demand. GTC has adopted directional targets in its performance
      measurement process based upon benchmarks established for each measure. For example, there are estimated
      to be 11,385 tons/day of CO2e in the region with a goal of decreasing that amount. These emissions were
      estimated by post-processing volume and speed data from the GTC Travel Demand Model using methodologies
      developed in conjunction with NYSDOT. Another example of a directional target in the GTC LRTP is the transit
      on-time performance measure where the goal is to increase the current 84% on-time performance on transit.

      See GTC’s LRTP for more information: http://www.gtcmpo.org/docs/LRTP.htm.




    Choosing a Timeframe for Analysis
    Identifying a timeframe for targets helps determine the target’s level of achievability. Analysis periods to
    be considered include:

        x    Long-range – twenty or more years in the future
        x    Mid-range – ten years in the future
        x    Short-range – three to five years in the future

    Determining the time horizon over which outcomes are measured is also important. Given the long lag
    time for many strategies to take effect – particularly land use changes and large scale transportation
    investments – a long-term outlook may be particularly useful for GHG emissions and fits within the long
    range planning process. However, mid-range or short-range timeframes could also be considered. For
    instance, MPOs addressing conformity might wish to set targets in relation to milestone years. Given the
    important role of exogenous factors, such as fuel prices and economic growth, which are volatile and
    have important impacts on GHG emissions, short-range targets may not be as helpful. Thus, it is
    important to ensure that short-term expectations are not derived in a linear fashion from long-term
    targets, since programs may take several years to implement and their impacts can increase over time.




                                                              35
                                                                                                            FHWA002615
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through333  of 534 Planning
                                                                                Transportation PageID 2893
                       Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    7. Identifying Strategies, Analyzing Alternatives, and
       Developing Investment Priorities
    In a PBPP process, performance measures and targets are used to inform decisions on investments and
    policies. To do so, an agency needs to identify and analyze strategies to assess their anticipated benefits
    relative to established targets. This information will be valuable to inform decisions on investments and
    policies that are incorporated into the LRTP and TIP and STIP, as well as potentially to inform broader
    policy decisions (e.g., related to vehicle technologies and fuels).

    Approaches for Using GHG Performance Information in Planning
    There are two primary approaches that can be used to integrate GHG performance measures in the plan
    development process: analyzing GHG performance along with other performance measures during LRTP
    development, or conducting a focused analysis of GHG reduction strategies that supports the LRTP.

    Analyze GHG Performance Together with a Range of Other Performance
    Measures within LRTP Development
    As part of LRTP development and analysis, MPOs will frequently develop alternative investment
    packages and then conduct modeling analysis to compare the performance of different alternatives
    across several metrics. For instance, an MPO may develop alternative packages with different emphasis
    areas, such as increased investments in transit, highway preservation, or management & operations
    strategies, together with alternative land use policies, and compare the performance across multiple
    metrics, including mode share (e.g., transit, walk/bike, drive alone), congestion (e.g., vehicle hours of
    delay), and emissions of criteria pollutants and GHGs. This analysis will inform policy makers of what
    future GHG emissions are expected to be under different investment scenarios, and allow decision-
    makers to make informed choices while considering the range of performance outcomes of importance
    to the region.

    Conduct a Focused Analysis of GHG Reduction Strategies that Supports the LRTP
    Another approach that a State DOT or MPO could apply is to conduct a focused analysis of
    transportation GHG reduction strategies to understand key factors affecting GHG emissions and
    effective strategies, in order to feed into decisionmaking for the LRTP.

    Transportation agencies can consider a wide range of GHG reduction strategies, including land use
    planning, promoting advanced vehicle technologies, encouraging the use of alternative fuels, improving
    transportation system operations, implementing transportation demand management programs and
    reducing the carbon footprint of transportation agencies themselves.45 Specific strategies could


    45
         http://www.ops.fhwa.dot.gov/tdm/index.htm http://www.ops.fhwa.dot.gov/publications/fhwahop12035/index.htm.




                                                               36
                                                                                                              FHWA002616
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through334  of 534 Planning
                                                                                Transportation PageID 2894
                   Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    incorporate alternative fuel vehicle infrastructure investment, pricing programs, improved transit
    services, investments in improved vehicle operations such as through Intelligent Transportation Systems
    (ITS), accessibility/mobility strategies, walkable communities, provision of transportation alternatives to
    driving and transit oriented development. Freight strategies might include truck climbing lanes, truck-
    stop electrification or other projects.

    There are a number of resources to help practitioners assess potential strategies. These include the
    following:

        x   The U.S. DOT has developed a Transportation Climate Change Clearinghouse that provides
            information on GHG mitigation strategies and how to evaluate them, as well as links to a wide
            range of studies and other resources. http://climate.dot.gov/ghg-reduction-
            strategies/index.html
        x   FHWA has developed the Energy and Emissions Reduction Policy Analysis Tool to assist States
            and regions in estimating the impact of transportation strategies.
            http://www.planning.dot.gov/FHWA_tool/
        x   FHWA has developed a Handbook for Estimating Transportation Greenhouse Gases for
            Integration into the Planning Process. This resource provides summary information on
            techniques, methods and models that can be used by planners to estimate GHG emissions
            impacts of different transportation strategies.
            http://www.fhwa.dot.gov/environment/climate_change/mitigation/resources_and_publication
            s/ghg_handbook/chapter01.cfm
        x   EPA has developed the report Analyzing Emission Reductions from Travel Efficiency Strategies: A
            Guide to the TEAM Approach
            http://www.epa.gov/otaq/stateresources/policy/420r11025.pdf


    A focused analysis of GHG reduction strategies may be particularly helpful to State DOTs, since their
    LRTPs often set out a key policy direction and strategies, but traditionally have not involved identifying
    and modeling specific project investments. Although not required by law, this approach could be similar
    to the approach used in the development of a Strategic Highway Safety Plan (SHSP). In developing an
    SHSP, a focused safety analysis is conducted, using a data-driven process to understand the source of
    problems at a detailed level, identify potential solutions (i.e., safety countermeasures), assess the
    effectiveness of alternative strategies, and prioritize strategies. By bringing together a wide range of
    stakeholders that play a role in safety – transportation agencies, law enforcement, emergency medical
    services, etc. – and focusing broadly on the sources of problems, this approach helps support
    collaborative efforts. If implemented effectively, a transportation-focused Climate Action Plan or
    sustainability planning effort could function in a similar way. This approach can help to support informed
    investment decisionmaking and may serve as a catalyst for dialogue between decision-makers at the
    State and local levels to consider strategies (e.g., land use, incentives, pricing) that may not be
    traditionally considered in transportation planning by State DOTs.


                                                           37
                                                                                                          FHWA002617
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through335  of 534 Planning
                                                                                Transportation PageID 2895
                    Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    An example of a State DOT led climate strategy analysis is work conducted by Maryland Department of
    Transportation in developing its Climate Action Plan.




                                         Maryland: State Climate Action Plan
      Maryland is a State with significant climate change vulnerabilities, particularly sea level rise, given its many
      tidal coastlines. In 2009, the Maryland General Assembly passed the Greenhouse Gas Emissions Reduction Act
      of 2009, which required the State to develop and implement a climate action plan to reduce GHG emissions by
      25 percent by 2020 (from a 2006 baseline). Maryland DOT was designated by Maryland Department of
      Environment (MDE) as an implementing agency for six transportation and land use mitigation and policy
      options. In 2012, Maryland DOT published an Implementation Plan to support its achievement of a 6.2 mmt
      CO2e reduction by 2020 (set by MDE). The figure below summarizes GHG emissions expected from the State’s
      2011-2016 capital program, as well as MPO programs in the State. Maryland DOT continues to work with MDE
      and other State agencies to achieve the legislature’s statewide GHG reduction goals.




      For more information, see:
      http://www.mdot.maryland.gov/Office_of_Planning_and_Capital_Programming/Plans_Programs_Reports/Doc
      uments/Climate_Change_2011.pdf


    At the MPO level, the National Capital Region Transportation Planning Board (TPB) at the Metropolitan
    Washington Council of Governments conducted a “What Would it Take?” analysis in 2010 to evaluate



                                                             38
                                                                                                           FHWA002618
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through336  of 534 Planning
                                                                                Transportation PageID 2896
                     Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    the types of strategies that would be required to meet regional climate change mitigation targets,
    including GHG emission reductions.46 The analysis required a GHG inventory and forecast, which was
    created using a travel demand model to forecast vehicle miles traveled (VMT) for the years 2005, 2010,
    2020, and 2030, and applied MOBILE6.2-generated CO2 emissions factors to generate CO2 emissions
    totals.47 The analysis addressed a wide range of strategies, including transit investments, eco-driving,
    and operations strategies.

    The Atlanta Regional Commission (ARC), Atlanta’s MPO, performed a scenario analysis to compare the
    long range plan forecasts with various transportation investments and vehicle technological
    improvements in an effort to understand what actions would be required to reduce on-road GHG
    emissions to 1990, 2000, or 2010 levels.48 ARC’s analysis used a 4-step travel demand model and
    MOBILE6, the previous EPA emissions model, to model land use scenarios that described different
    potential growth patterns.49 Other examples are provided by California MPOs, which have conducted
    extensive analysis to show which strategies can be implemented and investments made to reduce light-
    duty GHGs above and beyond what will be achieved through vehicle technologies and fuels.50

    An important element of this approach, however, is that it should not be just a stand-alone analysis. The
    GHG analysis and strategy assessment should directly inform and support investment decisions in the
    LRTP.

    Identifying the Most Appropriate GHG Reduction Strategies
    A wide suite of strategies are available to reduce GHG emissions from transportation. It is important
    that States and MPOs identify the key drivers of GHG emissions in their areas and then analyze potential
    GHG reduction strategies to assess potential effectiveness in their specific State or regional
    circumstances. Some of the types of transportation-related GHG reduction strategies that may be
    advanced by States and MPOs are briefly described below.

    VMT Reductions - Light-duty Vehicle Strategies
    GHGs from light-duty vehicles can be further reduced beyond what will be achieved through
    technological developments and regulatory programs, primarily through reductions in VMT influenced
    by strategies and programs that support travel alternatives. These strategies include:



    46
       MWCOG, “What Would It Take?” Available at: http://www.mwcog.org/clrp/elements/scenarios.asp.
    47
       FHWA, “Handbook for Estimating Transportation Greenhouse Gases for Integration into the Planning Process.”
    48
       Atlanta Regional Commission’s PLAN 2040 and associated documents. Available at:
       http://www.atlantaregional.com/plan2040/documents--tools.
    49
       In the time since ARC conducted the scenario analysis using MOBILE6, the EPA has developed an updated model, MOVES.
       FHWA, “Handbook for Estimating Transportation Greenhouse Gases for Integration into the Planning Process.”
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       Metropolitan Transportation Commission’s Climate Change website. Available at: http://www.mtc.ca.gov/planning/climate/.




                                                                39
                                                                                                               FHWA002619
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through337  of 534 Planning
                                                                                Transportation PageID 2897
                  Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




        x   Carpooling and vanpooling programs that provide an option for motorists to split the costs and
            externalities of driving alone
        x   Bicycling and pedestrian improvements that encourage greater multi-modal road use
        x   Transit improvements, which provide greater options for motorists to leave their cars at home
        x   Teleworking programs, which give employees the choice to work from home or choose an
            alternate travel schedule
        x   Pricing strategies, including road pricing, parking pricing, and including Pay as You Drive
            insurance, influence motorists to drive less and use alternative modes more
        x   Land use planning and urban design, which can reduce trip length, and increase use of transit
            and non-motorized modes
        x   Outreach and education to increase awareness about the use of alternative modes, the option
            of teleworking, and other choices that reduce personal costs and GHG emissions from light-duty
            vehicle travel
        x   Incentive programs to influence more motorists to drive alone less often

    By creating more transportation options and influencing travel behavior, these strategies also support
    other objectives in most regions including improving mobility and travel choices, reducing emissions,
    developing livable communities, improving access for bicyclists, and improving pedestrian safety.
    Therefore, such strategies complement and support other regional and/or State objectives.

    Vehicle/Systems Operations Strategies
    There are a number of actions that State DOTs and MPOs and local communities can take to reduce GHG
    from transportation system operations. These include the following strategies:

        x   Managing speed (35-55 MPH is optimal)
        x   Speed limits/enforcement
        x   Eliminating bottlenecks
        x   Smoothing traffic flow
        x   Improving signal timing
        x   Roundabouts
        x   Reducing car and truck idling
        x   Work zone management to smooth flow
        x   Congestion pricing
        x   Encouraging eco-driving

    Several of these strategies are routinely included in MPOs’ and State DOTs’ long range plans because
    they support other regional and/or State goals and priorities. While these strategies reduce GHG
    emissions, it is important to recognize that some of them, such as eliminating bottlenecks and improving
    traffic flow, may facilitate additional vehicular travel that may offset GHG reductions in the long term.




                                                          40
                                                                                                         FHWA002620
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through338  of 534 Planning
                                                                                Transportation PageID 2898
                     Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    Freight Strategies
    Heavy-duty truck GHG emissions are growing faster than other sources of transportation GHGs, and
    constitute a significant portion of total on-road emissions. An evaluation of GHG emissions from heavy-
    duty vehicles in seven States found that while the heavy-duty VMT accounted for a relatively small share
    of total in-state VMT, heavy-duty CO2 emissions accounted for 20 to 37 percent of total on-road
    emissions in these States.51

    MAP-21 established a national freight policy that requires the U.S. DOT to establish a primary freight
    network of up to 300,000 miles, and requires the development of a National Freight Strategic Plan. With
    this new focus on freight planning, there may be additional opportunities to address freight-related GHG
    emissions. Freight strategies that have been identified in various State climate action plans (and some of
    which are routinely included in State and/or MPO Long Range Plans) are listed below.52

         x   Anti-idling programs
         x   Truck-stop electrification
         x   Speed limit enforcement
         x   Freight villages/consolidation centers
         x   Feeder barge container service
         x   Bottleneck reduction
         x   Traffic flow improvements
         x   Pre-clearance at scale houses
         x   Truck driver training
         x   EPA SmartWay upgrade kits, loans and diesel retrofits
         x   Improvements to highway grade crossings
         x   Efficient intermodal facilities
         x   Incentives to retire older trucks
         x   Freight logistics improvements
         x   Shifting freight from truck to rail
         x   Technologies (Hybrid power trucks; low-viscosity lubricants; single side-base tires; automatic tire
             inflation systems)


    51
       An evaluation of VMT and on-road CO2 was conducted for seven states (Michigan, California, Nevada, Maryland, South
       Carolina, Pennsylvania, and Idaho) and eight metropolitan regions (Atlanta, Denver, Salt Lake City, Chattanooga, Washington,
       DC, San Francisco, Youngstown, OH, and Burlington, VT). The evaluation found that in the seven states, heavy-duty vehicles
       accounted for 7%, 8%, 9%, 10%, 10%, 11%, and 18% of total VMT in Michigan, California, Nevada, Maryland, South Carolina,
       Pennsylvania, and Idaho, respectively. The evaluation also found that heavy-duty vehicle travel accounted for 20%, 21%,
       28%, 22%, 26%, 28%, and 37% of total on-road CO2 emissions in Michigan, California, Nevada, Maryland, South Carolina,
       Pennsylvania, and Idaho, respectively. This analysis was conducted by ICF International using data from FHWA and these
       states.
    52
       Detailed information on strategies is available in NCHRP 20-24(59) Appendix C, available at:
       http://climatechange.transportation.org/pdf/nchrp_2024_59_final_report_031309.pdf.




                                                                  41
                                                                                                                   FHWA002621
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through339  of 534 Planning
                                                                                Transportation PageID 2899
                   Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    Fuel Efficient Vehicle Technologies and Alternative Fuels
    The introduction of more fuel efficient vehicles and alternative fuels can reduce GHG emissions. While
    vehicle fuel efficiency standards have been primarily implemented at the Federal level to date, California
    has the legal authority to adopt more stringent vehicle technology standards to reduce air emissions.
    Other States may adopt California standards. States can influence the adoption of new vehicle by
    purchasing these vehicles for their own fleets. Tax breaks or subsidies for new vehicle technologies may
    also be adopted at the State or regional level. New vehicle technologies may also be given other special
    preferences. For instance, California law allows single-occupant use of high occupancy vehicle (HOVs)
    lanes by certain qualifying clean alternative fuel vehicles.

    The use of low carbon fuels is another important strategy that can be promoted at the State or regional
    level to reduce GHG emissions. States and localities have been involved in promoting a range of
    alternative fuels, including natural gas (CNG, LNG), propane, biofuels (ethanol, biodiesel) and electricity.
    States and regions can promote the installation of alternative fuel filling stations or electric vehicle
    charging stations. A number of agencies have prepared electric vehicle readiness studies to plan for
    electric vehicle use. Alternative fuel mandates in some States have been used to require the mixture of
    biofuels, such as biodiesel, into the fuel supply. Lower fuel tax rates on alternative fuels may also
    provide an incentive for their use. California has adopted a low carbon fuel standard that provides a
    fuel-neutral mechanism to promote lower carbon fuel use.

    Developing an Investment Plan: Analyzing GHG Emissions to Inform
    Investments and Policy Priorities
    As noted earlier in the section on developing a baseline, GHG emissions forecasts are typically
    developed using a combination of travel demand forecasting models and emissions models. Scenario
    planning is a tool that can also be important for emissions forecasts, and allows for the comparison of
    different investment plans on State and/or regional objectives and goals. Scenario planning is fairly
    common at the MPO level, as MPOs use their travel demand models to assess alternative packages of
    investments. In general, scenario planning is more useful when sub-area performance measures are also
    reported because the more flexible the model, the easier it is to use as a tool for answering particular
    questions that arise during the public involvement process.

    At the State level, a challenge is that many LRTPs are largely policy-documents or corridor-based, and
    even if investments are identified, forecasting models may not be available to analyze investments. Still,
    State DOTs could conduct analyses of alternative policies and strategies, much like the analyses that
    have been conducted by States as part of Climate Action Plans.




                                                           42
                                                                                                          FHWA002622
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through340  of 534 Planning
                                                                                Transportation PageID 2900
                    Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities

     The Puget Sound Regional Council (PSRC) developed its Long Range Regional Plan using five different scenario
     alternatives. Climate change was a factor considered in developing scenarios, but there were also many other
     components. Through the public participation process, climate change became such an important priority that
     GHG reduction strategies were included in the final scenario plan, and GHGs were used in the prioritization criteria.
     The most recent long range plan, Transportation 2040, has a four part strategy that includes Land Use,
     Transportation Pricing, Transportation Choices, and Technology. The results of the investments and strategies
     contained in Transportation 2040 are illustrated in the figure below. The combination of the four-part strategy
     results in a range of emissions reductions (between 5 percent likely technology scenario and 28 percent aggressive
     technology scenario) below 2006 modeled emissions. As compared to the 2040 Baseline trend, the preferred
     alternative results in emissions reductions between 31 percent and 48 percent.




     Source: Puget Sound Regional Council, Transportation 2040, Chapter 3 and Appendix L, available at:
     http://www.psrc.org/transportation/t2040/t2040-pubs/final-draft-transportation-2040


    Recognizing the limitations of most travel models to address strategies such as demand management
    and incentives, Oregon DOT developed the GreenSTEP Model to test various scenarios for reducing
    transportation sector GHG emissions. This tool is the basis for the Energy and Emissions Reduction Policy
    Analysis Tool (EERPAT) tool, which is being promoted by FHWA as a statewide GHG policy analysis tool
    for providing rapid analysis of many scenarios that combine effects of various policy and transportation
    system changes. EERPAT is an open source tool and is designed to be adapted and used by other States.
    EERPAT is sensitive to a variety of different policies, including carbon taxes, policies that incentivize the
    introduction of low carbon vehicle technology, public policies that incentivize fleet turnover, policies to
    increase transit capacity and ridership, policies to promote intercity rail and bus transport, policies that
    improve walkability and transit access, urban growth boundaries and household and business
    transportation demand management programs.

    The impacts of these policies may overlap each other and in many cases the benefits of individual
    strategies may not be additive when used together. The EERPAT model accounts for this, and
    incorporates various secondary effects of policies. For instance, the model accounts for the rebound
    effect when fuel economy improvements are implemented. By re-calculating household budgets to



                                                             43
                                                                                                           FHWA002623
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through341  of 534 Planning
                                                                                Transportation PageID 2901
                     Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    include fuel economy savings due to new vehicle technologies, EERPAT incorporates potential increases
    in demand for VMT caused by lower travel costs.

                                Metropolitan GHG Reduction Targets and Scenario Planning
                                                   Portland Oregon

    In 2007, the State of Oregon adopted a goal to reduce all GHG emissions to 75% below 1990 levels by 2035.
    The State Land Conservation and Development Commission (LCDC) adopted GHG reduction targets in 2011 to
    help guide the State’s MPOs as they conduct scenario planning which is required in the Portland and
    Eugene/Springfield areas, as part of the statewide effort. The other MPOs are not required to conduct scenario
    planning but may do so on a voluntary basis. Targets were set based on an assessment of what is possible to be
    accomplished at the metropolitan level. These targets call for a 17-20% reduction in transportation-related
    GHGs in each metropolitan area by 2035 in order for the State to meets its 2050 goal. State law (HB 2001)
    requires Metro and the Portland metropolitan area local governments to develop and select a preferred land
    use and transportation scenario that achieves the GHG emissions reduction targets. Portland Metro’s Climate
    Smart Communities scenario planning process includes six desired regional outcomes which serve as guiding
    principles for the Climate Smart Communities Project. Metro’s scenario planning process identified evaluation
    criteria that could assess scenario performance on all of the region’s six desired outcomes. Climate Smart
    Communities Scenarios Project: Strategies Toolbox discusses the scenario planning process in detail and the
    various strategies researched.

    www.oregonmetro.gov/index.cfm/go/by.web/id/36945




    Assessing Tradeoffs and Understanding Co-benefits
    A challenging part of PBPP is to consider how an agency will weigh tradeoffs among different goals
    areas. For example, how will GHG reductions be weighted in comparison to criteria pollutant emissions
    reductions? Or more broadly, how important is GHG reduction in comparison to safety or economic
    development? Are there strategies that generate a win-win for multiple goal areas? This balancing of
    goals and priorities is achieved through qualitative and quantitative analysis and most importantly
    through the decisions made by policy makers about relative priorities within a region.

    One of the advantages of many GHG reduction strategies is that they tend to support other regional and
    State goals that are typically included in LRTPs. For example, transit investments support mobility,
    access to jobs, increasing travel choices, reducing emissions and reducing VMT and GHGs. Another
    example is improving rail-freight grade crossings. These investments may improve traffic flow, reduce
    particulate matter (PM) emissions, encourage rail freight, and reduce energy consumption and GHGs.
    Many of the other types of investments that State DOTs and MPOs traditionally make also can support




                                                             44
                                                                                                            FHWA002624
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through342  of 534 Planning
                                                                                Transportation PageID 2902
                     Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    reducing GHGs. There are also co-benefits in that many strategies reduce multiple pollutants of concern
    (e.g. VOCs, NOx, CO, PM-10, PM2.5, etc.).53 Other examples of co-benefits include:

         x   Increase in physical activity,
         x   Improvement in roadway safety,
         x   Reduction in household transportation costs,
         x   Economic development, and
         x   Cost savings for local agencies.

   The Sacramento Area Council of Governments (SACOG) tested seven policy scenario options as part of the GHG
   target setting required by State law. The work was done to inform SACOG and others of the GHG reduction
   potential of various scenario options, each of which was focused on expanding a policy bundle. The scenarios
   included land use enhancements, transit enhancement, system and demand management enhancement and
   pricing. Two scenarios assessed the possibility of combining elements of these policy bundles.

    SACOG staff have made a concerted effort to ensure that various considerations are being measured from a
   consistent base so that each scenario is evaluated using the same data. The decision makers do not use a
   scoring system, but they do look at all of the possible outcomes and assess what strategies do and do not work
   well together. SACOG highlights the co-benefits of its strategies as a way to convince decision makers how to
   get the best return on transportation investments. SACOG addresses trade-offs by creating scenarios that
   revolve around specific priorities so that decision makers and the public can develop their own opinion of the
   best scenarios. The final plan includes just one scenario that is a combination of the best elements from 3 or 4
   other near-final scenarios.

   See a description of SACOG Scenario Testing:
   http://www.arb.ca.gov/cc/sb375/mpo/sacog/sacog.rtac.scenarios.pdf




    Prioritizing Projects for Funding
    Performance information can be used to prioritize projects for funding. Although project-level emissions
    analysis is not typically conducted in relation to performance measures, States and MPOs can use
    quantitative or qualitative information to assess how different projects or more likely, groups of
    projects, contribute to different goals. For instance, DRCOG in Denver, CO estimates emissions impacts
    of transit passenger facilities projects, bus service projects, new bicycle and pedestrian projects, and air
    quality improvement projects, and uses this information as part of a scoring matrix to prioritize
    projects.54 High scores are awarded to those projects that aim to reduce the largest amount of emissions
    as a percentage of the regional total. The Puget Sound Regional Council in Washington State has


    53
       See FHWA, Multipollutant Emissions Benefits of Transportation Projects, While CO2e was not investigated as part of this
       effort, many of the transportation emissions reduction strategies available to State DOTs and MPOs would also reduce CO 2e.
       https://www.fhwa.dot.gov/environment/air_quality/conformity/research/mpe_benefits/mpe01.cfm
    54
       Denver Regional Council of Governments. Policy on Transportation Improvement Program (TIP) Preparation. 2010. Available
       at: http://www.drcog.org/agendas/DRAFT%202012-2017%20TIP%20Policy-MVIC%20Version.pdf.




                                                                  45
                                                                                                                  FHWA002625
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through343  of 534 Planning
                                                                                Transportation PageID 2903
                    Identifying Strategies, Analyzing Alternatives, and Developing Investment Priorities




    discussed the concept of creating approaches, such as monetizing benefits, which allow projects to be
    prioritized using criteria that are relatively comparable and also allow for cost-benefit analyses.
    Monetizing benefits would also be useful because State officials have limited funding for transportation,
    and monetizing benefits could provide a mechanism to raise the priority of GHG reduction projects
    relative to other traditional transportation improvements that can be monetized.

    Another approach is to designate specific funding for transportation climate change initiatives and
    prioritize funding based on estimated GHG reduction potential or cost-effectiveness. The MTC in the San
    Francisco Bay Area has developed a Climate Initiatives Program, which specifically was designed to fund
    programs that reduce GHG emissions, and have other co-benefits.

     Integrating greenhouse gases into planning and programming in Massachusetts - In 2008 Massachusetts
     passed the Global Warming Solutions Act that requires the State to set a goal for reduction and create
     transportation plans that are consistent with that goal. The goal has been set at a 25 percent reduction by 2020
     in GHG emissions from a 1990 baseline.

     Long-range planning documents, including statewide planning documents (e.g. the Strategic Plan, State Freight
     Plan, and MassDOT Capital Investment Plan), as well as the long-range Regional Transportation Plans from the
     Metropolitan Planning Organizations (MPO), must address MassDOT’s three sustainability goals and plan for
     reducing GHG emissions over time. Similarly, the shorter-range regional and State Transportation Improvement
     Programs (TIPs and STIP), under which particular projects are chosen for funding in the coming four years, must
     be consistent with the Commonwealth’s GHG reduction target. This will require that the MPOs and MassDOT
     balance highway system expansion projects with other projects that support smart growth development and
     promote public transit, walking and bicycling. In addition, the project programming mix included in the RTPs,
     TIPs and STIP can contribute to GHG reduction through prioritizing roadway projects that enable improved
     system operational efficiency, without expanding overall roadway system capacity. Currently the TIPs provide a
     numerical ranking for projects on several different factors, including their contribution to GHG emissions.

     MassDOT and the MPOs have developed approaches for identifying the anticipated GHG emission impacts of
     different project types. All TIP projects have been sorted into two main categories for analysis: projects with
     quantified impacts and projects with assumed impacts. Projects with quantified impacts consist of capacity-
     adding projects from the LRTP and projects from the TIP that underwent a CMAQ spreadsheet analysis. Projects
     with assumed impacts include projects that would be expected to produce a minor decrease or increase in
     emissions and projects that would be assumed to have no CO2 impact.

     For more information see Appendix C: Greenhouse Gas Monitoring & Evaluation.
     http://www.ctps.org/Drupal/data/html/plans/TIP/FFYs_2014_2017_Draft_TIP.html#appc


    Since the transportation planning process is continuous, transportation plans and TIPs are updated
    periodically and State DOTs and MPOs routinely adjust program priorities based upon changing
    circumstances and resource constraints. As the new performance requirements included in MAP-21 are
    implemented, State DOTs and MPOs are expected to begin setting clear performance targets and using
    those targets to inform investment decisions in the required areas. If an MPO or State DOT chooses to
    adopt GHG reduction targets as part of their PBPP and as a means to support the environmental
    sustainability goal under MAP-21, then GHG reductions can be considered as an additional return on
    potential project investments.


                                                            46
                                                                                                           FHWA002626
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through344  of 534 Planning
                                                                                Transportation PageID 2904
                             Monitoring, Evaluating, and Reporting on GHG Performance




    8. Monitoring, Evaluating, and Reporting on GHG Performance
    The goal of PBPP is to use performance data to inform and influence decisionmaking, especially with
    respect to the allocation of scarce resources. Monitoring system performance and evaluating programs
    and projects are the two key activities involved in the feedback loop that is part of a PBPP process. In the
    context of PBPP, it is important to distinguish between monitoring system-level performance and
    evaluating performance of investments, given the limited control that transportation agencies have over
    some outcomes. Reporting is the process through which performance is conveyed to various
    constituencies including policy- and decision-makers and the general public.

    Monitoring GHG Emissions Performance
    Monitoring provides information on actual conditions on a periodic basis and allows for periodic
    assessment of whether targets have been or are likely to be attained. Data collected informs
    transportation decision-makers about progress made toward goals and targets. Monitoring plans
    address issues such as what is being tracked, what data need to be collected, who will collect it, how it
    will be collected, where it will be stored, and how it will be reported back to the end user.

    For GHG emissions, one key challenge is that monitoring requires some form of calculation or modeling
    since emissions are not directly “measured.” If using fuel consumption as a more direct measure to
    calculate GHG emissions, it is important to recognize that fuel consumption data may not align well with
    VMT data used for forecasting and analysis within the planning process. However, on-going
    development of GHG inventories will provide a useful context both for overall State and regional
    performance, changes in the contributions of different sources to emissions, and for understanding
    factors that have influenced those changes.

    Monitoring system performance is an ongoing process. For certain metrics, such as those related to
    safety and congestion, data may be compiled annually, quarterly, or even monthly or more often. For
    GHG emissions, annual reporting, or reporting in relation to each LRTP update, is likely the most
    appropriate reporting cycle.

    Evaluating Performance
    Evaluating performance is the process of taking information and drawing inferences as to why
    performance on various measures changed; in other words, interpreting the results. It goes a step
    beyond monitoring and tracking and attempts to understand whether implemented strategies have
    been effective in contributing toward positive performance outcomes. Two types of evaluation may be
    conducted:

        x   System-level performance evaluation - Regional analysis to assess the extent to which
            transportation investments and policies have contributed toward a target;
        x   Project-level or program-level analysis to assess impacts of specific strategies.


                                                         47
                                                                                                  FHWA002627
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through345  of 534 Planning
                                                                                Transportation PageID 2905
                             Monitoring, Evaluating, and Reporting on GHG Performance




    System-level Evaluation
    Identifying the system-wide effects of transportation agency programs and activities is difficult, and
    requires modeling a “business as usual” or counterfactual scenario to see what GHG emissions would
    have been absent the implementation of GHG reduction strategies. System level evaluation incorporates
    the impacts of many different specific projects and programs. Ideally system level performance
    evaluation should focus on the outcomes achieved by the transportation system. For instance, the
    Central Lane MPO in Oregon uses internal VMT/capita, average trip length and % of person trips under
    one mile to evaluate the sustainability of its transport system performance and its long range plan.
    Mode shares for walking, bike, transit, or shared ride auto are also used. System characteristics such as
    bikeway miles, transit service hours per capita and percent of households within ¼ mile of a transit stop
    are included in their evaluation process. These measures are only indirect measures of GHG emissions,
    since changes in technology have reduced GHG emissions per VMT.

    Some agencies have assessed the air quality and GHG emissions impacts of reductions in congestion on
    a system-wide basis using the MOVES model. More direct measures of transportation GHG emissions
    include total transportation GHG emissions for a region or transportation GHG emission per capita.
    These measures are less directly linked to specific transportation policies. System level evaluation can be
    more challenging since there are so many different policy, technology, and economic factors that affect
    GHG emissions at the system level, and transportation agencies may have only indirect influence over
    many of these factors. More commonly, evaluation focuses on a specific set of strategies or programs.

    Project or Program-level Analysis
    A State DOT or MPO can fund studies to measure the effectiveness of particular strategies or projects by
    examining conditions before and after, or with and without, a strategy of interest. For instance, a study
    could be conducted to quantify VMT reductions or mode shifts of a transportation demand
    management (TDM) program, to quantify the speed improvements associated with traffic flow
    improvement projects, to examine the reduction in vehicle delay associated with operational strategies,
    or other similar types of impacts. Projects and programs can be evaluated in terms of their emission
    reduction cost effectiveness, co-benefits, and on other criteria. The specific methods for determining
    impacts will vary from project to project; however, a common analytical framework can be applied to
    ensure an “apples to apples” comparison. This section describes a basic framework for evaluation and
    some of the concepts and components that should be considered. These include:

        x   Transportation Impacts
        x   Emissions Impacts
        x   Costs and Cost-Effectiveness
        x   Co-Benefits
        x   Lessons Learned




                                                        48
                                                                                                 FHWA002628
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through346  of 534 Planning
                                                                                Transportation PageID 2906
                              Monitoring, Evaluating, and Reporting on GHG Performance




    Transportation Impacts
    The two most common types of impacts for projects or programs that reduce GHG emissions are
    reduced VMT and reduced emissions per mile (from cleaner vehicles, or eco driving for example). Some
    projects may not fit neatly in either of these two categories and may require tailored approaches.

    VMT Reduction Projects / Programs - The methods for determining VMT reduction will vary by project.
    In general, these projects are more difficult to evaluate than clean vehicle projects because they require
    measurement of behavior change.

    A preferred approach is to measure travel behavior before and after the project or program
    implementation. This can be done through a survey – by telephone, by mail, by internet, online, and/or
    in person. The appropriate data collection methodology (or combination of methods) will depend on the
    nature of each project. In general, the respondent is asked about their travel behavior (trip frequency,
    mode, trip distance, etc.) before the project occurs, and then is asked similar questions after the project.
    For some projects like bicycle or pedestrian projects, counts of pedestrian and bicycle activity before
    and after the project may be sufficient to estimate changes in vehicle trips and therefore VMT.

    A major challenge with the before and after survey approach is that it is resource intensive. Another
    challenge is that, in some cases, the target population (e.g., users of a new bikesharing station) will not
    be known until the project has been implemented, so conducting a “before project” survey is not
    possible.

    Evaluation of some projects may require the use of a control group – a similar population that is not
    subject to the project activities and is surveyed and monitored for behavior change like the target
    population. An alternative approach is to survey participants to ask how they traveled prior to the new
    project/service, or how they would have traveled in the absence the project/service. This “retrospective
    surveying” has been the approach taken in several evaluations of bikesharing programs, for example.
    Accuracy may be a challenge with this approach, particularly if respondents are asked to speculate
    about hypothetical travel or recall travel that occurred more than several weeks in the past.

    A challenge with either approach is a bias toward what is perceived as the socially desirable answer.
    Some respondents will overstate their reduction in automobile use, for example, knowing that it is a
    goal of the project and considered more acceptable by society. This potential source of bias is a chief
    concern – and it may dictate the use of split-sample and/or more complicated questionnaires in order to
    minimize or mitigate its impact.

    An additional challenge when sampling to estimate the impacts of a project or program is that sample
    size will determine, to some degree, the ability of the research to measure statistically reliable changes
    in behavior. The smaller the program impacts, all other things being equal, the larger the sample needed
    to measure the impacts. For each project, therefore, the appropriate sample size needed to evaluate the
    program will depend, in part, on the expected magnitude of impact needed for the project to be
    deemed “successful”.


                                                         49
                                                                                                   FHWA002629
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through347  of 534 Planning
                                                                                Transportation PageID 2907
                             Monitoring, Evaluating, and Reporting on GHG Performance




    When determining VMT impacts, it is important to account for all vehicle activity affected by a
    project/program. In some cases, a reduction in automobile VMT may be offset by an increase other
    vehicle activity. For example, evaluation of a new shuttle service should account for the travel and
    emission of the shuttle itself. A bikesharing program may generate new VMT from the vehicles required
    to redistribute bicycles among stations.

    Reduced Emissions per Mile (Clean Vehicles, etc.) - Some project evaluations will focus on the
    introduction of cleaner vehicles. In general, these types of projects require the collection of data on
    vehicle activity (VMT) as well as the fuel source used. For electric vehicles, charging information (charge
    duration, time of day, metered energy use) would be collected. It may also be important to account for
    the differences in emissions per kilowatt hour for base load and peak power usage for vehicle charging.
    In general, it may be important to account for life-cycle emissions for different types of fuels, including
    conventional fuels. For instance, fugitive emissions from natural gas vehicles or pipeline transmission
    may add significantly to the tailpipe emissions of natural gas vehicles. It is typical to assume that a low
    emission vehicle project would not change the demand for travel, unless project data suggests
    otherwise.

    Emissions Impacts
    Impacts on GHG emissions can be calculated by applying emissions factors to estimates of vehicle travel.
    The factors used to calculate GHG emissions impacts should be consistent across evaluations while at
    the same time reflecting the specific nature of the transportation activity changes. As discussed earlier,
    the MOVES model is one national source for emissions factors. It may be important to develop factors
    specific to a project in some cases. For example, if a project is replacing travel by older vehicles,
    emission factors could be created that reflect only vehicles of the relevant model years. If a project is
    eliminating only highway travel, emission factors could be created that reflect highway speeds.

    Costs and Cost-Effectiveness
    Project or program evaluations should consider evaluating the cost-effectiveness of program
    expenditures. Project cost-effectiveness can be determined by dividing the project costs by the emission
    reduction. Project costs can include multiple components. For example, costs could include only the
    regional agencies public expenditure, agency expenditures plus other State and local government costs,
    all government and private sector costs, or all costs from a societal perspective. Ultimately, the
    appropriate cost definition depends on how the cost effectiveness metric will be used.

    For calculations of cost effectiveness, consider evaluating cost in two ways:

        x   Total public cost – Sum the public expenditures (including Federal, State or local government
            match). This measure of cost effectiveness allows for “apples to apples” comparison across
            projects and identifies what are the most cost effective ways for public agencies (as a whole) to
            reduce GHGs.
        x   Total cost – Sum public expenditures, in-kind costs used as a local match, and private funding.


                                                         50
                                                                                                  FHWA002630
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through348  of 534 Planning
                                                                                Transportation PageID 2908
                                 Monitoring, Evaluating, and Reporting on GHG Performance




    Costs to users, such as a reduction in automobile ownership costs, can be assessed as a co-benefit.

    A key concept in cost-effectiveness analysis is the “lifetime” of the emission reduction. For projects that
    provide an on-going service, like support for a ridematching program or a new shuttle service, it can be
    assumed that the emissions benefits last only as long as the program is in place. Thus, one year of
    funding buys one year of emission reduction. But other types of projects may have emissions benefits
    that remain after the grant funds have been expended. This is true of most infrastructure projects, for
    example.

    There are a variety of approaches for addressing this issue in a cost-effectiveness calculation. In general,
    they seek to determine the average annual cost over the lifetime of the emission reduction. For instance
    the methodology typically used by the California Air Resources Board (CARB) for determining emission
    reduction cost-effectiveness55 involves calculating an “annualized capital cost”, which is the amortization
    of the one-time incentive grant amount for the life of the project. In effect, the annualized capital cost is
    the expected yearly return if the total capital cost were invested over the lifetime of the project.

    It is important to select an appropriate discount rate for the cost-effectiveness calculations. Some State
    agencies use a 4% discount rate, which is intended to reflect the prevailing earning potential for State
    funds that could reasonably be expected by investing in various financial instruments. A lower rate may
    be needed to reflect current investment conditions. In San Francisco, MTC has used 2.2% discount rate
    for some analyses.

    Some projects may also have annual operations and maintenance (O&M) costs in additional to an initial
    capital investment. If so, the average annual operating cost can be added to the annual capital cost.

    While cost-effectiveness calculations can often help to prioritize GHG emission-reducing projects for
    funding, it is important to note that co-benefits, which are not typically included in cost-effectiveness
    calculations, should supplement the dialogue. It is difficult to express through a cost-effectiveness
    calculation the more holistic benefits of emission reductions, and so it is recommended that cost-
    effectiveness serve as only one piece of the discussion about the need for emission-reducing program
    investments. A more complete discussion of co-benefits is given below.

    Co-Benefits
    Many GHG mitigation projects and programs have associated co-benefits in addition to GHG emission
    reduction. Such co-benefits might include congestion reduction, increased walkability, enhanced travel
    options, and reduced criteria pollutants, among others. Identifying these co-benefits, and, to the extent
    possible, assessing them in a quantitative or qualitative manner, can contribute significantly dialogue



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      See for example, Air Resources Board, The Carl Moyer Program Guidelines, 2008, available at:
     http://www.arb.ca.gov/msprog/moyer/guidelines/current.htm




                                                                 51
                                                                                                     FHWA002631
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through349  of 534 Planning
                                                                                Transportation PageID 2909
                              Monitoring, Evaluating, and Reporting on GHG Performance




    about GHG emission reduction strategies. The specific co-benefits and methods for assessing them will
    differ from project to project.

    In addition to identifying and perhaps quantifying the co-benefits of new GHG reduction strategies, it is
    important to highlight GHG emissions reductions as a co-benefit on many existing transportation
    projects and programs. As an example, policies or activities in place to reduce congestion or energy use
    have the added benefit of reducing GHG emissions. Doing so can help express to decision-makers the
    idea that GHG emissions reductions strategies are not new and not altogether unfamiliar.

    Lessons Learned
    Among the key objectives of an evaluation is to learn from the individual projects and programs that are
    being implemented in the field. One approach to creating lessons learned is to use a summary
    assessment approach to identify the key lessons learned from each project and program, and assess
    how replicable it is to expand the projects/programs on a much broader scale.

    The specific questions and approach for determining lessons learned will vary from project to project.
    Some projects have no precedent in a region or State and an evaluation can provide a wealth of new
    lessons learned concerning every aspect of the project. Other project types may have a history of
    implementation and past evaluation. An evaluation in these cases will focus on understanding what
    changes could make such projects more effective in the future. In general, an evaluation of lessons
    learned could consider the following issues and questions:

    Effectiveness - What are the project’s keys to success? How did measured project impacts compare to
    forecasted impacts? What might be the reason for any differences? What changes would have made the
    project more effective? What changes would increase its adoption?

    Replication - What factors need to be in place for the project to be successfully replicated? What is the
    extent of potential replication? If the project were replicated elsewhere, would we expect the cost
    effectiveness to change?

    Scalability - To what extent could the project be increased in scale (e.g., to larger target populations or
    larger geographic areas)? If the project were scaled up significantly, would we expect the cost
    effectiveness to change?

    Duration of Impacts - Will benefits persist once the project has ended? How long can they be expected
    to persist? What changes would help to maximize the duration of benefits?

    Role of Technology - To what extent did the project contribute to deployment or adoption of new
    technologies? How will new and emerging technologies affect the project? Could new technologies
    make similar projects more effective in the future, or irrelevant or unnecessary in the future?




                                                         52
                                                                                                   FHWA002632
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through350  of 534 Planning
                                                                                Transportation PageID 2910
                                    Monitoring, Evaluating, and Reporting on GHG Performance




    One example of a program evaluation is the Metropolitan Transportation Commission’s (MTC)
    evaluation of their Climate Initiatives Program. In December 2009, MTC, the transportation planning
    commission for the nine-county San Francisco Bay Area, programmed $80 million over a three-year
    period for a number of initiatives meant to reduce GHG emissions associated with transportation. These
    initiatives included:

           x    The purchase of electric vehicles and charging stations, electrifying car sharing, a demonstration
                of battery electric vehicles for San Francisco neighborhood taxis and deploying bay area electric
                vehicle infrastructure;
           x    Demonstrating dynamic ridesharing technology in three counties, developing bike sharing
                programs, parking pricing pilot programs and various other TDM programs;
           x    Development of school transportation “green teams”, funding for a bike repair and
                encouragement vehicle and other school transportation programs; and
           x    The Green My Ride Program, a TDM program that merges municipal fleet operations, electric
                vehicles, and carsharing into a Guaranteed Ride Home for employees.

    MTC initiated an evaluation program to measure the costs and benefits of these programs. The focus of
    the effort was to determine the effectiveness of these programs and projects at reducing GHG
    emissions. Survey data was used to evaluate some of these projects, but other qualitative and
    quantitative methodologies were also used. The evaluation included the creation of a baseline scenario
    and an estimation of transportation impacts, emissions impacts, costs and co-benefits, and a description
    of lessons learned.

    Another example of a program evaluation includes efforts by the National Capital Region Transportation
    Planning Board (TPB) at the Metropolitan Washington Council of Governments in the Washington, DC
    region to quantify the effectiveness of its Commuter Connections TDM program. TPB conducts a
    regional State of the Commute Survey, along with additional surveys such as a Guaranteed Ride Home
    Program survey and tracking of participation rates in programs, in order to analyze the vehicle travel
    reductions and air quality improvements associated with the program.56

    Another approach is for the State DOT or MPO to develop guidance for evaluating strategies, and
    require local project sponsors to conduct evaluations of their projects and programs. Guidance can be
    provided on when an assessment should be done, what measures should be used, how data should be
    gathered, what methods should be used to analyze the data, and other aspects of evaluation studies.
    This approach is appropriate where partner agencies are responsible for implementation of strategies.




    56
         See the most recent State of the Commute Survey Report from 2010 available online at
         http://www.mwcog.org/store/item.asp?PUBLICATION_ID=415.




                                                                   53
                                                                                                     FHWA002633
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through351  of 534 Planning
                                                                                Transportation PageID 2911
                              Monitoring, Evaluating, and Reporting on GHG Performance




    Reporting and Communicating Performance
    The way in which information about system performance in comparison to targets is communicated to
    policymakers and the public can have significant implications for agency and program support. Effective
    reporting tells a story and explains the societal trends (e.g., land use changes, demographic changes)
    and other factors that may be influencing results. Transportation organizations communicate
    performance results to a number of different audiences. First, the organizations collect and analyze data
    and circulate performance results internally. In addition, they report results both to the general public
    and to leaders and policymakers. In the case of the public and policymakers, simple graphics, visuals,
    and dashboards can be useful for communicating information in ways that the public can understand.
    Moreover, it is important to not just present information, but also to provide context for trends to tell a
    story about why performance has changed. To the extent possible, visuals should show past
    performance to provide context for current results. In addition, where appropriate, the organization can
    also provide counterfactual information, for example,
                                                                        Caltrans Regional Progress Report
    about performance that would have been expected
    without the investments that were made. This can be           California DOT’s Regional Progress Report is part
                                                                  of an ongoing State effort to understand the
    particularly relevant for GHG emissions, given the
                                                                  intersection between land use, mobility,
    many factors affecting GHG emissions that are beyond          housing, infrastructure and natural resources
    the control of transportation agencies.                       preservation as they relate to a region’s
                                                                  economic vitality, quality of life, and
    Additionally, effective communication regarding GHGs          environmental quality. In 2007, the first
                                                                  California Regional Progress Report introduced
    could serve as a catalyst for interagency partnerships
                                                                  regional quality of life indicators based on
    to reduce surface transportation GHG emissions. State         Regional Blueprint Planning goals. The 2010
    DOTs, MPOs, local governments, State legislatures, the        Report builds on the foundation laid in 2007, but
    private sector, developers, the auto industry, and            expands upon it to help meet the State’s need
                                                                  for coordinated sustainability planning and
    other stakeholders play an important role in reducing         assessment.
    GHG emissions based on their roles in land use
    decisionmaking, road use pricing (including                The Report is available at:
                                                               http://www.dot.ca.gov/hq/tpp/offices/orip/Coll
    consideration of strategies such as VMT-fees, pay-as-      aborative%20Planning/California_Regional_Prog
    you-drive insurance, and fuel taxes), speeds limits and    ress_Report.html
    enforcement, and creating incentives for purchasing
    fuel efficient vehicles, among other strategies. Consequently, communicating information about GHGs
    could help to engage discussions among these partners.




                                                          54
                                                                                                      FHWA002634
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through352  of 534 Planning
                                                                                Transportation PageID 2912
                                                Relevant Resources




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                                                        55
                                                                                                 FHWA002635
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through353  of 534 Planning
                                                                                Transportation PageID 2913
                                               Relevant Resources




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                                                       56
                                                                                              FHWA002636
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through354  of 534 Planning
                                                                                Transportation PageID 2914
                                              Relevant Resources




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                                                      57
                                                                                              FHWA002637
Case 5:23-cv-00304-H        Document
       A Performance-Based Approach      15-18 Greenhouse
                                    to Addressing Filed 01/31/24
                                                          Gas Emissions Page
                                                                        through355  of 534 Planning
                                                                                Transportation PageID 2915
                                              Relevant Resources




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                                                      58
                                                                                             FHWA002638
Case 5:23-cv-00304-H   Document 15-18   Filed 01/31/24   Page 356 of 534      PageID 2916




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                                                                            FHWA002639
Case 5:23-cv-00304-H     Document 15-18   Filed 01/31/24   Page 357 of 534     PageID 2917




Impacts of Climate Change and Variability on Transportation Systems and Infrastructure:
                            The Gulf Coast Study, Phase 2




                   Task 3.2:
           Engineering Assessments
          of Climate Change Impacts
          and Adaptation Measures




      U.S. Department of Transportation                                August 2014
      Gulf Coast Study, Phase 2                                    FHWA-HEP-1ϱ-0Ϭϰ



                                                                             FHWA002640
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 358 of 534       PageID 2918
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment



                  Impacts of Climate Change and Variability on
                    Transportation Systems and Infrastructure

                 The Gulf Coast Study, Phase 2

               Engineering Analysis and
                     Assessment
                              Final Report, Task 3.2

                                                Prepared for:
                 The USDOT Center for Climate Change and Environmental Forecasting

                                            Project managed by:
                               Office of Planning, Environment, and Realty
                                Federal Highway Administration, USDOT
                              Robert Hyman, Robert Kafalenos, Brian Beucler

                                                 Prepared by:
                                            Parsons Brinckerhoff
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   U.S. Department of Transportation                      i                                    FHWA002641
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 359 of 534       PageID 2919
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment



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   Other Contributing Authors (in alphabetical order)
   Michael Flood and Ismail Karatas of Parsons Brinckerhoff

   Susan Asam, Brenda Dix, Katy Maher, Mike Savonis, and Cassandra Snow of ICF International

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   U.S. Department of Transportation                      ii                                   FHWA002642
                                                                                                August 2014
Case 5:23-cv-00304-H                    Document 15-18                     Filed 01/31/24                  Page 360 of 534                     PageID 2920
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment



   Contents
   1. Executive Summary ...................................................................................................................1
       1.2 Overview of the General Process for Transportation Facility Adaptation
              Assessments ...................................................................................................................2
       1.3 Overview of Case Studies Selected to Demonstrate the Process ........................................3
       1.4 Key Lessons Learned ...........................................................................................................6
   2. Background ..............................................................................................................................15
       2.1 Overview of Gulf Coast Project .........................................................................................15
       2.2 Purpose of the Engineering Assessments ..........................................................................19
       2.3 Report Roadmap ................................................................................................................20
   3. A General Process for Transportation Facility Adaptation Assessments ..........................22
       3.1 Overview ............................................................................................................................22
       3.2 The Process ........................................................................................................................24
              3.2.1 Step 1 – Describe the Site Context ........................................................................................ 24
              3.2.2 Step 2 – Describe the Existing / Proposed Facility............................................................... 24
              3.2.3 Step 3 – Identify Climate Stressors that May Impact Infrastructure Components................ 25
              3.2.4 Step 4 – Decide on Climate Scenarios and Determine the Magnitude of Changes .............. 25
              3.2.5 Step 5 – Assess Performance of the Existing / Proposed Facility......................................... 27
              3.2.6 Step 6 – Identify Adaptation Option(s) ................................................................................. 29
              3.2.7 Step 7 – Assess Performance of the Adaptation Option(s) ................................................... 30
              3.2.8 Step 8 – Conduct an Economic Analysis ............................................................................... 30
              3.2.9 Step 9 – Evaluate Additional Decision-Making Considerations........................................... 31
              3.2.10 Step 10 – Select a Course of Action .................................................................................... 32
              3.2.11 Step 11 – Plan and Conduct Ongoing Activities ................................................................. 32
   4. Case Studies ..............................................................................................................................33
       4.1 Introduction ........................................................................................................................33
       4.2 Selection of Cases ..............................................................................................................33
       4.3 Approach ............................................................................................................................33
       4.4 Individual Case Studies......................................................................................................37
              4.4.1 Culvert Exposure to Precipitation Changes – The Airport Boulevard Culvert over
                    Montlimar Creek .................................................................................................................. 37
              4.4.2 Bridge Over Navigable Waterway Exposure to Sea Level Rise – The Cochrane-
                    Africatown USA Bridge ........................................................................................................ 89
              4.4.3 Bridge Approach Embankment Exposure to Sea Level Rise – US 90/98 Tensaw-
                    Spanish River Bridge (Western Approach) ........................................................................ 102
              4.4.4 Bridge Abutment Exposure to Storm Surge – US 90/98 Tensaw-Spanish River
                    Bridge (Western Abutment) ................................................................................................ 126
              4.4.5 Bridge Segment Exposure to Storm Surge – The US 90/98 Ramp to I-10 Eastbound
                    at Exit 30 ............................................................................................................................ 158
              4.4.6 Road Alignment Exposure to Storm Surge – I-10 (Mileposts 24 to 25) .............................. 187
              4.4.7 Coastal Tunnel Exposure to Storm Surge – The I-10 (Wallace) Tunnel............................. 222
              4.4.8 Shipping Pier Exposure to Storm Surge – Dock One at the McDuffie Coal Terminal ....... 233
              4.4.9 Pavement Mix Design Exposure to Temperature Changes................................................. 251
              4.4.10 Continuous Welded Rail Exposure to Temperature Changes ........................................... 263
              4.4.11 Operations and Maintenance Activity Exposure to Climate Change and Extreme
                    Weather Events .................................................................................................................. 272




   U.S. Department of Transportation                                              iii                                                     FHWA002643
                                                                                                                                           August 2014
Case 5:23-cv-00304-H                    Document 15-18                     Filed 01/31/24                  Page 361 of 534                    PageID 2921
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment


   5. Lessons Learned .....................................................................................................................294
       5.1 Introduction ......................................................................................................................294
       5.2 Applicability of a General Process for Transportation Facility Adaptation
               Assessments ...............................................................................................................294
              5.2.1 Lack of Engineering Guidance or Reference Materials for Considering Climate
                    Change ............................................................................................................................... 296
        5.3 Developing General Input Values for Engineering Designs ............................................297
              5.3.1 Utilizing Climate Data in Engineering Assessments .......................................................... 297
              5.3.2 Addressing the Design Storms vs. Modeled Future Storms ................................................ 298
              5.3.3 Downscaling Climate Scenario Data for Engineering Design ........................................... 300
              5.3.4 Considering the Full Range of Climate Change Scenarios ................................................ 301
        5.4 Facility-Specific Lessons Learned ...................................................................................302
              5.4.1 Culvert Exposure to Changing Precipitation Patterns ....................................................... 302
              5.4.2 Bridge Over Navigable Waterway Exposure to Sea Level Rise .......................................... 303
              5.4.3 Bridge Approach Embankment Exposure to Sea Level Rise ............................................... 304
              5.4.4 Bridge Abutment Exposure to Storm Surge ........................................................................ 305
              5.4.5 Bridge Segment Exposure to Storm Surge .......................................................................... 306
              5.4.6 Road Alignment Exposure to Storm Surge .......................................................................... 307
              5.4.7 Coastal Tunnel Exposure to Storm Surge ........................................................................... 309
              5.4.8 Shipping Pier Exposure to Storm Surge ............................................................................. 309
              5.4.9 Pavement Mix Design Exposure to Temperature Changes................................................. 310
              5.4.10 Continuous Welded Rail Exposure to Temperature Changes ........................................... 311
              5.4.11 Operations and Maintenance Activity Exposure to Climate Change and Extreme
                    Weather Events .................................................................................................................. 312
        5.5 Conclusions ......................................................................................................................313
   6. Future Research .....................................................................................................................315
       6.1 Introduction ......................................................................................................................315
       6.2 Research on the Approach to Adaptation Related Planning and Engineering.................315
              6.2.1 Use of Scenarios in Adaptation Planning and Engineering ............................................... 315
              6.2.2 Development of Future Surge Scenarios ............................................................................ 318
              6.2.3 Consideration of Future Land Uses .................................................................................... 318
              6.2.4 Incorporation of Adaptation Results into Decision-Making ............................................... 318
        6.3 Research on Generating Input Values for Engineering Designs .....................................319
              6.3.1 Deriving Input Values for Design Variables....................................................................... 319
              6.3.2 Using Asset Management Systems as a Platform for Vulnerability Assessment................. 319
        6.4 Research on Asset-specific Needs ...................................................................................320
              6.4.1 Culvert Vulnerability .......................................................................................................... 320
              6.4.2 Controlled Failure Approaches .......................................................................................... 320
              6.4.3 Embankment Breaching ...................................................................................................... 320
              6.4.4 Shipping Pier-related Research for Extreme Loads ........................................................... 321
              6.4.5 Erosion Due to Backflows ................................................................................................... 321
              6.4.6 Abutment Scour ................................................................................................................... 321
              6.4.7 Temperature-related Design Parameters ........................................................................... 321
              6.4.8 Guidance on Pavement Design ........................................................................................... 321
              6.4.9 Weighing Costs versus Benefits of Adaptation in Light of Uncertainty .............................. 322
              6.4.10 Additional Research on Prioritizing Assets to Undergo Analyses .................................... 322
   7. References ...............................................................................................................................324




   U.S. Department of Transportation                                             iv                                                       FHWA002644
                                                                                                                                           August 2014
Case 5:23-cv-00304-H                   Document 15-18                   Filed 01/31/24                Page 362 of 534                  PageID 2922
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment




   Figures
   Figure 1: Case Study Locations ...................................................................................................... 6
   Figure 2: Gulf Coast Study Phase 2 Project Study Area .............................................................. 18
   Figure 3: Roadmap for Phase 2 of the Gulf Coast Project ............................................................ 21
   Figure 4: Example Stage-Discharge Curve for a Culvert ............................................................. 28
   Figure 5: Case Study Locations .................................................................................................... 36
   Figure 6: Photo of the Airport Boulevard Culvert over Montlimar Creek, Upstream Side.......... 38
   Figure 7: Location of the Airport Boulevard Culvert within the Mobile Metropolitan Area ....... 39
   Figure 8: Topographic Maps from 1940 (Top) and 1994 (Bottom) Illustrating the Significant
       Changes to Local Hydrology with the Construction of I-65 and Urbanization..................... 41
   Figure 9: Drainage Area to the Airport Boulevard Culvert Showing LIDAR Contours and Time
       of Concentration (Tc) Path .................................................................................................... 42
   Figure 10: FEMA 100-Year (1% Annual Chance) and 500-Year (0.2% Annual Chance)
       Floodplains near the Airport Boulevard Culvert ................................................................... 43
   Figure 11: Plan View of the Airport Boulevard Culvert Crossing Showing LIDAR Contours ... 44
   Figure 12: Photo of the Airport Boulevard Culvert over Montlimar Creek, Upstream Side........ 45
   Figure 13: Photo of the Airport Boulevard Culvert over Montlimar Creek, Downstream Side ... 45
   Figure 14: Plan for the Airport Boulevard Culvert over Montlimar Creek .................................. 46
   Figure 15: Existing Land Use Conditions within the Airport Boulevard Culvert Drainage Area 53
   Figure 16: Future Land Use Conditions within the Airport Boulevard Culvert Drainage Area ... 53
   Figure 17: NOAA Atlas 14 Temporal Rainfall Distributions for the Southeast Region .............. 55
   Figure 18: Existing Airport Boulevard Culvert Stage-Discharge Curve ...................................... 61
   Figure 19: Potential 100-year Inundation Area with Observed Precipitation Depths, Current Land
       Use, and the Existing Airport Boulevard Culvert.................................................................. 62
   Figure 20: Potential 100-year Inundation Area under NOAA 90% Upper Confidence Limit
       Scenario with Future Land Use and Existing Airport Boulevard Culvert ............................. 63
   Figure 21: Potential 100-year Inundation Area under “Wetter” Narrative (End-of-Century, 2070–
       2099 Time Period) with Future Land Use and Existing Airport Boulevard Culvert ............ 63
   Figure 22: Plan for Adaptation Option One of the Airport Boulevard Culvert over Montlimar
       Creek ...................................................................................................................................... 68
   Figure 23: Plan for Adaptation Option Two of the Airport Boulevard Culvert over Montlimar
       Creek ...................................................................................................................................... 69
   Figure 24: Airport Boulevard Culvert Adaptation Option One Stage-Discharge Curve .............. 71
   Figure 25: Airport Boulevard Culvert Option Two Stage Discharge Curve ................................ 71
   Figure 26: Probabilistic Benefit-Cost Analysis Framework ......................................................... 75
   Figure 27: Comparison of Input Data and Fitted Curve for the “Wetter” Narrative (2010-2039
       Time Period) .......................................................................................................................... 77
   Figure 28: Probability Distributions of Avoidable Costs without Adaptation and Inclusion of
       Property Damage Costs ......................................................................................................... 79



   U.S. Department of Transportation                                          v                                                    FHWA002645
                                                                                                                                    August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 363 of 534                  PageID 2923
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment


   Figure 29: Location of the Cochrane-Africatown USA Bridge within the Mobile Metropolitan
       Area ....................................................................................................................................... 90
   Figure 30: Land Use in the Vicinity of the Cochrane-Africatown USA Bridge .......................... 91
   Figure 31: Plan and Elevation Views of the Cochrane-Africatown USA Bridge Showing the
       Section of Analysis ................................................................................................................ 92
   Figure 32: Image of the Cochrane-Africatown USA Bridge Showing the Section of Analysis
       between Bents 16 and 17 ....................................................................................................... 93
   Figure 33: Image of Typical Bent Configuration for Bents 1 to 15 and Bents 18 to 32 on the
       Cochrane-Africatown USA Bridge ....................................................................................... 94
   Figure 34: Comparison of Relative Sea Level Rise Projections for Dauphin Island, Alabama ... 96
   Figure 35: Location of the US 90/98 Tensaw-Spanish River Bridge within the Mobile
       Metropolitan Area................................................................................................................ 104
   Figure 36: Aerial Image and Topography of the West Abutment of the US 90/98 Tensaw-
       Spanish River Bridge ........................................................................................................... 105
   Figure 37: Oblique Aerial Image of the South Side of the US 90/98 Tensaw-Spanish River
       Bridge West Abutment ........................................................................................................ 105
   Figure 38: Plan of the West Abutment of the US 90/98 Tensaw-Spanish River Bridge Showing
       the Area of Analysis ............................................................................................................ 106
   Figure 39: Profile of the Western Approach Roadway to the US 90/98 Tensaw-Spanish River
       Bridge .................................................................................................................................. 107
   Figure 40: Plan and Elevation of US 90/98 Tensaw-Spanish River Bridge ............................... 108
   Figure 41: Types of Breaking Waves on an Impermeable Slope ............................................... 114
   Figure 42: Diagram of Surface Water Level versus Run-up ...................................................... 117
   Figure 43: Plan of the US 90/98 Tensaw-Spanish River Bridge Approach Roadway and Western
       Embankment with MHW and 2% Run-up Water Levels .................................................... 119
   Figure 44: Profile of the US 90/98 Tensaw-Spanish River Bridge Approach Roadway and
       Western Embankment with MHW and 2% Run-up Water Levels ...................................... 120
   Figure 45: Example of Severe Scour at a Bridge Abutment ....................................................... 127
   Figure 46: Location of the US 90/98 Tensaw-Spanish River Bridge within the Mobile
       Metropolitan Area................................................................................................................ 128
   Figure 47: Aerial Image of the US 90/98 Tensaw-Spanish River Bridge .................................. 129
   Figure 48: Plan and Elevation of the US 90/98 Tensaw-Spanish River Bridge Southern
       (Eastbound) Span ................................................................................................................. 130
   Figure 49: Western Abutment of the US 90/98 Tensaw-Spanish River Bridge Front Elevation
       Detail ................................................................................................................................... 131
   Figure 50: Western Abutment of the US 90/98 Tensaw-Spanish River Bridge Plan View Detail
        ............................................................................................................................................. 132
   Figure 51: Typical Section View of the West Abutments of the US 90/98 Tensaw-Spanish River
       Bridge Showing the Scour Countermeasure Protections. .................................................... 133




   U.S. Department of Transportation                                           vi                                                     FHWA002646
                                                                                                                                       August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 364 of 534                  PageID 2924
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment


   Figure 52: Plan for the Location of the Willow Mattress Pads at the US 90/98 Tensaw-Spanish
       River Bridge ........................................................................................................................ 134
   Figure 53: Representative Willow Mattress Pad (Assembly Prior to Submergence) ................. 135
   Figure 54: Example of Typical Timber Bulkhead Protection at a Highway Bridge Abutment . 136
   Figure 55: Aerial view of the Tensaw-Spanish River Bridge West Abutment Showing the Limits
       of Scour Protections............................................................................................................. 138
   Figure 56: Aerial Image of the US 90/98 Tensaw-Spanish River Bridge Showing the Five Points
       of ADCIRC-STWAVE Analysis ......................................................................................... 143
   Figure 57: Flow Velocity Vectors and Evaluation Data Points at US 90/98 Tensaw-Spanish
       River Bridge ........................................................................................................................ 143
   Figure 58: FEMA Flood Insurance Rate Map for the West Abutment of the US 90/98 Tensaw-
       Spanish River Bridge ........................................................................................................... 144
   Figure 59: Plan and Profile of the Approach Roadway to the Western Abutment of the US 90/98
       Tensaw-Spanish River Bridge with Water Levels .............................................................. 146
   Figure 60: Plan and Profile of the US 90/98 Tensaw-Spanish River Bridge with Water Levels 147
   Figure 61: Schematic Representation of Abutment Scour .......................................................... 148
   Figure 62: Location of Exit 30 within the Mobile Metropolitan Area ....................................... 160
   Figure 63: Location of the Ramp to I-10 Eastbound within the Exit 30 Interchange ................. 160
   Figure 64: Plan of the Bridge to I-10 Eastbound at Exit 30 Showing the Section of Analysis
       (Bents 9 to 14) ..................................................................................................................... 162
   Figure 65: Elevation of the Bridge to I-10 Eastbound at Exit 30 Showing the Section of Analysis
       (Bents 9 to 14) ..................................................................................................................... 163
   Figure 66: Typical Section of the Superstructure between Bents 9 and 14 on the Bridge to I-10
       Eastbound at Exit 30 ............................................................................................................ 164
   Figure 67: Typical Bent Details (Bents 10, 11, and 12) on the Bridge to I-10 Eastbound at Exit
       30 ......................................................................................................................................... 165
   Figure 68: Bent 13 Details on the Bridge to I-10 Eastbound at Exit 30 ..................................... 166
   Figure 69: Steel Connection Angle and Bolt Details between Bents 9 and 14 on the Bridge to I-
       10 Eastbound at Exit 30 ....................................................................................................... 167
   Figure 70: FEMA Flood Insurance Rate (FIRMette) Map for the Bridge to I-10 Eastbound at
       Exit 30.................................................................................................................................. 171
   Figure 71: Illustration of Superstructure Force Design Cases .................................................... 173
   Figure 72: Generalized Subsurface Profile at Bent 11 on the Bridge to I-10 Eastboundat Exit 30
        ............................................................................................................................................. 178
   Figure 73: Location of the I-10 Study Segment in Relation to Mobile Bay and the Mobile
       Metropolitan Area................................................................................................................ 188
   Figure 74: Plan View of I-10 Showing Study Limits, Bridge Crossings, and Elevation Contours
        ............................................................................................................................................. 189




   U.S. Department of Transportation                                           vii                                                    FHWA002647
                                                                                                                                       August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 365 of 534                  PageID 2925
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment


   Figure 75: Study Area Images (Top to Bottom: I-10 Roadway Looking East from North of the
       Embankment Near the Low Point, Broad St. Underpass, Tennessee St. and Railroad
       Underpass, and Warren St. Underpass Looking North) ...................................................... 191
   Figure 76: Topography in the Vicinity of the I-10 Study Segment ............................................ 192
   Figure 77: FEMA Flood Insurance Rate Map in the Vicinity of the I-10 Study Segment ......... 195
   Figure 78: Elevation Views of the I-10 Study Segment Roadway Profile and Underpass Cross-
       Sections ................................................................................................................................ 197
   Figure 79: Hurricane Katrina Base Case Scenario Flood Zone in the Vicinity of the I-10 Study
       Segment, Flood Elevation 13 Feet (Four Meters) ............................................................... 198
   Figure 80: Hurricane Katrina Shifted Scenario Flood Zone in the Vicinity of the I-10 Study
       Segment, Flood Elevation 20.3 Feet (6.2 Meters) ............................................................... 198
   Figure 81: Hurricane Katrina Shifted + Intensified+ SLR Flood Zone in the Vicinity of the I-10
       Study Segment, Flood Elevation 25 Feet (7.6 Meters)........................................................ 199
   Figure 82: Storm Surge Hydrographs for the I-10 Study Segment ............................................ 201
   Figure 83: Map Showing the Location of the I-10 Tunnel within the Mobile Metropolitan Area
        ............................................................................................................................................. 223
   Figure 84: Aerial Photograph of the I-10 Tunnel Location ........................................................ 224
   Figure 85: West Portal of the I-10 Tunnel .................................................................................. 224
   Figure 86: Portion of I-10 Immediately East of the I-10 Tunnel Portal ..................................... 230
   Figure 87: Location of the McDuffie Coal Terminal.................................................................. 234
   Figure 88: Aerial View of the McDuffie Coal Terminal Showing Dock One............................ 235
   Figure 89: Aerial View of Dock One .......................................................................................... 236
   Figure 90: Oblique Aerial Image of Dock One .......................................................................... 236
   Figure 91: Typical Section of Dock One .................................................................................... 238
   Figure 92: Columbus Street Terminal in Charleston, SC, After Hurricane Hugo ...................... 240
   Figure 93: FEMA Flood Insurance Rate Map Showing the 100-Year Flood Elevation for
       McDuffie Terminal and Dock One ...................................................................................... 242
   Figure 94: Typical Section at Dock One Showing Storm Surge and Wave Crest Elevations for
       the Surge Scenarios ............................................................................................................. 246
   Figure 95: Diagram of Rutting in an AC Layer .......................................................................... 252
   Figure 96: Illustration of Aggregate Shear Behavior .................................................................. 257
   Figure 97: Example of a Hot Weather Sun Kink ........................................................................ 264
   Figure 98: Total Interstate Mileage in Existence by Year .......................................................... 283
   Figure 99: Use of Scenarios in Adaptation Planning and Engineering ...................................... 317




   U.S. Department of Transportation                                           viii                                                   FHWA002648
                                                                                                                                       August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24               Page 366 of 534                  PageID 2926
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment




   Tables
   Table 1: Listing of Case Studies by Climate Stressor, Facility Type, and Damage Mechanism .. 5
   Table 2: Case Study Locations ..................................................................................................... 10
   Table 3: Example Benefit-Cost Analysis Outputs for an Adaptation Option ............................... 31
   Table 4: Listing of Case Studies by Climate Stressor, Facility Type, and Damage Mechanism 35
   Table 5: 24-Hour Precipitation Depths Used in the Airport Boulevard Culvert Hydrologic
       Analysis ................................................................................................................................. 48
   Table 6: Equivalent Present Day Return Periods for Projected Future Precipitation Values. ...... 49
   Table 7: TR-20 Peak Flows Compared to Regional Regression Peak Flow Estimates at the
       Airport Boulevard Culvert ..................................................................................................... 57
   Table 8: TR-20 Projected Peak Flows at the Airport Boulevard Culvert ..................................... 58
   Table 9: Airport Boulevard Culvert Modeled Performance under Various Climate Change
       Scenarios ................................................................................................................................ 60
   Table 10: Adaptation Design Options Considered for the Airport Boulevard Culvert ................ 65
   Table 11: Airport Boulevard Culvert Benefit-Cost Analysis Results: 90th Percentile, Average of
       All Climate Scenarios, No Property Damage Costs Included ............................................... 74
   Table 12: Traffic Disruption Costs (Per Flooding Event) With No Adaptation Actions ............. 78
   Table 13: Airport Boulevard Culvert Adaptation Option One Economic Analysis Results under
       Each Climate Scenario: 90th Percentile Results, No Property Damage Costs Included ........ 81
   Table 14: Airport Boulevard Adaptation Option Two Economic Analysis Results under Each
       Climate Scenario: 90th Percentile Results, No Property Damage Costs Included ................. 82
   Table 15: Estimated Numbers of Damaged Buildings and Economic Losses Occurring from
       Flooding at the Airport Boulevard Culvert............................................................................ 84
   Table 16: Airport Boulevard Culvert Adaptation Option One Property Damage Cost Sensitivity
       Test Results under Each Climate Scenario: 90th Percentile Results, Property Damage Costs
       Included ................................................................................................................................. 84
   Table 17: Airport Boulevard Culvert Adaptation Option Two Property Damage Cost Sensitivity
       Test Results under Each Climate Scenario: 90th Percentile Results, Property Damage Costs
       Included ................................................................................................................................. 85
   Table 18: Clearances for Navigation at the Cochrane-Africatown USA Bridge under Projected
       Sea Level Rise Values ........................................................................................................... 98
   Table 19: Adaptation Options Considered for the Cochrane-Africatown USA Bridge ............... 99
   Table 20: Sea Level Rise Impacts on Depth-Limited Wave Heights along the Western Approach
       Roadway to the US 90/98 Tensaw-Spanish River Bridge ................................................... 111
   Table 21: ALDOT Standard Riprap Classes ............................................................................... 113
   Table 22: Revetment Riprap Size Calculation Results to Withstand Wave Impacts at the Western
       Approach Roadway to the US 90/98 Tensaw-Spanish River Bridge .................................. 113
   Table 23: Revetment Riprap Run-up Elevation Calculation Results at the US 90/98 Tensaw-
       Spanish River Bridge Western Approach Roadway Embankment ..................................... 117



   U.S. Department of Transportation                                         ix                                                  FHWA002649
                                                                                                                                  August 2014
Case 5:23-cv-00304-H                  Document 15-18                  Filed 01/31/24                Page 367 of 534                 PageID 2927
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment


   Table 24: Summary of Revetment Riprap Size and Location Calculation Results at Western
       Approach Roadway to the US 90/98 Tensaw-Spanish River Bridge .................................. 121
   Table 25: US 90/98 Tensaw-Spanish River Bridge West Approach Embankment Adaption
       Performance Summary ........................................................................................................ 124
   Table 26: ALDOT Standard Riprap Classes ............................................................................... 137
   Table 27: Stillwater Elevations and Wave Heights at the Western Abutment of the US 90/98
       Tensaw-Spanish River Bridge ............................................................................................. 145
   Table 28: Predicted Abutment Scour Depths and Elevations at the West Abutment of the US
       90/98 Tensaw-Spanish River Bridge ................................................................................... 150
   Table 29: Required Riprap Size to Resist Abutment Scour at the Western Abutment of the US
       90/98 Tensaw-Spanish River Bridge .................................................................................. 152
   Table 30: Key Elevations at Bents 11 and 13 on the Bridge to I-10 Eastbound at Exit 30 ........ 168
   Table 31: Storm Surge Characteristics at Bent 11 on the Bridge to I-10 Eastbound at Exit 30 by
       Scenario ............................................................................................................................... 169
   Table 32: Storm Surge Characteristics at Bent 13 on the Bridge to I-10 Eastbound at Exit 30 by
       Scenario ............................................................................................................................... 170
   Table 33: Superstructure Forces at Bent 11 on the Bridge to I-10 Eastbound at Exit 30 ........... 175
   Table 34: Superstructure Forces at Bent 13 on the Bridge to I-10 Eastbound at Exit 30 ........... 175
   Table 35: Substructure Input Loads at Bent 11 on the Bridge to I-10 Eastbound at Exit 30 ..... 181
   Table 36: Substructure Input Loads at Bent 13 on the Bridge to I-10 Eastbound at Exit 30 ..... 181
   Table 37: Substructure Results at Bent 11 on the Bridge to I-10 Eastbound at Exit 30 ............. 182
   Table 38: Substructure Results at Bent 13 on the Bridge to I-10 Eastbound at Exit 30 ............. 183
   Table 39: Dimensions of the Bridge Underpasses along the I-10 Study Segment ..................... 190
   Table 40: Flood Elevations for the Storm Surge Scenarios and the Current FEMA 100-Year
       Flood at the Storm Surge Model Node near the I-10 Study Segment ................................. 194
   Table 41: Summary of the I-10 Roadway Embankment Breaching Parameters ........................ 204
   Table 42: Time-Step Analysis of Storm Surge Flows Along the I-10 Study Segment under the
       Hurricane Katrina Base Case Scenario ................................................................................ 207
   Table 43: Time-Step Analysis of Storm Surge Flows Along the I-10 Study Segment under the
       Hurricane Katrina Shifted Scenario ..................................................................................... 208
   Table 44: Time-Step Analysis of Storm Surge Flows Along the I-10 Study Segment under the
       Hurricane Katrina Shifted + Intensified + SLR Scenario .................................................... 210
   Table 45: Flood Volumes Entering Oakdale Neighborhood and Time to Drain with Existing
       Structures ............................................................................................................................. 212
   Table 46: Peak Flow Velocities through the I-10 Study Segment Underpasses with Existing
       Structures ............................................................................................................................. 212
   Table 47: Performance Summary of the Adaptation Options for the I-10 Study Segment ........ 219
   Table 48: Historic High Water Marks near the I-10 Tunnel....................................................... 226
   Table 49: Projected Storm Surge Flooding Elevations by Exceedance Probabilities for the I-10
       Tunnel over Hypothetical Remaining Design Lifespans ..................................................... 228




   U.S. Department of Transportation                                         x                                                  FHWA002650
                                                                                                                                 August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 368 of 534                  PageID 2928
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment


   Table 50: Projected Water and Flooding Levels at the I-10 Tunnel with Adaptation Options A
       and B .................................................................................................................................... 230
   Table 51: Storm Surge Analysis Results for Dock One at McDuffie Terminal ......................... 243
   Table 52: Dock One Strength Analysis Results .......................................................................... 248
   Table 53: Performance Grade AC Binder Specifications by Temperature................................. 256
   Table 54: Observed and Projected Pavement Design Related Temperature Variables in Mobile,
       Alabama ............................................................................................................................... 258
   Table 55: Projected Changes to Maximum and Minimum Temperatures in Mobile, Alabama . 268
   Table 56: Acceptable Rail Neutral Temperature Ranges (ºF) in Mobile Considering Climate
       Projections ........................................................................................................................... 269
   Table 57: Maintenance Activities Impacted by Various Climate Stressors ............................... 275
   Table 58: OSHA Guidance for Worksite Modifications According to Heat Indices ................. 276
   Table 59: Summary of Climate Change Impacts on Maintenance of the Highway System....... 278
   Table 60: Climate Change Monitoring Techniques and Adaptation Strategies for Transportation
       Asset Management (TAM) System Components................................................................ 287
   Table 61: Summary of Climate Stressors, Associated O&M Impacts, and Adaptation Strategies
       Applied or Under Consideration in the Mobile Area .......................................................... 293




   U.S. Department of Transportation                                         xi                                                   FHWA002651
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                    Document 15-18                  Filed 01/31/24   Page 369 of 534     PageID 2929
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                       Executive Summary


   1. Executive Summary
   1.1 Background and Purpose
   Facility managers, transportation leaders, and elected officials are increasingly concerned about
   the resilience of transportation infrastructure to a range of threats, including the threats posed by
   climate change and extreme weather. However, the information and tools necessary to
   understand, evaluate, and rank vulnerabilities remain scarce. This is particularly true as it relates
   to specific facilities and assets; even more scarce is information and data regarding adaptation
   (i.e., risk mitigation) measures, their efficacy in reducing risks, and the returns on investment
   that might be expected if adaptation strategies are adopted. While some resources exist for
   evaluating transportation system vulnerability at a broad level, there is little guidance on how to
   do so at the facility-level. Likewise, general information on adaptation options is known, but
   there have been few asset-level analyses evaluating the potential effectiveness of those options.

   Acknowledging the importance of establishing systematic, transferrable approaches for assessing
   and addressing vulnerability to climate- and weather-related risks, the U.S. Department of
   Transportation’s (USDOT) Center for Climate Change and Environmental Forecasting
   commissioned a comprehensive, multiphase study of climate change impacts on transportation in
   the Central Gulf Coast region. This study, formally known as Impacts of Climate Change and
   Variability on Transportation Systems and Infrastructure: Gulf Coast Study (hereafter, “the Gulf
   Coast Study”).1 Phase 1 (completed in 2008) examined the impacts of climate change on
   transportation infrastructure at a regional scale. Phase 2 (nearing completion) provides a more
   detailed assessment of the vulnerability of the most critical components of the transportation
   system in Mobile, Alabama to weather events and long-term changes in climate.

   This report discusses a series of engineering assessments on specific transportation facilities in
   Mobile that evaluated whether those facilities might be vulnerable to projected changes in
   climate, and what specific adaptation measures could be effective in mitigating those
   vulnerabilities. The purpose of the engineering assessments was twofold:

           (1) Develop and test a detailed climate impact assessment process (The Process) that both
               evaluates the climate vulnerabilities of specific transportation assets, and evaluates
               possible adaptation strategies that could be implemented. The methodologies developed
               for these assessments could be applied to similar facilities elsewhere. This report
               represents one of the few resources available to transportation practitioners that include
               engineering methodologies for evaluating climate change vulnerabilities and adaptation
               measures at the facility level.



   1
       For background information on the Gulf Coast Study, please see Section 2.




   U.S. Department of Transportation                                          1                            FHWA002652
                                                                                                            August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 370 of 534       PageID 2930
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                               Executive Summary

       (2) Explain and document Mobile-specific findings for each facility-climate stressor pair,
           including any findings that may apply more generally to engineering design practices,
           operations and maintenance practices, or other lessons learned.

   1.2 Overview of the General Process for Transportation Facility
       Adaptation Assessments
   Climate and weather have always played an important role in the planning and design of
   transportation infrastructure. Facilities of all types are planned to avoid high hazard areas
   whenever possible, bridges must be designed to accommodate floods, pavement must be able to
   tolerate extremes in temperature, etc. However, the prospect of long-term changes in climate and
   more extreme weather presents a fundamental challenge to transportation professionals.
   Consideration of long-term climate change threats will increasingly be required when planning,
   designing, and in some cases, operating/maintaining new infrastructure. Due to the lack of
   standard approaches or models for attempting this, this project developed a General Process for
   Transportation Facility Adaptation Assessments (the Process).

   The Process provides an 11-step framework for determining the vulnerabilities of an individual
   transportation facility to climate change, developing adaptation options to mitigate risks of
   anticipated changes, and selecting a course of action. The 11 steps are:

       1. Describe the Site Context – Describe location-specific details, such as surrounding land
          uses, population, economic activities; performance characteristics; proximal historic or
          sensitive environmental resources; long-term transportation and land use plans, and
          whether they account for climate change impacts; function(s) the facility serves or will
          serve within the broader transportation network.
       2. Describe the Existing / Proposed Facility – Describe facility-specific details, such as
          location, functional purpose, design type, dimensions, elevations, design life, age,
          condition, and design criteria.
       3. Identify Climate Stressors that May Impact Infrastructure Components – Identify
          climate-related variables that are typically considered in planning and design of the type
          of facility being investigated (e.g., precipitation, temperature, sea level, storms).
       4. Decide on Climate Scenarios and Determine the Magnitude of Changes – Describe
          climate model projections that are used to determine whether and how much each of the
          variables of concern may change in the future.
       5. Assess Performance of the Existing / Proposed Facility – Assess whether the
          existing/proposed facility is performing as expected/modeled under current climate data
          and design assumptions and whether it will continue to do so under each of the possible
          future climate scenarios selected in Step 4.
       6. Identify Adaptation Option(s) – Identify potential planning, design, and maintenance /
          operations options that could be used to address climate risks to the facility.




   U.S. Department of Transportation                      2                                    FHWA002653
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 371 of 534       PageID 2931
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                               Executive Summary

       7. Assess Performance of the Adaptation Option(s) – Assess the performance of each
           adaptation option under each potential climate change scenario selected in Step 4. This
           analysis is similar to Step 5 except that it is performed on the adaptation options instead
           of the existing facility or, in the case of new facilities, the standard design.
       8. Conduct an Economic Analysis – Evaluate how the benefits of undertaking a given
           adaptation option, defined as the costs avoided with adaptation, compare to its
           incremental costs under each of the possible future scenarios developed in Step 4.
       9. Evaluate Additional Decision-Making Considerations – Identify and evaluate other
           (non-engineering, non-economic) factors that should be considered before a final
           decision is reached.
       10. Select a Course of Action – Consider both economic and non-economic factors,
           weighing all the information presented, and select a course of action.
       11. Plan and Conduct Ongoing Activities – Identify, plan for, and conduct ongoing
           activities (such as monitoring), using tools such as facility management plans.
   The Process was developed to be general enough to be applied to multiple transportation modes
   and asset types. It can also be used both for existing facilities, where adaptive retrofits might be
   considered, and for proposed new facilities where adaptation measures can be incorporated into
   the design.

   This Process was employed throughout each of the case studies discussed in this report. For each
   case study, the Process was used to evaluate vulnerability of a specific asset to a certain
   projected climate stressor (such as increased temperatures, sea level rise, storm surge), and also
   to evaluate potential adaptation measures.

   The climate data used in the case studies was developed during previous tasks of this project. See
   the Task 2 and Task 3.1 reports at www.fhwa.dot.gov/environment/climate_change/adaptation/o
   ngoing_and_current_research/gulf_coast_study/phase2_task2/sensitivity_report/ and www.fhwa.
   dot.gov/environment/climate_change/adaptation/ongoing_and_current_research/gulf_coast_stud
   y/phase2_task3 for more information on how the climate projection information was developed.

   1.3 Overview of Case Studies Selected to Demonstrate the Process
   Ten case studies were conducted to demonstrate the application of the Process to a range of
   design problems at 10 specific facilities in Mobile, Alabama. In addition, operations and
   maintenance (O&M) opportunities for adaptation were examined in a final case study. These
   case studies illustrate how engineering design processes may be augmented to incorporate
   climate change and extreme weather considerations. Table 1 lists the climate stressors and asset
   types chosen for study and the specific facilities that were investigated. Figure 1 shows the
   location of these facilities. Since the case studies are intended to demonstrate the application of
   the Process, each case study is structured using the 11 steps of that Process. Due to the nature of




   U.S. Department of Transportation                      3                                    FHWA002654
                                                                                                August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 372 of 534                  PageID 2932
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                      Executive Summary

   this project as a broad study across many facilities (rather than an in-depth study of a single
   project), none of the case studies represent a full application of every step in the Process. 2

   This report showcases engineering assessments across a range of transportation asset types and
   climate change stressors. The facilities chosen for the engineering assessment were not
   necessarily the most vulnerable assets; instead, they represent a broad range of facility types and
   climate stressors in hopes that methods developed here might be instructive, not only for Mobile
   but for transportation agencies nationwide.3




   2
     There is variation in the degree to which each step was completed across case studies, due to resource and data constraints, and applicability of
   each step. For example, for assets not likely vulnerable to the climate stressor analyzed, Step 7 (Assess Performance of Adaptation Options) was
   not completed in detail. Additionally, there were not sufficient resources to complete the Step 8 (Economic Analysis) for all case studies, so the
   first case study is the only one that includes a detailed economic analysis; this serves as a possible methodology for analyzing economics of
   others as well.
   3
    Note that neither the Process nor the facility-specific findings are intended to change specific design methodologies for assets or to serve as an
   alternative approach for designing projects. Findings are illustrative and represent a first attempt to systematize an approach for incorporation of
   climate and weather risks into engineering analyses using facilities in Mobile as case studies.
   In presenting these illustrative examples, the authors are not suggesting that transportation agencies would apply such detailed analyses to all
   assets under their purview. Rather, transportation agencies may wish to conduct detailed analyses for specific assets considered to be particularly
   critical, vulnerable, expensive to replace, due for an upgrade/replacement, etc.




   U.S. Department of Transportation                                            4                                                    FHWA002655
                                                                                                                                      August 2014
Case 5:23-cv-00304-H               Document 15-18                Filed 01/31/24         Page 373 of 534           PageID 2933
                        Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Executive Summary

                                Table 1: Listing of Case Studies by Climate Stressor, Facility Type,
                                                      and Damage Mechanism

   Report        Climate                             Damage                                                 Indicator-Based
                                   Asset Type                                  Asset Location
   Section       Stressor                           Mechanism                                                Vulnerability*
              Increased                                              Airport Boulevard culvert at
    4.4.1                         Culvert          Flooding                                                Low
              precipitation                                          Montlimar Creek
                                  Navigable
                                                   Clearance for
    4.4.2     Sea level rise      waterway                           Cochrane-Africatown USA Bridge        Medium
                                                   navigation
                                  bridge
                                  Bridge                             West approach embankment of
    4.4.3     Sea level rise      approach         Slope erosion     the US 90/98 Tensaw-Spanish           High
                                  embankment                         River Bridge
              Higher storm        Bridge           Abutment          West abutment of the US 90/98
    4.4.4                                                                                                  Medium
              surge               abutment         scour             Tensaw-Spanish River Bridge
              Higher storm                         Wave forces,
                                  Bridge                             US 90/98 ramp to I-10 eastbound
    4.4.5     surge                                bridge pier                                             High
                                  segment                            at Exit 30
                                                   scour
              Higher storm                         Overtopping
                                  Road
    4.4.6     surge                                / slope           I-10 (mileposts 24 and 25)            Low
                                  alignment
                                                   erosion
              Higher storm        Coastal
    4.4.7                                          Flooding          I-10 (Wallace) Tunnel                 Medium
              surge               tunnel
              Higher storm
    4.4.8                         Shipping pier    Waves             McDuffie Coal Terminal, Dock 1        Low
              surge
                                                   Rutting,
              Temperature         Roadway
    4.4.9                                          concrete          Generic location                      Low
              changes             pavement
                                                   crackings
              Temperature         Continuously     Buckling,
    4.4.10                                                           Generic location                      Medium
              changes             welded rail      pull-aparts
                                  Operations
              Precipitation,
                                  and                                Alabama Department of
              wind,                                Varies based
                                  maintenance                        Transportation, City of Mobile, and
    4.4.11    temperature,                         on climate                                              High
                                  activities for                     Mobile County operations and
              sea level rise,                      stressor
                                  various                            maintenance practices
              hurricanes
                                  facilities
   * An asset’s estimated vulnerability was calculated previously in this project, as detailed in the report Task 3.1:
   Screening for Vulnerability. The vulnerability designations developed within the Screening for Vulnerability report
   provide initial estimates of an asset’s vulnerability to a particular climate stressors based on a series of vulnerability
   “indicators” applied broadly across the transportation system. However, in this Task 3.2 Engineering Analysis and
   Assessment report, the more refined engineering analyses performed may result in different determinations as to an
   asset’s actual vulnerability.




   U.S. Department of Transportation                                5                                         FHWA002656
                                                                                                               August 2014
Case 5:23-cv-00304-H                  Document 15-18               Filed 01/31/24        Page 374 of 534         PageID 2934
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                      Executive Summary

                                                       Figure 1: Case Study Locations4

                                                                                                      Cochrane-Africatown
                                                                                                      USA Bridge




                                                                                                      I-10 (Wallace) Tunnel
                                                                                                    W. approach
                                                                                                    embankment & W.
                                                                                                    abutment, Tensaw Bridge



                                                                                                      US 90/98 ramp to I-10
                                                                                                          b   d




                                                                                                      I-10 (mileposts 24 to
                                                                                                      25)

                                                                                                      McDuffie Terminal
                                                                                                      Dock 1
                                                                                                      Airport Blvd. Culvert at
                                                                                                      Montlimar Creek
                                                                                                       Approx. 3 mi.
                                                                                           N

   1.4 Key Lessons Learned
   The analyses conducted through the case studies yielded some important lessons learned
   regarding the applicability of the Process and developing input values for engineering designs.

   1.4.1 Applicability of a General Process for Transportation Facility Adaptation
         Assessments
   One of the important lessons learned from the engineering case studies is that the 11-step
   Process can be successfully applied across different types of assets and for a range of climate-
   change stressors. In fact, the Process was specifically developed to generate consistency among
   various engineering disciplines working on this project. The Process can therefore serve as an
   organizing framework for how engineering design can be undertaken considering the
   uncertainties associated with possible future environmental conditions.

   Another lesson learned is that there is an important need for additional guidance on how
   engineering design can be undertaken given uncertainty about future conditions. As mentioned
   4
       Source of base map: Google Maps (as modified)




   U.S. Department of Transportation                                    6                                   FHWA002657
                                                                                                             August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 375 of 534       PageID 2935
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                               Executive Summary

   above, there is very little engineering guidance for handling climate change-related uncertainty
   in the engineering design process. In developing many of the engineering case studies,
   considerable discussion and debate occurred among the designers representing different
   engineering sub-disciplines (including structural, hydraulic, geotechnical, and pavement) on the
   most appropriate approach for analyzing a particular asset given expected future loads and
   stresses. Engineering practice—and indeed engineering culture—is focused on research and
   statistical analyses of historical events (rainfall, extreme heat, etc.); these data provide the
   required input variables used in decision-making. The uncertainty associated with future input
   variables that are derived from climate model projections drives the need for new approaches to
   develop those input variables and consider their effects when making planning, design, and
   operations/maintenance decisions.

   1.4.2 Developing General Input Values for Engineering Designs
   A design process that reflects projected changes in climatic conditions has to account for
   possible changes in the input values of the design variables beyond simply relying on historical
   data. This is a significant shift from standard engineering design practice, and the case studies
   demonstrated example methodologies for doing so.

   Engineering designs for transportation facilities rely on a determination of the stresses and loads
   that facility components will likely face. Identification and determination of the stresses and
   loads is, thus, critical to selecting designs that will provide durable and stable asset performance.
   The engineering profession has developed design procedures and methods that are based on
   years of experience and documentation of the relationships between load/stress input variables
   and the resulting design characteristics. Input variables used in these equations are taken from
   historical data. Future climatic conditions may result in changes to these variables that are not
   simply an extension of past trends. Thus, a design process that reflects projected changes in
   climatic conditions in the future would have to account for possible changes in the input values
   of the design variables beyond simply relying on historical data; this is not unlike designing
   structures to withstand seismic risks.

   Appropriate Scale of Input Data
   The engineering case studies illustrated the need to provide input data at a scale necessary for
   design purposes. This has been a challenge noted for many years and an identified gap in the
   application of climate scenario data in engineering design. For example, climate information is
   often presented in terms of ranges, or average changes over longer periods (seasons, years,
   decades), but engineering design often requires information on return periods (such as the 25-
   year event), short-term extremes (such as maximum temperature and precipitation experienced
   over a short timeframe), and for short timeframes such as daily or hourly events. This study
   developed data at the temporal and spatial scale needed to conduct engineering design at the
   project level. Such data were derived from the best climate modeling results available for the




   U.S. Department of Transportation                      7                                    FHWA002658
                                                                                                August 2014
Case 5:23-cv-00304-H                  Document 15-18                  Filed 01/31/24                Page 376 of 534                 PageID 2936
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                     Executive Summary

   region, as well as from assumptions on the best approaches for providing that data that could be
   used in engineering design.

   The Importance of Using a Range of Climate Input Data
   It is important for a robust design process that a range of climate projection data be considered,
   simply to make sure that even the lower estimates do not require corrective design action, and
   that a reference alternative is presented for the scenario analyses of the higher stresses on the
   assets. Additionally, in some cases the lower scenario was actually found to be more damaging
   than the higher scenario.

   In this and most similar studies, the analysis of future climate conditions was predicated on the
   emission scenarios offered by the Intergovernmental Panel on Climate Change (IPCC). The
   IPCC offers a range of emission scenarios that are then used as inputs to multiple global climate
   models. Importantly, the IPCC states that each of the emissions scenarios are equally likely to
   occur;5 thus, while not providing a different conclusion on any one trajectory of future climate,
   the climate projections derived from those scenarios are useful in providing a range of outputs
   that can be considered as a sensitivity test in the planning and design of transportation facilities.
   A range of variables has been developed that can be used and parameterized in design decisions;
   some data may be found to have no bearing on design while other data may have wide-ranging
   consequences. The case studies demonstrate that the values of the design variable inputs can
   have strong influences on expected stresses and loads on transportation assets, as well as on
   appropriate adaptation response.

   Earlier tasks of this study included development of climate information (see the Task 2 reports)
   from which climate narratives6 were developed (see the Task 3.1 report).7 “Warmer” and
   “Hotter” narratives were developed to describe ranges of temperature values, and “Wetter” and
   “Drier” narratives of precipitation projections were developed for the Mobile study region for
   use in the engineering case studies. These narratives provided the range of climate projection
   data used in this study for temperature and precipitation. Task 2 and Task 3.1 also developed
   climate narratives for sea level and storm surge, which provided the range for those climate
   stressors used in the case study analyses.

   The scenario approach produces a range of values for the input design variables. Depending on
   the environmental stressors being considered, many of the engineering case studies showed that
   the scenarios defined by the lower ranges of design input values had either little or no impact on
   the current design of the asset, or that the impacts could lead to some corrective design action.
   For those with no impact, the original design of the asset provided enough strength and durability


   5
     IPCC, 2007
   6
     Note that the term “narratives” was used in place of the term “scenario” to avoid confusion with the IPCC Special Report on Emission
   Scenarios; the narratives function like scenarios, as described in the Task 2 report.
   7
     USDOT, 2012; USDOT, 2014




   U.S. Department of Transportation                                         8                                                  FHWA002659
                                                                                                                                 August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 377 of 534       PageID 2937
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                               Executive Summary

   to withstand the forces that were likely to be placed on the asset assuming climate change-
   induced design values. In other cases, such as with storm surge, the assets were found to be
   vulnerable for all scenarios. In fact, with storm surge, in some cases the lower scenario was
   actually found to be more impactful than the higher scenario. This lends further credence to the
   importance of including lower end scenarios in an adaptation assessment.

   Addressing the Design Storms vs. Modeled Future Storms
   Rooting future scenarios in the experience of a single historical weather event and then altering
   characteristics to reflect possible future permutations, has the benefit of providing very relatable
   results to local stakeholders, especially if a severe storm event occurred recently. However, this
   approach does not allow for the calculation of a return period, which presents a challenge when
   comparing future asset performance against a design standard rooted in return periods (e.g., no
   overtopping is allowed up to the 100-year storm).

   Engineering practice is based on the premise of “acceptable risk”; acceptable risk is addressed in
   design standards that hinge on the recurrence probability of storm events (e.g., a bridge designed
   to pass the 100-year storm with a 1% annual chance of occurrence). Selection of design storms
   or return period storms are indicative of an agency’s risk tolerance and reflect a trade-off
   between the upfront cost of providing additional protection and the expected remedial cost in
   case of such an event occurring. Understanding performance relative to a return period storm is
   important to established engineering practice.

   Scenarios marrying historical and future information were particularly important to local
   stakeholders in the context of developing sea level rise and storm surge projections. In the Gulf
   Coast Project, different sea level rise scenarios were combined with base and modified Hurricane
   Katrina storm surge scenarios. Modeling efforts to develop a series of storm surge scenarios
   enabled the consideration of increased wind intensity and modified storm tracks layered on top
   of historical data. This approach is novel in engineering design because “design storms” are
   generally defined by historical record. While these future scenarios were not analyzed for the
   purpose of establishing future return periods, they served as the basis for scenario-based
   engineering analyses. There is a need for additional research and dialogue to identify and refine
   approaches to considering future storm surge scenarios and the effects of climate change on the
   way engineering design inputs are established.

   1.5 Facility-Specific Findings
   The case studies yielded important findings about the vulnerabilities and adaptation options for
   the specific assets analyzed. The following table provides an overview of findings for each case
   study as well as a section reference so readers can readily find the full case study write-up. Short
   summaries of each case study are presented in the Lessons Learned section (Section 5).




   U.S. Department of Transportation                      9                                    FHWA002660
                                                                                                August 2014
                                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                Executive Summary

                                                                 Table 2: Case Study Locations

  Case Study
                     Facility          Was it Vulnerable?                    What Options are Viable?                             Take-Away
    Name
                                                                                                                 Using 24-hour duration precipitation
                                                                                                                 projections that are available from climate
Culvert                            The culvert is adequate for       Increasing the number of culvert cells      models is an appropriate approach for
                 Airport
Exposure to
                                                                                                                                                                 Case 5:23-cv-00304-H




                 Boulevard         current conditions                Increasing the number and size of culvert   determining rainfall when designing large
Changing                                                                                                         culverts for future conditions
                 Culvert over      Runoff overtops roadway           cells
Precipitation
                 Montlimar Creek   under projected conditions        Regional Drainage Area Management           Benefit-cost analysis using the Monte Carlo
Patterns
                                                                                                                 process is a useful way to deal with climate
                                                                                                                 uncertainties influencing major projects
                                                                     Restrict ship heights
Bridge Over                                                          Re-configure seaward ports to handle
                                   The navigational clearance                                                    Port and transportation planners should
Navigable        Cochrane-                                           more vessels
                                   is vulnerable to only the                                                     monitor and consider sea level rise and its
                                                                                                                                                                 Document 15-18




Waterway         Africatown USA
                                   highest sea level rise            Replace with higher bridge at the end of    impacts on navigation constraints beginning
Exposure to      Bridge
                                   projection                        the life-span                               as soon as feasible
Sea Level Rise
                                                                     Monitor sea level and act accordingly
                                   The embankment is                 Continue maintenance to ensure proper       Any protection recommended for a facility of
Bridge           US 90/98          temporarily vulnerable to         function of existing riprap slope           this type would need to address all potential
Approach         Tensaw-Spanish    wave run-up from the              protection                                  stressors upon the abutment including storm
                                                                                                                                                                 Filed 01/31/24




Embankment       River Bridge –    projected sea level rise                                                      surge and scour
                                                                     Raise the elevation of the riprap slope
Exposure to      western           Vulnerable to permanent                                                       The general analytical methods demonstrated
                                                                     protection, approach road, and bridge
Sea Level Rise   approach          inundation under highest                                                      here can be applied to other coastal
                                   sea level rise projection         Extend the embankment slopes (20:1)         embankments
                                                                                                                                                                 Page 378 of 534
                                                                                                                                                                 PageID 2938




                    U.S. Department of Transportation                            10                                         August 2014         FHWA002661
                                   Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                             Executive Summary

 Case Study
                  Facility          Was it Vulnerable?                  What Options are Viable?                           Take-Away
   Name

                                                                No action required for erosion from       Formulas for estimating abutment scour are
                                                                storm surge at this location; however,    very conservative, especially for typical
                                                                for other abutments:                      coastal conditions leading agencies to protect
                                                                                                          foundations rather than design foundations
              US 90/98                                          x Control the approach and departure      to resist the predicted scour
Bridge
                                                                                                                                                           Case 5:23-cv-00304-H




              Tensaw-Spanish                                      flow to realign water passage though
Abutment                                                                                                  Inspectors should be informed that even if
              River Bridge –   Not vulnerable                     the waterway
Exposure to                                                                                               the structural portion of an abutment is
              western                                           x Armor the bridge opening
Storm Surge                                                                                               situated on “dry” ground, other components
              abutment                                          x Widen, lengthen and / or shift bridge
                                                                                                          such as bulkhead, riprap, or other stability
                                                                x Control drainage from the               measures may play a key role in the overall
                                                                  embankment and roadway to avoid         scour resistance of the abutment and should
                                                                  erosion in the abutment area            likewise be monitored
                               Superstructure at Bents 11
                                                                                                                                                           Document 15-18




                               and 13 would likely have
                               bolt failures at the bottom
                               of the girders and lift off
                               under all storm surge
                               scenarios investigated. It is    Design to break away (AASHTO)
                               likely that this failure could   Strengthen the bolt connections
                               occur at any of the spans
Bridge        US 90/98 ramp                                     Install open grid decks
                                                                                                                                                           Filed 01/31/24




                               within the study section of                                                The worst case storm surge scenario does not
Segment       to I-10          the ramp.                        Design shallower girder sections          necessarily translate to the worst effect on
Exposure to   eastbound at                                      Use open rail parapets
                               The piles have sufficient                                                  the facility
Storm Surge   exit 30
                               axial capacity to resist the     Replace the lower bridge segments with
                               uplift force on the              protected embankment (shorten the
                               superstructure, but the          bridge)
                               piles are not able to resist
                               the lateral forces (shear and
                               moment) under any of the
                                                                                                                                                           Page 379 of 534




                               scenarios and may fail due
                               to shear and / or bending
                                                                                                                                                           PageID 2939




                 U.S. Department of Transportation                          11                                       August 2014         FHWA002662
                                        Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                  Executive Summary

  Case Study
                      Facility           Was it Vulnerable?               What Options are Viable?                              Take-Away
    Name
                                                                                                               Roadway embankment breaching is an area
                                    I-10 can overtop under the    Harden one or more of the underpasses        with little research data on prediction
Road                                two highest projections                                                    methods
Alignment        I-10 (mileposts                                  Armor I-10 roadway embankment
Exposure to      20 to 25)          Underpasses subject to                                                     Additional erosion protection should be
                                                                  Raise the roadway
                                                                                                                                                              Case 5:23-cv-00304-H




Storm Surge                         erosion under all                                                          considered when designing roadway crossings
                                    projections                                                                that could be subjected to reverse flow from
                                                                                                               storm surges

                                                                  Raise the west portal wall to elevation 19   When evaluating the impacts of storm surge,
                                    The tunnel is vulnerable to   feet                                         wave height must be included in the analysis
Coastal Tunnel
                 I-10 (Wallace)     flooding during storms of                                                  The Saffir-Simpson Hurricane “Category”
Exposure to                                                       Raise all approach walls to elevation 19
                 Tunnel             return periods of 75 years                                                 Scale was not particularly valuable for
Storm Surge                                                       feet
                                    or greater                                                                 engineering decisions because it is wind-
                                                                  Install “temporary” flood gates
                                                                                                                                                              Document 15-18




                                                                                                               speed based, not surge based
Shipping Pier                                                     Adaptations should be considered to          Loads used to design piers are beyond
                 McDuffie Coal
Exposure to                         No, not the pier itself       preserve critical equipment and ancillary    expected lateral loads expected from even
                 Terminal, Dock 1
Storm Surge                                                       services                                     the most extreme storm surges
                                                                                                                                                              Filed 01/31/24
                                                                                                                                                              Page 380 of 534
                                                                                                                                                              PageID 2940




                     U.S. Department of Transportation                       12                                           August 2014         FHWA002663
                                    Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                              Executive Summary

 Case Study
                   Facility          Was it Vulnerable?              What Options are Viable?                               Take-Away
   Name
                                                             Options to reduce rutting in hotter areas:
                                                             x   Use thicker pavement sections at
                                                                 the time of initial design
                                                             x   Consider PCC pavement in certain
                                                                                                                                                           Case 5:23-cv-00304-H




                                                                 applications
                                                             x   Change frequency of maintenance
                                                             Options to improve PCC paving in hot
Pavement Mix                    Pavements constructed to     temps:                                       Monitor temperature changes, periodically
Design                          ALDOT performance grades     x   Minimize time to transport, place,       update historical temperature records, and
Exposure to    Area-wide        approach being vulnerable        consolidate, and finish the PCC          use climate projections where appropriate
Temperature                     only to the highest                                                       rather than existing historical data currently
                                                             x   Use a PCC consistency that allows
Changes                         temperature projections                                                   used by pavement design software
                                                                 rapid placement and effective
                                                                                                                                                           Document 15-18




                                                                 consolidation at high temperatures.
                                                             x   Protect the PCC from moisture loss
                                                                 at all times during placement and
                                                                 during its curing period
                                                                Use cooled PCC, achieved by using
                                                                 chilled mixing water, or cooling the
                                                                 coarse aggregate
                                                                                                                                                           Filed 01/31/24




                                                             Plan and conduct on-going activities
                                                             Perform regular maintenance and
                                                             inspections
                                                             Monitor temperature trends towards the       The neutral temperature currently used by
Continuous
                                Rail can be vulnerable       “Hotter” narrative values                    the railroad would be inadvisable under the
Welded Rail
                                under the “Hotter”                                                        “Hotter” narrative Scenario at all future time
Exposure to    Area-wide                                     Keep incident records to correlate with
                                narrative temperature                                                     periods. Continuing to use the adopted
Temperature                                                  temperature trends
                                projections                                                               neutral temperature might increase the risk
Changes                                                      Increase rail neutral temperature            of sun kinks in the future.
                                                                                                                                                           Page 381 of 534




                                                             Ensure that ballasted tracks have
                                                             sufficiently wide shoulders to support
                                                             the ties
                                                                                                                                                           PageID 2941




                  U.S. Department of Transportation                     13                                            August 2014          FHWA002664
                                   Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                             Executive Summary

 Case Study
                  Facility          Was it Vulnerable?                What Options are Viable?                           Take-Away
   Name
                                                              Consult with designers about more
                                                              durable materials with consideration for
                                                              likely future conditions (e.g., higher
                                                              temperatures, increased rainfall
                                                              intensities)
                                                                                                                                                       Case 5:23-cv-00304-H




Operations
                                                              Change equipment needs due to
and
                                                              expected increases in emergency
Maintenance
                               O&M activities will be more    response                                   O&M personnel in the Gulf Coast region and
Activity
                               stressed by the increases in   Create stand-by contracts to increase      elsewhere need to be prepared for the
Exposure to
              Area-wide        temperature, precipitation,    response capacity and shorten reaction     unique and continuing challenges of extreme
Climate
                               and extreme weather            times                                      weather particularly when it comes to
Change and
                               events                                                                    cooperation between organizations
Extreme                                                       Increase attention to erosion and
Weather                                                       sedimentation issues
                                                                                                                                                       Document 15-18




Events                                                        Improve weather information systems
                                                              may be applied for year-round use to
                                                              monitor precipitation and flooding.
                                                              Increase cross-training of staff
                                                              Stockpile materials
                                                                                                                                                       Filed 01/31/24
                                                                                                                                                       Page 382 of 534
                                                                                                                                                       PageID 2942




                 U.S. Department of Transportation                        14                                        August 2014        FHWA002665
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 383 of 534       PageID 2943
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Background


   2. Background
   2.1 Overview of Gulf Coast Project
   Facility managers, transportation planners, and elected officials are increasingly concerned about
   the resilience of transportation infrastructure to a range of threats, including the threats posed by
   climate change and extreme weather. However, the information and tools necessary to
   understand, evaluate, and rank vulnerabilities remains scarce. This is particularly true as it relates
   to specific facilities and the assets that constitute a facility; even more scarce is information and
   data regarding adaptation (i.e., risk mitigation) measures, their efficacy in reducing risks, and the
   returns on investment that might be expected if adaptation strategies are adopted. Because many
   assets (e.g., rail lines, bridges, and piers) are expected to provide service for 100 years or longer,
   consideration of medium, and long-term climate threats is essential to ensuring safe and effective
   transportation services at all levels of authority (i.e., federal, state, county, and municipal) and
   for both publicly and privately managed assets.

   Acknowledging the importance of establishing systematic, transferrable approaches for assessing
   and addressing vulnerability to climate and weather risks, the USDOT’s Center for Climate
   Change and Environmental Forecasting commissioned a comprehensive, multiphase study of
   climate change impacts on transportation in the Central Gulf Coast region. This study, formally
   known as Impacts of Climate Change and Variability on Transportation Systems and
   Infrastructure: Gulf Coast Study (hereafter, the “Gulf Coast Study”), is the first such study of its
   magnitude in the United States and represents an important benchmark in the understanding of
   what constitutes an effective transportation system adaptation effort.

   The Gulf Coast region was selected as the focal point due to its dense population and complex
   network of transportation infrastructure, as well as its critical economic role in the import and
   export of oil, gas, and other goods. The study is funded by the USDOT Center for Climate
   Change and Environmental Forecasting and managed by the Federal Highway Administration
   (FHWA). The Gulf Coast Study includes two phases:
    Phase 1 (2008) – During Phase 1, USDOT partnered with the U.S. Geological Survey
     (USGS) and the U.S. Climate Change Science Program (CCSP) to investigate potential
     climate change risks and impacts on coastal ports, road, air, rail, and public transit systems in
     the region from Mobile, Alabama to Houston/Galveston, Texas. The study assessed likely
     changes in temperature and precipitation patterns, sea level rise, and increasing severity and
     frequency of tropical storms. Phase 1 then explored how these changes could impact
     transportation systems. It found that a local sea level rise of four feet would permanently
     inundate 27% of the Gulf Coast region’s roads, 9% of its railways, and 72% of its ports;
     higher temperatures would likely lead to more rapid deterioration of infrastructure and higher
     maintenance costs; more intense precipitation events could overwhelm drainage systems and
     cause damage and delays; and increased hurricane intensity coupled with sea level rise would
     pose a significant threat to infrastructure.




   U.S. Department of Transportation                     15                                    FHWA002666
                                                                                                August 2014
Case 5:23-cv-00304-H                 Document 15-18                 Filed 01/31/24               Page 384 of 534                PageID 2944
                          Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                       Background

    Phase 2 (nearing completion) – The purpose of                                                    Phase 2 Study Area
     Phase 2 is to provide a more detailed assessment of                                 While Phase 1 took a broad look at the
     the vulnerability of the most critical components of                                entire Central Gulf Coast region (between
     the transportation system to weather events and                                     Houston/Galveston, Texas and Mobile,
     long-term changes in climate. This work is being                                    Alabama) with a ‘big picture’ view of the
     conducted on a single metropolitan area, the Mobile,                                climate-related challenges facing
     Alabama region (see Figure 2), with the intention of                                infrastructure, the current effort in Phase
                                                                                         2 focuses on Mobile, Alabama. The area
     making the processes used in the study replicable to
                                                                                         of the study includes Mobile County
     other areas. USDOT is conducting Phase 2 in                                         (including Dauphin Island) and the
     partnership with the Mobile Metropolitan Planning                                   crossings of Mobile Bay to the east to
     Organization, part of the South Alabama Regional                                    landfall in Baldwin County (Figure 2).
     Planning Commission (SARPC).
   Phase 2 is divided into the tasks below. The first three tasks form the basis of a vulnerability
   screen and assessment of the Mobile transportation system, while the other tasks focus on tool
   development, coordination with stakeholders, and communication of project results.
    Task 1: Identify critical transportation assets in Mobile. This task (completed) served as a
     first level screen for the vulnerability assessment, by identifying which transportation assets
     are highly critical to Mobile. The results were published in the report Assessing
     Transportation for Criticality in Mobile, Alabama.8
    Task 2: Develop climate information. Task 2 (completed) focuses on characterizing how
     temperature, precipitation, streamflow, sea level, and storms and storm surge in Mobile could
     change due to climate change. This task also investigated the sensitivities of different
     transportation assets to each of these climate stressors, which is discussed in the companion
     report Assessing the Sensitivity of Transportation Assets to Climate Change in Mobile,
     Alabama.9
    Task 3: Determine vulnerability of critical assets. This task (partly covered in this report)
     evaluates how the highly critical assets identified in Task 1 could be vulnerable to the climate
     information developed under Task 2. Activities under this task led to a clearer, more
     systematic understanding of the key vulnerabilities of Mobile’s transportation system to
     climate and weather factors. The methodology and findings of a high level vulnerability
     assessment of the transport system are covered in Screening for Vulnerability.10 This report
     provides engineering-oriented analyses of selected vulnerable assets.
    Task 4: Develop risk management tool(s). Based on the findings and lessons learned
     during the first three tasks, Task 4 is culminating in a suite of tools and resources to assist
     other transportation agencies in conducting similar assessments and in managing their
     identified risks.11


   8
     The Task 1 report is available at http://www.fhwa.dot.gov/environment/climate_change/adaptation/ongoing_and_current_research/gulf_coast_st
   udy/phase2_task1/index.cfm.
   9
     The Task 2 report is available at http://www.fhwa.dot.gov/environment/climate_change/adaptation/ongoing_and_current_research/gulf_coast_st
   udy/phase2_task2/sensitivity_report/.
   10
      The Screening for Vulnerability report is available at www.fhwa.dot.gov/environment/climate_change/adaptation/ongoing_and_current_researc
   h/gulf_coast_study/phase2_task3.
   11
      These tools will be housed at http://www.fhwa.dot.gov/environment/climate_change/adaptation/adaptation_framework/.




   U.S. Department of Transportation                                      16                                                 FHWA002667
                                                                                                                              August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 385 of 534       PageID 2945
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Background

    Task 5: Coordinate with planning authorities and the public. Ongoing throughout the
     project, this task focuses on engaging key local transportation stakeholders, as well as
     members of the public.
    Task 6: Disseminate and publish results. High-level findings derived from Tasks 1 through
     5 will be summarized in a brief synthesis report, as well as associated presentations of the
     findings.




   U.S. Department of Transportation                     17                                    FHWA002668
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24         Page 386 of 534     PageID 2946
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Background

                               Figure 2: Gulf Coast Study Phase 2 Project Study Area




   U.S. Department of Transportation                      18                                   FHWA002669
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 387 of 534       PageID 2947
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Background

   2.2 Purpose of the Engineering Assessments
   This report describes the methodology and results of engineering assessments conducted on
   selected transportation assets in Mobile. After inventorying transportation assets in Mobile for all
   five modes (i.e., highway, port, airport, rail, and pipeline), conducting an assessment to prioritize
   critical assets (Task 1), developing Mobile-specific climate data (Task 2), and using a screening
   approach to rank vulnerability of critical assets to specific climate stressors (Task 3.1), the
   project team embarked on a series of engineering assessments.

   The facilities chosen for the engineering assessment were not reflective of the most vulnerable
   assets, but rather they were chosen to represent a broad range of facility types and climate
   stressors in hopes that methods developed here might be instructive, not only for Mobile but for
   transportation agencies nationwide.

   The purpose of the engineering assessment was twofold:
       (1) Develop and test a detailed climate impact assessment process that both quantifies
           climate risk to a particular facility (or asset within a facility) and evaluate possible
           adaptation strategies that could be implemented.
       (2) Explain and document Mobile-specific findings for each facility-climate stressor pair,
           including any findings that may apply more generally to engineering design practices,
           operations and maintenance practices, or other lessons learned.
   A General Process for Transportation Facility Adaptation Assessments (the Process) is
   established and used throughout the case studies to consider a variety of climate threats for a
   range of asset types and modes in Mobile County. Climate threats considered in these analyses
   include: temperature, sea level rise, storm surge, and precipitation. Asset types and modes
   covered in these analyses include: rail, pavement, a shipping port pier, a culvert, bridges, a
   tunnel, a roadway embankment, as well as operations and maintenance.

   Note that neither the Process nor the facility-specific findings are intended to change specific
   design methodologies for assets or to serve as an alternative approach for designing projects.
   Findings are illustrative and represent a first attempt to systematize an approach for
   incorporation of climate and weather risks into engineering analyses using facilities in Mobile as
   case studies. Also note that, although these assessments are meant to demonstrate methodologies
   that other transportation practitioners could use, it is not expected that any transportation agency
   would apply such detailed analyses to all assets under their purview. Rather, transportation
   agencies may wish to conduct detailed analyses on specific assets considered to be particularly
   critical, vulnerable, expensive to replace, due for an upgrade/replacement, etc.

   Figure 3 shows how the engineering assessments fit in with the other tasks under Phase 2.




   U.S. Department of Transportation                     19                                    FHWA002670
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 388 of 534       PageID 2948
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Background

   2.3 Report Roadmap
   The main body of this report is structured as follows:
    Overview of the General Process for Transportation Facility Adaptation Assessments used
     for the engineering assessments
    Case studies of engineering assessments for a variety of climate impacts on various asset
     types and modes in Mobile
    Overarching lessons learned
              Key findings on the approach and defining key variables, which may be of particular
              interest to transportation officials considering engineering assessments in their region,
              and
              Key findings of the engineering assessments on the assets in Mobile’s transportation
              system
    Future research needs




   U.S. Department of Transportation                     20                                    FHWA002671
                                                                                                August 2014
Case 5:23-cv-00304-H                      Document 15-18                     Filed 01/31/24                    Page 389 of 534                     PageID 2949
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Background

                                          Figure 3: Roadmap for Phase 2 of the Gulf Coast Project12


               Screen for Criticality (Task 1)                                      Development of Climate Information (Task 2)
                 Only highly critical assets will be                             Understanding How Climate May Change in Mobile, AL
                   evaluated for vulnerability
                                                                                  Report: Climate Variability and Change in Mobile, Alabama
               Report: Assessing Transportation for
                  Criticality in Mobile, Alabama                                                Sensitivity Matrix and Screen

                                                                 Report: Assessing the Sensitivity of Transportation Assets to Climate Change in Mobile, Alabama




                                              Vulnerability Assessment of Mobile’s Transportation System (Task 3)

                               System-Level Screen of Vulnerability to Temperature, Precipitation, Sea Level Rise, Storm Surge, and Wind

                                                                         Report: Screening for Vulnerability




                                                This Report: Detailed Engineering Assets of Selected Highly Vulnerable Assets

                                      Detailed look at selected assets to more accurately assess vulnerability and evaluate adaptation options




                                                                      Tools and Resources (Task 4)
                   Methodologies developed and lessons learned, for the criticality assessment, development of climate information, and the vulnerability
                     assessment will inform development of tools and resources to assist other transportation professionals in conducting similar work




   12
      Note: The components covered by this report are indicated with blue shading. The gray shading indicates other outcomes of the Phase 2 study
   that are presented in other reports and online resources.




   U.S. Department of Transportation                                               21                                                            FHWA002672
                                                                                                                                                  August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                Page 390 of 534                  PageID 2950
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                              A General Process for Transportation Facility Adaptation Assessments


   3. A General Process for Transportation Facility
      Adaptation Assessments
   3.1 Overview
   Climate and weather13 have always played an important role in the planning and design of
   transportation infrastructure; facilities of all types are planned to avoid high hazard areas
   whenever possible, bridges must be designed to accommodate floods, pavement must be able to
   tolerate extremes in temperature, etc. Traditionally, the transportation profession has relied upon
   historical records and statistical analyses of past climate data to inform decisions on the location
   and design of transportation facilities. In using historical climate data to design for future
   conditions, there is an inherent assumption that climate is stationary (i.e. unchanging over
   time).14 Changes in climate and the frequency of extreme weather events have the potential to
   alter these fundamental assumptions. Climate model projections show that there could be
   significant changes to key environmental variables within the planned life-spans of many
   transportation facilities; this is particularly true for long-lived assets. These climate changes may
   require adaptations to the way transportation facilities are planned, designed, constructed,
   operated, and maintained in order to maximize functionality, safety, and the anticipated return on
   infrastructure investments.

   Thus, the prospect of long-term changes in climate and more extreme weather presents a
   fundamental challenge to transportation professionals. With potential changes in climatic
   conditions, transportation professionals will have to grapple with new questions. For example,
   how much might environmental conditions change during and by the end of an asset’s lifespan?
   At what rate will climate change take place? How can defensible, cost-effective decisions be
   made given the often large uncertainties involved in projections of future climate? These
   questions will need to be addressed on a case-by-case basis for each facility and climate change
   adaptation considerations may need to become standard practice when planning and designing
   new infrastructure.

   Due to a lack of standard approaches or models for attempting this, USDOT developed a
   General Process for Transportation Facility Adaptation Assessments (the Process). The Process
   was developed for application on facilities found to be potentially vulnerable to climate changes

   13
      Weather and climate are related in the sense that they both capture information on atmospheric conditions, however, they differ based upon the
   time periods referred to. Weather refers to short term atmospheric conditions as measured over time periods ranging from seconds to days and
   weeks. Climate, on the other hand, refers to long term patterns in atmospheric conditions; essentially, the average weather patterns for a given
   time period as statistically compiled from 30 years or more of weather observations.
   14
      Stationarity refers to the lack of change in probabilities in a data series over time. Engineers do not assume stationarity with respect to all
   factors involved in design. For example, non-stationarity in watershed runoff values (e.g., due to anticipated land use changes in a drainage area)
   are typically considered in the design of bridges and culverts. However, with respect to the climate variables themselves (e.g., in the case of a
   bridge or culvert, the return period of various precipitation amounts), designers typically assume these values will remain stationary and there will
   be no change in the frequency of certain weather events in the future. Olson, Kiang, and Waskom (2010) provides an in-depth discussion of
   stationarity in the context of hydrology and water management which has broad applicability to the planning and design of transportation
   facilities as well.




   U.S. Department of Transportation                                          22                                                     FHWA002673
                                                                                                                                      August 2014
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24        Page 391 of 534       PageID 2951
                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                        A General Process for Transportation Facility Adaptation Assessments

   in the Screening for Vulnerability report15 produced as an earlier component of this project. That
   said, although the Process was developed in the context of this study, it is sufficiently
   generalizable such that it can be applied in other locations as well. The Process provides an 11-
   step framework for determining the vulnerabilities of an individual transportation facility to
   climate change, developing adaptation options to mitigate risks of anticipated changes, and
   selecting a course of action. The steps are generally as follows:

          1. Describe the Site Context
          2. Describe the Existing / Proposed Facility
          3. Identify Climate Stressors that May Impact Infrastructure Components
          4. Decide on Climate Scenarios and Determine the Magnitude of Changes
          5. Assess Performance of the Existing / Proposed Facility
          6. Identify Adaptation Option(s)
          7. Assess Performance of the Adaptation Option(s)
          8. Conduct an Economic Analysis
          9. Evaluate Additional Decision-Making Considerations
          10. Select a Course of Action
          11. Plan and Conduct Ongoing Activities

   Each of these steps is described in detail below.

   The Process was developed to be general enough to be applied to multiple transportation modes
   and asset types. It can also be used both for existing facilities, where adaptive retrofits might be
   considered, or proposed new facilities where adaptation can be incorporated into the design. For
   new facilities or major upgrades to existing facilities, the Process can be followed during the
   planning and preliminary engineering phase of work so that it can influence project design
   decisions. For new projects, the Process assumes that a preliminary plan / design based on
   traditional practice has been developed before starting the Process. This preliminary plan would
   serve as a basis for comparison with plans that include adaptation options.

   The Process is not intended to change specific design methodologies. The general approach to
   designing a culvert, for example, remains unchanged with the Process. What the Process
   potentially does change, however, are, (1) the climate-related inputs used in the design
   methodology, (2) the number and type of design options one develops, and (3) how the final
   option is chosen to provide a cost-effective and resilient improvement to the transportation
   network.

   The remainder of this section provides a detailed discussion of each step in the Process. Next,
   Section 4 demonstrates how the Process can be applied to a variety of facility types using case
   study examples of potentially vulnerable facilities in the Mobile region.

   15
        USDOT, 2014




   U.S. Department of Transportation                      23                                    FHWA002674
                                                                                                 August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 392 of 534       PageID 2952
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                       A General Process for Transportation Facility Adaptation Assessments

   3.2 The Process
   3.2.1 Step 1 – Describe the Site Context
   The first step in the General Process for Transportation Facility Adaptation Assessments
   involves developing a thorough understanding of the site context. The site’s context is key to
   determining the appropriateness of various adaptation options considered in subsequent steps.
   Important questions that should be answered in this step include:

    What are the characteristics of the surrounding land uses, population, economic activities and
     significant community resources?
    For existing assets, what are the performance characteristics such as volumes / ridership, fleet
     mix, and role in network continuity?
    What are the characteristics of the surrounding topography and hydrography?
    Are there recognized historic resources and / or sensitive environmental resources in the
     area?
    What is the long-term transportation and land use plan for the area, does it account for
     climate change impacts, and, if so, how?
    What function does (or will) the facility serve within the broader transportation network, both
     in the near term and in the future (e.g., is it an evacuation route or does it provide access to
     an important community resource such as a hospital?)?

   3.2.2 Step 2 – Describe the Existing / Proposed Facility
   This step involves developing detailed knowledge on the existing or proposed facility to be
   studied. This knowledge is critical to developing appropriate and effective adaptation options in
   subsequent steps. Key information that should be gathered includes:

    Location
    Functional purpose
    Design type (e.g., box-girder bridge versus suspension bridge)
    Dimensions
    Elevations
    Proposed / remaining design life
    Age and condition (for existing assets)
    Design criteria




   U.S. Department of Transportation                     24                                    FHWA002675
                                                                                                August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24               Page 393 of 534                  PageID 2953
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                             A General Process for Transportation Facility Adaptation Assessments

   3.2.3 Step 3 – Identify Climate Stressors that May Impact Infrastructure
         Components
   This step involves documenting the climate-related variables typically considered in the planning
   and design of the type of facility being investigated.16 The design standards associated with these
   variables, if applicable, should also be noted (e.g., a state transportation department may have a
   policy that all bridges and their approaches must be designed to pass the 100-year storm without
   overtopping). Sometimes these variables affect the facility directly (e.g., temperature’s influence
   on asphalt mix design) and in other cases they trigger other events that are the cause for concern.
   For example, more frequent and intense precipitation events could lead to more flooding which
   would need to be accounted for in bridge design. Furthermore, warmer temperatures could lead
   to more parasitic insects (such as the mountain pine beetle) being present in an area. The insects
   may kill trees in the watershed, contributing higher amounts of debris during floods that increase
   the chance of culverts or bridges becoming clogged.

   For most facilities, several climate stressors will be relevant to designers. This can be handled in
   a couple of different ways when conducting facility-level adaptation assessments using the
   Process. The most thorough approach involves considering all of the climate variables as part of
   the same assessment. This provides the most holistic picture of climate change impacts
   (including their potential interactions). That said, considering all impacts can add significant
   effort to the assessment and may not be practicable or necessary in all cases. One alternative
   approach (and the one taken in this report) is to look only at the climate stressor that is likely to
   be most significant to the facility. This requires some degree of engineering judgment up front to
   determine which stressor might be most impactful. It should be noted that while this approach is
   appropriate in many cases, there are likely to be some instances where multiple climate stressors
   should be considered together, particularly if interactions are anticipated amongst the impacts.
   The development of adaptation options might also benefit from a holistic approach in some cases
   as there may be synergies (or dis-synergies) among the options that could significantly affect
   which options are most cost effective.

   3.2.4 Step 4 – Decide on Climate Scenarios and Determine the Magnitude of
         Changes
   After the climate-related variables that affect the facility have been identified in Step 3, the next
   step is to use climate model projections to determine whether and how much each of the
   variables of concern may change in the future. The information gathered for each variable
   should, if possible, relate to the design standards identified in Step 3. However, due to the
   limitations of current climate models and the difficulties in developing future projections, this

   16
      A series of tables in the Task 2: Climate Variability and Change in Mobile, Alabama report (USDOT, 2012) relate specific climate variables to
   various transportation modes. Other useful references include (Armstrong, Keller, Flood, Meyer, and Hamlet, 2011) and the Engineering Options
   for Climate Stressor Mitigation tool developed as part of the National Cooperative Highway Research Program (NCHRP) 20-83(05): Climate
   Change and the Highway System project (Meyer, Flood, Keller, Lennon, McVoy, Dorney, Leonard, Hyman, and Smith, 2014).




   U.S. Department of Transportation                                        25                                                   FHWA002676
                                                                                                                                  August 2014
Case 5:23-cv-00304-H                      Document 15-18                    Filed 01/31/24                 Page 394 of 534                   PageID 2954
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                 A General Process for Transportation Facility Adaptation Assessments

   may not always be possible in which case proxy variables may have to be substituted. Section
   4.4.1 of this report provides a case study for a culvert illustrating the use of both a 100-year
   precipitation depth from climate models and a possible proxy for this value, the National
   Oceanographic and Atmospheric Administration (NOAA) Atlas 14 90% upper confidence limit,
   since similar climate projections are not yet available.

   The future values and probability of occurrence for many climate variables are uncertain due to
   the inability to predict the quantity of greenhouse gases that will be emitted in the future and how
   precisely the Earth’s climate system will respond. The General Process for Transportation
   Facility Adaptation Assessments incorporates a scenarios approach to deal with this uncertainty,
   an established practice in the climate change impacts assessment field. A scenarios approach
   involves generating a variety of climate scenarios to capture the range of possible future values
   of each climate variable.

   Climate scenarios are typically based on assumptions regarding the amount of greenhouse gases
   that will be emitted into the atmosphere, a key driver in the ultimate level of climate change that
   will occur. Scenarios can also consider different scientific assumptions on the climate system’s
   response to a given amount of greenhouse gas emissions (i.e., climate sensitivity) and the
   behavior of the climate system as captured by different climate models. Within the parameters of
   a scenario and the model of Earth’s climate used, it is possible to develop the conditional
   probability17 of a future climate event occurring, a key input to the economic analysis in Step 8.
   See the Task 2: Climate Variability and Change in Mobile, Alabama report18 for a detailed
   example of how climate scenarios can be acquired or generated for a wide range of climate
   stressors.

    As few as two scenarios showing high and low amounts of change in climate may be sufficient
   to capture the range of possible futures, but any number of scenarios can be utilized depending
   on the needs of the project. The more scenarios that are used, the more confidence one can have
   that all future possibilities have been considered. Practitioners should keep in mind that each
   scenario that is added will necessitate that additional time and resources be spent on the analysis
   during execution of the Process.

   At a minimum, climate projections for each scenario should be gathered for the period extending
   out to the anticipated end of the facility’s design life. Scenarios can also be analyzed at multiple
   points over the facility’s design life; for example, if a facility is designed to last through 2100, it
   would make sense to develop scenarios for both the mid-century and end of century timeframes.

   After gathering the climate projections and considering the full range of potential climate
   changes, it might be determined that none of the climate variables are expected to change

   17
        Conditional probability refers to a probability subject to conditions, in this case, the conditions included in the chosen climate scenario.
   18
        USDOT, 2012




   U.S. Department of Transportation                                              26                                                     FHWA002677
                                                                                                                                          August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 395 of 534       PageID 2955
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                       A General Process for Transportation Facility Adaptation Assessments

   significantly or in a way that would threaten the facility. If this is the case, then the assessment is
   complete and no further climate adaptation analysis is required at this time. This conclusion
   should be reassessed periodically as new understandings and projections of future climate
   develop. If, however, the magnitudes of the projected change are significant, then the analysis
   should continue to Step 5.

   3.2.5 Step 5 – Assess Performance of the Existing / Proposed Facility
   The purpose of this step is to ascertain whether the existing / proposed facility is performing as
   expected and whether it will continue to do so under each of the possible future climate scenarios
   selected in Step 4. For existing facilities, the asset should be assessed with respect to current
   climate data to determine if the asset meets present-day design standards. Any analysis should
   state assumptions made regarding design standards if they are not available. This can be an
   important factor when deciding on whether to do adaptation or not; if the facility does not even
   meet present climate-related design standards, then that is further reason to undertake an
   upgrade.

   The standards for which performance is assessed can vary depending on the asset being studied.
   Whenever possible, however, performance should be assessed against the design standards tied
   to the climate variables of interest that were noted in Step 3. For example, if a bridge and its
   approaches were required not to overtop during the 100-year storm, one would test each
   scenario’s 100-year storm to determine if it overtops the facility. A graph, such as a stream stage-
   discharge curve for culverts or bridges (see Figure 4 for an example), can be a useful way to
   summarize performance.




   U.S. Department of Transportation                     27                                    FHWA002678
                                                                                                August 2014
Case 5:23-cv-00304-H                             Document 15-18             Filed 01/31/24              Page 396 of 534     PageID 2956
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                       A General Process for Transportation Facility Adaptation Assessments

                                                     Figure 4: Example Stage-Discharge Curve for a Culvert

                                            45

                                            43

                                            41

                                            39
                      Headwater Elevation

                                            37
                                                                                      Roadway low point el.=

                                            35                                        2-ft. freeboard

                                            33

                                            31

                                            29

                                            27

                                            25
                                                 0          5000       10000         15000        20000        25000
                                                                         Flow Rate (cfs)



   In assessing impacts, one should broaden the analysis beyond narrowly looking only at the
   implications to the facility being studied and consider ancillary impacts caused by the subject
   facility’s failure. For example, an undersized culvert might lead to flooding of properties
   upstream: these should be noted and studied. One should also determine what the implications
   would be (if any) on surrounding (e.g. downstream) facilities if the asset failed. These
   considerations are important to understand and can make a large difference in the economic
   analysis.

   The takeaway of this step should be an understanding of which scenarios the facility performs
   adequately under and which scenarios it does not. One should be on the lookout for possible
   tipping points where damage greatly increases when the climate stressor reaches a certain level.
   To the extent that multiple timeframes were tested for each scenario, some sense of the
   timeframe around when performance is likely to fail to meet expectations will also be possible. It
   should be noted that the results will likely be subject to uncertainties in both the exact nature of
   how the climate changes will manifest themselves and precisely how the facility will respond.

   At the conclusion of Step 5, it is possible that the facility is found to perform adequately under
   the full range of potential climate changes that it could experience throughout its intended design
   life: if this is the case, no further analysis is necessary at this time and the assessment is complete
   until new climate projections are released requiring a revisiting of this conclusion.




   U.S. Department of Transportation                                            28                                        FHWA002679
                                                                                                                           August 2014
Case 5:23-cv-00304-H                Document 15-18           Filed 01/31/24        Page 397 of 534       PageID 2957
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                               A General Process for Transportation Facility Adaptation Assessments

   3.2.6 Step 6 – Identify Adaptation Option(s)
   Adaptation options should be identified for each scenario that does not meet design expectations
   as determined in Step 5. The adaptation options could be planning or design-oriented; in many
   cases, the best adaptation may be to avoid a hazardous area altogether rather than to design an
   engineered solution. Examples of adaptive design solutions are presented within the case studies
   of this report. These are not meant to cover the full range of options available, but rather serve as
   examples of the types of actions one might consider for similarly situated facilities in other
   communities. A more complete list of general adaptation options for bridges, culverts, pavement,
   drainage systems, and slopes can be found in the Engineering Options for Climate Stressor
   Mitigation tool developed as part of the National Cooperative Highway Research Program
   (NCHRP) 20-83(05): Climate Change and the Highway System project.19 It should be noted that
   the development of adaptation options is still in its infancy and this is an area worthy of much
   additional research and innovation.

   In general, at least one adaptation option should be identified for each climate scenario selected.
   These options then become the basis for analyzing performance and decision-making.
   Adaptation options could consist of either one action (raising a bridge) or a package of actions
   that address a climate stressor or set of climate stressors (e.g., raising a bridge and armoring the
   approach embankments). Each option should be developed so that applicable design standards
   are met under the given scenario realizing that, as is the case with such standards generally, some
   exceptions may be necessary based on unique site constraints. Alternately, a flexible design
   option, whereby the design can be changed over time to respond to observed changes in
   conditions, may also be considered. Such an approach has the advantage of managing some of
   the uncertainty inherent in climate projections by avoiding committing to a certain solution until
   it becomes clearer that the scenario is becoming a reality. Note that there are likely to be multiple
   possible ways to achieve design standards under any given scenario (e.g., to accommodate higher
   flows through a culvert, one could add additional culverts or convert the culvert to a bridge): it is
   up to the project team to decide on how many options to develop and test, keeping in mind that
   each additional option will add additional work effort to the assessment.

   Whatever approach is chosen, a high-level cost estimate to construct and maintain each
   adaptation option should be developed. This will be used in the economic analysis in Step 8.
   Although low-cost no-regrets adaptation options might be available, this is not always the case.
   Given the uncertainties of future climate, when adaptation involves much higher costs, some
   agencies might be tempted to consider a “roll-the-dice” strategy whereby proactive adaptations
   are not taken for existing facilities and adaptations are not made until damage occurs or planned
   major rehabilitation or replacement is required. The benefits and costs of such an approach can



   19
        Meyer et al., 2014




   U.S. Department of Transportation                             29                                    FHWA002680
                                                                                                        August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 398 of 534                  PageID 2958
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                              A General Process for Transportation Facility Adaptation Assessments

   be compared to those of a more proactive adaptation approach in the economic analysis
   discussed later.

   3.2.7 Step 7 – Assess Performance of the Adaptation Option(s)
   This step involves assessing the performance of each adaptation option under each potential
   climate change scenario selected in Step 4. This analysis is similar to Step 5 except that it is
   performed on the adaptation options as opposed to the existing facility or, in the case of new
   facilities, the standard design without adaptations. The key determination is whether each
   adapted facility satisfies its mandated performance standard (e.g., a 50-year design storm for a
   culvert) under each scenario. As in Step 5, the development of graphs such as stage-discharge
   curves (see Figure 4) can be a useful way to summarize this information.

   3.2.8 Step 8 – Conduct an Economic Analysis
   An economic analysis is of great value to informing decision-making on project level adaptation
   assessments. The analysis enables one to determine how the benefits of undertaking a given
   adaptation option, defined as the costs avoided20 with adaptation, compare to its incremental
   costs under each of the possible future scenarios developed in Step 4.

   The level of effort for the benefit-cost analysis should be scaled to match the magnitude of the
   project. Many techniques are emerging for conducting economic analyses of climate risk
   management strategies. Examples include Monte Carlo analysis (see Step 8 in Section 4.4.1 for
   an example) and the more simplified methods for scenario-based risk assessment planning
   discussed in Kirshen et al. (2012)21 and What Will Adaptation Cost? An Economic Framework
   for Coastal Community Infrastructure.22 The Federal Transit Administration (FTA) has released
   a Hazard Mitigation Cost Effectiveness (HMCE) Tool with an associated User Manual and
   trainings that facilitates the documentation of costs and benefits and calculates the final cost
   benefit ratio23. The approach used and the level of detail will be dependent upon the total value
   of the facility being studied, the technical abilities of the project team, and other resource
   constraints.

   Whichever approach is utilized, the basic technique involves estimating the expected impact
   costs from climate or weather events over the life of the facility and discounting them to
   determine the present value of these expected costs. This is done for the base case situation of the
   existing facility or standard new design and repeated for each adaptation option under each
   climate change scenario selected in Step 4. The (lower) costs with the adaptation options in place

   20
      Costs avoided might include the costs of damage to the facility, clean-up costs, costs to the traveling public due to detours and delays, death
   and injury costs, costs to businesses and others dependent on the transportation facility, potential costs to surrounding land uses from impacts
   generated by the facility (e.g., an undersized culvert resulting in upstream flooding that affects neighboring properties), and, potentially,
   environmental impacts generated by the facility (e.g., a coastal causeway that prevents marsh migration inland as sea levels rise).
   21
      Kirshen, Merrill, Slovinsky, and Richardson, 2012
   22
      Eastern Research Group, 2013.
   23
      FTA, 2014.




   U.S. Department of Transportation                                           30                                                     FHWA002681
                                                                                                                                       August 2014
Case 5:23-cv-00304-H           Document 15-18           Filed 01/31/24           Page 399 of 534      PageID 2959
                        Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                          A General Process for Transportation Facility Adaptation Assessments

   can then be compared to the base case costs to determine the cost savings expected as a result of
   adaptation. The net present value and/or the benefit-cost ratio of each adaptation option can then
   be computed and compared among the adaptation options. The results can be presented in tables
   showing each adaptation option’s cost-effectiveness under each scenario (see Table 3 for an
   example).

                        Table 3: Example Benefit-Cost Analysis Outputs for an Adaptation Option

    Climate Scenario            1              2             3               4              5
                           Observed        Observed      NOAA 90%                                      Average
     Description of       1980–2009       1980–2009        Upper         “Wetter”        “Drier”     (mean) of All
       Scenario           with Current    with Future    Confidence      Narrative      Narrative     Scenarios
                           Land-use        Land-use        Limit
   Present Value of
                             $2.5m          $2.5m          $2.5m          $2.5m          $2.5m          $2.5m
   Costs
   Present Value of
                             $10.3m         $11.8m        $18.5m          $97.5m         $8.9m         $29.4m
   Benefits
   Net Present Value         $7.8m          $9.3m         $16.0m          $95.0m         $6.4m         $26.9m
   Benefit-Cost Ratio          4.1            4.7            7.4           38.9            3.6           11.7
   Probability that
   Benefit-Cost Ratio         38%            44%            71%            99%            35%            N/A
   will be over 1


   Decision-makers can then consult the tables and look for (1) adaptation options that have benefit-
   cost ratios greater than one and (2) the adaptation option that performs best across the full range
   of scenarios tested (the robust option). It should be noted that the economic analysis does not in
   and of itself always provide an answer as to whether an adaptation option makes financial sense.
   There is no guarantee that an adaptation option that performs cost-effectively under each
   scenario will exist: an option may be cost-effective under one scenario but not another. Likewise,
   there may be no one adaptation option that is the most robust economic performer across all
   scenarios. In every case, but in these cases especially, trade-offs will have to be made and the
   community’s and / or facility owner’s risk tolerance evaluated to help choose the “best” option
   from a financial standpoint. Ultimately, uncertainties associated with projected changes in
   climate tend to magnify subjective factors during decision-making, including risk tolerance of
   customers and funders of transportation assets.

   3.2.9 Step 9 – Evaluate Additional Decision-Making Considerations
   As in other areas of transportation decision-making, the cost-effectiveness of adaptation options
   is not the only factor important to making wise investment decisions. Other factors that can be
   difficult to monetize (for benefit / cost analysis) should also be considered before a final decision
   is reached. These may include:




   U.S. Department of Transportation                        31                                      FHWA002682
                                                                                                     August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 400 of 534       PageID 2960
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                       A General Process for Transportation Facility Adaptation Assessments

    Broader project sustainability beyond just climate change impacts (i.e., the “triple bottom
     line” of social, environmental, and economic concerns)
    Project feasibility and practicality
    Ongoing maintenance needs
    Maintenance funds availability
    Capital funds availability
    Stakeholders’ (public and government agencies) tolerance for risk of service interruption and
     associated costs of all types (note: this affects how the economic analysis is perceived as well)
    Stakeholders’ expected quality or level of service
   Much of this information will need to be gathered through community outreach and stakeholder
   engagement processes.

   3.2.10 Step 10 – Select a Course of Action
   Once as much information as possible has been gathered on both economic and non-economic
   factors, decision-makers should weigh the information presented and decide on a course of
   action. Those involved should keep in mind that adaptation does not always make sense from a
   financial feasibility or community acceptance standpoint and a decision to take no action may be
   justified in some cases.

   3.2.11 Step 11 – Plan and Conduct Ongoing Activities
   Once a decision has been made on a course of action, a management plan for the facility should
   be developed. At a minimum, the management plan should contain an element of monitoring to
   determine if the facility is performing as expected over time. If an adaptation option was used,
   estimates of the costs saved from implementing the adaptation could be developed so that the
   benefits of the adaptation are documented and compared to its costs. This information could
   prove beneficial in future years as the community continues to make decisions on which
   adaptations, if any, make sense in various situations.




   U.S. Department of Transportation                     32                                    FHWA002683
                                                                                                August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 401 of 534                 PageID 2961
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies


   4. Case Studies
   4.1 Introduction
   Ten case studies were conducted to demonstrate the application of the General Process for
   Transportation Facility Adaptation Assessments (the Process) to a range of design problems at
   10 specific facilities in Mobile. In addition, operations and maintenance (O&M) opportunities for
   adaptation were examined in a final case study. These case studies illustrate how engineering
   design processes may be augmented to incorporate climate change and extreme weather
   considerations.

   The primary criteria for selecting an asset or facility in the case studies included:

    The facility’s relative vulnerability ranking as determined in the Screening for Vulnerability
     report.24 These screening-level results include the magnitude of the direct and secondary
     consequences of failure or interruption as a factor.
    Diversity in the range of modal assets and facilities being examined
    Degree to which lessons learned and processes illustrated for a given asset/facility could be
     applied elsewhere in the Gulf Coast or the nation
    Availability of non-proprietary information (existing plans and design data) for the subject
     asset
    Available resources

   4.2 Selection of Cases
   Table 4 lists the climate stressors and asset types chosen for study and the specific case study
   facilities that were investigated. Figure 5 shows the location of these facilities.

   4.3 Approach
   Since the case studies are intended to demonstrate the application of the Process, each case study
   is structured using the 11 steps of the Process (see Section 3.2 for a detailed discussion of each
   step). The step-by-step summaries thus provide detailed examples of how the Process can be
   applied to a variety of climate stressors and facility types.25

   The projected climate data used in the case studies were developed during earlier tasks of this
   project. For more information on how the climate information was developed and packaged into
   climate “narratives” for purposes of vulnerability assessments, please see the Task 2 and Task
   3.1 reports at www.fhwa.dot.gov/environment/climate_change/adaptation/ongoing_and_current_


   24
     USDOT, 2014
   25
     Detailed calculations and model outputs are not included in this report, but are available upon request by contacting the FHWA authors of this
   report.




   U.S. Department of Transportation                                         33                                                   FHWA002684
                                                                                                                                   August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 402 of 534       PageID 2962
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   research/gulf_coast_study/phase2_task2/sensitivity_report/ and www.fhwa.dot.gov/environment/
   climate_change/adaptation/ongoing_and_current_research/gulf_coast_study/phase2_task3.

   Due to the nature of this project as a broad study across many facilities, none of the case studies
   represent a full application of every step in the Process. For example, none of the cases included
   a full evaluation of additional decision-making considerations in Step 9, as public outreach
   related to specific adaptation measures was beyond the scope of this project. In addition, only the
   study of a culvert exposed to changes in precipitation patterns (Section 4.4.1) included an
   economic analysis. Recognizing these limitations, the selected courses of action discussed in
   Step 10 of each case study are preliminary recommendations, subject to additional findings from
   completion of full economic analyses and outreach with local stakeholders.




   U.S. Department of Transportation                     34                                    FHWA002685
                                                                                                August 2014
Case 5:23-cv-00304-H             Document 15-18              Filed 01/31/24           Page 403 of 534              PageID 2963
                        Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                     Case Studies

                              Table 4: Listing of Case Studies by Climate Stressor, Facility Type,
                                                    and Damage Mechanism

   Report       Climate                            Damage                                                    Indicator-Based
                                 Asset Type                                 Case Study Facility
   Section      Stressor                          Mechanism                                                   Vulnerability*
             Increased                                             Airport Boulevard culvert at
    4.4.1                      Culvert           Flooding                                                   Low
             precipitation                                         Montlimar Creek
                               Navigable
                                                 Clearance for
    4.4.2    Sea level rise    waterway                            Cochrane-Africatown USA Bridge           Medium
                                                 navigation
                               bridge
                               Bridge                              West approach embankment of the
    4.4.3    Sea level rise    approach          Slope erosion     US 90/98 Tensaw-Spanish River            High
                               embankment                          Bridge
             Higher storm      Bridge            Abutment          West abutment of the US 90/98
    4.4.4                                                                                                   Medium
             surge             abutment          scour             Tensaw-Spanish River Bridge
             Higher storm                        Wave forces,
                               Bridge                              US 90/98 ramp to I-10 eastbound at
    4.4.5    surge                               bridge pier                                                High
                               segment                             Exit 30
                                                 scour
             Higher storm                        Overtopping
                               Road
    4.4.6    surge                               / slope           I-10 (mileposts 24 and 25)               Low
                               alignment
                                                 erosion
             Higher storm
    4.4.7                      Coastal tunnel    Flooding          I-10 (Wallace) Tunnel                    Medium
             surge
             Higher storm
    4.4.8                      Shipping pier     Waves             McDuffie Coal Terminal, Dock 1           Low
             surge
                                                 Rutting,
             Temperature       Roadway
    4.4.9                                        concrete          Generic location                         Low
             changes           pavement
                                                 crackings
             Temperature       Continuously      Buckling,
    4.4.10                                                         Generic location                         Medium
             changes           welded rail       pull-aparts
                               Operations
                               and                                  Alabama Department of
                               maintenance                          Transportation, City of Mobile, and
    4.4.11 Various                               Various                                                     High
                               activities for                       Mobile County operations and
                               various                              maintenance practices
                               facilities
   * An asset’s estimated vulnerability was calculated previously in this project, as detailed in the report Task 3.1:
   Screening for Vulnerability. The vulnerability designations developed within the Screening for Vulnerability report
   provide initial estimates of an asset’s vulnerability to a particular climate stressors based on a series of vulnerability
   “indicators” applied broadly across the transportation system. However, in this Task 3.2 Engineering Analysis and
   Assessment report, the more refined engineering analyses performed may result in different determinations as to an
   asset’s actual vulnerability.




   U.S. Department of Transportation                             35                                           FHWA002686
                                                                                                               August 2014
Case 5:23-cv-00304-H                   Document 15-18               Filed 01/31/24         Page 404 of 534          PageID 2964
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                                                        Figure 5: Case Study Locations26

                                                                                                      Cochrane-Africatown
                                                                                                      USA Bridge




                                                                                                      I-10 (Wallace) Tunnel
                                                                                                     W. approach
                                                                                                     embankment & W.
                                                                                                     abutment, Tensaw Bridge



                                                                                                      US 90/98 ramp to I-10




                                                                                                      I-10 (mileposts 24 to
                                                                                                      25)

                                                                                                      McDuffie Terminal
                                                                                                      Dock 1
                                                                                                      Airport Blvd. Culvert at
                                                                                                      Montlimar Creek
                                                                                                         Approx. 3 mi.
                                                                                            N
   Also, the case studies are very specific to one type of asset for one type of climate stressor at a
   particular location. It was beyond the scope of this analysis to include all components of a
   facility design when considering adaptation strategies, or to consider the entire range of climate
   stressors that might affect each case study facility over time. Instead, the climate stressor that is
   likely to be most impactful was chosen for study. Actual project-level applications of the Process
   may, however, attempt to be holistic in their consideration of climate impacts. All relevant
   components of a facility that could be impacted by climate change may be considered in these
   studies, including an assessment of how climate change may impact the land uses being served
   by that facility and vice versa. Complex interactions between land use, demographics, and
   changes in climate will all influence the demand on the facility; understanding the local context
   and the relative influence of these factors is critical to making informed adaptation decisions.
   Similarly, considering the possible interrelationships of various climate stressors may be
   important when undertaking actual assessments.

   Lastly, it should be noted there are several key facilities in the transportation system that were
   not included as case studies. This includes highway and railway signs and signals,


   26
        Source of base map: Google Maps (as modified)




   U.S. Department of Transportation                                    36                                     FHWA002687
                                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24         Page 405 of 534           PageID 2965
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   communication networks, power supplies to all major transportation facilities, and other key
   components of the system. Additional assessments will be needed to determine how best to adapt
   the design of these facilities to a changing climate.

   4.4 Individual Case Studies
   4.4.1 Culvert Exposure to Precipitation Changes – The Airport Boulevard Culvert
         over Montlimar Creek
   Introduction
   Culverts are an important and sometimes                              Case Study Highlights
   underappreciated component of the highway
                                                        Purpose: Evaluate whether culvert design is sufficient
   system that can be highly sensitive to climate       under projected levels of 24-hour precipitation
   change. This section of the report illustrates       Approach: Using projected 24-hour rainfall values and
   how the General Process for Transportation           NOAA temporal rainfall distributions, peak flows to the
                                                        culvert were modeled using the Win TR-20 Program,
   Facility Adaptation Assessments can be
                                                        considering both existing and future land use conditions.
   applied to culverts by using the Airport             Then, hydraulic analyses were conducted to determine
   Boulevard culvert over Montlimar Creek               the performance of the culvert under current and future
   (see Figure 6) as a case study. The goals of         flows, using the HY-8 Version 7.2 program. Performance
                                                        was assessed by determining whether at least 2 feet of
   this assessment are to (1) determine whether         freeboard would be achieved during a 25-year event,
   projected changes in precipitation patterns          which is the standard used by the city of Mobile for this
   associated with climate change will pose a           type of culvert.
                                                        For each adaptation option, flooding impacts of a 100-
   flood risk to the facility and, if so, (2) to
                                                        year event on surrounding areas were evaluated. An
   develop and evaluate adaptation options for          economic analysis of adaptation options was conducted
   managing that risk. This case study does not         using a Monte Carlo process.
   go into all the details of the culvert design        Findings: Culvert design is sufficient for current
                                                        conditions, but the roadway could be overtopped under
   process, but rather focuses on one particular
                                                        projected future conditions
   design consideration that is affected by             Viable Adaptation Options:
   climate change; precipitation and its impact              x Increase number of culvert cells
   on streamflow.                                            x Increase size of culvert cells
                                                             x Implement Regional Drainage Area
                                                                  Management practices
                                                        Other Conclusions: An economic analysis could be done
                                                        using a Monte Carlo process, which is effective in
                                                        managing the uncertainties associated with the climate
                                                        projections. For this case study, the economic analysis
                                                        indicates that increasing the number of the culvert cells
                                                        is more likely to be cost-effective under various climate
                                                        futures than increasing the size of the culvert cells.




   U.S. Department of Transportation                     37                                        FHWA002688
                                                                                                    August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24         Page 406 of 534           PageID 2966
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

               Figure 6: Photo of the Airport Boulevard Culvert over Montlimar Creek, Upstream Side




   Adaptation options considered for handling projected increases in streamflow include adding two
   additional cells to the existing culvert or raising the road and replacing the existing culvert with
   one that has larger cells. Unlike the other case studies, this case study also includes an economic
   analysis to show how one might use the financial performance of each adaptation option
   developed to aid in decision-making. Based on this analysis, the preliminary recommended
   action is to expand the culvert by adding two additional cells to the existing facility. The case
   study concludes with lessons learned about the application of the General Process for
   Transportation Facility Adaptation Assessments to culvert design. As with any culvert design,
   the designer must consider the culvert as an element within the drainage system and determine
   the effectiveness of and the influence on performance of all of the drainage system elements.

   Application of the General Process for Transportation Facility Adaptation Assessments
   Step 1 – Describe the Site Context
   The Airport Boulevard culvert over Montlimar Creek is located on the west side of the City of
   Mobile (see Figure 7) immediately to the west of Airport Boulevard’s intersection with I-65.
   Airport Boulevard is a major six-lane east-west arterial linking downtown Mobile with its
   western suburbs and the regional airport (located approximately seven miles to the west). The
   main road is flanked by a pair of two-lane bi-directional frontage roads that also utilize the
   culvert. The two primary regional shopping centers, the Springdale Mall and the Bel Air Mall,
   are immediately to the east of the I-65 interchange, adding to the traffic loads on the facility. In
   addition to personal and commercial vehicles, Wave Transit System bus routes 1 and 18 use the
   segment of Airport Boulevard passing over the culvert.




   U.S. Department of Transportation                      38                                      FHWA002689
                                                                                                   August 2014
Case 5:23-cv-00304-H                   Document 15-18        Filed 01/31/24        Page 407 of 534             PageID 2967
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                   Figure 7: Location of the Airport Boulevard Culvert within the Mobile Metropolitan Area27




   The roadway network in the vicinity of the culvert is fairly dense with Dauphin Street providing
   an alternative crossing of Montlimar Creek about 0.6 miles to the north and Michael Boulevard
   and Pleasant Valley Road crossing the creek approximately one mile to the south. Alternative
   stream crossings are an important consideration when evaluating possible detour routes if Airport
   Boulevard is closed due to inundation.

   Hydrologic Setting

   Montlimar Creek is a man-made feature that was designed as a drainage canal through Wragg
   Swamp, a wetland that once existed in the area surrounding the I-65 interchange with Airport
   Boulevard. Figure 8 shows two historical topographic maps illustrating the swamp and the major
   changes to the area’s hydrology that came with the construction of I-65 and urbanization of the
   area. The figure shows that the Eslava Creek once flowed eastward through Wragg Swamp prior
   to the construction of I-65, at which time the creek was bifurcated into separate branches west
   27
        Source of base map: Google Maps (as modified).




   U.S. Department of Transportation                             39                                      FHWA002690
                                                                                                          August 2014
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24        Page 408 of 534       PageID 2968
                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                   Case Studies

   and east of the interstate. The east branch of Eslava Creek continued in a southeast direction to
   the Dog River; the west branch was channeled southward into what is now the Montlimar Creek,
   keeping all these waters to the west of I-65 before draining into the Dog River.

   Figure 9 shows the present-day drainage area for water flowing through the Airport Boulevard
   culvert. The total drainage area to the culvert is 3.3 square miles (8.5 square kilometers).

   Today’s Montlimar Creek consists of a series of man-made channels surrounded by urban
   development. The segment just upstream and downstream of the Airport Boulevard culvert is a
   trapezoidal channel with grassy vegetation on the side slopes. The surrounding area consists
   almost entirely of paved commercial areas. The channel has an approximate top width of 120
   feet (36.6 meters) and an approximate depth of 10 feet (3 meters). The bottom width is
   approximately 40 feet (12.2 meters) and side slopes are 25%.

   The Airport Boulevard culvert over Montlimar Creek lies within a Federal Emergency
   Management Agency (FEMA) regulated floodplain. Figure 10 shows the 100-year (1% annual
   chance) and 500-year (0.2% annual chance) floodplain boundaries developed based on the
   FEMA flood insurance study for Mobile County.28 Importantly, the flood boundaries presented
   in the FEMA flood map do not account for the area east of the culvert. According to the flood
   insurance study, the flood elevations for Montlimar Creek at Airport Boulevard were determined
   to be approximately 37 and 38 feet (11.3 and 11.6 meters) for the 100-year and 500-year floods,
   but the floodplain boundaries do not include the area to the east of the culvert which sits at a
   lower elevation. Further investigation into flood elevations and extents using hydrologic analysis
   methods is discussed in subsequent sections.




   28
        FEMA, 2010d




   U.S. Department of Transportation                      40                                    FHWA002691
                                                                                                 August 2014
Case 5:23-cv-00304-H                    Document 15-18                 Filed 01/31/24   Page 409 of 534        PageID 2969
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                         Figure 8: Topographic Maps from 1940 (Top) and 1994 (Bottom) Illustrating the
                     Significant Changes to Local Hydrology with the Construction of I-65 and Urbanization29




   29
        Source of basemaps: USGS, 2012 (as modified). Note: Maps not to scale.




   U.S. Department of Transportation                                        41                            FHWA002692
                                                                                                           August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 410 of 534       PageID 2970
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies




                             Figure 9: Drainage Area to the Airport Boulevard Culvert
                           Showing LIDAR Contours and Time of Concentration (Tc) Path




   U.S. Department of Transportation                     42                                    FHWA002693
                                                                                                August 2014
Case 5:23-cv-00304-H                  Document 15-18           Filed 01/31/24         Page 411 of 534      PageID 2971
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                            Case Studies

                                     Figure 10: FEMA 100-Year (1% Annual Chance) and 500-Year
                                (0.2% Annual Chance) Floodplains near the Airport Boulevard Culvert 30




   Step 2 – Describe the Existing Facility
   The Airport Boulevard culvert is owned and maintained by the City of Mobile. According to
   2009 field inspection data provided by the City,31 it was built in 1960. The longitudinal length of
   the culvert was originally approximately 70 feet (21.3 meters). A subsequent widening of Airport
   Boulevard lengthened the culvert by 65 feet (19.8 meters) north and 65 feet (19.8 meters) south
   to today’s total length of 200 feet (61 meters). Figure 11 shows a plan view of the culvert
   crossing. Figure 12 and Figure 13 are photos of the culvert taken in June 2013. The culvert was
   designed for a 25-yr. storm with the maximum allowable headwater 2 feet (0.61 meters).

   Figure 14 provides a diagram of the facility showing its current dimensions.



   30
        FEMA, 2010a
   31
        City of Mobile, 2009




   U.S. Department of Transportation                               43                                    FHWA002694
                                                                                                          August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                Page 412 of 534                   PageID 2972
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   The structure is a four cell concrete box culvert with each cell having a 12 foot (3.7 meter) span
   (width) by eight foot (2.4 meter) rise (height). The fill depth to the roadway was measured to be
   two feet two inches (0.7 meters). The slope of the culvert from its inlet to its outlet was not
   available from project data but was measured to be approximately 1% based on LIDAR
   contours. Based on the 2009 field inspection (performed at some time subsequent to the
   lengthening), the culvert was in generally sound condition. It was determined at the time that
   there were no deficiencies that would affect the load bearing capacity of the culvert, but there
   was some spalling32 of the concrete and exposed rebar in multiple locations at the top face.

                   Figure 11: Plan View of the Airport Boulevard Culvert Crossing Showing LIDAR Contours




   32
      Spalling refers to a deterioration condition of older concrete where fragments of the concrete material face have broken off. Spalling is usually
   caused by corrosion of the steel reinforcement bars embedded in the concrete.




   U.S. Department of Transportation                                           44                                                    FHWA002695
                                                                                                                                      August 2014
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24        Page 413 of 534            PageID 2973
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

               Figure 12: Photo of the Airport Boulevard Culvert over Montlimar Creek, Upstream Side




             Figure 13: Photo of the Airport Boulevard Culvert over Montlimar Creek, Downstream Side




   U.S. Department of Transportation                      45                                      FHWA002696
                                                                                                   August 2014
Case 5:23-cv-00304-H                 Document 15-18                  Filed 01/31/24                Page 414 of 534                PageID 2974
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

                             Figure 14: Plan for the Airport Boulevard Culvert over Montlimar Creek




   Step 3 – Identify Climate Stressors That May Impact Infrastructure Components
   In this culvert study, precipitation (and the resulting flow) is the primary environmental factor
   affecting the design that is expected to be affected by climate change. Accordingly, precipitation
   is the environmental factor selected for this analysis.

   Step 4 – Decide on Climate Scenarios and Determine the Magnitude of Changes
   Four precipitation scenarios were considered for this adaptation assessment based on current
   climate and projected climate changes:

    Observed precipitation values (1980-2009).
    The NOAA Atlas 14 90% Upper Confidence Limit.
    The “Wetter” narrative precipitation ranges developed under this project using downscaled
     climate data for Mobile County and a range of climate scenarios.33
    The “Drier” narrative precipitation ranges developed under this project using downscaled
     climate data for Mobile County and a range of climate scenarios.

   33
      For more information on the climate information referenced here, please refer to Climate Variability in Change in Mobile, AL (USDOT, 2012)
   and Screening for Vulnerability (USDOT, 2014).




   U.S. Department of Transportation                                       46                                                  FHWA002697
                                                                                                                                August 2014
Case 5:23-cv-00304-H                    Document 15-18                     Filed 01/31/24                 Page 415 of 534                    PageID 2975
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

   All four scenarios considered 24-hour precipitation depths as this is the shortest storm duration
   reported from the available climate models for future conditions. Return periods34 analyzed
   include the two-, five-, 10-, 25-, 50-, and 100-year storm. The range of 24-hour precipitation
   values for each scenario and return period is shown in Table 5, along with the NOAA Atlas 14
   Average Baseline value for comparison. Table 6 shows how the projected precipitation values
   would translate to present date return periods.

   A standard culvert design project would typically rely upon the average precipitation data as
   presented by the NOAA Atlas 14 Average Baseline. However, to provide consistency in this study
   with the work performed under prior project tasks and the modeled climate projections, the Atlas
   14 data was not utilized as the current baseline condition. Instead, the Observed precipitation
   values represent the model baseline precipitation values as documented in the Climate Variability
   in Change in Mobile, AL report.35 The observed data comprise the average modeled values across
   the five weather stations in the Mobile area. The project team considered using the observed data
   for the station closest to the project site (the Mobile station) but found that the average across all
   five stations more closely matched the NOAA Atlas 14 estimates for the site location. The use of
   the five station aggregate also provides the advantage of having a larger sample data set to draw
   from over the course of the observation time period (1980-2009): 145 peak yearly precipitation
   values, versus 29 peak yearly precipitation values (one for each year) for a single site. The
   compilation of a larger data set allows for improved accuracy in the prediction of return period
   storm events, particularly for rarer, more severe storm events.

   The NOAA Atlas 14 90% Upper Confidence Limit scenario was chosen to provide a contrasting
   increased precipitation intensity scenario that relies on the use of historical observations. This
   scenario is not derived from climate models and does not represent theoretical or projected
   climate conditions. Instead, it represents the upper range of precipitation depths based on
   statistical analysis of historical observations. NOAA included these confidence intervals in its
   Atlas 14 to acknowledge the fact that there is uncertainty even in precipitation depth estimates
   derived from historical data. Typical engineering practice makes use of the average estimate
   values from NOAA Atlas 14 and does not consider the upper bound of the 90% confidence
   interval, which provides a greater precipitation depth than the point estimate for the average. Use
   of the upper bound estimate from NOAA Atlas 14 is a potential alternative proxy approach,
   consistent with engineers’ traditional use of historic data (as compared to use of climate model
   projections), for considering changes in precipitation intensity and frequency under various
   future climate scenarios. Note that in this scenario, the probabilities of each return-period event
   are necessarily assumed to remain constant throughout the 21st century, something climate
   modeling may show is not necessarily the case in many areas.


   34
      A return period, or recurrence interval, is defined as the inverse of the probability of occurrence for a flood event in a given year; i.e., a 100-
   year storm would be a storm that has a 1% chance of occurring during any given year.
   35
      USDOT, 2012




   U.S. Department of Transportation                                             47                                                      FHWA002698
                                                                                                                                          August 2014
                                                    Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                                 Case Studies

                                      Table 5: 24-Hour Precipitation Depths Used in the Airport Boulevard Culvert Hydrologic Analysis

  24-hour              Observed                                                                              “Wetter” Narrative                                      “Drier” Narrative
                                              NOAA Average               NOAA 90%
Storm Event         (Model Baseline)
                                                 Baseline                Upper Conf.           2010–2039          2040–2069         2070–2099         2010–2039          2040–2069         2070–2099
   Return             1980–2009
                                                (inches)37                 Limit38              (inches)           (inches)          (inches)          (inches)           (inches)          (inches)
   Period              (inches)36
100-yr storm                13.5                     14.9                     18.9                  21.0              20.4              22.3               12.6              14.2              13.4
                                                                                                                                                                                                       Case 5:23-cv-00304-H




 50-yr storm                12.5                     12.8                     15.9                  19.1              18.5              20.2               11.7              13.1              12.5
 25-yr storm               10.1*                     10.9                     13.4                 15.7*             15.2*              16.7*              9.3*             10.4*              9.9*
 20-yr storm                9.5                 Unavailable              Unavailable                14.8              14.4              15.8               8.8                9.9               9.4
 10-yr storm                8.5                       8.6                     10.1                  12.9              12.5              13.7               7.9                8.8               8.4
  5-yr storm                7.1                       7.1                      8.3                  10.5              10.3              11.1               6.6                7.3               7.0
  2-yr storm                4.8                       5.3                      6.2                   6.7               6.7               7.1               4.4                4.8               4.6
                                                                                                                                                                                                       Document 15-18




* Asterisks denote interpolated values39
                                                                                                                                                                                                       Filed 01/31/24
                                                                                                                                                                                                       Page 416 of 534




36
   These values represent the baseline precipitation values from the climate models averaged across the five weather stations in the Mobile area. The source data is from Table 40 in USDOT, 2012.
37
   Based on NOAA Atlas 14 annual maximum time series (NOAA, 2013a)
38
   Based on NOAA Atlas 14 annual maximum time series (NOAA, 2013a)
39
   The 25-year storm is the design storm for the culvert facility but these values were not generated for the Climate Variability in Change in Mobile, AL report (USDOT, 2012) or the Screening for
Vulnerability report (USDOT, 2014). As a workaround, the 25-year storm values were linearly interpolated from the 20-year and 50-year storm information available from these reports.
                                                                                                                                                                                                       PageID 2976




                            U.S. Department of Transportation                                         48                                                     August 2014               FHWA002699
                                                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                                   Case Studies

                                           Table 6: Equivalent Present Day Return Periods for Projected Future Precipitation Values 40.


             Existing NOAA 24-                                        Wetter Narrative                                                                     Drier Narrative
             hour Storm Event
               Return Period               2010–2039 (year             2040–2069 (year             2070–2099 (year             2010–2039 (year            2040–2069 (year             2070–2099 (year
                                               storm)                      storm)                      storm)                      storm)                     storm)                      storm)
                                                                                                                                                                                                            Case 5:23-cv-00304-H




             100-yr storm                          325                         292                           408                        47                          74                         59

             50-yr storm                           227                         201                           281                        36                          55                         46

             25-yr storm                           108                          96                           137                        15                          23                         19

             20-yr storm                            87                          78                           111                        12                          19                         16
                                                                                                                                                                                                            Document 15-18




             10-yr storm                            52                          46                           65                          8                          12                         10

             5-yr storm                             24                          22                           29                          4                           6                          5

             2-yr storm                              4                           4                           5                           1                           1                          1
                                                                                                                                                                                                            Filed 01/31/24
                                                                                                                                                                                                            Page 417 of 534




40
   Return periods for predicted future precipitation events are based upon current NOAA Atlas 14 return periods and precipitation totals versus the projected future precipitation totals as presented in
Table 1.
                                                                                                                                                                                                            PageID 2977




                            U.S. Department of Transportation                                           49                                                       August 2014               FHWA002700
Case 5:23-cv-00304-H                 Document 15-18           Filed 01/31/24        Page 418 of 534       PageID 2978
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

   The “Wetter” narrative uses the outputs of the climate models employed in earlier stages of the Gulf
   Coast Project to estimate how precipitation patterns might shift with future climate change. In
   keeping with the definition of this scenario developed in the Screening for Vulnerability report, the
   “Wetter” narrative represents the 95th percentile (mean+1.6 SD41) precipitation depths of all the
   climate model outputs under the range of climate scenarios considered. In other words, 95% of the
   model outputs across all the emission scenarios and climate models were less than the amounts
   shown for this scenario; thus, this narrative can be viewed as approaching a reasonable upper
   boundary for future climate changes. This narrative includes shifting probabilities of projections for
   three future time periods (2010-2039, 2040-2069, and 2070-2099), indicating the dynamic evolution
   of climate changes over this century. The values shown in Table 5 were derived by applying the
   projected changes for the Mobile station, the one nearest the study site, to the observed baseline
   scenario (described above) for each future time period. Note that the 25-year return period storm was
   not available directly from the model outputs provided. Instead, the 25-year storm was estimated by
   linearly interpolating between the model outputs provided for the 20-year and 50-year storms. Note
   from Table 5 that across all storm events and future time horizons, the projected precipitation
   amounts exceed the upper 90% confidence interval for the NOAA Atlas 14 data, thus
   demonstrating significance beyond the current uncertainty in the historical climate record.

   The “Drier” narrative is calculated similarly to the “Wetter” narrative except that it represents the
   5th percentile (mean-1.6 SD) of precipitation depths. The “Drier” narrative was not considered
   for testing in the hydraulic analysis of the culvert because precipitation values under this scenario
   are generally lower or nearly equal to historical values. Lower precipitation values mean lower
   peak flow rates at the facility; therefore, adaptation measures would not be needed to handle
   additional flows. The “Drier” narrative will, however, be a consideration in the economic
   analysis when developing recommendations for adapting this facility, as this scenario has the
   same likelihood of occurring as the “Wetter” narrative and this needs to be factored into
   decision-making.

   Step 5 –Assess Performance of the Existing Facility
   Assessing the performance of a culvert first requires detailed hydrologic and hydraulic modeling
   of the watershed in the vicinity of the facility to understand expected peak flows. These peak
   flows can then be used to evaluate the culvert’s performance relative to its design standards.

   Hydrologic Modeling

   Peak flows through the culvert were modeled for various storm events and climate scenarios
   using the U.S. Department of Agriculture (USDA)-Natural Resources Conservation Service
   (NRCS) WinTR-20 program.42 The WinTR-20 program utilizes NRCS hydrologic analysis


   41
        Standard deviations
   42
        USDA-NRCS, 2009




   U.S. Department of Transportation                              50                                    FHWA002701
                                                                                                         August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                Page 419 of 534                   PageID 2979
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   methodology to calculate runoff using the following inputs: drainage area, land use, soils, time of
   concentration,43 and precipitation.

   As previously discussed, the climate inputs for precipitation are limited to a minimum duration
   of 24-hours, due to limited output options from the available climate models. In consideration of
   this limitation, the selection of which culvert to study in this project focused on watersheds with
   a size and time of concentration that fell within a reasonable range of applicability for a 24-hour
   storm and the TR-20 model. The TR-20 development manual suggests an upper watershed limit
   of 25 square miles (64.7 square kilometers).44 As for the lower limit, research results produced
   by Fennessey, Miller, and Hamlett (2001) suggest that the TR-20 computer model reasonably
   predicts discharges for urban watersheds down to a 1.2 acre (0.5 hectare) size (20 acre [8.1
   hectare] minimum for wooded watersheds).45 The model documentation for TR-20, does
   document that the main time increment of the models should be less than 30% of the watershed
   time of concentration. Since the TR-20 model has a computational limitation of six minutes in
   the main time increment, this results in a practical lower limit of 18 minutes for the time of
   concentration. To assess the time of concentration to the Airport Boulevard Culvert, a time of
   concentration path was developed (see Figure 9). The time of concentration along this path was
   calculated to be 1.5 hours.46 Thus, the Montlimar Creek watershed at Airport Boulevard, with a
   drainage area of 2,137.6 acres / 3.3 square miles (865.1 hectares / 8.7 square kilometers) and a
   time of concentration calculated to be 1.5 hours, falls within the criterion for use of the TR-20
   model with a 24-hour storm duration.

   For watershed sizes smaller than the 1.2 acres (0.5 hectares) suggested by Miller and Fennessey’s
   work, additional research will be necessary into precipitation intensity-duration-frequency (IDF)
   curves for sub-one hour durations with climate change. The climate change IDF curves will allow
   for the use of common small catchment hydrologic methods, including the Rational Method, to be
   utilized in these types of analysis.

   Analysis of both existing and future land use conditions was necessary to evaluate current flows and
   predicted future flows at the Airport Boulevard culvert. Derivation of both existing and future land
   use began with consideration of the City’s GIS-based zoning map. Existing land use conditions were
   developed from the zoning map and aerial photos.47 Large, easily identifiable areas such as
   woodlands, golf courses, and lower density residential neighborhoods were located on the aerial
   photos and compared to the zoned land use. If the actual land use shown on the aerials differed from
   the zoning, corresponding edits were made to the zoning layer to create a map approximating

   43
      Time of concentration is the time needed for water to flow from the most hydrologically remote point of the drainage area to the discharge
   point of the drainage area.
   44
      USDA-SCS, 1992
   45
      The study utilized the 24-hour precipitation curves from NOAA’s Technical Paper 40.
   46
      The time of concentration was calculated using the segmental method.
   47
      Detailed current land use data was not made available at the time of initial analysis. This data was received at a later date and a comparison was
   made between the approach used here and this more detailed data. The comparison showed a less than 5% change in discharges with use of the
   more detailed data so it was decided to continue using the outputs from the initial approach.




   U.S. Department of Transportation                                          51                                                     FHWA002702
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 420 of 534                 PageID 2980
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

   existing land uses (see Figure 15). Future land use conditions for the drainage area were identified
   from build-out of the zoning layer (see Figure 16). If the tributary area is governed by stormwater
   management regulations that restrict flow to existing runoff conditions, the full-build-out runoff
   conditions may not apply, depending upon the effectiveness of the runoff control measures.

   Approximately 70% of the drainage area consists of residential neighborhoods, 16% open
   pervious spaces (mostly comprised of golf courses), 2% woods, and 12% commercial and
   institutional land uses. In the future, based on build-out of the City's zoning, all of the open
   pervious spaces are changed to residential uses and there are no wooded areas. Thus, the future
   land use composition is slated to be 88% residential and 12% commercial and institutional.

   The TR-20 model as developed by the NRCS, utilizes curve numbers48 to represent the
   hydrologic properties of the watershed. Curve numbers themselves are determined based on the
   above discussed land uses along with the hydrologic soil group49 types for the different soil types
   in the watershed. The hydrologic soils group data was obtained from the USDA-NRCS 2010 Soil
   Survey Geographic Database for Mobile, AL.50 As a cautionary note, the analyst and designer
   must coordinate the datum planes used by the various sources of information to be certain that all
   elevations are referred to the same bench mark elevation.




   48
      Curve numbers are a numeric approximation of a soil and land use combination’s ability to produce overland runoff. The numbers range from a
   high end of 100, where all precipitation will be transferred to overland runoff, to a low end of near zero, which represents a condition where no
   overland runoff will be created.
   49
      Hydrologic soil groups refer to the sorting of commonly occurring soil types into groups of A, B, C, or D dependent on the soil’s infiltration
   and overland runoff performance.
   50
      USDA-NRCS, 2010




   U.S. Department of Transportation                                        52                                                   FHWA002703
                                                                                                                                  August 2014
Case 5:23-cv-00304-H                    Document 15-18       Filed 01/31/24         Page 421 of 534          PageID 2981
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                  Figure 15: Existing Land Use Conditions within the Airport Boulevard Culvert Drainage Area 51




                   Figure 16: Future Land Use Conditions within the Airport Boulevard Culvert Drainage Area52




   51
        Source of zoning data: City of Mobile GIS
   52
        Source of zoning data: City of Mobile GIS




   U.S. Department of Transportation                             53                                       FHWA002704
                                                                                                           August 2014
Case 5:23-cv-00304-H            Document 15-18           Filed 01/31/24        Page 422 of 534       PageID 2982
                         Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                      Case Studies

   The hydrologic analysis also considered a range of temporal rainfall distributions for the
   evaluation of flows at the culvert to determine the appropriate values. Among the rainfall
   distributions considered were Soil Conservation Service (SCS) Type II and Type III rainfall type
   curves53 as well as 24-hr temporal distributions developed by NOAA based on empirical rainfall
   data collected for the Southeastern Region of the United States. NOAA has developed detailed
   temporal distributions based on actual gauge data for a range of storm types depending on
   cumulative percentages of precipitation at various time steps. It was determined that the recently
   developed (as of June 2013) NOAA distributions for the Southeast region would be the most
   accurate representation of the storm distributions in the Mobile area.

   The NOAA temporal distributions used in this study were for the 24-hour duration storm.
   Separate temporal distributions were developed by NOAA for four precipitation cases defined by
   the time during the storm (first, second, third, and fourth quarters) in which the greatest
   percentage of the total precipitation occurred. For example, for 24-hour duration storms, the first
   quartile case refers to storm events where the largest amount of rain fell within the first six hours of
   the duration, the second quartile in the second six hours, and so on. Figure 17 shows graphical
   plots of the NOAA temporal distributions that were considered: the 10th to 90th percentile of first-,
   second-, third-, and fourth-quartile cases, as well as the overall case. For this analysis, the NOAA
   rainfall distribution that produced the greatest peak discharge (the 90th percentile of the fourth-
   quartile case) at the model output was chosen. This distribution was chosen because it validated
   well against regional regressions curves (discussed below), whereas more moderate distributions
   did not validate well. This distribution was also used for the future scenarios because it is the most
   extreme distribution that current climate shows is possible in the region.

   Peak flows through the Airport Boulevard culvert were determined for the two-, five-, 10-, 20-,
   25-, 50-, and 100-yr storm events under various climate scenarios. The Observed precipitation
   depths were run utilizing both existing and future land use conditions, while the NOAA 90%
   Upper Confidence Limit, “Wetter” narrative, and “Drier” narrative scenarios utilized future land
   use conditions.
   A comparison was performed between the existing condition TR-20 model discharges and the
   regional regression estimates for urban streams in Alabama,54 an alternative approach to
   estimating flows developed by USGS, to validate the model conditions. These regional
   regression curves are applicable to urban areas statewide with drainage areas between one and 43
   square miles. An exception includes regions with impervious chalk and marl which does not
   pertain to the Mobile area. The use of these equations is therefore recommended for the Mobile
   area.



   53
        USDA-SCS, 1986
   54
        USGS, 2007




   U.S. Department of Transportation                         54                                    FHWA002705
                                                                                                    August 2014
Case 5:23-cv-00304-H               Document 15-18           Filed 01/31/24         Page 423 of 534            PageID 2983
                          Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                       Case Studies

                      Figure 17: NOAA Atlas 14 Temporal Rainfall Distributions for the Southeast Region55




   55
        NOAA, 2013b




   U.S. Department of Transportation                            55                                          FHWA002706
                                                                                                             August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 424 of 534                  PageID 2984
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   The two-year discharge fell within the regression estimate and the lower standard error of
   prediction, while the higher storm event discharges fell within the regression estimate and the
   upper standard error of prediction. The regression equations were utilized as a basis for
   calibration / validation of the TR-20 model. Since the regression equations are empirically
   derived and regionally specific, they provide a reasonable basis for calibration of the theoretical
   model. In the theoretical model, the resultant discharges can be highly influenced by
   development factors such as channel ‘n’ values,56 sheet flow lengths, and precipitation temporal
   distributions that can be somewhat arbitrarily chosen. For a basis of comparison, the first cut
   uncalibrated existing condition TR-20 model produced a 100-year storm in excess of 10,000
   cubic feet per second (283.2 cubic meters per second), while once calibrated against the regional
   regression, this value dropped to 4,300 cubic feet per second (121.8 cubic meters per second).
   Table 7 shows the existing condition TR-20 model peak discharges compared to the USGS
   regional regression peak discharge estimates and the discharges with lower and upper standard
   error. This table also shows a comparison to the peak discharges presented in the FEMA flood
   insurance study for Mobile County57 for a location on Montlimar Creek just downstream of
   Airport Boulevard. The FEMA discharges were calculated based on regression equations
   presented in USGS (1985) and USGS (1974). These discharges are provided for a point of
   comparison and were not used for calibration because the methods predate the USGS regression
   equations (2003) described above. Table 8 shows the final model outputs comparing current peak
   flows to projected future peak flows.




   56
      Manning's ‘n’ value is a frictional resistance factor that approximates the effects of various channel and floodplain conditions on the
   conveyance rate of flows. An increase in this n value will cause a decrease in the velocity of water flowing across a surface.
   57
      FEMA, 2010d




   U.S. Department of Transportation                                           56                                                    FHWA002707
                                                                                                                                      August 2014
                                          Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                       Case Studies

                                                          Table 7: TR-20 Peak Flows Compared to
                                          Regional Regression Peak Flow Estimates at the Airport Boulevard Culvert

  24-hour Storm            TR-20 Observed           FEMA Flood Insurance                                  Regional Regression          Regional Regression
                                                     Study Estimate (cfs)      Regional Regression
      Event             1980–2009 w/ Current                                                               Estimate at Lower            Estimate at Upper
                                                                                  Estimate (cfs)
  Return Period                LU (cfs)                      2010                                         Standard Error (cfs)         Standard Error (cfs)

   100-yr storm                 4,361.8                      3,260                   3,601.7                    2,521.2                      4,682.2
                                                                                                                                                              Case 5:23-cv-00304-H




    50-yr storm                 3,975.0                      2,900                   3,204.7                    2,371.5                      4,037.9
    25-yr storm                3,045.1*                   Unavailable                2,816.7                    2,140.7                      3,492.8
    20-yr storm                 2,813.4                   Unavailable              Unavailable                Unavailable                  Unavailable
    10-yr storm                 2,424.8                      2,090                   2,298.6                    1,815.9                      2,781.3
     5-yr storm                 1,889.0                   Unavailable                1,857.2                    1,467.2                      2,247.2
                                                                                                                                                              Document 15-18




     2-yr storm                 1,030.8                   Unavailable                1,222.3                         904.5                   1,540.2
* Asterisks denote flows derived from interpolated precipitation values
                                                                                                                                                              Filed 01/31/24
                                                                                                                                                              Page 425 of 534
                                                                                                                                                              PageID 2985




                      U.S. Department of Transportation                       57                                             August 2014      FHWA002708
                                         Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                      Case Studies

                                              Table 8: TR-20 Projected Peak Flows at the Airport Boulevard Culvert

                   Observed        Observed                                  “Wetter” Narrative w/ Future LU             “Drier” Narrative w/ Future LU
24-hour Storm                                     NOAA 90% Upper
                  1980–2009       1980–2009
    Event                                          Conf. Limit w/      2010–2039          2040–2069   2070–2099      2010–2039       2040–2069    2070–2099
                  w/ Current       w/ Future
Return Period                                      Future LU (cfs)          (cfs)           (cfs)        (cfs)         (cfs)            (cfs)        (cfs)
                    LU (cfs)        LU (cfs)
 100-yr storm        4,361.8        4,484.6            6,553.8            7,347.1          7,122.3     7,844.8        4,137.9          4,754.8      4,445.1
                                                                                                                                                              Case 5:23-cv-00304-H




 50-yr storm         3,975.0        4,097.9            5,404.3            6,626.9          6,396.8     7,047.2        3,789.3          4,330.8      4,097.9
 25-yr storm        3,045.1*       3,170.4*            4,445.1            5,328.1*        5,138.7*    5,712.9*       2,899.1*         3,325.2*     3,131.6*
 20-yr storm         2,813.4        2,938.1          Unavailable          4,984.9          4,831.7     5,369.3        2,664.8          3,092.6      2,899.1
 10-yr storm         2,424.8        2,549.4            3,170.4            4,253.3          4,097.9     4,560.1        2,316.6          2,664.8      2,510.5
  5-yr storm         1,889.0        2,008.1            2,467.1            3,325.2          3,247.6     3,557.5        1,817.4          2,086.9      1,968.4
  2-yr storm         1,030.8        1,134.6            1,665.5            1,855.0          1,855.0     2,008.1         987.7           1,134.6      1,061.0
                                                                                                                                                              Document 15-18




* Asterisks denote flows derived from interpolated precipitation values
                                                                                                                                                              Filed 01/31/24
                                                                                                                                                              Page 426 of 534
                                                                                                                                                              PageID 2986




                      U.S. Department of Transportation                              58                                        August 2014       FHWA002709
Case 5:23-cv-00304-H                     Document 15-18                   Filed 01/31/24                Page 427 of 534                   PageID 2987
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

   Hydraulic Modeling and Performance of the Existing Culvert

   Hydraulic culvert analyses were conducted to evaluate the performance of the Airport Boulevard
   culvert under current and future peak flows. The Federal Highway Administration’s (FHWA)
   HY-8 Version 7.2 program was used for these purposes.58 The culvert computations considered
   the discharge; culvert size, slope, and material; roadway data; and channel characteristics. The
   roadway profile data was obtained from a 1961 design plan for the resurfacing of Airport
   Boulevard.

   One uncertainty of the hydraulic model was that the slope of the culvert was not available: as a
   workaround, it was estimated to be approximately 1% based on two foot (0.6 meter) LIDAR
   contours. To be specific, the contour elevation was 26 feet (7.3 meters) at the upstream end of
   the culvert and 24 feet (6.7 meters) at the downstream end (see Figure 11): based on the vertical
   difference of two feet (0.6 meters) and the culvert length of 200 feet (61.0 meters), the slope was
   determined to be 1%. Barrel slope is critical to the hydraulic analysis of a culvert so, to ensure
   the 1% estimate was reasonable, a sensitivity analysis was performed by running the HY-8
   program using 0.5% and 1.5% culvert slopes as well. This was achieved by holding the inlet
   elevation constant while raising and lowering the outlet elevation by one foot (0.3 meters) in the
   model. Results showed that the headwater elevations59 were the same for all three slopes for
   discharges less than or equal to 8,000 cubic feet per second (226.5 cubic meters per second).
   Headwater elevations only began diverging for discharges beyond this value, which is higher
   than the discharge calculated for the 100-year “Wetter” narrative end-of-century storm event.
   Although a reasonable estimate of the culvert slope was used in this analysis, an actual project
   would require field surveys of the site to gather more accurate information.

   Another uncertainty was the exact height of the roadway above the invert (bottom) of the culvert.
   The 1961 design plan provided the roadway elevation but not the culvert invert elevation.
   However, a close approximation of 26 feet (7.9 meters) for the invert elevation was obtained
   based on LIDAR contours, culvert size, slab thickness, and fill depth. The peak flows developed
   through the hydrologic analysis were analyzed with the culvert model to determine the
   headwater elevation at the culvert for various climate scenarios.

   The tailwater conditions at the culvert location are also a potential point of uncertainty in the
   analysis. As discussed, the modeling procedure used HY-8 with tailwater values based upon
   normal depth and channel slope. The potential exists for downstream structures to influence this
   backwater elevation or for other floodplain limiting factors to control the tailwater elevation. The
   detailed evaluation of any structure for replacement should include a hydraulic study that fully
   considers downstream and upstream channel hydraulic characteristics and the impacts of other


   58
        FHWA, 2012b
   59
        Headwater elevation is the level of water immediately upstream of the inlet (upstream end) of a culvert or any other conduit.




   U.S. Department of Transportation                                            59                                                      FHWA002710
                                                                                                                                         August 2014
Case 5:23-cv-00304-H                   Document 15-18                   Filed 01/31/24                Page 428 of 534                  PageID 2988
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   factors into the hydraulics of a particular site, however, this level of detail was outside of the
   scope of this current study.

   Culvert performance was assessed according to Alabama Department of Transportation
   (ALDOT) standards, which have been adopted by the City of Mobile. Per the 2008 ALDOT
   Bridge Bureau Structures Design and Detail Manual,60 the 25-year flood is to be used for design
   of waterway crossings on secondary routes such as Airport Boulevard. A minimum of two feet
   (0.6 meters) of freeboard61 is required above the design flood stage (relative to the edge of
   pavement) to keep the water surface an adequate depth below the pavement base. As such, the
   25-year storm peak flows for various climate scenarios were analyzed through the hydraulic
   model and adaptation options were developed based on a two foot (0.6 meter) freeboard
   requirement.

   The 25-year storm peak flows for the Observed precipitation depths, the NOAA 90% Upper
   Confidence Limit, and “Wetter” narrative (end-of-century, 2070-2099 time period) scenarios
   were analyzed with the culvert model. The results, shown in Table 9, indicate that under existing
   precipitation and land use conditions, the current culvert meets ALDOT standards. The culvert
   also performs to standard with Observed precipitation amounts and future land use. However, the
   standard is not met for the other two scenarios tested. In the NOAA 90% Upper Confidence
   Limit scenario, the 25-yr flood stage overtops the low point of the roadway by 0.4 feet (0.1
   meters) and in the “Wetter” narrative (end-of-century, 2070-2099 time period) the 25-yr flood
   stage overtops the low point of the roadway by one foot (0.3 meters). Figure 18 illustrates this
   information graphically.

            Table 9: Airport Boulevard Culvert Modeled Performance under Various Climate Change Scenarios

                                                                                                                                   “Wetter”
                                                                                                        NOAA 90%
                                                       Observed              Observed 1980-                                        Narrative
                                                                                                           Upper
                                                     1980-2009 w/            2009 w/ Future                                      End-of-century
                                                                                                      Confidence Limit
                                                      Current LU                   LU                                           (2070–2099) w/
                                                                                                       w/ Future LU
                                                                                                                                   Future LU
   Roadway Low Point Elevation (ft.) 62                    36.0                      36.0                     36.0                      36.0
   25-yr Flood Stage (ft.)                                 33.8                      34.0                     36.4                      37.0




   60
      ALDOT, 2008
   61
      Freeboard is the excess height between a specific design water surface elevation and a given point of reference (e.g., roadway shoulder, low
   chord of a bridge, or crown of a culvert).
   62
      The low point is located immediately to the east of the culvert location.




   U.S. Department of Transportation                                         60                                                    FHWA002711
                                                                                                                                    August 2014
Case 5:23-cv-00304-H                                       Document 15-18      Filed 01/31/24              Page 429 of 534     PageID 2989
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                            Case Studies

                                                Figure 18: Existing Airport Boulevard Culvert Stage63-Discharge Curve

                                                      45

                                                      43

                                                      41

                                                      39
                                Headwater Elevation

                                                      37
                                                                                         Roadway low point el.=

                                                      35                                 2-ft. freeboard

                                                      33                     7845 cfs - 100-yr Wetter
                                                      31
                                                                             5713 cfs - 25-yr Wetter
                                                      29
                                                                             4445 cfs - 25-yr NOAA
                                                      27
                                                                             3045 cfs - 25-yr Observed
                                                      25
                                                           0     5000     10000         15000        20000        25000
                                                                            Flow Rate (cfs)



   Flooding impacts on surrounding areas were evaluated based on the performance of the existing
   four cell box culvert. The degree of flooding was analyzed for the 100-year storm event under
   three scenarios: Observed conditions, the NOAA 90% Upper Confidence Limit, and “Wetter”
   narrative (end-of-century, 2070-2099 time period) scenarios. Figure 19, Figure 20, and Figure 21
   show the potential inundation areas for each of the three scenarios. The areas shown are
   projected to be subject to inundation due to flood water overtopping the stream channel banks
   and the Airport Boulevard culvert. The lateral extent of the inundation areas are approximated
   based on the headwater elevation, noted in the figure footnotes, produced by the hydraulic model
   for each of the three scenarios. The area shaded in blue denotes the predicted floodplain limits
   adjacent to the flooding source. The potential floodplain is truncated at the limits of the active
   conveyance zone east of the culvert. The limits of the active conveyance zone as noted on the
   figures were delineated based upon a local ridgeline that is overtopped by the storm events. This
   limit is approximate and would require detailed 2-dimensional modeling to define in greater
   detail. The area beyond the limits of the active conveyance zone, shown by the hatching,
   represents the theoretical maximum area that may be vulnerable to inundation based upon the
   computed floodwater elevation relative to the ground topography. While the topographic
   contours show a clear flow path from the conveyance zone to this low-lying area, the depth and
   lateral extent of flooding in this area will be limited based upon the available volume of flood
   water from Montlimar Creek. A detailed two-dimensional unsteady flow analysis, beyond the
   63
        Stage refers to water elevation.




   U.S. Department of Transportation                                               61                                        FHWA002712
                                                                                                                              August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 430 of 534                  PageID 2990
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   scope of this case study, would be required to determine the volume of flood water that would
   flow eastward, the likely flow paths of that water, and, given these considerations, how much of
   the land to the east would actually become inundated.

                           Figure 19: Potential 100-year Inundation Area with Observed Precipitation
                             Depths, Current Land Use, and the Existing Airport Boulevard Culvert 64




   64
      The headwater elevation of this scenario is 36.3 feet (11.1 meters). Note: Although the flood boundaries overlap nearby buildings on the map,
   the roofs are not overtopped by the 100-year flood event.




   U.S. Department of Transportation                                         62                                                   FHWA002713
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 431 of 534                  PageID 2991
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

                      Figure 20: Potential 100-year Inundation Area under NOAA 90% Upper Confidence
                         Limit Scenario with Future Land Use and Existing Airport Boulevard Culvert65




                  Figure 21: Potential 100-year Inundation Area under “Wetter” Narrative (End-of-Century,
                   2070–2099 Time Period) with Future Land Use and Existing Airport Boulevard Culvert66




   65
      The headwater elevation of this scenario is 37.3 feet (11.4 meters). Note: Although the flood boundaries overlap nearby buildings on the map,
   the roofs are not overtopped by the 100-year flood event.
   66
      The headwater elevation of this scenario is 37.6 feet (11.5 meters). Note: Although the flood boundaries overlap nearby buildings on the map,
   the roofs are not overtopped by the 100-year flood event.




   U.S. Department of Transportation                                         63                                                   FHWA002714
                                                                                                                                   August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 432 of 534       PageID 2992
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   Step 6 – Identify Adaptation Option(s)
   The alternatives for adaption to meet design standards include expanding the existing crossing or
   controlling the runoff that reaches the crossing. The alternatives considered and their pros and
   cons are presented in Table 10. Expanding the capacity of the existing crossing is the most direct
   solution; however, it could have a negative effect downstream by increasing the flow rate, stage
   (water elevation), and downstream erosion because the existing culvert acts to attenuate the flow.
   The latter approach, controlling the runoff that reaches the crossing, would mitigate these affects
   and not require modification of the crossing. This approach, although not considered here due to
   this study’s site-specific focus, is worthy of additional investigation. Such an approach would
   require a regional drainage plan with up-stream retention or detention facilities, potential
   condemnation of property, and possible zoning or development regulation changes.

   To demonstrate how an adaptation analysis could proceed, this analysis focuses on the approach
   of increasing the capacity of the culvert crossing. In actual practice, the effects downstream
   mentioned above would be assessed to determine the impacts and the costs associated with them
   that the project would have to bear. As mentioned previously, the drainage system (upstream and
   downstream of the culvert) and its effect on culvert operations should be considered in an actual
   case. For example, widening the stream at the culvert entrance could result in sediment deposits
   because of lower flow velocity. This effect can require that inspection and maintenance be
   increased because the sediment accumulation would reduce culvert capacity. The idea of a bridge
   replacing the culvert was briefly considered but ruled out because the low allowable headwater
   height would not allow an adequate structure depth without major roadway reconstruction to
   raise its elevation.




   U.S. Department of Transportation                     64                                    FHWA002715
                                                                                                August 2014
                                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                        Case Studies

                                       Table 10: Adaptation Design Options Considered for the Airport Boulevard Culvert

Possible Alternatives                    Description                                      Pros                                          Cons

                          x Perform drainage area analysis to                                                        x Large project undertaking compared to
                            determine best management                                                                  the culvert option
                            procedures                                 x Reduces runoff rate and volume to           x Possible zoning changes required that
                          x Consider restrictions or constraints for     existing values for selected design storm     would restrict development (potential
                                                                                                                                                               Case 5:23-cv-00304-H




Regional Drainage                                                        runoff at roadway crossing and farther        inverse condemnation)
                            future development
Area Management                                                          downstream
                          x Acquire RW for and construct one or                                                      x Acquisition of large amounts of
                            more detention / retention facilities to   x No traffic delay on Airport Boulevard         property required for facilities
                            attenuate runoff AND volume to                                                           x Large capital and maintenance costs
                            existing downstream capacity                                                             x Lengthy project development time
                                                                                                                     x Large project undertaking compared to
                                                                                                                       the culvert option
                                                                                                                                                               Document 15-18




                                                                       x Increases crossing capacity                 x Structure depth requires raising the
                                                                       x Increases hydraulic opening / decreases       roadway for a horizontal distance of
                          x Replace culvert with a single-span           flow obstructions.                            about 600 feet (182.9 meters) on each
Bridge                                                                                                                 side of the culvert
                            bridge                                     x Provides increased protection to
                                                                         surrounding properties for existing and     x Long period of traffic disruption
                                                                         future runoff amounts                       x Increases flow rate and volume
                                                                                                                       downstream
                                                                                                                                                               Filed 01/31/24




                                                                                                                     x Large capital and maintenance cost
                                                                                                                                                               Page 433 of 534
                                                                                                                                                               PageID 2993




                        U.S. Department of Transportation                       65                                           August 2014         FHWA002716
                                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                         Case Studies

Possible Alternatives                     Description                                       Pros                                          Cons
                                                                        x Increases crossing capacity
                                                                        x Headwater elevation meets criteria for
                                                                          the 25-year NOAA rainfall value
                                                                        x Provides increased protection to           x Disrupts traffic
                                                                          surrounding properties for existing and
                                                                                                                     x Increases flow rate and volume
                                                                                                                                                                  Case 5:23-cv-00304-H




                                                                          future runoff amounts
Culvert Modification      x Add one cell on each side of the existing                                                  downstream
(Option One)                crossing                                    x Keeps within the existing easement and
                                                                                                                     x Increased potential for sediment
                                                                          right-of-way
                                                                                                                       aggradation / increased maintenance
                                                                        x Uses the existing facility (sustainable)     needs.
                                                                        x Smallest footprint
                                                                        x Lowest capital cost alternative
                                                                        x Shortest project development time
                                                                                                                                                                  Document 15-18




                                                                        x Increases crossing capacity                x Longer period of traffic disruption than
                                                                                                                       Option One
                                                                        x Keeps the 100-year “Wetter” narrative
                                                                          precipitation runoff at the edge of        x Increases flow rate and volume
                          x Replace the existing crossing with                                                         downstream more than Option One
Culvert Modification                                                      pavement—not overtopping the
                            largest crossing that will fit within the
(Option Two)                                                              roadway                                    x Higher capital cost than Option One
                            space available
                                                                                                                                                                  Filed 01/31/24




                                                                        x Provides increased protection benefit to   x Increased potential for sediment
                                                                          surrounding properties for existing and      aggradation / increased maintenance
                                                                          future runoff amounts over Option One        needs
                                                                                                                                                                  Page 434 of 534
                                                                                                                                                                  PageID 2994




                        U.S. Department of Transportation                         66                                         August 2014         FHWA002717
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 435 of 534       PageID 2995
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   Other factors that may complicate the development of adaptation options are any pipes that are
   located near the culvert or discharge into it. At this study site, a 48 inch (121.9 centimeter)
   bituminous coated concrete drainage pipe and a 15 inch (38.1 centimeter) reinforced concrete
   drainage pipe discharge into the westernmost barrel of the culvert. A pressured water line may
   also be crossing the culvert. Although it was not evaluated in this study, adaptation solutions
   must take into account potential impacts to nearby pipes and utilities which may need to be
   relocated, modified, or temporarily taken offline to carry out the project.

   With these limitations in mind, the selection of alternatives is based on the following guidelines:
    Keeping the solution within the existing easement and right-of-way to the extent practical
    Making use of the existing facilities to the extent practical
    Keeping the footprint of the alternative as small as practical
   Plotting stage-discharge curves developed from the hydrologic and hydraulic models of various
   types of crossings helps visualize the actual performance against the design standard. For this
   project, we considered eight combinations of culvert cell sizes. Based on the guidelines above,
   we selected the narrowest combination with the lowest rise. Two levels of adaptation options are
   suggested for the Airport Boulevard culvert: one that is optimized for the NOAA 90% Upper
   Confidence Limit and a second that is optimized for the “Wetter” narrative (end-of-century,
   2070-2099 time period). The goal of both adaptation options is to achieve the minimum two feet
   (0.6 meters) of freeboard from the 25-year flood stage to the edge of pavement at the low point
   of the roadway. Both adaptation options involve the addition of box culvert cells or expansion /
   replacement of existing box culverts in order to increase flow capacity.

   Option One

   Option One meets the criteria for the Observed precipitation depths and the NOAA 90% Upper
   Confidence Limit scenario. It consists of adding one additional 12 foot (3.7 meter) span by eight
   foot (2.4 meter) rise box culvert on each side of the existing four cells of the same size.
   Transitioning the channel width to the wider entrance and from the wider exit will require
   concrete training walls. Figure 22 shows this configuration.

   The work, estimated to cost $1.7 million, includes:

    Removing the existing wing walls on both sides (to stay within the right-of-way and
     minimize channel alignment changes)
    Excavating and installing one box culvert on each side of the existing crossing
    New headwall extensions
    New training walls
    Utility relocation (existing utilities appear to cross and run parallel and close to the existing
     crossing). The estimate includes a “plug number” for these relocations because they have not
     been identified and located in the field.



   U.S. Department of Transportation                     67                                    FHWA002718
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24        Page 436 of 534          PageID 2996
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

          Figure 22: Plan for Adaptation Option One of the Airport Boulevard Culvert over Montlimar Creek




   Option Two

   Option One meets the criteria for the Observed precipitation depths and the NOAA 90% Upper
   Confidence Limit scenario but not the higher flow of the 25-year “Wetter” narrative (end-of-
   century, 2070-2099 time period). Thus, the project team developed Option Two to address the
   possibility of the 25-year “Wetter” narrative occurring. This option is within practical limits of
   the aforementioned criteria, is about 2.4 inches (6.1 centimeters) above the design headwater
   elevation, and has the benefit of keeping the 100-year “Wetter” narrative runoff to below the
   elevation of the low point in the roadway so that it does not overtop the road. Option Two
   consists of removing the existing crossing and installing four cells, each with a 21 foot (6.4
   meter) span by nine foot (2.7 meter) rise. Pre-cast spans this wide are available and alternatively
   could be cast in place which would increase construction duration. The spans would be designed
   to meet highway loadings as described in the AASHTO standards. The option of raising the
   culvert height by one foot (0.3 meters) was considered because the required expansion of culvert
   width is limited by channel width. Transitioning the channel width to the wider entrance and
   from the wider exit will require concrete training walls. Figure 23 shows this configuration.
   Widening the channel may increase sediment deposition which would require inspection and
   sediment removal. Sediment transport was not included in this analysis. An estimate of annual
   maintenance costs was carried forward in the economic analysis.

   The work, estimated to cost $2.5 million, includes:
    Removing the existing culvert and wing walls
    Excavating and installing a culvert with four 21 foot (6.4 meter) by nine foot (2.7 meter) cells




   U.S. Department of Transportation                      68                                      FHWA002719
                                                                                                   August 2014
Case 5:23-cv-00304-H         Document 15-18           Filed 01/31/24        Page 437 of 534          PageID 2997
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

    New headwall extensions
    New training walls
    Utility relocation (existing utilities appear to cross and run parallel and close to the existing
     crossing). The estimate includes a “plug number” for these relocations because they have not
     been identified and located in the field.
          Figure 23: Plan for Adaptation Option Two of the Airport Boulevard Culvert over Montlimar Creek




   Step 7 –Assess Performance of the Adaptation Option(s)
   The degree of flooding was analyzed for each adaptive design option using the 100-yr storm
   event with the Observed precipitation depths and the NOAA 90% Upper Confidence Limit and
   “Wetter” narrative (end-of-century, 2070-2099 time period) scenarios. As shown on the
   following curves in Figure 24 and Figure 25, the ALDOT standard is met in Option One for the
   Observed precipitation depths and the NOAA 90% Upper Confidence Limit scenario and nearly
   met (within the margin of error) by Option Two for all three cases. Also, note that the 100-year
   “Wetter” narrative flood elevation exceeds the roadway low point elevation of Option One by
   one foot (0.3 meters) while it stays approximately at the Airport Boulevard road surface low
   point elevation under Option Two.

   As an additional consideration, potential downstream impacts should be taken into account in the
   evaluation of adaptation alternatives. For example, the adaptation options propose a wider
   channel width at the culvert which would need to transition back to the existing channel width
   downstream. Although it was not conducted for this study, one may evaluate the impacts of the
   channel width transition on downstream water surface elevations. A U.S. Army Corp of




   U.S. Department of Transportation                      69                                      FHWA002720
                                                                                                   August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 438 of 534       PageID 2998
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   Engineers Hydrologic Engineering Center River Analysis System (HEC-RAS) model can be
   developed to determine if the discharges from the larger magnitude storms may overtop the
   existing 40 foot (12.2 meter) wide channel downstream. The results of this analysis may show
   that certain adaptation options are more suitable than others.




   U.S. Department of Transportation                     70                                    FHWA002721
                                                                                                August 2014
Case 5:23-cv-00304-H                                   Document 15-18        Filed 01/31/24                 Page 439 of 534        PageID 2999
                                         Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                      Case Studies

                 Figure 24: Airport Boulevard Culvert Adaptation Option One Stage-Discharge Curve

                                              45

                                              43

                                              41

                                              39
                        Headwater Elevation



                                              37                                    Roadway low point el.= 36.0

                                              35                                      2-ft. freeboard


                                              33
                                                                             7845 cfs - 100-yr Wetter
                                              31
                                                                            5713 cfs - 25-yr Wetter
                                              29
                                                                             4445 cfs - 25-yr NOAA
                                              27
                                                                            3045 cfs - 25-yr Observed
                                              25
                                                   0        5000         10000           15000              20000        25000
                                                                            Flow Rate (cfs)



                                              Figure 25: Airport Boulevard Culvert Option Two Stage Discharge Curve

                                          45

                                          43

                                          41

                                          39
                  Headwater Elevation




                                          37
                                                                                          Roadway low point el.= 36.0

                                          35                                              2-ft. freeboard

                                          33
                                                                          7845 cfs - 100-yr Wetter
                                          31
                                                                           5713 cfs - 25-yr Wetter
                                          29
                                                                           4445 cfs - 25-yr NOAA
                                          27
                                                                           3045 cfs - 25-yr Observed
                                          25
                                                   0       5000         10000          15000            20000           25000
                                                                          Flow Rate (cfs)




   U.S. Department of Transportation                                             71                                              FHWA002722
                                                                                                                                  August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 440 of 534                  PageID 3000
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   Step 8 –Conduct an Economic Analysis
   This step involves an economic analysis of the various adaptation options to aid in the selection
   of the most cost-effective adaptation measure. The section begins with an overview of the
   approach taken and the analysis results before proceeding to discuss the entire process in full
   detail.

   Overview

   A key feature of climate change is uncertainty. In particular, the timing, severity and frequency of
   future weather and climate events are not known with any degree of precision. Economic analyses
   provide valuable information for decision-making where there is a high degree of uncertainty
   about the future. The benefit-cost analysis model developed for this study uses a probabilistic
   framework to account for this uncertainty by testing thousands of different combinations of future
   storm events, each with its own peak discharge flow.

   As in any economic study, the level of detail and rigor of the economic analysis should be
   commensurate to the scale of the project being studied. For climate change analyses, the
   consequences of that facility’s failure should be considered as well when determining the level of
   effort to expend. The analytical framework used in this study employs Monte Carlo analysis67 to
   simulate thousands of different combinations of storm events under five climate / land-use
   scenarios and then estimates the resultant flooding costs over a 30-year appraisal period. This
   type of economic analysis may involve a larger level of effort than is required for most culverts,
   especially smaller culverts, however, it is used in this case study as an illustration of an approach
   to benefit-cost analysis that can be used to aid in decision-making for a variety of facility types,
   including those with higher values.

   In this analysis, three alternative courses of action are compared:
    Base Case: “Do Nothing”, leaving the existing culvert as is
    Option One: Provision of additional cells adjacent to the existing culvert




   67
      Monte Carlo analysis is a computerized mathematical technique widely used in industry to analyze problems where there is inherent
   uncertainty in predicting future events. It particularly useful when there are large numbers of input variables and hence many degrees of freedom
   affecting the outcome. Its origins lie with the Manhattan Project: ‘Monte Carlo’ was a code name coined by one of the lead scientists whose uncle
   had a penchant for gambling at the casinos in Monaco. Since the end of the war, the technique has been adopted within financial, insurance, oil
   and gas, and many other industries to assist with their decision-making processes. Despite the connotation of the name, the technique is not
   completely random; inputs to the models are sampled from pre-determined probability distributions. These inputs are substituted into the model,
   the output calculated, and the result saved. The process is then repeated using a different set of sampled inputs. Depending upon the number of
   uncertain variables, a simulation could involve thousands or tens of thousands of recalculations before it is complete. At the end of the
   simulation, the outputs are collated and analyzed and a probability distribution is generated showing the range of all possible outcomes and the
   likelihood that they will occur. Monte Carlo simulation is frequently used for applications such as analyzing extreme weather and natural disaster
   events. Whilst this may appear to be an advanced technique, software packages such as @Risk and Crystal Ball are widely available as ‘plug-ins’
   to Microsoft Excel at prices which would be affordable to most local and state government agencies. The @Risk software tool has been used for
   this study.




   U.S. Department of Transportation                                         72                                                   FHWA002723
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                  Document 15-18                    Filed 01/31/24                Page 441 of 534                 PageID 3001
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

    Option Two: Replacing the existing culvert with a new facility that has larger capacity cells.
     Option Two offers a higher level of protection to Option One as it can accommodate higher
     discharge flows through the culvert, but is around $800,000 more expensive.
   The Monte Carlo approach employed in this case study calculates economic benefits (in terms of
   avoided flood costs) for Option One and Two relative to the base case using the precipitation
   depths and resulting flow of the Observed scenario. Discounted cash-flow analysis is then used
   to rank and select a preferred adaptation option for the culvert upgrade, by comparing the
   discounted economic benefits against the upfront capital cost of the two upgrade options. After
   all iterations of the Monte Carlo simulation have run, a probabilistic distribution of results is then
   generated.

   In this analysis, the economic benefits comprise avoided traffic congestion costs resulting from
   Airport Boulevard and the adjacent I-65 freeway being closed due to flooding.68 A second
   analysis was conducted where avoided flood damages to nearby buildings (from flooding
   attributable to the culvert) were included as benefits as well. These results are presented
   separately as a sensitivity test given the uncertainties of how much flooding will occur to the east
   of the site pending further detailed hydrological analysis. It should be noted that anticipated
   clean-up and repair costs from flood damage to the facility should also be considered in benefit-
   cost analyses, however, in this case it was assumed that such costs would be minimal given the
   relatively slow velocities of water at the site.

   A summary of the results of the analysis (not inclusive of property damage costs) is shown in
   Table 11. This table shows the 90th percentile results (out of 1,000 iterations of the Monte Carlo
   simulation) along with the average economic benefits, Net Present Value (NPV), and Benefit-
   Cost Ratio (BCR) of all five climate scenarios. The range of benefits, NPVs, and BCRs across
   the five scenarios is provided in parentheses. The results show that whilst both options are
   economically viable, Option One is preferred as it has the higher BCR of the two options at 3.5.

   Approach

   There is considerable uncertainty when appraising climate change initiatives in that the timing,
   severity, and frequency of future weather and climate events are not known with any degree of
   precision. If scarce public funds are invested in infrastructure adapting to climate change and no
   weather events occur in the near-term, then the infrastructure adaptations will, in essence, “lie idle”
   and the funds could have been used for alternate more immediate needs. Conversely, if
   infrastructure investments are delayed but a number of significant flooding events occur, then
   widespread economic damage that could otherwise have been avoided will result.

   68
      Although there are uncertainties in the location and amount of flooding expected to the east of the Airport Boulevard culvert due to spill over
   attributable to the culvert, a conservative assumption was made that I-65 would be affected by the resulting flooding. An initial evaluation of
   likely flow paths showed that much of the overflowing water from Montlimar Creek would likely pass through the drainage infrastructure of the
   I-65 interchange with Airport Blvd. and this infrastructure is known to have capacity challenges. However, further detailed hydrological analysis,
   beyond the scope of this case study, would be required to verify this assumption.




   U.S. Department of Transportation                                         73                                                    FHWA002724
                                                                                                                                    August 2014
Case 5:23-cv-00304-H                     Document 15-18                  Filed 01/31/24                Page 442 of 534                 PageID 3002
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

                               Table 11: Airport Boulevard Culvert Benefit-Cost Analysis Results: 90th
                         Percentile, Average of All Climate Scenarios, No Property Damage Costs Included 69

                                                                     Option One                                        Option Two
   Scope of improvement                                 Six cell, 12’ span x 8’ rise culvert               4 cell, 21’ span x 9’ rise culvert
   Present value of costs                                               $1.7m                                             $2.5m
   Present value of benefits                                          $6.0m                                              $6.5m
   [avoided traffic congestion costs]                             ($3m to $12.7m)                                  ($3.2m to $14.4m)
                                                                       $4.3m                                             $4m
   Net present value
                                                                 ($1.3m to $11.0m)                                 ($0.7m to $11.9m)
                                                                         3.5                                               2.6
   Benefit-cost ratio
                                                                     (1.7 to 7.3)                                      (1.3 to 5.8)



   To address this uncertainty, a probabilistic benefit-cost analysis model has been developed which
   uses Monte Carlo analysis to simulate thousands of different combinations of flooding events of
   differing intensities under five climate / land-use scenarios over a 30-year period (a reasonable
   remaining design-life for the existing culvert and Option1 since it involves use of the existing
   culvert as well). A probability distribution is then generated from the results of all event
   combinations simulated. Figure 26 shows the model framework developed for the benefit-cost
   analysis, which is described in further detail in later sections.




   69
        Costs and benefits presented in $2013, discounted over 30 years at 7%. The ranges of possible values are shown in parentheses where pertinent.




   U.S. Department of Transportation                                           74                                                  FHWA002725
                                                                                                                                    August 2014
Case 5:23-cv-00304-H                  Document 15-18                  Filed 01/31/24                Page 443 of 534                 PageID 3003
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

                                      Figure 26: Probabilistic Benefit-Cost Analysis Framework

                                Climate Change Scenario


                           Storm Event—Year and Intensity
                               (Monte Carlo Simulation)



                                                       Identify Adaptation
        Iterate                                              Options


                    Calculate costs                      Calculate Costs
                    (no adaptation)                     (with adaptation)



                     Calculate NPV/BCR of Adaptation option



                        Generate Probabilistic Distribution of                                          Optimization of Timing of
                         NPVs/BCRs from All Iterations Run                                                 Adaptation Option
                                                                                                         (possible future improvement)



   The main model engine undertakes an analysis of each climate change scenario and each
   adaptation option using the following process. For each year in the 30-year appraisal period, the
   model:

    Randomly generates a peak flow through the culvert: This is done by using Monte Carlo
     simulation to sample from the appropriate probability function for that time period. A
     probability distribution for each climate change scenario has been developed using the annual
     return periods for each 24-hour storm event given in Table 8. The resulting function is
     continuous and so can not only generate 100-year, 50-year, and 25-year events according to
     the modeled data but intermediate values such as 23-year or 49-year events as well. Extreme
     events which have not yet been observed are also included: for example, if observations of
     storm events only go back 400 years, an estimate of a 1,000-year storm can be generated
     from the fitted curve as well.

          An example of a fitted distribution is shown in Figure 27. This shows the cumulative
          probability distribution for the input data of the “Wetter” narrative (2010-2039 time period)
          from Table 8 against the fitted distribution (estimated as an Extreme Value distribution70)
          generated by the @Risk software used for the Monte Carlo analysis.



   70
     In hydrology, the Extreme Value (or Gumbel) probability distribution is commonly used to describe the distribution of extreme event variables
   such as peak discharges. The distribution is skewed to the right to focus on maximum events, and can be used to estimate extreme events such as
   a 100,000-year event.




   U.S. Department of Transportation                                        75                                                  FHWA002726
                                                                                                                                 August 2014
Case 5:23-cv-00304-H                     Document 15-18                   Filed 01/31/24                Page 444 of 534     PageID 3004
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

           In Figure 27, the cumulative probability on the y-axis is a function of the annual return
           period: for a 100-year storm (peak flow 7,347 cubic feet per second [208 cubic meters per
           second]), in any given year, only one percent of storm events will generate a peak flow
           greater than this. For a five-year storm, 80% of annual storm events will generate peak flows
           lower than 3,325 cubic feet per second (94.2 cubic meters per second). The fitted curve also
           shows an example of how the peak flow through the creek can be estimated for a storm event
           which has not been provided in the input data: a three-year storm event (with a 66.6%
           probability of not being exceeded in any given year) is estimated to generate a peak flow
           through the creek of 2,537 cubic feet per second (71.8 cubic meters per second).
    Determines the resultant flood elevation due to the generated flow: This is done using the
     culvert stage-discharge curves provided in Figure 18, Figure 24, and Figure 25 for the
     existing culvert and each improvement option. Continuous functions which estimate the
     flood elevation for any flow rate through the culvert have been estimated using regression.
    Determines the cost of the flood if the elevation overtops the low point of the roadway
     (36 feet [11 meters]): This analysis considers the traffic disruption costs that would occur if
     Airport Boulevard and I-65 were closed for an assumed 24 hours71 due to a flooding event.
     Using Vehicle Miles Traveled (VMT) and Vehicle Hours Traveled (VHT) outputs from the
     Mobile Area Transportation Study (MATS) regional travel demand model, the analysis
     calculates the additional vehicle hours traveled and vehicle miles traveled which would occur
     throughout the region if both Airport Boulevard and I-65 were closed. From this, FEMA
     parameters (for example, the value of travel time savings) are used to estimate the additional
     travel costs incurred (an avoidable economic cost). A sensitivity test has been undertaken
     (discussed later) whereby property damage costs are also included.
    Calculates the flood cost savings for each of the improvement options: Costs are relative
     to the flood costs of the base case (no build) with Observed precipitation depths.




   71
        24-hours is used to allow for water to recede, inspections for damage, and clean-up of the roadway.




   U.S. Department of Transportation                                           76                                         FHWA002727
                                                                                                                           August 2014
Case 5:23-cv-00304-H                    Document 15-18                    Filed 01/31/24                 Page 445 of 534                  PageID 3005
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

      Figure 27: Comparison of Input Data and Fitted Curve for the “Wetter” Narrative (2010-2039 Time Period)72




   Once the impacts and costs are generated for each storm event in each year of the appraisal the
   model:
    Discounts the benefits (in terms of flood cost savings) for each year of appraisal back to
     present year values using the Office of Management and Budget rate of 7%.
    Discounts the capital costs of the improvement options (if incurred in future years)73
    Sums all discounted costs and savings across the entire 30-year appraisal period
    Calculates the NPV and BCR of each improvement option and records the result
   The process is then repeated thousands of times, each time using a different set of randomly
   generated flood events. After all simulations have completed, a probability distribution showing
   the results of all iterations is generated.




   72
      Note that the root mean square error of the fitted Extreme Value distribution versus the input data is less than 0.005 indicating a good fit. Also,
   whilst the fitted distribution curve does not pass through the origin, controls have been implemented in the simulation model to ensure that
   negative peak flows are not generated in the Monte Carlo simulation process.
   73
      In this case study, the capital costs are assumed to be incurred in year zero, and therefore are not discounted. A possible improvement option
   would be to optimize the year of implementation of the improvement option. In this situation, the capital costs would also be discounted.




   U.S. Department of Transportation                                           77                                                      FHWA002728
                                                                                                                                        August 2014
Case 5:23-cv-00304-H                 Document 15-18                 Filed 01/31/24              Page 446 of 534                PageID 3006
                          Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                       Case Studies

   The Cost of Doing Nothing

   There are likely to be substantial costs incurred if no adaptation actions are taken to address
   flooding at the culvert. This is because when water overtops the culvert at 36 feet (11 meters),
   travel will be impeded both on Airport Boulevard and I-65 (see Figure 19, Figure 20, and Figure
   21). These costs can be expected to rise over time as traffic volumes increase. A sampling of the
   incurred costs due to traffic disruption owing to Airport Boulevard and I-65 being closed at two
   different time periods, 2007 and 2035, is shown in Table 12. These two time periods are the only
   years for which volumes are available from the MATS regional travel demand model. Disruption
   costs for intermediate years between 2007 and 2035 and years beyond 2035 have been calculated
   by using linear interpolation and extrapolation for use during the analysis.

                    Table 12: Traffic Disruption Costs (Per Flooding Event) With No Adaptation Actions74

                                                                     2007                                           2035
   Flood elevation <36 feet                                            $0                                             $0
   Flood elevation >=36 feet                                        $2.6m                                           $6.1m



   Figure 28 shows the probability distributions of cumulative traffic disruption costs75 (discounted
   to present values) over 30 years for each of the climate change scenarios in the Base Case
   situation (no adaptation actions taken). The vertical delimiters show the 50th (median) and 90th
   percentile results. Thus, for the Observed conditions with current land use, over 50% of model
   runs had costs greater than $1.1 million and 10% had costs greater than $3.9 million. Under the
   “Wetter” narrative, the median disruption cost over the 30-year period was $10 million and the
   90th percentile cost was $15.4 million. The maximum cost modeled was $22.3 million.

   Understanding the Economic Analysis of the Adaptation Options

   Economic viability of each option is assessed through its Benefit-Cost Ratio (BCR) and Net
   Present Value (NPV). The NPV (the discounted value of benefits, less the capital cost) gives an
   indication of the magnitude of net benefit to society. Positive NPVs indicate the project is
   desirable to society as a whole.




   74
     Values are indexed to $2013 using the U.S. Consumer Price Index for all Urban Consumers (CPI-U)
   75
     The incremental regional VMT and VHT due to shutting down Airport Blvd. and I-65 were converted into economic costs (additional travel
   time and mileage) using $2013 inflation adjusted (CPI-U based) FEMA unit values (FEMA, 2009). The value used for vehicle delay detour time
   was $41.20 per VHT and for additional vehicle mileage was $0.60 per VMT.




   U.S. Department of Transportation                                     78                                                 FHWA002729
                                                                                                                             August 2014
    Case 5:23-cv-00304-H                      Document 15-18                   Filed 01/31/24                Page 447 of 534                  PageID 3007
                                    Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                 Case Studies

         Figure 28: Probability Distributions of Avoidable Costs without Adaptation and Inclusion of Property Damage Costs76




76
   These histograms show the range of possible outcomes and their relative likelihood of occurrence. The x-axis represents the avoidable cost and the y-axis shows the
probability density. In simple terms, the height of each bar gives an indication of how likely that result is to occur. The vertical delimiters show the 50th and 90th
percentile results; the values at which 50% and 90% of results fall under.




           U.S. Department of Transportation                                         79                                                   FHWA002730
                                                                                                                                           August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 448 of 534                  PageID 3008
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   The BCR (the discounted benefits divided by the capital cost) is a measure of efficiency or value
   for money, and is of principal consideration when Government is considering spending scarce
   funds. BCRs greater than one indicate the benefits outweigh the costs and hence a project is good
   value for money.

   In analyzing the results of an economic analysis, the NPV and BCR should be considered
   together when comparing two options, particularly if the BCRs are similar in magnitude. In
   general, if an option has a higher BCR than its alternative, then it will also have a higher NPV.
   However, on occasions, an option may have a lower BCR but higher NPV than its alternative. In
   this situation, the incremental benefits versus the incremental costs of the two alternatives should
   be examined, to determine whether the additional investment of the more expensive option will
   deliver benefits greater than this incremental investment cost.

   As this is a probabilistic analysis, where thousands of alternative flooding frequency / intensity
   combinations are modeled, the results also show the probability of an option’s BCR being higher
   than one (i.e., the proportion of combinations modeled where the total value of flood damage
   cost avoided outweighed the investment costs). This is useful for assessing the “risk appetite” or
   the level of risk that Government agencies or decision-makers would be willing to take to
   mitigate damage costs. If an option only has a 20% chance of having a BCR over one, then this
   would indicate that there was a 80% chance of the asset lying idle or unused, and so on balance,
   the option might not be pursued by many agencies. However, some agencies may determine that
   even a 10% risk of damages occurring would be unacceptably high (particularly for issues
   affecting human safety), and so would still pursue this option. Thus, decision-makers with
   different risk tolerances could legitimately use the same results to justify different courses of
   action.

   Results of the Economic Analysis of the Adaptation Options (Traffic Disruption Costs Only)

   The results of the analysis for Options One and Two are shown in Table 13 and Table 14. The
   results show that both options are economically viable with positive NPVs and BCRs over one.
   On average, Option One is preferable to Option Two as it has a higher average BCR at 3.5
   compared to 2.6 for Option Two. This is due to its lower capital cost and also that the additional
   flood protection provided (in terms of benefits) by Option Two are insufficient to outweigh its
   additional cost. The magnitude of the BCR and NPVs is highly dependent upon the climate
   scenario adopted. In this analysis, it was assumed that all five scenarios are equally likely to
   occur,77 and hence the BCRs and NPVs shown in Table 11 earlier and the end column of Table
   13 and Table 14 represent the mean values of all five scenarios. Table 13 and Table 14 also show
   the BCRs and NPVs for Options One and Two under each of the five climate and land use


   77
      The Wetter and Drier narratives were developed based on climate model outputs that assumed certain IPCC greenhouse gas emission scenarios.
   Since the IPCC does not assign probabilities to these scenarios, probabilities cannot be assigned to the resulting climate projection information.




   U.S. Department of Transportation                                         80                                                   FHWA002731
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                  Page 449 of 534                PageID 3009
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   scenarios. Also shown is the probability that the BCR will be over one, representing the
   proportion of the 1,000 Monte Carlo simulations run where a BCR over one occurred.

                   Table 13: Airport Boulevard Culvert Adaptation Option One Economic Analysis Results
                 under Each Climate Scenario: 90th Percentile Results, No Property Damage Costs Included78

    Climate Scenario                   1                    2                   3                    4                    5
                                 Observed             Observed            NOAA 90%                                                       Average
      Description of            1980–2009            1980–2009              Upper               “Wetter”             “Drier”           (mean) of All
        Scenario                with Current         with Future          Confidence            Narrative           Narrative           Scenarios
                                 Land-use             Land-use              Limit
   Present Value of
                                    $1.7m                $1.7m               $1.7m                $1.7m               $1.7m                $1.7m
   Costs
   Present Value of
                                    $3.5m                $4.0m               $6.8m               $12.7m               $3.0m                $6.0m
   Benefits
   NPV                              $1.8m                $2.2m               $5.0m               $11.0m               $1.3m                $4.3m
   BCR                                2.0                  2.3                 3.9                  7.3                 1.7                  3.5
   Probability that
                                     36%                  39%                 68%                  97%                  30%                 N/A
   BCR will be over 179




   78
      Note: Scenarios 3-5 include assumptions on future land use per the discussion in Step 5 of this case study. The costs and benefits are presented
   in $2013, discounted over 30 years at 7%. The present value of benefits represent the 90th percentile result from the Monte Carlo simulation
   (1,000 observations). These values differ slightly from the 90 th percentile avoidable costs shown in Figure 28, since not all floods are avoided by
   the culvert upgrades; overtopping still occurs during the most extreme storm events.
   79
      Based upon proportion of Monte Carlo simulations run where a BCR of 1 or above was achieved




   U.S. Department of Transportation                                          81                                                     FHWA002732
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                  Page 450 of 534                 PageID 3010
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

                      Table 14: Airport Boulevard Adaptation Option Two Economic Analysis Results
                 under Each Climate Scenario: 90th Percentile Results, No Property Damage Costs Included80

    Climate scenario                   1                    2                    3                   4                    5
                                 Observed            Observed             NOAA 90%                                                       Average
      Description of            1980-2009            1980-2009              Upper               “Wetter”              “Drier”          (mean) of all
        scenario                with current         with future          Confidence            Narrative            Narrative          scenarios
                                 land-use             land-use              Limit
   Present Value of
                                    $2.5m                $2.5m               $2.5m                $2.5m                $2.5m               $2.5m
   Costs
   Present Value of
                                    $3.9m                $4.2m               $6.9m               $14.4m                $3.2m               $6.5m
   Benefits
   NPV                              $1.3m                $1.7m               $4.4m               $11.9m                $0.7m               $4.0m
   BCR                                1.5                  1.7                 2.8                  5.8                  1.3                 2.6
   Probability that
                                     24%                  29%                  59%                 97%                  20%                  N/A
   BCR will be over 181



   The results show that:

    Under the “Drier” narrative and with Observed precipitation depths (using either existing or
     future land use), fewer extreme floods occur in the Base Case with no adaptations. Whilst the
     BCRs for these scenarios are above one for both Options One and Two, there is a lower
     probability that the benefits will outweigh the capital costs (i.e., around between 30 and 39%
     probability that the benefits would not be recouped).
    Under the NOAA 90% Upper Confidence Limit scenario and the “Wetter” narrative, storm
     events causing flooding are more frequent resulting in higher damage costs across the
     appraisal period. The BCRs for these scenarios are higher than those under the other
     scenarios with over 50% probability that the avoided damage costs would exceed the
     investment costs. In the “Wetter” narrative, there is around a 97% probability of achieving a
     BCR over one.

   Sensitivity Test - Inclusion of Property Damage Costs

   Background
   The central results for this benefit-cost analysis only include the traffic disruption costs resulting
   from Airport Boulevard and I-65 being closed in the event of a flood. However, the flood contour
   boundaries presented in Figure 19, Figure 20, and Figure 21 of the main report show that many
   buildings east of the culvert could be affected by flooding attributable to the culvert if the water

   80
      Note: Scenarios 3-5 include assumptions on future land use per the discussion in Step 5 of this case study. The costs and benefits are presented
   in $2013, discounted over 30 years at 7%. The present value of benefits represent the 90 th percentile result from the Monte Carlo simulation
   (1,000 observations). These values differ slightly from the 90 th percentile avoidable costs shown in Figure 28, since not all floods are averted by
   the culvert upgrades; overtopping still occurs during the most extreme storm events.
   81
      Based upon proportion of Monte Carlo simulations run where a BCR of 1 or above was achieved




   U.S. Department of Transportation                                          82                                                     FHWA002733
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                    Document 15-18                     Filed 01/31/24                 Page 451 of 534                   PageID 3011
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

   reaches an elevation over 36 feet (11 meters). Acknowledging the aforementioned uncertainties of
   the location and depth of flooding east of the culvert crossing, a sensitivity analysis was undertaken
   to determine the effects of incorporating the estimated damage to buildings into the analysis.

   Flooding of buildings incurs a number of direct and indirect economic costs, including:82
    Structural Damage: Structural damage increases as floodwaters rise.
    Content Damage: For example, stock held within a shop or furniture within a residential
     property.
    Displacement: Costs incurred when the occupants of a property need to move to temporary
     accommodation as a result of flood damage.
    Loss of Business or Rental Income: For example, when businesses are forced to
     temporarily close after a flood.
    Value of Service: Loss of function of a facility, such as electricity or water treatment.
   Approach
   This sensitivity test makes a preliminary, conservative estimate of the direct and indirect costs to
   properties lying within the flood contour boundaries between Montlimar Creek and I-6583 using
   a methodology that broadly follows that used within the FEMA HAZUS-MH software used to
   estimate losses from flood damage.84

   Note that there are limitations to this analysis in that:
    Only the flood boundaries are known, and not the actual flood elevation at each individual
     building. This would require more detailed hydrologic analysis.
    GIS data on individual land parcels (detailing building dimensions, occupancy type, and
     construction materials) was not available for this study, and as such, the numbers of buildings
     affected and building type have been estimated from publicly available imagery.
    Downstream increases to flow and attendant land use impacts associated with increasing the
     culvert capacity were not included. Additional detailed hydrologic analysis would be
     required to study this. It is highly recommended that this consideration be included on an
     actual project.
   As a result of these limitations, these results should be treated with some caution and we
   recommend that further analysis using appropriate FEMA software tools be undertaken to build
   upon the findings here.

   Using the flood contour maps provided in the main report, the number of damaged buildings and
   resultant economic cost for three flood elevations was estimated, as shown in Table 15. In the

   82
      FEMA, 2011
   83
      Flooding of properties to the east of I-65 was not considered attributable to the culvert overtopping since, without further detailed hydrologic
   analysis, it is even less clear if there would be sufficient volume of water to reach and inundate these structures. Also, it is possible that during a
   severe storm event these properties may already be flooded by the nearby Eslava Creek that lies to the east of the interchange.
   84
      FEMA, 2012




   U.S. Department of Transportation                                            83                                                      FHWA002734
                                                                                                                                         August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                  Page 452 of 534                 PageID 3012
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   analysis, we have conservatively only considered these three discrete steps rather than
   developing a continuous flood elevation / damage cost function. Thus, for floods below 36.3 feet
   (11.1 meters), no damage costs are incurred. For floods between 36.3 and 37.3 feet (11.1 and
   11.4 meters), four buildings are damaged and so forth.

                                 Table 15: Estimated Numbers of Damaged Buildings and Economic
                                  Losses Occurring from Flooding at the Airport Boulevard Culvert

                                                                                                                Estimated Economic Cost
             Flood Elevation (feet)                              Damaged Buildings85
                                                                                                                 of Damage per Flood86
   Less than 36.3 feet                                                      0                                                  $0m
   36.3 to 37.2 feet                                                        4                                              $11.6m
   37.3 to 37.5 feet                                                        18                                                $106m
   Greater than or equal to 37.6 feet                                      20                                                 $122m

   Results and Analysis
   Table 16 and Table 17 show the results of the sensitivity test where property damage costs are
   included within the benefit-cost analysis.

             Table 16: Airport Boulevard Culvert Adaptation Option One Property Damage Cost Sensitivity Test
              Results under Each Climate Scenario: 90th Percentile Results, Property Damage Costs Included87

        Climate Scenario               1                    2                    3                   4                    5
                                 Observed             Observed            NOAA 90%                                                       Average
         Description of         1980–2009            1980–2009              Upper               “Wetter”              “Drier”          (mean) of All
           Scenario             with Current         with Future          Confidence            Narrative            Narrative          Scenarios
                                 Land-use             Land-use              Limit
   Present Value of
                                    $1.7m                $1.7m               $1.7m                $1.7m                $1.7m               $1.7m
   Costs
   Present Value of
                                    $9.7m               $11.5m              $17.8m               $83.3m                $8.2m              $26.1m
   Benefits
   NPV                              $8.0m                $9.7m              $16.1m               $81.6m                $6.4m              $24.4m
   BCR                                5.6                  6.6                  10.2               47.9                  4.7                15.0
   Probability that
                                     44%                  50%                   76%                99%                  41%                  N/A
   BCR will be over 188




   85
      Estimated from aerial photos and LIDAR two-foot elevation contours.
   86
      Estimated using equations and data provided within the FEMA HAZUS manual. Values indexed to $2013 using US CPI-U.
   87
      Costs and benefits presented in $2013, discounted over 30 years at 7%. The present value of benefits represent the 90 th percentile result from
   the Monte Carlo simulation (1,000 observations).
   88
      Based upon proportion of Monte Carlo simulations run where a BCR of one or above was achieved.




   U.S. Department of Transportation                                            84                                                    FHWA002735
                                                                                                                                       August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                  Page 453 of 534                 PageID 3013
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

             Table 17: Airport Boulevard Culvert Adaptation Option Two Property Damage Cost Sensitivity Test
              Results under Each Climate Scenario: 90th Percentile Results, Property Damage Costs Included89

        Climate Scenario               1                    2                    3                   4                    5
                                 Observed             Observed            NOAA 90%                                                       Average
         Description of         1980–2009            1980–2009              Upper               “Wetter”              “Drier”          (mean) of All
           Scenario             with Current         with Future          Confidence            Narrative            Narrative          Scenarios
                                 Land-use             Land-use              Limit
   Present Value of
                                    $2.5m                $2.5m               $2.5m                $2.5m                $2.5m               $2.5m
   Costs
   Present Value of
                                   $10.3m               $11.8m              $18.5m               $97.5m                $8.9m              $29.4m
   Benefits
   NPV                              $7.8m                $9.3m              $16.0m               $95.0m                $6.4m              $26.9m
   BCR                                4.1                  4.7                 7.4                 38.9                  3.6                11.7
   Probability that
                                     38%                  44%                  71%                 99%                  35%                  N/A
   BCR will be over 190



   It can be seen that in this test, both options have BCRs over one under Observed precipitation
   depths and all the other scenarios indicating that they are economically viable and demonstrate
   very good value for money even with future uncertainty. The BCRs for Option One are higher than
   those for Option Two on average (15 versus 11.7) indicating that this option is preferred. However,
   for the “Wetter” narrative, the average NPV for Option 2 is higher than that for Option 1.
   Incremental analysis shows that the additional benefits (avoided costs) outweigh the incremental
   capital costs and so Option 2 should be considered.

   To summarize, the results show that:

    Under the “Drier” narrative and Observed historical precipitation depths (with existing or
     future land use), even though floods are less frequent, the damage costs incurred far outweigh
     the capital costs for the provision of infrastructure, resulting in BCRs over one. However, the
     probability that the BCR would be over one is less than 50% for both Options 1 and 2.
    Under the NOAA 90% Upper Confidence Limit scenario and the “Wetter” narrative, there is a
     higher probability of achieving a BCR over one. Under the “Wetter” narrative, whilst the BCR
     for Option One is higher than that for Option Two, the NPV of the latter is greater. The
     incremental benefit of Option Two over Option One ($14.1 million) outweighs the $800,000
     additional capital costs. Therefore, Option Two would be preferred when considering land use
     implications (noting the aforementioned limitations of this analysis). Under the “Wetter”
     narrative, almost 100% of simulations run generated BCRs over one.



   89
      Costs and benefits presented in $2013, discounted over 30 years at 7%. The present value of benefits represent the 90 th percentile result from
   the Monte Carlo simulation (1,000 observations).
   90
      Based upon proportion of Monte Carlo simulations run where a BCR of one or above was achieved.




   U.S. Department of Transportation                                          85                                                     FHWA002736
                                                                                                                                      August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 454 of 534       PageID 3014
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   Economic Analysis Conclusions

   The benefit-cost analysis shows that on average, Option One with a BCR of 3.5 would be
   preferred over Option Two with a BCR of 2.6, as the additional flooding protection provided by
   Option Two would not outweigh the additional capital cost. However, under three of the
   scenarios tested, the probability of achieving a BCR over one was less than 50%.

   A preliminary analysis into the avoidable damage costs to properties surrounding the culvert
   crossing has been undertaken as a sensitivity test, which revealed that the BCRs for both Options
   One and Two would be greatly enhanced under all climate change scenarios, reaching 47.9 for
   one scenario. Considering net present values, Option Two performs equal to or better than
   Option One when considering land use impacts. However, it should be noted that the land use
   impacts are very much high-level preliminary estimates, and further analysis is recommended to
   determine whether floodwaters would actually reach and inundate these structures.

   Step 9 –Evaluate Additional Decision-Making Considerations
   While the statistical analyses provide a starting point and documented basis for making
   decisions, the numerical results by no means represent the final recommendation in the decision-
   making process. Many other factors that reflect the reality of the economy, the environment, and
   the social implications of the adaptation options must be considered. While the economic
   analysis tends to address some of these issues if all costs are considered, the tolerance for risk,
   the other needs of the stakeholders and the ability to fund change are equally, if not more
   important than the bare numbers. Any decisions made must account for all of these impacts and
   come from a general consensus of the engineering, planning, operations, and maintenance staff
   along with representatives of the affected stakeholders.

   Specific considerations include items of concern for any typical project such as:
    Broader project sustainability beyond just climate change impacts (i.e., the “triple bottom
     line” of social, environmental, and economic concerns)
    Project feasibility and practicality
    Ongoing maintenance needs
    Maintenance funds availability
    Capital funds availability
    Stakeholders’ (public and government agencies) tolerance for risk of service interruption and
     associated costs of all types (note: this affects how the economic analysis is perceived as well)
    Stakeholders’ expected quality or level of service
   After considering all of the above, decision-makers should ask the question, “Is this project
   worth pursuing?” Adaptation of infrastructure in response to the potential for changing climate
   conditions is proposed to fit within the broader context of any transportation agencies’ capital
   improvement program and ongoing asset management efforts. Adaptation for the sake of



   U.S. Department of Transportation                     86                                    FHWA002737
                                                                                                August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24               Page 455 of 534                  PageID 3015
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

   adaptation is not expected to meet each of the special considerations noted above and is best
   viewed as a component of a larger decision-making process.

   Step 10 –Select a Course of Action
   The economic analysis showed that the adaptation options proposed may or may not have a high
   chance of being cost effective; depending on how climate changes in the future. If the “Wetter”
   narrative were to occur, undertaking either of the adaptation options is almost certain to be cost-
   effective; a 97% chance or greater that the BCR would be greater than one. However, if the
   “Drier” narrative were to occur or if climate did not change, there is a good chance that the
   adaptation options proposed would not be cost-effective; a 50% chance or less that the BCR
   would be greater than one.

   That said there is uncertainty in the probability of various rainfall events occurring even with
   current climate. This can have a significant bearing on the cost-effectiveness of any adaptation
   project as shown by the analysis of the NOAA 90% Upper Confidence Limit precipitation value.
   If one considered the NOAA 90% Upper Confidence Limit for current precipitation, this analysis
   indicated that there is at least a 59% chance that either of the adaptation options would be cost
   effective. If land use impacts are also considered, there is at least a 71% chance of the adaptation
   options being cost-effective.

   This observation, along with the strong performance of the adaptation options under the “Wetter”
   narrative, leads to a preliminary recommended course of action to undertake adaptation Option
   One. Of the two adaptation options considered, this option performed best in the economic
   analysis considering traffic impact costs alone91 and also had a greater probability of being cost
   effective under all scenarios tested. Another observation is that Option One has the best average
   net present value in the analysis (not considering land use flooding impacts) and a reasonable
   average benefit-cost ratio regardless of whether land use flooding impacts are considered.
   Finally, Option One is the less costly of the two options – a very relevant factor in the decision-
   making process.

   The recommended course of action should only be seen as preliminary and subject to change
   pending the additional detailed analyses suggested in this document. For example, if further
   hydrological analysis confirms extensive flooding of surrounding properties is attributable to the
   culvert, more consideration should be given to adaptation Option 2. Furthermore, this study did
   not include a component engaging local stakeholders in a dialogue over which design would be
   “best” and there is no way to predict what decisions such a discussion would lead to. This
   discussion should acknowledge the possibility that, under any of the scenarios, there is a
   possibility that no serious floods will occur and the adaptation will never be “used.” The


   91
     Given the previously noted uncertainties in the extent of the flooding impacts on surrounding land uses caused by the culvert, more weight was
   given to the analysis considering just the traffic impacts.




   U.S. Department of Transportation                                        87                                                   FHWA002738
                                                                                                                                  August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 456 of 534       PageID 3016
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   dialogue would no doubt be heavily shaped by local risk tolerance and other factors and may
   very well lead to a different decision than the one arrived at through this assessment.

   Step 11 – Plan and Conduct Ongoing Activities
   Regardless of which design option is chosen (if any), the effects of climate on the culvert cannot
   be expected to remain constant as has generally been assumed in the past. Thus, the climate
   stressors and the culvert’s performance should be monitored after the project is constructed (or it
   is determined that the existing culvert be left in place) and the effects on the culvert must be
   revisited and periodically assessed to determine if the culvert’s critical design thresholds are
   being reached. Such monitoring and periodic assessment can help indicate if it might be
   necessary to implement additional improvements, change design guidelines, and / or alter
   operation and maintenance practices.

   For a culvert, monitoring would consist primarily of keeping tabs on the most recent rainfall
   statistics (is rainfall becoming more frequent or intense or both?). Other questions a monitoring
   regime could help answer may include:

    Is land use within the drainage area becoming more impervious?
    Are storm water management facilities performing as expected?
    Is flooding becoming more frequent and widespread?
    Are there increased impacts (e.g., erosion) to the downstream channel or properties
     downstream from the culvert?

   Conclusions
   This case study has, using the General Process for Transportation Facility Adaptation
   Assessments, demonstrated how a large culvert can be analyzed for climate change impacts
   resulting from a projected increase in precipitation depths. Adaptation options were identified
   and tested using a benefit-cost framework. Ultimately, this information must be shared with local
   stakeholders and discussed before any locally preferred decisions can be made on what adaptive
   actions (if any) would be appropriate for the community.

   The process shown is broadly applicable to other large culverts across the country where use of
   24-hour duration precipitation projections, a standard climate model output, is appropriate. For
   smaller culverts where 24-hour projections may not be applicable, further research into the
   development of climate change IDF curves is recommended to aid in the translation of climate
   model outputs into inputs useful for engineering design.




   U.S. Department of Transportation                     88                                    FHWA002739
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24          Page 457 of 534            PageID 3017
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   4.4.2 Bridge Over Navigable Waterway Exposure to Sea Level Rise – The
         Cochrane-Africatown USA Bridge
   Introduction
   Sea level rise is a potential threat to coastal                       Case Study Highlights
   bridges of all types including non-navigable         Purpose: Evaluate whether sea level rise could impede
   bridges, navigable moveable bridges, and             the navigational clearance of the Cochrane-Africatown
                                                        USA Bridge.
   navigable non-moveable bridges. With sea
                                                        Approach: The sea level rise scenarios developed
   level rise, vertical clearances can be reduced       previously for this study were compared to site-specific
   to the point that navigation is impeded,             results from the USACE Sea-Level Change Curve
   corrosion may be enhanced, and in some               Calculator to demonstrate an alternative approach for
                                                        determining relative sea level rise for specific sites. Then,
   cases, the bridge itself (or its approaches)         the sea level rise was evaluated against the current
   may become permanently inundated. This               vertical clearance of the bridge to determine if minimum
   case study assesses whether a coastal bridge,        clearance requirements might be violated.
   the Cochrane-Africatown USA Bridge, could            Findings: Navigational clearance of the bridge will not be
                                                        affected under lesser sea level rise scenarios, but it
   limit navigation on the tidal Mobile River as        would be affected under the 6.6 foot (200 cm) sea level
   a result of projected sea level rise scenarios.      rise by 2100 scenario.
   The sea level rise analysis for the bridge was       Viable Adaptation Options:
   conducted using the 11-step General Process          x Restrict ship heights passing under that bridge, which
                                                           could affect the type of ports located on either side of
   for Transportation Facility Adaptation
                                                           the bridge
   Assessments and this serves as the organizing        x At end of bridge lifespan, replace with a higher bridge
   framework for this case study.                          or movable bridge
                                                        Other Conclusions: Since navigational clearance may not
   The analysis shows that projected sea level          be affected until 2100, Mobile has time to consider
   rise may present a navigation challenge at           adaptation options. Forward-looking planning on land-
   the Cochrane-Africatown USA Bridge in one            use might be part of the solution. If it is too costly to
                                                        replace the bridge, restricting the type of vessels that can
   of the three sea level rise scenarios tested.        pass under the bridge is a viable option. Doing so would
   However, any impediments to navigation are           change the types of facilities that could be situated
   not anticipated to occur until late in the           upriver over time, but the Mobile community has time to
                                                        adjust to such changes in land use.
   facility’s design life. Given this finding, no
   immediate adaptation actions are recommended for this facility to address sea level rise although
   the situation should continue to be monitored over time.

   Application of the General Process for Transportation Facility Adaptation Assessments
   Step 1 – Describe the Site Context
   The case study bridge, The Cochrane-Africatown USA Bridge, is located on the north side of the
   Mobile metropolitan area and carries Alternate US 90 over the tidally influenced Mobile River
   between Blakeley Island and the Magazine industrial area (see Figure 29). The bridge provides a
   link between the industrial land uses on Blakely Island and I-165. Alternate US 90 also functions
   as a bypass around downtown Mobile for travelers headed across Mobile Bay on I-10 (the




   U.S. Department of Transportation                     89                                          FHWA002740
                                                                                                      August 2014
Case 5:23-cv-00304-H                   Document 15-18        Filed 01/31/24        Page 458 of 534       PageID 3018
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

   “Bayway”) or US 90/98 (the “Causeway”) to / from points north along I-165, I-65, US 43, or US
   45.

   The Mobile River is an important navigable waterway used both by ocean-going vessels destined
   for the industrial area north of the bridge and barge traffic accessing the Tennessee-Tombigbee
   Waterway, a canal system that connects Mobile to interior Alabama and the Tennessee River
   system. It should be noted that there are no other bridge crossings that would act as an
   impediment to navigation on the Mobile River south of the case study bridge: this is the first
   bridge that has the potential to limit coastal navigation for large ocean-going ships (the I-10 and
   US 90 crossings to the south are tunnel crossings). A future I-10 bridge over the Mobile River is
   currently being studied. If built, sea level rise impacts to navigation on the Mobile River should
   be accounted for in its design.

              Figure 29: Location of the Cochrane-Africatown USA Bridge within the Mobile Metropolitan Area92


                                       Mobile River


                                 Blakeley Island




   Surrounding land uses to the Cochrane-Africatown USA Bridge are heavily industrial (see
   Figure 30).




   92
        Source of base map: Google Maps (as modified)




   U.S. Department of Transportation                             90                                    FHWA002741
                                                                                                        August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 459 of 534                  PageID 3019
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

                           Figure 30: Land Use in the Vicinity of the Cochrane-Africatown USA Bridge93




   Step 2 – Describe the Existing Facility
   The bridge that is the subject of this case study was completed and opened in 1991. The bridge is
   82.8 feet (25.2 meters) wide94 and approximately 7,291 feet (2,222 meters) long from its western
   base at a location between Tin Top Lane and Paper Mill Road and its eastern base on Blakeley
   Island. A total of 32 bents,95 each one assigned a unique identifying number, support the bridge
   from Bent 1 at the beginning of the ramp on the west end to Bent 32 on Blakeley Island. The
   case study analysis will focus on the portion of the bridge between Bents 16 and 17; this portion
   was chosen because the U.S. Coast Guard has enforced vertical clearance requirements for
   navigation on this portion of the bridge. Figure 31 highlights the relevant portion of the bridge in
   the plan (overhead) view and elevation (side) view; the same section is illustrated in a
   photograph in Figure 32.




   93
      Source of base map: Google Maps (as modified)
   94
      Width as measured to the outside faces of the parapets. The parapets are the outside walls on either side of a bridge that are designed to prevent
   vehicles from careening off the structure.
   95
      Bents, also known as piers, are the vertical columns supporting each bridge span along with the horizontal member, called a cap, which holds
   them together.




   U.S. Department of Transportation                                           91                                                    FHWA002742
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24               Page 460 of 534                  PageID 3020
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

     Figure 31: Plan and Elevation Views of the Cochrane-Africatown USA Bridge Showing the Section of Analysis96




                                                                                                                             Bent 17


                                  Bent 16


                                                                                                                   Bent 17
                             Bent 16




   96
      Source: USCG, 1985 (as modified). Note: All elevations shown in the image refer to mean sea level. Mean sea level is the average of the water
   elevations recorded at each hour of the day over the current National Tidal Datum Epoch. The tidal epoch is the specific 19-year period over
   which NOAA uses to obtain observations that are used to develop tidal statistics.




   U.S. Department of Transportation                                        92                                                   FHWA002743
                                                                                                                                  August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 461 of 534                  PageID 3021
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

                                       Figure 32: Image of the Cochrane-Africatown USA Bridge
                                      Showing the Section of Analysis between Bents 16 and 1797




                                                                                                       Bent 17
                                     Bent 16




   The span between Bents 16 and 17 is 780 feet (237.7 meters) long. The superstructure98 consists
   of two cable-stayed segmental concrete box girders99 (see Figure 33). Most of the bents in the
   study segment consist of two square concrete piles100 topped with a concrete pile cap.101 Bents
   16 and 17 constitute the main piers for the center span of the bridge and provide the support for
   two planes of high-tension steel cables. The bents extend 350 feet (106.7 meters) above mean
   low tide and the top of the footings for the bents are located 45 feet (13.7 meters) below mean
   low tide (see Figure 31). The U.S. Coast Guard bridge permit approved for the Cochrane-
   Africatown USA Bridge provides for a minimum 600 foot (182.9 meter) horizontal clearance
   between Bents 16 and 17 for passage of vessels where a minimum vertical clearance of 140 feet
   (42.7 meters) must be maintained between the bottom of the span and the mean high tide
   elevation.

   Note that the elevations provided in the U.S. Coast Guard permit seen in Figure 31 are in
   reference to mean sea level.102 No specific tidal epoch103 is given in the permit. For consistency
   within this report, all elevations within the text are provided in reference to the North American
   Vertical Datum of 1988 (NAVD88) datum:104 thus, the elevation values described in the text will
   not match the U.S. Coast Guard permit figures. With that in mind, the western and eastern spans
   have a bottom elevation of 145 and 145.3 feet (44.2 and 44.3 meters), respectively. The vertical
   clearance of 140 feet (42.7 meters) must be maintained between these spans and the mean high
   tide elevation of 1.6 feet (0.5 meters) as reported. The U.S. Coast Guard permit indicates a

   97
      Source: Volkert Engineering, Planning, and Environmental Consulting, 2013 (as modified)
   98
      The superstructure is the top part of the bridge and consists of the horizontal support girders, deck, and parapet walls preventing vehicles from
   falling off the structure.
   99
      Girders are the main horizontal supporting members of the bridge.
   100
       Piles are the vertical support structures extending from the bridge deck to the seabed below.
   101
       The pile cap is the horizontal member that ties together the vertical piles.




   U.S. Department of Transportation                                           93                                                    FHWA002744
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 462 of 534                  PageID 3022
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   provided mean high tide clearance of 143.3 feet (43.7 meters) at the western limit of the
   clearance envelope and 143.7 feet (43.8 meters) at the eastern limit of the clearance envelope.

                                   Figure 33: Image of Typical Bent Configuration for Bents 1 to 15
                                    and Bents 18 to 32 on the Cochrane-Africatown USA Bridge105




   Step 3 – Identify Climate Stressors That May Impact Infrastructure Components
   Sea level rise is the primary climate change related environmental factor considered in this study.
   Storm surge and high wind speeds may also be concerns for this facility. See Section 4.4.5 for a
   discussion of how a bridge can be analyzed for storm surge impacts coupled with sea level rise.

   Step 4 – Decide on Climate Scenarios and Determine the Magnitude of Changes
   The impacts of three potential global sea level rise values, based on projected climate changes,
   were considered for this case study. The values considered include:

    One foot (0.3 meters) of global sea level rise by 2050
    2.5 feet (0.8 meters) of global sea level rise by 2100
    6.6 feet (two meters) of global sea level rise by 2100
   The one and 2.5 foot (0.3 and 0.8 meter) values represent two points in time in an intermediate
   sea level rise scenario that was selected in the Climate Variability and Change in Mobile,
   Alabama report106 as the midrange of National Research Council estimates. The high projection
   of 6.6 feet (two meters) is derived from recent research indicating that the rates of sea level rise
   might actually be faster than initially thought based on a growing understanding of ice sheet
   melting dynamics; its use here illustrates an application of the precautionary principle whereby,

   102
       Mean sea level is the average of the water elevations recorded at each hour of the day over the current National Tidal Datum Epoch. The tidal
   epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.
   103
       The tidal epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.
   104
       A datum is a reference plane used as a starting point from which to measure elevations.
   105
       Source: Google Earth Street View
   106
       USDOT, 2012




   U.S. Department of Transportation                                         94                                                   FHWA002745
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                  Document 15-18               Filed 01/31/24   Page 463 of 534     PageID 3023
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   even though there is scientific uncertainty, plausible possibilities should be considered in order to
   prevent harm to the public. For more information on how these scenarios were developed, please
   refer to the Climate Variability and Change in Mobile, Alabama report.107

   In addition to global sea level rise values, local vertical land movements may have a significant
   exacerbating or mitigating effect on local sea level change at any given transportation facility.
   Considering vertical land movements allows one to determine local relative sea level rise, the
   factor most relevant to facility design. Vertical land movement at the Cochrane-Africatown USA
   Bridge is 0.03 inches per year (0.7 millimeters per year) of uplift as obtained from U.S. Geologic
   Survey (USGS) data.108 Thus, land movements at the site have a slight mitigating effect on
   global sea level rise. Relative sea level rise at the Cochrane-Africatown USA Bridge is therefore
   0.9 feet (0.27 meters) for the intermediate scenario in 2050, 2.3 feet (0.7 meters) for the
   intermediate scenario in 2100, and 6.4 feet (1.95 meters) for the high scenario in 2100.

   For locations outside the Mobile region, sea level rise scenarios can be generated using guidance
   developed by the U.S. Army Corps of Engineers (USACE).109 The latest version of this
   guidance was released with an associated on-line calculation tool called the Sea-Level Change
   Curve Calculator that links to key tidal stations where a sufficient period of record exists to
   support projections of sea level rise with consideration of vertical land movement. To illustrate
   its use, sea level projections from the tool were obtained and compared with the aforementioned
   projections developed for the Gulf Coast Study Phase 2. The calculations are based on the
   Dauphin Island tide gauge and assume a starting date of 2010. The only information required to
   be provided to the Sea-Level Change Curve Calculator is selection of the closest NOAA gauge
   which is provided as an option from several gauges around the country. Once this is selected the
   land subsidence rate of 0.05 inches per year (1.22 mm/yr) at Dauphin Island is automatically
   provided. The user then selects the end date, 2100, for the project and the option to include the
   NOAA curves. The computations were based on the USACE Guidance.110

   The results are presented in Figure 34 and include curves from (1) the USACE showing low,
   medium, and high estimates and (2) from NOAA showing low, low intermediate, high
   intermediate, and high estimates. The NOAA curves shown in Figure 34 are calculated based on
   criteria contained in a NOAA report111 presenting global sea level rise scenarios. These global
   sea level rise scenarios were developed for use in the National Climate Assessment112 draft
   report which indicates a one to four foot (0.3 to 1.2 meter) likely range for global sea level rise
   and a larger 0.7 to 6.6 foot (0.2 to two meter) range suggested for use in risk-based analyses (an
   approach consistent with that used in this report). Both the USACE and NOAA curves are based

   107
       USDOT, 2012
   108
       USDOT, 2012
   109
       USACE, 2013
   110
       USACE, 2011
   111
       Parris, Bromirski, Burkett, Cayan, Culver, and Hall, 2012
   112
       NOAA, 2013c




   U.S. Department of Transportation                                  95                              FHWA002746
                                                                                                       August 2014
Case 5:23-cv-00304-H                Document 15-18           Filed 01/31/24        Page 464 of 534          PageID 3024
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

   on the original parabolic equations presented in the National Research Council (NRC) report113
   on the engineering implications of responding to sea level rise. The equation includes a linear
   term that is used to simulate the current sea level trend and the nonlinear parabolic term which
   accounts for acceleration of the current sea level trend due to climate change projections. The
   differences between the USACE and NOAA curves stem from different sources and / or
   publication dates regarding global sea level rise projections which are key input parameters for
   the calculation. For further detail see the USACE guidance,114 NOAA report,115 and book by
   NRC.116

                  Figure 34: Comparison of Relative Sea Level Rise Projections for Dauphin Island, Alabama117




   As shown in Figure 34, the sea level rise projections generated for this study at the Cochrane-
   Africatown USA Bridge lie within the envelope of the USACE and NOAA curves at Dauphin
   Island. In addition, the 2050 one foot (0.3 meter) and 2100 2.5 foot (0.8 meter) projections for
   sea level rise agree with the trend of the USACE intermediate and NOAA intermediate low
   projections. The highest sea level rise projection identified for this study, 6.6 feet (two meters),
   lies slightly below the high projection for NOAA and about 1.2 feet (0.4 meters) above the high

   113
       NRC, 1987
   114
       USACE, 2013
   115
       Parris et al., 2012
   116
       NRC, 1987
   117
       USACE, 2013




   U.S. Department of Transportation                             96                                      FHWA002747
                                                                                                          August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 465 of 534       PageID 3025
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   projection from the USACE. Thus, the sea level rise projections for this study are consistent with
   both the USACE and NOAA guidance one might use to do adaptation studies in other coastal
   locations around the country. The three sea level rise values used in this study do not match
   exactly with the projections shown in Figure 34 because the most conservative and most extreme
   scenarios were not the ones selected for use in the Gulf Coast Study. Analysis of sea level rise
   impacts on the navigational clearance of bridge spans in other areas may choose to analyze the
   higher and lower bounds of sea level rise projections.

   Step 5 – Assess Performance of the Existing Facility
   The progression of sea level rise over the ensuing decades could present challenges for
   maintaining the required navigation allowances for the Cochrane-Africatown USA Bridge. Table
   18 shows the projected clearances at the western and eastern side of the navigation envelope.
   Given the required minimum vertical clearance of 140 feet (42.7 meters), global sea level rise in
   combination with vertical land movement does not violate the navigation requirements for the
   main span clearance limits in the year 2050 when there is a 1 foot (0.3 meter) rise or in the year
   2100 when there is a 2.5 foot (0.8 meter) rise. This is because the initial design provided an
   allowance above the 140 foot (42.7 meter) minimum requirement. However, global sea level rise
   will violate the permit requirement under the 6.6 foot (two meter) global sea level rise scenario
   for 2100. In this scenario, the vertical clearance near Bent 16 is only 137 feet (41.8 meters) and
   near Bent 17 is 137.3 feet (41.8 meters), well below the 140 foot (42.7 meter) minimum
   mandated in the U.S. Coast Guard permit.

   Step 6 – Identify Adaptation Option(s)
   No adaptations are required for the 2050 one foot (0.3 meter) and the 2100 2.5 foot (0.8 meter)
   global sea level rise scenarios. For the projected year 2100 6.6 foot (two meter) global sea level
   rise scenario, several adaptive design options to accommodate sea level rise for the Cochrane-
   Africatown USA Bridge were considered and are listed in Table 19 along with the pros and cons
   for each.

   It should be noted that any potential sea level rise issues on the Cochrane-Africatown USA
   Bridge will occur after the conclusion of its design life, which, assuming the typical 75 year
   lifespan for a bridge, ends in 2066 (although it is common for bridges in well-maintained
   condition to remain in service well past their designated design lives). Given this, it might very
   well be the case that a full replacement of the existing structure with a design that accounts for
   anticipated sea level changes will be a more cost-effective solution than retrofitting the existing
   structure.

   For bridges with navigable spans that might cause significant navigational impacts due to sea
   level rise during their design lives, future bridge rehabilitation efforts will need to consider
   significant modifications to reduce navigation clearance related impacts such as elevating the




   U.S. Department of Transportation                     97                                    FHWA002748
                                                                                                August 2014
Case 5:23-cv-00304-H                   Document 15-18                   Filed 01/31/24                 Page 466 of 534                  PageID 3026
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   deck. Investigation of how substructures can be extended, modified, or completely rebuilt will
   need to be studied at the time of rehabilitation on a case-by-case basis.

                           Table 18: Clearances for Navigation at the Cochrane-Africatown USA Bridge
                                             under Projected Sea Level Rise Values

                                                                                           Clearance Between Bottom
           Global Sea                  Relative Sea Level                             Slabs / Beams and Mean High Tide 119
           Level Rise                        Rise118
                                                                          West Side of Envelope                       East Side of Envelope
                                                                                  143.4 feet                                 143.7 feet
     Current Conditions                        None
                                                                                (43.7 meters)                              (43.8 meters)
       2050 - One Foot                       0.9 feet                             142.5 feet                                 142.8 feet
         (0.3 meters)                      (0.3 meters)                         (43.4 meters)                              (43.5 meters)
        2100 - 2.5 Feet                      2.3 feet                             141.1 feet                                 141.4 feet
         (0.75 meters)                     (0.7 meters)                         (43.0 meters)                              (43.1 meters)
        2100 - 6.6 Feet                      6.4 feet                            137.0 feet*                                137.3 feet*
         (2.0 meters)                      (2.0 meters)                         (41.8 meters)                              (41.8 meters)
   *Does not meet minimum vertical clearance requirement of 140 feet (42.7 meters)

   Step 7 – Assess Performance of the Adaptation Option(s)
   The performance of each of the adaptation options discussed across the three sea level rise values
   evaluated are discussed below:

    Option 1 maintains the existing bridge and therefore the 140 foot (42.7 meter) clearance
     requirement would not be met under the 2100 6.6 foot (two meter) scenario. Under this
     adaptation option, it would be accepted that vessel passage would be restricted to smaller
     vessels. This option would meet the requirements under the other sea level rise values tested.

    Option 2 would meet the U.S. Coast Guard permit requirements under the year 2100 6.6 foot
     (two meter) global sea level rise scenario and all the other sea level rise values tested.

    Option 3 would eliminate the bridge completely by replacing it with a tunnel, therefore the
     clearance requirements would be met under all sea level rise values investigated. However,
     this option is likely to be less desirable as it would eliminate the main route from hazardous
     materials to and from the port facility which was likely one of the primary purposes for
     construction of the Cochrane Africatown-USA Bridge.

    Option 4 would meet the U.S. Coast Guard permit requirements under the year 2100 6.6 foot
     (two meter) global sea level rise scenario and all the other sea level rise values tested but, due
     to the vulnerability of moveable bridges to power loss and damage from storms, this option is
     not likely to be chosen.


   118
       These values account for global sea level rise along with an estimated land movement uplift of 0.1 feet (three centimeters) in 2050 and 0.2 feet
   (6.1 centimeters) in 2100.
   119
       As reported in the Coast Guard permit diagram seen in Figure 31.




   U.S. Department of Transportation                                          98                                                    FHWA002749
                                                                                                                                     August 2014
Case 5:23-cv-00304-H             Document 15-18              Filed 01/31/24          Page 467 of 534          PageID 3027
                        Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                     Case Studies

                     Table 19: Adaptation Options Considered for the Cochrane-Africatown USA Bridge

        Possible
                                    Description                          Pros                          Cons
      Alternatives
                           x The existing bridge would
                             remain as is and marine          x No capital costs
   Restrict Marine           traffic would be limited to        associated with a large    x Restrictions placed on
   Traffic                   only those vessels whose           project undertaking          larger vessel classes
   (Option 1)                specific clearance
                             requirements would be            x No traffic outages
                             maintained
                           x Rebuild the upper portion
                             of the towers to
                             accommodate the higher                                        x Large project undertaking
                             profile while preserving the                                    with few comparable
                             stay cable angles so that the                                   examples
                             edge girders could be
   Raise the                 reused                           x Can elevate roadway to     x Traffic outages during
   Superstructure                                               meet 6.6 feet (two           construction
                           x Raise approach roadways to
   (Option 2)
                             meet the raised center
                                                                meter) sea level rise.     x Large capital and
                             span.                                                           maintenance costs

                           x Potentially reuse existing                                    x Lengthy project
                             approach spans, main span                                       development time
                             foundations and towers
                             below the roadway.
                                                                                           x Large capital and
                                                                                             maintenance cost
                                                                                           x Eliminates the only
                                                                                             roadway for hazardous
                                                              x Eliminates need for
   Replace the Bridge      x Eliminate the existing bridge                                   materials across the
                                                                navigational clearances
   with a Tunnel             and replace with tunnel                                         Mobile River as
                                                                under all sea level rise
   (Option 3)                crossing                                                        restrictions are in place
                                                                scenarios
                                                                                             for the I-10 and US 90
                                                                                             tunnels.
                                                                                           x Long period of traffic
                                                                                             disruption

                                                                                           x Vulnerabilities to loss of
   Retrofit or                                                                               power or damage to
   Replacement of                                             x Involves work only           mechanical systems
                           x Replace or retrofit center
   Fixed Span with                                              within center span         x Interruption to highway
                             span of bridge with a
   Moveable Bridge
                             moveable span                    x Allows larger vessels        traffic
   Center Span                                                  passage under bridge       x FHWA policy is to provide
   (Option 4)                                                                                fixed bridges wherever
                                                                                             practicable




   U.S. Department of Transportation                            99                                        FHWA002750
                                                                                                           August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 468 of 534       PageID 3028
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   Step 8 – Conduct an Economic Analysis
   An economic analysis was not included in this case study but is recommended for facility-level
   adaptation assessments. See Section 4.4.1 for an example of how an economic analysis was
   applied to a culvert exposed to changes in precipitation due to climate change.

   Step 9 – Evaluate Additional Decision-Making Considerations
   Other important factors that will likely influence whether the Cochrane-Africatown USA Bridge
   is adapted to accommodate sea level rise include:
    How existing or proposed port facilities utilizing the Mobile River to the north of the
     Cochrane-Africatown USA Bridge decide to adapt to sea level rise. If these facilities are
     compromised by sea level rise (or even if they are not), one broader-focused adaptation
     option might be to consider locating or relocating these facilities south of the bridge thereby
     reducing the navigation height requirements for the structure such that it only needs to
     accommodate barge traffic.
    How vehicle traffic volumes on the bridge evolve over time through shifts in population, land
     uses, or loss of service on other major roadways. Increased traffic volumes greater than the
     current service level design might provide added impetus to making changes to the bridge
     whereby sea level rise adaptations could be worked in. On the other hand, if sea level rise
     negatively affects adjoining land use to the point where they are abandoned, the need for the
     bridge within the larger transportation network may be diminished. In some cases, not likely
     in this one, a bridge may no longer be necessary if the land uses it serves are no longer viable
     due to an increase in sea levels.
    Potential local concerns from adjacent neighborhoods in response to plans for a higher
     bridge.

   Step 10 – Select a Course of Action
   In the case of this bridge, given the scenarios identified, no adaptive actions are recommended at
   this time. As sea level rise is a relatively gradual phenomenon (even considering its projected
   acceleration after mid-century) time will allow for continual evaluation of changes in actual sea
   levels as they relate to the curves shown in Figure 34. As 2100 approaches, it might be that the
   actual trend line is closer to the 2.5 foot (0.8 meter) scenario rather than the 6.6 foot (two meter)
   scenario and no adaptations will be required. In the case of the Cochrane-Africatown USA
   Bridge, it makes little sense to re-design the facility for the 6.6 foot (two meter) scenario until
   more information supports or conflicts this trend line. If the projections bear out as shown in
   Figure 34, this might become apparent by mid-century and a decision should be made then on
   how to proceed.

   Step 11 – Plan and Conduct Ongoing Activities
   Since whether sea level rise will follow the upper trend line that requires adaptation is highly
   uncertain at this time and sea level rise is gradual, the key recommendation for this analysis is to
   monitor trends in actual sea levels over time in the Mobile region and compare them to the




   U.S. Department of Transportation                    100                                    FHWA002751
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 469 of 534       PageID 3029
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   projected sea level rise scenarios in Figure 34. This ongoing evaluation will inform conversations
   about the likely trends and may lead to identification of inflection points where trend analysis
   may indicate that the threat is more or less severe than projected. Local officials may wish to
   identify a “trigger threshold” for actual sea level change (informed by the sea level rise curves
   and the projected time required to plan, design, finance, and construct a chosen adaptation
   option). The trigger level would be less than the level of change required to violate the U.S.
   Coast Guard 140 foot (42.7 meter) requirement such that, when the trigger threshold is crossed,
   planning and financing activities for adapting the facility need to commence.

   Conclusions
   This case study has, using the General Process for Transportation Facility Adaptation
   Assessments, demonstrated how a bridge can be analyzed for sea level rise impacts on
   navigation. Navigation requirements for the Cochrane-Africatown USA Bridge were violated
   under only one of the climate scenarios tested; the scenario projecting 6.6 feet (two meters) of
   sea level rise by 2100. Several adaptation concepts were discussed for this scenario. Ultimately,
   this information must be shared with local stakeholders and discussed before any locally
   preferred decisions can be made on what adaptive actions would be appropriate for the
   community and when would be the best time to implement them.

   The process shown is broadly applicable to bridges across the country where sea level rise has an
   influence. Bridges over navigable channels would need to be investigated for clearance
   reductions due to sea level rise and determine if any remedial action would need to be
   implemented. Ultimately, this effort is best handled at a planning level in a coordinated manner
   amongst all bridges along a shipping channel: it makes little sense to adapt one bridge to
   accommodate sea level rise if other bridges along the channel are not adapted as well and may
   impede access. It is recommended that such analyses be undertaken for navigable waterways
   across the country that are subject to sea level rise and have bridges that may impede maritime
   commerce.




   U.S. Department of Transportation                    101                                    FHWA002752
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24         Page 470 of 534           PageID 3030
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   4.4.3 Bridge Approach Embankment Exposure to Sea Level Rise – US 90/98
         Tensaw-Spanish River Bridge (Western Approach)
   Introduction
   Sea level rise, irrespective of storm surge, is                      Case Study Highlights
   a potential threat not only to low-lying             Purpose: Evaluate whether a tidally-influenced bridge
   coastal roadways at risk of permanent                approach embankment can withstand the increased
   inundation but also to more elevated                 heights of waves due to sea level rise. Overtopping of
                                                        roadway and erosion impacts were considered.
   roadways on embankments in the coastal
                                                        Approach: The height at which waves would impact the
   zone where increased wave heights and                embankment was calculated to determine how high the
   energies impacting embankments can cause             riprap slope protection would need to be, and then
   scouring and erosion. Continual inspection           evaluated against the estimated size of the current riprap
                                                        slope protection.
   and maintenance is required to prevent the
                                                        Findings: If adequately maintained, the current riprap
   scouring and erosion that can result in              slope protection would likely provide adequate
   significant loss of embankment material, loss        protection from wave impacts under the 30 cm and 75
   of pavement sections, or ultimately, the             cm by 2050 sea level rise scenarios, although temporary
                                                        inundation of the approach road could occur. Under the
   complete breach of a roadway embankment.             200 cm by 2100 scenario, the existing riprap protection is
                                                        not adequate to protect against wave impacts, and
   This case study assesses whether a tidally           permanent overtopping of the roadway could occur.
   influenced approach roadway leading to the           Viable Adaptation Options:
   west abutment of the US 90/98 Tensaw-                     x Ensure existing riprap protection is well
   Spanish River Bridge can withstand changes                     maintained
   in wave energy impacts as a result of various             x Extend the current riprap slope protection
                                                        x Raise the elevation of the riprap slope protection,
   projected sea level rise scenarios.
                                                           approach, and bridge
   Specifically, the effect of increased wave           Other Conclusions: Problems associated with sea level
   heights from sea level rise on required              rise would likely occur late in the design life of the
   embankment protection and roadway                    approach. Therefore, it may be cost-effective to wait
                                                        until a replacement is due before making major
   overtopping are studied. This case study does
                                                        structural changes.
   not analyze increased wave heights in
   combination with storm surge impacts. A complete analysis for embankment vulnerability would
   require analysis of both wave impacts and storm surge impacts. In addition, this study only
   analyzes a portion of the approach road to the embankment. Potential flooding as a result of sea
   level rise with or without storm surges should also be analyzed to determine if roadway
   inundation does occur and to what extent.

   The assessment, limited as it was, determined that one of the three sea level rise scenarios tested
   would lead to permanent inundation of the approach roadway and would require adaptation
   actions such as raising the embankment elevation and enhancing the rip-rap protection measures
   (the existing roadway elevation and rip-rap measures were adequate for the other two sea level
   rise scenarios). However, as sea level rise is a gradual phenomenon and two of the three




   U.S. Department of Transportation                    102                                        FHWA002753
                                                                                                    August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 471 of 534       PageID 3031
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   scenarios do not result in permanent inundation, it is recommended that no immediate action be
   taken towards this end and that the situation be monitored.

   Although this case study focuses on an embankment approach to a bridge abutment with open
   water on both sides, the general analytical methods demonstrated here can also be applied to
   other coastal embankments, including causeways, coastal roadway embankments parallel to
   shorelines, or barrier island roads that are (or may become) subject to regular wave impacts due
   to increases in sea levels. Wave impact analysis at bridge embankments is a particularly
   complicated process, and it is recommended that it be performed by a qualified coastal engineer.
   The serviceable life of the facility should also be considered when analyzing impacts of sea level
   rise forecasts in the future. Comparing the expected remaining life of a bridge to the projected
   sea level elevation can help planners develop their approach to adaptation as discussed in Step 6,
   “Identify Adaptation Option(s)”, below.

   The sea level rise and wave analysis for the embankment was conducted using the 11 step
   General Process for Transportation Facility Adaptation Assessments and this serves as the
   organizing framework for this case study.

   Application of the General Process for Transportation Facility Adaptation Assessments
   Step 1 – Describe the Site Context
   The case study approach roadway is located on Blakeley Island, just east of downtown Mobile,
   and acts as the western landing point for a bridge carrying US routes 90 and 98 (Battleship
   Parkway) over the mouth of the Tensaw and Spanish Rivers (see Figure 35). The bridge
   represents the beginning of the Battleship Parkway Causeway (the “Causeway”), a combination
   of causeways and bridges allowing US 90/98 to traverse the nearly eight mile (12.5 kilometer)
   wide tidally influenced Mobile Bay. The Causeway was the first route across the Bay and was
   followed later by the bridge carrying the Jubilee Parkway (I-10), commonly referred to as the
   “Bayway.” Today, the Causeway provides an important alternate route across Mobile Bay in the
   event of an incident that limits the use of I-10. It is also a key link serving the USS Alabama
   Battleship Memorial Park and commercial businesses on the islands along the Causeway. The
   subject approach roadway is located on the northern end of the Battleship Memorial Park, about
   one mile (1.6 kilometers) east of the interchange between US 90/98 and I-10 (Exit 27).




   U.S. Department of Transportation                    103                                    FHWA002754
                                                                                                August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 472 of 534                 PageID 3032
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

         Figure 35: Location of the US 90/98 Tensaw-Spanish River Bridge within the Mobile Metropolitan Area120




   Step 2 – Describe the Existing Facility
   The US 90/98 Tensaw-Spanish River Bridge has separate eastbound and westbound spans: the
   westbound (northern) span was built in 1963 and the eastbound (southern) span was built in
   1995. The bridge is 42.8 feet (13 meters) wide121 and approximately 1,426 feet (435 meters) long
   from the western abutment on Blakeley Island to the eastern abutment. A total of 12 bents,122
   each one assigned a unique identifying number, support the bridge. The bents are numbered
   sequentially from Bent 1 at the west abutment to Bent 12 at the east abutment.

   An aerial and topographic view of the western approach roadway and abutment can be seen in
   Figure 36 and an oblique aerial photo in Figure 37. A plan (overhead) view from ALDOT can be
   seen in Figure 38, while profile (side) views are shown in Figure 39 and Figure 40.




   120
       Source of base map: Google Maps (as modified)
   121
       Width as measured to the outside faces of the parapets. The parapets are the outside walls on either side of a bridge that are designed to
   prevent vehicles from careening off the structure.
   122
       Bents, also known as piers, are the vertical columns supporting each bridge span along with the horizontal member, called a cap, which holds
   them together.




   U.S. Department of Transportation                                        104                                                   FHWA002755
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                 Document 15-18                   Filed 01/31/24               Page 473 of 534                 PageID 3033
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

    Figure 36: Aerial Image and Topography of the West Abutment of the US 90/98 Tensaw-Spanish River Bridge123




                                       Figure 37: Oblique Aerial Image of the South Side of the
                                      US 90/98 Tensaw-Spanish River Bridge West Abutment124




   123
       Source of base map data: City of Mobile GIS. Note: All elevations shown are in relation to the North American Vertical Datum of 1988
   (NAVD88).
   124
       Source of image: Google Maps




   U.S. Department of Transportation                                      105                                                  FHWA002756
                                                                                                                                August 2014
Case 5:23-cv-00304-H                 Document 15-18                   Filed 01/31/24               Page 474 of 534                 PageID 3034
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

                                         Figure 38: Plan of the West Abutment of the
                             US 90/98 Tensaw-Spanish River Bridge Showing the Area of Analysis125




   125
       Source: ALDOT, 1994 (as modified). Note: Figure obtained from the original 1995 construction drawings. All elevations shown refer to mean
   sea level. Mean sea level is the average of the water elevations recorded at each hour of the day over the current National Tidal Datum Epoch.
   The tidal epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.




   U.S. Department of Transportation                                      106                                                  FHWA002757
                                                                                                                                August 2014
                                                    Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                                 Case Studies

                                   Figure 39: Profile of the Western Approach Roadway to the US 90/98 Tensaw-Spanish River Bridge126
                                                                                                                                                                                                       Case 5:23-cv-00304-H
                                                                                                                                                                                                       Document 15-18
                                                                                                                                                                                                       Filed 01/31/24
                                                                                                                                                                                                       Page 475 of 534




126
    Source: ALDOT, 1994 (as modified). Note: Figure obtained from the original 1995 construction drawings. All elevations shown refer to mean sea level. Mean sea level is the average of the water
elevations recorded at each hour of the day over the current National Tidal Datum Epoch. The tidal epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to
develop tidal statistics.
                                                                                                                                                                                                       PageID 3035




                           U.S. Department of Transportation                                        107                                                     August 2014              FHWA002758
                                                    Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                                 Case Studies

                                                     Figure 40: Plan and Elevation of US 90/98 Tensaw-Spanish River Bridge127
                                                                                                                                                                                                          Case 5:23-cv-00304-H
                                                                                                                                                                                                          Document 15-18
                                                                                                                                                                                                          Filed 01/31/24
                                                                                                                                                                                                          Page 476 of 534




127
    USCG, 1995. Note: All elevations shown refer to mean sea level. Mean sea level is the average of the water elevations recorded at each hour of the day over the current National Tidal Datum Epoch.
The tidal epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.
                                                                                                                                                                                                          PageID 3036




                           U.S. Department of Transportation                                        108                                                     August 2014              FHWA002759
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 477 of 534                  PageID 3037
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

   The case study analysis will focus on wave impacts on the western approach roadway to the
   bridge, specifically the south side of the embankment as this is the location susceptible to wind-
   generated wave impacts. The west embankment of the Tensaw-Spanish River Bridge extends
   approximately 300 feet (91 meters) westward from the water’s edge under the span. This studied
   segment of the bridge approach is highlighted in the plan view of the structure shown in Figure
   38 and the elevation shown in Figure 39.

   The approach roadway in the study area begins at an elevation of 5.9 feet128 (1.8 meters),
   approximately 725 feet (221 meters) west of the abutment. The roadway increases in elevation as
   it reaches the bridge. The western end of the eastbound span is at an elevation of 20.9 feet (6.4
   meters) and rises at a grade of 3.1% towards the center of the span (see Figure 39). The south
   side of the west abutment slopes down to a bulkhead with the top at an approximate elevation of
   5.5 feet (1.7 meters). The maximum slope of the southern embankment was found to be 4
   horizontal to 1 vertical. The south side of the west approach roadway and abutment currently is
   reinforced with riprap129 revetment130 with a D50131 of approximately 15 inches (38.1 centimeters)
   in size and a thickness of 3 feet (0.9 meters). The elevation of the seabed of Mobile Bay directly
   in front of the abutment is -0.7 feet (-0.2 meters).

   Step 3 – Identify Climate Stressors That May Impact Infrastructure Components
   Changes in wave impacts due to sea level rise are the primary climate change related
   environmental factors considered in this study. However, sea level rise and its saturation effect
   on soil stability above the current sea level elevation should be a consideration in the design of
   future facilities and the inspection of existing facilities. Storm surge based erosion and scour at
   the bridge abutment is another key environmental factor that should be considered in the design
   and protection of the approach roadway. Section 4.4.4 of this report provides a detailed study of
   this climate stressor for the same case study bridge abutment.

   Step 4 – Decide on Climate Scenarios and Determine the Magnitude of Changes
   Three sea level rise values were considered for this case study based on projected climate
   changes and land movements in Mobile: one foot (0.3 meters), 2.5 feet (0.8 meters), and 6.6 feet
   (two meters). The one foot (0.3 meter) scenario is projected to occur around 2050 while the other
   two scenarios capture the range of possible future changes by 2100 (uncertainty on sea levels
   increases further into the future). For more information on how these scenarios were developed,
   please refer to the Climate Variability and Change in Mobile, Alabama report.132 See Step 4 in


   128
       All elevations in the text of this document are in NAVD88.
   129
       Riprap consists of loose stone placed in a manner to provide erosion protection or armoring over a soil area.
   130
       Revetments are, “a layer or facing of rock, dumped or hand-placed to prevent erosion, scour, or sloughing of a structure or embankment”
   (FHWA, 1989).
   131
       Dx denotes rock gradation percentages for which the distribution of individual stones will have diameters of X percentage of the sample batch
   smaller than the stated measurement value. For example, for D50 = 10 inches (254 millimeters), 50% of the rocks in the batch will have diameters
   smaller than 10 inches (254 millimeters) and 50% will have diameters greater than 10 inches (254 millimeters).
   132
       USDOT, 2012




   U.S. Department of Transportation                                        109                                                   FHWA002760
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 478 of 534                  PageID 3038
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   Section 4.4.2 for a discussion of how sea level rise scenarios can be generated for locations
   outside of the Mobile region.

   The revetment riprap size and location required to protect an approach roadway against wave
   impacts are determined by the wave heights. These may be a combination of local wind-
   generated waves and ocean waves based on the amount of wave energy and associated wave
   height remaining after the wave transformation processes between the coast and the site’s
   location within the bay. The largest waves that can impact the embankment may be limited by
   the available water depth directly in front of the embankment. This wave height, known as the
   depth-limited wave height, will likely increase as sea levels rise, resulting in deeper water that is
   capable of sustaining larger waves. During long term sea level rise, sedimentation could preclude
   the development of significantly deeper water depths at a given location, but for this analysis it is
   assumed that water depth increases with sea level rise.

   As water depth increases there may also be a point at which the depth no longer limits wave
   height at the structure. This could be the case at a particular structure if the design wave height is
   less than the depth-limited wave height condition. Wave heights are primarily dependent on
   water depth, wind speed, and fetch.133 In the open ocean or under surge conditions, water depth
   may increase to a point where the wind speed and fetch under a given design scenario are the
   limiting factors instead of the depth-limited wave conditions. In these conditions, design wave
   heights should either be calculated using guidance from the Coastal Engineering Manual134 or
   determined through detailed modeling. For this analysis, it is assumed depth-limited wave height
   conditions prevail for the various sea level rise scenarios considered.

   For this study, a comparison of the riprap slope protection required to protect against depth-
   limited waves was made for current conditions along with the three sea level rise values
   previously discussed. Depth-limited, wind-generated waves without storm surge influences were
   chosen for this analysis to provide a clear view on how sea level rise can affect the magnitude of
   wave impacts without coupling them with other factors such as storm surges. A depth-limited
   wave was chosen because they are the largest waves that can occur at a location for a given depth
   of water. For this study, two types of depth-limited wave heights were calculated: (1) breaking
   wave heights detailing the highest point a wave reaches prior to breaking and (2) the significant
   wave height135 of incident waves at the toe of a structure. The impact of sea level rise on the
   depth-limited wave heights in front of the west approach roadway of the Tensaw-Spanish River
   Bridge can be found in Table 20.




   133
       FHWA, 2004. Fetch refers to the area over water where the wind is unobstructed with fairly uniform speed and direction.
   134
       USACE, 2012
   135
       Significant wave height is the average height of the one-third largest waves for a specific set of wind, fetch and water depth conditions.




   U.S. Department of Transportation                                          110                                                     FHWA002761
                                                                                                                                       August 2014
Case 5:23-cv-00304-H                  Document 15-18                  Filed 01/31/24                Page 479 of 534                 PageID 3039
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

                               Table 20: Sea Level Rise Impacts on Depth-Limited Wave Heights
                     along the Western Approach Roadway to the US 90/98 Tensaw-Spanish River Bridge

                                                                  Water Depth in               Depth-Limited                Depth-Limited
                                   MHW Elevation 136                Front of                   Breaking Wave               Significant Wave
   Sea Level Rise                          Feet                   Embankment                      Height137                    Height138
                                         (Meters)                       Feet                         Feet                         Feet
                                                                      (Meters)                     (Meters)                     (Meters)
                                             2.0                         2.7                          2.1                           1.6
   None
                                            (0.6)                       (0.8)                        (0.6)                         (0.5)
                                             3.0                         3.7                          2.8                           2.2
   One foot (0.3 Meter)
                                            (0.9)                       (1.1)                        (0.9)                         (0.7)
                                             4.5                         5.2                          4.0                           3.1
   2.5 Foot (0.8 Meter)
                                            (1.4)                       (1.6)                        (1.2)                         (0.9)
                                             8.6                         9.3                          7.2                           5.6
   6.6 Foot (2.0 Meter)
                                            (2.6)                       (2.8)                        (2.2)                         (1.7)



   Step 5 – Assess Performance of the Existing Facility
   The progression of sea level rise over the next several decades and its impact on sustaining taller
   waves could present challenges for maintaining the functionality of the roadway embankment.
   To design for riprap slope protection, the size of the stone used for protection was determined.
   Then, the height at which the crashing waves impact the embankment was calculated to
   determine how high the slope protection needs to be.

   Riprap Slope Protection Sizing

   For the purpose of this study, the size of the riprap slope protection required to armor against
   taller waves was analyzed. In addition, the height of wave run-up along the embankment was
   analyzed under each scenario. Specifically, for each of the three sea level rise values along with
   current conditions, the medium mass of rock (M50)139 required to withstand wave impacts was
   determined using the Hudson equation140 from the U.S. Army Corps of Engineers (USACE)
   Coastal Engineering Manual.141 The Hudson equation is as follows:

                                   ߩௌ ‫ ܪ‬ଷ
              ‫ܯ‬ହ଴ ൌ                 ଷ
                            ߩ
                        ‫ܭ‬஽ ቀߩ ௌ െ ͳቁ ܿ‫ߙݐ݋‬
                                 ௐ


   136
       Mean High Water (MHW) is the average of all high tide elevations during the day over the current National Tidal Datum Epoch. The tidal
   epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics. The MHW elevation
   was taken from the ALDOT bridge plans (ALDOT, 1994) and adjusted to the NAVD88 vertical datum.
   137
       Breaking wave heights are calculated as 78% of the water depth directly in front of the study area (USACE, 2002).
   138
       Significant wave heights are calculated as 60% of the water depth at the toe of the structure (USACE, 2002).
   139
       The medium mass of rock refers to the average riprap stone size required to provide armoring for slope stability.
   140
       Hudson, 1974
   141
       USACE, 2002




   U.S. Department of Transportation                                       111                                                  FHWA002762
                                                                                                                                 August 2014
Case 5:23-cv-00304-H                   Document 15-18                 Filed 01/31/24                Page 480 of 534                 PageID 3040
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

                         Where,
                         ‫ܪ‬      Characteristic wave height142
                         ‫ܯ‬ହ଴ Medium mass of rocks
                         ߩௌ     Mass density of rocks143
                         ߩௐ     Mass density of water144
                         ߙ      Slope angle145
                         ‫ܭ‬஽     Stability coefficient (a value of two for this case study) 146

   Once the mass of rock was determined, the equivalent cube length of rock, which is the
   minimum size of rock required to provide armor slope stability, was calculated. The equivalent
   cube length of rock was determined using the following equation:147
                                   ଵ
                      ‫ܯ‬ହ଴ ൗଷ
              ‫ܦ‬௡ହ଴ ൌ ൬    ൰
                       ߩௌ

                         Where,
                         ‫ܦ‬௡ହ଴ Equivalent cube length of median rock
                         ‫ܯ‬ହ଴ Medium mass of rocks
                         ߩௌ     Mass density of rocks148

   Table 21 provides the standard riprap class sizes from ALDOT’s Standards and Specifications
   for Highway Construction. Class sizes from this table are chosen based upon the medium mass
   and equivalent cube length of rock calculated. Table 22 provides a summary of the required
   mass, equivalent cube length, and selected riprap class for wave impacts for depth-limited
   breaking waves under current conditions and the three sea level rise scenarios at the
   embankment.

   Under current conditions, the riprap size required to provide slope protection is Class 1, the
   smallest size provided in Table 21. The current riprap slope protection at the site is estimated to
   be Class 3. Under the three sea level rise scenarios, as the depth-limited breaking wave height
   increases, the class of riprap slope protection needed increases as well. See Table 21.




   142
       The characteristic wave height is the depth-limited breaking wave height for the purposes of this study.
   143
       Assumed to be 165 pounds per cubic foot (2,643 kilograms per cubic meter) for this case study
   144
       64 pounds per cubic foot (one tonne per cubic meter)
   145
       14° based on a 4/1 horizontal to vertical slope
   146
       Based on rough, angular stone for breaking waves where characteristic wave height is equal to H 1/10 wave height (USACE, 1984)
   147
       Hudson, 1974
   148
       Assumed to be 165 pounds per cubic foot (2.6 tonnes per cubic meter) for this case study.




   U.S. Department of Transportation                                       112                                                  FHWA002763
                                                                                                                                 August 2014
Case 5:23-cv-00304-H                     Document 15-18                   Filed 01/31/24                Page 481 of 534                  PageID 3041
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                            Case Studies

                                                   Table 21: ALDOT Standard Riprap Classes149

                                   Weight Range – D10 to D90                                                  D50Size
     Riprap Class                             Pounds                                      Pounds                                 Inches
                                            (kilograms)                                 (kilograms)                           (millimeters)
                                              10 – 100                                        50                                     10
              1
                                             (4.5-45.4)                                     (22.7)                                 (254)
                                              10 – 200                                        80                                     12
              2
                                             (4.5-90.7)                                     (36.3)                                 (305)
                                              25 – 500                                       200                                     15
              3
                                             (11.3-227)                                     (90.7)                                 (381)
                                            50 – 1,000                                       500                                     22
              4
                                            (22.7-454)                                      (227)                                  (559)
                                            200 – 2,000                                     1,000                                    28
              5
                                             (227-907)                                      (454)                                  (711)


                             Table 22: Revetment Riprap Size Calculation Results to Withstand Wave
                     Impacts at the Western Approach Roadway to the US 90/98 Tensaw-Spanish River Bridge

                                     Depth-Limited Breaking            Medium Mass of Rocks,             Equivalent Cube Length
     Projected Sea Level                Wave Height, H                         M50                            of Rocks, D50                 Riprap
            Rise                                 Feet                            Pounds                            Inches                    Class
                                               (Meters)                        (Kilograms)                      (Millimeters)

                                                  2.1                               46                                 8
   None                                                                                                                                       1
                                                 (0.6)                            (21.0)                             (203)
   One foot (0.3 Meter),                          2.8                              121                                 11
                                                                                                                                              2
   Yr. 2050                                      (0.9)                            (54.9)                             (279)
   2.5 Foot (0.8 Meter),                          4.0                               340                                15
                                                                                                                                              3
   Yr. 2100                                      (1.2)                            (154.3)                            (381)
   6.6 Foot (2.0 Meter),                          7.2                              1,971                               27
                                                                                                                                              5
   Yr. 2100                                      (2.2)                            (894.0)                            (686)



   Wave Run-Up Calculations for Slope Protection

   The next portion of the case study involves determining the height at which protection is needed
   to withstand wave impacts. Wind-generated waves and their associated peak wave periods150
   cause waves to break on sloping structures. The heights of the embankment that are susceptible
   to the crests and troughs of breaking waves are known as run-up (ܴ௨ ) and run-down (ܴௗ )
   heights, respectively. For the purposes of this case study, run-down and wave impacts to the toe

   149
         ALDOT, 2012
   150
         Peak wave periods refer to the time period between the most energetic waves in the total wave spectrum at a specific point.




   U.S. Department of Transportation                                           113                                                     FHWA002764
                                                                                                                                        August 2014
Case 5:23-cv-00304-H                Document 15-18        Filed 01/31/24        Page 482 of 534      PageID 3042
                         Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                      Case Studies

   of the embankment were not factored in because of the presence of an existing bulkhead. In
   cases where a bulkhead is not present, run-down and toe impacts would need to be calculated to
   determine the length down the embankment slope that protection would be needed.

   Run-up and run-down are dependent on surf-similarity pattern or the Iribarren number151 (ξ)
   which identifies the type of breaking wave. Breaking wave types identified through calculation
   of the Iribarren number are illustrated in Figure 41.

                               Figure 41: Types of Breaking Waves on an Impermeable Slope152




   For the purposes of this study, irregular wave types were selected to represent a natural sea state
   with variability as opposed to a “monochromatic” (i.e., regular) wave pattern. As the Iribarren
   number increases, wave run-up height also increases. For example, “surging” waves, with an
   Iribarren number greater than 3.5, would generate higher run-up values at a particular
   embankment than the other wave types shown in Figure 41.

   For irregular waves, the Iribarren number is calculated as shown in the following equation:153
                       ߙ
             ߦ௢௠ ൌ
                       ඥ‫ݏ‬௢௠



   151
       Battjes, 1974
   152
       USACE, 2002 (Table VI-5-1)
   153
       USACE, 2002




   U.S. Department of Transportation                         114                                   FHWA002765
                                                                                                    August 2014
Case 5:23-cv-00304-H                Document 15-18                Filed 01/31/24              Page 483 of 534                PageID 3043
                          Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                       Case Studies

                       Where,
                       ߦ௢௠ Iribarren number for mean wave period
                       ߙ      Slope angle154
                       ‫ݏ‬௢௠ Mean wave steepness for mean wave period

   To calculate the Iribarren number, the mean wave steepness was first calculated. The mean wave
   steepness is the ratio between the depth-limited significant wave height and the mean wave
   length and can be determined through the following formulae:

                       ‫ܪ‬ௌ             ‫ܪ‬
             ‫ݏ‬௢௠ ൌ       ൗ‫ ܮ‬ൌ ʹߨൗ݃  ൈ ௌൗܶ ଶ
                           ௢௠             ௠

                       Where,
                       ‫ݏ‬௢௠ Mean wave steepness
                       ‫ܪ‬ௌ     Depth-limited significant wave height
                       ‫ܮ‬௢௠ Mean wave length
                       ݃      Acceleration due to gravity155
                       ܶ௠     Mean wave period (ൌ ͲǤͺ͹ ൈ ܶ௣ )
                              Where,
                              ܶ௣     Wave period corresponding to the peak of the wave spectrum156

   Calculation of the peak wave periods is described in detail in Part II-2-2 of the Coastal
   Engineering Manual.157 The goal of this study is to evaluate the wave impact with various SLR
   scenarios. The wind-induced wave condition is considered the controlling scenario for design of
   the revetment as it produces a more erosive state than typical waves which would not be
   expected to be the controlling conditions for this specific case. For this study, the peak wave
   period was obtained from the Steady State Spectral Wave (STWAVE) model results for storm
   surge related wave conditions, since standalone modeling of extreme wind event wave
   conditions was not modeled for non-surge storm conditions as part of this study. The storm surge
   scenario used to obtain the peak wave period was the Hurricane Katrina Base Case Scenario as
   detailed in Section 4.4.4 . The storm surge peak wave period was selected for this study since
   waves at this location were depth-limited during the surge, which parallels the assumptions of
   depth limited wave for the non-surge extreme wind conditions. If wave modeling data is not
   available, the peak wave period would need to be calculated in accordance with the Coastal
   Engineering Manual.158



   154
       14° based on 4/1 horizontal to vertical slope
   155
       32.2 feet per second squared (9.8 meters per second squared)
   156
       This period is the time between peak waves of the wave spectrum (derived from the STeady State spectral WAVE model [STWAVE]
   employed on this project).
   157
       USACE, 2002
   158
       USACE, 2002




   U.S. Department of Transportation                                   115                                               FHWA002766
                                                                                                                          August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 484 of 534                  PageID 3044
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

   Once the Iribarren number is calculated, determining the wave run-up height is the next step of
   the process. The wave run-up value at the two percent probability of exceedance level (ܴ௨ଶΨ ) on
   an impermeable rock slope159 was calculated using the following equation:160

              ܴ௨ଶΨ    ‫ ܣ‬ൈ ߦ௢௠ ݂‫ͳݎ݋‬ǤͲ ൏ ߦ௢௠ ൑ ͳǤͷ
                   ൌ൜                                              ൠ
               ‫ܪ‬ௌ     ‫ܤ‬ሺߦ௢௠ ሻ஼ ݂‫ߦݎ݋‬௢௠ ൐ ͳǤͷ

                         Where,

                         ܴ௨ଶΨ Wave run-up value at the two percent probability of exceedance level
                         ‫ܪ‬ௌ    Depth-limited significant wave height
                         ߦ௢௠ Iribarren number for mean wave period
                         ‫ܣ‬ଶΨ ൌ ͲǤͻ͸
                         ‫ܤ‬ଶΨ ൌ ͳǤͳ͹
                         ‫ܥ‬ଶΨ ൌ ͲǤͶ͸

   The A2%, B2%, and C2% values are coefficients that vary based upon the permeability of the
   embankment slope. For various slope types, the coefficients can be determined using Figure VI-
   5-11 and Table VI-5-5 in the Coastal Engineering Manual.161

   The 2% wave run-up value represents the run-up height with a probability of occurrence being
   twice for every 100 waves. Presently, this is the most common run-up parameter used to
   determine the height of riprap slope protection. Table 23 provides the results of the run-up height
   and elevation calculations for determination of the vertical extent of wave impacts and revetment
   riprap protection placement. Figure 42 provides a representation of the difference between
   Surface Water Levels (SWL) and the run-up crest elevation. For the purposes of this study, SWL
   is assumed to be the Mean High Water (MHW)162 level in each of the scenarios.




   159
       Impermeable slopes represent embankments with impermeable (asphalt, concrete, etc.) surfaces and fine core materials that limit porosity.
   Permeable slopes would represent rubble-mound structures (USACE, 2002).
   160
       USACE, 2002 (Equation VI-5-12). Also see Delft Hydraulics, 1989.
   161
       USACE, 2002
   162
       Mean High Water (MHW) is the average of all high tide elevations during the day over the current National Tidal Datum Epoch. The tidal
   epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.




   U.S. Department of Transportation                                        116                                                   FHWA002767
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                   Document 15-18                 Filed 01/31/24              Page 485 of 534             PageID 3045
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                              Table 23: Revetment Riprap Run-up Elevation Calculation Results at the
                         US 90/98 Tensaw-Spanish River Bridge Western Approach Roadway Embankment

                                                                                                                   Run-up (RU2%) Crest
                                             MHW Elevation                    Run-up Height (RU2%)
                                                                                                                      Elevation163
            Sea Level Rise                         Feet                                Feet
                                                                                                                          Feet
                                                 (Meters)                            (Meters)
                                                                                                                        (Meters)
                                                    2.0                                 3.1                                5.1
   None
                                                   (0.6)                               (0.9)                              (1.6)
                                                    3.0                                 3.9                                6.9
   One foot (0.3 Meter)
                                                   (0.9)                               (1.2)                              (2.1)
                                                    4.5                                 5.1                                9.6
   2.5 Foot (0.8 Meter)
                                                   (1.4)                               (1.6)                              (2.9)
                                                    8.6                                 8.1                               16.7
   6.6 Foot (2.0 Meter)
                                                   (2.6)                               (2.5)                              (5.1)



                                      Figure 42: Diagram of Surface Water Level versus Run-up164




   Currently, with no sea level rise, wave run-up is halted only 0.4 feet (0.1 meters) above the
   bulkhead and does not reach the approach roadway elevation of 5.9 feet (1.8 meters) located
   approximately 725 feet (221 meters) west of the span. Under the projected 2050 one foot (0.3
   meter) sea level rise scenario, the wave run-up reaches an elevation of 6.9 feet (2.1 meters),
   which does not overtop the embankment but will most likely lead to temporary inundation of the
   approach road. As waves subside, the temporary inundation will in turn subside. Under the
   projected 2100 2.5 feet (0.8 meter) sea level rise scenario, the wave run-up reaches an elevation
   of 9.6 feet (2.9 meters). Again, under this scenario, temporary inundation of the approach
   roadway will occur but will subside. Under the highest sea level rise 2100 projected scenario of
   6.6 feet (two meters), wave run-up comes within 2.5 feet (0.8 meters) vertically of the beginning
   of the bridge span. In this scenario, overtopping does occur along the approach roadway
   beginning at a location 80 feet (24.4 meters) west of the embankment. In this scenario, the MHW

   163
         Elevation where 2% of wave run-up heights reach.
   164
         Note: For the purposes of this study, Surface Water Level (SWL) in the diagram represents MHW (USACE, 2002).




   U.S. Department of Transportation                                       117                                             FHWA002768
                                                                                                                            August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 486 of 534       PageID 3046
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   elevation will create a permanent inundation of the approach roadway. Figure 43 and Figure 44
   illustrate the MHW level and calculated run-up heights and their impact upon the embankment
   and approach roadway in plan and profile views, respectively.

   As previously noted, the current riprap protection in place on the project is estimated to be Class
   3 riprap (D50 = 18 inches [45.7 centimeters]) with a thickness of 3 feet (0.9 meters) and has been
   place on the embankment slope from the bulkhead to elevation 10.3 feet (3.1 meters). Table 24
   provides a summary of the required size of the riprap slope protection and height of wave run-up
   at the case study embankment. The existing riprap slope protection meet the design standards
   under the 2050 one foot (0.3 meter) and the 2100 2.5 feet (0.75 meter) projected sea level rise
   scenarios. In the 2100 6.6 feet (3.0 meters) sea level rise scenario, the existing riprap slope
   protection is neither large enough or at a high enough elevation to protect against wave impacts.




   U.S. Department of Transportation                    118                                    FHWA002769
                                                                                                August 2014
                                  Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                               Case Studies

Figure 43: Plan of the US 90/98 Tensaw-Spanish River Bridge Approach Roadway and Western Embankment with MHW and 2% Run-up Water Levels
                                                                                                                                          Case 5:23-cv-00304-H
                                                                                                                                          Document 15-18
                                                                                                                                          Filed 01/31/24
                                                                                                                                          Page 487 of 534
                                                                                                                                          PageID 3047




                U.S. Department of Transportation                    119                                    August 2014      FHWA002770
                                                    Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                                 Case Studies

  Figure 44: Profile of the US 90/98 Tensaw-Spanish River Bridge Approach Roadway and Western Embankment with MHW and 2% Run-up Water Levels165
                                                                                                                                                                                                     Case 5:23-cv-00304-H
                                                                                                                                                                                                     Document 15-18
                                                                                                                                                                                                     Filed 01/31/24
                                                                                                                                                                                                     Page 488 of 534




165
    Source: ALDOT, 1994 (as modified). Note: All elevations shown refer to mean sea level. Mean sea level is the average of the water elevations recorded at each hour of the day over the current
National Tidal Datum Epoch. The tidal epoch is the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.
                                                                                                                                                                                                     PageID 3048




                           U.S. Department of Transportation                                        120                                                      August 2014              FHWA002771
Case 5:23-cv-00304-H          Document 15-18           Filed 01/31/24        Page 489 of 534           PageID 3049
                       Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                    Case Studies

                         Table 24: Summary of Revetment Riprap Size and Location Calculation
                  Results at Western Approach Roadway to the US 90/98 Tensaw-Spanish River Bridge

                                                     Equivalent Cube
                                Medium Mass of                           Run-up (RU2%) Crest
                                                     Length of Rocks,
                                  Rocks, M50                                 Elevation              Roadway
          Sea Level Rise                                   D50
                                     Pounds                                     Feet             Inundation Level
                                                          Inches
                                   (Kilograms)                                (Meters)
                                                         (Meters)
                                         46                  8                   5.1
   None                                                                                               None
                                       (21.0)              (0.2)                (1.5)
                                        121                 11                   6.9             Temporary from
   One foot (0.3 Meter)
                                       (54.9)              (0.3)                (2.1)              wave run-up
                                         340                15                   9.6             Temporary from
   2.5 Foot (0.8 Meter)
                                       (154.3)             (0.4)                (2.9)              wave run-up
                                        1,971               27                  16.7             Permanent from
   6.6 Foot (2.0 Meter)
                                       (894.0)             (0.7)                (5.1)            mean high water



   As seen in Table 24, as sea levels rise and water depths in front of the embankment increase, the
   height of waves that can be sustained without breaking prior to impacting the embankment
   increase, consequently increasing the weight and dimensions of the riprap needed to protect
   against them. In addition, as the wave size increases, the height at which the run-up impacts the
   embankment and approach roadway increases as well.

   It should be noted that although this case study provides an examination of the consequences that
   sea level rise will have on wind-generated wave heights and wave impacts to a bridge approach
   embankment, several other factors should be considered when analyzing potential threats to
   stability and functionality of a bridge approach in a tidal area. As previously mentioned, Section
   4.4.4 provides a case study on the impacts of storm surge to bridge abutments, specifically, how
   flow velocities due to storm surges at a bridge abutment can cause scour impacts, and what
   adaptations should be made to respond to these impacts.

   In addition, although this study looked only at the gradual impacts of a general sea level rise in
   association with climate change, the consequences of increased wave action due to storm surges
   should also be considered when analyzing wave impacts on embankments. It is very likely that
   wave heights that do not overtop the embankment in this case study may indeed overtop the
   roadway when considering storm surge impacts. In this case, there is a much higher risk of
   permanent loss of functionality of the roadway.

   Step 6 – Identify Adaptation Option(s)
   Under current conditions and the 2050 one foot (0.3 meter) and the 2100 2.5 feet (0.8 meter) sea
   level rise scenarios considered in this case study, the current riprap slope protection will provide
   adequate protection from wind-generated wave impacts if properly maintained. Under the 6.6




   U.S. Department of Transportation                      121                                       FHWA002772
                                                                                                    February 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 490 of 534       PageID 3050
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   feet (two meter) seal level rise scenario, adaptations to protect the embankment slope and
   prevent water from accumulating on the western approach roadway would be required to
   maintain functionality of the existing bridge. To withstand wave run-up and impact under this
   scenario, placement of riprap slope protection at a size and elevation as shown in Table 24 would
   be required.

   Under the 6.6 feet (two meter) seal level rise scenario, raising the height of the roadway will
   limit or eliminate the risk and impact of flooding along the bridge’s western approach. Under the
   three sea level rise scenarios considered, the bridge itself was not overtopped but the approach
   roadway located west of the abutment was susceptible to flooding. Under the projected 2100 6.6
   feet (two meter) sea level rise scenario, a portion of the embankment itself experiences
   overtopping. The following subsections provide specific adaptation options to meet the scenarios
   considered.

   Option 1 – Provide Maintenance to Ensure Proper Function of Existing Riprap Slope Protection

   Under this option, no substantive changes would be made to the existing riprap slope protection.
   The only action under this option would be to ensure that the coverage currently designed for the
   area of Class 3 riprap of a 3 foot (0.9 meter) thickness up to elevation 10.3 feet (3.1 meters) is
   properly maintained.

   Option 2 – Raising the Elevation of the Riprap Slope Protection, Approach Road, and Bridge

   The projected year 2100 6.6 foot (two meter) sea level rise scenario would require raising the
   roadway and seawall to an elevation of 16.7 feet (5.1 meters) so that it would not be susceptible
   to regular tidal elevations or overtopping with wave run-up heights. This option would involve
   armoring the embankment with Class 5, 28 inch (711 millimeter) minimum riprap slope
   protection to an elevation at or above 16.7 feet (5.1 meters) along the entire southern face of the
   west embankment. This armoring layer would consist of a 58 inch (1,420 millimeter) thick layer
   of stone with a D50 of 28 inches (711 millimeters), a 14 inch (356 millimeter) layer of 6 inch
   (152 millimeter) stone, and an impermeable geotextile fabric.

   Option 3 – Extending the Embankment Slopes

   Another option to address impacts from the projected year 2100 6.6 foot (two meter) sea level
   rise scenario would be to extend the slope of the embankment to decrease the amount of wave
   height and run-up exposure. To prevent roadway overtopping of waves, the angle of the
   embankment slope would need to be lessened to 2.9 degrees or 20 horizontal to 1 vertical. This
   would halt run-up at the same elevation of the upper limits of the existing riprap slope protection,
   10.3 feet (3.1 meters). The embankment would extend approximately 225 feet (69 meters)
   further away from the roadway into the Bay. This option would involve armoring the
   embankment with Class 4, 22 inch (559 millimeter) minimum riprap slope protection to an
   elevation at or above 10.3 feet (3.1 meters) along the entire southern face of the west



   U.S. Department of Transportation                    122                                    FHWA002773
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 491 of 534       PageID 3051
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   embankment. This armoring layer would consist of a 44 inch (1,120 millimeter) thick layer of
   stone with a D50 of 22 inches (559 millimeters), an 11 inch (279 millimeter) layer of 5 inch (127
   millimeter) stone, and an impermeable geotextile fabric.

   It should be noted that any potential sea level rise issues on the embankment of the Tensaw-
   Spanish River Bridge will occur late in the design life of the bridge crossing. Given this, it might
   very well be the case that a full replacement of the existing bridge structure and approach
   roadways with a design that accounts for anticipated sea level changes will be a more cost-
   effective solution than retrofitting the existing structure.

   Although not the focus of this case study, storm surge combined with sea level rise would need
   to be a consideration in any adaptive design. In the projected year 2100 6.6 feet (two meter) sea
   level rise scenario where wind-generated waves overtop the embankment and roadway
   completely, substantial protection would be needed to decrease the risk of damage to the
   roadway. In the case of the western approach to the Tensaw-Spanish River Bridge, significant
   surge combined with wind-generated wave impacts could potentially overtop the road. In this
   case, water can seep into the subgrade below the road surface and cause wave induced pressure
   penetration, which would dramatically increase the risk that the pavement is washed away and
   subgrade infrastructure (subbase material) is affected. In this case, more significant
   countermeasures would be required to mitigate this risk such as the installation of steel sheet
   piling. Other problems that can occur with roadway overtopping include wave induced slamming
   pressures caused by wave impacts to the underside of the bridge, where the abutment meets the
   bridge soffit (underside). Additional structural measures and protection could be required to
   ensure the integrity of the bridge structure in this location.

   Step 7 – Assess Performance of the Adaptation Option(s)
   Table 25 summarizes how well each of the proposed adaptation options performs under each of
   the storm surge scenarios. If these adaptation options actually were being considered for design,
   a full analysis quantifying the performance of each option under each scenario would need to be
   conducted and the results used in the economic analysis in Step 8.

   Step 8 – Conduct an Economic Analysis
   An economic analysis was not included in this case study but is recommended for facility-level
   adaptation assessments. See Section 4.4.1 for an example of how an economic analysis was
   applied to a culvert exposed to changes in precipitation due to climate change.




   U.S. Department of Transportation                    123                                    FHWA002774
                                                                                                August 2014
Case 5:23-cv-00304-H            Document 15-18           Filed 01/31/24          Page 492 of 534     PageID 3052
                         Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                      Case Studies

    Table 25: US 90/98 Tensaw-Spanish River Bridge West Approach Embankment Adaption Performance Summary

        Sea Level Rise                   Impact Considered               Option 1       Option 2     Option 3

                                Provides Embankment Protection             Yes             Yes          Yes
   Current Conditions           Provides Overtopping Protection            Yes             Yes          Yes
                                Type Of Inundation                        None            None         None
                                Provides Embankment Protection             Yes             Yes          Yes
   Projected Year 2050
   One foot (0.3 Meter)         Provides Overtopping Protection            Yes             Yes          Yes
   Sea Level Rise
                                Type Of Inundation                      Temporary         None         None
                                Provides Embankment Protection             Yes             Yes          Yes
   Projected Year 2100
   2.5 Foot (0.8 Meter)         Provides Overtopping Protection            Yes             Yes          Yes
   Sea Level Rise
                                Type Of Inundation                      Temporary         None         None
                                Provides Embankment Protection              No             Yes          Yes
   Projected Year 2100
   6.6 Foot (2.0 Meter)         Provides Overtopping Protection             No             Yes          Yes
   Sea Level Rise
                                Type Of Inundation                      Permanent         None         None



   Step 9 – Evaluate Additional Decision-Making Considerations
   Other important factors that might influence whether and how the approach roadway
   embankment is adapted to accommodate sea level rise include how land uses on Blakeley Island
   and the Causeway are impacted by sea level rise. If impacts are great enough to eliminate the
   need for vehicular access to these areas, then executing adaptations on both the I-10 roadway and
   the US 90/98 roadway may be redundant and unnecessary. In this case, it’s possible that only one
   facility would be chosen and utilized in the future (likely I-10). The changing land uses may also
   have a significant impact on traffic volumes and the need for the bridge within the larger
   transportation network. In addition, there may be potential concerns with having a higher bridge
   adjacent to the USS Alabama Battleship Memorial Park, two ships in which are National
   Historic Landmarks. The entirety of the park is also on the Alabama Register of Landmarks and
   Heritage.
   Step 10 – Select a Course of Action
   As the facility currently meets design standards for riprap slope protection under current
   conditions as well as the 2050 one foot (0.3 meter) and the 2100 2.5 feet (0.75 meter) sea level
   rise scenarios, the recommended course of action is only to provide maintenance to ensure
   adequate protection along the embankment. It is advisable that the existing protection be
   inspected to ensure it meets the standard for a Class 3 riprap slope protection on an embankment
   to withstand the effects of wind-generated wave impacts under the project year 2100 2.5 foot
   (0.8 meter) sea level rise scenario. The 2100 2.5 foot (0.8 meter) sea level rise scenario is
   recommended because this is the most extreme scenario where permanent inundation of the




   U.S. Department of Transportation                         124                                   FHWA002775
                                                                                                    August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 493 of 534       PageID 3053
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   approach roadway does not occur under water level variations due to tides (an impact that would
   require additional actions). The existing Class 3 riprap slope protection along the length of the
   embankment and up to elevation 10.3 feet (3.1 meters) should provide adequate protection on the
   embankment if installed according to guidance from the Coastal Engineer Manual and HEC-25.
   Further study should be done along the entire approach roadway to determine the impacts of sea
   level rise on the approach roadway further from the bridge than was considered in this study. In
   addition, storm surges under which the embankment and approach roadway may be exposed
   should be considered as well.

   Regarding the elevation of the road itself, as sea level rise is a relatively gradual phenomenon
   (even considering its projected acceleration after mid-century), monitoring over time will allow
   for evaluation of actual sea level rise trends. If trends point to the likely occurrence of a more
   extreme sea level rise scenario that could cause temporary or permanent inundation of the
   approach roadway, appropriate actions should be taken to begin the process of raising the
   embankment and approach roadway or altering the embankment slope to protect against tidal and
   wave run-up influences.

   Step 11 – Plan and Conduct Ongoing Activities
   The recommended ongoing activity is to monitor actual trends in observed sea level in the
   Mobile region and compare them to the projected sea level rise scenarios with the goal of
   ascertaining what scenario is being realized. A “trigger level” of sea level change might be
   established (based on the sea level rise curves and the projected time required to plan, design,
   finance, and construct a chosen adaptation option) at some point prior to the development of
   conditions that could cause wave run-up that overtops the roadway along the embankment. When
   the trigger level is crossed, planning and financing activities for adapting the facility can then
   commence.

   Conclusions
   This case study has, using the General Process for Transportation Facility Adaptation
   Assessments, demonstrated how sea level rise effects on wind-generated wave heights and wave
   impacts can be analyzed for an approach roadway embankment. Protection and risk reduction
   measures for the US 90/98 Tensaw-Spanish River Bridge west approach embankment would be
   necessary for each of the climate scenarios tested. An adaptation concept was developed for each
   scenario whereby the roadway, approach roadway, and abutment would need to be raised to a
   height that would significantly reduce the risk of overtopping from wave run-up. Information
   must be shared with local stakeholders and discussed before any locally preferred decisions can
   be made on what adaptive actions (if any) would be appropriate for raising the road / bridge and
   when would be the best time to implement them.

   The process shown is broadly applicable to roadway embankments across the country where sea
   level rise and wind-generated waves have an influence. Embankments with susceptibility to




   U.S. Department of Transportation                    125                                    FHWA002776
                                                                                                August 2014
Case 5:23-cv-00304-H          Document 15-18          Filed 01/31/24         Page 494 of 534          PageID 3054
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies

   wind-generated waves would need to be investigated for potential instability and wave
   overtopping due to sea level rise to determine if any adaptive action would need to be
   implemented. Ultimately, this effort is best handled at a planning level in a coordinated manner
   amongst all embankments along a roadway to ensure that functionality is maintained at all
   susceptible points. It is recommended that such analyses be undertaken for bridge embankments
   across the country that are subject to sea level rise and wind-generated wave impacts.

   4.4.4 Bridge Abutment Exposure to Storm Surge – US 90/98 Tensaw-Spanish
         River Bridge (Western Abutment)
   Introduction
   More powerful storm surges resulting from
   higher sea levels and stronger hurricanes                          Case Study Highlights
   represent potentially serious threats to
                                                    Purpose: Evaluate whether a bridge abutment is
   coastal bridges. One of these threats is the     vulnerable to potential storm surges
   weakening and potential failure of bridge        Approach: Using the NCHRP 24-20 Abutment Scour
   abutments, critical components of a bridge       Approach, the estimated scour depth and elevations for
                                                    three storm surge scenarios were determined. Then, the
   structure and the primary means of retaining     scour protection that would be provided by the
   the soil supporting the approach roadway’s       protective structures in place (riprap, bulkhead, and
   embankment. Bridge scour is the erosion of       willow mattress pads) was evaluated.
   the soil surrounding bridge abutments caused Findings: Although on its own the bridge abutment might
                                                    be vulnerable to the surges, sufficient protective features
   by fast flowing water (see Figure 45 for an      are in place that will this particular abutment is likely not
   example of severe abutment scour). Loss of       vulnerable to the surges studied
   the supporting soil can cause structural         Viable Adaptation Options (for other, vulnerable sites):
   instability, shifting of key support structures, x Widen or lengthen the bridge
   and the actual collapse of a bridge. This case   x Armor the bridge opening
   study analyzes the potential for scouring of     x Control drainage to avoid erosion in the abutment area
   the west abutment of the US 90/98 bridge         x Control water flow to minimize erosion
                                                    Other Conclusions: Protective features like riprap and
   over the mouths of the Tensaw and Spanish        willow mats play an important role in the ability of an
   Rivers and the adequacy of the existing rock     asset to withstand surge—even if the asset itself appears
   riprap scour protection measure. Other           to be on dry ground. It is vital that inspectors look at the
   sections of this report provide case studies of whole picture when inspecting assets.
                                                    Formulas for estimating scour are very conservative,
   climate impacts to different bridge              leading agencies to protect foundations rather than
   components such as sea level rise effects on     design the foundations to resist scour.
   approach embankments (see Section 4.4.3 )
   and storm surge effects on piers and decks (see Section 4.4.5 ).




   U.S. Department of Transportation                      126                                      FHWA002777
                                                                                                    August 2014
Case 5:23-cv-00304-H                   Document 15-18          Filed 01/31/24         Page 495 of 534     PageID 3055
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                                      Figure 45: Example of Severe Scour at a Bridge Abutment166




   The bridge abutment analysis was conducted using the 11 step General Process for
   Transportation Facility Adaptation Assessments, which serves as the organizing framework for
   this case study. The assessment determined that none of the storm surge scenarios studied
   presented a threat to the integrity of the abutment and, as a result, no adaptation options are
   recommended at this time.

   Application of the General Process for Transportation Facility Adaptation Assessments
   Step 1 – Describe the Site Context
   The bridge abutment case study was developed for the west abutment of the US 90/98
   (Battleship Parkway) bridge over the mouths of the Tensaw and Spanish Rivers (The Tensaw-
   Spanish River Bridge). This is the same facility studied for sea level rise impacts to the approach
   embankments in Section 4.4.3 of this report. The eastbound and westbound bridge abutments
   are situated 12 feet (3.7 meters) apart (edge-to-edge) and have the same orientation, elevations,
   and distance from the mean water line. As such, the abutments are considered as a single unit for
   this study and the resulting scour depths and protections discussed herein can be considered
   applicable to either the westbound or eastbound abutment.

   As noted in Section 4.4.3 , the bridge provides an alternative crossing of Mobile Bay in case the
   I-10 (Jubilee Parkway) bridge (the “Bayway”) is closed. US 90/98 also serves as the access road
   for nearby areas including several commercial businesses and the USS Alabama Battleship


   166
         Arneson, Zevenbergen, Lagasse, and Clopper, 2012.




   U.S. Department of Transportation                               127                                  FHWA002778
                                                                                                         August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 496 of 534                  PageID 3056
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   Memorial Park, which is located just southwest of the study site. See Figure 46 for a map
   showing the location of the case study bridge within the Mobile region.

                                   Figure 46: Location of the US 90/98 Tensaw-Spanish River Bridge
                                                within the Mobile Metropolitan Area167




   Step 2 – Describe the Existing Facility
   As shown in the aerial photograph in Figure 47, the Tensaw-Spanish River Bridge consists of
   two parallel bridge crossings: a northern span for westbound traffic and a southern span for
   eastbound traffic. The northern span was designed in 1963 and has steel girders,168 whereas the
   southern span was added in 1995 and utilized pre-stressed169 concrete girders. Both spans have
   10 in-water piers with spacing varied between 125 feet to 140 feet (38.1 to 42.7 meters) apart.
   Figure 48 provides plan and profile views of the pier configurations and plan details of the
   southern (eastbound) span.




   167
       Source of basemap: Google Maps (as modified)
   168
       Girders are the main horizontal supporting members of the bridge.
   169
       Pre-stressed construction involves the process of applying tension to the longitudinal steel rebar reinforcement inside a concrete unit during the
   manufacturing process.




   U.S. Department of Transportation                                          128                                                    FHWA002779
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                   Document 15-18                   Filed 01/31/24                Page 497 of 534            PageID 3057
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

                              Figure 47: Aerial Image of the US 90/98 Tensaw-Spanish River Bridge170




   The bridge abutments are a pile-supported concrete design as detailed in Figure 49 and Figure
   50. The abutment is supported by 14 inch (35.6 centimeter) square pre-stressed concrete piles as
   shown on Figure 49. The pile tip bottoms were designed to be driven down to an elevation of
   -17.7 feet (-5.4 meters).171

   The abutments are armored against scour by three different design features: a willow mattress,172
   a bulkhead, and stone riprap.173 The three features work in unison with the goal of providing
   complete armoring to the bridge abutment and supporting soils. A section view showing the
   riprap, the timber bulkhead, and the willow mattress and their relation to the west bridge
   abutments is presented in Figure 51.




   170
       Source of aerial image: Google Maps (as modified)
   171
       All elevations in the text of this report are with respect to the North American Vertical Datum of 1988 (NAVD88)
   172
       A willow mattress is an interwoven series of willow branch cuttings, joined to form a contiguous semi-rigid mattress.
   173
       Riprap consists of loose stone placed in a manner to provide erosion protection or armoring over a soil area.




   U.S. Department of Transportation                                        129                                                FHWA002780
                                                                                                                                August 2014
                                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                   Case Studies

                       Figure 48: Plan and Elevation of the US 90/98 Tensaw-Spanish River Bridge Southern (Eastbound) Span174
                                                                                                                                               Case 5:23-cv-00304-H
                                                                                                                                               Document 15-18
                                                                                                                                               Filed 01/31/24
                                                                                                                                               Page 498 of 534




174
      ALDOT, 1994
                                                                                                                                               PageID 3058




                    U.S. Department of Transportation                     130                                       August 2014   FHWA002781
                                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                   Case Studies

                          Figure 49: Western Abutment of the US 90/98 Tensaw-Spanish River Bridge Front Elevation Detail175
                                                                                                                                                Case 5:23-cv-00304-H
                                                                                                                                                Document 15-18
                                                                                                                                                Filed 01/31/24
                                                                                                                                                Page 499 of 534




175
      ALDOT, 1994
                                                                                                                                                PageID 3059




                    U.S. Department of Transportation                     131                                        August 2014   FHWA002782
                                      Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                   Case Studies

                            Figure 50: Western Abutment of the US 90/98 Tensaw-Spanish River Bridge Plan View Detail176
                                                                                                                                              Case 5:23-cv-00304-H
                                                                                                                                              Document 15-18
                                                                                                                                              Filed 01/31/24
                                                                                                                                              Page 500 of 534




176
      ALDOT, 1994
                                                                                                                                              PageID 3060




                    U.S. Department of Transportation                    132                                       August 2014   FHWA002783
Case 5:23-cv-00304-H                     Document 15-18                    Filed 01/31/24   Page 501 of 534     PageID 3061
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

                              Figure 51: Typical Section View of the West Abutments of the US 90/98
                          Tensaw-Spanish River Bridge Showing the Scour Countermeasure Protections.177




   Willow mattress mats were included in the 1963 plans to stabilize the river bottom around the
   abutment. The 1963 plan showing the locations of these protections is shown in Figure 52.
   Figure 52 has been modified to show the approximate alignment of the eastbound bridge span,
   which was not included in the original drawing set. An example of a willow mattress mat being
   installed is shown in Figure 53. The mattress pads are sunk into place and weighted down using
   large rock or sections of demolished pavement. Plans for the willow mattress mat show a 100
   foot wide by 210 foot long (30.5 meter wide by 64 meter long) mattress that is roughly centered
   along the alignment of the southern bridge span. In addition, a 50 by 150 foot (15.2 by 45.7
   meter) willow mattress also wraps around the north side of the abutment. Construction plans for
   the southern bridge note that a cutting of the mattress was necessary for the new bridge
   construction in 1994.


   177
         Sketch is not to scale and elevations as shown are approximate.




   U.S. Department of Transportation                                         133                              FHWA002784
                                                                                                               August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24               Page 502 of 534                  PageID 3062
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

      Figure 52: Plan for the Location of the Willow Mattress Pads at the US 90/98 Tensaw-Spanish River Bridge178




                                                                                                                              Westbound




                                                                                                                    Eastbound (proposed)




   178
       Source: Highway Department of Alabama, 1963 (as modified). Note: The plan shows only the northern (westbound) span because, as noted
   previously, the southern (eastbound) span was not part of the original bridge project. Lines have been added showing the approximate location of
   the eastbound span.




   U.S. Department of Transportation                                       134                                                   FHWA002785
                                                                                                                                 February 2014
Case 5:23-cv-00304-H                    Document 15-18        Filed 01/31/24        Page 503 of 534           PageID 3063
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

                        Figure 53: Representative Willow Mattress Pad (Assembly Prior to Submergence) 179




   In Figure 52 note that no information is presented regarding protection along the southern side of
   the abutment. It is unclear if there exists no protection in this area or if the 50 by 150 foot (15.2
   by 45.7 meter) willow mattress marked along the north side of the abutment extends down into
   this area and was just not included in this drawing. The current study only considers the typical
   protection section (as shown in Figure 51). Future detailed evaluations of this bridge abutment
   are recommended to include further research into the coverage and condition of the willow
   mattresses. In the event that either the southern side of the abutments is not protected or if any
   portion of the mattress has significantly degraded, the conclusions of the study may be impacted
   due to the development of scour at a weak point in the system not currently under consideration.

   Along with the willow mattresses, a concrete and timber bulkhead protects the southern side of
   the western bridge abutments and approach roadway. The bulkhead, in this case, is a timber
   construction coastal retaining wall which extends vertically from a specified depth below the sea
   floor up to an elevation of approximately 5.5 feet (1.7 meters). Bulkheads in a coastal setting are
   also commonly referred to as seawalls and are employed to resist coastline erosion, or in this
   case, storm induced scouring of the roadway approach and bridge abutment. The bulkhead at the
   US 90/98 Tensaw-Spanish River Bridge consists of timber planks 20 to 26 feet (6.1 to 7.9
   meters) long supported by 30 to 40 foot (9.1 to 12.2 meter) vertical timber piles spaced nine feet
   (2.7 meters) apart. The sheeting and piles are labeled on Figure 51 and an example can be seen in
   the typical timber bulkhead shown in Figure 54 below. Although 50 years into its design life,
   aerial imagery indicates the US 90/98 Tensaw-Spanish River Bridge Bulkhead appears to be in

   179
         Legasse, Clopper, Schall, and Zevenbergen , 2001




   U.S. Department of Transportation                             135                                        FHWA002786
                                                                                                             August 2014
Case 5:23-cv-00304-H                     Document 15-18                   Filed 01/31/24   Page 504 of 534     PageID 3064
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

   generally sound condition. Although not shown on the available construction plans, a continuous
   concrete cap was added to the top of the timber structure.

                   Figure 54: Example of Typical Timber Bulkhead Protection at a Highway Bridge Abutment180




   Complementing the bulkhead, rock riprap protection armors the slopes above it. This rock riprap
   protection is the same protection that is evaluated in section 4.4.3 of this report with respect to
   sea level rise. Review of site photos indicates that the riprap is approximately 15 to 18 inches
   (38.1 to 45.7 centimeters) in size. The riprap is generally situated on a four horizontal to one
   vertical slope and has a design depth of three feet.181 From inspection of available imagery, the
   sizing is estimated as a Class 3 riprap according to the ALDOT classification system (see Table
   26). The riprap coverage displays a significant amount of soil interspersed amongst the rocks.
   The visible soil interspersed among the rocks could have occurred due to either wind / water
   borne deposition of sediments or due to dislodging / movement of the riprap. Some bare earth
   was also observed in historical photos under the bridge adjacent to the abutments, which may
   indicate some local erosion occurring along the roadway embankments. Future studies of the
   bridge protection are recommended to include a detailed inspection of the riprap, including
   determination of the coverage limits and quality of the rock placements, to ensure that no
   degradation and formation of failure points is developing. The current study assumes that the
   rock protection has maintained the as-built condition and that the visible soil is due to deposition
   and not degradation of the rock protection.




   180
         Photo of the Mullica River Bridge, New Jersey (taken in 2006).
   181
         ALDOT, 1994




   U.S. Department of Transportation                                        136                              FHWA002787
                                                                                                              August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24               Page 505 of 534                  PageID 3065
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies

                                               Table 26: ALDOT Standard Riprap Classes182

                                     Weight Range – D10183 to D90                                           D50Size
          Riprap Class                            Pounds                                 Pounds                               Inches
                                                (Kilograms)                               (kgs)                                (mm)
                                                  10 – 100                                  50                                   10
                 1
                                                 (4.5 – 45)                               (22.7)                               (254)
                                                 10 – 200                                   80                                   12
                 2
                                                (4.5 – 90.0)                              (36.3)                               (305)
                                                25 – 500                                   200                                   15
                 3
                                              (11.3 – 226.8)                              (90.7)                               (381)
                                                50 – 1,000                                 500                                   22
                 4
                                              (22.7 – 453.6)                             (226.8)                               (559)
                                               200 – 2,000                                1,000                                  28
                 5
                                              (90.7 – 907.2)                             (453.6)                               (711)



   Figure 55 shows the limits of each of the three scour countermeasure protections overlain on an
   aerial image of the bridge abutment. In Figure 55, the approximate layout of the willow mattress
   is shown, including the assumption that the willow mattress was placed to cover the southern
   side of the approach roadway / abutment.




   182
     ALDOT, 2012
   183
     Dx denotes rock gradation percentages for which the distribution of individual stones will have diameters of X percentage of the sample batch
   smaller than the stated measurement value. For example, for D50 = 10 inches (254 millimeters), 50% of the rocks in the batch will have diameters
   smaller than 10 inches (254 millimeters) and 50% will have diameters greater than 10 inches (254 millimeters).




   U.S. Department of Transportation                                       137                                                   FHWA002788
                                                                                                                                  August 2014
Case 5:23-cv-00304-H                    Document 15-18          Filed 01/31/24            Page 506 of 534     PageID 3066
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies

                              Figure 55: Aerial view of the Tensaw-Spanish River Bridge West Abutment
                                              Showing the Limits of Scour Protections184

                                                                    Northern limits of bulkhead

                                                                                Northern                Coverage of
                                                                                limits of riprap        willow mattress




   Southern limits
   of bulkhead

                  Southern limits
                  of riprap


                                              Assumed coverage of
                                              willow mattress


   The condition of the various protective design features on the abutment are a key determinant in
   how effectively they might perform during a storm. In the development of this study, ALDOT
   underwater inspection records185 from various timeframes were investigated to determine the
   conditions of the abutment protection measures, however, in general the inspectors classified the
   abutments as being “dry” and no additional investigations were performed in these areas. Future
   studies should investigate the condition of the various protection measures through field
   inspections (this work was beyond the scope of this case study).

   Step 3 – Identify Climate Stressors That May Impact Infrastructure Components
   Coastal storm surge on top of sea level rise is the primary climate change-related environmental
   factor of concern to abutment design. Other climate change considerations that are not included
   in this study but which may be relevant in more inland riverine settings include precipitation
   changes and associated changes in riverine flooding.

   Step 4 – Decide on Climate Scenarios and Determine the Magnitude of Changes
   Design standards for coastal infrastructure such as the Tensaw-Spanish River Bridge typically
   specify acceptable return periods (e.g., the 100-year storm) for which water is not allowed to
   overtop facilities or reach other pre-specified thresholds. This section will therefore begin with a
   detailed discussion of storm surge return periods in the context of a changing climate and some

   184
         Source of aerial image: Google Maps (as modified)
   185
         ALDOT, (various dates)




   U.S. Department of Transportation                                  138                                   FHWA002789
                                                                                                             August 2014
Case 5:23-cv-00304-H                   Document 15-18                   Filed 01/31/24                 Page 507 of 534                  PageID 3067
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   of the difficulties associated with their computation. Then, given the difficulties in accurately
   computing future storm surge return periods with climate change, an alternative approach to
   considering surge in the context of a changing climate is presented and used in this case study.

   In order to account for the effects of climate change on a particular design event like the 100-
   year base flood elevation there is a wide range of long term changes to the region that need to be
   considered. For the nearshore areas of Mobile County, adjacent to the coast and bay, the FEMA
   100-year base flood elevation is based on the elevation of the wave crest and thus accounts for
   both the hurricane induced storm surges and associated wave conditions. Over the following
   decades it is possible climate change may affect several aspects of the regional topography,
   bathymetry, and land surface cover or use. For example, sea level rise may alter sedimentation
   patterns within the bay; may drown existing marshes unless sedimentation rates are able to keep
   up with rising sea level; and land use may change along the shoreline resulting in modified land
   cover as well as re-locations of levees, roads and other assets which may affect local flooding
   conditions. Regional changes in land topography and bathymetry as well as land cover and use
   have the potential to alter the flood levels (surge plus wave crest) for a given future hurricane
   event. The long range prediction of these changes is highly uncertain. In addition, land use
   change may not occur until a catastrophic event forces change (for example, if limited resources
   or other reasons preclude re-establishment of a structure at its previous location).

   How can one adjust 100-year coastal floodplains to accurately account for climate change? The
   update process for present-day flood mapping provides a starting point for understanding what
   would be involved. At the time of publication, several regions along the U.S. East and Gulf
   Coasts are undergoing significant analyses and updates to their FEMA flood insurance studies.
   An example is the work being performed in the New York and New Jersey area.186 These flood
   insurance studies typically include analyses of hundreds if not thousands of hurricane scenarios
   including historic hurricanes as well as synthetic variations of these historic events.187

   The most accurate methods of accounting for sea level rise impacts on surge return would be to
   use an approach similar to the one used in the FEMA updates but, in addition, analyze the set of
   hurricanes combined with various relative sea level rise scenarios. This would allow
   incorporation of sea level rise in the results so the resulting recurrence interval events (e.g., the
   50-year, 100-year and 500 year) include sea level rise as well as its effect on hurricane surge and
   waves. In addition, other effects such as increasing storm intensity could be analyzed by
   accounting for this effect on the storms and using these enhanced storms in the hurricane surge
   and wave modeling. In areas where drainage of inland floodwaters is impeded by elevated water
   levels due to surge, the impact of heavier precipitation due to climate change could also be
   analyzed. However these are significant efforts and will not likely be undertaken as part of

   186
      FEMA, 2013a
   187
      Synthetic variations of storms are created by altering many variables such as central pressure, forward speed of the storm, landfall location and
   storm radius.




   U.S. Department of Transportation                                         139                                                    FHWA002790
                                                                                                                                     August 2014
Case 5:23-cv-00304-H                    Document 15-18                  Filed 01/31/24               Page 508 of 534        PageID 3068
                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                           Case Studies

   isolated transportation related planning, repair, or capital projects. Each of these regional flood
   insurance study updates is a multi-million dollar program that includes:

    Development of a topographic and bathymetric terrain model
    Consideration of the local and regional hurricane history
    Assessment of historical storms for primary parameters that define a particular storm (e.g.,
     storm path, pressure deficit, radius to maximum wind, forward speed of storm, and storm
     track)
    Choice of a subset of these storms for analysis. The subset is carefully selected to yield a set
     of hurricanes that capture the general behavior of historic storms.
    Development of synthetic versions of the selected storms to create a wide array of possible
     storm scenarios by altering the primary storm parameters mentioned above. An example of
     this is shown in the currently effective Flood Insurance Study (FIS) for Mobile County. 188
    Assessment of the probability of occurrence for each storm
    Running of each of the synthetic storms (as well as the actual event for the selected storms)
     with a hurricane modeling system such as the ADvanced CIRCulation model (ADCIRC) and
     STeady State spectral WAVE model (STWAVE) (the combination used in this study) or,
     alternatively, ADCIRC coupled with the Simulating WAves Nearshore model (SWAN),189
     another commonly used wave transformation model.
    Noting the model outputs of interest (e.g., wind speeds, water levels, currents, waves)
    Analyzing the hurricane input parameters, probabilities, and model outputs to yield the
     resulting probability of occurrence (i.e., average annual return interval) as a function of the
     output parameter of interest (e.g., storm surge, wave height)
    Considering additional flooding aspects beyond the tropical storms mentioned above (e.g.,
     extra-tropical storms, tsunamis)
   Given the time and expense associated with an analysis of this type, alternative approaches must
   be considered to provide surge levels for individual projects that aim to consider sea level rise
   and surge. The approach taken to develop storm surge scenarios for this study provides one
   example. Instead of a full scale statistical analysis to develop return period storms, a more
   limited number of model runs were executed to explore the range of possible impacts in the
   context of historic storm events that local stakeholders were familiar with. The three storm surge
   scenarios that were developed for this analysis include:

    Hurricane Katrina Base Case Scenario
    Hurricane Katrina Shifted Scenario
    Hurricane Katrina Shifted + Intensified + Sea Level Rise (SLR) Scenario


   188
         FEMA, 2010d
   189
         Dietrich, Tanaka, Westerink, Dawson, Luettich, and Zijelma, Holthuijsen, Smith, Westerink, and Westerink, 2012




   U.S. Department of Transportation                                        140                                           FHWA002791
                                                                                                                           August 2014
Case 5:23-cv-00304-H                   Document 15-18                   Filed 01/31/24                 Page 509 of 534                  PageID 3069
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   Hurricane Katrina was selected as the base case due to its impacts on the study area and its recent
   occurrence in 2005 resulting in significant observations and modern data collection of
   meteorological and oceanographic effects such as pressure deficit, wind, storm track, water level,
   waves, etc. In addition, this event is the most recent hurricane involving significant storm surge,
   wind, and waves for residents and transportation stakeholders in the Mobile area. As such it
   represents an actual event allowing residents and stakeholders a point of reference relative to the
   additional surge scenarios developed for this study involving an altered storm path and climate
   change.

   For the second surge scenario, the path of Katrina was shifted for a direct hit on Mobile using
   current sea level and climate conditions. This shifted storm scenario recognizes the accepted
   practice in hurricane simulation and FEMA Flood Insurance Studies that historic storm landfall
   locations are assumed to be statistically as equally likely to have made landfall anywhere within
   the local coastal area.

   The third scenario is the shifted Katrina that has been intensified with a reduction in atmospheric
   pressure resulting in higher wind speeds. This scenario also incorporates an intermediate long
   term increase in global sea level of 2.5 feet (0.8 meters).190 This scenario is used in this
   adaptation assessment to identify impacts associated with possible future climate changes during
   the latter half of the 21st century.

   Simulations of storm-induced water levels (i.e., storm surge) and associated currents were
   performed for each scenario using the two dimensional depth average version of the ADvanced
   CIRCulation model, ADCIRC. While the ADCIRC model is capable of applying a variety of
   internal and external forcings (including tidal forces and harmonics,191 inflow boundary
   conditions,192 density stratification,193 and wave radiation stresses194), only the meteorological
   forcing195 input was used to drive the storm-induced flows and water levels for this study. In
   some circumstances, effects such as elevated stream or river inflow due to previous storms or a
   particularly wet season may exacerbate flood levels when interacting with storm surge.
   Numerical models such as ADCIRC can account for this type of situation provided the
   streamflows are included as part of the hydrodynamic model input.



   190
       See Section 4.4.3 for a discussion of the sea level rise scenarios used in this report
   191
       A harmonic is a tide wave with a given frequency and amplitude
   192
       Inflow boundary conditions are specified when flow conditions are known at the model boundary (e.g., in an estuary, an inflow boundary
   condition may be specified where a significant stream or river enters the model)
   193
       Density stratification may be due to temperature or salinity variation in space. A salinity wedge is an example of a density stratification
   induced effect where the more saline (heavier) water will tend to flow below the less saline (lighter) water resulting in a density driven current.
   The salinity difference between the two sources of water is mixed across this interface.
   194
       Wave radiation stresses occur where there is variability in the wave conditions from one location to another. For example, in the surf zone the
   rapid variation of wave height leads to wave radiation stress variation across the surf zone with induced wave setup (a superelevation of water
   level in the vicinity of the shoreline above the prevailing still water level) and wave induced currents.
   195
       Meteorological forcing used in the ADCIRC modeling consisted of a time history of the following data: the latitude and longitude of the
   hurricane eye, the maximum observed wind speed, the minimum sea level pressure, and the radius from the center of the storm to a specified
   wind intensity. For further detail the reader is referred to USDOT, 2012.




   U.S. Department of Transportation                                         141                                                    FHWA002792
                                                                                                                                     August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 510 of 534                  PageID 3070
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   The wave characteristics accompanying each of the storm surge scenarios were simulated using
   the STeady State spectral WAVE (STWAVE) model. STWAVE is a flexible, robust model for
   nearshore wind-wave growth and propagation. It is a steady-state,196 finite difference,197 spectral
   model198 based on the wave action balance equation. STWAVE simulates depth-induced wave
   refraction199 and shoaling,200 current-induced refraction201 and shoaling, depth- and steepness-
   induced wave breaking, diffraction,202 wave growth based on wind input, and wave-wave
   interaction and white capping that redistribute and dissipate energy in a growing wave field.
   Recent upgrades to the model include wave-current interaction and steepness-induced wave
   breaking. More details on the development of each of the surge scenarios and wave modeling can
   be found in the Climate Variability and Change in Mobile, Alabama report.203

   With respect to this case study, the model generated outputs for storm surge elevations, flow
   velocities, and water depths that were collected at five points of analysis (see Figure 56). The
   points were chosen to represent the peak near abutment conditions (points A and B), average
   mid-span conditions (point C), the representative approach flood tide (point E), and the
   representative approach ebb tide (D) conditions. These points were chosen using sound
   engineering judgment to represent the bridge hydraulics for use in the abutment scour prediction.
   The selection of the points is intended to be consistent with the hydraulic conditions utilized in
   the development of the abutment scour equations. While each of these reported points did not
   ultimately factor into the final computations, they were chosen as important considerations in the
   understanding of flow conditions around the bridge and the conditions that produced the
   maximum scour.




   196
       Steady-state implies there is no variation with time. The STWAVE model is run with a single representation of the wind field and offshore
   wave condition at a single point in time. With this input data STWAVE calculates wave conditions within the modeled area under the given
   steady-state condition.
   197
       Finite-difference indicates the model grid is a series of rectangles and these are typically uniform across the model area. This is in contrast to
   model grid that can accommodate variation of the model elements in space (such as the finite-element ADCIRC model where, through the use of
   triangular cells, the size can be altered for model performance improvement such as large cells in the deep ocean and smaller cells nearshore or
   where higher resolution is needed).
   198
       A spectral model indicates the book-keeping for nearshore wave transformation effects is done with a wave spectrum which is a representation
   of a random wind wave field as a series of sine waves of varying amplitude, direction, and frequency. For additional detail the reader is referred
   to USACE, 2002.
   199
       Wave refraction can alter a wave field due to wave speed modifications that are not uniform in space. Due to variable bathymetry and
   associated water depths, the wave speed decreases with deceasing depth. Thus, around a headland, wave refraction will focus the wave resulting
   in increased wave heights. In curved embayments, the wave form will spread out resulting in decreased wave heights.
   200
       Wave shoaling results from decreasing wave propagation speed and wave length as a wave advances into shallower water. This effect tends to
   steepen the wave due to shorter wave lengths and higher wave heights (USACE, 2002).
   201
       Another important wave refraction effect is currents that vary in space. A wave entering a region with an opposing current will steepen and
   may undergo other changes such as altered propagation direction or reduced wave length (USACE, 2002). At the mouths of rivers (known as
   bars) on the coastline, opposing currents during ebb tide will steepen the oncoming ocean waves, due to smaller wave lengths and higher wave
   heights, resulting in more hazardous navigation conditions.
   202
       Wave diffraction results in wave energy being spread laterally (i.e. perpendicular to the wave propagation direction). This effect is commonly
   seen behind breakwaters where the advancing wave crest is blocked by an obstruction creating a shadow area behind the structure that is sheltered
   from the oncoming waves. The wave diffraction process results in wave energy spreading laterally from the undisturbed wave crests into the
   sheltered area. The result is the classic semi-circular wave pattern of decreasing wave height behind the breakwater that can sometimes be seen in
   aerial photos (USACE, 2002).
   203
       USDOT, 2012 ( Section 7)




   U.S. Department of Transportation                                          142                                                    FHWA002793
                                                                                                                                      August 2014
Case 5:23-cv-00304-H                      Document 15-18                   Filed 01/31/24                Page 511 of 534     PageID 3071
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                            Case Studies

                                       Figure 56: Aerial Image of the US 90/98 Tensaw-Spanish River
                                       Bridge Showing the Five Points of ADCIRC-STWAVE Analysis204




   Figure 57 depicts the surge flow vectors from the model during a storm surge condition in
   relation to the five data points in Figure 56. The total depth of water at a point of analysis is
   arrived at by totaling the water elevation and the river mudline205 elevations. The vectors shown
   in the image have been interpolated from the ADCIRC model and are not representative of the
   computation points in the model.

             Figure 57: Flow Velocity Vectors and Evaluation Data Points at US 90/98 Tensaw-Spanish River Bridge




   204
         Source of aerial image: Google Maps (as modified).
   205
         Mudline is a reference to the ground elevation at the bottom of the channel at a given point.




   U.S. Department of Transportation                                            143                                        FHWA002794
                                                                                                                            August 2014
Case 5:23-cv-00304-H                  Document 15-18              Filed 01/31/24   Page 512 of 534      PageID 3072
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies

   Although the return periods of each of the surge scenarios now or in the future was not
   calculated, a comparison was provided to the current FEMA 100-year storm. As shown in Figure
   58, the current FEMA 100-year storm overtops the entire abutment. The FEMA 100-year flood
   elevation is higher than the Hurricane Katrina Base Case Scenario, but less than the Hurricane
   Katrina Shifted Scenario as summarized in Table 27.

                                        Figure 58: FEMA Flood Insurance Rate Map for the
                                  West Abutment of the US 90/98 Tensaw-Spanish River Bridge206




   206
         FEMA, 2010b. Note: The elevations shown are in NAVD88.




   U.S. Department of Transportation                                144                               FHWA002795
                                                                                                       August 2014
Case 5:23-cv-00304-H                     Document 15-18                   Filed 01/31/24                Page 513 of 534      PageID 3073
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                            Case Studies

                                         Table 27: Stillwater Elevations and Wave Heights at the
                                     Western Abutment of the US 90/98 Tensaw-Spanish River Bridge

                                                        Bridge Abutment                 Stillwater207 Elevation
                                                       Bottom of Girder /
                                                                                                  Feet               Wave Height
                                                     Roadway Top Elevation
                  Surge Scenario                                                                (Meters)                Feet
                                                                Feet                            NAVD88                (Meters)
                                                              (Meters)
                                                              NAVD88
   Hurricane Katrina Base Case                                                                     12.4                    5.2
   Scenario                                                                                        (3.8)                  (1.6)
   Hurricane Katrina Shifted                                                                       19.7                    8.2
   Scenario                                                  13.8/21.3                             (6.0)                  (2.5)
   Hurricane Katrina Shifted +                               (4.2/6.5)
                                                                                                   24.6                    4.1
   Intensified + Sea Level Rise (SLR)
                                                                                                   (7.5)                  (1.2)
   Scenario
   FEMA Base Flood Elevation                                                                       14.0
   (100-year flood)208                                                                             (4.3)



   Figure 59 and Figure 60 show the surge stillwater elevations with respect to the approach to the
   western abutment and the bridge bottom chord elevation, respectively. The flooding profiles
   presented show that each storm surge condition overtops the timber bulkhead (elevation 5.5 feet
   [1.7 meters]), and will impact the abutment and the riprap along with the bulkhead and the
   willow mattress. Note that the stillwater elevations for two of the modeled storm surge scenarios
   and the FEMA base flood elevation overtop the western approach roadway. Additionally, the
   stillwater elevations of the Hurricane Katrina Shifted Scenario and the Hurricane Katrina Shifted
   + Intensified + SLR Scenario are higher than the lower chord of the bridge deck section in the
   area of the abutment. This overtopping condition will serve to lower the predicted abutment
   scour at the Tensaw-Spanish River Bridge but could result in damage to the roadway and loss of
   service during the surge and the immediate aftermath (due to clean-up). While issues related to
   the overtopping of the approach roadway and surge impacts on the bridge deck are not the
   primary focus of this study, they are larger issues of concern that are recommended to be
   investigated during the detailed evaluation of this or any bridge structure.




   207
         Stillwater refers to the maximum elevation of a coastal storm surge without the addition of waves.
   208
         FEMA, 2010b




   U.S. Department of Transportation                                           145                                        FHWA002796
                                                                                                                           August 2014
                                              Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                           Case Studies

         Figure 59: Plan and Profile of the Approach Roadway to the Western Abutment of the US 90/98 Tensaw-Spanish River Bridge with Water Levels209
                                                                                                                                                         Case 5:23-cv-00304-H
                                                                                                                                                         Document 15-18
                                                                                                                                                         Filed 01/31/24
                                                                                                                                                         Page 514 of 534




209
      Source: ALDOT, 1994 (as modified)
                                                                                                                                                         PageID 3074




                            U.S. Department of Transportation                    146                                     August 2014        FHWA002797
                                                Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                             Case Studies

                                       Figure 60: Plan and Profile of the US 90/98 Tensaw-Spanish River Bridge with Water Levels210
                                                                                                                                                              Case 5:23-cv-00304-H
                                                                                                                                                              Document 15-18
                                                                                                                                                              Filed 01/31/24




                                                                                                                                              riprap
                            riprap
                                                                                                                                                              Page 515 of 534




210
   Source: ALDOT, 1994 (as modified)
                                                                                                                                                              PageID 3075




                         U.S. Department of Transportation                           147                                        August 2014      FHWA002798
Case 5:23-cv-00304-H          Document 15-18           Filed 01/31/24        Page 516 of 534       PageID 3076
                       Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                    Case Studies


   Step 5 – Assess Performance of the Existing Facility
   Erosion of the soils at bridge abutments is generally caused by three hydraulic forces: contraction
   scour, horseshoe vortex formation, and wave vortices. Contraction scour occurs at abutments as
   the approaching flow is contracted from a wider flow area (in this case Mobile Bay) into the
   smaller bridge opening. As the flow is contracted, velocities are increased and the ability to
   erode soil can be greatly increased. Horseshoe and wake vortices are turbulent hydraulic
   formations that occur as flow impinges on a solid structure. Figure 61 shows the typical
   formation and shape of each of these vortices.

                              Figure 61: Schematic Representation of Abutment Scour211




   Abutment scour is generally calculated as a combination of velocity, flow rate, flow depth, and
   geometric factors related to the abutment. In general, peak scour depths for any structural
   element normally occur when the flow velocity is highest. Under coastal storm surge conditions
   this peak velocity does not coincide with the peak water surface elevation. Due to the bi-
   directional nature of coastal surges (flood and ebb surge), the peak velocity occurs at two points,
   first during the flood surge and later during the ebb surge. The peak velocity for each of these
   conditions occurs when the rate of water surface change is at its greatest. In this case study, the
   peak flood and ebb surge velocities were compared at the approach locations (points E and D on
   Figure 56, respectively) and the velocities for the flood surge condition were found to be
   controlling. Thus, the abutment scour and protection computations were performed for the flood
   surge peak velocity.

   A bridge abutment scour study usually requires a great deal of data, often collected on the latest
   foundation and material conditions at the abutments. Much of the required data was not available
   for this case study. Therefore, several assumptions were made concerning some basic inputs into

   211
         NCHRP, 2011




   U.S. Department of Transportation                      148                                    FHWA002799
                                                                                                  August 2014
Case 5:23-cv-00304-H                   Document 15-18           Filed 01/31/24        Page 517 of 534       PageID 3077
                                Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                             Case Studies


   the analysis. These assumptions were made specifically to be conservative in the estimation of
   impacts. Important assumptions for this analysis were:

    Soil borings or other geotechnical sampling and measurement data were not readily available
     at the abutment location. Given the location and setting of the bridge crossing, the soils were
     assumed to be medium sand with an average diameter of 0.01 inches (0.3 millimeters). For
     an actual study, the soils conditions should be ascertained from on-site boring information.
    A detailed bathymetric survey was not performed for this investigation, thus the channel bed
     data from the ADCIRC model was assumed to provide an accurate representation of the
     channel bed in front of the abutment. The ADCIRC model was built upon historic
     bathymetric and topographic data available from USGS and NOAA. While this data provides
     a reasonable basis for the current study, the accuracy of the data is expected to be limited by
     potential long-term changes to the channel bottom (sedimentation) or other influencing
     factors. Project specific bathymetric survey of the channel bottom would be recommended
     for a detailed study of the bridge abutment.
    Return period type storm events (e.g., the 100-year and 500-year storms) were not modeled
     as part of the coastal storm surge simulations for this project, thus the three chosen hurricane
     simulations were chosen as analogs for the design storms for the crossing.
    The abutments of the Tensaw-Spanish River Bridge have a complex protection scheme with
     the pile-supported abutment protected by willow mattresses, a bulkhead, and stone riprap.
     Following standard engineering practice, scour at the abutment was computed without the
     influence of the protections and the sufficiency of each protection was then investigated
     individually. Combining the results for each component’s sufficiency – that is, for the
     abutment, willow mattresses, bulkhead and stone riprap – led to an overall conclusion on the
     stability of the abutment.
   The three common abutment scour prediction equations presented in FHWA’s Evaluating Scour
   at Bridges; Fifth Edition (HEC-18)212 were assessed for their appropriateness to the case study
   site. The equations included:
    The Froehlich Abutment Scour Equation
    The HIRE Abutment Scour Equation
    The National Cooperative Highway Research Program (NCHRP) 24-20 Abutment Scour
     Approach213
   The evaluation concluded that the HIRE equation development conditions did not meet the
   hydraulic conditions at the west abutment as the ratio of the flow depth to approach roadway
   length fell short of the recommended value of 25. The Froehlich equation was also investigated;

   212
         Arneson et al., 2012
   213
         NCHRP, 2010




   U.S. Department of Transportation                               149                                    FHWA002800
                                                                                                           August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 518 of 534                  PageID 3078
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


   however, as is often observed in practice, the equation produced overly conservative scour
   predictions. Thus, the NCHRP 24-20 approach was used for the detailed evaluation of the west
   abutment. The NCHRP approach was developed considering, “a range of abutment types,
   locations, flow conditions, and sediment transport conditions.”214 The approach considers
   contraction scour as a component of the total scour predictions, whereas the HIRE and Froehlich
   methods require a separate evaluation of contraction scour. The NCHRP method utilizes flow
   depth, unit discharges,215 and a scour amplification factor216 to compute total abutment scour.
   Chapter 8.6.3 of the HEC-18 publication includes a detailed discussion of the development and
   application of the NCHRP 24-20 approach. Table 28 presents the results of the NCHRP
   approach as applied to the west abutment of the Tensaw-Spanish River Bridge.

                                     Table 28: Predicted Abutment Scour Depths and Elevations
                                at the West Abutment of the US 90/98 Tensaw-Spanish River Bridge

                                                                                              Predicted Scour                 West Abutment
                                                         Predicted Scour Depth
                                                                                                 Elevation                 Bottom Pile Elevations
                  Surge Scenario                                    Feet
                                                                                               Feet - NAVD217                      Feet-NAVD
                                                                  (Meters)
                                                                                                  (Meters)                          (Meters)
                                                                     33.2                            -43.2
   Hurricane Katrina Base Case Scenario
                                                                    (10.1)                          (-13.2)
                                                                     38.4                            -48.4                            -17.7
   Hurricane Katrina Shifted Scenario
                                                                    (11.7)                          (-14.8)                           (-5.4)
   Hurricane Katrina Shifted + Intensified                           35.0                            -45.0
   + Sea Level Rise (SLR) Scenario                                  (10.7)                          (-13.7)



   As shown in Table 28, all three of the coastal storm surge scenarios result in scour depths that
   exceed the constructed depth of the abutment foundation. Thus, the analysis shows that the west
   abutment was not designed in consideration of full abutment scouring conditions, and in lieu of
   other protection factors, the abutment could be reasonably expected to fail. However, this design
   condition is not unique to this bridge design or unexpected. Given the widely held view that
   abutment scour equations produce overly conservative results, many state agencies have chosen
   to armor or otherwise protect abutments from scour rather than design the foundations for the
   full scour depth. In the case of the Tensaw-Spanish River Bridge, the previously noted riprap,
   willow mattress pad, and timber bulkhead have been utilized to protect the abutment from
   scouring. A comprehensive evaluation of the sufficiency of the abutment will be defined as the
   sum of the sufficiency of the protections, as the scour evaluation has shown that the abutment

   214
       Arneson et al., 2012 (page 8.8)
   215
       Unit discharges is defined as the average flow rate over a one foot (0.3 meter) unit width. Unit discharge has units of square feet per second as
   opposed to discharge which has units of cubic feet per second.
   216
       Scour amplification factors are determined by charts specific to the NCHRP methods and are found as figures 8.9 through 8.12 in Arneson et
   al., 2012
   217
       Predicted scour elevations estimated the bed elevation at the edge of channel being-10 feet (-3.1 meters)




   U.S. Department of Transportation                                          150                                                     FHWA002801
                                                                                                                                       August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24     Page 519 of 534     PageID 3079
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


   itself will likely fail in their absence. In actual practice, the soils conditions should be accurately
   determined and, typically, a cost analysis performed to compare the costs of additional pile
   length to the cost of installing a number of scour protection measures. The following sections
   include evaluations of the scour and hydraulic sufficiency for each protection measure as related
   to the forces that constitute abutment scouring.

   The upper most protection along the abutment is the rock riprap. The riprap runs from the top of
   the bulkhead to the top of the abutment. The design of the protecting riprap was evaluated using
   guidance set forth in the FHWA HEC-23 publication.218 The size of riprap required to protect
   against scour in the abutment area is largely driven by the velocities of the flows modeled
   adjacent to the abutment (Point A in Figure 56). The Isbash relationship was utilized to compute
   the required size of riprap for protection of the abutment. The relationship has the following
   form:219




              Where;
              y      Flow depth (feet)
              V      Flow velocity (feet per second)
              D50    Median diameter of the rock riprap (feet)
              K      Abutment shape coefficient (0.9, used for spill-through abutments)
              g      Gravitational acceleration (32.2 feet per second squared [9.8 meters per second
                     squared])
              Ss     Specific gravity220 of stone (2.7)
   As discussed in Step 4, the classification of the existing riprap protecting the abutment was
   estimated to be Class 3 with a D50 of 15 inches (0.4 meters). Table 29 details the velocities,
   riprap size required, and the riprap size observed in place. The Isbash equation shows that the
   current riprap is sufficient to resist abutment scour. However, it should be noted that the riprap
   size from the Isbash equation does not consider wave impacts and the effects of general sea level
   rise on the embankment. These factors are analyzed in Section 4.4.3 and should be considered as
   part of the combined treatment of the abutment and approach embankment. The larger of the two
   rock sizes determined from the different approaches would govern and should be considered for
   use in armoring the abutment area. The results of the wave scour study are presented in Table 29
   and show that the wave scour sized riprap with a 28 inch (71.1 centimeter) D50 (Class 5 riprap)
   would be recommended for placement along the entire abutment. While the computations have

   218
       Legasse, Clopper, Pagan-Ortiz, Zevenbergen, Arneson, Schall, and Girard, 2009
   219
       Legasse et al, 2009
   220
       Specific gravity relates the density of one substance to that of another substance




   U.S. Department of Transportation                                          151                             FHWA002802
                                                                                                               August 2014
Case 5:23-cv-00304-H                  Document 15-18           Filed 01/31/24        Page 520 of 534          PageID 3080
                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                            Case Studies


   shown that the current riprap sizing is sufficient to protect against storm surge induced currents,
   the riprap is not sufficiently sized to combat wave impact forces. As such, the riprap could
   represent a weak link in the scour protection for the abutment, in the event that the sea level rise
   and wave conditions documented in Section 4.4.3 occur. Readers are referred to Section 4.4.3
   for a discussion of the sizing of the riprap for sea level rise conditions and associated adaptation
   options. The potential under-sizing of the riprap provides one area of potential weakness in the
   overall abutment protection scheme; however, since the system works together with multiple
   components, the bulkhead and willow mattress also factor into the overall vulnerability of the
   system.

                                   Table 29: Required Riprap Size to Resist Abutment Scour at the
                                  Western Abutment of the US 90/98 Tensaw-Spanish River Bridge 221

                                           Velocity at West                                              Estimated D50
                                              Abutment        D50 Computed Size   D50 Computed Size
                                                                                                         Size of In-place
          Storm Surge Scenario                (Point A)             Feet               Feet                   Riprap
                                                                 (Meters) –          (Meters) –
                                              Feet/Sec                                                        Feet
                                                               Abutment Scour        Wave Scour
                                            (Meters/Sec)                                                    (Meters)

   Hurricane Katrina Base Case                   3.9                 0.3
   Scenario                                     (1.2)               (0.09)
   Hurricane Katrina Shifted                     5.9                 0.6
                                                                                          2.3                  1.3
   Scenario                                     (1.8)               (0.2)
                                                                                         (0.7)                (0.4)
   Hurricane Katrina Shifted +
                                                 6.2                 0.6
   Intensified + Sea Level Rise
                                                (1.9)               (0.2)
   (SLR) Scenario



   The bulkhead protecting the southern side of the abutment is the next protection factor that was
   considered. As noted above, the bulkhead is a predominantly timber construction, but has been
   capped with concrete. As a solid structural element, the bulkhead is anticipated to perform
   following the same rules as the abutment. In this case, the bulkhead would either need to be
   designed to the full abutment scour depth, or would require stabilized protection as is the case for
   the abutment. While detailed pile tip information is not readily available for the bulkhead, the
   record drawings do show a length of 30 to 40 feet (9.1 to 12.2 meters) for the timber piles. The
   bulkhead has a top elevation of approximately 5.5 feet (1.7 meters) which would correlate to pile
   tip elevations between -25 and -35 feet (-7.6 to -10.7 meters), depths insufficient to protect the
   bulkhead against the peak scour conditions. An additional consideration for the viability of the
   timber bulkheads is the depth of the solid wood planking which retains the roadway fill behind
   the bulkhead. The wood planking is estimated to be present from the top of bulkhead to
   elevations -9.5-feet to –20.5-feet. While scour greater than these stated elevations may be

   221
         Legasse et al, 2009




   U.S. Department of Transportation                              152                                      FHWA002803
                                                                                                            August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 521 of 534                  PageID 3081
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


   required to fail the timber piles which support the bulkhead, scouring to a depth below the wood
   planks will similarly result in a failure as fine fill materials used for the approach roadways will
   be readily eroded causing slumping, soil loss, and potential failure of the overlying roadway.
   However, as with the abutment, the ultimate stability of the bulkhead will be determined by also
   considering the protection afforded by the last component of the system, the willow mattress pad.

   Willow mattress pads, also known as fascine222 sinker pads, are a long-standing practice for the
   protection of bridges or other waterway structures. The structure is much more common in
   Europe, where it has a record of good performance. The willow mattress pad for the case study
   abutment was installed in 1963 prior to the construction of the southern (eastbound) bridge.
   Despite being constructed from natural woody materials, under anaerobic223 and permanently
   submerged conditions these mats are very durable224 and could still effectively function to
   prevent erosion. It was estimated that the permissible velocity225 of the willow mattress pads was
   equal to or greater than 12 feet per second (3.7 meters per second),226 the permissible velocity of
   a newly constructed brush layering revetment. The peak storm velocities for each of the analyzed
   conditions do not exceed the estimated permissible velocity for the willow mattress, thus the
   mattress is considered to be stable for all of the considered storm events.

   Results of the evaluation of the individual protections show overall stability for the system. This
   conclusion is based upon a holistic review of the protection scheme which showed:

    The willow mattress pad is stable against the design condition flow velocities
    The bulkhead is protected along its base by the willow mattress pads and thus is also stable
    The riprap protection is appropriately sized for storm velocities
    The base of the riprap is protected by the bulkhead and the top of the riprap extends up to the
     concrete abutment, thus the riprap is also stable.
   In consideration of the complex nature of the abutment protection scheme, each of the individual
   components was reviewed for stability under the various storm conditions. The review concluded
   that while the abutment itself is not designed to be stable under storm scour conditions, the
   protection components of riprap, bulkhead, and willow mattress have all been shown to be
   stable. Thus, the combined considerations for the abutment and the protection scheme shows that
   the system is stable and capable of performing for the current design conditions and each of the
   projected storm events. Ideally, the bridge abutment foundations would be designed for
   protection of the bridge and the approach roadway against the full depth scour event, providing a
   more sustainable protection than use of various scour countermeasures. However, the design and

   222
       Fascine refers to the cylindrical bundle of sticks making up the pad.
   223
       Anaerobic conditions refer to environments free of oxygen.
   224
       Biedenharn, Elliott, and Watson, 1997
   225
       Permissible velocity is the maximum velocity at which a given material meets stability criteria. Above this velocity a material may move or
   deteriorate.
   226
       Fishenich, 2001




   U.S. Department of Transportation                                        153                                                   FHWA002804
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 522 of 534                  PageID 3082
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


   construction of bridges with the use of scour countermeasures over deep foundations is a
   common practice that is generally employed for bridge abutments.

   That said, while the materials for protection of the abutment have been shown to be adequately
   sized, the materials used are subject to degradation over time. Proper maintenance and upkeep of
   the system is necessary to ensure the long-term success of the protection. As previously noted,
   review of the bridge underwater inspection records have shown that the condition of the
   bulkhead, willow mattresses and riprap armoring have not been as closely monitored as other
   aspects of the bridge. With the conclusion of this study and the observation that the stability of
   each of the three scour countermeasures is integral to the overall stability of the abutment, future
   inspections should include detailed inspections of each of these components.

   Step 6 – Identify Adaptation Option(s)
   The results of the abutment analysis concluded that the structure and provided protection
   measures were sufficient to meet current and projected storm conditions for all surge scenarios
   analyzed. Thus, adaptation for this particular system may not be necessary based upon the
   climate scenarios considered in this study. However, for other potential future climate scenarios
   that portend more extreme surges or for other abutments where adaptation measures might be
   needed, potential adaptive design options for controlling abutment scour include:

    Reconstruction of the protective bulkhead to a depth that is stable under projected scour
     conditions. Bulkhead would be constructed using a more sustainable material such as Fiber
     Reinforced Polymer or Vinyl sheeting to a deeper pile penetration. Riprap overlying the
     slopes above the bulkhead would be replaced with appropriately sized riprap coverage.
     Lastly, with bulkhead driven to the appropriate depth, the willow mattresses would not be
     necessary and protections further below the water could be removed from the bridge.
    Controlling the approach and departure flow to realign water passage though the waterway.
     This could be done by providing a stable and gradual transition to and from the bridge
     opening by using guidebanks, spur dikes, bendway weirs, or vanes.227
    Armoring of the bridge opening with riprap, concrete revetment,228 or bulkhead / retaining
     walls
    Modifications to the bridge including widening, lengthening and / or shifting it
    Control of drainage from the embankment and roadway to avoid erosion starting in the
     abutment area
   Step 7 – Assess Performance of the Adaptation Option(s)
   No adaptive measures have been proposed for the study site. For abutment sites where adaptation
   options would be required, the performance of each adaptation option relative to each climate

   227
       Guide banks, bendway weirs, spur dikes, and vanes are all rock riprap formations that are strategically placed to direct flows into the center of
   a bridge opening.
   228
       Concrete revetments would include large or interconnected concrete blocks placed as embankment armoring.




   U.S. Department of Transportation                                          154                                                     FHWA002805
                                                                                                                                       August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 523 of 534       PageID 3083
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies


   scenario should be evaluated. This will provide important information for use in the economic
   analysis.
   Step 8 – Conduct an Economic Analysis
   An economic analysis is not required for this case study since no adaptation options were
   deemed necessary. For other abutment studies where adaptive alternatives have been proposed,
   see Section 4.4.1 for an example of how an economic analysis could be applied.
   Step 9 – Evaluate Additional Decision-Making Considerations
   The case study for abutment scour does not recommend any adaptive design measures for the
   Tensaw-Spanish River Bridge west abutment. However, for other abutment studies where
   adaptations are required, factors that will influence whether abutment protective measures are
   installed include:
    Redundancy: Abutment failures can take a long time to repair, resulting in road closure or
     reduced capacity. Not having redundancy in the network in case of failure should weigh on
     the decision of whether to pursue adaptation measures.
    Constructability: Retrofits to bridge foundations are complex and difficult construction
     projects, and could result in the temporary closure of a structure. Constructability and traffic
     studies to ensure that a proposed project is feasible could be a key consideration for any type
     of bridge adaptation project. Scour countermeasure work can present constructability issues
     due to limited clearance over many low lying bridges or due to limited or difficult access to
     the embankment slopes of shoreline.
    Durability and maintenance: The durability of scour countermeasures, especially in light of
     expected surge, is a key criterion in the design of such measures. In addition, the level of
     maintenance associated with the countermeasures should be considered.
    Environmental issues: Given their innate proximity to waterways and position along
     shorelines and streambanks, the use of scour countermeasures or construction activities could
     have negative impacts on the environment. In the evaluation of adaptations the impacts of
     both construction access and of changes in the shoreline / streambank composition (i.e.,
     covering a sandy shoreline with large riprap armor stone or disturbing aquatic vegetation
     beds for placement of a scour countermeasure) should be carefully considered. Adaptation
     options should protect and minimize the impact on habitat and natural resources.
    Aesthetics / recreational use – This can be a key issue for public and stakeholder
     acceptance of adaptation countermeasures. In some locations, bridge crossings / abutments
     are located in highly visible areas, such as beaches or nature areas. In these locations, the use
     of a context sensitive treatment that does not limit the usage of the shoreline / riverbank or
     create an eyesore, should be considered. These considerations may include avoiding the use
     of armor stone due to its potential to both provide a hazard to pedestrians and its unsightly
     nature. Adaptations can consider the use of bioengineering treatments, subterranean
     countermeasures, or construction of stable foundations in lieu of countermeasures.




   U.S. Department of Transportation                    155                                    FHWA002806
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 524 of 534       PageID 3084
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies


   Step 10 – Select a Course of Action
   The recommended course of action is to undertake no adaptations to prevent abutment scour at
   this time. This conclusion should be reevaluated if updated climate projections are developed
   that portend more severe surge conditions at the facility.

   Step 11 – Plan and Conduct Ongoing Activities
   Adaptation has not been recommended as a course of action for this study site, based on the
   combination of climate scenarios considered in this study. However, the materials used in the
   protection scheme for the abutment (riprap, bulkhead, and willow mattress pads) will all require
   regular maintenance inspections and periodic maintenance upkeep. Even with adequately sized
   riprap and willow mattress protection, these types of scour countermeasures are subject to
   degradation due to rocks shifting, settlement, or damage to the mattress or riprap from boat or
   debris impacts. The wearing of these revetments can occur due to several small storm events, but
   can be anticipated to accelerate during larger events. In keeping with Federal Highway
   Administration (FHWA) directives, the protections at the abutment should undergo periodic
   inspections (including inspections after significant storm events) that assess the condition of each
   protection element and recommend any needed repairs to the structures.

   Conclusions
   Based on the General Process for Transportation Facility Adaptation Assessments, this case
   study has demonstrated how a bridge abutment can be analyzed for various storm surge
   scenarios, including one factoring in sea level rise due to climate change. The analysis showed
   that the foundation design of the west abutment to the US 90/98 Tensaw-Spanish River Bridge is
   vulnerable to scour from all of the surge scenarios tested but that the existing protection
   measures in place today will provide adequate protection of the facility under each scenario.
   Thus, no adaptation option is recommended for the facility at this time to address the issue of
   abutment scour.

   This case study demonstrated that the methodology for estimating abutment scour is very
   conservative, especially for typical coastal conditions. By standard practice, scour is usually
   protected against by adequately sized and installed riprap armoring. Abutment scour analysis
   procedures should be developed to allow for more accurate prediction and characterization of
   abutment scour. Updates to the equations would be appropriate and should include more open
   and detailed discussion within the design community related to both the development uncertainty
   inherent to the equations and the uncertainty related to scour prediction for any structure under
   changing climate conditions. With updates to prediction techniques, structural design guidelines
   should be updated to require the design of abutments to be stable without the need for outside
   protection schemes, such as riprap or a bulkhead.




   U.S. Department of Transportation                    156                                    FHWA002807
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24        Page 525 of 534       PageID 3085
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies


   This case study also included evaluation of underwater inspection records for the bridge which
   included the observation that current underwater inspection practices may not be fully
   considering the protection schemes at bridge abutments. Based on these observations, the
   practices performed during a given inspection should be revisited to ensure the long-term success
   of abutment scour countermeasures. Inspectors should be informed that even if the structural
   portion of an abutment is situated on “dry” ground, other components such as bulkhead, riprap,
   or other stability measures may play a key role in the overall scour resistance of the abutment
   and should likewise be monitored.




   U.S. Department of Transportation                    157                                    FHWA002808
                                                                                                August 2014
Case 5:23-cv-00304-H         Document 15-18          Filed 01/31/24          Page 526 of 534           PageID 3086
                     Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                  Case Studies


   4.4.5 Bridge Segment Exposure to Storm Surge – The US 90/98 Ramp to I-10
         Eastbound at Exit 30

   Introduction
   Bridges serve as important linkages between
                                                                         Case Study Highlights
   communities. With climate change, higher
   storm surges resulting from rising sea levels        Purpose: To evaluate whether storm surge could cause a
                                                        bridge to fail via any of three failure modes: (1) a wave
   and potentially stronger coastal storms              uplifting and washing away the superstructure, (2) failure
   enhance the threat of devastating impacts to         of the substructure due to the lateral forces of the wave,
   coastal bridges that can sever vital                 and (3) failure of the substructure due to excessive scour.
                                                        Approach: Failure Mode 1 was evaluated by using
   connections for long periods of time. One
                                                        equations from AASHTO’s Guide Specifications for
   such vital connection is the bridge carrying I-      Bridges Vulnerable to Coastal Storms to determine the
   10 (the Jubilee Parkway) across Mobile Bay           forces on the superstructure under the selected storm
   (more commonly known as the “Bayway”); a             surge scenarios, and comparing those forces to the force
                                                        capacity of the bolts. Failure Modes 2 and 3 were
   7.5 mile (12.1 kilometer) long structure             evaluated by analyzing lateral and axial pile loadings with
   connecting Mobile to the eastern shore of the        the procedures in AASHTO’s Guide Specifications for
   Bay. This case study assesses projected              Bridges Vulnerable to Coastal Storms and LRFD Bridge
                                                        Design Specifications.
   storm surge impacts on a ramp connecting to
                                                        Findings: The bridge is likely not vulnerable to Failure
   that bridge: the elevated ramp leading from          Mode 1, but could be vulnerable to Failure Modes 2 and
   US 90/98 (the “Causeway”) to I-10                    3.
   eastbound at Exit 30.                                Viable Adaptation Options:
                                                        x Design bridge to breakaway to minimize overall
   The storm surge analysis for this bridge was            damage
   conducted using the 11 step General Process          x Strengthen bolt connections
   for Transportation Facility Adaptation               x Install open grid decks
   Assessments: this serves as the organizing           x Design shallower girder sections
   framework for the remainder of the case              x Use open rail parapets
                                                        x Shorten the bridge, replacing lower segments with
   study. The assessment determined that the
                                                           protected embankment
   portion of the ramp studied was currently            Other Conclusions: The worst case storm scenario does
   highly vulnerable to damage from storm               not necessarily translate to the worst effects on the
   surges and will be even more so in the future.       facility. Also, retreat might be a viable adaptation option,
                                                        but further study is needed to determine the costs of
   The recommended course of action is to de-           benefits of doing so.
   commission all or a portion of the
   interchange served by the ramp after the next storm event that causes major damage. In the near-
   term, a detailed study exploring the implications of this action should be conducted.




   U.S. Department of Transportation                    158                                         FHWA002809
                                                                                                     August 2014
Case 5:23-cv-00304-H                  Document 15-18                   Filed 01/31/24                Page 527 of 534                 PageID 3087
                           Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                        Case Studies


   Application of the General Process for Transportation Facility Adaptation Assessments
   Step 1 – Describe the Site Context
   The case study bridge is located on the east side of the Mobile metropolitan area at Exit 30 on I-
   10 (see Figure 62). The interchange at Exit 30 is uniquely situated in the middle of Mobile Bay
   where the bridge carrying the Bayway intersects with the Causeway. The case study bridge
   connects US 90/98 to I-10 eastbound and is located on the southwest side of the interchange (see
   Figure 63). Land uses served by Exit 30 include the USS Alabama Battleship Memorial Park and
   a number of local businesses. Exit 30 also acts as an important connection between the
   Causeway and the Bayway: in the event that an incident disrupts traffic on one of the roads,
   motorists can use Exit 30 to access an alternate route across the Bay.

   Step 2 – Describe the Existing Facility
   The case study bridge was built in 1974. The bridge is 27.8 feet (8.5 meters) wide229 and
   approximately 1,205 feet (367.4 meters) long from its base at the Causeway to its intersection
   with the viaduct carrying I-10 eastbound. A total of 29 bents,230 each one assigned a unique
   identifying number, support the bridge from Bent 1 at the beginning of ramp to Bent 29 at the
   merge with the I-10 viaduct.




   229
       Width as measured to the outside faces of the parapets. The parapets are the outside walls on either side of a bridge that are designed to
   prevent vehicles from careening off the structure.
   230
       Bents, also known as piers, are the vertical columns supporting each bridge span along with the horizontal member, called a cap, which holds
   them together.




   U.S. Department of Transportation                                        159                                                   FHWA002810
                                                                                                                                   August 2014
Case 5:23-cv-00304-H                   Document 15-18          Filed 01/31/24         Page 528 of 534           PageID 3088
                             Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                          Case Studies


                                Figure 62: Location of Exit 30 within the Mobile Metropolitan Area231




                        Figure 63: Location of the Ramp to I-10 Eastbound within the Exit 30 Interchange232




   231
         Source of base map: Google Maps (as modified)
   232
         Source of base map: Google Maps (as modified).




   U.S. Department of Transportation                              160                                         FHWA002811
                                                                                                               August 2014
Case 5:23-cv-00304-H                   Document 15-18                    Filed 01/31/24                 Page 529 of 534                  PageID 3089
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


   At the suggestion of ALDOT, the case study analysis focuses on the portion of the bridge
   between Bents 9 and 14 due to damages incurred on this segment from recent storm surge events
   associated with Hurricanes Katrina and Georges. This portion of the bridge is highlighted in the
   plan view of the structure shown in Figure 64 and the elevation shown in Figure 65.

   The five spans between Bents 9 and 14 are each 50 feet (15.2 meters) long making the portion of
   the ramp in this study 250 feet (76.2 meters) long. The superstructure233 consists of a seven inch
   (178 millimeter) deck and four concrete beams spaced 7.3 feet (2.2 meters) apart (see Figure 66).
   The superstructure between Bents 1 and 9 is comprised of concrete slabs with no beams.

   Under current sea levels, the (lower) Causeway end of the upward sloping bridge comes quite
   close to the Mean Higher High Water (MHHW)234 elevation.235 At the lowest bent, Bent 1, the
   clearance from the bottom of the slab to MHHW is approximately 1.2 feet (0.4 meter) and at the
   highest bent, Bent 29, the clearance from the bottom of the lowest beam to MHHW is 22.1 feet
   (6.7 meters). Within the segment being studied in this analysis, the lowest bent, Bent 9, has 2.3
   feet (0.7 meter) clearance from MHHW whereas Bent 14, the highest bent, has 9.6 feet (2.9
   meters) clearance from MHHW.

   Most of the bents in the study segment consist of three 24 inch (60.1 centimeter) square concrete
   piles236 topped with a concrete pile cap237 (see Figure 67). The exception is Bent 13, which is a
   fixed anchor bent that does not allow the ends of the girders238 to move, and contains six
   concrete piles (see Figure 68). The bents at the other sections of the ramp, Bents 1 to 8 (which
   support concrete slabs as the superstructure) and Bents 15 to 29 (which support concrete girders
   as the superstructure), are similar in construction to the section of ramp in this case study. The
   concrete beams are anchored to the top of the concrete pile caps with steel connection angles239
   and a series of bolts (see Figure 69). Bridge superstructures are typically connected to a bent (or
   pier) cap with a bearing and / or anchor bolts. The anchor bolts provides vertical uplift resistance
   and lateral force240 resistance. In this case study bridge, the superstructure is connected to the
   bent cap with anchor bolts and horizontal through bolts (which penetrate through the entire width
   of the bottom of the concrete girders).




   233
       The superstructure is the top part of the bridge and consists of the horizontal support girders, deck, and parapet walls preventing vehicles from
   falling off the structure.
   234
       Mean higher high water is the average elevation of the highest daily high tide over the current National Tidal Datum Epoch. The tidal epoch is
   the specific 19-year period over which NOAA uses to obtain observations that are used to develop tidal statistics.
   235
       All elevations within the text are with respect to the North American Vertical Datum of 1988 (NAVD88).
   236
       Piles are the vertical support structures extending from the bridge deck to the seabed below.
   237
       The pile cap is the horizontal member that ties together the vertical piles.
   238
       Girders are the main horizontal supporting members of the bridge; there are four concrete girders for this case study bridge.
   239
       Steel connection angles are used to connect the concrete girders to the concrete pile cap.
   240
       Lateral forces are the horizontal component of a force affecting a structure.




   U.S. Department of Transportation                                          161                                                    FHWA002812
                                                                                                                                      August 2014
                                               Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                            Case Studies

                               Figure 64: Plan of the Bridge to I-10 Eastbound at Exit 30 Showing the Section of Analysis (Bents 9 to 14)241



                                                                                                Bents 9 to 14
                                                                                                                                                             Case 5:23-cv-00304-H
                                                                                                                                                             Document 15-18
                                                                                                                                                             Filed 01/31/24
                                                                                                                                                             Page 530 of 534




241
      Source: ALDOT, 1974 (as modified)
                                                                                                                                                             PageID 3090




                           U.S. Department of Transportation                         162                                          August 2014   FHWA002813
                                                   Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                                Case Studies

                             Figure 65: Elevation of the Bridge to I-10 Eastbound at Exit 30 Showing the Section of Analysis (Bents 9 to 14)242
                                                                                                                                                               Case 5:23-cv-00304-H




                                                                                          Bents 9 to 14
                                                                                          North Elevation
                                    Bents 9 to 14                                         Looking South
                                    South Elevation
                                    Looking North
                                                                                                                                                               Document 15-18
                                                                                                                                                               Filed 01/31/24
                                                                                                                                                               Page 531 of 534




242
      Source: Elevation diagram from ALDOT, 1974 (as modified). Photo from Bing Maps (as modified).
                                                                                                                                                               PageID 3091




                           U.S. Department of Transportation                                    163                                August 2014    FHWA002814
                                         Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                                      Case Studies

                    Figure 66: Typical Section of the Superstructure between Bents 9 and 14 on the Bridge to I-10 Eastbound at Exit 30243
                                                                                                                                                         Case 5:23-cv-00304-H
                                                                                                                                                         Document 15-18
                                                                                                                                                         Filed 01/31/24
                                                                                                                                                         Page 532 of 534




243
      ALDOT, 2006
                                                                                                                                                         PageID 3092




                     U.S. Department of Transportation                        164                                         August 2014       FHWA002815
Case 5:23-cv-00304-H                  Document 15-18         Filed 01/31/24          Page 533 of 534           PageID 3093
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


               Figure 67: Typical Bent Details (Bents 10, 11, and 12) on the Bridge to I-10 Eastbound at Exit 30244




                                                                   CONCRETE
                                                                    PILE CAP




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   244
         Source: ALDOT, 2006 (as modified)




   U.S. Department of Transportation                             165                                        FHWA002816
                                                                                                             August 2014
Case 5:23-cv-00304-H                  Document 15-18           Filed 01/31/24          Page 534 of 534      PageID 3094
                            Gulf Coast Study, Phase 2—Task 3.2: Engineering Analysis and Assessment
                                                         Case Studies


                               Figure 68: Bent 13 Details on the Bridge to I-10 Eastbound at Exit 30245




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         Source: ALDOT, 2006 (as modified)




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